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 SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
 Jay M. Goffman
 J. Eric Ivester
 Four Times Square
 New York, New York 10036-6522
 Telephone: (212) 735-3000
 Fax: (212) 735-2000
 -and-
 James J. Mazza, Jr. (admitted pro hac vice)
 Louis S. Chiappetta (admitted pro hac vice)
 155 N. Wacker Dr.
 Chicago, Illinois 60606-1720
 Telephone: (312) 407-0700
 Fax: (312) 407-0411

 Counsel for Debtors and Debtors in Possession

     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK

                                                              :
 In re:                                                       : Chapter 11
                                                              :
 SUNEDISON, INC., et al.,                                     : Case No. 16-10992 (SMB)
                                                              :
                    Debtors.1                                 : (Jointly Administered)
                                                              :

 1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number are as
      follows: SunEdison, Inc. (5767); SunEdison DG, LLC (N/A); SUNE Wind Holdings, Inc. (2144); SUNE Hawaii
      Solar Holdings, LLC (0994); First Wind Solar Portfolio, LLC (5014); First Wind California Holdings, LLC (7697);
      SunEdison Holdings Corporation (8669); SunEdison Utility Holdings, Inc. (6443); SunEdison International, Inc.
      (4551); SUNE ML 1, LLC (3132); MEMC Pasadena, Inc. (5238); Solaicx (1969); SunEdison Contracting, LLC
      (3819); NVT, LLC (5370); NVT Licenses, LLC (5445); Team-Solar, Inc. (7782); SunEdison Canada, LLC (6287);
      Enflex Corporation (5515); Fotowatio Renewable Ventures, Inc. (1788); Silver Ridge Power Holdings, LLC (5886);
      SunEdison International, LLC (1567); Sun Edison LLC (1450); SunEdison Products Singapore Pte. Ltd. (7373);
      SunEdison Residential Services, LLC (5787); PVT Solar, Inc. (3308); SEV Merger Sub Inc. (N/A); Sunflower
      Renewable Holdings 1, LLC (6273); Blue Sky West Capital, LLC (7962); First Wind Oakfield Portfolio, LLC (3711);
      First Wind Panhandle Holdings III, LLC (4238); DSP Renewables, LLC (5513); Hancock Renewables Holdings,
      LLC (N/A); EverStream HoldCo Fund I, LLC (9564); Buckthorn Renewables Holdings, LLC (7616); Greenmountain
      Wind Holdings, LLC (N/A); Rattlesnake Flat Holdings, LLC (N/A); Somerset Wind Holdings, LLC (N/A); SunE
      Waiawa Holdings, LLC (9757); SunE MN Development, LLC (8669); SunE MN Development Holdings, LLC
      (5388); SunE Minnesota Holdings, LLC (8926); TerraForm Private Holdings, LLC (5993); Hudson Energy Solar
      Corporation (3557); SunE REIT-D PR, LLC (5519); SunEdison Products, LLC (4445); SunEdison International
      Construction, LLC (9605); Vaughn Wind, LLC (4825); Maine Wind Holdings, LLC (1344); First Wind Energy, LLC
      (2171); First Wind Holdings, LLC (6257); and EchoFirst Finance Co., LLC (1607). Effective June 13, 2017, the
      address of the Debtors’ corporate headquarters is Two City Place Drive, 2nd floor, St. Louis, MO 63141.
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      AMENDED NOTICE OF FILING OF SOLICITATION VERSION OF FIRST
   AMENDED DISCLOSURE STATEMENT FOR FIRST AMENDED JOINT PLAN OF
     REORGANIZATION OF SUNEDISON, INC. AND ITS DEBTOR AFFILIATES

                PLEASE TAKE NOTICE that on March 28, 2017, SunEdison, Inc. and certain

 of its affiliates, the debtors and debtors in possession in the above-captioned cases (collectively,

 the “Debtors”) filed the Disclosure Statement for the Joint Plan of Reorganization of SunEdison,

 Inc. and its Debtor Affiliates (Docket No. 2672).

                PLEASE TAKE FURTHER NOTICE that on May 26, 2017, the Debtors filed

 the Notice Of Filing Of And Notice Of Hearing On Proposed Modifications To Disclosure

 Statement For Joint Plan Of Reorganization Of SunEdison, Inc. And Its Debtor Affiliates

 (Docket No. 3217).

                PLEASE TAKE FURTHER NOTICE that on June 2, 2017, the Debtors filed

 the Notice Of Filing Of Further Proposed Modifications To Disclosure Statement For Joint Plan

 Of Reorganization Of SunEdison, Inc. And Its Debtor Affiliates (Docket No. 3266).

                PLEASE TAKE FURTHER NOTICE that on June 7, 2017, the Debtors filed

 the Notice Of Filing Of First Amended Disclosure Statement For First Amended Joint Plan Of

 Reorganization Of SunEdison, Inc. And Its Debtor Affiliates (Docket No. 3290) (the "First

 Amended Disclosure Statement").

                PLEASE TAKE FURTHER NOTICE that on June 11, 2017, the Debtors filed

 the Notice Of Filing Of Revised Pages Of The First Amended Disclosure Statement For First

 Amended Joint Plan Of Reorganization Of SunEdison, Inc. And Its Debtor Affiliates (Docket No.

 3309).

                PLEASE TAKE FURTHER NOTICE that a hearing on the First Amended

 Disclosure Statement was held before the Honorable Stuart M. Bernstein, United States




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 Bankruptcy Judge for the Southern District of New York, in the United States Bankruptcy Court

 for the Southern District of New York, One Bowling Green, Courtroom 723, New York, New

 York 10004 (the “Bankruptcy Court”), on June 12, 2017 at 2:00 p.m. (Prevailing Eastern Time),

 during which the First Amended Disclosure Statement was approved on the record.

               PLEASE TAKE FURTHER NOTICE that on June 12, 2017, the Debtors filed

 the Notice Of Filing Of Solicitation Version Of First Amended Disclosure Statement For First

 Amended Joint Plan Of Reorganization Of SunEdison, Inc. And Its Debtor Affiliates (Docket No.

 3313).

               PLEASE TAKE FURTHER NOTICE that the Debtors hereby file an amended

 solicitation version of the First Amended Disclosure Statement attached hereto as Exhibit A,

 which has been is amended to include Exhibit 6.1 to the First Amended Joint Plan of

 Reorganization.

 Dated: June 12, 2017
        New York, New York
                                     SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

                                     By: /s/ J. Eric Ivester
                                         Jay M. Goffman
                                         J. Eric Ivester
                                         Four Times Square
                                         New York, New York 10036-6522
                                         Telephone: (212) 735-3000
                                         Fax: (212) 735-2000
                                         -and-
                                         James J. Mazza, Jr. (admitted pro hac vice)
                                         Louis S. Chiappetta (admitted pro hac vice)
                                         155 N. Wacker Dr.
                                         Chicago, Illinois 60606-1720
                                         Telephone: (312) 407-0700
                                         Fax: (312) 407-0411

                                     Counsel for Debtors and Debtors in Possession




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                                   EXHIBIT A
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 SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
 Jay M. Goffman                       Anthony W. Clark (admitted pro hac vice)
 J. Eric Ivester                      One Rodney Square
 Four Times Square                    P.O. Box 636
 New York, New York 10036-6522        Wilmington, Delaware 19899-0636
 Telephone: (212) 735-3000            Telephone: (302) 651-3000
 Fax: (212) 735-2000                  Fax: (302) 651-3001
 -and-
 James J. Mazza, Jr. (admitted pro hac vice)
 Louis S. Chiappetta (admitted pro hac vice)
 155 N. Wacker Dr.
 Chicago, Illinois 60606-1720
 Telephone: (312) 407-0700
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 Counsel for Debtors and Debtors in Possession
     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK

                                                              :
 In re:                                                       : Chapter 11
                                                              :
 SUNEDISON, INC., et al.,                                     : Case No. 16-10992 (SMB)
                                                              :
                    Debtors. 1                                : Jointly Administered
                                                              :
                                                              :


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      (4551); SUNE ML 1, LLC (3132); MEMC Pasadena, Inc. (5238); Solaicx (1969); SunEdison Contracting, LLC
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      Enflex Corporation (5515); Fotowatio Renewable Ventures, Inc. (1788); Silver Ridge Power Holdings, LLC (5886);
      SunEdison International, LLC (1567); Sun Edison LLC (1450); SunEdison Products Singapore Pte. Ltd. (7373);
      SunEdison Residential Services, LLC (5787); PVT Solar, Inc. (3308); SEV Merger Sub Inc. (N/A); Sunflower
      Renewable Holdings 1, LLC (6273); Blue Sky West Capital, LLC (7962); First Wind Oakfield Portfolio, LLC (3711);
      First Wind Panhandle Holdings III, LLC (4238); DSP Renewables, LLC (5513); Hancock Renewables Holdings,
      LLC (N/A); EverStream HoldCo Fund I, LLC (9564); Buckthorn Renewables Holdings, LLC (7616); Greenmountain
      Wind Holdings, LLC (N/A); Rattlesnake Flat Holdings, LLC (N/A); Somerset Wind Holdings, LLC (N/A); SunE
      Waiawa Holdings, LLC (9757); SunE MN Development, LLC (8669); SunE MN Development Holdings, LLC
      (5388); SunE Minnesota Holdings, LLC (8926)); and TerraForm Private Holdings, LLC (5993); Hudson Energy
      Solar Corporation (3557); SunE REIT-D PR, LLC (5519); SunEdison Products, LLC (4445); SunEdison International
      Construction, LLC (9605); Vaughn Wind, LLC (4825); Maine Wind Holdings, LLC (1344); First Wind Energy, LLC
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     FIRST AMENDED DISCLOSURE STATEMENT FOR THE FIRST AMENDED JOINT
    PLAN OF REORGANIZATION OF SUNEDISON, INC. AND ITS DEBTOR AFFILIATES

 Dated: June 12, 2017




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                                   DISCLAIMER

      THE DISCLOSURE STATEMENT CONTAINS SUMMARIES OF CERTAIN PROVISIONS
OF THE DEBTORS’ PLAN AND CERTAIN OTHER DOCUMENTS AND FINANCIAL
INFORMATION. THE INFORMATION INCLUDED IN THE DISCLOSURE STATEMENT IS
PROVIDED FOR THE PURPOSE OF SOLICITING ACCEPTANCES OF THE PLAN AND SHOULD
NOT BE RELIED UPON FOR ANY PURPOSE OTHER THAN TO DETERMINE WHETHER AND
HOW TO VOTE ON THE PLAN. THE DEBTORS BELIEVE THAT THESE SUMMARIES ARE FAIR
AND ACCURATE. THE SUMMARIES OF THE FINANCIAL INFORMATION AND THE
DOCUMENTS WHICH ARE ATTACHED TO, OR INCORPORATED BY REFERENCE IN, THE
DISCLOSURE STATEMENT ARE QUALIFIED IN THEIR ENTIRETY BY REFERENCE TO SUCH
INFORMATION AND DOCUMENTS. IN THE EVENT OF ANY INCONSISTENCY OR
DISCREPANCY BETWEEN A DESCRIPTION IN THE DISCLOSURE STATEMENT AND THE
TERMS AND PROVISIONS OF THE PLAN OR THE OTHER DOCUMENTS AND FINANCIAL
INFORMATION INCORPORATED IN THE DISCLOSURE STATEMENT BY REFERENCE, THE
PLAN OR THE OTHER DOCUMENTS AND FINANCIAL INFORMATION, AS THE CASE MAY
BE, SHALL GOVERN FOR ALL PURPOSES.

     THE STATEMENTS AND FINANCIAL INFORMATION CONTAINED IN THE
DISCLOSURE STATEMENT HAVE BEEN MADE AS OF THE DATE OF THE DISCLOSURE
STATEMENT UNLESS OTHERWISE SPECIFIED. HOLDERS OF CLAIMS AND INTERESTS
REVIEWING THE DISCLOSURE STATEMENT SHOULD NOT ASSUME AT THE TIME OF SUCH
REVIEW THAT THERE HAVE BEEN NO CHANGES IN THE FACTS SET FORTH IN THE
DISCLOSURE STATEMENT SINCE THE DATE OF THE DISCLOSURE STATEMENT. EACH
HOLDER OF A CLAIM ENTITLED TO VOTE ON THE PLAN SHOULD CAREFULLY REVIEW
THE PLAN, THE DISCLOSURE STATEMENT, AND THE PLAN SUPPLEMENT IN THEIR
ENTIRETY BEFORE CASTING A BALLOT. THE DISCLOSURE STATEMENT DOES NOT
CONSTITUTE LEGAL, BUSINESS, FINANCIAL, OR TAX ADVICE. ANY ENTITIES DESIRING
ANY SUCH ADVICE SHOULD CONSULT WITH THEIR OWN ADVISORS.

     NO REPRESENTATIONS CONCERNING THE DEBTORS OR THE VALUE OF THEIR
PROPERTY HAVE BEEN AUTHORIZED BY THE DEBTORS OTHER THAN AS SET FORTH IN
THE DISCLOSURE STATEMENT AND THE DOCUMENTS ATTACHED TO THE DISCLOSURE
STATEMENT. ANY INFORMATION, REPRESENTATIONS, OR INDUCEMENTS MADE TO
OBTAIN AN ACCEPTANCE OF THE PLAN WHICH ARE OTHER THAN AS SET FORTH, OR
INCONSISTENT WITH, THE INFORMATION CONTAINED IN THE DISCLOSURE STATEMENT,
THE DOCUMENTS ATTACHED TO THE DISCLOSURE STATEMENT, AND THE PLAN SHOULD
NOT BE RELIED UPON BY ANY HOLDER OF A CLAIM OR INTEREST.

     WITH RESPECT TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS, AND
OTHER PENDING, THREATENED, OR POTENTIAL LITIGATION OR OTHER ACTIONS, THE
DISCLOSURE STATEMENT DOES NOT CONSTITUTE, AND MAY NOT BE CONSTRUED AS,
AN ADMISSION OF FACT, LIABILITY, STIPULATION, OR WAIVER, BUT RATHER AS A
STATEMENT MADE IN THE CONTEXT OF SETTLEMENT NEGOTIATIONS PURSUANT TO
RULE 408 OF THE FEDERAL RULES OF EVIDENCE.

     THE SECURITIES DESCRIBED IN THE DISCLOSURE STATEMENT TO BE ISSUED
PURSUANT TO THE PLAN WILL BE ISSUED WITHOUT REGISTRATION UNDER THE

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SECURITIES ACT, AS AMENDED, OR ANY SIMILAR FEDERAL, STATE, OR LOCAL LAW,
GENERALLY IN RELIANCE ON THE EXEMPTIONS SET FORTH IN SECTION 1145 OF THE
BANKRUPTCY CODE AND SECTIONS 4(A)(1) OR 4(A)(2) OF THE SECURITIES ACT, AS
APPLICABLE.

    THE DISCLOSURE STATEMENT HAS NOT BEEN APPROVED OR DISAPPROVED BY
THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION, NOR HAS THE
COMMISSION COMMENTED UPON THE ACCURACY OR ADEQUACY OF THE STATEMENTS
CONTAINED IN THE DISCLOSURE STATEMENT.

     THE FINANCIAL INFORMATION CONTAINED IN OR INCORPORATED BY REFERENCE
INTO THE DISCLOSURE STATEMENT HAS NOT BEEN AUDITED, UNLESS SPECIFICALLY
INDICATED OTHERWISE.

     THE CONSOLIDATED FINANCIAL PROJECTIONS OF THE DEBTORS AND NON-
DEBTOR SUBSIDIARIES ATTACHED HERETO AS EXHIBIT B AND DESCRIBED IN THE
DISCLOSURE STATEMENT, HAVE BEEN PREPARED BY THE DEBTORS’ MANAGEMENT
TOGETHER WITH THEIR ADVISORS. THE FINANCIAL PROJECTIONS, WHILE PRESENTED
WITH NUMERICAL SPECIFICITY, ARE NECESSARILY BASED ON A VARIETY OF
ESTIMATES AND ASSUMPTIONS WHICH, THOUGH CONSIDERED REASONABLE BY THE
DEBTORS’ MANAGEMENT AND THEIR ADVISORS, MAY NOT ULTIMATELY BE REALIZED,
AND ARE INHERENTLY SUBJECT TO SIGNIFICANT BUSINESS, ECONOMIC, COMPETITIVE,
INDUSTRY, REGULATORY, MARKET, AND FINANCIAL UNCERTAINTIES AND
CONTINGENCIES, MANY OF WHICH ARE BEYOND THE DEBTORS’ CONTROL. THE
DEBTORS CAUTION THAT NO REPRESENTATIONS CAN BE MADE AS TO THE ACCURACY
OF THESE PROJECTIONS OR TO THE ABILITY TO ACHIEVE THE PROJECTED RESULTS.
SOME ASSUMPTIONS INEVITABLY WILL NOT MATERIALIZE. FURTHER, EVENTS AND
CIRCUMSTANCES OCCURRING SUBSEQUENT TO THE DATE ON WHICH THE FINANCIAL
PROJECTIONS WERE PREPARED MAY BE DIFFERENT FROM THOSE ASSUMED OR,
ALTERNATIVELY, MAY HAVE BEEN UNANTICIPATED, AND, THUS, THE OCCURRENCE OF
THESE EVENTS MAY AFFECT FINANCIAL RESULTS IN A MATERIALLY ADVERSE OR
MATERIALLY BENEFICIAL MANNER. THEREFORE, THE FINANCIAL PROJECTIONS MAY
NOT BE RELIED UPON AS A GUARANTEE OR OTHER ASSURANCE OF THE ACTUAL
RESULTS THAT WILL OCCUR. EXCEPT WHERE SPECIFICALLY NOTED, THE FINANCIAL
INFORMATION CONTAINED HEREIN HAS NOT BEEN AUDITED BY A CERTIFIED PUBLIC
ACCOUNTANT AND MAY NOT HAVE BEEN PREPARED IN ACCORDANCE WITH
GENERALLY ACCEPTED ACCOUNTING PRINCIPLES (“GAAP”).

     PLEASE REFER TO ARTICLE VIII OF THIS DISCLOSURE STATEMENT, ENTITLED
“PLAN-RELATED RISK FACTORS AND ALTERNATIVES TO CONFIRMATION AND
CONSUMMATION OF THE PLAN” FOR A DISCUSSION OF CERTAIN FACTORS THAT A
CREDITOR VOTING ON THE PLAN SHOULD CONSIDER.

     FOR A VOTE ON THE PLAN TO BE COUNTED, THE BALLOT INDICATING
ACCEPTANCE OR REJECTION OF THE PLAN MUST BE RECEIVED BY PRIME CLERK, LLC,
THE DEBTORS’ CLAIMS AND SOLICITATION AGENT, NO LATER THAN 4:00 P.M.
PREVAILING EASTERN TIME, ON JULY 13, 2017. SUCH BALLOTS SHOULD BE CAST IN
ACCORDANCE WITH THE SOLICITATION PROCEDURES DESCRIBED IN FURTHER DETAIL
IN ARTICLE III OF THE DISCLOSURE STATEMENT. ANY BALLOT RECEIVED AFTER THE

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VOTING DEADLINE SHALL NOT BE COUNTED UNLESS OTHERWISE DETERMINED BY THE
DEBTORS IN THEIR SOLE AND ABSOLUTE DISCRETION.

     THE CONFIRMATION HEARING WILL COMMENCE ON JULY 20, 2017 AT 10:00 A.M.
PREVAILING EASTERN TIME, BEFORE THE HONORABLE STUART M. BERNSTEIN, UNITED
STATES BANKRUPTCY JUDGE, IN THE UNITED STATES BANKRUPTCY COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK, MANHATTAN COURTHOUSE, ONE BOWLING GREEN,
NEW YORK, NEW YORK 10004-1408. THE DEBTORS MAY CONTINUE THE CONFIRMATION
HEARING FROM TIME TO TIME WITHOUT FURTHER NOTICE OTHER THAN AN
ADJOURNMENT ANNOUNCED IN OPEN COURT OR A NOTICE OF ADJOURNMENT FILED
WITH THE BANKRUPTCY COURT AND SERVED ON THE MASTER SERVICE LIST AND THE
ENTITIES WHO HAVE FILED AN OBJECTION TO THE PLAN, WITHOUT FURTHER NOTICE
TO PARTIES IN INTEREST. THE BANKRUPTCY COURT, IN ITS DISCRETION AND BEFORE
THE CONFIRMATION HEARING, MAY PUT IN PLACE ADDITIONAL PROCEDURES
GOVERNING THE CONFIRMATION HEARING. THE PLAN MAY BE MODIFIED, IF
NECESSARY, PRIOR TO, DURING, OR AS A RESULT OF THE CONFIRMATION HEARING,
WITHOUT FURTHER NOTICE TO PARTIES IN INTEREST.

     THE PLAN OBJECTION DEADLINE IS JULY 13, 2017, AT 4:00 P.M. PREVAILING
EASTERN TIME. ALL PLAN OBJECTIONS MUST BE FILED WITH THE BANKRUPTCY COURT
AND SERVED ON THE DEBTORS AND CERTAIN OTHER PARTIES IN INTEREST IN
ACCORDANCE WITH THE DISCLOSURE STATEMENT ORDER SO THAT THEY ARE
RECEIVED ON OR BEFORE THE PLAN OBJECTION DEADLINE.




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                                         EXECUTIVE SUMMARY2

         Beginning on April 21, 2016, 3 SunEdison, Inc. (“SUNE”) and certain of its affiliates, the
 debtors and debtors in possession in the above-captioned cases (collectively, the “Debtors” and,
 together with their non-Debtor affiliates, “SunEdison” or the “Company”),4 filed voluntary
 petitions for relief under chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101 et
 seq. (the “Bankruptcy Code”) and commenced these chapter 11 cases (the “Chapter 11 Cases”)
 in the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
 Court”). The Chapter 11 Cases have been consolidated for procedural purposes only and are
 being jointly administered under Case No. 16-10992. None of the YieldCos (defined below) nor
 their respective direct and indirect subsidiaries are included as “Debtors” in these Chapter 11
 Cases. The Debtors continue to operate their business as debtors in possession pursuant to
 sections 1107 and 1108 of the Bankruptcy Code. To date, no trustee or examiner has been
 appointed in the Chapter 11 Cases. On April 29, 2016, the Office of the United States Trustee
 for the Southern District of New York (the “United States Trustee”) appointed an official
 committee of unsecured creditors (the “Creditors’ Committee”) pursuant to section 1102 of the
 Bankruptcy Code (Docket No. 148).

         The Debtors submit this disclosure statement (the “Disclosure Statement”) pursuant to
 section 1125 of the Bankruptcy Code for purposes of soliciting votes to accept or reject the First
 Amended Joint Plan of SunEdison, Inc., et al., Pursuant to Chapter 11 of the Bankruptcy Code
 (the “Plan”), a copy of which is attached to this Disclosure Statement as Exhibit A.5 The Plan is

 2
     This summary is qualified in its entirety by reference to the provisions of the Plan. For a more detailed
     description of the terms and provisions of the Plan, see Article VI below.
 3
     Certain other Debtors filed at later dates. Sunflower Renewable Holdings 1, LLC (6273); Blue Sky West
     Capital, LLC (7962); First Wind Oakfield Portfolio, LLC (3771); First Wind Panhandle Holdings III, LLC
     (4238); DSP Renewables, LLC (5513); Hancock Renewables Holdings, LLC (N/A) filed voluntary petitions on
     June 1, 2016. EverStream Holdco Fund I, LLC (9564) filed a voluntary petition on July 20, 2016. Buckthorn
     Renewables Holdings, LLC (7616); Greenmountain Wind Holdings, LLC (N/A); Rattlesnake Flat Holdings,
     LLC (N/A); Somerset Wind Holdings, LLC (N/A); and SunE Waiawa Holdings, LLC (9757) filed voluntary
     petitions on August 9, 2016. SunE MN Development, LLC (8669); SunE MN Development Holdings, LLC
     (5388); and SunE Minnesota Holdings, LLC (8926) filed voluntary petitions on August 10, 2016. TerraForm
     Private Holdings, LLC (5993) filed a voluntary petition on December 16, 2016. Hudson Energy Solar
     Corporation (3557); SunE REIT-D PR, LLC (5519); SunEdison Products, LLC (4445); SunEdison International
     Construction, LLC (9605); Vaughn Wind, LLC (4825); Maine Wind Holdings, LLC (1344); First Wind Energy,
     LLC (2171); First Wind Holdings, LLC (6257); and EchoFirst Finance Co., LLC (1607) filed voluntary
     petitions on April 7, 2017. Unless otherwise specified, general references to “Petition Date” refer to the initial
     April 21, 2016 filing of the twenty-six Debtors; however, “Petition Date” references for Claim and Plan
     purposes refer to each Debtor’s respective Petition Date of April 21, 2016, June 1, 2016, July 20, 2016, August
     9, 2016, or December 16, 2016, or April 7, 2017.
 4
     For purposes herein, the definition of “SunEdison” and “Company” does not include Terraform Power, Inc.
     (“TERP”) and Terraform Global, Inc. (“GLBL,” and together with TERP, the “YieldCos”), and each of their
     respective direct and indirect subsidiaries, unless otherwise provided.
 5
     Capitalized terms used in the Disclosure Statement and not otherwise defined shall have the meanings ascribed
     to such terms in the Plan.



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 the result of extensive discussions and settlements between and among the Debtors and their
 creditor constituents. The Debtors believe that the various compromises contemplated under the
 Plan are fair and equitable, maximize the value of the Debtors’ Estates, and provide the best
 recovery to Holders of Claims. The Supporting Second Lien Parties, who collectively hold, in
 the aggregate, approximately 80% in amount of the Second Lien Claims, support the Plan on the
 terms set forth in the Equity Commitment Agreement. In addition, the Creditors’ Committee
 supports, and BOKF, N.A. has agreed not to object to, the Plan as set forth in the
 Committee/BOKF Plan Settlement Term Sheet.

      FOR THE REASONS SET FORTH HEREIN, THE DEBTORS, THE
 SUPPORTING SECOND LIEN PARTIES, AND THE CREDITORS’ COMMITTEE
 URGE YOU TO RETURN YOUR BALLOT ACCEPTING THE PLAN. THE DEBTORS
 BELIEVE THAT THE PLAN PROVIDES THE BEST RECOVERIES FOR THE
 HOLDERS OF CLAIMS AND STRONGLY RECOMMEND THAT YOU VOTE TO
 ACCEPT THE PLAN.

      THE DEBTORS WILL REQUEST AT THE CONFIRMATION HEARING THAT
 PARTIES ENTITLED TO VOTE FOR OR AGAINST THE PLAN THAT DO NOT
 VOTE TO REJECT THE PLAN WILL BE DEEMED TO CONSENT TO THE
 RELEASES SET FORTH IN ARTICLE XI OF THE PLAN OF THE PARTIES
 SPECIFIED IN ARTICLE XI OF THE PLAN. THE RELEASES PROPOSED TO BE
 PROVIDED BY HOLDERS OF CLAIMS ARE NOT SUBJECT TO CERTAIN
 EXCEPTIONS APPLICABLE TO THE RELEASES PROVIDED BY THE DEBTORS
 AND SHOULD BE REVIEWED CAREFULLY.

                                         Explanation of the Plan6

         The Plan depends on two global settlements:

         (1)      The YieldCo Settlements – As of March 6, 2017, the Debtors announced their
 proposed settlements of Claims and Causes of Action between the Debtors and each of the
 YieldCos (the “YieldCo Settlements”) that provide for the Debtors to receive 36.9% and 25%
 (exclusive of SunEdison’s current Class A share ownership in GLBL), respectively, of the total
 consideration flowing to TERP and GLBL from the Jointly Supported Transactions with
 Brookfield, as set forth below. The Plan envisions (a) the Debtors’ (or their creditors’) continued
 ownership of certain shares in TERP under Brookfield’s sponsorship, (b) the Debtors’ receipt of
 some cash from the sale of certain of their shares in TERP, and (c) the Debtors’ sale (for cash) of
 their interests in GLBL. The amounts of sub-clauses (a) and (b) shall be determined, in part, by
 the Debtors’ choice as well as the choices made by the public “Class A” shareholders of TERP.
 As of the date hereof and based on the announced share price on March 7, 2017, the approximate
 aggregate value of sub-clauses (a), (b), and (c) will be more than $800 million. The YieldCo


 6
     The following summary is a general overview only and is qualified in its entirety by, and should be read in
     conjunction with, the more detailed discussions, information, and financial statements and notes thereto
     appearing elsewhere in this Disclosure Statement with respect to the Plan.



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 Settlements and Jointly Supported Transactions are discussed in more detail in Section A of this
 Executive Summary below.

          (2)    The Committee/BOKF Plan Settlement – On May 16, 2017, the Debtors
 announced a global settlement (the “Committee/BOKF Plan Settlement”) among the Debtors, the
 Tranche B Roll-Up Lenders/Steering Committee of Prepetition Second Lien Lenders and
 Noteholders (the “Tranche B Lenders/Steering Committee”), the Creditors’ Committee, and
 BOKF, N.A. (as Convertible Senior Notes Indenture Trustee) of all pending litigation
 commenced by the Creditors’ Committee and BOKF (i.e., the UCC Challenge Litigation, the
 BOKF Objection, and the objections to the YieldCo Settlements including the YieldCo
 Avoidance Allocation contained therein), in consideration for, among other things, the transfer of
 certain assets of meaningful value to the GUC/Litigation Trust for the benefit of Holders o f
 General Unsecured Claims. In addition, the Creditors’ Committee agreed not to take any actions
 or file any pleadings inconsistent with the settlement or that would have the effect of modifying
 the settlement, and so long as the Plan (including any amendments or supplements thereto) and
 other definitive documentation reflects the settlement, the Creditors’ Committee agreed to
 support the Disclosure Statement and the Plan. In doing so, the Committee/BOKF Plan
 Settlement, described in Section B of this Executive Summary below, avoids costly, time-
 consuming litigation over Confirmation and certain other issues and clears the way to
 consummation of the Jointly Supported Transactions and the Debtors’ emergence from chapter
 11. A copy of the Committee/BOKF Plan Settlement Term Sheet is attached to the Plan as
 Exhibit 6.1, and should be referenced when reviewing the summaries of the Committee/BOKF
 Plan Settlement contained herein.

         Distributions to Holders of Second Lien Claims under the Plan will be made from a
 combination of either: (A) in the TERP Share Election Alternative, (i) 10% of the New SUNE
 Common Stock, (ii) 10% of the Continuing TERP Class A Shares, (iii) 10% of the Reinstated
 Second Lien Claim Amount, and (iv) 100% of the Class B GUC/Litigation Trust Interests, and
 (B) in the TERP Cash Election Alternative, 7 (i) 100% of the New SUNE Common Stock, (ii)
 100% of the Reinstated Second Lien Claim Amount and (iii) 100% of the Class B
 GUC/Litigation Trust Interests.8 In addition, in the TERP Share Election Alternative, Eligible
 Holders of Second Lien Claims will get their pro rata portion of Rights Offering Subscription
 Rights.9

         Distributions to Holders of General Unsecured Claims will be made, based on their pro
 rata portion of the Class A GUC/Litigation Trust Interests, from the GUC/Litigation Trust which
 will distribute the potential value from assets reserved for the benefit of Holders of General
 Unsecured Claims pursuant to the Committee DIP Settlement and the Committee/BOKF Plan

 7
     Holders of Second Lien Claims should review the Plan for further details regarding the TERP Cash Election
     Alternative.
 8
     The equity percentages set forth for the TERP Share Election Alternative do not reflect dilution attributable to
     the Rights Offering Backstop Standby Fee (i.e., the “put premium” to be paid to the Rights Offering Backstop
     Purchasers, pursuant to the Equity Commitment Agreement).
 9
     Subject to the Direct Equity Offering as defined in the Equity Commitment Agreement.



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 Settlement. The GUC/Litigation Trust will be seeded with $7.5 million, and the GUC/Litigation
 Trust Causes of Action, the D&O Insurance Proceeds, the YieldCo Avoidance Allocation, and
 the Voluntary Professional Fee Reduction Amount will be transferred to the GUC/Litigation
 Trust. Distributions from the GUC/Litigation Trust will be on a consolidated basis without
 reference to Debtor-specific Claims.

        Other distributions under the Plan will be made from Cash on hand, Cash from proceeds
 received through the Rights Offering (in the TERP Share Election Alternative only), and Cash
 received from the Jointly Supported Transactions.

 A.       The Jointly Supported Transactions and the YieldCo Settlements Embodied in the Plan

         The Debtors previously announced two separate transactions (each a “Jointly Supported
 Transaction”) pursuant to which Brookfield Asset Management, Inc. and certain of its affiliates
 (“Brookfield”) are to acquire 51% of TERP’s outstanding stock in a sponsorship merger
 transaction and 100% of GLBL’s outstanding stock in a whole company cash merger.

          The Plan is dependent on settlements of Claims and Causes of Action between the
 Debtors and each of the YieldCos, negotiations of which were first announced in late January
 2017. As of March 6, 2017, the Debtors and the YieldCos, and certain of their respective
 affiliates, entered into two settlement agreements (the “YieldCo Settlement Agreements”),
 which, among other things, provide for the Debtors to receive 36.9% and 25% (exclusive of
 SunEdison’s current Class A share ownership in GLBL), respectively, of the total consideration
 flowing to TERP and GLBL shareholders 10 under the agreements (the “Jointly Supported
 Transaction Agreements”) that are the basis for Jointly Supported Transactions. The YieldCo
 Settlements are the subject of the motion before the Bankruptcy Court filed on March 10, 2017
 [Docket No. 2570] (the “YieldCo Settlement Motion”), and parties should review the YieldCo
 Settlement Motion for a more comprehensive explanation of the YieldCo Settlement
 Agreements. The Bankruptcy Court entered an order approving the YieldCo Settlement Motion
 on June 7, 2017 [Docket No. 3292]. The YieldCo Settlement Motion also included the Debtors’
 determination of a $16.1 million allocation of the transaction consideration received pursuant to
 the Jointly Supported Transactions that would be attributable to hypothetically-brought
 Avoidance Actions claimed by the Debtors against the YieldCos [Docket No. 2641]. As further
 detailed below, as part of the Committee/BOKF Plan Settlement, this allocation amount was
 increased to $18 million, which will be transferred to the GUC/Litigation Trust for distribution to
 Holders of General Unsecured Claims. In addition, the Committee/BOKF Plan Settlement and
 the Committee’s support of Confirmation of the Plan is conditioned on the YieldCos
 withdrawing all General Unsecured Claims against the Debtors, subject to the right of TERP to
 assert up to one-half of the actual amount the YieldCos ultimately are required to pay (and
 therefore have the right to assert as a General Unsecured Claim) in connection with the
 Preserved DE Shaw Unsecured Claim (as defined in the YieldCo Settlement Motion), capped at
 one-half of $231 million.


 10
      As adjusted for shares excluded under the applicable merger agreement with Brookfield, including shares held
      by Brookfield.



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         Further, while the Debtors are not party to the Jointly Supported Transaction Agreements,
 they are party to, and have obligations under, certain voting and support agreements (with
 Brookfield and the respective YieldCo) and a certain incentive distribution rights transfer
 agreement (collectively, the “Voting and Support Agreements”) that facilitate and relate to the
 Jointly Supported Transaction Agreements that were entered into by the YieldCos and
 Brookfield at the same time as the YieldCo Settlement Agreements. Specifically, the two voting
 and support agreements obligate the Debtors to support the Brookfield merger transactions and
 vote all of their equity interests in the YieldCos in favor of such transactions, and the incentive
 distribution rights transfer agreement will effectuate the transfer all of the Debtors’ incentive
 distribution rights in TerraForm Power, LLC to Brookfield. The Voting and Support
 Agreements are the subject the motion before the Bankruptcy Court, filed on March 14, 2017
 [Docket No. 2580], and parties should review the motion for a more comprehensive explanation
 of the Voting and Support Agreements and the Debtors’ respective obligations thereunder. The
 Bankruptcy Court entered orders approving the Voting and Support Agreements on June 7, 2017
 [Docket Nos. 3293 and 3294].

 B.     The Committee/BOKF Plan Settlement

         The Plan also incorporates the Committee/BOKF Plan Settlement, which settles all
 pending litigation that has been commenced by the Creditors’ Committee or BOKF, N.A. (the
 “UCC/BOKF Litigation”) (i.e., the UCC Challenge Litigation, the BOKF Objection, and the
 objections to the YieldCo Settlements including the YieldCo Avoidance Allocation contained
 therein), and pursuant to which the Creditors’ Committee agreed not to take any actions or file
 any pleadings inconsistent with the settlement or that would have the effect of modifying the
 settlement, and so long as the Plan (including any amendments or supplements thereto) and other
 definitive documentation reflects the settlement, the Creditors’ Committee agreed to support the
 Disclosure Statement and the Plan, in consideration for, among other things, (a) the transfer of
 certain assets to the GUC/Litigation Trust as set forth below and (b) the final resolution of any
 and all issues that may be in dispute (either currently or pending or that could be commenced in
 the future) regarding the Committee DIP Settlement, including any right to receive amounts
 attributable to the Excess Non-Prepetition 1L/2L Obligor Sale Proceeds.

         A copy of the Committee/BOKF Plan Settlement Term Sheet is attached as Exhibit 6.1 to
 the Plan and should be reviewed carefully. Certain of the provisions of the Committee/BOKF
 Plan Settlement Term Sheet are described below. However, to the extent of any inconsistency
 between this Disclosure Statement, the Plan and the Committee/BOKF Plan Settlement Term
 Sheet, the Committee/BOKF Plan Settlement Term Sheet shall prevail.

         Pursuant to the Committee/BOKF Plan Settlement, on the Effective Date, the Debtors
 will transfer the following assets to the GUC/Litigation Trust for the benefit of Holders of
 General Unsecured Claims:

           $7.5 million in Cash on account of the initial funding for the GUC/Litigation Trust as
            contemplated by the Committee DIP Settlement annexed to the Original DIP Facility




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              Order and the Replacement DIP Facility Order (the “GUC/Litigation Trust Initial
              Funding”);11

             all proceeds realized from the D&O Settlement (described in ARTICLE V.I.2) on
              account of proceeds allocable from the D&O Insurance to certain estate Causes of
              Action against the Debtors’ current or former directors or officers, which is expected
              to be $32.0 million in Cash (the “D&O Insurance Proceeds”);

             $18.0 million in Cash on account of the settlement of certain Avoidance Actions in
              connection with the YieldCo Settlement Motion (the “YieldCo Avoidance
              Allocation”);12

             at least $5.0 million in Cash on account of Voluntary Professional Fee Reductions
              (the “Voluntary Professional Fee Reduction Amount”), as well as all additional
              voluntary professional fee reductions that exceed the Voluntary Professional Fee
              Reduction Amount (collectively, the “Voluntary Professional Fee Reductions”); and

             all Causes of Action of the Debtors’ Estates as of the Effective Date, including all
              estate Avoidance Actions (other than Avoidance Actions against the YieldCos and
              Avoidance Actions against the Prepetition First Lien Secured Parties and Second Lien
              Creditors) to the extent such Causes of Action are not released or settled with the
              consent of the Creditor’ Committee pursuant to Article 11.5 of the Plan or released or
              settled pursuant to an order of the Bankruptcy Court or the Committee/BOKF Plan
              Settlement Term Sheet (collectively, the “GUC/Litigation Trust Causes of Action,”
              and together with the D&O Insurance Proceeds, the YieldCo Avoidance Allocation,
              and all Voluntary Professional Fee Reductions, the “GUC/Litigation Trust Assets”),
              subject to a sharing mechanism set forth in the Committee/BOKF Plan Settlement
              Term Sheet.

         Any proceeds recovered by the GUC/Litigation Trust (or for the benefit of unsecured
 creditors) on account of Avoidance Actions, net of fees and expenses expended to prosecute such
 Avoidance Actions (including fees paid on a contingency arrangement, any expenses of
 prosecuting the GUC/Litigation Trust, including, without limitation, the costs associated with
 preparation of the GUC/Litigation Trust Reports, all of which shall be deducted prior to any
 distribution of Net Avoidance Action Proceeds), other than proceeds from those Avoidance
 Actions against the YieldCos that are settled in connection with the YieldCo Avoidance

 11
      Pursuant to the terms of the Replacement DIP Facility Order, the GUC/Litigation Trust was to be seeded with
      $10 million minus any amounts previously incurred by the Creditors’ Committee in connection with the lien
      challenge investigation and incurred in connection with the investigation and prosecution of GUC/Litigation
      Trust Causes of Action. Pursuant to the Committee/BOKF Plan Settlement, the parties have determined that the
      Initial GUC/Litigation Trust Funding amount will be set at $7.5 million (subject to any deductions agreed to by
      the Creditors’ Committee as set forth in the Committee/BOKF Plan Settlement Term Sheet).
 12
      The YieldCo Avoidance Allocation was determined to be $16.1 million by the Debtors as set forth in the
      YieldCo Settlement Motion. This amount was increased to $18 million under the Committee/BOKF Plan
      Settlement.



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 Allocation (the “Net Avoidance Actions Proceeds”), whether such Net Avoidance Actions
 Proceeds are recovered pursuant to the successful prosecution or settlement of such Avoidance
 Actions, are to be shared as follows:

            the initial $63.0 million of Net Avoidance Action Proceeds recovered shall be
             distributed on a Pro Rata basis to Holders of Allowed General Unsecured Claims; and

            any Net Avoidance Actions Proceeds recovered that exceed $63.0 million in the
             aggregate (the “Additional Net Avoidance Action Proceeds”) shall be distributed (i)
             fifty-two percent (52%) on a Pro Rata basis to Holders of Allowed General
             Unsecured Claims and (ii) forty-eight percent (48%) on a Pro Rata basis to Holders of
             Allowed Second Lien Claims or their representatives.

        Holders of General Unsecured Claims, in their capacity as such, shall not be permitted to
 share or participate in (a) the Continuing TERP Class A Shares, (b) the Rights Offering, (c) the
 New SUNE Common Stock, and (d) the Reinstated Second Lien Claims.

         In further consideration for the settlement of the UCC/BOKF Litigation, on the Effective
 Date:

            on the Effective Date, the Tranche B Roll Up Lenders will be deemed to have agreed
             to release any liens, claims or interests in all assets transferred to the GUC/Litigation
             Trust in accordance with the Committee/BOKF Plan Settlement, including the D&O
             Insurance Proceeds, and such assets shall not secure the Tranche B Roll-Up Loans (as
             defined in the DIP Credit Agreement), and the D&O Insurance Proceeds shall not
             constitute adequate protection for the benefit of the Original DIP Lenders, the
             Replacement DIP Lenders, or the Prepetition Secured Parties; and

            the investigation/prosecution cap (the “Investigation/Prosecution Cap”) described in
             the Original DIP Facility Order and the Replacement DIP Facility Order shall be
             deemed increased from $175,000 to $2.25 million.

         In consideration of the foregoing the UCC/BOKF Litigation shall be held in abeyance
 pending the Bankruptcy Court’s approval of the Committee/BOKF Plan Settlement and
 Confirmation of the Plan. The Plan serves as the Debtors’ motion to approve the
 Committee/BOKF Plan Settlement under Bankruptcy Rule 9019 and confirmation of the Plan
 will be deemed approval of such settlement. If the Committee/BOKF Plan Settlement is
 approved, the Plan is confirmed, and the Plan becomes effective, the UCC/BOKF Litigation will
 be deemed withdrawn with prejudice (and if necessary, parties will file with the Bankruptcy
 Court any necessary withdrawal notices). The Creditors’ Committee has agreed to support, and
 BOKF has agreed not to object to, the Plan and the YieldCo Settlement Motion on the terms set
 forth in in the Committee/BOKF Plan Settlement. In further consideration for the settlement of
 the UCC/BOKF Litigation, on the Effective Date, the terms of the Committee/BOKF Plan
 Settlement Term Sheet shall be effectuated to the extent that they have not previously occurred.

        The Committee/BOKF Plan Settlement and the Creditors’ Committee’s support of
 Confirmation of the Plan is conditioned on the YieldCos withdrawing all General Unsecured

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 Claims against the Debtors, subject to the right of TERP to assert up to one-half of the actual
 amount the YieldCos ultimately are required to pay (and therefore have the right to assert as a
 General Unsecured Claim) in connection with the Preserved DE Shaw Unsecured Claim (as
 defined in the YieldCo Settlement Motion), capped at one-half of $231 million.

        The Committee/BOKF Plan Settlement is the result of extensive discussions and
 mediation between the Debtors, the Tranche B Lenders/Steering Committee of Prepetition
 Second Lien Lenders and Noteholders, the Creditors’ Committee, and BOKF, N.A.

         As noted above, the Committee/BOKF Plan Settlement constitutes a complete settlement
 of any and all issues that may be in dispute (either currently or pending or that could be
 commenced in the future) regarding distributions pursuant to the Committee DIP Settlement.
 The Committee DIP Settlement entered into in June 2016 (as described in ARTICLE V.B herein)
 contemplated that a GUC/Litigation Trust would be established as a vehicle to distribute
 potential value from the following assets: (a) certain Estate Causes of Action, including certain
 Avoidance Actions; (b) proceeds from D&O Insurance subject to the terms of the Committee
 DIP Settlement; (c) net proceeds from asset sales of certain Debtors in excess of $175 million as
 set forth in the Committee DIP Settlement; and (d) certain other assets transferred to the
 GUC/Litigation Trust in accordance with the Plan and Committee DIP Settlement.

         Under the Committee DIP Settlement, general unsecured creditors were offered certain
 rights (on behalf of the Estates) over the Second Lien Creditors’ rights to any D&O insurance
 proceeds that they could recover from the Second Lien Creditors’ direct claims against the
 Debtors’ directors and officers stemming from the January 2016 financing transactions.
 Unsecured creditors would lose these rights, however, if the Creditors’ Committee chose to
 challenge the Prepetition Secured Parties’ liens and claims; the Creditors’ Committee was also
 given $175,000 to conduct its investigation of such liens and claims.

         In October 2016, the Creditors’ Committee chose to commence the UCC Challenge
 Litigation, resulting in the forfeiture of its rights to the Second Lien Creditors’ rights to any
 D&O insurance proceeds. Around the same time, the indenture trustee for certain convertible
 unsecured notes issued by SUNE also filed the BOKF Objection to proofs of claim filed by the
 Second Lien Notes Trustee and the Second Lien Loans Agent, which objection asserted certain
 of the same claims raised in the UCC Challenge Litigation. As of the date hereof, the Creditors’
 Committee has filed its complaint, the respective Prepetition First and Second Lien Defendants
 have filed motions to dismiss such complaint, the Creditors’ Committee had responded to such
 motions to dismiss, and the Bankruptcy Court has heard oral arguments with regard to the
 Prepetition First Lien Defendants’ motion to dismiss, the Second Lien Defendants’ motion to
 dismiss, and the BOKF Objection. The Bankruptcy Court has not yet issued any decision on
 these matters, and as a result of the Committee/BOKF Plan Settlement, all of these litigations are
 being held in abeyance.

        Prior to mediation in April 2017, the Debtors participated in numerous conversations,
 negotiation sessions, and other informal and formal meetings with the Creditors’ Committee and
 the Prepetition Secured Parties in an attempt to resolve all issues among the parties, including
 those raised in the UCC Challenge Litigation and the BOKF Objection. The Debtors also
 understand that the parties, during the same timeframe and equally as often, have participated in

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 such conversations, sessions and meetings among themselves, outside the presence of the
 Debtors, but at the Debtors’ encouragement.

        At the request of the parties, on March 18, 2017, the Bankruptcy Court entered an order
 assigning certain matters to mediation, including the UCC Challenge Litigation, the BOKF
 Objection, the YieldCo Avoidance Allocation, and issues related to the Plan (together, the
 “Mediation Issues”), before Chief Judge Cecelia Morris of the Bankruptcy Court for the
 Southern District of New York. As a result of the mediation, the Debtors, the Tranche B
 Lenders/Steering Committee, the Creditors’ Committee, and BOKF, N.A. reached a global
 settlement with respect to the Mediation Issues, allowing the Debtors to move the Chapter 11
 Cases to their conclusion. In the Debtors’ view, the Committee/BOKF Plan Settlement
 represents a fair and reasonable compromise of the Mediation Issues.

         The Debtors believe the Committee/BOKF Plan Settlement permits a significant
 distribution to Holders of other General Unsecured Claims that may not have occurred otherwise.
 The Debtors believe that but for the Committee/BOKF Plan Settlement, the Holders of the
 Second Lien Claims would have received almost all of the distributable value of the Company
 after payment in full of the Original DIP Facility Claims (in the event amounts are owed and not
 disputed by any party as of the Effective Date), Replacement DIP Facility Claims, and
 Administrative Claims, and Holders of General Unsecured Claims would have received no value
 other than the value that resulted from the Committee DIP Settlement.

 C.     Plan Funding and Value

        The value available to fund the Plan consists of the following components:

        (i)     the value that will be realized by the Debtors’ Estates as a result of the
 consideration received prior to consummation of the Jointly Supported Transactions which are
 made possible as a result of the settlements that the Debtors reached with the YieldCos (which
 settlements were approved by the Bankruptcy Court on June 7, 2017 [Docket No. 3292]); (the
 agreements documenting the terms of the Jointly Supported Transactions were entered into on
 March 6, 2017, and are still subject to YieldCo shareholder and regulatory approval);

         (ii)   the value that has been and will be realized (including after the Effective Date) by
 the Debtors’ Estates from the proceeds of asset sales by the Debtors and non-Debtors (other than
 the Jointly Supported Transactions) that have occurred and continue to occur during the Chapter
 11 Cases, including, without limitation, direct asset sale proceeds and earnouts realized after the
 closing of any sales;

        (iii)   solely in the event of the TERP Share Election Alternative (as described in
 Section D of this Executive Summary below), the proceeds of

                (A) the Rights Offering, backstopped by the Rights Offering Backstop Purchasers
                on a fully committed basis, pursuant to which Eligible Holders of Second Lien
                Claims will be offered the rights to purchase 67.5% of the New SUNE Common
                Stock and 67.5% of the Continuing TERP Class A Shares to be issued or
                distributed under the Plan, and receive a portion of the Reinstated Second Lien
                Claims pursuant to the Reinstated Second Lien Modification Terms in the same
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                   proportion as they will hold New SUNE Common Stock, which will generate
                   gross cash proceeds of $213.75 million (subject to increase to $225 million); and

                   (B) the direct purchase of 22.5% of the New SUNE Common Stock and 22.5% of
                   Continuing TERP Class A Shares to be issued or distributed under the Plan by the
                   Rights Offering Backstop Purchasers (the “Direct Equity Commitment”),
                   resulting in gross cash proceeds of $71.25 million (subject to increase to $75
                   million); 13

        (iv)   remaining Cash on hand of the Debtors, and any Cash that the Reorganized
 Debtors receive after the Effective Date, from Residual Assets Proceeds, Earnout Assets, and
 Repatriated Cash; and

        (v)        other sources of value, including, without limitation, the D&O Insurance
 Proceeds.

 D.       Plan Funding Alternatives

         The Plan incorporates the Debtors’ sale, distribution, or transfer of all of their interests in
 the YieldCos, either pursuant to the Jointly Supported Transactions, or, pursuant to the Plan
 immediately following completion of the Jointly Supported Transactions. Pursuant to the Jointly
 Supported Transaction Agreements, the Debtors will sell (for cash) all of their interests in GLBL.
 Pursuant to the TERP Merger Agreement and the TERP Settlement Agreement, and in exchange
 for the Debtors’ Class B Shares of TERP Inc. common stock and Class B units of TERP LLC,
 the Debtors will receive Class A shares of TERP Inc. common stock, and with respect to each
 Class A share of TERP Inc. common stock held by them (as of immediately prior to the
 consummation of the merger contemplated by the TERP Merger Agreement), either (1) elect to
 retain one Continuing TERP Class A Share (the “TERP Share Election Alternative”) and receive
 $4.50 in Cash or (2) elect to receive $9.52 in Cash and retain zero Continuing TERP Class A
 Shares (the “TERP Cash Election Alternative”).14 The Debtors will only elect the TERP Cash
 Election Alternative in the event that (a) they do not receive a commitment to fully backstop the
 Rights Offering, (b) the Rights Offering Backstop Commitment is not approved by the
 Bankruptcy Court, or (c) the Equity Commitment Agreement is terminated prior to the date that
 the Debtors need to make their election. 15 In the TERP Share Election Alternative only, the

 13
      The up to $75 million of New SUNE Common Stock and Continuing TERP Class A Shares to be sold under the
      Direct Equity Commitment will only be available for purchase by the Rights Offering Backstop Purchasers.
 14
      The dollar amounts set forth for each of the TERP Share Election Alternative and the TERP Cash Election
      Alternative exclude the $1.94 per TERP Class A Share special dividend to be paid in Cash pursuant to the
      TERP Merger Agreement.
 15
      To the extent that (a) the Debtors elect the TERP Cash Election Alternative and (b) the cash received from the
      Jointly Supported Transactions is insufficient to repay the Tranche B Roll-Up Lenders in full and in Cash, the
      Debtors will issue Reinstated Tranche B Roll-Up Loans in an amount and with terms necessary to render the
      Tranche B Roll-Up Loans Unimpaired, including, without limitation, priority (over the Reinstated Second Lien
      Claims) in lien and claim amount and interest, and with other terms that are identical to the current Tranche B
      Roll-Up Loans.



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 Continuing TERP Class A Shares will be offered to Eligible Holders of Second Lien Claims
 pursuant to the Rights Offering. The Rights Offering will be backstopped by the Supporting
 Second Lien Parties on a fully committed basis.

 E.       Corporate Structure Under the Plan

         The Plan contemplates a chapter 11 reorganization resulting in two distinct corporate
 structures upon consummation:

          (1)      Reorganized SUNE and its Reorganized Debtor Affiliates.

         Following emergence, Reorganized SUNE and its Reorganized Debtor affiliates, as well
 as certain of its non-Debtor affiliates will continue business operations to administer and
 maximize the value of remaining assets. Reorganized SUNE will employ personnel 16 and
 maintain systems and back-office capabilities reasonably necessary to administer the Earnout
 Assets and Residual Assets of Reorganized SUNE and its subsidiaries (which include, among
 other assets, inventory, equipment, contractual rights, intellectual property, real property,
 fixtures, goods, and equity interests in subsidiaries) and will use commercially reasonable efforts
 to generate Earnout Proceeds and Residual Assets Proceeds therefrom. In particular,
 Reorganized SUNE will consummate transactions of remaining assets held for sale, collect
 payment reimbursements from various entities related to assets that have previously been sold,
 collect earnouts associated with project milestones, collect other receivables, maximize recovery
 of Repatriated Cash and receivables, and maximize recovery of tax refunds.

        The consolidated Financial Projections of the Debtors and their non-Debtor subsidiaries,
 attached as Exhibit B to this Disclosure Statement, show the Debtors’ and their non-Debtor
 subsidiaries’ expected realization of proceeds from the Earnout Assets and Residual Assets,
 Repatriated Cash, and cash from other opportunities (before fixed costs, restructuring costs, and
 the costs of the post-emergence entity).17 Certain entities are expected to continue operating
 through 2020 to realize the value on the Earnout Assets, Repatriated Cash, Residual Assets and
 other opportunities. 18

        In connection with the foregoing business operations and maximization of asset value,
 personnel of Reorganized SUNE will also provide the necessary corporate functions to support
 ongoing activity of its subsidiaries. In addition, SUNE is negotiating certain transition
 agreements with TERP and GLBL:

 16
      Reorganized SUNE is expected to have a Board of Directors to be managed by a chief executive officer
      supported a by limited staff of full-time employees that are retained from the current workforce, as well as
      limited cadre of professional advisors.
 17
      The Financial Projections reflect the assets and estimated values thereof that are expected to remain with
      Reorganized SUNE and its Affiliates, including non-Debtor Affiliates, immediately following emergence. The
      Financial Projections reflect consolidated cash flow projections of both Debtor and non-Debtor entities.
 18
      The Financial Projections contemplate that the reorganized Company will have realized substantially all
      anticipated value from its remaining assets by the end of 2020 and substantially all of its Affiliates will have
      wound down operations.



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         (1)     Pursuant to a transition services agreement (filed at Docket No. 3247) (the “GAM
 TSA”), SUNE will provide for the orderly transition of employees who provide asset
 management and operating and maintenance services from the Company to TERP as well as the
 transition of service responsibilities performed by such employees. In particular the GAM Letter
 Agreement between SUNE, certain affiliates of SUNE (“Service Providers”), and TERP will
 provide the terms and conditions by which certain affiliates of TERP (“Service Recipients”) and
 certain of their respective affiliates and designees are permitted to make an offer of employment
 to employees of the Service Providers. The GAM Letter Agreement also will provide the terms
 and conditions by which SUNE, Service Providers, TERP, and Service Recipients will cooperate
 so that the services and obligations under asset management and operation and maintenance
 (“O&M”) contracts between the Service Providers and the Service Recipients will be
 transitioned in-house to TERP or subcontracted to new service providers. 19

                (2)    Under the corporate transition services agreements with certain of the
 TERP and GLBL entities (the “Yieldco TSAs”), SunEdison will provide the Yieldcos with a
 variety of corporate and administrative services for the transition period provided thereunder,
 including: information technology services (e.g., telephone, server and data center services,
 email and other IT support), tax transition services (e.g., creating and managing the budget,
 preparing tax returns and other tax filings), and human resources services (e.g., hiring and
 onboarding employees, visa administration, payroll processing).

         In addition, as set forth in Annex 1 of the Committee/BOKF Plan Settlement Term Sheet,
 Reorganized SUNE will provide certain services, which may include personnel, systems, and
 access to books and records, to the GUC/Litigation Trust in connection with the administration
 of certain GUC/Litigation Trust Assets, including claims administration and the prosecution of
 the GUC/Litigation Trust Causes of Action.

         Reorganized SUNE personnel will also assist the reorganized company in winding down
 entities and business units that do not hold additional assets or are not anticipated to realize
 further value.

        (2)     GUC/Litigation Trust (as explained above and in ARTICLE VI.G of the
 Disclosure Statement).

 F.       Classification Under the Plan

          The Plan provides for the resolution of all Claims against and Interests in each of the 51
 Debtors in these Chapter 11 Cases, and constitutes a separate chapter 11 plan of reorganization
 for each Debtor. The Plan contains separate classes for Holders of Claims and Interests. For
 administrative convenience, the Plan organizes the Debtors into Debtor Groups and assigns a
 letter to each Debtor Group and a number to each Class of Claims or Interests in each Debtor
 Group. Pursuant to section 1122 of the Bankruptcy Code, set forth below and in Article VI.D of
 this Disclosure Statement is a designation of the Debtor Groups and Classes of Claims and

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      Additional detail about the GAM TSA and the Debtors efforts to sell the GAM business unit is set forth in
      ARTICLE V.F.



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 Interests. The Plan provides for a single Class of Holders of General Unsecured Claims without
 regard to Debtor entities at which such Holders hold their Claims. For purposes of distributions
 to Holders of General Unsecured Claims, “Pro Rata” shall be determined where (x) the
 denominator is equal to all Allowed General Unsecured Claims against all Debtors and (y) the
 numerator equal to the amount of a particular Holder’s Allowed General Unsecured Claim. For
 voting purposes, the Debtors shall tabulate ballots for Holders of General Unsecured Claims both
 on a Debtor-by-Debtor basis and on aggregate basis without regard to particular Debtor entities
 and reserve the right to seek Confirmation of the Plan under either tabulation through accepting
 Classes or cramdown. A Claim or Interest is placed in a particular Class for the purposes of
 voting on the Plan and of receiving distributions pursuant to the Plan only to the extent that such
 Claim or Interest is an Allowed Claim or Allowed Interest in that Class and such Claim or
 Interest has not been paid, released, or otherwise settled prior to the Effective Date. In
 accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims and Priority
 Tax Claims of the kinds specified in sections 507(a)(1) and 507(a)(8) of the Bankruptcy Code
 have not been classified and their treatment is set forth in Article II of the Plan.

 Letter                 Debtor Group                          #             Designation
          Parent                                              1   Second Lien Claims
   A        SunEdison, Inc.                                   2   Other Secured Claims
          DIP and Second Lien Secured                         3   Other Priority Claims
          Guarantors                                          4   General Unsecured Claims
            Buckthorn Renewables Holdings, LLC
            Everstream HoldCo Fund I, LLC                     5   Intercompany Claims
            Greenmountain Wind Holdings, LLC                  6   Other Subordinated Claims
            Rattlesnake Flat Holdings, LLC                    7   Interests in Debtor Subsidiaries
            Somerset Wind Holdings, LLC
            SunE Minnesota Holdings, LLC                      8   Interests in SUNE
            SunE MN Development, LLC
            SunE MN Development Holdings, LLC
            SunE Waiawa Holdings, LLC
            Sunflower Renewables Holdings 1,
            LLC
   B        Enflex Corporation
            Fotowatio Renewable Ventures, Inc.
            MEMC Pasadena, Inc.
            NVT Licenses, LLC
            NVT, LLC
            Solaicx
            SunE ML 1, LLC
            SunEdison Canada, LLC
            SunEdison Contracting, LLC
            SunEdison DG, LLC
            SunEdison Holdings Corporation
            SunEdison International, Inc.
            SunEdison International, LLC
            Sun Edison LLC

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             SunEdison Utility Holdings, Inc.
             Team-Solar Inc.
             First Wind Holdings, LLC
             First Wind Energy, LLC
             Vaughn Wind, LLC
             Maine Wind Holdings, LLC
             SunEdison Products, LLC
             Hudson Energy Solar Corporation
             SunE REIT-D PR, LLC
             SunEdison International Construction,
             LLC
             EchoFirst Finance Co., LLC
           DIP-only Secured Guarantors
             Blue Sky West Capital, LLC
             DSP Renewables, LLC
             First Wind California Holdings, LLC
             First Wind Oakfield Portfolio, LLC
             First Wind Panhandle Holdings III,
   C         LLC
             First Wind Solar Portfolio, LLC
             Hancock Renewables Holdings, LLC
             PVT Solar, Inc.
             SunE Hawaii Solar Holdings, LLC
             SunE Wind Holdings, Inc.
             SunEdison Residential Services, LLC
           DIP-only Unsecured Guarantor
   D         Silver Ridge Power Holdings, LLC
             TerraForm Private Holdings LLC
           Not Obligated on DIP or Second Lien
           Claims
   E
             SunEdison Products Singapore Pte. Ltd
             SEV Merger Sub Inc.

 The classification of Claims and Interests (as applicable) under the Plan is as set forth below:

   Class               Claim or Interest                  Status                  Voting Rights
  1A and
               Second Lien Claims                      Impaired               Entitled to Vote
    1B
  2A-2E        Other Secured Claims                    Unimpaired             Presumed to Accept
  3A-3E        Other Priority Claims                   Unimpaired             Presumed to Accept
               General Unsecured Claims and
  4A-4E                                                Impaired               Entitled to Vote
               Convertible Senior Notes Claims
                                                       Impaired or            Deemed to Reject or
  5A-5E        Intercompany Claims
                                                       Unimpaired             Presumed to Accept
  6A-6E        Other Subordinated Claims               Impaired               Deemed to Reject

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                                                        Impaired or             Deemed to Reject or
  7B-7E        Interests in Debtor Subsidiaries
                                                        Unimpaired              Presumed to Accept
    8A         Interests in SUNE                        Impaired                Deemed to Reject

        The table below summarizes the classification and treatment of Claims and Interests
 under the Plan. These summaries are qualified in their entirety by reference to the provisions of
 the Plan. For a more detailed description of the terms and provisions of the Plan, see Article VI
 below.

     Class                                        Treatment under the Plan
   Description

 Classes 1A-1B –     Classes 1A and 1B consist of all Allowed Second Lien Claims.
 Second Lien         Except to the extent that a Holder of an Allowed Second Lien Claim agrees
 Claims              to a less favorable treatment, in full and final satisfaction, settlement, release,
                     and discharge of and in exchange for each and every Allowed Second Lien
                     Claim (except as otherwise set forth herein with respect to the Reinstated
                     Second Lien Claims), on the Effective Date or as soon as practicable
                     thereafter, each Holder of an Allowed Second Lien Claim shall receive its
                     Pro Rata portion of the Second Lien Claim Distribution.
                     In addition to the foregoing, in the TERP Share Election Alternative, each
                     Holder of an Allowed Second Lien Claim that is an Eligible Holder shall
                     receive its Pro Rata portion of the Rights Offering Subscription Rights.
                     Classes 1A and 1B are Impaired and Holders of Allowed Second Lien
                     Claims are entitled to vote to accept or reject the Plan.

 Classes 2A-2E –     Classes 2A, 2B, 2C, 2D, and 2E consist of all Allowed Other Secured
 Other Secured       Claims.
 Claims              Except as otherwise provided in and subject to Article 10.6 of the Plan, and
                     except to the extent that a Holder of an Allowed Other Secured Claim agrees
                     to a less favorable treatment, in full and final satisfaction, settlement, release
                     and discharge of and in exchange for each and every Allowed Other Secured
                     Claim, each such Holder of an Allowed Other Secured Claim shall, at the
                     option of the Debtors (with the reasonable consent of the Supporting Second
                     Lien Parties) or the Reorganized Debtors, as applicable:
                             (i)      have its Allowed Other Secured Claim Reinstated and
                     rendered Unimpaired, or otherwise have its Claim rendered Unimpaired, in
                     each case in accordance with section 1124(2) of the Bankruptcy Code,
                     notwithstanding any contractual provision or applicable non-bankruptcy law
                     that entitles the Holder of an Allowed Other Secured Claim to demand or
                     receive payment of such Allowed Other Secured Claim prior to the stated
                     maturity of such Allowed Other Secured Claim from and after the occurrence
                     of a default;


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     Class                                       Treatment under the Plan
   Description
                             (ii)   be paid in full in Cash in an amount equal to such Allowed
                     Other Secured Claim, including postpetition interest, if any, on such Allowed
                     Other Secured Claim required to be paid pursuant to section 506 of the
                     Bankruptcy Code as the case may be, on the later of (x) the Effective Date
                     and (y) the date such Other Secured Claim becomes an Allowed Claim or as
                     soon thereafter as reasonably practicable; or
                            (iii)   receive such other less favorable treatment as to which the
                     Debtors (with the reasonable consent of the Supporting Second Lien Parties)
                     or Reorganized Debtors and such Holder of such Allowed Other Secured
                     Claim will have agreed upon in writing.
                     provided, that Other Secured Claims incurred by the Debtors in the ordinary
                     course of business may be paid in the ordinary course of business in
                     accordance with such applicable terms and conditions relating thereto in the
                     discretion of the Debtors (with the reasonable consent of the Supporting
                     Second Lien Parties) or Reorganized Debtors without further notice to or
                     order of the Bankruptcy Court. Nothing in Article 4.2 of the Plan or
                     elsewhere in the Plan shall preclude the Debtors (or the Reorganized
                     Debtors) from challenging the validity of any alleged Lien or any asset of the
                     Debtors or the value of the property that secures any alleged Lien allegedly
                     securing an Allowed Other Secured Claim.
                     Classes 2A, 2B, 2C, 2D, and 2E are Unimpaired, and Holders of Allowed
                     Other Secured Claims are conclusively presumed to have accepted the Plan
                     pursuant to section 1126(f) of the Bankruptcy Code. Therefore, Holders of
                     Allowed Other Secured Claims are not entitled to vote to accept or reject the
                     Plan.

 Classes 3A-3E –     Classes 3A, 3B, 3C, 3D, and 3E consist of all Allowed Other Priority
 Other Priority      Claims.
 Claims              Except as otherwise provided in and subject to Article 10.6 of the Plan, and
                     except to the extent that a Holder of an Allowed Other Priority Claim agrees
                     to a less favorable treatment, in full and final satisfaction, settlement, release,
                     and discharge of and in exchange for each and every Allowed Other Priority
                     Claim, each such Holder of an Allowed Other Priority Claim shall be paid in
                     full in Cash on the Effective Date or such other ate as agreed between the
                     Debtors (or the Reorganized Debtors) and such Holder of an Allowed Other
                     Priority Claim; provided, however, that Other Priority Claims that arise in
                     the ordinary course of the Debtors’ business and which are not due and
                     payable on or before the Effective Date shall be paid in the ordinary course
                     of business in accordance with the terms thereof.
                     Classes 3A, 3B, 3C, 3D, and 3E are Unimpaired, and Holders of Allowed
                     Other Priority Claims are conclusively presumed to have accepted the Plan

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     Class                                    Treatment under the Plan
   Description
                   pursuant to section 1126(f) of the Bankruptcy Code. Therefore, Holders of
                   Allowed Other Priority Claims are not entitled to vote to accept or reject the
                   Plan.

 Class 4A-4E –     Class 4A, 4B, 4C, 4D, and 4E consist of all Allowed General Unsecured
 General           Claims.
 Unsecured         Except to the extent that a Holder of an Allowed General Unsecured Claim
 Claims            agrees to a less favorable treatment, in full and final satisfaction, settlement,
                   release, and discharge of and in exchange for each and every Allowed
                   General Unsecured Claim, each Holder of an Allowed General Unsecured
                   Claim shall receive its Pro Rata portion of the Class A GUC/Litigation Trust
                   Interests, subject to the specifics set forth in the Plan. For the avoidance of
                   doubt, Holders of Allowed General Unsecured Claims shall not receive any
                   of the Class B GUC/Litigation Trust Interests.
                   For purposes of Article 4.4 of the Plan, Pro Rata shall apply to all Allowed
                   General Unsecured Claims on a consolidated basis.
                   Classes 4A, 4B, 4C, 4D, and 4E are Impaired and Holders of Allowed
                   General Unsecured Claims are entitled to vote to accept or reject the Plan.

 Class 5A-5E –     Classes 5A, 5B, 5C, 5D, and 5E consist of all Allowed Intercompany Claims.
 Intercompany
                   On the Effective Date, and subject to any repayment obligations necessary to
 Claims            satisfy secured Intercompany Claims, all net Allowed Intercompany Claims
                   (taking into account any setoffs of Intercompany Claims) held by the Debtors
                   between and among any Affiliate of the Debtors shall be either reinstated,
                   cancelled, released, or otherwise settled in the Debtors’ discretion with the
                   reasonable consent of the Supporting Second Lien Parties. For the avoidance
                   of doubt, all Allowed Intercompany Claims held by any Debtor constitutes
                   collateral of the Original DIP Lenders, the Replacement DIP Lenders,
                   Second Lien Lenders, and Second Lien Senior Noteholders.
                   Classes 5A, 5B, 5C, 5D, and 5E are either: (i) Impaired, and Holders of
                   Allowed applicable Class 5 Claims are deemed to have rejected the Plan
                   pursuant to section 1126(g) of the Bankruptcy Code and, therefore, such
                   Holders of Allowed Class 5 Claims are not entitled to vote to accept or reject
                   the Plan; or (ii) Unimpaired, and Holders of Allowed applicable Class 5
                   Claims are conclusively presumed to have accepted the Plan pursuant to
                   section 1126(f) of the Bankruptcy Code and, therefore, Holders of Allowed
                   Class 5 Claims are not entitled to vote to accept or reject the Plan.

 Class 6A-6E –     Classes 6A, 6B, 6C, 6D, and 6E consist of all Allowed Bankruptcy Code
 Other             section 510(b) and (c) Claims.
 Subordinated      Holders of Allowed Other Subordinated Claims shall not receive any

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      Class                                   Treatment under the Plan
    Description
 Claims             distributions on account of such Allowed Other Subordinated Claims.
                    Classes 6A, 6B, 6C, 6D, and 6E are Impaired, and Holders of Allowed Other
                    Subordinated Claims are deemed to have rejected the Plan pursuant to
                    section 1126(g) of the Bankruptcy Code. Therefore, Holders of Allowed
                    Other Subordinated Claims are not entitled to vote to accept or reject the
                    Plan.

 Class 8B-8E –      Classes 7A, 7B, 7C, 7D, and 7E consist of all Allowed Interests in Debtor
 Interests in       Subsidiaries.
 Debtor             On the Effective Date, all Allowed Interests in Debtor Subsidiaries shall be
 Subsidiaries       either reinstated or cancelled in the Debtors’ discretion with the consent of
                    the Supporting Second Lien Parties. To the extent reinstated, Interests in
                    Debtor Subsidiaries are Unimpaired solely to preserve the Debtors’ corporate
                    structure and Holders of those Interests shall not otherwise receive or retain
                    any property on account of such Interests.
                    Classes 7A, 7B, 7C, 7D, and 7E are either: (i) Impaired, and Holders of
                    Allowed applicable Class 7 Claims are deemed to have rejected the Plan
                    pursuant to section 1126(g) of the Bankruptcy Code and, therefore, such
                    Holders of Allowed Class 7 Claims are not entitled to vote to accept or reject
                    the Plan; or (ii) Unimpaired, and Holders of Allowed applicable Class 7
                    Claims are conclusively presumed to have accepted the Plan pursuant to
                    section 1126(f) of the Bankruptcy Code and, therefore, Holders of Allowed
                    Class 7 Claims are not entitled to vote to accept or reject the Plan.

 Class 8A –         Class 8A consists of all Interests in SUNE.
 Interests in       On the Effective Date, Allowed Class 8A Interests shall be deemed
 SUNE               automatically cancelled, released, and extinguished without further action by
                    the Debtors or the Reorganized Debtors and the obligations of the Debtors
                    and the Reorganized Debtors thereunder shall be discharged.
                    Class 8A is Impaired, and Holders of Allowed Class 8A Interests are deemed
                    to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy
                    Code. Therefore, Holders of Allowed Class 8A Interests are not entitled to
                    vote to accept or reject the Plan.




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 Exhibit A          First Amended Joint Plan of SunEdison, Inc., et al.
 Exhibit B          Financial Projections
 Exhibit C          Liquidation Analyses
 Exhibit D          Capital Analysis




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                                                    ARTICLE I.

                                                INTRODUCTION

         Beginning on April 21, 2016,20 SunEdison, Inc. (“SUNE”) and certain of its affiliates,
 the debtors and debtors in possession in the above-captioned cases (collectively, the “Debtors”
 and, together with their non-Debtor affiliates, “SunEdison” or the “Company”), filed voluntary
 petitions for relief under chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101 et
 seq. (the “Bankruptcy Code”). The Debtors continue to operate their business as debtors in
 possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. The Debtors’ chapter 11
 cases are pending in the United States Bankruptcy Court for the Southern District of New York
 (the “Bankruptcy Court”) under Case No. 16-10992 (the “Chapter 11 Cases”).

         The Debtors’ Chapter 11 Cases have been consolidated for procedural purposes only and
 are being jointly administered. To date, no trustee or examiner has been appointed in these
 Chapter 11 Cases. On April 29, 2016, the Office of the United States Trustee for the Southern
 District of New York (the “United States Trustee”) appointed an official committee of unsecured
 creditors (the “Creditors’ Committee”) pursuant to section 1102 of the Bankruptcy Code (Docket
 No. 148).

         The Debtors submit this disclosure statement (the “Disclosure Statement”) pursuant to
 section 1125 of the Bankruptcy Code for purposes of soliciting votes to accept or reject the First
 Amended Joint Plan of SunEdison, Inc., et al., Pursuant to Chapter 11 of the Bankruptcy Code
 (the “Plan”), a copy of which is attached to this Disclosure Statement as Exhibit A.21

        The Plan provides for the resolution of all Claims against and Interests in each of the 51
 Debtors in these Chapter 11 Cases, and constitutes a separate chapter 11 plan of reorganization
 for each Debtor. The Plan contains separate classes for Holders of Claims and Interests. For

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      Certain other Debtors filed at later dates. Sunflower Renewable Holdings 1, LLC (6273); Blue Sky West
      Capital, LLC (7962); First Wind Oakfield Portfolio, LLC (3771); First Wind Panhandle Holdings III, LLC
      (4238); DSP Renewables, LLC (5513); Hancock Renewables Holdings, LLC (N/A) filed voluntary petitions on
      June 1, 2016. EverStream Holdco Fund I, LLC (9564) filed a voluntary petition on July 20, 2016. Buckthorn
      Renewables Holdings, LLC (7616); Greenmountain Wind Holdings, LLC (N/A); Rattlesnake Flat Holdings,
      LLC (N/A); Somerset Wind Holdings, LLC (N/A); and SunE Waiawa Holdings, LLC (9757) filed voluntary
      petitions on August 9, 2016. SunE MN Development, LLC (8669); SunE MN Development Holdings, LLC
      (5388); and SunE Minnesota Holdings, LLC (8926) filed voluntary petitions on August 10, 2016. TerraForm
      Private Holdings, LLC (5993) filed a voluntary petition on December 16, 2016. Hudson Energy Solar
      Corporation (3557); SunE REIT-D PR, LLC (5519); SunEdison Products, LLC (4445); SunEdison International
      Construction, LLC (9605); Vaughn Wind, LLC (4825); Maine Wind Holdings, LLC (1344); First Wind Energy,
      LLC (2171); First Wind Holdings, LLC (6257); and EchoFirst Finance Co., LLC (1607) filed voluntary
      petitions on April 7, 2017. Unless otherwise specified, general references to “Petition Date” refer to the initial
      April 21, 2016 filing of the twenty-six Debtors; however, “Petition Date” references for Claim and Plan
      purposes refer to each Debtor’s respective Petition Date of April 21, 2016, June 1, 2016, July 20, 2016, August
      9, 2016, or December 16, 2016, or April 7, 2017.
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      Capitalized terms used in the Disclosure Statement and not otherwise defined shall have the meanings ascribed
      to such terms in the Plan.
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 administrative convenience, the Plan organizes the Debtors into Debtor Groups and assigns a
 letter to each Debtor Group and a number to each Class of Claims or Interests in each Debtor
 Group. Pursuant to section 1122 of the Bankruptcy Code, set forth below and in Article VI.D of
 this Disclosure Statement is a designation of the Debtor Groups and Classes of Claims and
 Interests. The Plan provides for a single Class of Holders of General Unsecured Claims without
 regard to Debtor entities at which such Holders hold their Claims. For purposes of distributions
 to Holders of General Unsecured Claims, “Pro Rata” shall be determined where (x) the
 denominator is equal to all Allowed General Unsecured Claims against all Debtors and (y) the
 numerator equal to the amount of a particular Holder’s Allowed General Unsecured Claim. For
 voting purposes, the Debtors shall tabulate ballots for Holders of General Unsecured Claims both
 on a Debtor-by-Debtor basis and on aggregate basis without regard to particular Debtor entities
 and reserve the right to seek Confirmation of the Plan under either tabulation through accepting
 Classes or cramdown. A Claim or Interest is placed in a particular Class for the purposes of
 voting on the Plan and of receiving distributions pursuant to the Plan only to the extent that such
 Claim or Interest is an Allowed Claim or Allowed Interest in that Class and such Claim or
 Interest has not been paid, released, or otherwise settled prior to the Effective Date. In
 accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims and Priority
 Tax Claims of the kinds specified in sections 507(a)(1) and 507(a)(8) of the Bankruptcy Code
 have not been classified and their treatment is set forth in Article II of the Plan.

         This Disclosure Statement sets forth certain information regarding the Debtors’
 prepetition operations and financial history, their reasons for seeking protection under chapter
 11, and significant events that have occurred during the Chapter 11 Cases. This Disclosure
 Statement also describes certain terms and provisions of the Plan, certain effects of confirmation
 of the Plan, certain risk factors associated with the Plan and the securities to be issued under the
 Plan, and the manner in which distributions will be made under the Plan. In addition, this
 Disclosure Statement discusses the requirements for confirmation of the Plan and the voting
 procedures that Holders of Claims entitled to vote on the Plan must follow for their votes to be
 counted.

      FOR A DESCRIPTION OF THE PLAN AND THE VARIOUS RISKS AND OTHER
 FACTORS PERTAINING TO THE PLAN AS IT RELATES TO HOLDERS OF CLAIMS
 AND INTERESTS, PLEASE SEE ARTICLES VI AND VIII HEREIN.

      THIS DISCLOSURE STATEMENT CONTAINS SUMMARIES OF CERTAIN
 PROVISIONS OF THE PLAN, CERTAIN STATUTORY PROVISIONS, CERTAIN
 DOCUMENTS RELATED TO THE PLAN, CERTAIN EVENTS IN THE CHAPTER 11
 CASES, AND CERTAIN FINANCIAL INFORMATION. TO THE EXTENT ANY PORTION
 OF THIS DISCLOSURE STATEMENT CONFLICTS WITH THE PLAN, THE PLAN SHALL
 GOVERN.     ALTHOUGH THE DEBTORS BELIEVE THAT THE SUMMARIES
 CONTAINED HEREIN ARE FAIR AND ACCURATE, SUCH SUMMARIES ARE
 QUALIFIED TO THE EXTENT THAT THEY DO NOT SET FORTH THE ENTIRE TEXT OF
 THE DOCUMENTS OR STATUTORY PROVISIONS THEY ARE SUMMARIZING. THE
 DEBTORS’ MANAGEMENT HAS PROVIDED FACTUAL INFORMATION CONTAINED
 IN THIS DISCLOSURE STATEMENT, EXCEPT WHERE OTHERWISE SPECIFICALLY
 NOTED.    THE DEBTORS DO NOT WARRANT OR REPRESENT THAT THE


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 INFORMATION CONTAINED HEREIN, INCLUDING FINANCIAL INFORMATION, IS
 WITHOUT ANY MATERIAL INACCURACY OR OMISSION.

 A.     Rules of Interpretation

          For purposes of this Disclosure Statement, unless otherwise provided herein, (a)
 whenever from the context it is appropriate, each term, whether stated in the singular or the
 plural, shall include both the singular and the plural; (b) each pronoun stated in the masculine,
 feminine, or neuter gender includes the masculine, feminine, and neuter gender; (c) any reference
 in the Disclosure Statement to an existing document or schedule filed or to be filed means such
 document or schedule, as it may have been or may be amended, modified, or supplemented;
 (d) any reference to an entity as a Holder of a Claim or Interest includes that entity’s successors
 and assigns; I all references in this Disclosure Statement to Sections, Articles, and Exhibits are
 references to Sections, Articles, and Exhibits of or to this Disclosure Statement; (f) the words
 “herein,” “hereunder,” and “hereto” refer to this Disclosure Statement in its entirety rather than
 to a particular portion of this Disclosure Statement; (g) captions and headings to Articles and
 Sections are inserted for convenience of reference only and are not intended to be a part of or to
 affect the interpretation of this Disclosure Statement; (h) any term used in capitalized form in the
 Disclosure Statement that is not otherwise defined in the Disclosure Statement, Plan, or exhibits
 to the Disclosure Statement Order, but that is used in the Bankruptcy Code or the Bankruptcy
 Rules shall have the meaning assigned to such term in the Bankruptcy Code or the Bankruptcy
 Rules, as applicable; (i) all references to docket numbers of documents filed in the Chapter 11
 Cases are references to the docket numbers under the Bankruptcy Court’s CM/ECF system; (j)
 all references to statutes, regulations, orders, rules of courts, and the like shall mean as amended
 from time to time, unless otherwise stated; (k) in computing any period of time prescribed or
 allowed, the provisions of Bankruptcy Rule 9006(a) shall apply, and if the date on which a
 transaction may occur pursuant to the Disclosure Statement shall occur on a day that is not a
 Business Day, then such transaction shall instead occur on the next succeeding Business Day; (l)
 unless otherwise specified, all references in the Disclosure Statement to monetary figures shall
 refer to currency of the United States of America; (m) the rules of construction set forth in
 section 102 of the Bankruptcy Code shall apply; (n) to the extent this Disclosure Statement is
 inconsistent with the terms of the Plan, the Plan shall control; (o) to the extent this Disclosure
 Statement is inconsistent with the Confirmation Order, the Confirmation Order shall control; (p)
 to the extent this Disclosure Statement is inconsistent with the terms of the Committee/BOKF
 Plan Settlement Term Sheet, the Committee/BOKF Plan Settlement Term Sheet shall control;
 and (q) any immaterial effectuating provision may be interpreted by the Reorganized Debtors in
 a manner that is consistent with the overall purpose and intent of the Disclosure Statement and
 the Plan without further Bankruptcy Court Order.

        The Plan is the result of extensive discussions and settlements between and among the
 Debtors and their creditor constituents, as set forth below in more detail in ARTICLE V.L.2.
 The foregoing parties were represented by counsel, who either (a) participated in the formulation
 and documentation of, or (b) was afforded the opportunity to review and provide comments on,
 the Plan, the Disclosure Statement, and the documents ancillary thereto. Accordingly, the
 general rule of contract construction known as “contra proferentem” shall not apply to the
 construction or interpretation of any provision of the Plan, the Disclosure Statement, or any


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 contract, instrument, release, indenture, exhibit, or other agreement or document generated in
 connection herewith.

                                                   ARTICLE II.

                                        OVERVIEW OF THE PLAN

          As described herein, the Debtors’ proposed First Amended Joint Plan of SunEdison, Inc.,
 et al., Pursuant to Chapter 11 of the Bankruptcy Code (the “Plan”), a copy of which is attached
 hereto as Exhibit A, is the result of extensive discussions between and among the Debtors and
 their creditor constituents. The Debtors believe that the settlements contemplated under the Plan
 are fair and equitable and maximizes the value of the Debtors’ estates, and provide the best
 recovery to Holders of Claims.

          For a detailed summary of the Plan, refer to Article VI of this Disclosure Statement.

 A.       Plan Distributions and Plan Value

        Under the terms of the Plan, administrative expenses (including the Original DIP Facility
 Claims (in the event amounts are owed and not disputed by any party as of the Effective Date)
 and the Replacement DIP Facility Claims) will be paid in full.

         Distributions to Holders of Second Lien Claims under the Plan will be made from a
 combination of either: (A) in the TERP Share Election Alternative, (i) 10% of the New SUNE
 Common Stock, (ii) 10% of the Continuing TERP Class A Shares, (iii) 10% of the Reinstated
 Second Lien Claim Amount, and (iv) 100% of the Class B GUC/Litigation Trust Interests, and
 (B) in the TERP Cash Election Alternative, 22 (i) 100% of the New SUNE Common Stock, (ii)
 100% of the Reinstated Second Lien Claim Amount, and (iii) 100% of the Class B
 GUC/Litigation Trust Interests.23 In addition, in the TERP Share Election Alternative, Eligible
 Holders of Second Lien Claims will get their pro rata portion of Rights Offering Subscription
 Rights.24

        Holders of General Unsecured Claims, based on their Pro Rata portion of the Class A
 GUC/Litigation Trust Interests, and on a consolidated basis without reference to Debtor-specific
 Claims, will receive from the GUC/Litigation Trust certain distributable value from assets
 reserved for the benefit of Holders of General Unsecured Claims pursuant to the Committee DIP
 Settlement and the Committee/BOKF Plan Settlement. The assets to be transferred to the
 GUC/Litigation Trust and the additional consideration to Holders of General Unsecured Claims

 22
      Holders of Second Lien Claims should review the Plan for further details regarding the TERP Cash Election
      Alternative.
 23
      The equity percentages set forth for the TERP Share Election Alternative do not reflect dilution attributable to
      the Rights Offering Backstop Standby Fee (i.e., the “put premium” to be paid to the Rights Offering Backstop
      Purchasers, pursuant to the Equity Commitment Agreement).
 24
      Subject to the Direct Equity Offering as defined in the Equity Commitment Agreement.



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 as a result of the Committee/BOKF Plan Settlement are described in more detail in the Executive
 Summary of this Disclosure Statement. The Committee DIP Settlement is described in more
 detail in ARTICLE V.B and the Committee/BOKF Plan Settlement is described in more detail in
 Executive Summary herein.

        The value available to fund the Plan consists of the following components:

         (i)    the value that will be realized by the Debtors’ Estates as a result of the
 consideration received prior to consummation of the Jointly Supported Transactions which are
 made possible as a result of the settlements that the Debtors reached with the YieldCos (a more
 detailed summary of the Jointly Supported Transactions and YieldCo Settlements is provided in
 the Executive Summary and ARTICLE V.J of this Disclosure Statement);

         (ii)   the value that has been and will be realized (including after the Effective Date) by
 the Debtors’ Estates from the proceeds of asset sales by the Debtors and non-Debtors (other than
 the Jointly Supported Transactions) that have occurred and continue to occur during the Chapter
 11 Cases, including, without limitation, direct asset sale proceeds and earnouts realized after the
 closing of any sales;

        (iii)    solely in the event of the TERP Share Election Alternative, the proceeds of the
 Rights Offering and the Direct Equity Commitment, (a more detailed summary of the Rights
 Offering and Direct Equity Commitment is provided in the Executive Summary and ARTICLE
 VI.F.4 of this Disclosure Statement);

        (iv)   remaining Cash on hand of the Debtors, and any Cash that the Reorganized
 Debtors receive after the Effective Date, from Residual Assets Proceeds, Earnout Assets, and
 Repatriated Cash; and

        (v)     other sources of value, including, without limitation, the D&O Insurance
 Proceeds.

 B.     Classification Under the Plan

          The Plan provides for the resolution of all Claims against and Interests in each of the 51
 Debtors in these Chapter 11 Cases, and constitutes a separate chapter 11 plan of reorganization
 for each Debtor. The Plan contains separate classes for Holders of Claims and Interests. For
 administrative convenience, the Plan organizes the Debtors into Debtor Groups and assigns a
 letter to each Debtor Group and a number to each Class of Claims or Interests in each Debtor
 Group. Pursuant to section 1122 of the Bankruptcy Code, set forth below and in Article VI.D of
 this Disclosure Statement is a designation of the Debtor Groups and Classes of Claims and
 Interests. The Plan provides for a single Class of Holders of General Unsecured Claims without
 regard to Debtor entities at which such Holders hold their Claims. For purposes of distributions
 to Holders of General Unsecured Claims, “Pro Rata” shall be determined where (x) the
 denominator is equal to all Allowed General Unsecured Claims against all Debtors and (y) the
 numerator equal to the amount of a particular Holder’s Allowed General Unsecured Claim. For
 voting purposes, the Debtors shall tabulate ballots for Holders of General Unsecured Claims both
 on a Debtor-by-Debtor basis and on aggregate basis without regard to particular Debtor entities
 and reserve the right to seek Confirmation of the Plan under either tabulation through accepting
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 Classes or cramdown. A Claim or Interest is placed in a particular Class for the purposes of
 voting on the Plan and of receiving distributions pursuant to the Plan only to the extent that such
 Claim or Interest is an Allowed Claim or Allowed Interest in that Class and such Claim or
 Interest has not been paid, released, or otherwise settled prior to the Effective Date.

 C.         Unclassified Claims

         In accordance with section 1123(a)(1) of the Bankruptcy Code, the Plan does not classify
 Administrative Claims, Professional Claims, Original DIP Facility Claims (in the event amounts
 are owed and not disputed by any party as of the Effective Date), Replacement DIP Facility
 Claims, or Priority Tax Claims. These Claims are therefore excluded from the Classes of Claims
 set forth in Article II of the Plan.

                      Claim                            Plan Treatment              Projected Recovery Under
                                                                                            the Plan
 Administrative Claims                             Paid in full in Cash.                     100%
 Replacement DIP Term Loan                         Paid in full in Cash.                     100%
 Claims
 Original DIP Term Loan Claims                     Paid in full in Cash.                         100%
 L/C Borrowing Claims                              Paid in full in Cash.                         100%
 Tranche A-1 Roll-Up Loan Claims                   Paid in full in Cash.                         100%
 Tranche A-2 Roll-Up Loan Claims                   Paid in full in Cash.                         100%
 Tranche B Roll-Up Loan Claims25                   Paid in full in Cash.                         100%
 Professional Claims                               Paid in full in Cash.                         100%
 Priority Tax Claims                               Paid in full in Cash.                         100%

 D.         Treatment of Claims and Interests under the Plan

          The table below summarizes the classification, treatment, and estimated percentage
 recoveries of the Claims and Interests under the Plan. 26 Estimated percentage recoveries have
 been calculated based upon a number of assumptions and, therefore, are subject to material
 change. For certain Classes of Claims, the actual percentage recoveries is contingent upon a
 number of factors, including, but not limited to, Claims that are subject to liquidation pursuant to
 litigation. The projected percentage of recoveries provided below are projected as of June 2,
 2017.

      Class(es)          Type of Claim or                 Treatment of Claim/Interest                 Estimated %

 25
        To the extent that (a) the Debtors elect the TERP Cash Election Alternative and (b) the cash received from the
        Jointly Supported Transactions is insufficient to repay the Tranche B Roll-Up Lenders in full and in Cash, the
        Debtors will issue Reinstated Tranche B Roll-Up Loans in an amount and with terms necessary to render the
        Tranche B Roll-Up Loans Unimpaired, including, without limitation, priority (over the Reinstated Second Lien
        Claims) in lien and claim amount and interest, and with other terms that are identical to the current Tranche B
        Roll-Up Loans.
 26
        These summaries below are qualified in their entirety by reference to the provisions of the Plan. For a more
        detailed description of the terms and provisions of the Plan, see ARTICLE VI below.



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                    Equity Interest                                             Recovery
                                                                             Under the Plan
 1A and 1B     Second Lien Claims       Each Holder of an Allowed Second Lien5.4%
                                        Claim shall receive its Pro Rata portion
                                        of the Second Lien Claim Distribution.
                                        In addition to the foregoing, in the TERP
                                        Share Election Alternative, each Holder
                                        of an Allowed Second Lien Claim that is
                                        an Eligible Holder shall receive its Pro
                                        Rata portion of the Rights Offering
                                        Subscription Rights.
 2A – 2E       Other Secured Claims     Except as otherwise provided in and 100%
                                        subject to Article 10.6 of the Plan, each
                                        such Holder of an Allowed Other
                                        Secured Claim shall, at the option of the
                                        Debtors (with the reasonable consent of
                                        the Supporting Second Lien Parties) or
                                        the Reorganized Debtors, as applicable:
                                        (i) have its Allowed Other Secured
                                        Claim      Reinstated      and    rendered
                                        Unimpaired, or otherwise have its Claim
                                        rendered Unimpaired, in each case in
                                        accordance with section 1124(2) of the
                                        Bankruptcy Code, notwithstanding any
                                        contractual provision or applicable non-
                                        bankruptcy law that entitles the Holder
                                        of an Allowed Other Secured Claim to
                                        demand or receive payment of such
                                        Allowed Other Secured Claim prior to
                                        the stated maturity of such Allowed
                                        Other Secured Claim from and after the
                                        occurrence of a default; (ii) be paid in
                                        full in Cash in an amount equal to such
                                        Allowed Other Secured Claim, including
                                        postpetition interest, if any, on such
                                        Allowed Other Secured Claim required
                                        to be paid pursuant to section 506 of the
                                        Bankruptcy Code as the case may be, on
                                        the later of (x) the Effective Date and (y)
                                        the date such Other Secured Claim
                                        becomes an Allowed Claim or as soon
                                        thereafter as reasonably practicable; or
                                        (iii) receive such other less favorable
                                        treatment as to which the Debtors (with
                                        the reasonable consent of the Supporting
                                        Second Lien Parties) or Reorganized
                                        Debtors and such Holder of such
                                        Allowed Other Secured Claim will have
                                        agreed upon in writing; provided, that
                                        Other Secured Claims incurred by the


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                                          Debtors in the ordinary course of
                                          business may be paid in the ordinary
                                          course of business in accordance with
                                          such applicable terms and conditions
                                          relating thereto in the discretion of the
                                          Debtors (with the reasonable consent of
                                          the Supporting Second Lien Parties) or
                                          Reorganized Debtors without further
                                          notice to or order of the Bankruptcy
                                          Court. Nothing in Article 4.2 of the Plan
                                          or elsewhere in the Plan shall preclude
                                          the Debtors (or the Reorganized Debtors)
                                          from challenging the validity of any
                                          alleged Lien or any asset of the Debtors
                                          or the value of the property that secures
                                          any alleged Lien allegedly securing an
                                          Allowed Other Secured Claim.
 3A – 3E       Other Priority Claims      Except as otherwise provided in and 100%
                                          subject to Article 10.6 of the Plan, each
                                          Holder of an Allowed Other Priority
                                          Claim shall be paid in full in Cash on the
                                          Effective Date and such other date as
                                          agreed between the Debtors (or
                                          Reorganized Debtors) and such Holder
                                          of an Allowed Other Priority Claim
                                          becomes an Allowed Claim or (y)
                                          otherwise be left Unimpaired; provided,
                                          however, that Other Priority Claims that
                                          arise in the ordinary course of the
                                          Debtors’ business and which are not due
                                          and payable on or before the Effective
                                          Date shall be paid in the ordinary course
                                          of business in accordance with the terms
                                          thereof.
 4A – 4E       General Unsecured Claims   Each Holder of an Allowed General 2.8%
                                          Unsecured Claim shall receive its Pro
                                          Rata portion of the Class A
                                          GUC/Litigation Trust Interests, subject
                                          to the specifics set forth in the Plan. For
                                          the avoidance of doubt, Holders of an
                                          Allowed General Unsecured Claims shall
                                          not receive any of the Class B
                                          GUC/Litigation Trust Interests.
 5A-5E         Intercompany Claims        On the Effective Date, and subject to any 0%
                                          repayment obligations necessary to
                                          satisfy secured Intercompany Claims, all
                                          net Allowed Intercompany Claims
                                          (taking into account any setoffs of
                                          Intercompany Claims) held by the
                                          Debtors between and among any

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                                              Affiliate of the Debtors shall be either
                                              reinstated, cancelled, released, or
                                              otherwise settled in the Debtors’
                                              discretion with the reasonable consent of
                                              the Supporting Second Lien Parties. For
                                              the avoidance of doubt, all Allowed
                                              Intercompany Claims held by any Debtor
                                              constitutes collateral of the Original DIP
                                              Lenders, the Replacement DIP Lenders,
                                              Second Lien Lenders, and Second Lien
                                              Senior Noteholders.
 6A-6E            Other          Subordinated Holders of Allowed Other Subordinated 0%
                  Claims                      Claims shall not receive any distributions
                                              on account of such Allowed Other
                                              Subordinated Claims.
 7B-7E            Interests     in    Debtor On the Effective Date, all Allowed 0%
                  Subsidiaries                Interests in Debtor Subsidiaries shall be
                                              either reinstated or cancelled in the
                                              Debtors’ discretion with the consent of
                                              the Supporting Second Lien Parties. To
                                              the extent reinstated, Interests in Debtor
                                              Subsidiaries are Unimpaired solely to
                                              preserve the Debtors’ corporate structure
                                              and Holders of those Interests shall not
                                              otherwise receive or retain any property
                                              on account of such Interests.
 8A               Interests in SUNE           On the Effective Date, Allowed Interests 0%
                                              in SUNE shall be deemed automatically
                                              cancelled, released, and extinguished
                                              without further action by the Debtors or
                                              the Reorganized Debtors and the
                                              obligations of the Debtors and the
                                              Reorganized Debtors thereunder shall be
                                              discharged.


        As of the General Bar Date, the Debtors’ Claims and Solicitation Agent, Prime Clerk,
 LLC, had received approximately 5,761 Proofs of Claim (as defined below) totaling
 approximately $46.5 billion. As of the Second Bar Date, the Debtors’ Claims and Solicitation
 Agent, Prime Clerk, had received 63 Proofs of Claim totaling approximately $3.0 billion for
 Debtors who filed chapter 11 petitions after July 20, 2016 and before March 2, 2017. With
 respect to Debtors that filed chapter 11 petitions on April 7, 2017, as of the date hereof, the
 Debtors’ Claims and Solicitation Agent, Prime Clerk, has received 13 Proofs of Claim totaling
 $73.2 million. As of the date hereof, the Debtors have received more than approximately 6,215
 Proofs of Claim totaling approximately $49.28 billion. 27 The Debtors have not objected to any

 27
      These numbers include approximately 1,618 Proofs of Claim filed by non-Debtor affiliates.



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 Claims as of the date hereof, but believe that many of the filed Proofs of Claim are invalid,
 untimely, duplicative, or overstated, and, therefore, has assumed for purposes of estimating
 recoveries that such Claims shall be expunged from, or reduced in amount in, the Claims
 Register.

 E.     Liquidation Analyses

         The Debtors have prepared liquidation analyses, attached hereto as Exhibit C (the
 “Liquidation Analyses”) to assist Holders of Claims and Interests in evaluating the Plan. The
 Liquidation Analyses compares the creditor recoveries to be realized if the Debtors were to be
 liquidated in a hypothetical case under chapter 7 of the Bankruptcy Code with the distributions to
 Holders of Allowed Claims and Interests under the Plan. The analyses are based upon the value
 of the Debtors’ assets and liabilities as of a certain date, and incorporate various estimates and
 assumptions, including a hypothetical conversion to a chapter 7 liquidation as of a certain date.
 Further, each analysis is subject to potentially material changes including with respect to
 economic and business conditions and legal rulings. Therefore, the actual liquidation value of the
 Debtors could vary materially from the estimates provided in the Liquidation Analyses.

        The Debtors believe that the Plan provides the same or a greater recovery for Holders of
 Allowed Claims and Interests as would be achieved in a liquidation pursuant to chapter 7 of the
 Bankruptcy Code under either scenario because of a number of factors, including, but not limited
 to: the additional Administrative Claims generated by conversion to a chapter 7 case, the
 administrative costs of liquidation, loss of value from remaining asset sales in the pipeline
 caused by, among other things, business discontinuity and loss of employee knowledge,
 associated delays in connection with a chapter 7 liquidation, and the low likelihood that
 recoveries on assets (including litigation assets) will be maximized in a chapter 7 case. In
 addition, in a chapter 7 liquidation, the value of the Committee/BOKF Plan Settlement, the
 YieldCo Settlements and the Jointly Supported Transactions would be put at significant risk.

                                          ARTICLE III.

                                    VOTING PROCEDURES

        The following Classes are the only Classes entitled to vote to accept or reject the Plan:

             Class                     Claim or Interest                         Status
           1A and 1B                  Second Lien Claims                        Impaired
            4A-4E                   General Unsecured Claims                    Impaired

        If your Claim or Interest is not included in any of these Classes, you are not entitled to
 vote and you will not receive a Solicitation Package.

 A.     Classes Entitled to Vote

         Under the Bankruptcy Code, acceptance of a plan of reorganization by a Class of Claims
 is determined by calculating the number and the amount of Claims voting to accept, based on the
 actual total Allowed Claims voting on the Plan. Acceptance by a Class requires more than one-
 half of the number of total Allowed Claims in the Class to vote in favor of the Plan and at least

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 two-thirds in dollar amount of the total Allowed Claims in the Class to vote in favor of the Plan.
 In addition, under the Bankruptcy Code, creditors are not entitled to vote if their contractual
 rights are Unimpaired by the Plan or if they will receive no distribution of property under the
 Plan. The following table sets forth which Classes of Claims will or will not be entitled to vote
 on the Plan:

      Class           Claim or Interest                 Status                  Voting Rights
 1A and 1B          Second Lien Claims           Impaired                    Entitled to Vote
 2A-2E              Other Secured Claims         Unimpaired                  Presumed to Accept
 3A-3E              Other Priority Claims        Unimpaired                  Presumed to Accept
 4A-4E              General     Unsecured        Impaired                    Entitled to Vote
                    Claims
 5A-5E              Intercompany Claims          Impaired           or       Deemed to Reject or
                                                 Unimpaired                  Presumed to Accept
 6A-6E              Other     Subordinated       Impaired                    Deemed to Reject
                    Claims
 7B-7E              Interests in    Debtor       Impaired           or       Deemed to Reject or
                    Subsidiaries                 Unimpaired                  Presumed to Accept
 8A                 Interests in SUNE            Impaired                    Deemed to Reject

 B.       Solicitation Procedures

          1.     Claims and Solicitation Agent

        The Debtors retained Prime Clerk, LLC (“Prime Clerk”) to, among other things, act as
 Claims and Solicitation Agent in connection with the solicitation of votes to accept or reject the
 Plan.

          2.     Solicitation Package

        The Solicitation Package, as applicable pursuant to the Disclosure Statement Order, may
 include:

                 the Order (A) Approving the Adequacy of the Debtors’ Disclosure Statement; (B)
                 Approving Solicitation and Notice Procedures with Respect to Confirmation of
                 the Debtors’ Joint Proposed Plan; (C) Approving the Form of Various Ballots
                 and Notices in Connection Therewith; and (D) Scheduling Certain Dates with
                 Respect Thereto (the “Disclosure Statement Order”); and

                 the Notice of (A) Approval of Adequacy of Disclosure Statement, (B) Solicitation
                 and Voting Procedures, (C) the Objection and Voting Deadlines, and (D) the
                 Hearing to Confirm the Debtors’ Joint Plan;



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                the appropriate Ballot(s) and applicable voting instructions, together with a pre-
                addressed, postage pre-paid return envelope;

                a letter from the Creditors’ Committee (the “UCC Letter”) setting forth the
                Creditors’ Committee’s recommendation that you vote in favor of the Plan; and

                any supplemental solicitation materials the Debtors may file with the Bankruptcy
                Court.

        3.      Distribution of the Solicitation Package and Plan Supplement

         Through the Claims and Solicitation Agent, the Debtors intend to distribute the
 Solicitation Packages within five (5) Business Days after entry of the Disclosure Statement
 Order.

         The Solicitation Package will be distributed in accordance with the Solicitation
 Procedures, which shall be attached as Exhibit 5 to the Disclosure Statement Order. The
 Solicitation Package (except the Ballots) may also be obtained from the Claims and Solicitation
 Agent by: (a) calling the Debtors’ restructuring hotline at (855) 388-4575; (b) visiting the
 Debtors’ restructuring website at: https://cases.primeclerk.com/sunedison and/or (c) writing to
 SunEdison Case Administration, c/o Prime Clerk, 830 Third Avenue, 3rd Floor, New York, NY
 10022. You may also obtain modified copies of any pleadings filed in these Chapter 11 Cases
 for free by visiting the Debtors’ restructuring website at https://cases.primeclerk.com/sunedison
 or for a fee via PACER at http://www.nysb.uscourts.gov.

         At least seven (7) days prior to the Confirmation Hearing, the Debtors intend to file a
 Plan Supplement that includes, among other things, the list of Executory Contracts to be assumed
 (with associated Cure Amounts, if any), a description of Causes of Action to be retained by the
 Reorganized Debtors, and the GUC/Litigation Trust Agreement. As the Plan Supplement is
 updated or otherwise modified, such or updated documents will be made available on the
 Debtors’ restructuring website. The Debtors will not serve paper or CD-ROM copies of the Plan
 Supplement. However, parties may obtain a copy of the Plan Supplement from the Claims and
 Solicitation Agent by: (a) calling the Debtors’ restructuring hotline at (855) 388-4575; (b)
 visiting the Debtors’ restructuring website at: https://cases.primeclerk.com/sunedison; and/or (c)
 writing to SunEdison Case Administration, c/o Prime Clerk, 830 Third Avenue, 3rd Floor, New
 York, NY 10022.

 C.     Voting Procedures

         The Voting Record Date is 11:59 p.m. prevailing Eastern Time on June 5, 2017. The
 Voting Record Date is the date for determining (1) which Holders of Claims are entitled to vote
 to accept or reject the Plan and receive the Solicitation Package in accordance with the
 Solicitation Procedures and (2) whether Claims have been properly assigned or transferred to an
 assignee pursuant to Bankruptcy Rule 3001(e) such that the assignee can vote as the Holder of a
 Claim. The Voting Record Date and all of the Debtors’ solicitation and voting procedures shall
 apply to all of the Debtors’ creditors and other parties in interest.



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         Under the Plan, Holders of Claims in the Voting Classes are entitled to vote to accept or
 reject the Plan. In order for the Holder of a Claim in the Voting Classes to have such Holder’s
 Ballot counted as a vote to accept or reject the Plan, such Holder’s Ballot must be properly
 completed, executed, and delivered by using the return envelope provided by: (a) first class mail;
 (b) overnight courier; (c) personal delivery, or (d) through online transmission solely via, and in
 accordance with the instructions set forth on Prime Clerk’s e-ballot platform on the Debtors’ case
 website (https://cases.primeclerk.com/sunedison), in each case so that such Holder’s Ballot is
 actually received by the Claims and Solicitation Agent prior to 4:00 p.m. prevailing Eastern
 Time on July 13, 2017 (the “Voting Deadline”). It is important that the Holder of a Claim in the
 Voting Classes follow the specific instructions provided on such Holder’s Ballot and the
 accompanying instructions.

      IF A BALLOT IS RECEIVED AFTER THE VOTING DEADLINE, SUBJECT TO
 COURT APPROVAL, THE DEBTORS MAY, IN THEIR SOLE AND ABSOLUTE
 DISCRETION, REJECT SUCH BALLOT AS INVALID AND DECLINE TO COUNT IT IN
 CONNECTION WITH CONFIRMATION.

      ANY BALLOT THAT IS PROPERLY EXECUTED BY THE HOLDER OF A CLAIM
 BUT THAT DOES NOT CLEARLY INDICATE AN ACCEPTANCE OR REJECTION OF
 THE PLAN OR ANY BALLOT THAT INDICATES BOTH AN ACCEPTANCE AND A
 REJECTION OF THE PLAN WILL NOT BE COUNTED FOR PURPOSES OF ACCEPTING
 OR REJECTING THE PLAN.

       EACH HOLDER OF A CLAIM MUST VOTE ALL OF ITS CLAIMS WITHIN A
 PARTICULAR CLASS EITHER TO ACCEPT OR REJECT THE PLAN AND MAY NOT
 SPLIT SUCH VOTES. BY SIGNING AND RETURNING A BALLOT, EACH HOLDER OF
 A CLAIM WILL CERTIFY TO THE BANKRUPTCY COURT AND THE DEBTORS THAT
 NO OTHER BALLOTS WITH RESPECT TO SUCH CLAIM HAVE BEEN CAST OR, IF
 ANY OTHER BALLOTS HAVE BEEN CAST WITH RESPECT TO SUCH CLASS OF
 CLAIMS, SUCH OTHER BALLOTS INDICATED THE SAME VOTE TO ACCEPT OR
 REJECT THE PLAN.

      IT IS IMPORTANT TO FOLLOW THE SPECIFIC INSTRUCTIONS PROVIDED ON
 EACH BALLOT, AS APPROPRIATE, WHEN SUBMITTING A VOTE.

 D.     Rights Offering Procedures

        The Debtors and the Rights Offering Backstop Purchasers will implement and conduct
 the Rights Offering in accordance with the Equity Commitment Agreement and the Rights
 Offering Procedures. The Rights Offering will be open to Eligible Holders of Allowed Second
 Lien Claims, who will have the right to subscribe for their pro rata portion of the Rights Offering
 Shares based on such Holder’s Allowed Second Lien Claim amount as a percentage of all
 Allowed Second Lien Claims as of the Rights Offering Record Date. Eligible Holders that
 exercise Rights in the Rights Offering shall receive a portion of the Reinstated Second Lien
 Claims pursuant to the Reinstated Second Lien Modification Terms in the same proportion as
 they will hold New SUNE Common Stock (i.e., if a participant would receive 2% of New SUNE
 Common Stock, such participant would hold 2% of Reinstated Second Lien Claims). The Rights

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 Offering Backstop Purchasers will, severally, and not jointly, backstop the Rights Offering on a
 fully committed basis and will receive a 7% fee to be paid-in-kind with additional New SUNE
 Common Stock, Continuing TERP Class A Shares, and Reinstated Second Lien Claims.

                                                   ARTICLE IV.

                                         GENERAL INFORMATION

 A.       Overview of the Debtors’ Corporate History and Business Operations

          1.       The Debtors’ Corporate History

        The Debtors are direct and indirect subsidiaries and affiliates of Debtor SUNE, a
 renewable-energy development company that has its early roots tied to MEMC Electronics
 Materials, Inc. (“MEMC”), a silicon wafer manufacturing company. In November 2009, MEMC
 acquired privately-owned Sun Edison LLC. At the time of the acquisition, Sun Edison LLC was
 already one of North America’s largest solar energy developers in the commercial and industrial
 market, developing, financing, building, operating, and monitoring large-scale photovoltaic
 (“PV”)28 plants since 2003. After its acquisition of Sun Edison LLC, MEMC became a
 developer of solar power projects and one of North America’s largest solar energy services
 providers, focusing on developing and acquiring advanced technologies used in the production of
 low-cost, high-performance solar panels and developing, owning, operating, and selling solar
 power projects.

        Thereafter, MEMC continued to expand its solar-energy business and ultimately
 determined to focus predominantly on this business line. In May, 2013, MEMC changed its
 name to SunEdison, Inc. Subsequently, in May 2014, SUNE spun off its semiconductor
 materials business segment. In June 2015, SunEdison announced its divestiture of its
 semiconductor business. The completion of the sell-off finalized SunEdison’s transition into a
 dedicated renewable energy company.

         In March 2014, SUNE created a “yieldco” subsidiary – a dividend-oriented entity,29
 called TerraForm Power, LLC (“Power LLC”). On July 22, 2014, SUNE contributed Power
 LLC to a separate SUNE subsidiary, TerraForm Power, Inc. (“TERP”),30 concurrently with the
 IPO of TERP. Following the IPO, SUNE maintained a majority stake in both Power LLC and
 TERP (as described further below). As part of the TERP IPO, many of SUNE’s completed
 projects in developed countries (primarily North America, the UK, and Chile) were contributed

 28
      “Photovoltaic” refers to the conversion of sunlight (photons) to electrical energy (voltage).
 29
      A yieldco is akin to a master limited partnership elsewhere in the energy field, and is essentially a collection of
      operating energy assets (e.g., wind farms and solar plants) that are expected to produce foreseeable economic
      returns. The concept of a yieldco is to have a steady stream of predictable income – such as that from long-term
      PPAs (defined below) with power utilities – in order to fund a strong, sustainable dividend for the yieldco’s
      investors.
 30
      TerraForm Power, Inc. currently trades on the NASDAQ under the ticker “TERP.”



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 to the capital of Power LLC. In similar fashion, on August 5, 2015, SUNE completed the IPO of
 a second yieldco subsidiary, TerraForm Global, Inc. (“GLBL”), 31 to own, through TerraForm
 Global, LLC (“Global LLC”), many of SunEdison’s completed renewable-energy projects in
 emerging markets such as Brazil, China, and India. Following the IPO, SUNE maintained a
 majority stake in both Global LLC and GLBL (as described further below). The process of
 creating the YieldCos required intensive capital in order to build the YieldCos’ portfolios prior to
 their IPOs and grow them after. Neither the YieldCos nor their direct and indirect
 subsidiaries are included as “Debtors” in these Chapter 11 Cases.

          2.       The Debtors’ Interests in the YieldCos

        SunEdison holds a total of approximately 48,202,310 Class B shares of TERP and
 48,202,310 Class B units32 of Power LLC, which represents 100% of both the outstanding Class
 B shares of TERP and Class B units of TERP LLC. 33 Pursuant to the limited liability company
 agreement of Power LLC, SunEdison is also entitled to certain incentive distribution rights
 (“IDRs”) of Power LLC.34 SunEdison’s position represents 100% of the Class B shares of
 TERP and Class B units of Power LLC outstanding. In the aggregate, SunEdison holds
 approximately 33.9% of the economic interests and 88.3% of the voting interests in TERP, with
 the securities held indirectly through two SunEdison subsidiaries – SunEdison Holdings
 Corporation and SUNE ML 1, LLC (each of which are Debtors in these Chapter 11 Cases).

         SunEdison holds a total of approximately 61,343,054 Class B shares of GLBL (and 2
 million class A shares of GLBL) and 61,343,054 Class B units 35 of Global LLC, which
 represents 100% of both the Class B shares of GLBL and Class B units of Global LLC
 outstanding. 36 As is the case with TERP LLC, SunEdison holds all of the IDRs of Global LLC.
 In the aggregate, SunEdison holds approximately 35.7% of the economic interests and 98.2% of
 the voting interests in GLBL, with the securities held indirectly through SunEdison Holdings
 Corporation.

        As described in more detail in the Executive Summary and ARTICLE V.I.2 herein, as of
 March 6, 2017, the Debtors entered into the YieldCo Settlement Agreements, which, among
 other things, provide for the Debtors to receive 36.9% and 25% (exclusive of SunEdison’s
 current Class A share ownership in GLBL), respectively, of the total consideration flowing to



 31
      TerraForm Global, Inc. currently trades on the NASDAQ under the ticker “GLBL.”
 32
      Class B units are economic units and Class B shares are voting, non-economic shares (10 votes per share).
 33
      One Class B share, together with one Class B unit, is exchangeable for one Class A share of TERP.
 34
      The IDRs entitle SunEdison to preferential dividends in the event certain dividend thresholds are achieved for
      other shareholders. SunEdison holds all of the IDRs of Power LLC.
 35
      Class B units are economic units and Class B shares are voting, non-economic shares (100 votes per share).
 36
      One Class B share, together with one Class B unit, is exchangeable for one Class A share of GLBL.



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 TERP and GLBL shareholders37 under the two separate Jointly Supported Transaction
 Agreements pursuant to which Brookfield is to acquire 51% of TERP’s outstanding stock in a
 sponsorship merger transaction and 100% of GLBL’s outstanding stock in a whole company
 cash merger.

          3.      The Debtors’ Business Operations

         Prior to the Petition Date, SunEdison was the largest global renewable-energy
 development company and developed, financed, constructed, owned, and operated renewable
 energy power plants for contribution or sale to the YieldCos, strategic partners, or unaffiliated
 third-party buyers, while also serving as a renewable energy asset manager. In its capacity as
 asset manager, SunEdison historically provided asset management, operations and maintenance,
 monitoring, and reporting services to safeguard and maximize the performance of its customers’
 renewable energy assets. The Debtors’ development business units historically fell into the
 following business unit: (i) residential and small commercial (“RSC”); (ii) large commercial and
 industrial (“C&I”); (iii) utility scale (“Utility”); (iv) global asset management (“GAM”); and (v)
 the solar materials business (the “Solar Materials Business Unit”). As discussed further in
 Article V herein, over the course of the Chapter 11 Cases, the Debtors have largely wound up the
 Company’s development activities through the sale and divestiture of certain key business
 segments and platforms (comprised of Debtor and non-Debtor assets). The RSC, Utility, C&I,
 and Solar Materials business units have been substantially divested over the course of the
 Chapter 11 Cases. The Debtors are currently in the process of divesting the GAM business unit
 and have been working with the YieldCos to facilitate a transition of the GAM employees and
 employee related obligations and contracts. The Financial Projections reflect the assets and
 estimated values thereof that are expected to remain with Reorganized SUNE and its Affiliates
 immediately following emergence.

 B.       SunEdison’s Corporate Structure

        SUNE is the ultimate parent company of hundreds of domestic and foreign subsidiaries.
 This includes Debtor and non-Debtor subsidiaries and affiliates that operate throughout the
 world, including in the United States, Canada, Mexico, Latin America, Europe, India, Malaysia,
 Singapore, Africa, the Middle East, Australia, and Asia. As of the Petition Date, the Company’s
 organizational structure consisted of approximately two thousand distinct corporate entities
 formed in jurisdictions around the globe. The large number of entities within the Company’s
 corporate structure resulted from the breadth of the Company’s business, both operationally and
 geographically. Specifically, the Company’s business consisted of developing, constructing, and
 managing solar, wind, and other renewable energy systems in various regions around the globe.

         With respect to project development, the Company typically formed a new special
 purpose entity for each of its projects. Such special purpose entities were formed prior to
 developing and constructing each renewable energy project (or a group of related projects) or
 prior to selling or financing a project. In this regard, the majority of entities formed by the

 37
      As adjusted for shares excluded under the applicable merger agreement with Brookfield, including shares held
      by Brookfield.



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 Company initially held no assets or minimal, early-stage assets, with the intent that such entities
 would develop and construct projects that could ultimately be financed and sold.

         As the Company’s liquidity situation worsened, and following the Company’s
 bankruptcy filings, hundreds of non-Debtor project entities were essentially stranded, with no
 source of capital to further develop the intended projects. Stalled project development resulted
 in value degradation for various reasons, including the inability to fund necessary land
 acquisitions and governmental permits and the failure to achieve construction milestones. The
 Company has therefore commenced sale and/or wind down processes for the majority of its
 project entities, and intends to continue to dissolve or otherwise dispose of the majority of the
 Company’s project subsidiaries.

        In addition, many of the Company’s subsidiaries consist of holding companies that own
 no assets other than equity interests in project companies or intermediate holding companies.
 The Company implemented a holding company structure due to the regional nature of its
 renewable energy projects, which are each subject to local tax, regulatory, corporate governance,
 and other obligations dependent on where such project is located. Therefore, many of the
 Company’s subsidiaries own no assets other than project subsidiaries, and will be wound down
 upon the disposition of the holdings companies’ subsidiaries’ project assets.

          Finally, the Company also formed numerous distinct entities in connection with the
 Company’s engineering, construction, and procurement (“EPC”) and O&M business and Solar
 Materials business. Such EPC and O&M entities entered into agreements to construct or manage
 SunEdison-owned and third party-owned renewable energy projects and the Solar Materials
 entities conducted research, development and analysis related to solar products and implemented
 a tax efficient supply chain for the purchase and sale or solar materials used in the Company’s
 project business.

 C.     SunEdison, Inc.’s Board of Directors

        The following persons comprise the board of directors of SUNE (the “Board of
 Directors”):

 Name                         Position
 Antonio Alvarez              Director
 Clayton Daley, Jr.           Director
 Claire Gogel                 Director
 Emmanuel T. Hernandez        Director, Chairman of the Board
 Georgeanne C. Proctor        Director
 James B. Williams            Director
 Randy H. Zwirn               Director

 D.     Executive Officers of SunEdison, Inc.

        SUNE’s Chief Executive Officer (“CEO”) and Chief Restructuring Officer (“CRO”),
 John S. Dubel; Chief Financial Officer (“CFO”) Phillip J. Gund; and Senior Vice President,
 Corporate Controller, Salvatore LoBiondo, Jr. were each appointed to their positions during the
 course of the Chapter 11 Cases.
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         The Debtors appointed John S. Dubel, Chief Executive Officer of Dubel & Associates,
 LLC, as their Chief Restructuring Officer (“CRO”) to satisfy certain requirements of the DIP
 Credit Agreement. Mr. Dubel has extensive experience in board representation, turnaround
 management, crisis management, operational restructurings, and divestments in the distressed
 space and has assisted, advised, and provided strategic advice to debtors, creditors, and equity
 holders in chapter 11 cases of similar size and complexity to the Debtors’ Chapter 11 Cases. The
 Bankruptcy Court approved the appointment of Mr. Dubel as CRO on June 8, 2016, nunc pro
 tunc to April 29, 2016 [Docket No. 512]. As CRO, Mr. Dubel was granted sole authority and
 discretion on behalf of management with respect to all matters in connection with the Debtors’
 restructuring initiatives. As such, with the assistance of the Debtors’ advisors, Mr. Dubel has led
 and directed the evaluation and implementation of strategic, tactical, and operational alternatives
 throughout the chapter 11 process to maximize the value of the Debtors’ Estates. Among other
 responsibilities, Mr. Dubel negotiated with key creditor constituents in the Chapter 11 Cases,
 oversaw and provided strategic advice regarding the marketing process for certain components of
 the Debtors’ renewable energy development businesses, monitored the implementation of
 financial controls over intercompany transactions, oversaw compliance with various reporting
 requirements, and led a comprehensive cost reduction program designed to maximize value for
 all stakeholders.

         On June 16, 2016, former President and CEO Ahmad Chatila resigned from his
 management positions and seat on the Board of Directors at SUNE. On June 22, 2016, the
 Debtors elevated Mr. Dubel to the position Chief Executive Officer (“CEO”). In addition to
 continuing his role as CRO, Mr. Dubel as CEO assumed the responsibilities of reporting directly
 to the full Board of Directors, overseeing the day-to-day operations of the Debtors, and leading
 the Debtors and their senior management in the development of the Company’s business plan,
 among other tasks.

        On June 28, 2016, the Debtors hired Philip J. Gund as their new Chief Financial Officer
 (“CFO”). Mr. Gund is a Senior Managing Director of Ankura Consulting Group, LLC
 (“Ankura”) with more than 30 years of professional experience, including 26 years working with
 debtor companies, their creditors, investors, and court-appointed professionals. Mr. Gund’s
 terms of employment are set forth in a management agreement between the Debtors and Ankura,
 dated June 28, 2016 (the “Ankura Management Agreement”). On August 11, 2016, the
 Bankruptcy Court approved the Ankura Management Agreement and the Debtors appointment of
 Mr. Gund as CFO, effective as of June 28, 2016 [Docket No. 967].

        Pursuant to the Ankura Management Agreement, the Debtors also appointed Salvatore
 LoBiondo, Jr. as Senior Vice President and Corporate Controller effective as of June 24, 2016
 [Docket No. 967]. Mr. LoBiondo is a Senior Managing Director of Ankura and has advised on
 complex restructurings across a diverse range of industries, often working in advisory and
 interim management roles.

        SUNE’s executive management team currently consists of the following individuals:

                  Name                                                   Position
 John S. Dubel                              Chief Executive Officer and Chief Restructuring Officer
 Philip J. Gund                             Chief Financial Officer

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 Salvatore LoBiondo, Jr.                             Senior Vice President, Corporate Controller
 Stephen Cerrone                                     Executive Vice President and Chief Human Resources Officer
 Martin H. Truong                                    Senior Vice President, General Counsel and Secretary

 E.        The Debtors’ Workforce

         As of the Petition Date, the Debtors employed approximately 1,610 employees in the
 United States and Singapore (the “Employees”),38 of which approximately 1,270 were paid on a
 salaried basis and the remaining employees were paid on an hourly basis. In conjunction with
 the Company’s overall operational and cost reduction strategy, as well as the sale of various
 business units, the Company has significantly reduced its global workforce over the course of
 these Chapter 11 Cases. As of the date hereof, the Debtors currently employ approximately
 30139 Employees in the United States and Singapore, of which approximately 225 are paid on a
 salaried basis and approximately 76 are paid on an hourly basis. The Company anticipates
 further significant reductions in workforce in connection with the Plan, as the reorganized
 Company will continue minimal operations focused on collecting Earnout Proceeds, Residual
 Assets Proceeds, and Repatriated Cash and winding down remaining entities in foreign
 jurisdictions.

 F.       The Debtors’ Prepetition Capital Structure

          As of April 2016, the Debtors’ principal debt obligations were as follows:

          1.       Secured Recourse Debt

                   (a)      Prepetition First Lien Facility

          On February 28, 2014, SUNE entered into a credit agreement with the lenders and letter
 of credit issuers party thereto from time to time (the “Prepetition First Lien Lenders”), Wells
 Fargo Bank, N.A., as administrative agent (as amended from time to time, the “Prepetition First
 Lien Facility”). The Prepetition First Lien Facility provided for a senior secured letter of credit
 facility in an aggregate principal amount of up to $750 million with a term ending February 28,
 2017. As of April 14, 2015, SUNE had $678 million of outstanding third-party letters of credit
 backed by the Prepetition First Lien Facility, of which approximately $145 million were drawn
 and unreimbursed amounts in respect of the letters of credit as of the Petition Date (the “Drawn
 L/C Borrowings”). As described in Article V.B herein, the Prepetition First Lien Facility was
 replaced in whole by the DIP L/C Facility, and all outstanding Drawn L/C Borrowings were
 rolled up into the Original DIP Facility as the Tranche A-1 Roll-Up Loans.

 38
      Overall, the Company employed approximately 3,105 people globally as of the Petition Date. The Company’s
      global workforce includes employees that support the Company’s businesses at non-debtor affiliates either
      within or outside the United States, including, as of the Petition Date, approximately 100 employees (employed
      by both Debtor and non-Debtor affiliates) that provide various levels and types of services to TERP, pursuant to
      a certain Management Services Agreement, dated July 23, 2014, and GLBL, pursuant to a certain Management
      Services Agreement, dated August 5, 2015.
 39
      This does not include the CEO, CFO, or Senior Vice President, Corporate Controller.



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         SUNE’s obligations under the Prepetition First Lien Facility are guaranteed by certain of
 its domestic subsidiaries (such subsidiaries that have provided a guaranty, the “Prepetition
 Guarantors”). SUNE’s obligations and the guaranty obligations of the Prepetition Guarantors
 under the Prepetition First Lien Facility are secured by first priority liens on, and security
 interests in, substantially all present and future assets of SUNE and the Prepetition Guarantors,
 including a pledge of the capital stock of certain of their respective domestic and foreign direct
 subsidiaries. As discussed in ARTICLE V.I.3 herein, the Creditors’ Committee commenced an
 adversary proceeding challenging, among other things, the validity of certain of these liens;
 however, the Committee/BOKF Plan Settlement resolves the UCC Challenge Litigation and this
 proceeding is currently stayed and shall be deemed withdrawn with prejudice upon the approval
 of the Committee/BOKF Plan Settlement, Confirmation of the Plan, and the occurrence of the
 Effective Date.

                (b)     Prepetition Second Lien Facility

         On January 11, 2016, SUNE entered into a second lien credit agreement (the “Prepetition
 Second Lien Facility” and, the loans thereunder, the “Prepetition Second Lien Loans”) among
 SUNE, as borrower, each lender from time to time party thereto (the “Prepetition Second Lien
 Lenders”), Wilmington Savings Fund Society, FSB, as successor administrative agent to
 Deutsche Bank AG New York Branch, pursuant to which term loans in an aggregate principal
 amount of $725 million were made, consisting of $500 million aggregate principal amount of
 Tranche A-1 term loans and $225 million aggregate principal amount of Tranche A-2 term loans.
 As described in ARTICLE V.B herein, $350 million aggregate principal amount of the
 Prepetition Second Lien Debt (defined below) was approved to be rolled up into the Original
 DIP Facility and the Replacement DIP Facility, and the roll-up of the Tranche B Roll-Up Loans
 became effective on May 2, 2017.

         SUNE’s obligations under the Prepetition Second Lien Facility are guaranteed by the
 Prepetition Guarantors. SUNE’s obligations and the guaranty obligations of the Prepetition
 Guarantors under the Prepetition Second Lien Facility are secured by second priority liens on,
 and security interests in, all present and future assets of SUNE and the Prepetition Guarantors
 that secure the Prepetition First Lien Facility, including a pledge of the capital stock of certain of
 their respective domestic and foreign direct subsidiaries. As discussed in ARTICLE V.I.3 herein,
 the Creditors’ Committee commenced an adversary proceeding challenging, among other things,
 the validity of certain of these claims and liens; however, the Committee/BOKF Plan Settlement
 resolves the UCC Challenge Litigation and this proceeding is currently stayed and shall be
 deemed withdrawn with prejudice upon the approval of the Committee/BOKF Plan Settlement,
 Confirmation of the Plan, and the occurrence of the Effective Date.

                (c)     Second Lien Senior Notes

         On January 11, 2016, in connection with the Convertible Notes Exchange Transactions
 (defined below), SUNE issued $225 million aggregate principal amount of second lien senior
 secured convertible notes due 2018 (the “Prepetition Second Lien Senior Notes,” and together
 with the Prepetition Second Lien Facility, the “Prepetition Second Lien Debt,” and the
 Prepetition Second Lien Debt together with the Prepetition First Lien Facility, the “Prepetition
 Secured Debt”) under an indenture, dated as of January 11, 2016, among SUNE, as borrower, the

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 Prepetition Guarantors, as guarantors, and Wilmington Trust, National Association, as trustee.
 As described in ARTICLE V.B herein, $350 million aggregate principal amount of the
 Prepetition Second Lien Debt (defined below) was approved to be rolled up into the Original
 DIP Facility and the Replacement DIP Facility, and the roll-up of the Tranche B Roll-Up Loans
 became effective on May 2, 2017.

         SUNE’s obligations and the guaranty obligations of the Prepetition Guarantors under the
 Prepetition Second Lien Senior Notes are secured by the same second priority liens on, and
 security interests in, all present and future assets of SUNE and the Prepetition Guarantors that
 secure the Prepetition Second Lien Facility, including a pledge of the capital stock of certain of
 their respective domestic and foreign direct subsidiaries. As discussed in ARTICLE V.I.3
 herein, the Creditors’ Committee commenced an adversary proceeding challenging, among other
 things, the validity of certain of these claims and liens; however, the Committee/BOKF Plan
 Settlement resolves the UCC Challenge Litigation and this proceeding is currently stayed and
 shall be deemed withdrawn with prejudice upon the approval of the Committee/BOKF Plan
 Settlement, Confirmation of the Plan, and the occurrence of the Effective Date.

          2.      Unsecured Recourse Debt

                  (a)      Exchangeable Notes (Guaranteed by SUNE)

        On January 29, 2015, Seller Note, LLC (“Seller Note”), a wholly-owned non-Debtor
 subsidiary of SUNE, issued $336 million aggregate principal amount of 3.75% Guaranteed
 Exchangeable Senior Secured Notes due 2020 (the “Exchangeable Notes”) in a private
 placement pursuant to an indenture agreement among Seller Note, SUNE, as guarantor, and
 Wilmington Trust, N.A., as exchange agent, registrar, paying agent, and collateral agent (the
 “Exchangeable Notes Trustee”). The Exchangeable Notes were issued to fund a portion of the
 purchase price of the First Wind acquisition described herein.

        In connection with the issuance of the Exchangeable Notes, Seller Note also entered into
 a pledge agreement with the Exchangeable Notes Trustee, in its capacity as collateral agent,
 providing for the pledge of certain shares of TERP Class B common stock and Power LLC’s
 Class B units contributed to and held by the subsidiary (the “Class B Securities”).40 In addition,
 the Exchangeable Notes are fully and unconditionally guaranteed by SUNE. The Exchangeable
 Notes and the guarantees are pari passu in right of payment to the SUNE’s obligations under its
 outstanding convertible debt.

         On December 29, 2015, SUNE, Seller Note, and certain wholly-owned SUNE
 subsidiaries entered into a purchase and sale agreement (the “D. E. Shaw Purchase Agreement”)
 with certain holders of the Exchangeable Notes – i.e. affiliates of the D.E. Shaw Group, Madison
 Dearborn Capital Partners IV, L.P., and Northwestern University (collectively, the “D.E. Shaw
 Buyers”) – pursuant to which the D.E. Shaw Buyers accepted Power LLC shares serving as
 collateral securing the Exchangeable Notes in satisfaction of $121 million of principal owed

 40
      The Class B Securities were converted to Class A shares of TERP common stock in connection with the transfer
      of the Class B Securities to the holders of the Exchangeable Notes.



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 under the Exchangeable Notes and agreed to take Project transfers from SunEdison in lieu of
 cash to satisfy the remaining $215 million of principal owed under the Exchangeable Notes. In
 the event that any of the Project transfers could not be completed, specified amounts (in the
 aggregate not to exceed $215 million) of the Exchangeable Notes would become due in cash.

                (b)      Convertible Senior Notes

         The 2018 Notes, 2020 Notes, 2021 Notes, 2022 Notes, 2023 Notes, and 2025 Notes
 (collectively referred to as the “Convertible Notes” and individually referred to as defined
 below) are: (i) general unsecured obligations of SUNE (there are no guarantees) and rank senior
 in right of payment to any of SUNE’s future indebtedness that is expressly subordinated in right
 of payment to the Convertible Notes; (ii) equal in right of payment to SUNE’s existing and
 future unsecured indebtedness that is not so subordinated; (iii) effectively subordinated in right
 of payment to any of SUNE’s secured indebtedness to the extent of the value of the assets
 securing such indebtedness; and (iv) structurally subordinated to all existing and future
 indebtedness (including trade payables) incurred by SUNE’s subsidiaries. More specifically, the
 Convertible Notes are as follows:

                     Convertible Senior Notes Due 2018 and 2021. On December 20, 2013, SUNE
                      issued $600 million in aggregate principal amount of 2.00% convertible senior
                      notes due 2018 (the “2018 Notes”) and $600 million aggregate principal
                      amount of 2.75% convertible senior notes due 2021 (the “2021 Notes”) in a
                      private placement offering. On May 12, 2015, SUNE entered into privately
                      negotiated exchange agreements (the “2018/2021 Exchange Agreements”)
                      with a limited number of holders of its outstanding 2018 Notes and 2021
                      Notes. Pursuant to the 2018/2021 Exchange Agreements, SUNE exchanged
                      $600 million aggregate principal amount of outstanding 2018 Notes and 2021
                      Notes ($300 million of the 2018 Notes and $300 million of the 2021 Notes)
                      for 41 million shares of common stock underlying the 2018 Notes and 2021
                      Notes to be exchanged and $63 million in cash.

                     Convertible Senior Notes Due 2020. On June 10, 2014, SUNE issued $600
                      million in aggregate principal amount of 0.25% convertible senior notes due
                      2020 (the “2020 Notes”) in a private placement offering.

                     Convertible Senior Notes Due 2022. On January 27, 2015, SUNE issued
                      $460 million in aggregate principal amount of 2.375% convertible senior
                      notes due 2022 (the “2022 Notes”) in a private placement offering.

                     Convertible Senior Notes Due 2023 and 2025. On May 20, 2015, SUNE
                      issued $450 million in aggregate principal amount of 2.625% convertible
                      senior notes due 2023 (the “2023 Notes”) and $450 million aggregate
                      principal amount of 3.375% convertible senior notes due 2025 (the “2025
                      Notes”) in a private placement offering.




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                   (c)      Convertible Notes Exchange

        On January 7, 2016, SUNE entered into a series of exchange agreements with certain
 holders of the 2018 Notes, the 2020 Notes, the 2021 Notes, the 2022 Notes, the 2023 Notes, the
 2025 Notes (collectively, the “Existing Convertible Notes”) and its 6.75% Series A Perpetual
 Convertible Preferred Stock (the “Preferred Stock”), pursuant to which SUNE agreed to issue in
 exchange for Existing Convertible Notes and Preferred Stock, new notes and common stock (the
 “Convertible Notes Exchange Transactions”).

        Pursuant to the Convertible Notes Exchange Transactions, SUNE issued a total of
 approximately 51.9 million shares of common stock in exchange for approximately $244.3
 million aggregate principal amount of the Existing Convertible Notes and approximately $158.3
 million of the Preferred Stock. SUNE issued the Second Lien Senior Notes in exchange for
 approximately $335.9 million aggregate principal amount of the Existing Convertible Notes.

          3.       Project-Level Non-Recourse and Unsecured Non-Recourse Debt

        The Company’s renewable-energy systems, and the related short-term and long-term debt
 and financing obligations, are generally included in separate legal entities. This debt has
 recourse to those separate legal entities but no or limited recourse to the Debtors under the terms
 of the applicable agreements. These finance obligations are fully collateralized by the related
 renewable energy system assets and may also include limited guarantees by the Debtors related
 to equity commitments, operations, maintenance, certain indemnities, and other “sponsor”
 commitments negotiated on a deal-by-deal basis.

         As of the Petition Date, the Debtors had outstanding $3.8 billion project-level secured
 non-recourse debt obligations, which debt obligations have priority at the project level. With
 respect to non-recourse trade debt obligations as of the Petition Date, the Debtors estimated that
 they had outstanding prepetition trade claims totaling approximately $357 million, 41 which
 represents estimated trade accounts payable as of April 13, 2016. The Debtors’ estimate of
 outstanding prepetition accounts payable reflects only invoices actually entered in the Debtors’
 books and records (as of or around the Petition Date).

          4.       SUNE Preferred Stock and Common Stock

         As of April 20, 2016, there were approximately 436 million shares of common stock in
 SUNE outstanding, with approximately 214 holders of record and a trading price of $0.34/share.
 Prior to the Petition Date, SUNE was a publicly-traded company listed on the New York Stock
 Exchange (the “NYSE”) under the symbol “SUNE.” SUNE’s common stock was suspended
 from trading effective as of April 21, 2016. The delisting of SUNE’s common stock was
 completed effective as of May 17, 2016. After the suspension from trading on the NYSE,
 41
      As set forth in the Declaration of Patrick M. Cook Pursuant to Local Bankruptcy Rule 1007-2 and in Support of
      Chapter 11 Petitions and First Day Pleadings (Docket No. 4) (the “First Day Declaration”), the Debtors believed
      that there were additional amounts not reflected in this total trade debt estimate as of the Petition Date, which
      does not includes goods and services that have been received, but not yet invoiced in the Debtors’ books and
      records.



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 SUNE’s common stock has traded on the over-the-counter market, also known as the “Pink
 Sheets,” under the symbol “SUNEQ.”

                                                  ARTICLE V.

                                         THE CHAPTER 11 CASES

         The following is a general summary of the Chapter 11 Cases, including certain events
 preceding the Chapter 11 Cases, the stabilization of the Debtors’ operations while in chapter 11,
 and the Debtors’ restructuring initiatives implemented and key transactions executed since the
 Petition Date.

 A.       Events Leading to the Commencement of the Chapter 11 Cases

         From December 2013 to January 2016, SunEdison experienced a period of significant
 growth, during which the Company made significant investments and committed to in excess of
 $18 billion in acquisitions (including by the YieldCos), including, but not limited to (i) the Power
 LLC IPO and associated investments (July 2014); (ii) the $2.4 billion acquisition of First Wind
 Holdings, LLC (“First Wind”) (January 2015); (iii) the $525 million acquisition of 521 MW of
 wind projects from Atlantic Power Transmission, Inc. (June 2015); (iv) the Global LLC IPO
 (July 2015) and associated investments; (v) the nearly $2.2 billion commitment (at
 announcement) to purchase Vivint Solar, Inc.; (vi) the $5 billion transactions with Renova
 Energia S.A. to acquire certain projects; (vii) the $1.9 billion acquisition by TERP of 930 MW of
 operating wind power plants from Invenergy Wind LLC; and (viii) GLBL’s acquisition of call
 rights over certain project companies located in China. As stated above, not all of these
 transactions actually reached closing due to the liquidity constraints. Such growth required
 capital investments; and to fund these investments, from 2013 to 2016, SunEdison raised $24
 billion through debt and equity offerings. 42

         In November 2014, SunEdison and Power LLC jointly entered into an agreement to
 acquire First Wind Holdings, LLC (“First Wind”), the largest wind power developer in the
 United States, for $2.4 billion. SunEdison funded its $1.5 billion portion of the purchase price
 from the proceeds of: (i) the issuance by non-Debtor Seller Note, LLC (a wholly-owned special
 purpose subsidiary of SUNE) of $336.5 million aggregate principal amount of the Exchangeable
 Notes which were guaranteed by SUNE and secured by 12.1 million of equity interests in Power
 LLC owned by SUNE; (ii) the issuance by SunE ML 1, LLC of $410 million in margin term
 loans which were guaranteed by SUNE and secured by 32.2 million of equity interests in Power
 LLC owned by SUNE (the “Margin Loan”); and (iii) the issuance by SUNE of $350 million in
 unsecured convertible notes. On top of the consideration paid by SUNE at the closing of the
 acquisition, SunEdison also had agreed to pay earnout payments in excess of $510 million to
 First Wind’s owners based on the future successful development of the assets it acquired. In

 42
      In response to inquiries from holders of Interests in SUNE, the Debtors have compiled information from their
      publicly available securities filings summarizing SunEdison’s $24 billion in capital raised and uses thereof as
      reflected in Exhibit D hereto. Exhibit D includes funds raised and used by non-Debtor affiliates, including by
      the YieldCos, as such amounts were consolidated with the Debtors’ previous financial reporting.



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 addition to this initial capital raise, the “pipeline” projects that SunEdison acquired would require
 significant additional capital to develop. To raise the necessary construction capital for these
 development projects, SunEdison negotiated a $500 million equity commitment from affiliates of
 First Reserve Corp. and approximately $1 billion in debt commitments from a syndicate of
 commercial banks.

         In July 2015, after SunEdison’s announcement of its entry into an Agreement and Plan of
 Merger with Vivint Solar, Inc. (“Vivint”), dated July 20, 2015 (as amended from time to time,
 the “Vivint Merger Agreement”), pursuant to which SunEdison would acquire Vivint, the stock
 price of SUNE and TERP declined. In August 2015, there was insufficient demand to close the
 GLBL IPO on its offered terms and SUNE agreed to acquire $30 million of Class A common
 stock of GLBL.

         The Margin Loan included provisions requiring cash collateralization and/or prepayments
 if the share price of TERP dropped below certain thresholds. Beginning in September 2015, the
 share price of TERP fell below all of these thresholds, and in October 2015 the entire Margin
 Loan became mandatorily prepayable. This prepayment, which amounted to $439 million,
 drained SunEdison’s cash reserves and fundamentally changed its and the YieldCos’ financial
 outlook. Concurrently, stock prices of SUNE and the YieldCos continued to fall, and the ability
 of SUNE and the YieldCos to access the equity markets was curtailed. Without access to the
 equity markets, the YieldCos’ cost of capital increased, and plans to acquire projects from
 SunEdison and its arranged “warehouses” were put on hold. Subsequently, SunEdison
 announced a global workforce reduction. 43 Despite the Company’s workforce reduction and
 other operational cuts, the combination of inadequate capital to fund further investment and the
 evaporation of planned acquisitions by the YieldCos left SunEdison with difficult financial
 prospects.

         In connection with and in an attempt to resolve a dispute with respect to certain earnout
 payments in connection with the First Wind acquisition, on December 29, 2015, SUNE, Seller
 Note, and certain other wholly-owned subsidiaries of SUNE entered into a settlement agreement
 with the sellers of First Wind, which effectively accelerated the maturity of the Exchangeable
 Notes from 2020 to 2016. In addition, the settlement effectively removed all conditions to the
 remaining $231 million in earnout payments payable under the First Wind transaction, and
 established a payment schedule for those amounts. SunEdison’s obligations arising from the
 settlement and ancillary agreements put further strain on the Company’s liquidity.

         In January 2016, SUNE entered into the Prepetition Second Lien Facility, raising $725
 million in new financing, and entered into a series of exchange agreements with certain holders
 of its existing Convertible Notes, pursuant to which SUNE agreed to issue $225 million of the
 Second Lien Senior Notes in exchange for $336 million of outstanding Convertible Notes. The
 exchange agreements also provided for the issuance of SUNE common stock in exchange for an
 additional $245 million in Convertible Notes, resulting in an aggregate reduction in SUNE’s

 43
      From around September 2015 through March 2016, the Debtors reduced their Workforce by approximately
      27%, and during that same period, the Company reduced its total global workforce (which includes employees
      of non-Debtor affiliates) by approximately 40%.



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 outstanding debt of $356 million. Part of the proceeds of the January financing were used to pay
 off an existing second lien term loan and to refinance the Margin Loan.

         On February 29, 2016, SunEdison announced that it was unable to file its 2015 financial
 results on time, due in part to an internal investigation, which was launched late in 2015 and tied
 to allegations made by former executives at SunEdison (the “Audit Committee Investigation”).
 Then, on March 16, 2016, SunEdison announced that it had to delay releasing its financials again
 due to “material weaknesses” in its internal controls tied to “deficient information technology.”
 On April 2, 2016, SunEdison received a notice of default and reservation of rights from the
 lenders under the Prepetition First Lien Facility, which, among other things, provided notice that
 SunEdison’s failure to deliver its financials by March 31, 2016 constituted an event of default
 under the Prepetition First Lien Facility.

         On April 13, 2016, following the Audit Committee Investigation and an evaluation of
 materials prepared by independent counsel and consultants to the Audit Committee, SunEdison’s
 independent directors determined that, as of the date of the independent counsel report, there
 were no identified material misstatements in SunEdison’s historical financial statements, as well
 as no substantial evidence to support a finding of fraud or willful misconduct of management,
 other than with respect to the conduct of one former non-executive employee. However, the
 independent counsel materials identified issues with SunEdison’s overly optimistic culture and
 its tone at the top. SunEdison’s independent directors also identified several specific issues
 regarding SunEdison’s cash forecasting and liquidity management practices. As a result,
 SunEdison’s independent directors adopted certain remedies, such as (a) requiring
 implementation of improved cash forecasting systems with requisite controls, (b) requiring
 management to provide SunEdison’s board with more transparency regarding cash management
 practices and to ensure that assumptions and estimates are made with a reasonable basis and
 include a detailed discussion of risks and top-down adjustments, (c) approving the hiring of a
 chief financial officer designee, (d) reviewing and altering the board’s delegations of authority to
 management, (e) emphasizing comprehensive training and communications programs, (f)
 strengthening internal controls at both the enterprise and project level to enhance visibility and
 control over project status and cash availability, (g) strengthening SunEdison’s legal groups and
 financial planning and analysis group, and (h) replacing a departure in SunEdison’s internal audit
 group.

         Ultimately, the Debtors determined entering chapter 11 was necessary and initiated
 discussions with the Prepetition Secured Parties to solicit a proposal for debtor-in-possession
 financing. The Debtors commenced the first of the Chapter 11 Cases on April 21, 2016, with
 certain Debtors subsequently entering chapter 11 over the course of the months of June 2016
 through April 2017. Entities filed for chapter 11 for the following reasons: (i) as guarantors
 under the Debtors’ prepetition secured debt, (ii) to effect asset sales, (iii) to preserve claims, or
 (iv) to stay litigation. Given the costs associated with filing entities and SunEdison’s complex
 corporate structure consisting of approximately two thousand entities many of which are in
 foreign jurisdictions, a number of affiliated entities have not been filed as part of these chapter
 11 cases.




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 B.       Postpetition Financing

          1.      Original DIP Facility

         On the Petition Date, the Debtors sought Bankruptcy Court approval of a senior secured,
 superpriority debtor-in-possession financing facility (as amended, modified, or supplemented
 from time to time, the “Original DIP Facility”) jointly provided by the Prepetition First Lien
 Lenders and an ad hoc group of Prepetition Second Lien Lenders and holders of Prepetition
 Second Lien Senior Notes (the “Tranche B Roll-Up Lenders”). The Original DIP Facility
 provided the Debtors access to $300 million new money term loans (the “Original DIP Term
 Loans”) and a replacement letter of credit facility (the “Original DIP L/C Facility”). The
 Original DIP Facility also consists of a roll-up of the outstanding Drawn L/C Borrowings under
 the Prepetition First Lien Facility (the “Tranche A-1 Roll-Up Loans”) and a roll-up of $350
 million aggregate principal amount of the Prepetition Second Lien Debt (the “Tranche B Roll-Up
 Loans”). On June 9, 2016 the Bankruptcy Court entered a final order (the “Original DIP Facility
 Order”) approving the Original DIP Facility on the terms set forth in the debtor-in-possession
 credit agreement (as amended, modified, or supplemented from time to time, the “Original DIP
 Credit Agreement”) [Docket No. 523].44

         The Original DIP Facility provided the Company with liquidity to continue funding the
 development of near-complete projects and to meet operational expenses, including the payment
 of certain postpetition vendors and certain permitted prepetition claims. This financing also
 permitted the Company to continue to renew and extend issued and outstanding letters of credit
 originally issued under the Prepetition First Lien Facility. The letters of credit enabled the
 Debtors to secure, among other things, power purchase agreements, project financings, and other
 material contracts for the development of the projects. SUNE’s obligations under the Original
 DIP Facility were guaranteed by certain of its domestic and foreign subsidiaries (the “DIP
 Guarantors”). SUNE’s obligations and the guaranty obligations of the DIP Guarantors under the
 Original DIP Facility (in each case, subject to the relative priorities of the obligations under the
 Original DIP Facility, as provided in the Original DIP Facility Order and Annex I (the
 Intercreditor Annex) thereto) constituted superpriority administrative expenses and were secured
 by senior priming liens on, and security interests in, substantially all present and future assets of
 SUNE and the DIP Guarantors, including a pledge of the capital stock of certain of their
 respective domestic and foreign subsidiaries.

         Entering into a postpetition financing arrangement with the majority of its prepetition
 secured lenders avoided a potential intercreditor dispute between the Debtors’ first and second
 lien creditors, thereby allowing the Debtors to enter the chapter 11 operating environment
 without the overhang of litigation between the Debtors’ two largest secured creditor
 constituencies. The Debtors’ first and second lien creditors settled their intercreditor dispute on
 the terms set forth in Annex 1 to the Original DIP Facility Order, as amended and replaced by
 Annex I to the Replacement DIP Facility Order.


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      Over the course of the Chapter 11 Cases, the Debtors executed 17 amendments to and several waivers under the
      Original DIP Credit Agreement.



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        2.      Tranche B Roll-Up Loans Effective Date

         Pursuant to the Original DIP Facility Order, the Bankruptcy Court authorized a roll-up of
 Prepetition Second Lien Debt as Tranche B Roll-Up Loans pursuant to the Original DIP Credit
 Agreement. On April 5, 2017, the Debtors launched the roll-up election process whereby each
 holder of Tranche B Roll-Up Dollar Amount (as defined in the Original DIP Credit Agreement)
 was provided notice to exercise their right to substitute and exchange an aggregate principal
 amount of Prepetition Second Lien Debt, equal to such holder’s Tranche B Roll-Up Dollar
 Amount, into Tranche B Roll-Up Loans [Docket Nos. 2741 and 2796]. On May 2, 2017 (the
 “Tranche B Roll-Up Effective Date”), in connection with the closing of the Replacement DIP
 Facility as set forth below, the Tranche B Roll-Up Loans previously approved under the Original
 DIP Facility Order became effective.

        After giving effect to the Tranche B Roll-Up Loans, the aggregate outstanding principal
 amount of Prepetition Second Lien Loans was $325,537,003.96 in Tranche A-1 second lien term
 loans and $167,425,599.50 in Tranche A-2 second lien term loans, and the aggregate outstanding
 principal amount of Prepetition Second Lien Senior Notes was $107,038,000.00.

        As set forth in more detail below, immediately prior to giving effect to the mandatory
 prepayment of approximately $50 million in aggregate principal amount of the Tranche B Roll-
 Up Loans on the closing date of the Replacement DIP Facility, the aggregate principal amount of
 outstanding Tranche B Roll-Up Loans was $370,475,108.41. On the Effective Date, the Tranche
 B Roll-Up Loan Claims shall be Allowed in full in the amount of $317,549,980.22, plus accrued
 postpetition interest in an amount to be determined.

        3.      Replacement DIP Facility

         As the Original DIP Facility neared its April 26, 2017 maturity date, on April 4, 2017, the
 Debtors filed a motion seeking Bankruptcy Court approval of a senior secured, superpriority
 replacement debtor-in-possession financing facility (as amended, modified, or supplemented
 from time to time, the “Replacement DIP Facility”) provided by certain of the existing lenders
 under the Original DIP Facility. On May 1, 2017 the Bankruptcy Court entered a final order (the
 “Replacement DIP Facility Order,” and together with the Original DIP Facility Order, the “DIP
 Facility Orders”) approving the Replacement DIP Facility on the terms set forth in the amended
 and restated debtor-in-possession credit agreement (as amended, modified, or supplemented from
 time to time, the “Replacement DIP Credit Agreement”) [Docket No. 2880].

          The Replacement DIP Facility provided the Debtors with access to $640 million non-
 amortizing new money term loans (the “Replacement DIP Term Loans”) to be used to repay in
 full in cash the Original DIP Facility (other than approximately $300 million in principal amount
 (plus accrued unpaid interest) of the Tranche B Roll-Up Loans) and to cash collateralize all
 issued and undrawn letters of credit (the “Existing Letters of Credit”) under the Original DIP L/C
 Facility. The Replacement DIP Facility also consists of a roll-up of $370,475,108.41 aggregate
 principal amount of the Prepetition Second Lien Debt, of which approximately $50 million in
 aggregate principal amount plus accrued postpetition interest has been paid.




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         The Replacement DIP Facility provides the Debtors access to sufficient funds to operate
 their businesses between the maturity date of the Original DIP Facility and consummation of the
 Jointly Supported Transactions and the Plan, to seek confirmation and consummation of the
 Plan, and to cash collateralize the Existing Letters of Credit.

         The DIP Facility Orders also incorporated a settlement between the Creditors’ Committee
 and the DIP Lenders (the “Committee DIP Settlement”). The Committee DIP Settlement, as
 revised, is set forth in Annex II to the Replacement DIP Facility Order. The Committee DIP
 Settlement contemplates, among other things, the eventual creation of a trust for the benefit of
 Holders of General Unsecured Claims that would be funded with $10 million for the purpose of
 pursuing certain causes of action (as described in more detail in the Executive Summary of this
 Disclosure Statement).45 Additionally, under the terms of the Committee DIP Settlement,
 avoidance actions were not encumbered by the liens securing the Original DIP Facility or the
 Replacement DIP Facility. The Committee DIP Settlement also addresses sharing of certain
 proceeds from sales by certain subsidiaries of the Company that were not original obligors under
 the Prepetition First Lien Facility or the Prepetition Second Lien Debt. 46

         SUNE’s obligations under the Replacement DIP Facility are guaranteed by the DIP
 Guarantors. SUNE’s obligations and the guaranty obligations of the DIP Guarantors under the
 Replacement DIP Facility (in each case, subject to the relative priorities of the obligations under
 the Replacement DIP Facility, as provided in the Replacement DIP Facility Order and Annex I
 (the Replacement Intercreditor Annex) thereto) constitute superpriority administrative expenses
 and are secured by senior priming liens on, and security interests in, substantially all present and
 future assets of SUNE and the DIP Guarantors, including a pledge of the capital stock of certain
 of their respective domestic and foreign subsidiaries. At various times since the Petition Date,
 the Debtors applied proceeds from certain sales to pay down borrowings under the Original DIP
 Facility. On May 2, 2017, the remaining outstanding balance of the Original DIP Facility,
 including $50 million in aggregate principal amount (plus accrued unpaid interest) of the
 Tranche B Roll-Up Loans, was paid in full in cash with proceeds from the Replacement DIP
 Facility and all outstanding Existing L/Cs under the Original DIP Facility were cash
 collateralized in accordance with the terms of the Original DIP Facility and certain cash
 collateralization agreements entered into with the applicable letter of credit issuers. As of May
 12, 2017, the following principal amounts remain outstanding under the Replacement DIP
 Facility:

 Replacement DIP Term Loans                                      $ 640,000,000.00
 Tranche B Roll-Up Loans                                         $ 317,549,980.22




 45
      The $10 million in funding was subject to reduction for any amounts expended during the Chapter 11 Cases to
      pursue the Litigation Trust Causes of Action, pursuant to the terms of the Replacement DIP Facility Order.
      Under the Committee/BOKF Plan Settlement, the amount of the GUC/Litigation Trust Initial Funding will be
      $7.5 million (subject to any reductions set forth in the Committee/BOKF Plan Settlement Term Sheet).
 46
      The Committee/BOKF Plan Settlement settles the amount of this sharing.



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        The Replacement DIP Facility matures upon the earlier of (i) April 28, 2018 (which may
 be extended pursuant to the terms of the Replacement DIP Credit Agreement), (ii) the substantial
 consummation of a plan of reorganization or liquidation in these Chapter 11 Cases, (iii) the
 consummation of a disposition (through one or a series of transactions) of all or substantially all
 of SunEdison’s assets pursuant to section 363 of the Bankruptcy Code (other than in connection
 with the Jointly Supported Transactions, so long as SunEdison makes a certain mandatory
 prepayment of the Replacement DIP Facility as required under the Replacement DIP Credit
 Agreement with the proceeds from such transaction(s)), and (iv) the acceleration of the loans
 under the Replacement DIP Facility in accordance with the Replacement DIP Credit Agreement.

 C.       Administration of Chapter 11 Cases

         Upon commencing the Chapter 11 Cases, the Debtors sought and obtained a number of
 orders from the Bankruptcy Court to ensure a smooth transition of their operations in the chapter
 11 environment and facilitate the administration of the Chapter 11 Cases. Certain of these orders
 are briefly summarized below.

          1.     Procedural and Administrative Motions

         To facilitate a smooth and efficient administration of the Chapter 11 Cases and to reduce
 the administrative burden associated therewith, the Bankruptcy Court entered the following
 procedural orders: (a) authorizing joint administration of the Debtors’ Estates [Docket No. 66];
 (b) authorizing the filing of a consolidated list of the top 40 unsecured creditors [Docket No. 67];
 (c) authorizing the retention of Prime Clerk, LLC as the Debtors’ claims and noticing agent as
 well as their administrative agent [Docket No. 257], (d) granting the Debtors extensions of time
 to file their Schedules [Docket Nos. 64, 510]; and (e) establishing certain notice, case
 management, and administrative procedures [Docket No. 360].

        Further, in the ordinary course of business, the Debtors retain various attorneys and other
 ordinary course professionals (collectively, the “OCPs”) who render a wide range of services to
 the Debtors in a variety of matters unrelated to these Chapter 11 Cases, including litigation,
 regulatory, labor and employment, intellectual property, general corporate, and other matters that
 have a direct impact on the Debtors’ day-to-day operations. To prevent disruption to these
 services, on the Petition Date, the Debtors filed a motion to authorize the Debtors to employ and
 pay professionals utilized in the ordinary course of business [Docket No. 30], which the
 Bankruptcy Court approved in interim orders entered on May 12, 2016 [Docket No. 259] and
 May 20, 2016 [Docket No. 364], and a final order entered on June 8, 2016 [Docket No. 517].

          2.     Motion to Continue Using Existing Cash Management System [Docket
 No. 7]

        The Bankruptcy Court authorized the Debtors to continue using their cash management
 systems and their respective bank accounts, business forms, and deposit practices by an interim
 order granted on April 26, 2016 [Docket No. 84], and final order granted on July 8, 2016
 [Docket No. 742]. The cash management order also approved the Debtors’ deposit guidelines
 and permitted the Debtors to engage in non-Debtor intercompany transactions pursuant to a
 court-approved protocol.

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        3.      Motion to Pay Employee Wages and Benefits [Docket No. 8]

         By interim order granted on April 25, 2016 [Docket No. 78], and final order granted on
 May 20, 2016 [Docket No. 362], the Bankruptcy Court authorized the Debtors to pay, inter alia,
 prepetition compensation (including wages, salaries, and commissions), prepetition business
 expenses, prepetition payroll deductions and prepetition withholdings, and prepetition
 contributions to and benefits under medical, insurance, and retirement benefit plans, of qualified
 employees. Subject to certain limitations outlined in the final order, the Debtors are authorized
 to pay the postpetition employee obligations listed above in the ordinary course and in
 accordance with their prepetition practices.

       4.     Motion to Authorize Payment of Prepetition Claims of Certain Lien
 Claimants [Docket No. 10]

         By interim order granted on April 25, 2016 [Docket No. 82], and final order granted on
 June 8, 2016 [Docket No. 516], the Bankruptcy Court authorized the Debtors to pay prepetition
 amounts owed to certain lien claimants up to $17.3 million. In addition, the Court granted
 administrative expense status to the Debtors’ undisputed obligations to lien claimants under
 prepetition orders arising from (a) the shipment of goods delivered to and accepted by the
 Debtors on and after the Petition Date, and (b) the provision of services to the Debtors on and
 after the Petition Date. As of the date hereof, the Debtors had paid approximately $10.5 million
 of prepetition claims of lien claimants pursuant to this order.

        5.      Motion to Authorize Maintenance of Customer Programs [Docket No. 12]

        By interim order granted on April 26, 2016 [Docket No. 77], and final order granted on
 May 11, 2016 [Docket No. 252], the Bankruptcy Court authorized, but did not direct, the Debtors
 to honor certain prepetition obligations to customers and to otherwise continue customer
 programs and practices (relating to certain warranties and guarantees) in the ordinary course of
 business.

        6.      Motion to Pay Prepetition Taxes [Docket No. 13]

        By final order granted on April 25, 2016 [Docket No. 79], the Bankruptcy Court
 authorized the Debtors to, among other things, pay up to $9.34 million for prepetition taxes and
 any tax-related fees, charges, and assessments accrued prepetition.

        7.     Motion Determining Adequate Assurance of Payment for Future Utility
 Services [Docket No. 21]

         By final order granted on May 11, 2016 [Docket No. 254], the Bankruptcy Court
 established procedures for determining adequate assurance of payment for future utility service
 in recognition of the impact even a brief disruption of utility services would have on the Debtors.

        8.      Motion to Pay Critical Trade Vendors [Docket No. 9]

        By interim order granted on April 25, 2016 [Docket No. 81], and final order granted on
 June 8, 2016 [Docket No. 515], the Bankruptcy Court authorized the Debtors to pay up to $52

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 million in the aggregate of the prepetition fixed, liquidated, and undisputed claims of certain
 critical vendors and service providers that arose in the ordinary course of business, subject to the
 conditions set forth in the orders. As of the date hereof, the Debtors had paid approximately
 $10.3 million of prepetition claims of critical vendors pursuant to this order.

        9.      Motion to Establish Notification and Hearing Procedures for Trading in
 Equity Securities [Docket No. 14]

         As of December 31, 2015, the Debtors had approximately $1.7 billion of unlimited net
 operating losses and net operating loss carryforwards (“NOLs”) that were available to offset
 taxable income. In an attempt to protect these NOLs for future use to offset potential taxable
 income, the Debtors sought and obtained an interim order granted on April 25, 2016 [Docket No.
 83], and a final order granted on May 11, 2016 [Docket No. 253], restricting trading of their
 equity securities.

        10.    Motion to Authorize Debtors to Maintain Existing Insurance Policies,
 Renew or Enter Into New Insurance Policies, and Continue to Honor Premium Financing
 Obligations [Docket No. 15]

         By final order granted April 25, 2016 [Docket No. 80], the Bankruptcy Court authorized
 the Debtors to, subject to certain notice and consent provisions set forth in the order, maintain
 their insurance policies and pay their insurance obligations; to renew, revise, extend, supplement,
 change, or enter into new insurance coverage; and to maintain their premium financing
 agreements, make all payments thereunder, and continue to grant the premium financing
 companies security interests in the relevant insurance policies.

      11.     Motion to Authorize and Approve Expedited Procedures for Rejection or
 Assumption of Executory Contracts and Unexpired Leases [Docket No. 23]

         Because the Debtors are party to thousands of executory contracts and unexpired leases,
 and because the Debtors believed that they would seek to assume or reject contracts during the
 pendency of these Chapter 11 Cases, the Debtors determined that it would be beneficial to
 establish streamlined procedures for assuming and rejecting such contracts and leases.
 Accordingly, the Debtors filed a motion seeking approval of these procedures, and the Court
 entered an order on May 13, 2016 authorizing the Debtors to utilize the procedures [Docket No.
 280]. In total, over the course of the Chapter 11 Cases, the Debtors have rejected approximately
 405 Executory Contracts and Unexpired Leases. Additionally, the Debtors have assumed 126
 Executory Contracts and Unexpired Leases pursuant to the Contract Assumption and Rejection
 Procedures Order in connection to various asset dispositions approved by the Bankruptcy Court.

        12.     Applications for Retention of Debtors’ Professionals

         Throughout the Chapter 11 Cases, the Bankruptcy Court has approved the Debtors’
 retention of certain professionals to represent and assist the Debtors in connection with the
 Chapter 11 Cases. These professionals include, among others: (a) Skadden, Arps, Slate,
 Meagher & Flom, LLP as counsel for the Debtors (order granted May 12, 2016) [Docket No.
 260]; (b) Togut, Segal & Segal LLP as co-counsel for the Debtors (order granted May 17, 2016)
 [Docket No. 307]; (c) Joseph Hage Aaronson LLC as special litigation counsel to the Debtors
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 (order granted May 20, 2016) [Docket No. 361]; (d) Rothschild Inc. (“Rothschild”) as financial
 advisor and investment banker to the Debtors (order granted May 20, 2016) [Docket No. 369];
 (e) PricewaterhouseCoopers LLP (“PwC”) as financial advisor to the Debtors (order granted
 May 20, 2016) [Docket No. 370]; (f) KPMG, LLP (“KPMG”) as auditor and tax consultant to
 the Debtors (order granted June 8, 2016) [Docket No. 513]; (g) McKinsey Recovery &
 Transformation Services U.S., LLC (“McKinsey”) as restructuring advisor to the Debtors (order
 granted June 23, 2016) [Docket No. 639]; Eversheds LLP (“Eversheds”) as special counsel
 (order granted July 20, 2016) [Docket No. 808]; (h) Ernst & Young LLP (“E&Y”) as tax services
 provider (order granted July 20, 2016) [Docket No. 809]; (i) Keen-Summit Capital Partners LLC
 (“Keen-Summit”) as real estate advisors (order granted July 20, 2016) [Docket No. 810]; (j)
 Cohen & Gresser LLP (“Cohen & Gresser”) as special counsel to the Debtors in connection to
 certain DOJ and SEC investigations (order granted July 20, 2016) [Docket No. 811]; (k)
 Binswanger of Texas, Inc. (“Binswanger”) as real estate agent (order granted October 19, 2016)
 [Docket No. 1438]; and (l) Brown Rudnick LLP as special litigation counsel to the Debtors in
 connection to certain YieldCo matters (order granted January 11, 2017) [Docket No. 2219].

         With respect to the professionals retained by order of the Bankruptcy Court, as
 applicable, on May 12, 2016, the Bankruptcy Court entered the Order Establishing Procedures
 for Interim Compensation and Reimbursement of Expenses of Professionals [Docket No. 258].

 D.       Appointment of the Creditors’ Committee

         On April 20, 2016, the United States Trustee filed a Notice of Appointment of the
 Unsecured Creditors’ Committee [Docket No. 148]. The members of the Creditors’ Committee
 are: BOKF, N.A., AQR DELTA Master Account, L.P., Advantage Opportunities Fund, LP, D.E.
 Shaw Composite Holdings, LLC, Flextronics Industrial, Ltd., Albemarle Corporation, and Vivint
 Solar, Inc.

         The Creditors’ Committee has retained the following professionals: (a) Weil, Gotshal &
 Manges LLP as counsel to the Creditors’ Committee (order granted June 8, 2016) [Docket No.
 502]; (b) Morrison & Foerster LLP as special renewable counsel to the Creditors’ Committee
 (order granted June 8, 2016) [Docket No. 503]; (c) Lazard Frères & Co. LLC as investment
 banker to the Creditors’ Committee (order granted July 8, 2016) [Docket No. 734]; (d) Alvarez
 & Marsal North America, LLC as financial advisor to the Creditors’ Committee (order granted
 July 8, 2016) [Docket No. 737]; and (e) Kobre & Kim LLP as conflicts counsel to the Creditors’
 Committee (order granted November 17, 2016) [Docket No. 1618].47

 E.       Attempts to Seek Appointment of an Equity Committee


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      Pursuant to the DIP Facility Orders, the fees and expenses of Kobre & Kim LLP may not be paid in Cash or
      otherwise to the extent such fees and expenses are incurred in connection with, among other things, the
      investigation or challenge of the Prepetition Secured Parties’ liens and claims. The Creditors’ Committee was
      granted a $175,000 investigation budget pursuant to the Original DIP Facility Order [Docket No. 1711].
      Pursuant to the Committee/BOKF Plan Settlement, the Investigation/Prosecution Cap described in the Original
      DIP Facility Order (and the Replacement DIP Facility Order) will be deemed increased from $175,000 to $2.25
      million.



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        The Court twice considered requests for formation of an official committee of equity
 holder denying such appointment each time. On May 20, 2016, in response to a number of letter
 requests made by equity holders of SunEdison, Inc., the Court entered an Order To Show Cause
 Why An Official Committee Of Equity Security Holders Should Not Be Appointed [Docket No.
 356]. The Debtors, the Official Committee of Unsecured Creditors, and BOKF, N.A. each filed
 pleadings in opposition to such appointment, while the Investor Recovery Charitable Trust and a
 group of equity holders filed pleadings supporting appointment.

         The Court held a contested evidentiary hearing on July 14, 2016. At such hearing, the
 Court heard testimony from two witnesses, Mr. Homer Parkhill, Managing Director at
 Rothschild, and Mr. Patrick Cook, SunEdison’s Vice-President – Capital Markets and Corporate
 Finance. Mr. Parkhill testified that the Debtors’ stock in the YieldCos could be worth as much
 as $1.1 billion, and the sale of other assets could realize approximately $400 million of
 additional value. See In re SunEdison, Inc., 556 B.R. 94, 101 (Bankr. S.D.N.Y. 2016). The Court
 credited Mr. Parkhill’s testimony that the Debtors “owed approximately $4.2 billion in secured
 and unsecured debt, and its contingent liabilities could exceed another $1.2 billion.” Id.
 Evaluating such testimony, the Court held that “the evidence showed that SunEdison appears to
 be hopelessly insolvent, and it is substantially unlikely that equity will receive a distribution.”
 Id. at 103-04 (“Even if Parkhill’s conservative estimate of value is doubled, the Debtors are still
 $1 billion short [of solvency], and the contingent debt may add an additional $1.2 billion of red
 ink.”). For that reason and because the Creditors’ Committee would adequately represent the
 interest of equity holders, the Court declined to appoint an equity committee, but did not
 foreclose a future request in the event that “the facts change.” Id. at 107.

         On December 2016, a number of equity holders submitted letters to the Court renewing
 their request to form an official equity committee based on their view the Debtors’ solvency. On
 December 6, 2016, the Court asked the Debtors to respond to such allegations. The Debtors did
 so in the quarterly status report filed by Mr. John S. Dubel, the Debtors’ Chief Executive Officer,
 on December 22, 2016 [Docket No. 1979]. At a hearing held on January 12, 2017, the Debtors
 presented the testimony of Mr. Homer Parkhill, and Mr. Salvatore LoBiondo, SunEdison, Inc.’s
 Senior Vice President and Corporate Controller. Mr. Parkhill updated his assessment,
 concluding that the sale of the Debtors’ assets could yield approximately $1.2 billion in value,
 with approximately $870 million of that amount derived from the sale of their interest in the
 YieldCos. The remaining $346 million was derived from the value of anticipated proceeds and
 earn-outs after subtracting repayment of $251 million in postpetition borrowings. Mr. Parkhill
 further testified that such amounts would be insufficient to repay an estimated $4.6 billion in
 secured and unsecured claims, which was the estimated claims pool as of that date. Mr.
 LoBiondo testified that any “investments in subsidiaries” appearing on the Debtors’ accounting
 statements48 did not translate to fair market value.

         At the conclusion of this hearing, the Court stated that “I’m not going to require the
 debtor to pay for [an equity committee], given then financial information I have received and the
 absence of any evidence that the shareholders are going to receive a distribution in this case, very
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      A number of equity holders alleged that the Debtors were solvent because monthly operating reports showed
      billions in “investments in subsidiaries.”



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 frankly.” Transcript of Record at 104:3-104:7, In re: SunEdison, Inc., No. 16-10992 (SMB)
 (Bankr. S.D.N.Y. Jan. 12, 2016). Indeed, after this update, the expected proceeds from the sale
 of the YieldCos had dropped from $1.1 billion to $870 million, and the overall value of the
 Estates, including value of non-Debtor subsidiaries, was reduced from an estimated $1.5 billion
 to $1.2 billion.

         The Estates remain insolvent. The consolidated Financial Projections of the Debtors and
 their non-Debtor subsidiaries, attached as Exhibit B to this Disclosure Statement, show the
 Debtors’ and their non-Debtor subsidiaries’ expected realization of proceeds from the Earnout
 Assets and Residual Assets, Repatriated Cash, and cash from other opportunities (before fixed
 costs, restructuring costs, and the costs of the post-emergence entity).49 The Debtors believe that
 there is a degree of uncertainty in its ability to achieve the milestones for certain earnouts, collect
 on past due receivables, and monetize other assets. The projected ending cash balance, after
 monetization of all the remaining assets, is estimated to be $72.2 million. The ending cash
 balance together with the value expected to be realized from the Jointly Supported Transactions
 comprise the distributable value available to creditors in these Chapter 11 Cases, which is well
 below the outstanding amount of Claims asserted against the Debtors. While the Debtors may be
 able to recover more value from certain assets than reflected in the Financial Projections, such
 amounts would still result in impairment of the Second Lien Claims.

 F.       Investigations

         As noted in Article V.A beginning in late 2015 the Audit Committee of the Board of
 Directors of SUNE launched an investigation with the assistance of Paul Hastings LLC and FTI
 Consulting, independent counsel and consultants to the Audit Committee, respectively, tied to
 allegations made by former executives at SunEdison. On April 13, 2016, following the Audit
 Committee Investigation and an evaluation of materials prepared by Paul Hastings LLC and FTI
 Consulting, SunEdison’s independent directors determined that, as of the date of the independent
 counsel report, there were no identified material misstatements in SunEdison’s historical
 financial statements, as well as no substantial evidence to support a finding of fraud or willful
 misconduct of management, other than with respect to the conduct of one former non-executive
 employee. However, the inquiry identified issues with the Company’s overly optimistic culture
 and identified several specific issues regarding the Company’s cash forecasting and liquidity
 management practices lacking sufficient controls. The independent directors adopted remedies to
 address the issues identified by the investigation. A more detailed description of the issues
 identified by the Audit Committee and the remedies adopted are set forth in more detail in
 Article V.A.

         Nevertheless, because the Debtors’ prepetition conduct was under scrutiny, on the
 Petition Date, the Debtors filed a motion seeking the appointment of an examiner [Docket No.
 11] to conduct an independent review of certain activities that precipitated the filing of these
 Chapter 11 Cases, including related-party transactions involving directors, officers, management,

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      The Financial Projections reflect the assets and estimated values thereof that are expected to remain with
      Reorganized SUNE and its Affiliates, including non-Debtor Affiliates, immediately following emergence. The
      Financial Projections reflect consolidated cash flow projections of both Debtor and non-Debtor entities.



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 agents, advisors and professionals. However, the Committee DIP Settlement reached with the
 Creditors’ Committee (described in more detail in Article V.B.3) required the withdrawal of the
 examiner motion. Instead, the Creditors’ Committee would spearhead any investigation into
 prepetition conduct by directors and officers, as well as other causes of actions. The Creditors’
 Committee was furnished hundreds of thousands of pages of documents in connection with its
 investigation of the claims asserted in the adversary proceeding. Consistent with its de facto role
 as “examiner,” in November 2016, the Creditors’ Committee filed: (1) a proposed adversary
 complaint in the Bankruptcy Court against the plaintiffs in the pending D&O Actions; (2) a
 motion in the adversary proceeding seeking to stay the D&O Actions in their entirety; and (3) the
 D&O Standing Motion (described in more detail in Article V.I.2), proposing to bring claims for
 alleged breach of fiduciary duty and other alleged violations against present and former directors
 and officers of SUNE. The proposed adversary complaint named more than 20 defendants, and
 made numerous allegations spanning nearly two years. Those allegations included breach of
 fiduciary duty, corporate waste and gross mismanagement. The Debtors and the Creditors’
 Committee negotiated a resolution with respect to the D&O Standing Motion (and related
 pleadings) that, among other things, required that the Creditors’ Committee, along with the
 YieldCos, the Debtors, the insurers, and the plaintiffs and defendants in the D&O Actions to
 attempt to mediate in good faith. The result of that mediation is the D&O Settlement, pursuant
 to which the Company’s D&O Insurance will pay $32 million to SunEdison to settle the
 allegations in the proposed adversary complaint. The named defendants will receive releases
 from the Company in exchange for causing D&O Insurance proceeds to be paid into the estate.
 Under the Committee/BOKF Plan Settlement, the proceeds of that settlement will be transferred
 to the GUC/Litigation Trust for the benefit of Holders of General Unsecured Claims. The
 Debtors submit that the settlement is fair and appropriate given the value of the potential claims
 arising from the alleged prepetition conduct of the Company’s current and former directors and
 officers and defenses to such claims.

          In addition, in December 2016, Brown Rudnick was retained as the Debtors’ special
 litigation counsel to lead the Debtors’ investigation of the YieldCos’ alleged claims (and the
 Debtors’ defenses thereto). As part of this investigation, Brown Rudnick worked closely with
 PwC to analyze and evaluate the Estates’ avoidance claims against the YieldCos and advise the
 Debtors regarding the value of such claims that could be recovered for the benefit of the Debtors’
 Estates. As described in more detail in Article V.J, this investigation has included: (i) a review
 of hundreds of thousands of pages of relevant documents; (ii) in-depth, in-person and telephonic
 interviews with current and former members of SunEdison’s senior management; (iii) analysis of
 the Creditors’ Committee’s YieldCo Standing Motion; and (iv) thorough research and analysis of
 the factual and legal issues pertinent to potential claims. Ultimately, as a result of this
 investigation, the Debtors and their advisors determined that the appropriate YieldCo Avoidance
 Allocation is between $9.4 million and $22.9 million, with a mid-point of $16.1 million.

         In connection with this work, Brown Rudnick also investigated whether SUNE engaged
 in acts that might give rise to claims sounding in, among other theories, intentional fraudulent
 transfer to either YieldCo. This investigation was foundationally based on extensive analysis
 prepared by PWC into, among other issues, SUNE’s overarching business plan and individual
 transaction objectives, evolving status in the investing marketplace at various points in time,
 changing liquidity profile, and ability to attract debt and equity capital prior to bankruptcy. The
 investigation also considered evidence reflecting the motivations of key members of

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 management and the board at various points in time, including their procedures for and manner
 of corporate decision-making. Brown Rudnick also considered other so-called “badges” of
 intentional wrongdoing, including whether each transfer in question had a business purpose
 consistent with SUNE’s long-term strategic objectives, was disclosed or secretive, rendered
 SUNE insolvent, and whether SUNE received more or less than reasonably equivalent value in
 exchange for each such transfer. Ultimately, Brown Rudnick concluded that the evidence did not
 support intentional avoidance theories that were incrementally greater than was otherwise
 reflected in the YieldCo Avoidance Allocation between $9.4 million and $22.9 million.

 G.       Debtor and Non-Debtor Asset Sales

         Due in large part to the significant transaction volume in which the Company engages as
 a renewable-energy project developer – together with the Debtors’ efforts to maximize value for
 the Estates and to pay down the Original DIP Facility (and to continue paying down the
 Replacement DIP Facility) – the Debtors have engaged in a high volume of asset sales over the
 course of the Chapter 11 Cases that have allowed the Company to monetize both Debtor and
 non-Debtor assets around the world. Certain of these transactions have been approved by the
 Bankruptcy Court as either asset sales pursuant to section 363 of the Bankruptcy Code or
 pursuant to de minimis sale procedures approved by the Bankruptcy Court (as set forth in greater
 detail below). The Debtors’ robust sale and marketing efforts (not including the YieldCo M&A
 process) have garnered tangible results: the Debtors have executed confidentiality agreements
 with, and/or granted data-room access to, more than approximately 300 parties; the Debtors have
 received bids to purchase assets from more than 100 parties; the Debtors have entered into over
 40 definitive asset purchase agreements; and notably, by the end of May 2017, such sales have
 generated, in the aggregate, more than $1.1 billion in gross sale proceeds and approximately
 $632 million in net sale proceeds for the Estates.50

         In addition to the sale of projects and other renewable energy assets, the Company has
 divested itself of certain business segments in platform sales, including the RSC Business Unit
 (substantially completed in or around September 2016), the North American C&I Platform
 (divested in January 2017), and the Solar Materials Business Unit (divested in March 2017). The
 Company is currently in the process of divesting the GAM business unit (which the Company
 anticipates consummating in the second quarter of 2017). Moreover, outside the U.S., the
 Debtors’ non-Debtor foreign subsidiaries and affiliates are monetizing certain renewable-energy
 assets, including sales of the India, South Africa, and Latin America (including Chile, Uruguay,
 and Honduras) project development platforms.

         In total, the Debtors worked on over 35 separate sales processes, many of which were
 highly complex transactions that involved multi-party, and often cross-jurisdictional,
 negotiations and regulatory considerations. Proceeds from such sales have been utilized to pay
 project-level financing costs and other project-level expenses, including amounts outstanding
 under project financing facilities (such as outstanding revolving construction facilities), overhead
 costs, advisory fees, closing and other costs associated with sales processes, an approximately

 50
      These numbers do not reflect the value of the consideration to be received from the consummation of the Jointly
      Supported Transactions.



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 $244.3 million paydown of the Original DIP Facility, and other amounts necessary to satisfy
 various project-level liens and encumbrances as required under the applicable sale agreements.

        1.      Bankruptcy Court Approved Section 363 Sales

         Of the sales conducted during the course of the Chapter 11 Cases, the Debtors have
 conducted 13 sales by separate motion under Bankruptcy Code section 363 (either as private
 sales or as sale processes subject to bidding procedures and the opportunity for a public auction),
 including the following:

                    Sunflower Project Company [Docket No. 444]: the sale of the Debtors’
                     interests in the 104MW renewable energy Project located in North Dakota
                     known as Sunflower to Novatus Project Holdings I, LLC, resulting in net
                     proceeds of approximately $13.1 million to date.

                    California Utility Business Unit Projects [Docket Nos. 785, 834]: the sale of
                     certain Utility business unit Project assets located in California under two
                     separate sales to DESRI MS2 Development, L.L.C. and 93LF 8ME LLC,
                     resulting in net proceeds for both sales of approximately $73.6 million in total
                     to date.

                    RSC Business Unit (Global Channel and Australia Business) [Docket No.
                     1002]: the sale of material components of the Company’s RSC Business Unit
                     (namely, the global channel business and the Australia business components)
                     to Flextronics International USA, Inc., resulting in net proceeds of
                     approximately $8.8 million to date.

                    Utility Business Unit Project Companies [Docket No. 1204]: the sale of
                     certain Utility business unit project companies to NRG Renew LLC, including
                     Utility business unit projects, separated into three “packages” of energy
                     projects – namely, the Utah projects, the Hawaii development projects, and
                     the Buckthorn project located in Texas, resulting in net proceeds of
                     approximately $105.9 million to date.

                    Minnesota C&I Projects [Docket No. 1267]: the sale of twenty-two C&I solar
                     Projects under development in Minnesota to SoCore MN Acquisition LLC
                     (“SoCore”). This sale also incorporates a settlement agreement entered into
                     with Project co-developer Ecoplexus, which resolves certain claims related to
                     an older purchase and sale agreement of certain Minnesota C&I Projects. Net
                     proceeds for this sale were expected to be approximately $79.8 million,
                     assuming the closure of all projects. Certain projects originally agreed to be
                     sold to SoCore were re-marketed after they appeared unlikely to close to
                     SoCore, resulting in a signed purchase agreement with Fresh Air Energy II,
                     LLC and its parent Ecoplexus, Inc. (together, “Ecoplexus”) and Geronimo
                     Energy, LLC (“Geronimo”). The Ecoplexus and Geronimo sales contemplate
                     aggregate net proceeds, assuming all projects reach closing, of approximately
                     $26.5 million and $3.0 million respectively. To date, the Debtors have

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                        received $16.6M million in net proceeds related to the Minnesota C&I
                        Projects.

                       Troughton Project Company [Docket No. 1240]: the sale of SUNE Troughton
                        Farm Solar Limited to Stark Solar Limited. The sale closed in March 2017,
                        resulting in net proceeds of approximately $23 million to date.

                       Turbines [Docket No. 1630]: the sale of fifteen GE 1.79-100 wind turbines to
                        BayWa r.e. Wind, LLC, resulting in net proceeds of $11.4 million to date.

                       C&I Platform [Docket No. 2338]: the private sale of the C&I Platform (as a
                        going-concern operation), resulting in net proceeds of approximately $9.7
                        million to date. Of this amount approximately $7.2 million was received in
                        January 2017.

                       Atlantic Power Warehouse [Docket No. 2270]: the sale by TerraForm Private
                        Holdings, LLC of its equity interests in TerraForm Private, LLC, to DIF
                        INFRA 4 US LLC and DIF IV CO-INVEST LLC. TerraForm Private, LLC is
                        a holding company for the “Atlantic Power Warehouse,” a collection of
                        operating project entities that together provide approximately 806 MW of
                        wind-power capacity. This sale is expected to close in June 2017 and net
                        proceeds for this sale are expected to be approximately $42 million.

                       Solar Materials Business Unit [Docket No. 1466]: the sale of the Solar
                        Materials Business Unit to stalking horse bidder GCL-Poly Energy Holdings
                        Limited. The sale closed in March 2017 and $89.7 million in net proceeds
                        were received in cash at closing,51 with up to an additional $50 million in
                        contingent consideration based on GCL’s progress in constructing a facility
                        which uses the purchased intellectual property. On March 28, 2017, GCL
                        issued a press release announcing that all conditions precedent to closing have
                        been fulfilled or waived in accordance with the terms of the asset purchase
                        agreement.

                       Sale Leaseback Asset Sales [Docket Nos. 2858 and 2859]: the proposed
                        private sales of (1) approximately 352 renewable energy projects (and certain
                        real property related thereto) financed through sale leaseback and partnership
                        flip transactions to Longroad Solar Portfolio Holdings, LLC and (2)
                        approximately 80 renewable energy projects financed through sale leaseback
                        transactions to Silicon Ranch Corporation. Together, the transactions are
                        anticipated to result in gross sale proceeds of approximately $11.6 million and
                        the Debtors estimate net sale proceeds of approximately $9 million in cash
                        (which amount could be higher or lower depending on closing costs). In

 51
      Approximately $2.96 million of these net proceeds are expected to be allocated to Debtor SunEdison Products
      Singapore Pte Ltd. The Debtors will also transfer to SMP Ltd. $5 million, half of which will be received from
      GCL-Poly Energy Holdings Limited, in order to resolve SMP Ltd.’s sale objection.



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                    addition the Debtors anticipate the cancellation or return of approximately $45
                    million in credit support obligations provided by the Debtors. The sale
                    transactions are anticipated to close in the third quarter of 2017.

                   GAM Business: Throughout the Chapter 11 Cases, the conducted an ongoing
                    marketing process for the divestiture of SunEdison’s GAM business unit.
                    Beginning in May 2016, SunEdison conducted a marketing process for its
                    GAM business. A significant portion of the GAM business volume
                    (approximately 60%) is attributable to services provided to affiliates of
                    YieldCos.

                    Simultaneously with the Debtors’ marketing process, and in connection with
                    the YieldCos’ exploration of strategic alternatives that ultimately resulted in
                    the proposed merger transactions between the YieldCos and affiliates of
                    Brookfield Asset Management, Inc., the YieldCos evaluated whether they
                    would continue receiving operating and asset management services from the
                    GAM Business (either from SUNE or a purchaser of the GAM Business), and
                    they informed the Company by late fourth quarter of 2016 that they generally
                    would exercise asserted rights under their agreements with the GAM
                    Business—certain of which were disputed by the Debtors—to terminate their
                    relationships with the GAM business. Because the services provided to the
                    YieldCos comprised such a large portion of the GAM business volume, the
                    value of the GAM business was limited by the YieldCos’ decision to
                    terminate their relationship with the GAM business. In light of this,
                    ultimately, in February 2017, the one party still pursuing purchasing the GAM
                    business ceased negotiations.

                    After considering its alternatives, the Debtors determined that immediate
                    rejection of the asset management and O&M agreements with the YieldCo
                    affiliates would have a detrimental effect on the YieldCos because the GAM
                    service recipients rely on the GAM business for monitoring, reporting, and
                    management and operation of their facilities, including compliance with
                    certain regulatory requirements and the terms of certain credit facilities.
                    Accordingly, the Debtors determined to work with YieldCos facilitate an
                    orderly transition of the GAM Business employees, including employee-
                    related obligations, and GAM Business services to develop in-house
                    capabilities or alternative third party providers.

                    On June 1, 2017, the Debtors and TERP executed a transition services
                    agreement (filed at Docket No. 3247) setting forth the terms and conditions by
                    which certain affiliates of TERP are permitted to make an offer of
                    employment to GAM employees, and the terms and conditions by which
                    SUNE, its affiliated Service Providers, TERP, and its affiliated Service
                    Recipients will cooperate so that the services and obligations under asset
                    management and O&M contracts between the Service Providers and the
                    Service Recipients will be transitioned in-house to TERP or subcontracted to
                    new service providers. The Debtors have also been working with GLBL to
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                       facilitate a transition of the GAM employees and employee related obligations
                       and contracts.

          2.      De Minimis Asset Sales

         Over the course of the Chapter 11 Cases, the Debtors have filed notices of presentment
 for approximately 28 “de minimis” asset sales under the procedures set forth in the de minimis
 sale order entered by the Court on July 14, 2016 (the “De Minimis Sale Order”) [Docket No.
 781]. Such sales have, in the aggregate, generated gross sale proceeds of approximately $52.3
 million and net proceeds of approximately $36 million. 52

 H.       Non-Debtor Value Analysis

        As further described herein, since the commencement of these Chapter 11 Cases, the
 Debtors and their advisors conducted an entity-by-entity analysis to determine the value held in
 foreign (non-US entity) non-Debtor subsidiaries (collectively, the “Foreign Subsidiaries”), many
 of which are DIP Guarantors. This analysis served as one of the foundations of the assumptions
 underlying the Debtors’ financial projections.

        In this regard, in the ordinary course of business the Debtors have engaged in various
 intercompany financial transactions with Debtors and non-Debtor affiliates, both foreign and
 domestic (collectively, the “Intercompany Transactions”). The Intercompany Transactions
 include, but are not limited to, the following:

          1. Payments or transfers from a Debtor to another Debtor or a non-Debtor affiliate
             giving rise to claims (“Intercompany Claims”);

          2.      Loans among Debtors and other Debtors or non-Debtors (“Intercompany Loans”);
                  and

          3.      Capital contributions and other investments made by Debtors with respect to other
                  Debtors and non-Debtors (“Intercompany Investments”).

        SunEdison, Inc. is the ultimate parent company of more than 2,000 domestic and foreign
 subsidiaries. As described above, this includes Debtor and non-Debtor subsidiaries and affiliates
 that operate throughout the world, including in the United States, Canada, Mexico, Latin
 America, Europe, India, Malaysia, Singapore, Africa, the Middle East, Australia, and Asia.

         Beginning almost immediately after the commencement of these Chapter 11 Cases, the
 Debtors and their advisors analyzed the financial data from the Debtors’ books and records in
 order to focus on the legal entities that have assets, either in the form of cash on hand, assets held
 for sale, or other assets, such as tax refunds, deposits, etc. As a result of this review, the Debtors

 52
      Over the course of the Chapter 11 Cases, the Debtors have filed numerous notices of presentment of De
      Minimis Asset Sale orders, which include the following: [Docket Nos. 837, 866, 930, 1049, 1050, 1051, 1052,
      1053, 1054, 1055, 1105, 1106, 1265, 1394, 1459, 1655, 1740, 1811, 1984, 1986, 1996, 2206, 2265, 2321, 2605,
      2814, 2815, 2878, and 2935].



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 determined that the number of Foreign Subsidiaries that met this criteria was fewer than 100
 legal entities. The Debtors held numerous meetings with key constituents regarding the
 foregoing throughout the Chapter 11 Cases.

         In assessing the potential value of the Debtors’ interests in Foreign Subsidiaries and
 Intercompany Transactions, the Debtors and their advisors considered the following criteria on
 an entity-by-entity basis:

        1. Cash balances;

        2.      Assets held for sale and anticipated proceeds (net of transaction expenses);

        3.      Inflows and outflows by project or source (i.e., tax refunds, return of cash
                collateralized bonds or letters of credit, etc.);

        4.      Quantification of third-party liabilities, including but not limited to accounts
                payable;

        5.      Required operating costs until wind down (i.e., rent, utilities, etc.);

        6.      Local restructuring expenses, including legal advice, contract termination
                expenses, etc.; and

        7.      Other assets and liabilities, including intercompany payables and receivables.

          In considering how funds might flow through the corporate structure upon receipt of the
 net cash inflows, the Debtors and their advisors (1) identified the legal entity into which the cash
 inflows are expected to be received; (2) identified the third-party and intercompany liability
 positions for each entity; and (3) reconciled intercompany balances of key legal entities and are
 in the process of agreeing with counterparties to confirm the availability of funds through these
 entities to DIP Guarantors.

          Based upon the above criteria and other considerations, including whether the entity was
 a DIP Guarantor, the Debtors with the assistance of their advisors developed a detailed analysis
 of the potential recoveries of funds held in foreign jurisdictions that could be repatriated to the
 parent Company.         The analysis is based on estimates and assumptions, while considered
 reasonable by management, may not be realized, and are inherently subject to uncertainties and
 contingencies. In certain cases, the Debtors or Reorganized Debtors’ ability to repatriate cash is
 subject to the completion and acceptance of statutory accounting, tax audits, and other tax
 authority approvals, which may be impacted if the Debtors’ or Reorganized Debtors’
 international operations are limited or impaired. Because future events and circumstances may
 well differ from those assumed and unanticipated events or circumstances may occur, the
 Debtors expect that the actual results will be different from those contained in the actual cash
 that is repatriated to the Parent Company and such differences may be material. The Financial
 Projections are in part derived from this analysis. Refer to the Financial Projections for
 additional information and disclosures.



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 I.       Litigation and Creditors’ Committee and Developments

          1.       Vivint Litigation

         On January 12, 2016, Appaloosa filed suit against SunEdison in the Delaware Court of
 Chancery for alleged breaches of fiduciary duty in relation to SunEdison’s plans to acquire
 Vivint and require Power LLC to acquire Vivint’s projects in turn under what Appaloosa alleged
 were unfavorable take-or-pay arrangements (the “Appaloosa Complaint”).                  SunEdison
 vigorously denied the allegations in the Appaloosa Complaint and on February 25, 2016, the
 court denied Appaloosa’s motion for a preliminary injunction on SunEdison’s plans to acquire
 Vivint, but left open the possibility of the case going to trial. Thereafter, Appaloosa sought an
 expedited trial against SunEdison in a further attempt to block the acquisition of Vivint.
 However, the issue became moot when Vivint cancelled the Vivint Merger Agreement. Shortly
 thereafter, Vivint filed a complaint (Vivint Solar, Inc. v. SunEdison, Inc., Case No. 12088)
 against SUNE and SEV Merger Sub Inc. (“SEV”) in the Delaware Court of Chancery alleging
 that SUNE and SEV breached the Vivint Merger Agreement (the “Merger Litigation”). SUNE
 and SEV filed an answer denying the allegations and asserting certain affirmative defenses. On
 the April 21, 2106 Petition Date, the automatic stay went into effect, staying all actions against
 SUNE and SEV (and the other then-existing Debtors), including Vivint’s pending suit against
 SunEdison.

        On July 7, 2016, Vivint filed a motion in the Bankruptcy Court seeking limited relief
 from the automatic stay to permit Vivint to continue to prosecute the Merger Litigation. 53 The
 Bankruptcy Court denied Vivint’s motion for relief from the automatic stay on September 13,
 2016 [Docket No. 1168].

          2.       Consolidation of Federal Actions / D&O Actions and Settlement of Estate

         Prior to the Petition Date, the Company and its affiliates faced more than thirty different
 lawsuits arising from a variety of alleged prepetition actions and transactions, including, but not
 limited to, the YieldCo initial public offering transactions and other securities transactions (the
 “D&O Actions”). Many of the D&O Actions assert overlapping direct individual and class
 claims and derivative claims by shareholders or investors against the Company, the YieldCos,
 and their respective present and former directors and officers (as well as third parties such as the
 underwriters of certain securities and debt offerings of the Debtors or the YieldCos, and the
 Company’s independent auditor), and many of such claims are arguably covered by the
 Company’s D&O Insurance.

         Pursuant to October 4 and 13, 2016 transfer orders of the U.S. Judicial Panel on
 Multidistrict Litigation, approximately twenty-two of the federal D&O Actions were centralized
 and consolidated before the Honorable Judge P. Kevin Castel in the United States District Court
 for the Southern District of New York the (“District Court”) (In re SunEdison Inc. Securities

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      The Debtors filed a response in opposition to Vivint’s stay relief motion on August 9, 2016 [Docket No. 944],
      and Vivint filed a reply in further support of its motion for relief from the automatic stay on August 10, 2016
      [Docket No. 973].



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 Litigation, MDL No. 2742) (the “Multidistrict Litigation” or “MDL”). Several other similar
 cases have been added to the MDL since the initial transfer orders.

         On November 2, 2016, the Creditors’ Committee filed an adversary complaint in the
 Bankruptcy Court against the plaintiffs in the pending D&O Actions seeking declaratory relief
 that SunEdison has a property interest in the D&O Insurance, and enforcement of the automatic
 stay with respect to the D&O Actions pending against certain current and former directors and
 officers of SunEdison (Official Committee of Unsecured Creditors v. Juan M. Beltran, et al.,
 Adversary Case No. 16-01257) [D&O Adv. Docket No. 1]. On the same day, the Creditors’
 Committee filed a motion in the adversary proceeding seeking to stay the D&O Actions in their
 entirety [D&O Adv. Docket No. 2]. On November 4, 2016, the Creditors’ Committee also filed
 a motion seeking standing to pursue claims, including for alleged breaches of fiduciary duty and
 various other alleged violations, against certain current and former SunEdison directors and
 officers (the “D&O Standing Motion”) [Docket No. 1550].

         As announced during Bankruptcy Court hearings on November 17 and December 6,
 2016, the Debtors and the Creditors’ Committee negotiated a resolution with respect to the D&O
 Standing Motion (and related pleadings) that would grant the Creditors’ Committee standing to
 pursue certain claims on behalf of the Debtors’ Estates under certain circumstances. The
 agreement required that the Creditors’ Committee, along with the YieldCos, the Debtors, the
 insurers, and the plaintiffs and defendants in the D & O Actions attempt to mediate in good faith
 before the Creditors’ Committee could proceed on its proposed claims against directors and
 officers. In order to achieve mediation of all necessary parties and preserve the Debtors’
 insurance policies, the Debtors and the Creditors’ Committee agreed to seek a stay of all pending
 D&O Actions and orders compelling mediation in both the Bankruptcy Court and the District
 Court. On December 19, 2016, at a status conference in the Multidistrict Litigation, the District
 Court ordered a limited stay of the MDL through March 31, 2017, and directed all parties in the
 MDL to participate in mediation. On December 28, 2016, the Bankruptcy Court entered a
 consent order directing the following additional parties to participate in the mediation, along with
 the MDL parties: the Debtors; the Creditors’ Committee; the Agent for the Prepetition First Lien
 Lenders, the DIP Agent, and the Prepetition Second Lien Lenders and the Prepetition Second
 Lien Noteholders; and the parties to TerraForm Global, Inc. v. SunEdison, Inc., et al., C.A. No.
 12159-VCL, and Aldridge v. Blackmore, et al., C.A. No. 12196-VCL, both of which are pending
 in the Delaware Court of Chancery (the “Delaware Chancery Actions”) [D&O Adv. Docket No.
 61]. The consent order also stayed the Creditors’ Committee’s Proposed Claims, any claims that
 are or may be brought by the Agent for the Prepetition First Lien Lenders, the DIP Agent, the
 Prepetition Second Lien Lenders and the Prepetition Second Lien Noteholders against any
 current or former officers and directors of the Debtors that may be covered under the Company’s
 D&O Insurance, and the claims asserted in Delaware Chancery Actions, through March 31,
 2017. Finally, this consent order also held the Creditors’ Committee’ motion seeking to stay the
 D&O Actions [D&O Adv. Docket No. 2] in abeyance during the period of the stay.

        The court-ordered mediation was held on February 10, February 27, and March 2-3,
 2017. A comprehensive settlement of the D&O Actions and the other pending and threatened
 actions against parties covered by the Company’s and YieldCos D&O Insurance was not
 achieved and the court-ordered stay of those actions expired on March 31, 2017. However, on
 March 27, 2017, the Company, the Creditors’ Committee and the SunEdison directors and

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 officers who would be defendants on the estate claims proposed to be brought by the Creditors’
 Committee under the D&O Standing Motion reached an agreement in principle to settle those
 claims in exchange for a payment of $32 million from the Company’s D&O Insurance, which the
 applicable insurance carriers have agreed to fund, to SunEdison (the “D&O Settlement”). The
 D&O Settlement is the subject of a pending motion before the Bankruptcy Court filed on June 7,
 2017 [Docket No. 3296] (the “D&O Settlement Motion”), and parties should review the D&O
 Settlement Motion for a more comprehensive explanation of the D&O Settlement. Pursuant to
 the Committee DIP Settlement, any and all D&O Insurance Proceeds from the D&O Settlement
 will be distributed to the GUC/Litigation Trust for the benefit of Holders of Allowed General
 Unsecured Claims. Pursuant to the Committee/BOKF Plan Settlement, the Holders of Tranche B
 Roll-Up Claims will waive their liens on D&O Insurance Proceeds.

        The first $150 million of coverage under the Company’s D&O Insurance is shared with
 the YieldCos, whose directors and officers are also insureds thereunder. On March 27, 2017, the
 Debtors and the independent directors of SunEdison (the “SUNE Parties”) reached an agreement
 (as amended June 6, 2017, the “D&O Insurance Cooperation Agreement”) with the YieldCos
 and their current directors and officers (the “YieldCo Parties”) related to the D&O Insurance.
 The D&O Insurance Cooperation Agreement is also the subject of the pending D&O Settlement
 Motion, and parties should review the D&O Settlement Motion for a more comprehensive
 explanation of the D&O Insurance Cooperation Agreement. Among other things, this agreement
 provides that: (i) the YieldCo Parties consent to the $32 million payment to SunEdison from the
 D&O Insurance in connection with the D&O Settlement; (ii) for a specified period of time, the
 SUNE Parties and the YieldCo Parties agree to cooperate in trying to reach settlements of certain
 of the D&O Actions, and similar litigations, pending against the YieldCos and their respective
 present and former directors and officers, and SunEdison will consent to such proposed
 settlements to be funded by up to $32 million from the D&O Insurance; and (iii) for a specified
 period of time, SunEdison, its independent directors and the YieldCos will not assert certain
 payment priority provisions of the D&O Insurance.

        3.     UCC Challenge Litigation and Related Matters

         Pursuant to the terms of the DIP Facility Orders, the Creditors’ Committee was granted
 standing to file an adversary proceeding to challenge the validity, enforceability, priority, or
 extent of any obligations arising under the Prepetition Debt documents and the liens on the
 prepetition collateral securing such obligations. Also, pursuant to the Original DIP Facility
 Order, the Creditors’ Committee was granted certain rights with regards to the Second Lien
 Creditors’ rights to the proceeds of the D&O Insurance, as a result of any Second Lien Creditors’
 claims against such D&Os, which rights would lapse if the Creditors’ Committee commenced
 any litigation against the Prepetition Secured Parties.

         On October 20, 2016, the Creditors’ Committee commenced an adversary proceeding
 against the First Lien Administrative Agent, Second Lien Notes Collateral Trustee, and various
 holders of the Debtors’ prepetition secured debt (Official Committee of Unsecured Creditors v.
 Wells Fargo Bank, N.A., et al., Adversary Case No. 16-01228) [Lien Adv. Docket No. 1] (the
 “UCC Challenge Litigation”). As a result of commencing such litigation, the unsecured
 creditors lost their rights with regard to the Second Lien Creditors’ claims against the D&O
 Insurance stemming from the Second Lien Creditors’ direct claims against the Debtors’ directors

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 and officers. On the same day, the indenture trustee for certain convertible unsecured notes
 issued by SUNE also filed an objection (the “BOKF Objection”) [Docket No. 1455] to proofs of
 claim that had been filed by the trustee (the “Second Lien Notes Trustee”) for the Second Lien
 Senior Notes and the administrative agent (the “Second Lien Loans Agent”) for the Second Lien
 Loans [Proof of Claim Nos. 1490, 3555], which objection asserted certain of the same claims as
 raised in the UCC Challenge Litigation.

         In connection with the UCC Challenge Litigation, the Creditors’ Committee has asserted
 fifteen causes of action (the “UCC Challenge Litigation Causes of Action”) against the
 Prepetition First Lien and Prepetition Second Lien Lenders seeking, among other things, to avoid
 certain January 2016 financing transactions as fraudulent and preferential transfers, equitably
 subordinate Prepetition First Lien Lenders’ and Prepetition Second Lien Lenders’ claims, avoid
 certain liens as unperfected, recover affirmative damages on the basis of alleged aiding and
 abetting breach of fiduciary duty claims, and disallow portions of certain Prepetition Second
 Lien Claims as unmatured interest arising from alleged original issue discount (“OID”). Both
 the Prepetition First Lien Lenders and Prepetition Second Lien Lenders moved to dismiss the
 UCC Challenge Litigation [Lien Adv. Docket Nos. 17, 18, 24, 25]. The Creditors’ Committee
 filed an omnibus opposition to both motions to dismiss [Lien Adv. Docket No. 35], to which the
 Prepetition First Lien Lenders and the Prepetition Second Lien Lenders filed separate replies in
 opposition thereto [Lien Adv. Docket Nos. 46, 47].54 Also on January 31, 2017, the Second
 Lien Notes Trustee and the Second Lien Loans Agent filed responses to the BOKF Objection
 [Docket Nos. 2361, 2362].

         The Bankruptcy Court held a hearing on the Prepetition First Lien Lenders’ motion to
 dismiss the UCC Challenge Litigation, as well as the BOKF Objection, on February 16, 2017. A
 hearing on the Second Lien Defendants’ motions to dismiss the UCC Challenge Litigation was
 held on March 30, 2017. The Bankruptcy Court took the matter under consideration and ordered
 the relevant parties into mediation before the Honorable Cecelia G. Morris, Chief Judge of the
 United States Bankruptcy Court for the Southern District of New York, concerning their disputes
 and the issues raised by the Debtors’ proposed Plan and the settlement of the UCC Challenge
 Litigation and BOKF Objection, as well as the YieldCo Settlement Motion and the YieldCo
 Avoidance Allocation (both as defined below). The mediation was successful and culminated in
 the Committee/BOKF Plan Settlement, which, among other things, settles the UCC Challenge
 Litigation on behalf of the Debtors’ Estates against Prepetition Secured Parties, including the
 challenge to their liens, and the BOKF Objection.

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      Additionally, on November 21, 2016, the Creditor’s Committee filed an amended complaint [Lien Adv. Docket
      No. 12, 13]. The amended complaint corrected the corporate identities of certain previously named defendants
      and named several new Prepetition First Lien Lenders and Prepetition Second Lien Lenders as defendants (the
      “Newly Named Lenders”) that were not previously named in the initial complaint. On January 24, 2017, the
      Newly Named Lenders moved to dismiss the complaint on the same grounds set for the in the initial defendants’
      motions to dismiss [Lien Adv. Docket Nos. 50, 51, 64]. Additionally, the Newly Named Lenders argued that
      because the Creditors’ Committee did not add them as defendants until after the Challenge Period established in
      the Original DIP Facility Order expired, the Creditors’ Committee is barred from challenging the validity of
      their claims. On January 31, 2017, the Creditors’ Committee filed the Omnibus Opposition to the Newly
      Named Lenders’ motions to dismiss. [Lien Adv. Docket No. 68]. The Newly Named Lenders filed replies on
      February 3, 2017. [Lien Adv. Docket Nos. 72, 73.]



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        4.      SEC/DOJ Investigation

        On March 28, 2016, SUNE received a grand jury subpoena from the United States
 Department of Justice (the “DOJ”) seeking documents and information relating to: (i) certain
 financing activities in connection with SUNE’s acquisition of Vivint; (ii) the conduct of a former
 non-executive employee who is alleged to have committed wrongdoing in connection with the
 Vivint termination negotiations; (iii) investigations by SUNE’s Audit Committee; (iv)
 intercompany transactions involving the Company and each of TERP and GLBL; and (v) the
 financing of the Company’s Uruguay projects in connection with project costs and equity
 contributions that remain to be contributed by the Company. On June 23, 2016, SUNE received
 a second grand jury subpoena from the DOJ seeking production of certain e-mails, telephone call
 records, and personnel records for a former officer of the Company and a former non-executive
 employee of the Company.

         On October 5, 2016, the Company received a notice that the United States Securities and
 Exchange Commission (the “SEC”) is conducting a non-public, fact-finding investigation
 relating to the Company. The notice was accompanied by a subpoena seeking production of
 certain e-mails and other electronic communications sent or received by certain current and/or
 former directors and/or officers of SUNE, TERP and/or GLBL. The Company previously had
 received a non-public, informal inquiry from the SEC covering areas similar to the initial DOJ
 subpoena. On April 20, 2017, the Company received a second subpoena from the SEC, seeking
 production of: (i) e-mails and other electronic communications sent or received by certain
 current and/or former employees of SUNE, TERP and/or GLBL; (ii) documents relating to
 certain transactions between the Company and McKinsey & Company, a consultant to the
 Company; (iii) documents relating to certain transactions between the Company and United
 Overseas Bank and Oversea-Chinese Banking Corporation; and (iv) documents relating to
 certain meetings of the Company’s Board of Directors and Audit Committee.

         The Company has cooperated, and continues to cooperate, with the DOJ and SEC in their
 ongoing investigations. To date, the Company has gathered, reviewed and produced to the DOJ
 and the SEC a substantial volume of documents responsive to the grand jury and SEC subpoenas.
 In addition, the Company has provided documents in response to informal requests by the DOJ,
 and in response to the informal inquiry from the SEC.

 J.     YieldCo Developments

        On September 23, 2016, the YieldCos filed proofs of claim (“YieldCo POCs”), which
 were amended on October 7, 2016. In them, the YieldCos asserted various categories of claims
 against the Debtors, including contract, tort, fiduciary duty, contribution, indemnification and
 other claims allegedly amounting to more than $3 billion in the aggregate. In addition, the
 YieldCos have alleged that they are owed over $100 million of postpetition administrative
 expense claims.

         On March 25, 2016, in anticipation of and in connection with SUNE’s bankruptcy filing,
 the YieldCos’ respective boards authorized the conflicts committee at GLBL Inc. and TERP Inc.,
 respectively, to evaluate and act affirmatively with respect to matters involving or substantially
 relating to SUNE, including actions to protect the YieldCos’ contractual and other rights and

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 otherwise to preserve the value of the YieldCos and their assets. In June 2016, without notice to
 SUNE, which, along with the DIP Lenders, was in active discussions with the YieldCos about
 the terms of the Original DIP Facility Order, GLBL Inc. and TERP Inc. each ratified
 amendments (the “LLC Amendments”) to the operating agreement of its respective LLC
 subsidiary, Power LLC and Global LLC, which are the YieldCo entities in which SunEdison
 holds its Class B (economic) units. The LLC Amendments delegated to an independent conflicts
 committee at the respective LLC subsidiary level the exclusive power to exercise all rights,
 powers and authority of GLBL Inc. and TERP Inc. (as sole managing member) to manage and
 control the business and affairs of their LLC subsidiaries and each of their controlled affiliates
 relating to or involving SUNE and any of its affiliates (other than the LLC subsidiaries and their
 controlled affiliates). The LLC Amendments also provided that nothing could be done to change
 the delegation of power or the composition of the LLC level conflicts committees without a
 Class A Shareholder vote that will not occur until the first annual shareholders meeting in 2017
 or thereafter.

         Since the early days of these Chapter 11 Cases, SunEdison, the YieldCos, and their
 respective independent advisors engaged in an arm’s-length process to explore strategic
 alternatives with respect to SunEdison’s interests in the YieldCos – the Estates’ most valuable
 assets – including a sale, sponsorship, or other transaction. Upon entering into a joint sale and
 marketing protocol (the “YieldCo Sale Protocol”), the parties agreed to the common goal of
 effectuating a tangible and jointly supported M&A transaction for each of the YieldCos. In
 parallel with the joint marketing process, the Debtors participated in arm’s-length settlement
 discussions with the YieldCos. The Debtors and their advisors periodically met with the
 YieldCos and their advisors regarding the YieldCos’ alleged claims against the Estates and the
 Debtors’ potential defenses thereto, as well as the Debtors’ claims against the YieldCos.

         On October 7, 2016, the Creditors’ Committee sent the Debtors a letter demanding that
 they immediately commence avoidance actions against the YieldCos or, alternatively, consent to
 the Creditors’ Committee’s standing to pursue such actions. On October 17, 2016, the Debtors
 responded that proceeding with litigation and/or turning over control of causes of action to the
 Creditors’ Committee before the Debtors completed their investigation and identification of all
 of the Debtors’ claims and defenses would be contrary to their fiduciary duties. In an October
 28, 2016 response, the Creditors’ Committee rejected the Debtors’ request that the parties first
 attempt a negotiated resolution and insisted on commencing litigation immediately. To that end,
 on November 7, 2016, the Creditors’ Committee moved for derivative standing to pursue certain
 avoidance claims against the YieldCos (the “YieldCo Standing Motion”) [Docket No. 1557].
 The Creditors’ Committee attached a proposed complaint to the YieldCo Standing Motion
 alleging four causes of action: (i) to avoid as fraudulent transfers, under Bankruptcy Code
 sections 548(a)(1)(A) and 548(a)(1)(B), projects contributed by the Debtors to TERP in
 connection with its initial public offering and certain other payments and services provided to
 TERP by the Debtors; (ii) same as the first cause of action but with respect to GLBL; (iii) to
 avoid as preferences within one year of the Petition Date, under Bankruptcy Code section
 547(b)(1), certain projects transferred, and payments made, by the Debtors to TERP; and (iv)
 same as the third cause of action but with respect to GLBL. The Creditors’ Committee also
 requested settlement authority over the claims against the YieldCos.



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         On November 29, 2016, the Debtors filed an objection to the Creditors’ Committee’s
 YieldCo Standing Motion (the “YieldCo Standing Objection”) [Docket No. 1687],55 arguing,
 inter alia, that litigation against the YieldCos at that stage of the Chapter 11 Cases would be
 premature, value destructive, and costly, and that it was in the best interests of the Debtors and
 all creditor constituents for the Debtors to continue with a negotiated value-maximizing path
 with the YieldCos. After an evidentiary hearing on the YieldCo Standing Motion and Objections
 on December 22, 2016, the YieldCo Standing Motion was adjourned to a date yet to be
 determined. Thereafter, at the Bankruptcy Court’s suggestion, the Debtors, the Creditors’
 Committee, the Tranche B Lenders/Steering Committee, and the YieldCos worked together to
 develop a protocol for the non-YieldCo parties to exchange certain privileged and confidential
 information related to the various claims and defenses asserted by and against the Debtors and
 the YieldCos, without waiving privilege or permitting the YieldCos to gain access to the shared
 information; the protocol was incorporated into a stipulation and order entered by the Court on
 January 24, 2017 [Docket No. 2314]. The parties have continued to adjourn further proceedings
 on the YieldCo Standing Motion.

         Under the YieldCo Sale Protocol, the Company and the YieldCos conducted a thorough,
 arm’s-length marketing process that was comprised of two rounds of bidding, which generated
 approximately 19 indications of interest and approximately 12 formal bids. On January 9, 2017,
 Brookfield submitted a bid comprised of four alternative proposals based on different transaction
 structures with respect to TERP and GLBL (and their respective subsidiaries and affiliates). On
 January 20, 2017, the YieldCos entered into exclusivity agreements with Brookfield (the
 “Exclusivity Agreements”), pursuant to which TERP and GLBL negotiated exclusively with
 Brookfield in connection with a whole company or sponsorship transaction until March 6, 2017
 (as extended for TERP), which resulted in the execution of the Jointly Supported Transaction
 Agreements.

        Also on January 20, 2017, the arm’s-length negotiations with the YieldCos culminated in
 the execution of a memorandum of understanding (the “MOU”) which, subject to definitive
 documentation, provided for the sharing with the Debtors of the consideration to be received by
 the TERP and GLBL shareholders in the M&A transactions and the release of claims between
 the Debtors and each of the YieldCos. In accordance with the MOU, on March 6, 2017, the
 Debtors and the YieldCos entered into two comprehensive YieldCo Settlement Agreements,
 which, among other things, provide for the Debtors to receive 36.9% and 25% (exclusive of
 SunEdison’s current Class A share ownership in GLBL), respectively, of the total consideration
 flowing to TERP and GLBL shareholders 56 under the two separate Jointly Supported
 Transaction Agreements pursuant to which Brookfield is to acquire 51% of TERP’s outstanding
 stock in a sponsorship merger transaction and 100% of GLBL’s outstanding stock in a whole
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      On the same day, the YieldCos also filed an objection to the YieldCo Standing Motion [Docket No. 1684], and
      the DIP Agent (on behalf of all of the DIP Lenders) filed a Statement of Joinder to the Debtors’ YieldCo
      Standing Objection (collectively with the YieldCo Standing Objection, the “YieldCo Standing Objections”)
      [Docket No. 1690]. Subsequently, on December 22, 2016, the Debtors filed a Supplemental Declaration of
      John S. Dubel in Support of the Debtors’ YieldCo Standing Objection [Docket No. 1970].
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      As adjusted for shares excluded under the applicable merger agreement with Brookfield, including shares held
      by Brookfield.



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 company cash merger. The YieldCo Settlement Agreements also provide for, inter alia: (i) broad
 reciprocal releases among SUNE and certain of its subsidiaries, on the one hand, and the
 YieldCos and certain of their subsidiaries, on the other (subject to certain stipulated and
 preserved claims and defenses); (ii) the facilitation of the sale of the YieldCos to Brookfield
 pursuant to the Jointly Supported Transactions (and the ancillary agreements and obligations
 related thereto); (iii) the consensual rejection of YieldCo contracts without any rejection damage
 claims or other liabilities, as well as the termination of contracts between the YieldCos and non-
 Debtor SunEdison entities; and (iv) the facilitation of the transition process of establishing the
 YieldCos as stand-alone entities. These settlements are the subject of the motion before the
 Bankruptcy Court [Docket No. 2570] filed on March 10, 2017 and supplemented on March 24,
 2017 [Docket No. 2641] (together, the “YieldCo Settlement Motion”), and parties should review
 the YieldCo Settlement Motion for a more comprehensive explanation of the YieldCo Settlement
 Agreements. The Bankruptcy Court entered an order approving the YieldCo Settlement Motion
 on June 7, 2017 [Docket No. 3292].

         Further, while the Debtors are not party to the Jointly Supported Transaction Agreements,
 they are party to, and have obligations under, certain voting and support agreements (with
 Brookfield and the respective YieldCo) and an IDR transfer agreement (collectively, the “Voting
 and Support Agreements”) that facilitate and relate to the Jointly Supported Transaction
 Agreements. Specifically, the two Voting and Support Agreements obligate the Debtors to
 support the Brookfield merger transactions and vote all of their equity interests in the YieldCos
 in favor of such transactions, and the IDR transfer agreement will effectuate the transfer all of
 the Debtors’ IDRs in TERP LLC to Brookfield. The Voting and Support Agreements are the
 subject of the motion before the Bankruptcy Court, filed on March 14, 2017 [Docket No. 2580],
 and parties should review the motion for a more comprehensive explanation of the Voting and
 Support Agreements and the Debtors’ respective obligations thereunder. The Bankruptcy Court
 entered orders approving the Voting and Support Agreements on June 7, 2017 [Docket Nos.
 3293 and 3294].

         The YieldCo Settlement Motion also included a specific allocation of the transaction
 consideration received by SunEdison pursuant to the Jointly Supported Transactions attributable
 to potential avoidance actions claimed by the Debtors against the YieldCos (the “YieldCo
 Avoidance Allocation”). As set forth in the YieldCo Settlement Motion, the Debtors’ ongoing
 investigation of YieldCo-related claims and defenses included an exhaustive, in-depth, and
 objective analysis of the strengths and weaknesses of the Estates’ potential avoidance actions
 against the YieldCos. In particular, since the beginning of December 2016, Brown Rudnick LLP
 (“Brown Rudnick”), the Debtors’ special litigation counsel retained to lead the Debtors’
 investigation of the YieldCos’ alleged claims (and the Debtors’ defenses thereto), worked closely
 with the Debtors’ financial advisor, PricewaterhouseCoopers (“PwC”), to continue the
 investigation; ultimately these advisors also were tasked with advising the Debtors regarding the
 appropriate YieldCo Avoidance Allocation. This investigation has included: (i) a review of
 hundreds of thousands of pages of relevant documents concerning the TERP and GLBL IPOs
 and related agreements, and other financing, sponsorship, and M&A transactions between
 SunEdison and the YieldCos, internal e-mails, and other corporate and financial documents; (ii)
 in-depth, in-person (at SunEdison’s headquarters in Maryland Heights, Missouri) and telephonic
 interviews with current and former members of SunEdison’s senior management; (iii) analysis of
 the Creditors’ Committee’s YieldCo Standing Motion; and (iv) thorough research and analysis of

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 the factual and legal issues pertinent to potential claims, irrespective of whether such issues were
 included in the YieldCo Standing Motion.

         As part of this investigation and for purposes of determining the appropriate YieldCo
 Avoidance Allocation, the Debtors instructed Brown Rudnick and PwC to analyze and evaluate
 the Estates’ avoidance claims against the YieldCos, advise the Debtors regarding the value of
 such claims that could be recovered for the benefit of the Debtors’ Estates if prosecuted, and to
 solicit input from the creditor constituents and to freely share Brown Rudnick/PWC’s own
 findings and conclusions. Although their investigation was limited by time and circumstance,
 and was not akin to formal discovery in civil litigation, Brown Rudnick and PwC dedicated
 significant time and effort to this assignment, considering, among other things: (i) SunEdison’s
 likely insolvency at points in time when transfers were made to or for the benefit of the
 YieldCos; (ii) what value SunEdison received (directly or indirectly) in exchange for such
 transfers; (iii) whether the facts support any intentional fraudulent transfer claims; (iv) the impact
 to claim value if GLBL were to file for bankruptcy relief; (v) the incremental costs likely to be
 incurred by the Estates should litigation ensue; and (vi) potential counter-arguments, counter-
 narratives, and claim defenses that the YieldCos should be expected to advance. In connection
 with this process, Brown Rudnick and PwC were in regular communication (by telephone and e-
 mail) with the professionals and/or principals for the Tranche B Lenders/Steering Committee, the
 Creditors’ Committee, and the indenture trustee for SunEdison’s prepetition unsecured notes
 (also a member of the Creditors’ Committee), and held several in-person meetings with each of
 these constituencies.

         To enable a more open dialogue, the parties attempted to negotiate an information sharing
 protocol to address two main goals – that no interested party be put at an information deficit, and
 that no privileges against disclosure be waived in the effort to achieve informational parity. The
 parties did agree on a stipulation and order that was entered by the Bankruptcy Court protecting
 against any privilege waiver [Docket No. 2314], but they were not able to reach agreement on an
 information sharing protocol (i.e., when, what and with whom such information must be shared).
 Nevertheless, the Debtors voluntarily acted in accordance with the version of the protocol that
 they submitted to the Court.

         In early February 2017, to better inform their views, the Debtors requested and received
 separate written allocation analyses from advisors to the Creditors’ Committee and the Tranche
 B Lenders/Steering Committee, and had follow-up communications with these constituents
 regarding their respective views and analysis. The constituents’ views, as contained in their
 submissions, have informed the Debtors’ assumptions and conclusions contained in the Debtors’
 analysis with respect to the YieldCo Avoidance Allocation. The Debtors shared their detailed
 (more than 70 pages) analysis and proposed YieldCo Avoidance Allocation with the Creditors’
 Committee and the Tranche B Lenders/Steering Committee on March 15, 2017. Ultimately, as
 reflected in the supplement to the YieldCo Settlement Motion filed on March 24, 2017 [Docket
 No. 2641], the Debtors and their advisors determined that the appropriate YieldCo Avoidance
 Allocation is between $9.4 million and $22.9 million, with a mid-point of $16.1 million.

        On March 28, 2017, the Creditors’ Committee and the Convertible Senior Notes
 Indenture Trustee filed preliminary objections to the YieldCo Settlement Motion [Docket Nos.


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 2666 and 2667] (the “YieldCo Settlement Objections”), objecting to, among other issues, the
 Debtors’ proposed YieldCo Avoidance Allocation.

         The Bankruptcy Court-ordered mediation before Chief Judge Morris also included the
 issues raised by the Debtors’ YieldCo Settlement Motion and the YieldCo Avoidance Allocation.
 As a result of the mediation and as part of the Committee/BOKF Plan Settlement, the parties
 agreed that the YieldCo Avoidance Allocation would be $18 million, which amount would be
 transferred to the GUC/Litigation Trust to be distributed to Holders of Allowed General
 Unsecured Claims. The Committee/BOKF Plan Settlement resolves, among other things, the
 YieldCo Settlement Objections.

 K.     Analyzing Executory Contracts and Unexpired Leases

        The Bankruptcy Code authorizes a debtor, subject to the approval of the Bankruptcy
 Court, to assume, assume and assign, or reject executory contracts and unexpired leases.
 Accordingly, in conjunction with the Debtors’ ongoing asset rationalization efforts, the Debtors
 have engaged in a comprehensive evaluation of their Executory Contracts and Unexpired Leases.

         At the outset of the Chapter 11 Cases, the Debtors rejected a burdensome and
 unprofitable supply agreement with SMP Ltd. relating to the purchase of polysilicon products
 [Docket No. 256]. Soon thereafter, on May 13, 2016, the Bankruptcy Court approved
 streamlined procedures to reject or assume Executory Contracts and Unexpired Leases (the
 “Contract Assumption and Rejection Procedures Order”) [Docket No. 280]. Pursuant to the
 Contract Assumption and Rejection Procedures Order, the Debtors and their Professionals have
 analyzed and selected certain burdensome Executory Contracts and Unexpired Leases to be
 rejected pursuant to the streamlined procedures, as set forth in the eighteen omnibus notices of
 rejection that the Debtors have filed with the Bankruptcy Court. In total, over the course of the
 Chapter 11 Cases, the Debtors have rejected approximately 405 Executory Contracts and
 Unexpired Leases. Additionally, the Debtors have assumed 126 Executory Contracts and
 Unexpired Leases pursuant to the Contract Assumption and Rejection Procedures Order in
 connection to various asset dispositions approved by the Bankruptcy Court. Separately, the
 Debtors also sought and obtained the approval of the Bankruptcy Court of an extension (through
 and including November 17, 2016) from the Bankruptcy Court of the time within which the
 Debtors have to assume or reject Unexpired Leases of nonresidential real property pursuant to
 section 365(d)(4) of the Bankruptcy Code [Docket No. 969] (the “Section 365(d)(4) Extension
 Order”). The Section 365(d)(4) Extension Order also provided procedures by which the Debtors
 may extend the section 365(d)(4) deadline beyond November 17, 2016 upon, inter alia, written
 consent from the applicable landlord(s).

         During the course of the Chapter 11 Cases, the Debtors and their Professionals have
 evaluated the Debtors’ numerous Executory Contracts and Unexpired Leases in the context of
 their ongoing asset-sale and reorganization efforts. The Debtors continue to assess their options
 in connection with each of these Executory Contracts and Unexpired Leases, including the
 potential assumption, rejection, or amendment and assumption thereof – decisions that the
 Debtors will ultimately make prior to confirmation of the Plan as would be required by the
 Bankruptcy Code.


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 L.       Restructuring Paths

          1.       Business Plan Development

         The Debtors’ prepetition business included the development, construction, and
 managements of renewable energy projects around the world. This business model was highly
 capital intensive and relied on access to the capital markets to raise funds necessary to fund the
 project. Typically, development projects only become valuable as they near completion of
 development. In addition, development typically takes several years to complete and requires
 significant capital to advance a project. At the time of filing, the Debtors had relatively few
 projects that were near completion and could be easily monetized. Thus, to continue developing
 projects, the Debtors would have required many years of additional high-risk capital
 contributions. After the chapter 11 filing the Debtors were cutoff from the capital markets and
 no longer had the capital necessary to continue its development business. Indeed, in order to
 continuing developing projects on the same scale, the Company would have required several
 hundreds of millions of additional funds. Due to the long term nature of the development and
 construction of renewable energy projects, the extensive capital requirements to fund the
 projects, and the uncertainty of the Debtors ability to continue as a viable business, it was
 doubtful that any independent third party would have selected the Debtors to develop and build
 long term projects. Additionally, the Company would have required significant capital to cash
 collateralize performance and warranty bonds for new projects, to the extent the Company would
 have been able to enter in to a new development or construction project, which is highly
 doubtful.

         As noted above, at the time of filing, the Company had limited access to capital. The
 Original DIP Facility only provided enough liquidity to allow the Company to complete certain
 projects that could be monetized in the near term. Thus, other than the projects specifically
 identified for further development, continuing the development business wasn’t feasible under
 the Original DIP Facility. Moreover, the Debtors’ bankruptcy cases made continuation of its
 development business practically impossible because third parties necessary to the business
 would not continue to work with the Debtors: utilities and corporations would not provide a PPA
 to a bankrupt entity; vendors of modules and turbines who had not been paid would not continue
 to supply, and many of the skilled developers who have the necessary relationships with third
 parties (e.g., landowners, grid operators, utilities) left the Company.

         Throughout the course of the Chapter 11 Cases, the Debtors have engaged in numerous
 transactions to maximize the value of their renewable energy development projects, their
 business platforms, including the Solar Materials, C&I, and RSC business units, and their
 interests in the YieldCos.57 The Debtors explored the possibility of selling the whole company to

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      The Debtors have filed monthly operating reports (“MORs”) during the course of the Chapter 11 Cases. As
      noted in the second quarterly Status Report by John S. Dubel, Chief Executive Officer and Chief Restructuring
      Officer [Docket No.1979], the assets reflected in the MORs are historical book-values and are not intended to
      be indicative of the value that could be realized by SunEdison for its equity holders. Amounts reported in
      monthly operating reports as “investments in subsidiaries” represent the amount of funds that the Debtors
      previously invested in their subsidiaries and do not account for the losses of those monies or write-downs of
      such investments that will necessarily be incurred once these assets are monetized in a market transaction. The
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 a third party who would be able to continue the development business. As part of the Debtors’
 efforts to maximize value during these Chapter 11 Cases, Rothschild began marketing the
 Company’s assets in early May 2016. Rothschild contacted 427 potential buyers regarding the
 purchase of the Company’s assets, in part or in whole. Over 300 of these parties entered into
 non-disclosure agreements with the Debtors to further explore the potential purchase of certain
 of the Company’s assets. Rothschild conducted numerous calls and meetings, established a
 virtual data room and provided material amounts of due diligence to potential buyers in the
 process. As a result of these efforts, the Company received over 100 bids on assets. While some
 buyers provided indicative bids for a majority of the Company’s assets, not a single buyer bid
 offered an holistic solution to purchase the entirety of SUNE’s assets. Indeed, during this
 marketing process, only one party indicated an interest in purchasing the whole Company,
 submitting a non-binding offer that assumed a total transaction value of approximately $1 billion
 and only 10% of stock in Reorganized SUNE would remain available for distribution to Holders
 of Second Lien Claims and General Unsecured Claims, subject to dilution from a proposed
 management incentive program. This proposed transaction would have left Holders of Second
 Lien Claims materially impaired and it was unclear what value, if any, would have been
 allocated to the Unsecured Creditors other than potentially a de minimis amount of equity in the
 Reorganized Company. Holders of Interests in SUNE would not have received any recoveries if
 the proposed transaction was pursued. Moreover, at the time, the value of this proposed whole-
 company transaction was less than the aggregation of various other bids for the Company’s
 assets. Ultimately, the party that bid on the whole Company walked away.

         Given the need for continued capital to develop projects and the Debtors’ limited ability
 to obtain the same, the Debtors have developed a plan that disposes of their remaining
 development assets, collects on future earnouts, and repatriates cash from foreign jurisdictions.
 Continuation of the Debtors’ capital-intensive renewable project development business is not
 contemplated under the Plan based on the Debtors’ inability to access the capital markets.
 Consistent with the Financial Projections, the Plan provides that Reorganized SUNE will
 distribute such proceeds to pay down Reinstated Second Lien Debt or otherwise make equity
 distributions to holders of New SUNE Common Stock.

          2.       Plan Negotiations

         In December 2016, after spending several months in negotiations with the Creditors’
 Committee and the Tranche B Lenders/Steering Committee, the Debtors received a preliminary,
 non-binding plan term sheet from the advisors to the Tranche B Lenders/Steering Committee.
 As the YieldCo Settlements and the Jointly Supported Transactions form the foundational
 structure for a plan of reorganization, from January 2017 through the beginning of March 2017,
 the Debtors focused their efforts on negotiating and finalizing the terms of the YieldCo

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     Debtor has historically been carrying these numbers on its books to track its investments in subsidiaries as an
     accounting matter; but such record keeping is not a proxy for value upon such assets’ sale. Moreover, the use of
     “combined” reporting in compliance with the U.S. Trustee’s reporting requirements results in a calculation of
     book value that is higher than that derived from “consolidated” reporting because equity value of a subsidiary is
     not offset against the parent’s investment, resulting in double-counting.



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 Settlement Agreements and the Jointly Supported Transaction Agreements, and other
 documentation related thereto, before turning their focus to negotiating a plan of reorganization.

       In January 2017, the Debtors also received a plan proposal outline from the Creditors’
 Committee. The Creditors’ Committee’s proposed plan would have crammed up the Tranche B
 Roll-Up Loan Claims under section 6.27 of the Original DIP Credit Agreement with new debt.

         After considering the proposals from both the Tranche B Lenders/Steering Committee
 and the Creditors’ Committee, the Debtors determined, among other things, that the Creditors’
 Committee’s cram-up plan would not be (1) confirmable given the value available for
 distribution to creditors or (2) feasible given Reorganized SUNE’s future debt capacity. In
 particular, other than the value that the Holders of the Second Lien Claims have given up to
 unsecured creditors pursuant to the Committee DIP Settlement, there would have been no value
 available for distribution to general unsecured creditors after payment in full of Administrative
 Claims, including the Original DIP Facility Claims, and the Second Lien Claims. Moreover, the
 Debtors would have needed to raise capital in connection with any Creditors’ Committee-
 structured plan in order to pay the Original DIP Facility Claims in full in cash. The Supporting
 Second Lien Parties would not support or provide funding for a plan in which their Claims were
 crammed up, and the Creditors’ Committee had not presented any meaningful alternative plan
 funding.

        In addition, as the Debtors worked toward finalizing the YieldCo Settlements and
 negotiating a plan construct, it became clear that, given the timing of the consummation of the
 YieldCo transactions, it would not be feasible to emerge from bankruptcy by the end of April
 2017, at which point the Debtors’ Original DIP Facility would mature. Accordingly, the Debtors
 turned to the Original DIP Lenders to obtain a maturity extension or potential replacement
 debtor-in-possession financing.

        In light of the Debtors’ need to obtain replacement financing for its maturing Original
 DIP Facility and financing to pay the Original DIP Facility Claims, as well as their concerns
 about the feasibility and confirmability of the Creditors’ Committee’s initial proposal, the
 Debtors began negotiating a plan of reorganization based on the Tranche B Lenders/Steering
 Committee’s proposal. At the same time, the Debtors were successful in encouraging the
 Creditors’ Committee and the Tranche B Lenders/Steering Committee to re-engage in settlement
 conversations (which ultimately led to a successful multi-day mediation process with Chief
 Bankruptcy Judge Morris as described below). Following execution of the YieldCo Settlement
 Agreements and certain of the Jointly Supported Transaction Agreements on March 6, 2017,
 negotiations regarding the plan construct and the investment required to fund a plan progressed
 with the Tranche B Lenders/Steering Committee members. The Debtors engaged in extensive
 negotiations with the Tranche B Lenders/Steering Committee regarding the terms of a plan,
 including the terms of the settlement of the UCC Challenge Litigation and BOKF Objection.

         Ultimately, the Debtors and the Supporting Second Lien Parties reached an agreement in
 principle on a plan premised on the settlements contained in the Plan, including settlement of the
 UCC Challenge Litigation and BOKF Objection. As discussed above, as a result of the
 mediation, the Debtors, the Supporting Second Lien Parties, the Creditors’ Committee, and


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 BOKF, N.A. reached a global settlement with respect to the Mediation Issues, and the
 Committee/BOKF Plan Settlement is incorporated into the Plan.

       3.      Rights Offering, Direct Equity Commitment, and Equity Commitment
 Agreement

         After filing a plan in late March 2017, negotiations between the Debtors and the
 Supporting Second Lien Parties continued regarding the terms of the Plan and the investment
 that would adequately capitalize the Reorganized Debtors upon emergence. The plan supported
 by the Supporting Second Lien Parties contemplates that up to $285 million (subject to increase
 to $300 million) of new money would be raised pursuant to a rights offering and a commitment
 by the Rights Offering Backstop Purchasers to directly purchase New SUNE Common Stock and
 Continuing TERP Class A Shares. On April 27, 2017, the Debtors and the Supporting Second
 Lien Parties reached agreement in principal on the terms of (a) a $213.75 million (subject to
 increase to $225 million) rights offering (the “Rights Offering”) of (i) New SUNE Common
 Stock, (ii) Continuing TERP Class A Shares, and (iii) receipt of a portion of the Reinstated
 Second Lien Claims pursuant to the Reinstated Second Lien Modification Terms in the same
 proportion as they will hold New SUNE Common Stock; (b) the Supporting Second Lien
 Parties’ commitment to fully backstop the Rights Offering; and (c) the $71.25 million (subject to
 increase to $75 million) Direct Equity Commitment, pursuant to which the Rights Offering
 Backstop Purchasers will purchase additional shares of New SUNE Common Stock and
 Continuing TERP Class A Shares. The terms of the Rights Offering and Direct Equity
 Commitment were documented in a term sheet (the “Rights Offering Term Sheet”) attached to
 the commitment letter pursuant to which the Rights Offering Backstop Purchasers set forth the
 terms on which they would provide the $285 million equity commitment (the “Equity
 Commitment”). On April 27, 2017, the Debtors filed their motion with the Bankruptcy Court
 seeking approval of the Rights Offering Procedures and the Equity Commitment [Docket No.
 2857] (the “Backstop Approval Motion”).

          Following the filing of the Backstop Approval Motion, the Debtors continued to engage
 with the Backstop Purchasers to reach definitive terms of an equity commitment agreement. On
 May 19, 2017, the Debtors and the Rights Offering Backstop Purchasers entered into the Equity
 Commitment Agreement, which was filed with the Bankruptcy Court [Docket No. 3173].
 Pursuant to the terms of the Equity Commitment Agreement, the Supporting Second Lien Parties
 agreed to support a plan on the terms and subject to the conditions contained therein (an
 “Approved Plan”). The transactions contemplated by the Equity Commitment Agreement (on
 the terms set forth therein) represent a heavily-negotiated business deal through which the
 Debtors have secured a commitment from Holders of Second Lien Claims who (as set forth in
 the Amended Equity Commitment Agreement (defined below)) hold, directly or through their
 affiliates, approximately 80% in amount of the aggregate Second Lien Claims so that DIP
 Claims will be paid in full and the post-emergence business will be adequately capitalized to
 maximize value.

         AQR Capital Management, LLC and CNH Partners, LLC (the “Unsecured Objecting
 Parties”) filed an objection to the Backstop Approval Motion [Docket No. 3133], which was
 joined by certain holders of Second Lien Claims [Docket No. 3174] (collectively, the “Second
 Lien Objecting Parties,” and together with the Unsecured Objecting Parties, the “Objecting

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 Parties”).58 On the morning of the hearing on the Backstop Approval Motion on May 19, 2017
 (the “Backstop Approval Hearing”), the Objecting Parties provided the Debtors with a proposal
 to provide an alternative equity commitment (the “Objecting Party Proposal”). The Objecting
 Party Proposal was contingent on a due diligence period of five (5) business days (the “Diligence
 Period”) after entry by the Objecting Parties into non-disclosure agreements, within two (2)
 business days of the date of the proposal.

        For the reasons stated on the record and in sworn testimony at the Backstop Approval
 Hearing, the Debtors, having received this proposal, which was subject to contingencies,
 determined it was in the best interests of the Estates to proceed with the Backstop Approval
 Hearing because, among other reasons, the Equity Commitment Agreement is a binding
 commitment.     After extensive testimony, the Bankruptcy Court approved the Equity
 Commitment Agreement and the Rights Offering Procedures on the record at the Backstop
 Approval Hearing on May 19, 2017

         Following the Backstop Approval Hearing, the Second Lien Objecting Parties retained a
 financial advisor that became party to a non-disclosure agreement with the Company and
 commenced diligence for the Second Lien Objecting Parties on May 24, 2017. Prior to the
 hearing on the settlement of the order approving the Backstop Approval Motion on June 1, 2017
 (the “Backstop Order Settlement Hearing”), the Second Lien Objecting Parties reached a
 resolution with the Backstop Purchasers and withdrew their objection to the Debtors’ proposed
 form of order approving the Backstop Approval Motion in the entirety. On June 8, 2017, the
 Objecting Second Lien Parties became parties (along with the initial Backstop Purchasers) to the
 Equity Commitment Agreement, as amended (the “Amended Equity Commitment Agreement”),
 a copy of which was filed with the Bankruptcy Court [Docket No. 3304].

        At the Backstop Order Settlement Hearing, counsel to the Unsecured Objecting Parties
 took the position that under the terms of the Objecting Party Proposal, the diligence condition
 was automatically satisfied at the conclusion of the Diligence Period unless the Objecting Parties
 affirmatively exercised their right to exercise the diligence out by notice to the Debtors. Counsel
 to the Unsecured Objecting Parties stated on the record at the Backstop Order Settlement
 Hearing that the Diligence Period expired on May 31, 2017 and therefore, the Objecting Party
 Proposal had become a firm offer. [June 1, 2017 Hr’g Tr. 14:5-13.]

         Subsequent to the Backstop Order Settlement Hearing, to avoid any potential confusion,
 the Debtors were informed by the Second Lien Objecting Parties in an email dated June 6, 2017
 at 9:57 a.m. (Eastern Time) that, based on the Debtors never having accepted the Objecting Party
 Proposal, the Second Lien Objecting Parties view the proposal as being and having been
 terminated.

        An order approving the Backstop Approval Motion was entered on June 6, 2017 [Docket
 No. 3283].


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      The objection and the joinder were both filed after the objection deadline for the Backstop Approval Motion
      had passed.



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      4.     AQR and CNH Assertions Regarding Rights Offering, Direct Equity
 Commitment, and Equity Commitment Agreement

        AQR Capital Management, LLC (“AQR”) and CNH Partners, LLC (“CNH”) objected to
 the Disclosure Statement at Docket No. 3278 and provided the following statement concerning
 the Rights Offering, Direct Equity Commitment and Equity Commitment Agreement (the
 “AQR/CNH Statement”).

        AQR and CNH (the “Unsecured Objecting Parties”) filed an objection to the Backstop
 Approval Motion [Docket No. 3133], which was joined by certain holders of Second Lien
 Claims [Docket No. 3174] (collectively, the “Second Lien Objecting Parties,” together with the
 Unsecured Objecting Parties, the “Objecting Parties”). On the morning of the hearing on the
 Backstop Approval Motion on May 19, 2017 (the “Backstop Approval Hearing”), the Objecting
 Parties provided the Debtors with a proposal to provide an alternative equity backstop
 commitment (the “Objecting Party Proposal”).

         The Objecting Party Proposal, which AQR and CNH assert followed as closely as
 possible the terms of the Debtors’ proposed transaction with the Rights Offering Backstop
 Purchasers, contained a backstop commitment fee of 5%, rather than 7% under the Rights
 Offering Backstop Commitment and did not charge the backstop commitment fee on the Direct
 Equity Commitment, which was reduced from a maximum of $75 million to a maximum of $30
 million. These changes reduced the total amount of the backstop commitment fee from $21
 million under the Rights Offering Backstop Commitment to $13.5 million under the Objecting
 Party Proposal, which AQR and CNH assert would save the Debtors $7.5 million, and also made
 up to an additional $45 million of discounted SUNE Common Stock and Continuing TERP Class
 A Shares available to Eligible Holders of Second Lien Claims who were not Rights Offering
 Backstop Purchasers. In addition, the Objecting Party Proposal contained a maximum breakup
 fee of $300,000, rather than a maximum breakup fee of $9 million under the Rights Offering
 Backstop Commitment.

        While the Unsecured Objecting Parties’ view the Objecting Party Proposal as a better
 economic proposal and therefore in the best interest of the estates and all creditors, the Debtors
 proceeded with the hearing on approval of the Backstop Approval Motion and the Equity
 Commitment Agreement and did not accept the Objecting Party Proposal.

         The Bankruptcy Court approved the Equity Commitment Agreement and the Rights
 Offering Procedures on the record at the Backstop Approval Hearing on May 19, 2017. The
 Bankruptcy Court stated on the record at the Backstop Approval Hearing that it was not deciding
 issues involving vote buying [May 19, 2017 Hr’g Tr. (the “5/19/17 Tr.”) 211: 4-15] or improper
 solicitation [5/19/17 Tr. 211: 23-212: 4.], which would be reserved until confirmation. An order
 approving the Backstop Approval Motion was entered on June 6, 2017.

        The Objecting Party Proposal was contingent on a due diligence period of five (5)
 business days (the “Diligence Period”) after entry by the Objecting Parties into Non-Disclosure
 Agreements, within two (2) business days of the date of the proposal. AQR and CNH asserts
 that pursuant to the terms of the Objecting Party Proposal, the diligence condition was
 automatically satisfied at the conclusion of the Diligence Period unless the Objecting Parties

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 affirmatively exercised their right to exercise the diligence out by notice to the Debtors.59
 Following the Backstop Approval Hearing, the Second Lien Objecting Parties retained a
 financial advisor that became party to a non-disclosure agreement with the Company and
 commenced diligence for the Second Lien Objecting Parties on May 24, 2017. Accordingly, the
 Diligence Period expired on May 31, 2017.

        At the hearing on June 1, 2017 (the “Backstop Order Settlement Hearing”), on the
 settlement of a proposed order approving the Backstop Approval Motion, counsel to the
 Unsecured Objecting Parties confirmed on the record that the Diligence Period expired on May
 31, 2017 and, therefore, the Objecting Party Proposal had become a firm offer. [June 1, 2017
 Hr’g Tr. 14:5-13.]

          5.       Debtors’ Response to AQR/CNH

         The Debtors disagree with many of the assertions made in the foregoing AQR/CNH
 Statement. The Debtors disagree that the Objecting Party Proposal is superior for, among other
 reasons, the Second Lien Objecting Parties have informed the Debtors that they view the
 proposal as terminated. Thus, the parties that would have provided over two-thirds of the
 potential funding upon which the Objecting Party Proposal is based are no longer in support of
 such proposal. Additionally, the Objecting Parties have never made a proposal incorporating the
 more fulsome terms of the Equity Commitment Agreement, which is the operative document
 governing the Backstop Parties’ commitments to the Debtors. To date, the Unsecured Objecting
 Parties have not proposed a binding superior alternative to the Debtors.

          6.       Committee/BOKF Plan Settlement

         As described above, at the request of the parties, on March 18, 2017, the Bankruptcy
 Court entered an order assigning the Mediation Issues, which included the UCC Challenge
 Litigation, the BOKF Objection, the YieldCo Settlement Motion, and the YieldCo Avoidance
 Allocation, and issues related to the Plan to mediation by Chief Judge Morris. As a result of the
 mediation, the Debtors, the Tranche B Lenders/Steering Committee, the Creditors’ Committee,


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      Within two (2) business days hereof, the Company and each of the Backstop Purchasers shall enter into non-
      disclosure agreements, which shall be in form and substance reasonably acceptable to the Backstop Purchasers
      and the Company (the “NDAs”). Following execution of the NDAs, the Backstop Purchasers shall have access
      to Company information and personnel reasonably necessary to confirm the financial analysis underlying the
      terms of the Plan, the Rights Offering and the related transactions for a period of 5 business days (the
      “Diligence Period”). Notwithstanding anything else set forth in the Commitment Letter or this Term Sheet, the
      obligation of each Backstop party under Backstop Commitment is, in all respects, conditioned on written
      confirmation by the Requisite Purchasers during the Diligence Period of such financial analysis (the “Diligence
      Condition”). In the event the Requisite Purchasers shall advise the Debtors prior to the close of the Diligence
      Period that the Diligence Condition has not been satisfied, the Commitment Letter and the Equity Commitment
      Agreement shall terminate.

 Objecting Party Proposal, Term Sheet for Proposed Rights Offering at 5.



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 and BOKF, N.A. reached a global settlement with respect to the Mediation Issues, as
 documented in the Committee/BOKF Plan Settlement Term Sheet.

         A copy of the Committee/BOKF Plan Settlement Term Sheet is attached as Exhibit 6.1 to
 the Plan and should be reviewed carefully. Certain of the provisions contained therein are
 described in Section B of the Executive Summary. However, to the extent of any inconsistency
 between this Disclosure Statement, the Plan, and the Committee/BOKF Plan Settlement Term
 Sheet, the Committee/ BOKF Plan Settlement Term Sheet shall prevail.

        The Debtors hereby seek the Bankruptcy Court’s approval of the Committee/BOKF Plan
 Settlement as part of Confirmation of the Plan.

 M.       Employee Incentive and Retention Programs

         Prior to the Petition Date, the Debtors have historically employed broad-based annual
 incentive compensation program for their salaried employees. In order to reward and incentivize
 employees to maximize the value of Debtors’ Estates during the pendency of these Chapter 11
 Cases, the Debtors filed three motions seeking approval of various employee compensation
 programs: (1) on July 7, 2016 Debtors filed a motion (Docket No. 729) seeking approval of a key
 employee retention plan (the “KERP”), the Utility Project Incentive Plan, and the Solar Materials
 Incentive Plan; (2) on July 29, 2016, the Debtors filed a motion (Docket No. 883) seeking
 approval of the C&I Deal Incentive Plan; and (3) on August 23, 2016, the Debtors filed a motion
 (Docket No. 1046) seeking approval of the key employee incentive plan (the “KEIP”) and the
 RSC Deal Incentive Plan (together with the KERP, Utility Project Incentive Plan, Solar
 Materials Incentive Plan, C&I Deal Incentive Plan, and KEIP, the “Compensation Programs”).
 After negotiations with their constituencies in these Chapter 11 Cases, the Debtors proposed
 modifications to certain of the Compensation Programs, which the Court approved by orders
 dated July 29, 2016 (Docket No. 871), August 2, 2016 (Docket No. 903), August 19, 2016
 (Docket No. 1034), and September 16, 2015 (Docket No. 1205). The Plan provides that the
 Reorganized Debtors shall have the discretion, with the reasonable consent of the Supporting
 Second Lien Parties, to amend, adopt, assume, and/or honor, in the ordinary course of business
 or as otherwise provided in the Plan, the Employee Compensation Plans. Each of the
 Compensation Programs is described in additional detail below.

          1.       Non-Insider Key Employee Retention Plan

         The terms of the KERP, as approved, apply to a select group of approximately 126 non-
 insider employees60 ranging from the “Individual Contributor” to “Vice President” level of the
 enterprise. The KERP costs approximately $7 million with an additional discretionary pool of
 $600,000. The discretionary pool provides flexibility to add new participants to the KERP and
 to adjust awards to employees to reflect changes in job responsibility and employment terms.
 The Debtors agreed, however, that the total number of participants shall not exceed 150 and that

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      Approximately ninety-one (91) of these employees are employees of the Debtors that account for approximately
      79% of the aggregate cost and approximately thirty-five (35) are employees of non-debtor affiliates that account
      for approximately 21% of the aggregate cost.



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 no employee will receive an award greater than $262,500 under the KERP. The Debtors also
 agreed to provide monthly reports to certain notice parties in any month where KERP awards are
 reallocated or the discretionary pool is used. Additionally, Debtors agreed to notify the notice
 parties if Debtors used more than $300,000 of the discretionary pool and the notice parties can
 object to the Debtors’ use of the discretionary pool beyond $300,000. Approximately 33% of the
 KERP award was paid out 60 days after filing the motion, an additional 33% of the award will
 paid out at the Debtors’ emergence from chapter 11, and the remaining 34% will be paid 60 days
 after emergence from chapter 11.

        2.      Utility Project Incentive Plan

         The Utility Project Incentive Plan is a refinement of the Debtors’ prepetition sales-based
 incentive program, which rewarded employees for the successful development of a utility scale
 project. The plan, as approved, covered approximately fifty (50) employees working on the
 Company’s North American Utility projects development teams. The underlying asset sale
 proceeds fund an aggregate incentive pool, which is allocated across deal team members on the
 basis of their proportional contribution to the deal. The pool is derived from 2.45% of the
 applicable net cash sale proceeds plus the value of any returned letters of credit (subject to a per
 Project incentive pool cap of $1 million per Project).

        3.      The Solar Materials Incentive Plan

         The Solar Materials Incentive Plan is a deal-based incentive implemented in connection
 with the sale of the Debtors’ solar materials business unit. The plan, as approved, covered
 approximately 20 employees. Plan payments are derived from and funded by net sale proceeds of
 the entire solar materials business unit. The percentage of net proceeds is determined by a
 sliding scale that increases incrementally with a corresponding increase in the purchase price of
 the solar materials business unit. Award payouts are made to participants on the payroll period
 following the receipt of sale proceeds.

        4.      The C&I Deal Incentive Plan

         The C&I Deal Incentive Plan, as approved, covered approximately forty-four (44)
 employees who play important roles driving sales transactions for the Company’s North
 American large commercial and industrial segment (commonly referred to as C&I). Awards for
 plan participants are paid out from an incentive pool created from approximately 1.16% of gross
 sale proceeds, according to each individual’s value to the sale of each portfolio of projects.
 Awards are calculated as a percentage of base salary depending on the employee’s role in the
 given transaction, but no individual award exceeds $300,000.

        5.      The RSC Deal Incentive Plan

         The RSC Deal Incentive Plan, as approved, covered approximately 13 non-insider
 employees in the Company’s residential and small commercial (or “RSC,” as defined herein)
 business unit identified as playing a critical role in the sale and divestiture of the RSC business
 unit. Awards for plan participants will be paid out and entirely funded from an aggregate
 incentive pool derived from 3% of the net proceeds from the sale in accordance with their


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 criticality and contributions to the sale. No awards are paid out if net proceeds from the sale are
 below $1 million, and no single participant award exceeds $150,000.

        6.      Key Employee Incentive Plan

         The terms of the KEIP, as approved, award the Debtors’ nine senior executives based on
 individualized sale-metrics in connection with the Company’s various sale processes during the
 pendency of these Chapter 11 Cases. Each KEIP participant’s proposed award is tied to certain
 specified sale(s) proceeds depending on the role the executive played in the pertinent sale(s),
 which include the: (i) sale of the Company’s Solar Materials Business Unit; (ii) North American
 Utility Project sales; (iii) sale of certain C&I assets; (iv) sale of the RSC Business Unit; (v) sale
 of certain Company assets in Latin America; and (vi) sale of certain projects and development
 pipelines in India. Additionally, the KEIP has an achievement metric tied to the Company’s
 equity ownership stake in the YieldCos, measured either by the value of sale proceeds generated
 or the value of the Debtors’ interests in the YieldCos under a plan of reorganization. The KEIP
 has a threshold, target, and goal metric for each of the sales. The achievement levels increase in
 difficulty with corresponding increases in the proposed award payout. After negotiations with
 their constituents, the Debtors increased the target and goal achievement levels for each of the
 KEIP metrics, except for the C&I sale metric, by 10% (without increasing the corresponding
 award payouts tied to those achievement levels).

 N.     Analysis and Resolution of Claims

         Following below is a discussion of Claims filed in the Chapter 11 Cases and certain
 motions and orders regarding such Claims. In addition, the Debtors’ Schedules provide
 information pertaining to the Claims. On May 17, 2016, the Debtors filed a motion to extend the
 deadline to file their Schedules and Statements of Financial Affairs (Docket No. 306), which was
 approved by an order entered by the Bankruptcy Court Order on June 8, 2016 (Docket No. 510)
 extending the date to file the Debtors’ Schedules and Statements of Financial Affairs to July 20,
 2016. On or around July 20, 2016, the Debtors filed their Schedules and Statements of Financial
 Affairs with the Bankruptcy Court (Docket Nos. 819, 821). Interested parties may review the
 Schedules at the office of the Clerk of the United States Bankruptcy Court for the Southern
 District of New York, One Bowling Green, New York, NY 10004-1408, or online at
 https://cases.primeclerk.com/sunedison.

        1.      Claims Bar Dates

         On August 10, 2016, the Bankruptcy Court entered an order (Docket No. 948) requiring
 all persons or entities who wished to assert claims against the Debtors’ Estates to file a proof of
 Claim (“Proof of Claim”) against the Debtors that filed chapter 11 petitions prior to or on July
 20, 2016 by no later than September 23, 2016 at 5:00 p.m. (Eastern time) (the “General Bar
 Date”). The General Bar Date applied to any person, other than governmental units, holding a
 claim against the Debtors allegedly owing as of the Petition Date, including claims under
 Bankruptcy Code section 503(b)(9), or any person with an alleged claim or expense claimed to
 have allegedly arisen prior to the Petition Date of the Debtor or Debtors to which such claim
 pertains. Any governmental unit seeking to file a claim against the Debtors that filed chapter 11
 petitions prior to or on July 20, 2016 was required to do so by no later than October 18, 2016 at

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 5:00 p.m. (Eastern Time). Additionally, any entity asserting claims arising from or relating to
 the rejection of Executory Contracts or Unexpired Leases, in accordance with section 365 of the
 Bankruptcy Code was required to file a Proof of Claim by the later of (a) the General Bar Date
 and (b) the Rejection Bar Date.

         As of the General Bar Date, the Debtors’ Claims and Solicitation Agent, Prime Clerk,
 LLC, had received approximately 5,761 Proofs of Claim (as defined below) totaling
 approximately $46.5 billion. With respect to Debtors that filed chapter 11 petitions after July 20,
 2016 and prior to March 2, 2017, the Court established May 4, 2017 as the deadline (the “Second
 General Bar Date”) for submitting proofs of claim for these Debtors [Docket No. 2627]. As of
 the Second Bar Date, the Debtors’ Claims and Solicitation Agent, Prime Clerk, has received 63
 Proofs of Claim totaling approximately $3.0 billion for Debtors who filed chapter 11 petitions
 after July 20, 2016. With respect to the Debtors that filed chapter 11 petitions after March 2,
 2017, the Bankruptcy Court established June 23, 2017 as the deadline (the “Third General Bar
 Date”) for submitting proofs of claim [Docket No. 3140]. With respect to the Debtors that filed
 chapter 11 petitions after March 2, 2017, as of the date hereof, the Debtors’ Claims and
 Solicitation Agent, Prime Clerk, has received 13 Proofs of Claim totaling $73.2 million.

         As of the date hereof, the Debtors have received more than approximately 6,215 Proofs
 of Claim totaling approximately $49.28 billion.61 The Debtors have not objected to any Claims
 as of the date hereof, but believe that many of the filed Proofs of Claim are invalid, untimely,
 duplicative, or overstated, and, therefore, has assumed for purposes of estimating recoveries that
 such Claims shall be expunged from, or reduced in amount in, the official register of Claims and
 Interests maintained by the Debtors’ Claims and Solicitation Agent (the “Claims Register”).

          2.       Avoidance Actions

         All Causes of Action of the Debtors’ Estates as of the Effective Date, including all Estate
 Avoidance Actions (other than Avoidance Actions against the YieldCos and Avoidance Actions
 against the Prepetition First Lien Secured Parties and the Second Lien Creditors), to the extent
 such Causes of Action are not released, or settled with the consent of the Creditors’ Committee,
 pursuant to Article 11.5 of the Plan or released or settled pursuant to an Order of the Bankruptcy
 Court or the Committee/BOKF Plan Settlement Term Sheet will be transferred to the
 GUC/Litigation Trust. The Debtors’ preliminary analysis of recoveries from avoidance actions
 is ongoing. Based on this preliminary analysis, which is subject to material change, Avoidance
 Action Proceeds, which do not include the YieldCo Avoidance Allocation, may be between $50
 to $100 million. Pursuant to the Committee/BOKF Plan Settlement, the GUC/Litigation Trust
 Causes of Action will be transferred to the GUC/Litigation Trust for the benefit of the Holders of
 General Unsecured Claims. With respect to Net Avoidance Actions Proceeds: (x) the initial
 $63.0 million of Net Avoidance Action Proceeds recovered shall be distributed on a Pro Rata
 basis to Holders of Allowed General Unsecured Claims, and (y) any Additional Net Avoidance
 Action Proceeds shall be distributed (i) fifty-two percent (52%) on a Pro Rata basis to Holders of
 Allowed General Unsecured Claims and (ii) forty-eight percent (48%) to Holders of Allowed
 Second Lien Claims or their representatives on a Pro Rata basis.
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      These numbers include approximately 1,618 Proofs of Claim filed by non-Debtor affiliates.



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 O.     Exclusivity

         Section 1121(b) of the Bankruptcy Code establishes an initial period of 120 days after the
 Bankruptcy Court enters an order for relief under chapter 11 of the Bankruptcy Code during
 which only the debtor may file a plan of reorganization (the “Exclusive Filing Period”). On July
 21, 2016, the Debtors filed the Debtors’ Motion for an Order Pursuant to Bankruptcy Code
 Section 1121(d) Extending the Debtors’ Exclusive Periods to File a Plan of Reorganization and
 Solicit Acceptances Thereof [Docket No. 826] (the “First Exclusivity Motion”). On August 11,
 2016, the Bankruptcy Court extended the Exclusive Filing Period for each of the Debtors
 through and including November 17, 2016 and the exclusive period for the Debtors to solicit
 votes on a chapter 11 plan through and including January 16, 2017 [Docket No. 970].

         On October 27, 2016, the Debtors filed a motion seeking to further extend the Exclusive
 Filing Period for each of the Debtors through and including February 15, 2017, and the exclusive
 period for the Debtors to solicit votes on a chapter 11 plan through and including April 17, 2017
 [Docket No. 1492] (the “Second Exclusivity Motion”). On November 18, 2016, the Bankruptcy
 Court further extended the Exclusive Filing Period for each of the Debtors through and including
 January 26, 2017 and the exclusive period for the Debtors to solicit votes on a chapter 11 plan
 through and including March 27, 2017 [Docket No. 1629].

         On January 6, 2017, the Debtors filed a motion seeking to further extend the Exclusive
 Filing Period for each of the Debtors through and including February 27, 2017, and the exclusive
 period for the Debtors to solicit votes on a chapter 11 plan through and including April 28, 2017
 [Docket No. 2152] (the “Third Exclusivity Motion”). On January 23, 2017, the Bankruptcy
 Court further extended the Exclusive Filing Period for each of the Debtors through and including
 February 26, 2017 and the exclusive period for the Debtors to solicit votes on a chapter 11 plan
 through and including April 28, 2017 [Docket No. 2307].

         On February 14, 2017, the Debtors filed a motion to seeking to further extend the
 Exclusive Filing Period for each of the Debtors through and including March 29, 2017, and the
 exclusive period to solicit votes on a chapter 11 plan through and including May 29, 2017
 [Docket No. 2455] (the “Fourth Exclusivity Motion”), which was heard at the March 7, 2017
 hearing (the “Fourth Exclusivity Hearing”). The Court originally granted the extension and
 further adjourned the exclusivity hearing to request further exclusivity extensions to April 13,
 2017. However, the Court requested that the proposed April 13, 2017 hearing be rescheduled to
 April 4, 2017. Accordingly, the plan filing exclusivity period was extended through and
 including April 4, 2017, and the period to solicit votes in connection with such plan was
 extended through and including May 29, 2017. On April 7, 2017, the Bankruptcy Court entered
 an order extending the exclusive period for the Debtors to solicit acceptances in respect of their
 chapter 11 plan through and including July 28, 2017 and ordered that no other party may file a
 competing plan of reorganization during the exclusive solicitation period.

        The Debtors reserve the right to seek further extensions of their exclusive right to file a
 plan and solicit votes thereon as necessary and appropriate.




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                                           ARTICLE VI.

                                        PLAN SUMMARY

 A.     Overview of Chapter 11

         Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code.
 Under chapter 11, a debtor can reorganize its business for the benefit of itself, its creditors, and
 interest Holders. Chapter 11 also strives to promote equality of treatment for similarly situated
 creditors and similarly situated interest Holders with respect to the distribution of a debtor’s
 assets.

         The commencement of a chapter 11 case creates an estate that is comprised of all of the
 legal and equitable interests of a debtor as of the filing date. The Bankruptcy Code provides that
 the debtor may continue to operate its business and remain in possession of its property as a
 “debtor in possession.”

         The consummation of a plan of reorganization is the principal objective of a chapter 11
 case. A plan of reorganization sets forth the means for satisfying claims and interests.
 Confirmation of a plan of reorganization makes the plan binding upon the debtor, any issuer of
 securities under the plan, any person or entity acquiring property under the plan, and any creditor
 of or equity Holder in the debtor, whether or not such creditor or equity Holder is impaired under
 or has accepted the plan, or receives or retains any property under the plan. Subject to certain
 limited exceptions, and except as otherwise provided in the plan or the confirmation order itself,
 a confirmation order discharges the debtor from any debt that arose prior to the date of
 confirmation of the plan and substitutes for those debts the obligations specified under the
 confirmed plan.

         A chapter 11 plan may specify that the legal, contractual, and equitable rights of the
 Holders of claims or interests in certain classes are to remain unaltered by the reorganization
 effectuated by the plan. Such classes are referred to as Unimpaired and, because of such
 favorable treatment, are presumed to accept the plan. Accordingly, a debtor need not solicit
 votes from the Holders of claims or equity interests in such Unimpaired classes. A chapter 11
 plan also may specify that certain classes will not receive any distribution of property or retain
 any claim against a debtor. Such classes are deemed to reject the plan and, therefore, need not be
 solicited to vote to accept or reject the plan. Any classes that are receiving a distribution of
 property under the plan but are not Unimpaired will be solicited to vote to accept or reject the
 plan.

         Section 1123 of the Bankruptcy Code provides that a plan of reorganization shall classify
 the claims of a debtor’s creditors and equity interest Holders. In compliance therewith, the Plan
 divides Claims and Interests into various Classes and sets forth the treatment for each Class. The
 Debtors believe that the Plan has classified all Claims and Interests in compliance with section
 1122 of the Bankruptcy Code, but it is possible that a Holder of a Claim or Interest may
 challenge the classification of Claims and Interests and that the Bankruptcy Court may find that a
 different classification is required for the Plan to be confirmed. In such event, the Debtors
 intend, to the extent permitted by the Bankruptcy Court and the Plan, to make such modifications

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 of the classifications under the Plan to permit Confirmation and to use the Plan acceptances
 received in this solicitation for the purpose of obtaining the approval of the reconstituted Class or
 Classes of which the accepting Holder is ultimately deemed to be a member. Any such
 reclassification could adversely affect the Class in which such Holder was initially a member, or
 any other Class under the Plan, by changing the composition of such Class and the vote required
 of that Class for approval of the Plan.

      THE REMAINDER OF THIS SECTION PROVIDES A SUMMARY OF THE
 STRUCTURE AND MEANS FOR IMPLEMENTATION OF THE DEBTORS’ PLAN AND
 THE CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS UNDER THE
 PLAN, AND IS QUALIFIED IN ITS ENTIRETY BY REFERENCE TO THE PLAN, THE
 PLAN SUPPLEMENT, AND THE EXHIBITS AND DEFINITIONS CONTAINED IN EACH
 DOCUMENT.

      THE STATEMENTS CONTAINED IN THE DISCLOSURE STATEMENT INCLUDE
 SUMMARIES OF THE PROVISIONS CONTAINED IN THE PLAN AND IN THE
 DOCUMENTS REFERRED TO IN THE PLAN. THE STATEMENTS CONTAINED IN THE
 DISCLOSURE STATEMENT DO NOT PURPORT TO BE PRECISE OR COMPLETE
 STATEMENTS OF ALL THE TERMS AND PROVISIONS OF THE PLAN OR
 DOCUMENTS REFERRED TO IN THE PLAN, AND REFERENCE IS MADE TO THE
 PLAN AND TO SUCH DOCUMENTS FOR THE FULL AND COMPLETE STATEMENT OF
 SUCH TERMS AND PROVISIONS OF THE PLAN OR DOCUMENTS REFERRED TO IN
 THE PLAN.

      THE PLAN ITSELF AND THE DOCUMENTS IN THE PLAN CONTROL THE
 ACTUAL TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN AND WILL,
 UPON THE OCCURRENCE OF THE EFFECTIVE DATE, BE BINDING UPON, AMONG
 OTHER ENTITIES, ALL HOLDERS OF CLAIMS AND INTERESTS, THE REORGANIZED
 DEBTORS, ALL ENTITIES RECEIVING PROPERTY UNDER THE PLAN, AND OTHER
 PARTIES IN INTEREST. IN THE EVENT OF ANY CONFLICT BETWEEN THE
 DISCLOSURE STATEMENT AND THE PLAN OR ANY OTHER OPERATIVE
 DOCUMENT, THE TERMS OF THE PLAN AND SUCH OTHER OPERATIVE DOCUMENT
 SHALL CONTROL.

 B.     Overall Structure of the Plan

          As described herein, the Debtors’ proposed First Amended Joint Plan of SunEdison, Inc.,
 et al., pursuant to Chapter 11 of the Bankruptcy Code (the “Plan”), a copy of which is attached
 hereto as Exhibit A, is the result of extensive discussions and settlements between and among the
 Debtors, the Tranche B Lenders/Steering Committee of Prepetition Second Lien Lenders and
 Noteholders, the Creditors’ Committee, and certain other creditor constituencies. The Debtors
 believe that the compromise contemplated under the Plan is fair and equitable and maximizes the
 value of the Debtors’ estates, and provides the best recovery to Holders of Claims.




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 C.       Administrative Expenses and Priority Claims

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims,
 Professional Claims, DIP Facility Claims, and Priority Tax Claims have not been classified and
 thus are excluded from the Classes of Claims set forth in Article III of the Plan.

          1.       Administrative Claims

          Except to the extent that the Debtors (or the Reorganized Debtors) and a Holder of an
 Allowed Administrative Claim agree to less favorable treatment, a Holder of an Allowed
 Administrative Claim (other than a Professional Claim, which shall be subject to Article 2.3 of
 the Plan) shall receive, in full satisfaction, settlement, release, and discharge of, and in exchange
 for, such Administrative Claim, Cash equal to the unpaid portion of such Allowed
 Administrative Claim either (a) on the Effective Date, (b) if the Allowed Administrative Claim is
 based on liabilities incurred by the Debtors in the ordinary course of their business after the
 Petition Date, in the ordinary course of business in accordance with the terms and conditions of
 the particular transaction giving rise to such Allowed Administrative Claims, without any further
 action by the Holders of such Allowed Administrative Claims, or (c) on such other date as
 agreed between the Debtors (or the Reorganized Debtors) and such Holder of an Allowed
 Administrative Claim62; provided, however, that other than Holders of (i) Original DIP Facility
 Claims, (ii) Replacement DIP Facility Claims; (iii) Professional Claims, (iv) Administrative
 Claims Allowed by an order of the Bankruptcy Court on or before the Effective Date, or (v)
 Administrative Claims that are not Disputed and arose in the ordinary course of business and was
 paid or are to be paid in accordance with the terms and conditions of the particular transaction
 giving rise to such Administrative Claim, the Holder of any Administrative Claim shall have
 filed a proof of Claim form no later than the Administrative Claims Bar Date and such Claim
 shall have become an Allowed Claim. Except as otherwise provided in the Plan and as set forth
 in Articles 2.2 or 2.3 of the Plan, all requests for payment of an Administrative Claim must be
 filed, in substantially the form of the Administrative Claim Request Form contained in Exhibit
 2.1 of the Plan, with the Claims Agent and served on counsel for the Debtors or the Reorganized
 Debtors (and, if filed after the Disclosure Statement Order is entered, counsel to the Supporting
 Second Lien Parties) by no later than the Administrative Claims Bar Date. After the Effective
 Date, the Reorganized Debtors, with the consent of the Supporting Second Lien Parties (such
 consent not to be unreasonably withheld or delayed) may settle an Administrative Claim without
 further Bankruptcy Court approval. In the event that the Reorganized Debtors object to an
 Administrative Claim and there is no settlement, the Bankruptcy Court shall determine the
 Allowed amount of such Administrative Claim. For the avoidance of doubt, the fees and
 expenses incurred by the Creditors’ Committee’s Professionals with regard to the investigation
 or prosecution of the UCC Challenge Litigation shall be paid in Cash in the amount set forth in
 the Committee/BOKF Plan Settlement Term Sheet. Subject to the other provisions of the
 Committee/BOKF Plan Settlement, the Creditors’ Committee’s Professionals reserve any and all
 rights to seek allowance and payment of any fees and expenses in connection with matters other


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      Subject to, in the TERP Cash Election Alternative, the issuance, if necessary, of the Reinstated Tranche B Roll-
      Up Loans.



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 than (a) fees and expenses subject to the Investigation/Prosecution Cap and (b) other than as
 already paid, fees and expenses related to GUC/Litigation Trust Causes of Action.

        2.      Original and Replacement DIP Facility Claims.

                 (a)    Replacement DIP Term Loan Claims. On the Effective Date, the
 Replacement DIP Term Loan Claims shall be Allowed in full, in the amount of $640 million
 (less any amounts paid prior to the Effective Date) plus all accrued and unpaid postpetition
 interest under the Replacement DIP Credit Agreement (and any unpaid fees, costs, and
 expenses). Except to the extent that a Holder of a Replacement DIP Term Loan Claim agrees to
 less favorable treatment, in full and final satisfaction, settlement, release, and discharge of and in
 exchange for each and every Replacement DIP Term Loan Claim, each Holder of an Allowed
 Replacement DIP Term Loan Claim shall be paid in full in Cash on the Effective Date, with such
 payments to be distributed to the Replacement DIP Agent for the ratable benefit of the Holders
 of Replacement DIP Term Loan Claims.

                 (b)     Original DIP Term Loan Claims. On the Effective Date, the Original DIP
 Term Loan Claims (including any unpaid interest, fees, costs, and expenses) shall be Allowed in
 full to the extent not previously repaid. As of May 2, 2017, the Debtors believe that there are no
 amounts outstanding under the Original DIP Facility with respect to the Original DIP Term
 Loans. In the event amounts are owed and not disputed by any party as of the Effective Date,
 except to the extent that a Holder of an Original DIP Term Loan Claim agrees to less favorable
 treatment, in full and final satisfaction, settlement, release, and discharge of and in exchange for
 each and every Original DIP Term Loan Claim, each Holder of an Allowed Original DIP Term
 Loan Claim shall be paid in full in Cash on the Effective Date, with such payments to be
 distributed to the Original DIP Agent for the ratable benefit of the Holders of Original DIP Term
 Loan Claims.

                 (c)    L/C Borrowing Claims. On the Effective Date, the L/C Borrowing Claims
 (including any unpaid interest, fees, costs, and expenses) shall be Allowed in full to the extent
 not previously repaid. As of May 2, 2017, the Debtors believe that there are no amounts
 outstanding under the Original DIP Facility with respect to the L/C Borrowings. In the event
 amounts are owed and not disputed by any party as of the Effective Date, except to the extent
 that a Holder of an L/C Borrowing Claim agrees to less favorable treatment, in full and final
 satisfaction, settlement, release, and discharge of and in exchange for each and every L/C
 Borrowing Claim, Holders of L/C Borrowing Claims shall be paid in full in Cash on the
 Effective Date, with such payments to be distributed to the Original DIP Agent for the ratable
 benefit of the Holders of L/C Borrowing Claims.

                 (d)     Tranche A-1 Roll-Up Loan Claims. On the Effective Date, the Tranche A-
 1 Roll-Up Loan Claims shall be Allowed in full to the extent not previously repaid. As of May
 2, 2017, the Debtors believe that there are no amounts outstanding under the Tranche A-1 Roll-
 Up Loans. In the event amounts are owed and not disputed by any party as of the Effective Date,
 except to the extent that a Holder of a Tranche A-1 Roll-Up Loan Claim agrees to less favorable
 treatment, in full and final satisfaction, settlement, release, and discharge of and in exchange for
 each and every Tranche A-1 Roll-Up Loan Claim, Holders of Tranche A-1 Roll-Up Loan Claims


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 shall be paid in full in Cash on the Effective Date, with such payments to be distributed to the
 Original DIP Agent for the ratable benefit of the Holders of Tranche A-1 Roll-Up Loan Claims.

                 (e)    Tranche A-2 Roll-Up Loan Claims. On the Effective Date, the Tranche A-
 2 Roll-Up Loan Claims shall be Allowed in full to the extent not previously repaid. As of May
 2, 2017, the Debtors believe that there are no amounts outstanding under the Tranche A-2 Roll-
 Up Loans. In the event amounts are owed and not disputed by any party as of the Effective
 Date, except to the extent that a Holder of a Tranche A-2 Roll-Up Loan Claim agrees to less
 favorable treatment, in full and final satisfaction, settlement, release, and discharge of and in
 exchange for each and every Tranche A-2 Roll-Up Loan Claim, Holders of Tranche A-2 Roll-Up
 Loan Claims shall be paid in full in Cash on the Effective Date, with such payments to be
 distributed to the Original DIP Agent for the ratable benefit of the Holders of Tranche A-2 Roll-
 Up Loan Claims.

                 (f)     Tranche B Roll-Up Loan Claims. On the Effective Date, the Tranche B
 Roll-Up Loan Claims shall be Allowed in full, in the amount of $317,549,980.22 plus accrued
 postpetition interest in an amount to be determined. Except to the extent that a Holder of a
 Tranche B Roll-Up Loan Claim agrees to less favorable treatment, in full and final satisfaction,
 settlement, release, and discharge of and in exchange for each and every Tranche B Roll-Up
 Loan Claim, Holders of Tranche B Roll-Up Loan Claims shall be paid in full in Cash on the
 Effective Date, with such payments to be distributed to the Replacement DIP Agent for the
 ratable benefit of the Holders of Tranche B Roll-Up Loan Claims. 63

                (g)    Upon the Effective Date, subject to (a) payment in full and in Cash of the
 Replacement DIP Facility Claims and the Original DIP Facility Claims, and (b) any
 indemnification and reimbursement claims that survive under the terms of the Replacement DIP
 Facility and the Original DIP Facility, all Liens and security interests granted to secure the
 Replacement DIP Facility or the Original DIP Facility shall be deemed discharged, cancelled,
 and released and shall be of no further force and effect. To the extent that the Replacement DIP
 Lenders, the Replacement DIP Agent, the Original DIP Lenders, or the Original DIP Agent have
 filed or recorded publicly any Liens and/or security interests to secure the Debtors’ obligations
 under the Replacement DIP Facility or the Original DIP Facility, the Replacement DIP Lenders,
 the Replacement DIP Agent, the Original DIP Lenders, or the Original DIP Agent, as the case
 may be, shall take any commercially reasonable steps requested by the Debtors that are
 necessary to cancel and/or extinguish such publicly-filed Liens and/or security interests.

              (h)   On the later of the Effective Date or such other date as permitted by the
 Replacement DIP Facility Order, in the event any Existing L/Cs are outstanding, the Debtors


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      To the extent that (a) the Debtors elect the TERP Cash Election Alternative and (b) the cash received from the
      Jointly Supported Transactions is insufficient to repay the Tranche B Roll-Up Lenders in full and in Cash, the
      Debtors will issue Reinstated Tranche B Roll-Up Loans in an amount and with terms necessary to render the
      Tranche B Roll-Up Loans Unimpaired, including, without limitation, priority (over the Reinstated Second Lien
      Claims) in lien and claim amount and interest, and with other terms that are identical to the current Tranche B
      Roll-Up Loans.



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 shall have caused all such Existing L/Cs to be cancelled without any further liability to any
 Applicable Issuer.

                 (i)   Nothing in the Plan shall impair or otherwise affect the L/C Cash
 Collateralization Agreements, the obligations of the Debtors (and from and after the Effective
 Date, the Reorganized Debtors) thereunder, the rights and remedies of the Applicable Issuers
 thereunder or under the Replacement DIP Facility Order (including, without limitation, under the
 Replacement Intercreditor Annex (as defined in the Replacement DIP Facility Order)) or the
 provisions in the Replacement DIP Facility Order relating to the “Prepetition Control
 Agreements” and the “Prepetition Blocked Accounts” (as each such term is defined in the
 Replacement DIP Facility Order), and the L/C Cash Collateralization Agreements and all such
 applicable provisions of the Replacement DIP Financing Order shall be binding upon the
 Reorganized Debtors and shall remain in full force and effect from and after the Effective Date
 in accordance with their terms.

        3.      Professional Claims.

                (a)     Final Fee Applications. All final requests for payment of Professional
 Claims and requests for reimbursement of expenses of members of the Creditors’ Committee
 must be filed no later than sixty (60) days after the Effective Date. After notice and a hearing in
 accordance with the procedures established by the Bankruptcy Code, the Bankruptcy Rules and
 prior orders of the Bankruptcy Court, the Allowed amounts of all Professional Claims and
 expenses shall be determined by the Bankruptcy Court.                  In accordance with the
 Investigation/Prosecution Cap, other than as may have already been paid, and subject to the
 interim fee order entered by the Bankruptcy Court on December 1, 2016 (Docket No. 1711), the
 Original DIP Facility Order, and the Replacement DIP Facility Order, the Professional Claims of
 the Creditors’ Committee’s Professionals with regard to the investigation or prosecution of the
 UCC Challenge Litigation shall be deemed to be satisfied upon receipt of a payment of $2.25
 million in Cash. All Final Fee Applications shall be made in accordance with and subject to, the
 terms of the Committee/BOKF Plan Settlement Term Sheet.

                (b)      Payment of Interim Amounts. Subject to the Holdback Escrow Amount,
 on the Effective Date, the Debtors or the Reorganized Debtors shall pay all amounts owing to
 Professionals for all outstanding amounts billed relating to prior periods through the Effective
 Date as to which no objection has been filed (and as to which there is no then-existing Court-
 mandated or Court-ordered prohibition on making payment or as to which such payment is not
 prohibited by the terms of the Committee/BOKF Plan Settlement Term Sheet). In order to
 receive payment on the Effective Date for such unbilled fees and expenses incurred through the
 Effective Date that have not yet been billed pursuant to the Professional Fee Order, no later than
 two (2) days prior to the Effective Date, the Professionals (who, in the case of the Creditors’
 Committee, shall only be permitted to take the actions set forth in Article 14.8 of the Plan after
 the Confirmation Date) shall estimate fees and expenses due for periods that have not been billed
 as of the Effective Date and shall deliver such estimate to counsel for the Debtors and the
 Supporting Second Lien Parties. Within fifteen (15) days after the Effective Date, a Professional
 receiving payment for the estimated period shall submit a detailed invoice covering such period,
 subject to any parties’ right to object as set forth in the Professional Fee Order.


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                 (c)     Holdback Escrow Account. On the Effective Date, and subject to the
 Investigation/Prosecution Cap as set forth in Article 6.1 of the Plan and the Committee/BOKF
 Plan Settlement Term Sheet, the Debtors or the Reorganized Debtors shall fund the Holdback
 Escrow Account with Cash equal to the aggregate Holdback Escrow Amount for all
 Professionals. The Distribution Agent shall maintain the Holdback Escrow Account in trust for
 the Professionals with respect to whom fees have been held back pursuant to the Professional
 Fee Order. Such funds shall not be considered property of the Debtors, the Reorganized Debtors,
 or the Estates. The remaining amount of Professional Claims owing to the Professionals shall be
 paid to such Professionals by the Distribution Agent from the Holdback Escrow Account when
 such claims are finally Allowed by the Bankruptcy Court. When all Professional Claims have
 been paid in full, amounts remaining in the Holdback Escrow Account, if any, shall be paid to
 Reorganized SUNE to be used by the Reorganized Debtors in accordance with the Plan, or
 distributed to holders of New SUNE Common Stock.

                (d)     Voluntary Professional Fee Reductions. Every Entity (collectively, the
 “Affected Professionals”) (a) retained in the Chapter 11 Cases by separate Final Order pursuant
 to sections 327, 363, and 1103 of the Bankruptcy Code or otherwise; (b) awarded compensation
 and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) or 506(b) of the
 Bankruptcy Code; or (c) awarded compensation and reimbursement pursuant to the Original DIP
 Facility Order or the Replacement DIP Facility Order, will be asked to voluntarily reduce the
 aggregate amount of its Professional Claims earned during the course of the Chapter 11 Cases in
 order to assist in the funding of the Plan and the Committee/BOKF Plan Settlement (the
 “Voluntary Professional Fee Reductions”). It is a condition to the effectiveness of the
 Committee/BOKF Plan Settlement that the Voluntary Professional Fee Reductions equal at least
 $5 million.

         In the event an Affected Professional does not agree to a Voluntary Professional Fee
 Reduction, such Affected Professional’s fees and expenses will be subject to review and
 objection by a fee examiner to be appointed in these cases (the “Fee Examiner”), whose fees and
 expenses will be deducted from the savings realized by the Fee Examiner. For the avoidance of
 doubt, the Fee Examiner may only receive compensation from any savings it realizes, and in no
 event will the Debtors, the Debtors’ estates, the Reorganized Debtors, the Second Lien Lenders
 or Second Lien Senior Noteholders, or any other party incur any fees, costs, or expenses relating
 to the Fee Examiner or its work. If, as a result of the Fee Examiner’s recommendation, any fees
 are disallowed or reduced by the Court, or fee reductions are agreed to by any Affected
 Professional per the Fee Examiner’s recommendation, then such amounts shall be transferred to
 the GUC/Litigation Trust for the Holders of General Unsecured Claims. The Fee Examiner will
 only be permitted to examine the fees of an Affected Professional who does not agree to a
 Voluntary Professional Fee Reduction.

         In the event the fees and expenses of an Affected Professional that has agreed to a
 Voluntary Professional Fee Reduction is subject to objection, any requested amounts that are
 Disallowed shall be deemed credited to the Voluntary Professional Fee Reduction Amount so
 that the Affected Professional will not receive a reduction of the amount payable to it unless the
 Disallowed amount exceeds the Voluntary Professional Fee Reduction agreed to by such
 Affected Professional.


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         The Voluntary Professional Fee Reduction Amount shall be funded into the
 GUC/Litigation Trust on the Effective Date (to the extent determined as of the Effective Date).
 The Distribution Agent shall distribute to the GUC/Litigation Trust for the Holders of General
 Unsecured Claims, the aggregate amount of the Voluntary Professional Fee Reductions. As of
 the date hereof, Affected Professionals have agreed to Voluntary Professional Fee Reductions in
 excess of $5 million.

                (e)    Post-Confirmation Date Retention. Upon the Confirmation Date, any
 requirement that Professionals comply with sections 327 through 331 of the Bankruptcy Code in
 seeking retention or compensation for services rendered after such date shall terminate, and the
 Reorganized Debtors shall employ and pay Professionals in the ordinary course of business
 (including the reasonable fees and expenses incurred by Professionals in preparing, reviewing
 and prosecuting or addressing any issues with respect to final fee applications). The Creditors’
 Committee’s Professionals may only be paid for services rendered after the Confirmation Date if
 such services are permitted pursuant to Article 14.8 of the Plan.

        4.      Priority Tax Claims

         On the Effective Date, except to the extent that the Debtors (or Reorganized Debtors) and
 a Holder of an Allowed Priority Tax Claim agree to a less favorable treatment, each Holder of an
 Allowed Priority Tax Claim due and payable on or before the Effective Date shall receive one of
 the following treatments on account of such Claim: (a) Cash in an amount equal to the amount of
 such Allowed Priority Tax Claim, (b) Cash in an amount agreed to by the Debtors (or the
 Reorganized Debtors) and such Holder, provided, however, that such parties may further agree
 for the payment of such Allowed Priority Tax Claim to occur at a later date, or (c) at the sole
 option of the Debtors (with the reasonable consent of the Supporting Second Lien Parties), Cash
 in the aggregate amount of such Allowed Priority Tax Claim plus, to the extent provided for by
 section 511 of the Bankruptcy Code, interest at a rate determined under applicable non-
 bankruptcy law, payable in installment payments over a period of not more than five (5) years
 after the Petition Date pursuant to section 1129(a)(9)(C) of the Bankruptcy Code. To the extent
 any Allowed Priority Tax Claim is not due and owing on the Effective Date, such Claim shall be
 paid in full in Cash in accordance with the terms of any agreement between the Debtors and the
 Holder of such Claim, or as may be due and payable under applicable non-bankruptcy law or in
 the ordinary course of business.

 D.     Classification, Treatment, and Voting of Claims and Interests

        1.      Classification of Claims and Interests

                (a)     Pursuant to sections 1122 and 1123 of the Bankruptcy Code, set forth
 below is a designation of classes of Claims and Interests. A Claim or Interest is placed in a
 particular Class for the purposes of voting on the Plan and, to the extent applicable, receiving
 distributions pursuant to the Plan only to the extent that such Claim or Interest is an Allowed
 Claim or an Allowed Interest in that Class and such Claim or Interest has not been paid, released,
 or otherwise settled prior to the Effective Date. In accordance with section 1123(a)(1) of the
 Bankruptcy Code, Administrative Claims and Priority Tax Claims of the kinds specified in


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 sections 507(a)(1) and 507(a)(8) of the Bankruptcy Code have not been classified and their
 treatment is set forth in Article II of the Plan.

                 (b)    For administrative convenience, the Plan organizes the Debtors into
 groups (each a “Debtor Group”) and assigns a letter to each Debtor Group and a number to each
 Class of Claims or Interests in each Debtor Group. Notwithstanding this organizing principle,
 the Plan is a separate plan of reorganization or liquidation for each Debtor. Claims and Interests
 belonging to a Debtor Group consisting of more than one Debtor shall be deemed to be classified
 in a single Class for all purposes under the Bankruptcy Code, including voting. To the extent a
 Holder has a Claim that may be asserted against more than one Debtor in a Debtor Group, the
 vote of such Holder in connection with such Claims shall be counted as a vote of such Claim
 against each Debtor in such Debtor Group. For consistency, similarly designated Classes of
 Claims and Interests are assigned the same number across each Debtor Group. The Plan
 provides for a single Class of Holders of General Unsecured Claims without regard to Debtor
 entities at which such Holders hold their Claims. For purposes of distributions to Holders of
 General Unsecured Claims, “Pro Rata” shall be determined where (x) the denominator is equal to
 all Allowed General Unsecured Claims against all Debtors and (y) the numerator is equal to the
 amount of a particular Holder’s Allowed General Unsecured Claim. For voting purposes, the
 Debtors shall tabulate ballots for Holders of General Unsecured Claims both on a Debtor-by-
 Debtor basis and on aggregate basis without regard to particular Debtor entities and reserve the
 right to seek Confirmation of the Plan under either tabulation through accepting Classes or
 cramdown. Claims and Interests are classified as follows:

 Letter               Debtor Group                           #              Designation
          Parent                                             1    Second Lien Claims
   A        SunEdison, Inc.                                  2    Other Secured Claims
          DIP and Second Lien Secured                        3    Other Priority Claims
          Guarantors                                         4    General Unsecured Claims
            Buckthorn Renewables Holdings, LLC
            Everstream HoldCo Fund I, LLC                    5    Intercompany Claims
            Greenmountain Wind Holdings, LLC                 6    Other Subordinated Claims
            Rattlesnake Flat Holdings, LLC
                                                             7    Interests in Debtor Subsidiaries
            Somerset Wind Holdings, LLC
            SunE Minnesota Holdings, LLC                     8    Interests in SUNE
            SunE MN Development, LLC
            SunE MN Development Holdings, LLC
   B
            SunE Waiawa Holdings, LLC
            Sunflower Renewables Holdings 1,
            LLC
            Enflex Corporation
            Fotowatio Renewable Ventures, Inc.
            MEMC Pasadena, Inc.
            NVT Licenses, LLC
            NVT, LLC
            Solaicx
            SunE ML 1, LLC

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             SunEdison Canada, LLC
             SunEdison Contracting, LLC
             SunEdison DG, LLC
             SunEdison Holdings Corporation
             SunEdison International, Inc.
             SunEdison International, LLC
             Sun Edison LLC
             SunEdison Utility Holdings, Inc.
             Team-Solar Inc.
             First Wind Holdings, LLC
             First Wind Energy, LLC
             Vaughn Wind, LLC
             Maine Wind Holdings, LLC
             SunEdison Products, LLC
             Hudson Energy Solar Corporation
             SunE REIT-D PR, LLC
             SunEdison International Construction,
             LLC
             EchoFirst Finance Co., LLC
           DIP-only Secured Guarantors
             Blue Sky West Capital, LLC
             DSP Renewables, LLC
             First Wind California Holdings, LLC
             First Wind Oakfield Portfolio, LLC
             First Wind Panhandle Holdings III,
   C         LLC
             First Wind Solar Portfolio, LLC
             Hancock Renewables Holdings, LLC
             PVT Solar, Inc.
             SunE Hawaii Solar Holdings, LLC
             SunE Wind Holdings, Inc.
             SunEdison Residential Services, LLC
           DIP-only Unsecured Guarantor
   D         Silver Ridge Power Holdings, LLC
             TerraForm Private Holdings LLC
           Not Obligated on DIP or Second Lien
           Claims
   E
             SunEdison Products Singapore Pte. Ltd
             SEV Merger Sub Inc.

          The classification of Claims and Interests (as applicable) under the Plan is as set forth
 below:

   Class                Claim or Interest                 Status                Voting Rights
  1A and
                Second Lien Claims                    Impaired              Entitled to Vote
    1B

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  2A-2E        Other Secured Claims                     Unimpaired              Presumed to Accept
  3A-3E        Other Priority Claims                    Unimpaired              Presumed to Accept
  4A-4E        General Unsecured Claims                 Impaired                Entitled to Vote
                                                        Impaired or             Deemed to Reject or
  5A-5E        Intercompany Claims
                                                        Unimpaired              Presumed to Accept
  6A-6E        Other Subordinated Claims                Impaired                Deemed to Reject
                                                        Impaired or             Deemed to Reject or
  7B-7E        Interests in Debtor Subsidiaries
                                                        Unimpaired              Presumed to Accept
   8A          Interests in SUNE                        Impaired                Deemed to Reject

        2.       Treatment of Classes of Claims and Interests

     Class                                        Treatment under the Plan
   Description

 Classes 1A-1B –     Classes 1A and 1B consist of all Allowed Second Lien Claims.
 Second Lien         Except to the extent that a Holder of an Allowed Second Lien Claim agrees
 Claims              to a less favorable treatment, in full and final satisfaction, settlement, release,
                     and discharge of and in exchange for each and every Allowed Second Lien
                     Claim (except as otherwise set forth herein with respect to the Reinstated
                     Second Lien Claims), on the Effective Date or as soon as practicable
                     thereafter, each Holder of an Allowed Second Lien Claim shall receive its
                     Pro Rata portion of the Second Lien Claim Distribution.
                     In addition to the foregoing, in the TERP Share Election Alternative, each
                     Holder of an Allowed Second Lien Claim that is an Eligible Holder shall
                     receive its Pro Rata portion of the Rights Offering Subscription Rights.
                     Classes 1A and 1B are Impaired and Holders of Allowed Second Lien
                     Claims are entitled to vote to accept or reject the Plan.

 Classes 2A-2E –     Classes 2A, 2B, 2C, 2D, and 2E consist of all Allowed Other Secured
 Other Secured       Claims.
 Claims              Except as otherwise provided in and subject to Article 10.6 of the Plan, and
                     except to the extent that a Holder of an Allowed Other Secured Claim agrees
                     to a less favorable treatment, in full and final satisfaction, settlement, release
                     and discharge of and in exchange for each and every Allowed Other Secured
                     Claim, each such Holder of an Allowed Other Secured Claim shall, at the
                     option of the Debtors (with the reasonable consent of the Supporting Second
                     Lien Parties) or the Reorganized Debtors, as applicable:
                             (i)      have its Allowed Other Secured Claim Reinstated and
                     rendered Unimpaired, or otherwise have its Claim rendered Unimpaired, in
                     each case in accordance with section 1124(2) of the Bankruptcy Code,
                     notwithstanding any contractual provision or applicable non-bankruptcy law
                     that entitles the Holder of an Allowed Other Secured Claim to demand or

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     Class                                       Treatment under the Plan
   Description
                     receive payment of such Allowed Other Secured Claim prior to the stated
                     maturity of such Allowed Other Secured Claim from and after the occurrence
                     of a default;
                             (ii)   be paid in full in Cash in an amount equal to such Allowed
                     Other Secured Claim, including postpetition interest, if any, on such Allowed
                     Other Secured Claim required to be paid pursuant to section 506 of the
                     Bankruptcy Code as the case may be, on the later of (x) the Effective Date
                     and (y) the date such Other Secured Claim becomes an Allowed Claim or as
                     soon thereafter as reasonably practicable; or
                            (iii)   receive such other less favorable treatment as to which the
                     Debtors (with the reasonable consent of the Supporting Second Lien Parties)
                     or Reorganized Debtors and such Holder of such Allowed Other Secured
                     Claim will have agreed upon in writing.
                     provided, that Other Secured Claims incurred by the Debtors in the ordinary
                     course of business may be paid in the ordinary course of business in
                     accordance with such applicable terms and conditions relating thereto in the
                     discretion of the Debtors (with the reasonable consent of the Supporting
                     Second Lien Parties) or Reorganized Debtors without further notice to or
                     order of the Bankruptcy Court. Nothing in Article 4.2 of the Plan or
                     elsewhere in the Plan shall preclude the Debtors (or the Reorganized
                     Debtors) from challenging the validity of any alleged Lien or any asset of the
                     Debtors or the value of the property that secures any alleged Lien allegedly
                     securing an Allowed Other Secured Claim.
                     Classes 2A, 2B, 2C, 2D, and 2E are Unimpaired, and Holders of Allowed
                     Other Secured Claims are conclusively presumed to have accepted the Plan
                     pursuant to section 1126(f) of the Bankruptcy Code. Therefore, Holders of
                     Allowed Other Secured Claims are not entitled to vote to accept or reject the
                     Plan.

 Classes 3A-3E –     Classes 3A, 3B, 3C, 3D, and 3E consist of all Allowed Other Priority
 Other Priority      Claims.
 Claims              Except as otherwise provided in and subject to Article 10.6 of the Plan, and
                     except to the extent that a Holder of an Allowed Other Priority Claim agrees
                     to a less favorable treatment, in full and final satisfaction, settlement, release,
                     and discharge of and in exchange for each and every Allowed Other Priority
                     Claim, each such Holder of an Allowed Other Priority Claim shall be paid in
                     full in Cash on the Effective Date or such other ate as agreed between the
                     Debtors (or the Reorganized Debtors) and such Holder of an Allowed Other
                     Priority Claim; provided, however, that Other Priority Claims that arise in
                     the ordinary course of the Debtors’ business and which are not due and
                     payable on or before the Effective Date shall be paid in the ordinary course

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     Class                                    Treatment under the Plan
   Description
                   of business in accordance with the terms thereof.
                   Classes 3A, 3B, 3C, 3D, and 3E are Unimpaired, and Holders of Allowed
                   Other Priority Claims are conclusively presumed to have accepted the Plan
                   pursuant to section 1126(f) of the Bankruptcy Code. Therefore, Holders of
                   Allowed Other Priority Claims are not entitled to vote to accept or reject the
                   Plan.

 Class 4A-4E –     Class 4A, 4B, 4C, 4D, and 4E consist of all Allowed General Unsecured
 General           Claims.
 Unsecured         Except to the extent that a Holder of an Allowed General Unsecured Claim
 Claims            agrees to a less favorable treatment, in full and final satisfaction, settlement,
                   release, and discharge of and in exchange for each and every Allowed
                   General Unsecured Claim, each Holder of an Allowed General Unsecured
                   Claim shall receive its Pro Rata portion of the Class A GUC/Litigation Trust
                   Interests, subject to the specifics set forth in the Plan. For the avoidance of
                   doubt, Holders of an Allowed General Unsecured Claims shall not receive
                   any of the Class B GUC/Litigation Trust Interests.
                   For purposes of Article 4.4 of the Plan, Pro Rata shall apply to all Allowed
                   General Unsecured Claims on a consolidated basis.
                   Classes 4A, 4B, 4C, 4D, and 4E are Impaired and Holders of Allowed
                   General Unsecured Claims are entitled to vote to accept or reject the Plan.

 Class 5A-5E –     Classes 5A, 5B, 5C, 5D, and 5E consist of all Allowed Intercompany Claims.
 Intercompany      On the Effective Date, and subject to any repayment obligations necessary to
 Claims            satisfy secured Intercompany Claims, all net Allowed Intercompany Claims
                   (taking into account any setoffs of Intercompany Claims) held by the Debtors
                   between and among any Affiliate of the Debtors shall be either reinstated,
                   cancelled, released, or otherwise settled in the Debtors’ discretion with the
                   reasonable consent of the Supporting Second Lien Parties. For the avoidance
                   of doubt, all Allowed Intercompany Claims held by any Debtor constitutes
                   collateral of the Original DIP Lenders, the Replacement DIP Lenders,
                   Second Lien Lenders, and Second Lien Senior Noteholders.
                   Classes 5A, 5B, 5C, 5D, and 5E are either: (i) Impaired, and Holders of
                   Allowed applicable Class 5 Claims are deemed to have rejected the Plan
                   pursuant to section 1126(g) of the Bankruptcy Code and, therefore, such
                   Holders of Allowed Class 5 Claims are not entitled to vote to accept or reject
                   the Plan; or (ii) Unimpaired, and Holders of Allowed applicable Class 5
                   Claims are conclusively presumed to have accepted the Plan pursuant to
                   section 1126(f) of the Bankruptcy Code and, therefore, Holders of Allowed
                   Class 5 Claims are not entitled to vote to accept or reject the Plan.


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      Class                                   Treatment under the Plan
    Description

 Class 6A-6E –      Classes 6A, 6B, 6C, 6D, and 6E consist of all Allowed Bankruptcy Code
 Other              section 510(b) and (c) Claims.
 Subordinated       Holders of Allowed Other Subordinated Claims shall not receive any
 Claims             distributions on account of such Allowed Other Subordinated Claims.
                    Classes 6A, 6B, 6C, 6D, and 6E are Impaired, and Holders of Allowed Other
                    Subordinated Claims are deemed to have rejected the Plan pursuant to
                    section 1126(g) of the Bankruptcy Code. Therefore, Holders of Allowed
                    Other Subordinated Claims are not entitled to vote to accept or reject the
                    Plan.

 Class 8B-8E –      Classes 7A, 7B, 7C, 7D, and 7E consist of all Allowed Interests in Debtor
 Interests in       Subsidiaries.
 Debtor             On the Effective Date, all Allowed Interests in Debtor Subsidiaries shall be
 Subsidiaries       either reinstated or cancelled in the Debtors’ discretion with the consent of
                    the Supporting Second Lien Parties. To the extent reinstated, Interests in
                    Debtor Subsidiaries are Unimpaired solely to preserve the Debtors’ corporate
                    structure and Holders of those Interests shall not otherwise receive or retain
                    any property on account of such Interests.
                    Classes 7A, 7B, 7C, 7D, and 7E are either: (i) Impaired, and Holders of
                    Allowed applicable Class 7 Claims are deemed to have rejected the Plan
                    pursuant to section 1126(g) of the Bankruptcy Code and, therefore, such
                    Holders of Allowed Class 7 Claims are not entitled to vote to accept or reject
                    the Plan; or (ii) Unimpaired, and Holders of Allowed applicable Class 7
                    Claims are conclusively presumed to have accepted the Plan pursuant to
                    section 1126(f) of the Bankruptcy Code and, therefore, Holders of Allowed
                    Class 7 Claims are not entitled to vote to accept or reject the Plan.

 Class 8A –         Class 8A consists of all Interests in SUNE.
 Interests in       On the Effective Date, Allowed Class 8A Interests shall be deemed
 SUNE               automatically cancelled, released, and extinguished without further action by
                    the Debtors or the Reorganized Debtors and the obligations of the Debtors
                    and the Reorganized Debtors thereunder shall be discharged.
                    Class 8A is Impaired, and Holders of Allowed Class 8A Interests are deemed
                    to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy
                    Code. Therefore, Holders of Allowed Class 8A Interests are not entitled to
                    vote to accept or reject the Plan.




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 E.     Acceptance

        1.      Classes Entitled to Vote

        Classes 1A – 1B and 4A – 4E are entitled to vote to accept or reject the Plan. By
 operation of law, Classes 2A – 2E, 3A – 3E, 5A – 5E, 6A – 6E, 7B – 7E, and 8A are either
 deemed to have accepted the Plan or to have rejected the Plan and are not entitled to vote.

        2.      Acceptance by Impaired Classes

         An Impaired Class of Claims shall have accepted the Plan if, not counting the vote of any
 Holder designated under section 1126(e) of the Bankruptcy Code, (a) the Holders of at least two-
 thirds in amount of the Allowed Claims actually voting in the Class have voted to accept the Plan
 and (b) the Holders of more than one-half in number of the Allowed Claims actually voting in
 the Class have voted to accept the Plan.

        3.      Elimination of Classes

        To the extent applicable, any Class that does not contain any Allowed Claims or any
 Claims temporarily allowed for voting purposes under Bankruptcy Rule 3018, as of the date of
 commencement of the Confirmation Hearing, shall be deemed to have been deleted from the
 Plan for purposes of (a) voting to accept or reject the Plan and (b) determining whether it has
 accepted or rejected the Plan under section 1129(a)(8) of the Bankruptcy Code.

        4.      Deemed Acceptance if No Votes Cast.

         If no Holders of Claims eligible to vote in a particular Class vote to accept or reject the
 Plan, the Plan shall be deemed accepted by the Holders of such Claims in such Class.

        5.      Cramdown

        To the extent necessary, the Debtors shall request confirmation of the Plan, as it may be
 modified from time to time, under section 1129(b) of the Bankruptcy Code. The Debtors, with
 the consent of the Supporting Second Lien Parties and to the extent Holders of Allowed General
 Unsecured Claims are affected, the Creditors’ Committee (in each case, such consent not to be
 unreasonably withheld), reserve the right to modify the Plan to the extent, if any, that
 confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification.

 F.     Means for Implementation of the Plan

        1.      General Settlement of Claims and Interests

                 (a)    Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule
 9019, and in consideration for the classification, distributions, releases, and other benefits
 provided under the Plan, on the Effective Date, the provisions of the Plan shall constitute good-
 faith compromise and settlement of all Claims and Interests and controversies relating to the
 contractual, legal, and subordination rights that a Holder of a Claim or Interest may have with


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 respect to any Allowed Claim or Interest or any distribution to be made on account of such
 Allowed Claim or Interest.

                (b)    In consideration for the compromises and settlements contained herein,
 including the distribution of the Class A GUC/Litigation Trust Interests for the benefit of
 Holders of General Unsecured Claims, the transfer of the GUC/Litigation Trust Assets to the
 GUC/Litigation Trust, and the settlement of any and all issues that may be in dispute (either
 currently or pending or that could be commenced in the future) regarding Annex II to the
 Replacement DIP Facility Order, including any right to receive amounts attributable to the
 Excess Non-Prepetition 1L/2L Obligor Sale Proceeds, and in each case as more fully set forth in
 the Disclosure Statement, on the Effective Date all pending litigation commenced by the
 Creditors’ Committee or BOKF, N.A., including the UCC Challenge Litigation, the BOKF
 Objection, and the objections to the YieldCo Settlement Motion, shall be dismissed with
 prejudice in accordance with the Committee/BOKF Plan Settlement Term Sheet.

                (c)    In further consideration for the settlement of the litigation commenced by
 the Creditors’ Committee and BOKF, N.A., on or after the Effective Date (as applicable), the
 terms of the Committee/BOKF Plan Settlement Term Sheet shall be effectuated to the extent that
 they have not previously occurred.

                (d)   The Plan shall be deemed a motion to settle all pending litigation that has
 been commenced by the Creditors’ Committee or BOKF, N.A. in the Chapter 11 Cases,
 including the UCC Challenge Litigation, the BOKF Objection, and the objections to the YieldCo
 Settlement Motion and pursuant to sections 105 and 363 of the Bankruptcy Code and Bankruptcy
 Rule 9019 and Confirmation of the Plan shall be deemed approval of such settlement.

        2.      [RESERVED]

        3.      Restructuring Transactions

                 (a)    On or after the Confirmation Date, the Debtors (with the reasonable
 consent of the Supporting Second Lien Parties and the Creditors’ Committee) shall be authorized
 to enter into such transactions and take such other actions as may be necessary or appropriate to
 effect a corporate restructuring of their businesses, to otherwise simplify the overall corporate
 structure of the Debtors, or to organize certain of the Debtors under the laws of jurisdictions
 other than the laws of which such Debtors currently are organized, which restructuring may
 include one or more mergers, consolidations, dispositions, liquidations, or dissolutions as may be
 determined by the Debtors to be necessary or appropriate to result in substantially all of the
 respective assets, properties, rights, liabilities, duties, and obligations of certain of the Debtors
 vesting in one or more surviving, resulting, or acquiring Entities (collectively, the “Restructuring
 Transactions”). In each case in which the surviving, resulting, or acquiring Entity in any such
 transaction is a successor to a Debtor, such surviving, resulting, or acquiring Entity shall perform
 the obligations of such Debtor pursuant to the Plan to satisfy the Allowed Claims against, or
 Allowed Interests in, such Debtor, except as provided in any contract, instrument, or other
 agreement or document effecting a disposition to such surviving, resulting, or acquiring Entity,
 which may provide that another Debtor shall perform such obligations.


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                  (b)     In effecting the Restructuring Transactions, the Debtors (with the
 reasonable consent of the Supporting Second Lien Parties and the Creditors’ Committee) shall be
 permitted to (i) execute and deliver appropriate agreements or other documents of merger,
 consolidation, restructuring, disposition, liquidation, or dissolution containing terms that are
 consistent with the terms of the Plan and that satisfy the requirements of applicable state law and
 such other terms to which the applicable entities may agree; (ii) execute and deliver appropriate
 instruments of transfer, assignment, assumption, or delegation of any asset, property, right,
 liability, duty, or obligation on terms consistent with the terms of the Plan and having such other
 terms to which the applicable entities may agree; (iii) file appropriate certificates or articles of
 merger, consolidation, or dissolution pursuant to applicable state law; and (iv) take all other
 actions that the applicable Entities determine to be necessary or appropriate, including making
 filings or recordings that may be required by applicable state law in connection with such
 transactions.

        4.      Sources of Cash for Plan Distribution

        All Cash required for payments to be made under the Plan on the Effective Date shall be
 obtained from Cash on hand, proceeds of the Jointly Supported Transactions, and, in the TERP
 Share Election Alternative only, proceeds of the Rights Offering.

                (a)    Rights Offering. In the TERP Share Election Alternative, prior to the
 Effective Date and without the need for any further corporate action and without further action
 by the Holders of Claims or Interests, SUNE shall commence the Rights Offering pursuant to the
 Rights Offering Procedures. On the Effective Date, if the TERP Share Election Alternative shall
 have occurred, Reorganized SUNE shall distribute the Rights Offering Common Stock to the
 Rights Holders that participate in the Rights Offering as of the Rights Offering Record Date
 pursuant to the Rights Offering Procedures and the Equity Commitment Agreement. The Rights
 Offering shall be fully backstopped by the Rights Offering Backstop Purchasers such that the
 Rights Offering results in the funding of Reorganized SUNE with the Rights Offering Amount
 on the terms and conditions set forth in the Rights Offering Backstop Commitment and the
 Equity Commitment Agreement. In exchange for providing the Rights Offering Backstop
 Commitment for the Rights Offering, on the Effective Date, the Rights Offering Backstop Parties
 will receive payment of the Rights Offering Backstop Standby Fee to the extent earned and
 payable pursuant to the Equity Commitment Agreement and any order of the Bankruptcy Court
 approving such fee. For the avoidance of doubt, the Rights Offering Backstop Standby Fee is a
 necessary expense of the Debtors’ Estates and shall be deemed an Allowed Administrative
 Expense Claim pursuant to the order approving the Debtors’ entry into the Rights Offering
 Commitment Letter and the Equity Commitment Agreement.

                 (b)     Jointly Supported Transactions. The Debtors or Reorganized Debtors may
 enter into, support, or otherwise effectuate one or more Jointly Supported Transactions pursuant
 to which the Debtors or Reorganized Debtors sell or otherwise dispose of some or all of their
 equity interests in the YieldCos to a third party purchaser. The Debtors or Reorganized Debtors
 are authorized to enter into and perform under the Jointly Supported Transaction Agreements
 and such other documents as may be required or appropriate.

        5.      Reinstated Second Lien Claims

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         On the Effective Date, the Reinstated Second Lien Claims shall be reinstated as modified
 pursuant to the Reinstated Second Lien Claim Modification Terms. The Debtors and
 Reorganized Debtors are authorized to take all actions necessary to amend the Second Lien
 Documents in accordance with the Reinstated Second Lien Claim Modification Terms and such
 amendments shall be deemed to be effective on the Effective Date. All Liens granted in
 connection with the Second Lien Claims and that exist over property of the Debtors (and, to the
 extent applicable, non-Debtors) immediately prior to the Effective Date shall remain in full force
 and effect following the Effective Date to the extent that the Debtors or Reorganized Debtors
 have not otherwise disposed of such property free and clear of such Liens in connection with the
 Plan, and solely to the extent of the Reinstated Second Lien Claims. The Holders of the
 Reinstated Second Lien Claims, and the amount held by such Holders, shall be consistent with
 the amounts held by such Holders of Reorganized SUNE equity. 64

          6.       Conversion and Distribution of Continuing TERP Class A Shares

          In accordance with the Jointly Supported Transaction Agreements, the Debtors or
 Reorganized Debtors are authorized to exercise any exchange or conversion rights with respect
 to their interests in the YieldCos, including the exchange or conversion of their Class B shares in
 TERP Inc. and/or Class B Units in TERP LLC into Class A shares in TERP Inc. in respect of
 which they may elect to retain Continuing TERP Class A Shares through the TERP Share
 Election Alternative. The Debtors or Reorganized Debtors are authorized without further
 corporate or other action or approval to distribute the Continuing TERP Class A Shares to
 Holders of Allowed Second Lien Claims in accordance with the Plan, including the Rights
 Offering, free and clear of all Liens.

          7.       Administration of Repatriated Cash, Earnout Assets, and Residual Assets.

         Reorganized SUNE shall employ employees and maintain systems and back-office
 capabilities reasonably necessary to administer the Earnout Assets and the Residual Assets and
 to collect the Repatriated Cash, and shall use commercially reasonable efforts to (a) generate
 Earnout Proceeds and Residual Assets Proceeds therefrom and to maximize the recovery of
 Repatriated Cash and (b) to transfer such assets to Reorganized SUNE if not otherwise applied to
 the Reinstated Second Lien Claims.

          8.       Certain Transfers Between SUNE and Other Debtors.

         Following the Effective Date, the Reorganized Debtors may transfer in their sole
 discretion the right to receive any Earnout Proceeds, Residual Assets Proceeds, and the
 Repatriated Cash to Reorganized SUNE, free and clear of any Lien, except for the Liens securing

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      To the extent that (a) the Debtors elect the TERP Cash Election Alternative and (b) the cash received from the
      Jointly Supported Transactions is insufficient to repay the Tranche B Roll-Up Lenders in full and in Cash, the
      Debtors will issue Reinstated Tranche B Roll-Up Loans in an amount and with terms necessary to render the
      Tranche B Roll-Up Loans Unimpaired, including, without limitation, priority (over the Reinstated Second Lien
      Claims) in lien and claim amount and interest, and with other terms that are identical to the current Tranche B
      Roll-Up Loans. The provisions of Section 6.5 of the Plan shall apply mutatis mutandis to the Reinstated
      Tranche B Roll-Up Loans.



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 the Reinstated Second Lien Claims. The Confirmation Order shall authorize the Debtors to
 effectuate the transfer of the right to receive Earnout Proceeds, the Residual Assets Proceeds, and
 Repatriated Cash in accordance with the terms of the Plan as part of the settlements and
 compromises contained in the Plan. All matters and transactions necessary to effectuate the
 transfer of the right to receive Earnout Proceeds, the Residual Assets Proceeds, or the
 Repatriated Cash, and any partnership, membership, or shareholder action required by the
 applicable Debtors in connection with such transfer will be deemed to have occurred and will be
 in effect, without any requirement of further action by those authorized to act on behalf of the
 applicable Debtors. Upon entry of the Confirmation Order, subject to the terms of the Original
 DIP Facility and the Replacement DIP Facility, the appropriate officers or managing members of
 each Debtor shall be authorized and directed to issue, execute, deliver, file, and/or record any
 contracts, agreements, instruments, or other documents contemplated by, or necessary or
 desirable to effect, the transfer of the right to receive the Earnout Proceeds, the Residual Assets
 Proceeds, and the Repatriated Cash in accordance with the terms of the Plan, and take such
 actions as may be necessary or appropriate to effectuate and further evidence the terms and
 conditions of the transfer of the right to receive the Earnout Proceeds, the Residual Assets
 Proceeds, and the Repatriated Cash, in each case in the name of and on behalf of the applicable
 Debtor. The authorizations contained in Article 6.6 of the Plan apply on a continuing basis to
 any Earnout Proceeds, Residual Assets Proceeds, or Repatriated Cash received by any Debtor (in
 such case, subject to the terms of the Original DIP Facility and the Replacement DIP Facility) or
 Reorganized Debtor following the entry of the Confirmation Order.

        9.      Authorization and Issuance of New SUNE Common Stock

        On the Effective Date, Reorganized SUNE shall authorize and issue the New SUNE
 Common Stock. Distribution of New SUNE Common Stock under the Plan shall constitute
 issuance of 100% of such New SUNE Common Stock and in each case shall be deemed issued
 on the Effective Date. The issuance of New SUNE Common Stock by Reorganized SUNE is
 authorized without the need for any further corporate action or without any further action by the
 Debtors or the Reorganized Debtors, as applicable. All of the shares of New SUNE Common
 Stock issued pursuant to the Plan shall be duly authorized, validly issued, fully paid, and non-
 assessable.

        10.     GUC/Litigation Trust Initial Funding.

        On the Effective Date, the GUC/Litigation Trust Initial Funding shall be $7.5 million, in
 accordance with the Committee/BOKF Plan Settlement Term Sheet.

        11.     Exemptions from Securities Act Registration Requirements.

         Except as otherwise set forth in the Plan and consistent with the Jointly Supported
 Transaction Agreements (if applicable), the offering, issuance, and distribution of any Securities
 pursuant to the Plan and any and all settlement agreements incorporated therein will be exempt
 from the registration requirements of Section 5 of the Securities Act pursuant to Section 1145 of
 the Bankruptcy Code, Sections 4(a)(1) and 4(a)(2) of the Securities Act, or any other available
 exemption from registration under the Securities Act, as applicable. Section 4(a)(2) of the
 Securities Act exempts transactions by an issuer not involving a public offering and Section

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 4(a)(1) exempts transactions by any person other than an issuer, underwriter, or dealer. In
 addition, under Section 1145 of the Bankruptcy Code, if applicable, any Securities (other than
 the Continuing TERP Class A Shares) issued pursuant to the Plan and any and all settlement
 agreements incorporated therein will be freely transferable under the Securities Act by the
 recipients thereof, subject to (1) the provisions of Section 1145(b)(1) of the Bankruptcy Code
 relating to the definition of an underwriter in Section 2(a)(11) of the Securities Act, and
 compliance with any applicable state or foreign securities laws, if any, and the rules and
 regulations of the SEC, if any, applicable at the time of any future transfer of such Securities or
 instruments, (2) the restrictions, if any, on the transferability of such Securities and instruments,
 including restrictions contained in the GUC/Litigation Trust Agreement (if applicable), (3) any
 other applicable regulatory approval, and (4) the restrictions, if any, contained in the SUNE
 Certificate of Incorporation and Bylaws. Except as otherwise set forth in the Plan, in reliance
 upon these exemptions, the offer, issuance, and distribution of Securities will not be registered
 under the Securities Act or any applicable state Blue Sky Laws, and may not be transferred,
 encumbered or otherwise disposed of in the absence of such registration or an exemption
 therefrom under the Securities Act or under such laws and regulations thereunder. Accordingly,
 the Securities may be subject to restrictions on transfer as set forth in the governing documents to
 such Securities.

        The Debtors are offering, issuing, and distributing Securities pursuant to the Plan,
 including offering, issuing, and/or distributing New SUNE Common Stock and Continuing
 TERP Class A Shares in good faith reliance upon exemption from the registration requirements
 of the Securities Act and similar state statutes pursuant to and subject to Section 1145 and
 Sections 4(a)(1) and 4(a)(2) as follows:

                 (a)   The Debtors are issuing 10% of New SUNE Common Stock (subject to
 dilution by the Backstop Fee) and distributing 10% of Continuing TERP Class A Shares (subject
 to dilution by the Backstop Fee) on account of and in exchange for Second Lien Claims as
 contemplated by the Plan, in good faith reliance upon exemption registration under the Securities
 Act under section 1145.

                (b)    The Debtors are issuing the rights to participate in the Rights Offering
 contemplated by the Plan in good faith reliance upon exemption from registration under the
 Securities Act under Sections 4(a)(1) or 4(a)(2), as applicable.

                (c)     The Debtors are issuing 90% of New SUNE Common Stock in exchange
 for exercising rights in the Rights Offering, as contemplated by the Plan, in good faith reliance
 upon exemption from registration under the Securities Act under Section 4(a)(2).

                (d)    The Debtors are distributing 90% of Continuing TERP Class A Shares in
 exchange for exercising rights in the Rights Offering, as contemplated by the Plan, in good faith
 reliance upon exemption from registration under the Securities Act under Section 4(a)(1).

                (e)    The Debtors are issuing New SUNE Common Stock and distributing
 Continuing TERP Class A Shares for the Rights Offering Backstop Standby Fee, as
 contemplated by the Plan, in good faith reliance upon exemption from registration under the
 Securities Act under Section 4(a)(2).

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          Except as otherwise set forth in the Plan, in reliance upon these exemptions, the offer,
 issuance, and distribution of Securities will not be registered under the Securities Act or any
 applicable state Blue Sky Laws, and may not be transferred, encumbered or otherwise disposed
 of in the absence of such registration or an exemption therefrom under the Securities Act or
 under such laws and regulations thereunder. Accordingly, the Securities may be subject to
 restrictions on transfer as set forth in the governing documents to such Securities.

        12.     Cancellation of Old SUNE Securities and Agreements.

          On the Effective Date, except as otherwise specifically provided for herein (including
 with respect to the Reinstated Second Lien Claims), (a) the Old SUNE Securities and any other
 note, bond, indenture, Certificate, or other instrument or document evidencing or creating any
 indebtedness or obligation of or ownership interest in SUNE (including the Indentures) shall be
 cancelled and (b) the obligations of, Claims against, and/or Interests in SUNE under, relating, or
 pertaining to any agreements, indentures, certificates of designation, bylaws, or certificate or
 articles of incorporation or similar documents governing the Old SUNE Securities and any other
 note, bond, indenture, Certificate, or other instrument or document evidencing or creating any
 indebtedness or obligation of SUNE shall be released and discharged and cancelled; provided,
 however, that any agreement (including the Indentures) that governs the rights of a Holder of a
 Claim that is otherwise released, discharged, and cancelled and that is administered by a Servicer
 shall continue in effect, notwithstanding anything to the contrary contained herein, solely for the
 purposes of (a) enabling Holders of Allowed Claims to receive distributions under the Plan and
 (b) allowing and preserving the rights of any Servicer to (i) make the distributions on account of
 such Claims under the Plan as provided for in Articles 7.10, 7.11, and 10.5(c) of the Plan; (ii)
 maintain and exercise any charging liens against any such distributions for the payment of fees
 and expenses and for indemnification under the applicable Indenture; (iii) appear and be heard in
 the Chapter 11 Cases or in any proceeding in the Bankruptcy Court or in any other court; and (iv)
 enforce any obligation owed to such Servicer under the Plan; provided, further, that any
 indemnification and reimbursement obligations in respect of the Replacement DIP Facilities, the
 Existing DIP Facilities, the Prepetition Second Lien Credit Facility, the Prepetition Second Lien
 Notes, and/or the Prepetition First Lien Credit Facility (in each case as defined in the
 Replacement DIP Order) which are expressly stated to survive any repayment under, or
 termination of, such respective facilities shall survive any cancellation or discharge under the
 Plan in accordance with their respective terms, and any rights that the Agents (in each case as
 defined under the respective Replacement DIP Documents, Existing DIP Documents, the
 Prepetition Second Lien Credit Facility, the Prepetition Second Lien Notes, or the Prepetition
 First Lien Credit Facility (each as defined in the Replacement DIP Order)) may have under the
 agency provisions of such facilities shall survive any such cancellation or discharge.
 Notwithstanding the foregoing, in no event shall the 2020 Exchangeable Notes be cancelled with
 respect to any non-Debtor obligor thereof, nor shall any non-Debtor be released or discharged
 with respect to any obligation under the 2020 Exchangeable Notes or the 2020 Exchangeable
 Notes Indenture by any provision of the Plan.

       13.      Issuance and Distribution of New Securities; Execution of Plan
                Documents



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         Except as otherwise provided in the Plan, on or as soon as reasonably practicable after the
 Effective Date, the Reorganized Debtors shall issue and/or deliver all Securities, notes,
 instruments, Certificates, and other documents required to be issued pursuant to the Plan, and
 shall amend the Second Lien Documents to implement the Reinstated Second Lien Claim
 Modification Terms, in form and substance reasonably satisfactory to the Supporting Second
 Lien Parties.

          14.      Continued Corporate Existence

                 (a)     Except as otherwise provided in the Plan, the Debtors shall continue to
 exist after the Effective Date as separate entities, the Reorganized Debtors, with all the powers of
 a corporation under applicable law in the jurisdiction in which each respective Debtor is
 incorporated and pursuant to its respective certificate of incorporation and bylaws or other
 organizational documents in effect prior to the Effective Date, except to the extent such
 certificate of incorporation and bylaws or other organization documents are amended and
 restated by the Plan, without prejudice to any right to terminate such existence (whether by
 merger or otherwise) under applicable law after the Effective Date. To the extent such
 documents are amended, such documents are deemed to be amended pursuant to the Plan
 without any further notice to or action, order, or approval of the Bankruptcy Court or any other
 court of competent jurisdiction (other than the requisite filings required under applicable state,
 provincial, or federal law).

                (b)   Except as otherwise provided in the Plan, the continued existence,
 operation, and ownership of Affiliates is a material component of the business of the Debtors and
 the Reorganized Debtors, as applicable, and, as set forth in Article 11.1 of the Plan, all of the
 Debtors’ equity interests and other property interests in such Affiliates shall vest in the
 Reorganized Debtors or their successors on the Effective Date. 65

          15.      Certificate of Incorporation and Bylaws

         The certificates of incorporation and bylaws (or other formation documents relating to
 limited liability companies, limited partnership, or other forms of Entity) of the Debtors shall be
 amended in a form as may be required to be consistent with the provisions of the Plan and the
 Bankruptcy Code (and which shall be in form and substance reasonably satisfactory to the
 Supporting Second Lien Parties) and the form and substance of which shall be included in the
 Plan Supplement. After the Effective Date, the Reorganized Debtors may amend and restate
 their respective certificates of incorporation and bylaws (or other formation documents relating
 to limited liability companies, limited partnership, or other forms of Entity) as permitted by
 applicable state corporation law and their respective charters and bylaws or other organizational
 documents.
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      For clarity, the Stringer referenced in Paragraph 59 of the order approving the Solar Materials Sale [Docket No.
      1466] (the “Solar Materials Sale Order”) is being treated as a deferred asset pursuant to the Purchase Agreement
      (as defined therein). Title to the Stringer shall vest in the Reorganized Debtors upon the Effective Date
      pursuant to Section 11.1 of the Plan unless otherwise ordered in connection with a determination of the
      objection of Solaria Corporation to such sale [Docket No. 1399], subject to the terms and provisions of
      Paragraph 59 of the Solar Materials Sale Order.



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        16.     Directors and Officers of Reorganized Debtors

         Pursuant to section 1129(a)(5) of the Bankruptcy Code, the identity and affiliations of
 each proposed member of Reorganized Debtors’ initial board of directors and each of the initial
 officers of the Reorganized Debtors (and, to the extent such Person is an insider, the nature of
 any compensation for such Person) shall be disclosed in the Plan Supplement or as announced on
 the record at the Confirmation Hearing. The number of members of the New Boards and the
 identities thereof, and any senior officers of the Reorganized Debtors not presently serving in
 such capacity, shall be determined by the Supporting Second Lien Parties.

        17.     Corporate Action

         Each of the matters provided for under the Plan involving the corporate structure of the
 Debtors or the Reorganized Debtors or corporate action to be taken by or required of the Debtors
 (with the reasonable consent of the Supporting Second Lien Parties) or the Reorganized Debtors
 shall, as of the Effective Date, be deemed to have occurred and be effective as provided therein,
 and shall be authorized, approved, and to the extent taken prior to the Effective Date, ratified in
 all respects without any requirement of further action by stockholders, creditors, or directors of
 the Debtors or the Reorganized Debtors. Such actions may include (a) the adoption and filing of
 the SUNE Certificate of Incorporation and Bylaws, (b) the appointment of the New Boards, and
 (c) the issuance and distribution of New SUNE Common Stock and (d) the distribution of
 Continuing TERP Class A Shares.

        18.     Effectuating Documents; Further Transactions

         On and after the Effective Date, the Reorganized Debtors, and the officers thereof and
 members of the New Boards, shall be authorized to and may issue, execute, deliver, file, or
 record such contracts, Securities, instruments, releases, indentures, and other agreements or
 documents, and take such actions as may be necessary or appropriate to effectuate, implement,
 and further evidence the terms and conditions of the Plan, or to otherwise comply with applicable
 law, in the name of and on behalf of the Reorganized Debtors, without the need for any
 approvals, authorizations, or consents except for those expressly required pursuant to the Plan.

        19.     Employment, Retirement, Indemnification and Other Agreements and
                Employee Compensation Programs

                 (a)    Employment Agreements. To the extent that the Debtors intend for any
 employment, retirement, indemnification or other agreement with its respective directors,
 officers, managing members and employees to remain in place after the Effective Date, the
 Debtors, with the reasonable consent of the Supporting Second Lien Parties, will list such
 agreement on the list of “Assumed Executory Contracts and Unexpired Leases” contained in
 Exhibit 8.1 of the Plan, and such agreement will be assumed as of the Effective Date. If the
 Debtors do not list such agreement on the list of “Assumed Executory Contracts and Unexpired
 Leases” contained in Exhibit 8.1, such agreement shall be deemed rejected. The Debtors, with
 the reasonable consent of the Supporting Second Lien Parties, may also enter into new
 employment arrangements and/or change in control agreements with individuals who will serve
 as officers of the Reorganized Debtors after the Effective Date. On the Effective Date or as soon

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 as reasonably practicable thereafter, the Reorganized Debtors shall adopt, approve, and authorize
 any new employment arrangements with respect to such officers of the Reorganized Debtors
 without further action, order, or approval of the New Boards.

                 (b)    Other Incentive Plans and Employee Benefits. Unless otherwise specified
 in the Plan, and except in connection and not inconsistent with Article 6.19(a) of the Plan, on and
 after the Effective Date, the Reorganized Debtors shall have the discretion, with the reasonable
 consent of the Supporting Second Lien Parties, to (a) amend, adopt, assume, and/or honor, in the
 ordinary course of business or as otherwise provided in the Plan, any contracts, agreements,
 policies, programs, and plans for, among other things, compensation, pursuant to the terms
 thereof or of the Plan, including the Employee Compensation Plans, any incentive plan, 401(k)
 plan, health care benefits, disability benefits, deferred compensation benefits, savings, severance
 benefits, retirement benefits, welfare benefits, workers’ compensation benefits, life insurance,
 and accidental death and dismemberment insurance for the directors, officers, and employees of
 the Debtors who served in such capacity from and after the Petition Date, and (b) honor, in the
 ordinary course of business, Claims of employees employed as of the Effective Date for accrued
 vacation time arising prior to the Petition Date.

        20.     Preservation Of Causes Of Action

          In accordance with section 1123(b)(3) of the Bankruptcy Code, the Reorganized Debtors
 shall retain and may (but are not required to) enforce all rights to commence and pursue any and
 all Causes of Action that are not (a) released pursuant to Article 11.5 of the Plan or an order of
 the Bankruptcy Court or (b) GUC/Litigation Trust Causes of Action, whether arising before or
 after the Petition Date, including any actions or categories of actions specifically enumerated in
 Exhibit 6.20 to the Plan, and such Causes of Action shall vest in the Reorganized Debtors as of
 the Effective Date. The Reorganized Debtors, in their sole and absolute discretion, shall
 determine whether to bring, settle, release, compromise, or enforce such Causes of Action (or
 decline to do any of the foregoing), and shall not be required to seek further approval of the
 Bankruptcy Court for such action. The Reorganized Debtors or any successors may pursue such
 litigation claims in accordance with the best interests of the Reorganized Debtors or any
 successor holding such rights of action. No Entity may rely on the absence of a specific
 reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of
 Action against them as any indication that the Debtors or the Reorganized Debtors will not
 pursue any and all available Causes of Action against them. The Debtors and the
 Reorganized Debtors expressly reserve all rights to prosecute any and all Causes of Action
 against any Entity, except as otherwise provided in the Plan. Unless any Causes of Action
 against an Entity are expressly waived, relinquished, exculpated, released, compromised, or
 settled in the Plan or an order of the Bankruptcy Court, the Reorganized Debtors expressly
 reserve all Causes of Action for transfer to the GUC/Litigation Trust and later adjudication.

        21.     Reservation of Rights

         With respect to Avoidance Actions that are transferred to the GUC/Litigation Trust in
 accordance with Article 7.5 of the Plan, the Debtors, the Reorganized Debtors, and the
 GUC/Litigation Trust, as applicable, reserve all rights, including the right under section 502(d)
 of the Bankruptcy Code to use defensively the transferred Avoidance Actions as a basis to object

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 to all or any part of a claim against any of the Estates asserted by a creditor which remains in
 possession of, or otherwise obtains the benefit of, the avoidable transfer.

        22.     Exemption from Certain Transfer Taxes and Recording Fees

        Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant to
 the Plan, or any transaction entered into by the GUC/Litigation Trust, shall not be subject to any
 document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax,
 stamp act, real estate transfer tax, mortgage recording tax, sales tax, use tax, or other similar tax
 or governmental assessment to the fullest extent contemplated by section 1146(a) of the
 Bankruptcy Code, and upon entry of the Confirmation Order, the appropriate state or local
 governmental officials or agents to forgo the collection of any such tax or governmental
 assessment and to accept for filing and recordation any of the foregoing instruments or other
 documents without the payment of any such tax or governmental assessment.

        23.     Insured Claims

        Notwithstanding anything to the contrary contained in the Plan, to the extent the Debtors
 have insurance with respect to any Allowed General Unsecured Claim, the Holder of such
 Allowed Claim shall (a) be paid any amount from the proceeds of insurance to the extent that the
 Claim is insured, and, (b) solely for the portion of such Claim that is not paid by the applicable
 insurance policy, receive the treatment provided for in the Plan for Allowed General Unsecured
 Claims.

        24.     Intercompany Account Settlement

        The Debtors and the Reorganized Debtors, and their respective Affiliates, with the
 reasonable consent of the Supporting Second Lien Parties, will be entitled to transfer funds
 between and among themselves as they determine to be necessary or appropriate to enable the
 Reorganized Debtors to satisfy their obligations under the Plan. For the avoidance of doubt,
 because Intercompany Claims are the collateral of the Original DIP Facility, the Replacement
 DIP Facility, the Second Lien Loans, and the Second Lien Senior Notes, such transfers or
 settlements shall not affect distributions under the Plan.

        25.     Private Company.

         It is anticipated that the Reorganized Debtors shall be private companies as of the
 Effective Date and shall not register any of their respective equity with the SEC or list such
 equity on an exchange; provided, however, that, to the extent applicable, the Reorganized
 Debtors may (in the discretion of the New Boards) implement procedures to facilitate trading of
 such equity, e.g., providing investors with access (on a secure website) to current information
 concerning the Reorganized Debtors and their subsidiaries on a consolidated basis.

 G.     GUC/Litigation Trust

        1.      GUC/Litigation Trust Agreement



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          The GUC/Litigation Trust shall be established on the Effective Date and shall be
 governed and administered in accordance with the GUC/Litigation Trust Agreement. The
 GUC/Litigation Trust Agreement shall be drafted by the Creditors’ Committee’s Professionals
 and shall be in form and substance acceptable to the Creditors’ Committee and reasonably
 acceptable to the Debtors. Any provisions of the GUC/Litigation Trust Agreement that affect
 any rights of any holders of Class B GUC/Litigation Trust Interests shall be in form and
 substance acceptable to the Supporting Second Lien Parties (or their advisors). The
 GUC/Litigation Trust Assets or such portion of the GUC/Litigation Trust Assets as determined
 by the Creditors’ Committee/GUC/Litigation Trust Oversight Board shall be used to fund the
 activities of the GUC/Litigation Trust, including the prosecution of the GUC/Litigation Trust
 Causes of Action. For the avoidance of doubt, the GUC/Litigation Trust Initial Funding shall be
 used to prosecute GUC/Litigation Trust Causes of Action and pay other expenses of the
 GUC/Litigation Trust prior to any excess being distributed to Holders of Allowed General
 Unsecured Claims. The GUC/Litigation Trust Agreement shall provide for (i) distributions at
 least once per year; (ii) an initial distribution within thirty (30) days of the Effective Date
 (including deposits into the GUC Disputed Claims Reserve as provided in (iii) hereof) of no less
 than 50% of all Cash which is transferred to the GUC/Litigation Trust on the Effective Date
 subject to any holdback necessary to fund or maintain the GUC Disputed Claims Reserve; and
 (iii) mechanics for a GUC Disputed Claims Reserve sufficient to ensure that a holder of a
 Disputed General Unsecured Claim which becomes Allowed after the Effective Date receives
 aggregate distributions from the GUC/Litigation Trust equal to what such holder would have
 received had such Claims been Allowed on the Effective Date (net of any taxes imposed on, or
 with respect to, the GUC Disputed Claims Reserve as relates to such Claim, including in
 connection with such distributions). The first $2 million of Cash to be distributed from the
 GUC/Litigation Trust shall be distributed to the Convertible Senior Notes Indenture Trustee as
 partial payment of its fees and expenses incurred in connection with these Chapter 11 Cases.

        2.      Class A and Class B GUC/Litigation Trust Interests

              (a)    Class A GUC/Litigation Trust Interests.            Holders of Class A
 GUC/Litigation Trust Interests shall be entitled to share in all of the GUC/Litigation Trust
 Assets.

              (b)     Class B GUC/Litigation Trust Interests.              Holders of Class B
 GUC/Litigation Trust Interests shall only be entitled to the following:

                 (i)    forty-eight percent (48%) of the Additional Net Avoidance Action
 Proceeds; provided, that, the GUC/Litigation Trust Agreement shall provide that the
 GUC/Litigation Trust Agreement may not be amended to change the distributions set forth in
 this clause (i) without the consent of 75% of the holders (in amount of Class B GUC/Litigation
 Trust Interests held, not number of holders) of the Class B GUC/Litigation Trust Interests in the
 GUC/Litigation Trust and the requisite consent of the holders of the Class A GUC/Litigation
 Trust Interests in the GUC/Litigation Trust in accordance with the GUC/Litigation Trust
 Agreement;

                (ii)    delivery of the GUC/Litigation Trust Reports;


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                 (iii)   following the filing of any Contingency Fee Advisor Retention Notice, at
 the request of any of the holders of Class B GUC/Litigation Trust Interests (or their advisor at
 the instruction of a holder) the GUC/Litigation Trust Trustee will provide additional information
 regarding the proposed contingency fee engagement (including the actual engagement letter on a
 confidential basis, if so requested). Holders of Class B GUC/Litigation Trust Interests (or their
 advisors at the instruction of a holder) shall have ten (10) Business Days from the date of the
 filing of the Contingency Fee Advisor Retention Notice to file with the Bankruptcy Court a
 pleading seeking to prohibit such retention on the grounds that such retention is not consistent
 with the purpose of the Committee/BOKF Plan Settlement Term Sheet because the engagement
 does not provide a sufficient incentive for such contingency fee advisor to procure Additional
 Net Avoidance Action Proceeds, and the GUC/Litigation Trust, GUC Litigation Trust Trustee,
 GUC Litigation Trust Oversight Board, or the Committee may oppose such pleading (but solely
 with respect to such issue), and the Bankruptcy Court shall retain jurisdiction to settle such
 dispute;

                 (iv)  enforcement rights with regard to any and all of the above rights (and
 clause (v) below) (as well as the fiduciary duties owed to all holders of GUC/Litigation Trust
 Interests by the GUC/Litigation Trust Trustee and the GUC/Litigation Trust Oversight Board as
 set forth below); and

               (v)     reasonable consent rights with regard to any modifications, amendments,
 or supplements of the GUC/Litigation Trust Agreement that affect (i) through (iv) above.

                 (c)    The GUC/Litigation Trust Trustee shall provide GUC/Litigation Trust
 Reports to all Holders of GUC/Litigation Trust Interests.

        3.      GUC/Litigation Trust Governance

         The GUC/Litigation Trust Trustee, who shall administer the GUC/Litigation Trust, shall
 be selected by the Creditors’ Committee. All GUC/Litigation Trust governance issues shall be
 determined by the Creditors’ Committee including the composition of the GUC/Litigation Trust
 Oversight Board. The GUC/Litigation Trust Trustee and the GUC/Litigation Trust Oversight
 Board shall owe fiduciary duties to all holders of GUC/Litigation Trust Interests. The
 GUC/Litigation Trust Trustee and the GUC/Litigation Trust Oversight Board shall have the
 authority to retain any advisors for the purpose of carrying out their respective duties under the
 GUC/Litigation Trust Agreement. The GUC/Litigation Trust Trustee shall file a notice
 (summarizing the key terms of such retention, including the economic terms thereof) regarding
 the proposed retention of any such advisors on a contingency fee basis (other than the
 GUC/Litigation Trust Trustee) (each such notice, a “Contingency Fee Advisor Retention
 Notice”) on the docket of the Bankruptcy Court.

        4.      Tax Treatment

         It is intended that the GUC/Litigation Trust be classified for federal income tax purposes
 as a “liquidating trust” within the meaning of Treasury Regulations Section 301.7701-4(d) and as
 a “grantor trust” within the meaning of Sections 671 through 679 of the Internal Revenue Code,
 with no objective to continue or engage in the conduct of a trade or business. In furtherance of

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 this objective, the GUC/Litigation Trust Trustee shall, in an expeditious but commercially
 reasonable manner and exercising its reasonable business judgment, liquidate and convert to cash
 the GUC/Litigation Trust Assets (which may include the prosecution, compromise and
 settlement, abandonment or dismissal of any or all claims, rights or causes of action) and not
 unduly prolong the existence of the GUC/Litigation Trust. All assets held by the GUC/Litigation
 Trust on the Effective Date shall be treated for federal income tax purposes (i) to have been
 distributed (subject to any obligations relating to such assets) by the Debtors or Reorganized
 Debtors to the GUC/Litigation Trust Beneficiaries (other than the assets allocable to Disputed
 Claims) in satisfaction of Allowed General Unsecured Claims and in partial satisfaction of
 Allowed Second Lien Claims and (ii) immediately thereafter contributed by the holder of such
 Claims (thereafter, the GUC/Litigation Trust Beneficiaries) to the GUC/Litigation Trust in
 exchange for GUC/Litigation Trust Interests. The GUC/Litigation Trust Trustee shall in good
 faith value all of the GUC/Litigation Trust Assets, and shall make all such values available from
 time to time, to the extent relevant, and such values shall be used consistently by all parties to the
 GUC/Litigation Trust (including, without limitation, the Debtors, the Reorganized Debtors, the
 GUC/Litigation Trust Trustee, and GUC/Litigation Trust Beneficiaries) for all federal income
 tax purposes. The GUC/Litigation Trust Beneficiaries shall be treated for federal income tax
 purposes as the grantors and owners of their respective share of the GUC/Litigation Trust Assets
 (other than such GUC/Litigation Trust Assets as are allocable to Disputed Claims). The
 GUC/Litigation Trustee shall file tax returns and other tax filings for the GUC/Litigation Trust
 treating the GUC/Litigation Trust as a grantor trust pursuant to Treasury Regulation section
 1.671-4(a).

         Subject to contrary definitive guidance from the Internal Revenue Service or a court of
 competent jurisdiction (including the receipt by the GUC/Litigation Trust Trustee of a private
 letter ruling if the GUC/Litigation Trust Trustee so requests, or the receipt of an adverse
 determination by the Internal Revenue Service upon audit if not contested by the GUC/Litigation
 Trust Trustee), the GUC/Litigation Trust Trustee may (A) timely elect to treat the GUC Disputed
 Claims Reserve as a “disputed ownership fund” governed by Treasury Regulation section
 1.468B-9 and (B) to the extent permitted by applicable law, report consistently with the
 foregoing for state and local income tax purposes. All parties (including the GUC/Litigation
 Trust Trustee, the Debtors and the GUC/Litigation Trust Beneficiaries) shall report for U.S.
 federal, state and local income tax purposes consistently with the foregoing.

         The GUC/Litigation Trust Trustee may withhold and pay to the appropriate taxing
 authority all amounts required to be withheld pursuant to the Internal Revenue Code or any
 provision of any foreign, state or local tax law with respect to any payment or distribution to the
 GUC/Litigation Trust Beneficiaries or any amounts received or earned by the GUC/Litigation
 Trust treated as allocable to the GUC/Litigation Trust Beneficiaries. All such amounts withheld
 and paid to the appropriate taxing authority shall be treated as amounts distributed to such
 GUC/Litigation Trust Beneficiaries for all purposes of the GUC/Litigation Trust Agreement.
 The GUC/Litigation Trust Trustee shall be authorized to collect such tax information from the
 GUC/Litigation Trust Beneficiaries (including, without limitation, social security numbers or
 other tax identification numbers) as it, in its sole discretion, deems necessary to effectuate the
 Plan, the Confirmation Order and the GUC/Litigation Trust Agreement. In order to receive
 distributions under the Plan, all GUC/Litigation Trust Beneficiaries will need to identify
 themselves to the GUC/Litigation Trust Trustee and provide tax information and the specifics of

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 their holdings, to the extent the GUC/Litigation Trust Trustee deems appropriate. This
 identification requirement may, in certain cases, extend to holders who hold their securities in
 street name. The GUC/Litigation Trust Trustee may refuse to make a distribution to any
 GUC/Litigation Trust Beneficiary that fails to furnish such information in a timely fashion, until
 such information is delivered; provided, however, that, upon the delivery of such information by
 a GUC/Litigation Trust Beneficiary, the GUC/Litigation Trust Trustee shall make such
 distribution to which the GUC/Litigation Trust Beneficiary is entitled, without interest; and,
 provided, further, that, if the GUC/Litigation Trust Trustee fails to withhold in respect of
 amounts received or distributable with respect to any such holder and the GUC/Litigation Trust
 Trustee is later held liable for the amount of such withholding, such holder shall reimburse the
 GUC/Litigation Trust Trustee for such liability.

        5.      GUC/Litigation Trust Assets

                 (a)    On the Effective Date, or on such other date as is set forth in the
 GUC/Litigation Trust Agreement, pursuant to section 1123(b)(3) of the Bankruptcy Code, the
 GUC/Litigation Trust Assets shall be transferred by the Debtors (and deemed transferred) to the
 GUC/Litigation Trust free and clear of all Claims, Liens, charges, encumbrances, rights, and
 interests, without the need for any Entity to take any further action or obtain any approval and
 the GUC/Litigation Trust shall be authorized as the representative of the Estates to pursue
 GUC/Litigation Trust Causes of Action.

                 (b)     For the avoidance of doubt, Causes of Action transferred, assigned, and
 delivered to the GUC/Litigation Trust shall not include any Causes of Action (i) against the
 YieldCos or otherwise released in the YieldCo Settlement Agreements, (ii) against any or all of
 the Prepetition Secured Parties in their capacities as such, (iii) against any of the DIP Secured
 Parties in their capacities as such (as such terms are defined in the Original DIP Facility Order),
 or (iv) against any of the Replacement DIP Secured Parties in their capacities as such (as such
 terms are defined in the Replacement DIP Facility Order). For the avoidance of doubt, the
 Second Lien Litigation will not be transferred to the GUC/Litigation Trust.

        6.      GUC/Litigation Trust Causes of Action

                 (a)    GUC/Litigation Trust Causes of Action shall exclude any action released
 or settled by the Debtors pursuant to the Plan or an order of the Bankruptcy Court; provided, that
 with respect to any settlements or releases proposed by the Debtors after the Disclosure
 Statement Order is entered, such settlements or releases shall require the consent of the
 Creditors’ Committee, which consent shall not be unreasonably withheld.

                (b)    The GUC/Litigation Trust, with the consent of the Reorganized Debtors to
 the extent such GUC/Litigation Trust Causes of Action interfere with (i) the Reorganized
 Debtors’ collection of Earnout Proceeds, Residual Assets Proceeds, or Repatriated Cash or (ii)
 the continuing operations of TERP, shall determine whether to bring, settle, release,
 compromise, or enforce such GUC/Litigation Trust Causes of Action (or decline to do any of the
 foregoing), and shall not be required to seek further approval of the Bankruptcy Court for such
 action. The GUC/Litigation Trust or any successors may pursue such litigation claims in
 accordance with the best interests of the GUC/Litigation Trust or any successor holding such

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 rights of action. No Entity may rely on the absence of a specific reference in the Plan, the
 Plan Supplement, or the Disclosure Statement to any GUC/Litigation Trust Cause of
 Action against them as any indication that the GUC/Litigation Trust will not pursue any
 and all available GUC/Litigation Trust Causes of Action against them.                      The
 GUC/Litigation Trust expressly reserves all rights to prosecute any and all GUC/Litigation
 Trust Causes of Action against any Entity, except as otherwise provided in the Plan. Unless
 any GUC/Litigation Trust Causes of Action against an Entity are expressly waived, relinquished,
 exculpated, released, compromised, or settled in the Plan or an order of the Bankruptcy Court,
 the GUC/Litigation Trust expressly reserves all GUC/Litigation Trust Causes of Action for later
 adjudication.

        7.      Disputed Claims Reserve

          From and after the Effective Date, in accordance with the GUC/Litigation Trust
 Agreement, the GUC/Litigation Trust Trustee shall hold and maintain the GUC Disputed Claims
 Reserve for the benefit of the Holders of such Disputed General Unsecured Claims, including
 any amounts that would otherwise have been received by each such holder from the
 GUC/Litigation Trust had such Disputed Claim been an Allowed Claim on the Effective Date,
 determined based on (i) the asserted amount of such Disputed Claim, (ii) such other amount as
 may be agreed upon by the Holder of such Disputed Claim and the GUC/Litigation Trust Trustee
 or (iii) except with respect to any Disputed General Unsecured Claims asserted by Vivint Solar,
 Inc., such other amount as may be deemed appropriate reasonably determined by the
 GUC/Litigation Trust Trustee in accordance with the terms of the GUC/Litigation Trust
 Agreement (in each case, net of any taxes imposed on, or with respect to, the GUC Disputed
 Claims Reserve as relates to such Claim, including in connection with such distributions).

        8.      Claims Objections and Transition Services

         The Debtors or the Reorganized Debtors, as the case may be, will cooperate with the
 Creditors’ Committee and its Professionals in relation to the GUC/Litigation Trust’s prosecution
 of Avoidance Actions and Claims objections, on the terms set forth on Annex 1 to the
 Committee/BOKF Plan Settlement Term Sheet. To that end, and consistent with Annex 1 to the
 Committee/BOKF Plan Settlement Term Sheet, on the Effective Date, the GUC/Litigation Trust
 and Reorganized SUNE will enter into an agreement (the “Transition Services Agreement”)
 pursuant to which Reorganized SUNE will provide services, which may include personnel,
 systems, and access to books and records, to the GUC/Litigation Trust in connection with the
 administration of the GUC/Litigation Trust Assets, including claims administration and the
 prosecution of the GUC/Litigation Trust Causes of Action. The Transition Services Agreement
 shall include customary indemnification and limitations of liability to Reorganized SUNE and its
 representatives that provide services to the GUC/Litigation Trust; provided, however, that the
 indemnification shall exclude any liability of the GUC/Litigation Trust for any claims relating to
 the gross negligence or willful misconduct of Reorganized SUNE. A copy of the Transition
 Services Agreement will be filed with the Plan Supplement.

        9.      Indemnification and Exculpation



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         The GUC/Litigation Trust Trustee or the individuals comprising the GUC/Litigation
 Trust Trustee, as the case may be, and the GUC/Litigation Trust Trustee’s agents and
 professionals, shall not be liable for actions taken or omitted in its capacity as, or on behalf of,
 the GUC/Litigation Trust Trustee, except those acts arising out of its or their own willful
 misconduct or gross negligence, and each shall be entitled to indemnification and reimbursement
 for fees and expenses in defending any and all of its actions or inactions in its capacity as, or on
 behalf of, the GUC/Litigation Trust Trustee, except for any actions or inactions involving willful
 misconduct or gross negligence. Any indemnification or reimbursement claim of the
 GUC/Litigation Trust Trustee (and the other parties entitled to indemnification or reimbursement
 under this subsection) shall be satisfied, first, from the GUC/Litigation Trust Initial Funding and,
 then, to the extent the GUC/Litigation Trust Initial Funding is exhausted, from other
 GUC/Litigation Trust Assets. The GUC/Litigation Trust Trustee shall be entitled to rely, in good
 faith, on the advice of its retained professionals.

        10.     Preservation of Privilege and Defenses

         No action taken by the Debtors or Reorganized Debtors in connection with the Plan, shall
 be (or be deemed to be) a waiver of any privilege or immunity of the Debtors or Reorganized
 Debtors, as applicable, including any attorney-client privilege or work-product privilege
 attaching to any documents or communications (whether written or oral). The Confirmation
 Order shall provide that notwithstanding the Reorganized Debtors’ providing any privileged
 information (if any) to the GUC/Litigation Trust Trustee, the GUC/Litigation Trust, or any party
 or person associated with the GUC/Litigation Trust, such privileged information shall be without
 waiver in recognition of the joint and/or successorship interest in prosecuting any Claim or
 Cause of Action on behalf of the Estates and shall remain privileged. The Confirmation Order
 shall provide that the GUC/Litigation Trust shall have no right to waive the attorney-client
 privilege, work product or other protection of any information received from the Reorganized
 Debtors. The Debtors (or the Reorganized Debtors) retain the right to waive their own
 privileges. The GUC/Litigation Trust shall have no right to any privileged information or
 analysis of the Debtors or the Reorganized Debtors.

        11.     No Bonding of GUC/Litigation Trust Claims

        There shall be no bonding of the GUC/Litigation Trust Trustee.

        12.     Service of the Indenture Trustees

         The applicable Indenture Trustees and their respective agents, successors and assigns,
 and the GUC/Litigation Trust Trustee shall facilitate the making of the Plan Distributions to the
 Holders of the Second Lien Senior Notes Claims and the Convertible Senior Notes Claims, to the
 extent applicable, in accordance with the Plan. The GUC/Litigation Trust Trustee shall be
 obligated to calculate the distributions to be made on account of Class B GUC/Litigation Trust
 Interests and the distributions to be made to Holders of Allowed Convertible Senior Notes
 Claims, as applicable, and shall provide such distribution calculations and related information to
 the applicable Indenture Trustees at least five (5) business days in advance of the GUC/Litigation
 Trust Trustee making distributions on account of Class B GUC/Litigation Trust Interests or
 Convertible Senior Notes Claims, as applicable. The applicable Indenture Trustees shall only be

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 required to act and make distributions in accordance with the Plan, shall not be required to
 independently verify or review the calculations prepared by the GUC/Litigation Trust Trustee
 with respect to distributions to be made on account of Class B GUC/Litigation Trust Interests or
 made to Holders of Convertible Senior Notes Claims, as applicable, and shall have no liability
 for actions taken in accordance with the Plan or in reliance upon distribution information and
 distribution calculations provided by the GUC/Litigation Trust Trustee, except solely for actions
 or omissions arising out of such Indenture Trustee’s intentional fraud, willful misconduct, gross
 negligence or criminal conduct. Further, the Indenture Trustees shall have no obligation or
 liability for distributions under the Plan to any party who does not (i) hold a Claim against the
 Debtors as of the Distribution Record Date or (ii) otherwise comply with the terms of the Plan,
 except solely for actions or omissions arising out of such Indenture Trustee’s intentional fraud,
 willful misconduct, gross negligence or criminal conduct.

       13.     Delivery of Distributions on Account of Second Lien Senior Notes Claims
 and Convertible Senior Notes Claims

         Upon the occurrence of the Effective Date, the Claims of the Second Lien Senior Notes
 Indenture Trustee and the Convertible Senior Notes Indenture Trustee for the Second Lien
 Senior Notes Claims and the Convertible Senior Notes Claims, as applicable, shall be, for
 purposes under the Plan, including without limitation, the right to receive Plan distributions,
 substituted for all Claims of individual Holders of Allowed Second Lien Senior Notes Claims
 and Convertible Senior Notes Claims, as applicable; provided, however, that non-Cash
 consideration shall not be distributed in the name of the Second Lien Senior Notes Indenture
 Trustee or the Convertible Senior Notes Indenture Trustee. The Second Lien Senior Notes
 Indenture Trustee and the Convertible Senior Notes Indenture Trustee shall hold or direct such
 distributions for the benefit of the Holders of Allowed Second Lien Senior Notes Claims and
 Convertible Senior Notes Claims, as applicable, in accordance with the Plan and the applicable
 Indenture. As soon as practicable in accordance with the requirements set forth in this Article
 VII, the Second Lien Senior Notes Indenture Trustee and the Convertible Senior Notes Indenture
 Trustee, as applicable, shall arrange to deliver such distributions to or on behalf of such Holders,
 subject to the charging liens of the Second Lien Senior Notes Indenture Trustee and the
 Convertible Senior Notes Indenture Trustee, as applicable. If the Second Lien Senior Notes
 Indenture Trustee or the Convertible Senior Notes Indenture Trustee is unable to make, or
 consents to the GUC/Litigation Trust Trustee making, such distributions, the GUC/Litigation
 Trust Trustee, with the cooperation of the Second Lien Senior Notes Indenture Trustee and the
 Convertible Senior Notes Indenture Trustee, as applicable, shall make such distributions to the
 extent practicable to do so, including by means of book-entry exchange through the facilities of
 DTC in accordance with DTC’s customary practices (provided that until such distributions are
 made, the charging lien of the Second Lien Senior Notes Indenture Trustee and the Convertible
 Senior Notes Indenture Trustee, as applicable shall attach to the property to be distributed in the
 same manner as if such distributions were made through the Second Lien Senior Notes Indenture
 Trustee or the Convertible Senior Notes Indenture Trustee, as applicable). For the avoidance of
 doubt, the Second Lien Senior Notes Indenture Trustee shall have no duty to make any
 distributions that are not DTC eligible.

        14.     Tax Determination


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         The GUC/Litigation Trustee may request an expedited determination of Taxes of the
 GUC/Litigation Trust (including with respect to the GUC Disputed Claims Reserve) under
 section 505(b) of the Bankruptcy Code for all Tax Returns filed for, or on behalf of, the
 GUC/Litigation Trust (or the GUC Disputed Claims Reserve) for all taxable periods through the
 dissolution of the GUC/Litigation Trust.

 H.     Executory Contracts and Unexpired Leases

        1.      Rejection of Executory Contracts and Unexpired Leases

                (a)     Automatic Rejection. Except as otherwise provided in the Plan, each
 Executory Contract and Unexpired Lease shall be deemed automatically rejected pursuant to
 sections 365 and 1123 of the Bankruptcy Code as of the Effective Date, unless any such
 Executory Contract or Unexpired Lease: (a) is listed on the schedule of “Assumed Executory
 Contracts and Unexpired Leases” contained in Exhibit 8.1 of the Plan; (b) has been previously
 assumed by the Debtors by Final Order of the Bankruptcy Court or has been assumed by the
 Debtors by order of the Bankruptcy Court as of the Effective Date, which order becomes a Final
 Order after the Effective Date; (c) is the subject of a motion to assume or reject pending as of the
 Effective Date; (d) is an Executory Contract related to any Intercompany Claim; or (e) is
 otherwise assumed pursuant to the terms of the Plan.

         The Confirmation Order will constitute an order of the Bankruptcy Court approving such
 rejections pursuant to sections 365 and 1123 of the Bankruptcy Code as of the Effective Date.
 Counterparties to Executory Contracts or Unexpired Leases that are deemed rejected as of the
 Effective Date shall have the right to assert any Claim on account of the rejection of such
 Executory Contracts or Unexpired Leases, including under section 502(g) of the Bankruptcy
 Code, subject to compliance with the requirements of the Plan.

                 (b)    Preexisting Obligations to the Debtors Under Executory Contracts and
 Unexpired Leases. To the extent not inconsistent with the YieldCo Settlement Agreements,
 rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall
 not constitute a termination of pre-existing obligations owed to the Debtors under such contracts
 or leases. In particular, notwithstanding any non-bankruptcy law to the contrary and to the
 extent consistent with the YieldCo Settlement Agreements, the Reorganized Debtors expressly
 reserve and do not waive any right to receive, or any continuing obligation of a counterparty to
 provide, warranties or continued maintenance obligations on goods previously purchased by the
 contracting Debtors or the Reorganized Debtors, as applicable, from counterparties to rejected or
 repudiated Executory Contracts.

                (c)     Claims Procedures Related to Rejection of Executory Contracts or
 Unexpired Leases. Unless otherwise provided by a Bankruptcy Court order, any proofs of Claim
 asserting Claims arising from the rejection of the Executory Contracts and Unexpired Leases
 pursuant to the Plan or otherwise must be filed with the Claims and Solicitation Agent no later
 than 30 days after the later of the Effective Date or the effective date of rejection. Any proofs of
 Claim arising from the rejection of the Executory Contracts or Unexpired Leases that are not
 timely filed shall be disallowed automatically and forever barred, estopped, and enjoined from
 assertion and shall not be enforceable against the Debtors or the Reorganized Debtors, without

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 the need for any objection by the Reorganized Debtors or any further notice to or action, order,
 or approval of the Bankruptcy Court, and any Claim arising out of the rejection of the Executory
 Contract or Unexpired Lease shall be deemed fully satisfied, released, and discharged,
 notwithstanding anything in the Schedules or a proof of Claim to the contrary. All Allowed
 Claims arising from the rejection of the Executory Contracts and Unexpired Leases shall be
 classified as General Unsecured Claims.

                 (d)     Reservation of Rights. Notwithstanding anything to the contrary in the
 Plan, all rights of the Debtors, the Reorganized Debtors, and any counterparty to any Executory
 Contract or Unexpired Lease are reserved in the event that the Debtors (or the Reorganized
 Debtors), with the consent of the Supporting Second Lien Parties, amend their decision with
 respect to the rejection of any Executory Contract or Unexpired Lease.

        2.      Assumption of Executory Contracts and Unexpired Leases

         Upon the occurrence of the Effective Date, each Executory Contract or Unexpired Lease
 (other than Executory Contracts or Unexpired Leases that (a) have been previously rejected by
 the Debtors by Final Order of the Bankruptcy Court or have been rejected by the Debtors by
 order of the Bankruptcy Court as of the Effective Date, which order becomes a Final Order after
 the Effective Date or (b) are the subject of a motion to reject pending as of the Effective Date)
 listed on the schedule of “Assumed Executory Contracts and Unexpired Leases” in Exhibit 8.1 of
 the Plan shall be assumed, or assumed and assigned, as applicable, and shall vest in and be fully
 enforceable by the Reorganized Debtors or their assignee in accordance with its terms, except as
 modified by the provisions of the Plan or any order of the Bankruptcy Court authorizing or
 providing for its assumption or applicable federal law. With respect to each such Executory
 Contract and Unexpired Lease, the Debtors, with the reasonable consent of the Supporting
 Second Lien Parties, shall have designated a proposed Cure, and the assumption of such
 Executory Contracts and Unexpired Leases may be conditioned upon the disposition of all issues
 with respect to such Cure. The Confirmation Order shall constitute an order of the Bankruptcy
 Court approving any such assumptions pursuant to sections 365(a) and 1123 of the Bankruptcy
 Code.

                 (a)      Modifications, Amendments, Supplements, Restatements, or Other
 Agreements. Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease
 that is assumed shall include all modifications, amendments, supplements, restatements, or other
 agreements that in any manner affect such Executory Contract or Unexpired Lease, and all rights
 related thereto, if any, including all easements, licenses, permits, rights, privileges, immunities,
 options, rights of first refusal, and any other interests, unless any of the foregoing agreements has
 been previously rejected or repudiated or is rejected or repudiated pursuant to the Plan.

        Modifications, amendments, supplements, and restatements to prepetition Executory
 Contracts and Unexpired Leases that have been executed by the Debtors during the Chapter 11
 Cases shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired
 Lease, or the validity, priority, or amount of any Claims that may arise in connection therewith.

             (b)   Proofs of Claim Based on Executory Contracts or Unexpired Leases that
 Have Been Assumed. Any and all proofs of Claims based upon Executory Contracts or

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 Unexpired Leases that have been assumed in the Chapter 11 Cases, including under the Plan,
 except proofs of Claims asserting Cure amounts, pursuant to the order approving such
 assumption, including the Confirmation Order, shall be deemed disallowed and expunged from
 the claims register as of the Effective Date without any further notice to or action, order, or
 approval of the Bankruptcy Court.

        3.      Indemnification Obligations

          From and after the Effective Date, but subject to the rest of Article 8.3 of the Plan, the
 Reorganized Debtors will indemnify each Indemnitee to the same extent of any Indemnification
 Obligation in effect immediately prior to the Effective Date. The Reorganized Debtors’
 Indemnification Obligations shall remain in full force and effect, shall not be modified, reduced,
 discharged under section 1141 of the Bankruptcy Code, impaired, or otherwise affected in any
 way, irrespective of whether indemnification or reimbursement is owed in connection with any
 event occurring before, or after the Petition Date; provided, however, that the Reorganized
 Debtors shall have no Indemnification Obligations to an Indemnitee for any losses, liabilities, or
 expenses arising out of conduct determined by a Final Order to have constituted fraud, gross
 negligence, bad faith, or willful misconduct. Except as expressly set forth in the proviso and,
 notwithstanding anything contained in any Assumed Executory Contracts and Unexpired Leases
 to the contrary, (i) the Reorganized Debtors’ will have no indemnification liability under Article
 8.3 of the Plan arising out of any losses, liabilities, or expenses relating to events that occurred
 prior to the Petition Date giving rise to Indemnification Obligations (“Prepetition
 Indemnification Obligations”), and (ii) any claims against the Debtors for any indemnification
 liability owed to any Indemnitee arising out of any losses, liabilities, or expenses relating to
 events that occurred prior to the Petition Date giving rise to Indemnification Obligations shall be
 treated as General Unsecured Claims; provided, however, that the Reorganized Debtors shall pay
 any Prepetition Indemnification Obligations of the Existing Directors at an amount to be set forth
 in the Plan Supplement (in an amount not less than $350,000 nor more than $1.3 million) (the
 “Plan Supplement Amount”), to be agreed to prior to the Effective Date by the Debtors and the
 Supporting Second Lien Parties acting reasonably and in good faith, for all Existing Directors
 and shall be for fees, costs or expenses (but not judgments, losses, liabilities, or settlements
 payable to third parties) not covered by D&O Insurance or the EPL Policy (including, without
 limitation, because either (x) they are not covered by such policies or (y) such policies have been
 exhausted) for all such Prepetition Indemnification Obligations. The manner and terms of the
 Plan Supplement Amount shall be set forth in the Plan Supplement, it being agreed and
 acknowledged that the Plan Supplement Amount shall be payable by the Reorganized Debtors
 from time to time within five business days’ notice provided by counsel to the Existing
 Directors, except to the extent that the Reorganized Debtors after making such payment would
 not have sufficient liquidity to fund ordinary course business operations for at least 90 days
 thereafter. The treatment of Indemnification Obligations in Article 8.3 of the Plan shall be in
 complete satisfaction, discharge, and release of any Claim on account of such Indemnification
 Obligation of the Debtors. In accordance with the foregoing, the Debtors and the Reorganized
 Debtors shall cooperate with Indemnitees in relation to Indemnification Obligations, including,
 but not limited to, responding to reasonable requests for information and providing access to
 attorneys, financial advisors, accountants and other professionals with knowledge of matters
 relevant to any such claim covered by an Indemnification Obligation. For the avoidance of
 doubt, and notwithstanding anything to the contrary in the Plan, or any prior order of the

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 Bankruptcy Court regarding the retention of such professional, or otherwise, in no event will (a)
 the Debtors have any obligation to indemnify Debtor Professionals or any professional,
 consultant, representative, counsel or other advisor who served for the Debtors in such capacity
 at any time prior to the Effective Date for prepetition conduct (or Causes of Action stemming
 from prepetition conduct), although any such indemnification obligation may give rise to a
 General Unsecured Claim, and (b) the Reorganized Debtors have any obligation to indemnify
 Debtor Professionals or any professional, consultant, representative, counsel or other advisor
 who served for the Debtors in such capacity at any time prior to the Effective Date for
 prepetition conduct (or Causes of Action stemming from such prepetition conduct).

        4.      Insurance Policies

                (a)      Notwithstanding anything to the contrary in the Disclosure Statement, the
 Disclosure Statement Order, the Plan, the Plan Transaction Documents, the Plan Supplement, the
 Confirmation Order, any prepetition or administrative claim bar date order (or notice) or claim
 objection order, including without limitation, the Bar Date Orders and the Administrative Claims
 Bar Date, any other document related to any of the foregoing or any other order of the
 Bankruptcy Court (including, without limitation, any other provision that confers jurisdiction or
 purports to be preemptory or supervening or grants an injunction or release, including, but not
 limited to, the injunctions set forth in Article 11.9 of the Plan): (i) on the Effective Date, the
 Reorganized Debtors shall reject all insurance policies except for the D&O Insurance, the EPL
 Policy, and those specific insurance policies (and all agreements related thereto) that are set forth
 in the Plan Supplement, which shall be assumed in their entirety pursuant to sections 105 and
 365 of the Bankruptcy Code as such insurance policies and such agreements related thereto may
 be amended or modified (such assumed insurance policies and related agreements, collectively,
 the “Insurance Contracts”); (ii) nothing alters, modifies or otherwise amends the terms and
 conditions of (or the coverage provided by) any of the Insurance Contracts (including any and all
 letters of credit and other collateral and security provided in relation thereto) and all debts,
 obligations, and liabilities of the Debtors (and after the Effective Date, of the Reorganized
 Debtors) thereunder, whether arising before or after the Effective Date, shall survive and shall
 not be amended, modified, waived, released, discharged or impaired in any respect; (iii) nothing
 shall alter, modify, amend, affect, impair or prejudice the legal, equitable or contractual rights,
 obligations, and defenses of the insurers, the Debtors (or, after the Effective Date, the
 Reorganized Debtors), or any other individual or entity, as applicable, under any Insurance
 Contracts (including, but not limited to, (A) any agreement to arbitrate disputes, (B) any
 provisions regarding the provision, maintenance, use, nature and priority of collateral/security,
 and (C) any provisions regarding the payment of amounts within any deductible by the insurers
 and the obligation of the Debtors (or, after the Effective Date, the Reorganized Debtors) to pay
 or reimburse the applicable insurer therefor and any such rights and obligations shall be
 determined under the Insurance Contracts and applicable non-bankruptcy law as if the Chapter
 11 Cases had not occurred; (iv) nothing alters or modifies the duty, if any, that the insurers
 and/or third party administrators have to pay claims covered by the Insurance Contracts and their
 right to seek payment or reimbursement from the Debtors (or after the Effective Date, the
 Reorganized Debtors) or draw on any collateral or security therefor in accordance with the terms
 of the Insurance Contracts; and (v) the automatic stay of Bankruptcy Code section 362(a) and the
 injunctions set forth in Article 11.9 of the Plan, if and to the extent applicable, shall be deemed
 lifted without further order of the Bankruptcy Court, solely to permit: (A) claimants with valid

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 claims covered by any of the Insurance Contracts, including, but not limited to, valid workers’
 compensation claims or direct action claims against an insurer under applicable non-bankruptcy
 law (the “Insured Claims”) to proceed with their claims, in each case against the applicable
 insurer, or, to the extent required by applicable law, nominally against any of the Debtors (or
 after the Effective Date, the Reorganized Debtors); (B) insurers and/or third party administrators
 to administer, handle, defend, settle, and/or pay, in the ordinary course of business and subject to
 the terms of the Insurance Contracts, without further order of the Bankruptcy Court, (I) all
 Insured Claims, and (II) all costs in relation to each of the foregoing; (C) insurers to draw against
 any or all of the collateral or security provided by or on behalf of the Debtors (or the
 Reorganized Debtors, as applicable) at any time and to hold the proceeds thereof as security for
 the obligations of the Debtors (and the Reorganized Debtors, as applicable) and/or apply such
 proceeds to the obligations of the Debtors (and the Reorganized Debtors, as applicable) under the
 applicable Insurance Contracts, in such order as the applicable insurer may determine; and (D)
 the insurers and/or third party administrators to (I) cancel any policies under the Insurance
 Contracts, and (II) take other actions relating thereto, in each case to the extent permissible under
 applicable non-bankruptcy law, each in accordance with the terms of the Insurance Contracts.
 For the avoidance of doubt, the Debtors or Reorganized Debtors, as applicable, shall retain the
 right, if any, to challenge any amounts owed under the Insurance Contracts in accordance with
 their terms; provided, however, that nothing in Article 8.4(a) of the Plan or any other provision
 of the Plan shall permit a challenge by the Debtors, Reorganized Debtors, or any other Person to
 rights of TERP, GLBL, and their directors and officers to access coverage under the Insurance
 Contracts pursuant to the SunEdison/YieldCos Settlement Agreement unless and until such time
 as the Bankruptcy Court denies a motion to approve such agreement.

                  (b)    The Debtors or the Reorganized Debtors, as the case may be, shall
 maintain D&O Insurance and the EPL Policy providing coverage for those insureds currently
 covered by such policies for the remaining term of such policies and shall maintain runoff
 policies or tail coverage under policies in effect as of the Effective Date for a period of six years
 after the Effective Date, to the fullest extent permitted by such provisions, in each case insuring
 such parties in respect of any claims, demands, suits, Causes of Action, or proceedings against
 such insureds in at least the scope and amount as currently maintained by the Debtors; provided,
 however, that nothing in the Plan or the Confirmation Order alters the terms and conditions of
 the D&O Insurance.

                 (c)     Notwithstanding anything to the contrary contained in the Plan, but
 subject to the terms and conditions of the D&O Insurance, which policies shall be assumed
 pursuant to the Plan, the Existing Directors shall be deemed to be the independent directors of
 the Reorganized Debtors solely with respect to the D&O Insurance, including, but not limited to,
 with respect to the rights referred to in Endorsement 12 of ACE American Insurance Company’s
 ACE Advantage Management Protection Policy Number DON G23652389009 (the “ACE
 Policy”) and any other provision in the D&O Insurance that permits independent directors to
 direct an insurer to delay any payment of Loss (as defined in the ACE Policy) otherwise due and
 owing to or on behalf of the Company (as defined in the ACE Policy); provided, however, that
 with respect to the D&O Insurance, the Existing Directors shall continue to be bound by the
 terms and conditions set forth in the SunEdison/YieldCos Settlement Agreement, unless and
 until such time as the Bankruptcy Court denies a motion to approve such agreement.
 Notwithstanding anything to the contrary in the Plan or contained in any organizational or

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 governance document of the Reorganized Debtors, the New Board shall have no rights to
 terminate, reduce or otherwise impair the D&O Insurance or the EPL Policy and any of the rights
 of the Existing Directors thereunder that existed immediately before the Effective Date,
 including, but not limited to, by retracting any notice sent pursuant to Endorsement 12 of the
 ACE Policy or any similar provision of any other D&O Insurance policy, and any such attempt
 by the New Board to do so shall be deemed void ab initio.

        5.     Cure Procedures and Payments Related to Assumption of Executory
 Contracts and Unexpired Leases

        With respect to each of the Executory Contracts or Unexpired Leases listed on the
 schedule of “Assumed Executory Contracts and Unexpired Leases,” the Debtors, with the
 reasonable consent of the Supporting Second Lien Parties, shall have designated a proposed
 Cure, and the assumption of such Executory Contract or Unexpired Lease shall be conditioned
 upon the disposition of all issues with respect to Cure. Such Cure shall be satisfied by the
 Debtors or their assignee, if any, by payment of the Cure in Cash within 30 days following the
 occurrence of the Effective Date or as soon as reasonably practicable thereafter, or on such other
 terms as may be ordered by the Bankruptcy Court or agreed upon by the parties, with the
 reasonable consent of the Supporting Second Lien Parties, to the applicable Executory Contract
 or Unexpired Lease without any further notice to or action, order, or approval of the Bankruptcy
 Court. Any provisions or terms of the Executory Contracts or Unexpired Leases to be assumed
 pursuant to the Plan that are, or may be, alleged to be in default, shall be satisfied solely by Cure,
 or by an agreed-upon waiver of Cure. The Debtors shall serve a counterparty to an Executory
 Contract or Unexpired Lease to be assumed under the Plan with evidence of adequate assurance
 upon such counterparty’s written request to the Debtors’ counsel.

         If there is a dispute regarding such Cure, the ability of the Reorganized Debtors or any
 assignee to provide “adequate assurance of future performance” within the meaning of section
 365 of the Bankruptcy Code, or any other matter pertaining to assumption, then payment of Cure
 shall occur as soon as reasonably practicable after entry of a Final Order resolving such dispute,
 approving such assumption (and, if applicable, assignment), or as may be agreed upon by the
 Debtors, with the reasonable consent of the Supporting Second Lien Parties, or the Reorganized
 Debtors, as applicable, and the counterparty to the Executory Contract or Unexpired Lease. The
 Debtors, with the reasonable consent of the Supporting Second Lien Parties, or the Reorganized
 Debtors, as applicable, reserve the right either to reject or nullify the assumption of any
 Executory Contract or Unexpired Lease after a Final Order determining the Cure or any request
 for adequate assurance of future performance required to assume such Executory Contract or
 Unexpired Lease is made.

         Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
 otherwise shall result in the full release and satisfaction of any Cures, Claims or defaults,
 whether monetary or nonmonetary, including defaults of provisions restricting the change in
 control or ownership interest composition or other bankruptcy-related defaults, arising under any
 assumed Executory Contract or Unexpired Lease at any time prior to the effective date of
 assumption.



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                 (a)    Cure Notices. No later than seven (7) days prior to the Confirmation
 Hearing, and pursuant to the Assumption and Rejection Procedures, the Debtors shall serve upon
 counterparties to such Executory Contracts and Unexpired Leases a notice of the proposed
 assumption that will (i) list the applicable Cure, if any, (ii) describe the procedures for filing
 objections to the proposed assumption or assumption and assignment of the applicable Executory
 Contract or Unexpired Lease, (iii) describe the procedures for filing objections to the proposed
 Cure of the applicable Executory Contract or Unexpired Lease, and (iv) explain the process by
 which related disputes will be resolved by the Bankruptcy Court. If no objection is timely
 received, the non-Debtor party to the Assumed Contract shall be deemed to have consented to
 the assumption of the applicable Executory Contract or Unexpired Lease and shall be forever
 barred from asserting any objection with regard to such assumption.

                (b)     Cure Objections. If a proper and timely objection to the Cure Notice or
 proposed Cure was filed by the Cure Objection Deadline, the Cure shall be equal to (i) the
 amount agreed to between the Debtors (with the reasonable consent of the Supporting Second
 Lien Parties) or Reorganized Debtors and the applicable counterparty, or, (ii) to the extent the
 Debtors or Reorganized Debtors and counterparty do not reach an agreement regarding any Cure
 or any other matter related to assumption, the Bankruptcy Court shall determine the Allowed
 amount of such Cure and any related issues. Objections, if any, to the proposed assumption
 and/or Cure must be in writing, filed with the Bankruptcy Court and served so that they are
 actually received by the Cure Objection Deadline.

                 (c)    Hearing with Respect to Objections. If an objection to the proposed
 assumption and/or to the Cure is timely filed and received in accordance with the procedures set
 forth in Article 8.5(b) of the Plan, and the parties do not reach a consensual resolution of such
 objection, a hearing with respect to such objection shall be held at such time scheduled by the
 Bankruptcy Court or the Debtors or Reorganized Debtors. Objections to the proposed Cure
 Amount or assumption of an Executory Contract or Unexpired Lease will not be treated as
 objections to Confirmation of the Plan.

                 (d)     Reservation of Rights. Notwithstanding anything to the contrary in the
 Plan, prior to the Effective Date, the Debtors, with the reasonable consent of the Supporting
 Second Lien Parties, may amend their decision with respect to the assumption of any Executory
 Contract or Unexpired Lease and provide a new notice amending the information provided in the
 applicable notice, subject to the Assumption and Rejection Procedures, and shall serve such
 notice on the applicable counterparty; provided, that notwithstanding anything to the contrary in
 the Plan, all rights of the Debtors, the Reorganized Debtors, and any counterparty to any
 Executory Contract or Unexpired Lease are reserved with respect to any such amended decision
 or notice. In the case of an Executory Contract or Unexpired Lease designated for assumption
 that is the subject of a Cure Objection which has not been resolved prior to the Effective Date,
 the Debtors, with the reasonable consent of the Supporting Second Lien Parties, may designate
 such Executory Contract or Unexpired Lease for rejection at any time prior to the payment of the
 Cure.

         6.    Contracts, Intercompany Contracts, and Leases Entered into After the
 Petition Date


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       Contracts and leases entered into after the Petition Date by the Debtors, and any
 Executory Contracts and Unexpired Leases assumed by the Debtors, may be performed by the
 Reorganized Debtors in the ordinary course of business and in accordance with the terms of such
 Executory Contract or Unexpired Lease.

        7.      General Reservation of Rights

         Neither the exclusion nor inclusion of any contract or lease on Exhibit 8.1 of the Plan, in
 the Plan Supplement, nor anything contained in the Plan, shall constitute an admission by the
 Debtors that any such contract or lease is in fact an Executory Contract or Unexpired Lease or
 that the Reorganized Debtors, or any of its Affiliates, has any liability thereunder. If there is a
 dispute regarding whether a contract or lease is or was executory or unexpired at the time of
 assumption, the Debtors (with the reasonable consent of the Supporting Second Lien Parties) or
 the Reorganized Debtors, as applicable, shall have 45 days following entry of a Final Order
 resolving such dispute to alter its treatment of such contract or lease.

        8.      Surety Bonds

                 (a)     Notwithstanding anything in the Plan Transaction Documents to the
 contrary, nothing in the Plan Transaction Documents shall discharge, release, impair or
 otherwise diminish any Surety’s valid rights to (1) subrogation under the applicable surety bond
 or indenture agreement or under applicable law or (2) setoff or recoupment to the extent
 permitted under applicable law. To the extent that a Surety pays, has paid or otherwise
 discharges a bonded obligation, in part or in full, a Claim against any of the Debtors which also
 relates to the applicable surety bond or indenture agreement, such Claim shall not be reduced by
 any amount paid by such Surety and such Surety’s subrogation rights shall remain. Any party to
 whose rights a Surety may or has become subrogated, shall also retain their set-off and
 recoupment rights to the extent permitted under applicable law and any such party’s Claim shall
 not be reduced by the amount of any corresponding loss of the Surety.

                 (b)    Nothing in the Plan Transaction Documents shall impair a Surety’s rights
 with respect to any and all letters of credit, proceeds drawn or to be drawn from letters of credit,
 other collateral of a Surety as security for bonded obligations under an existing or new Surety
 Bond, or any security or trust interest of any Surety or any party whose rights a Surety may
 become subrogated.

                (c)    Notwithstanding anything in the Plan Transaction Documents to the
 contrary, including Section 11.14 of the Plan, to the extent the Bankruptcy Court disallows a
 Claim for reimbursement or contribution, all rights of a Surety under section 502(j) of the
 Bankruptcy Code are preserved.

                (d)     Notwithstanding any provision of the Plan Transaction Documents to the
 contrary, any and all rights delineated for XL contained in that certain Notice of Rejection, filed
 with the Bankruptcy Court on October 21, 2016 (Docket No. 1457), shall not be abrogated in any
 manner by the Plan Transaction Documents.

 I.     Procedures for Resolving Disputed Claims and Interests


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        1.      Determination Of Claims and Interests

         After the Effective Date, the Reorganized Debtors shall have and retain any and all rights
 and defenses the Debtors had with respect to any Claim or Interest immediately prior to the
 Effective Date, including the Causes of Action retained pursuant to Article 6.20 of the Plan,
 except with respect to any Claim or Interest deemed Allowed under the Plan or pursuant to an
 order of the Bankruptcy Court.

          Except as expressly provided in the Plan or in any order entered in the Chapter 11 Cases
 prior to the Effective Date (including the Confirmation Order), no Claim or Interest shall become
 an Allowed Claim or Interest unless and until such Claim or Interest is deemed Allowed or the
 Bankruptcy Court has entered a Final Order, including the Confirmation Order, in the Chapter 11
 Cases allowing such Claim or Interest. All settled claims approved prior to the Effective Date
 pursuant to a Final Order of the Bankruptcy Court, pursuant to Bankruptcy Rule 9019 or
 otherwise shall be binding on all parties. For the avoidance of doubt, any Claim determined and
 liquidated pursuant to (a) an order of the Bankruptcy Court or (b) applicable non-bankruptcy law
 (which determination has not been stayed, reversed, or amended and as to which determination
 or any revision, modification, or amendment thereof) the time to appeal or seek review or
 rehearing has expired and as to which no appeal or petition for review or rehearing was filed or,
 if filed, remains pending) shall be deemed an Allowed Claim in such liquidated amount and
 satisfied in accordance with the Plan.

         Nothing contained in Article 9.1 of the Plan shall constitute or be deemed a waiver of any
 claim, right, or Cause of Action that the Debtors or the Reorganized Debtors may have against
 any Entity in connection with or arising out of any Claim, including, without limitation, any
 rights under section 157(b) of title 28 of the United States Code.

        2.      Claims Administration Responsibility

         Except as otherwise specifically provided for in the Plan or the Committee/BOKF Plan
 Settlement Term Sheet, including with respect to the administration of and making distributions
 with respect to General Unsecured Claims in accordance with Article VII of the Plan, after the
 Effective Date, the Reorganized Debtors shall retain responsibility for (a) administering,
 disputing, objecting to, compromising, or otherwise resolving all Claims against, and Interests in,
 the Debtors, including, without limitations, (i) filing, withdrawing, or litigating to judgment
 objections to Claims or Interests, (ii) settling or compromising any Disputed Claim without any
 further notice to or action, order, or approval by the Bankruptcy Court, and (iii) administering
 and adjusting the claims register to reflect any such settlements or compromises without any
 further notice to or action, order, or approval by the Bankruptcy Court, and (b) making
 distributions (if any) with respect to all Claims and Interests.

        3.      Objections to Claims

         Unless otherwise extended by the Bankruptcy Court, any objections to Claims (other than
 Administrative Claims) shall be served and filed on or before the Claims Objection Deadline (or
 such later date as may be established by the Bankruptcy Court upon request of the Reorganized
 Debtors, or the GUC/Litigation Trust Trustee, as applicable, without further notice to parties-in-

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 interest). Notwithstanding any authority to the contrary, an objection to a Claim shall be deemed
 properly served on the Holder of the Claim if the Debtors or the Reorganized Debtors effect
 service in any of the following manners: (a) in accordance with Federal Rule of Civil Procedure
 4, as modified and made applicable by Bankruptcy Rule 7004, (b) to the extent counsel for a
 Holder of a Claim or Interest is unknown, by first class mail, postage prepaid, on the signatory
 on the proof of Claim or other representative identified on the proof of Claim or any attachment
 thereto (or at the last known addresses of such Holders of Claims if no proof of Claim is filed or
 if the Debtors have been notified in writing of a change of address), or (c) by first class mail,
 postage prepaid, on any counsel that has appeared on behalf of the Holder of the Claim in the
 Chapter 11 Cases and has not withdrawn such appearance.

        4.      Disallowance of Claims

         Nothing in the Plan shall in any way alter, impair, or abridge the legal effect of the Bar
 Date Order, or the rights of the Debtors, the Reorganized Debtors, the Creditors’ Committee
 before the Effective Date, the GUC/Litigation Trust Trustee after the Effective Date, or other
 parties-in-interest to object to Claims on the grounds that they are time barred or otherwise
 subject to disallowance or modification.

         All Claims of any Entity from which property is sought by the Debtors under section 542,
 543, 550, or 553 of the Bankruptcy Code or that the Debtors or the Reorganized Debtors allege is
 a transferee of a transfer that is avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549,
 or 724(a) of the Bankruptcy Code shall be disallowed if (a) the Entity, on the one hand, and the
 Debtors or the Reorganized Debtors, on the other hand, agree or the Bankruptcy Court has
 determined by Final Order that such Entity or transferee is liable to turn over any property or
 monies under any of the aforementioned sections of the Bankruptcy Code and (b) such Entity or
 transferee has failed to turn over such property by the date set forth in such agreement or Final
 Order.

        5.      Estimation of Claims

         Before the Effective Date, the Debtors or the Reorganized Debtors, as applicable (but
 solely with the consent of the Supporting Second Lien Parties and the Creditor’s Committee,
 such consent not to be unreasonably withheld), and, after the Effective Date, the GUC/Litigation
 Trust Trustee, may (but is not required to) at any time request that the Bankruptcy Court estimate
 a Disputed Claim pursuant to section 502(c) of the Bankruptcy Code for any purpose permitted
 thereunder, regardless of whether any party previously has objected to such Claim or Interest,
 and the Bankruptcy Court shall retain jurisdiction to estimate any Disputed Claim, including
 during the litigation of any objection to any Disputed Claim or during the pendency of any
 appeal relating to such objection, but without prejudice to the Holder of such Claim’s right to (i)
 object to appropriateness of estimating such Claim (or the requested purpose of such estimation)
 under section 502(c) of the Bankruptcy Code or (ii) request that any such estimation should be
 for the purpose of determining the Allowed amount of such Claim. In the event that the
 Bankruptcy Court has entered a Final Order estimating any contingent or unliquidated Claim for
 the express purpose of determining what amount of such Claim shall be allowed for purposes of
 distributions pursuant to section 502(c), that estimated amount shall, unless otherwise ordered by
 the Bankruptcy Court or agreed between the relevant parties, constitute a maximum limitation on

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 the Allowed amount of such Claim for all purposes under the Plan (including for purposes of
 distributions), and the Reorganized Debtors (or, in the case of General Unsecured Claims, the
 GUC/Litigation Trust Trustee) may, to the extent applicable, elect to pursue any supplemental
 proceedings to object to any ultimate distribution on such Claim. All of the objection,
 estimation, settlement, and resolution procedures set forth in the Plan are cumulative and not
 necessarily exclusive of one another. Disputed Claims may be estimated and subsequently
 compromised, settled, withdrawn, or resolved by any mechanism approved by the Bankruptcy
 Court.

        6.      No Interest on Disputed Claims

         Unless otherwise specifically provided for in the Plan or as otherwise required by section
 506(b) of the Bankruptcy Code, postpetition interest shall not accrue or be paid on Claims or
 Interests, and no Holder of a Claim or Interest shall be entitled to interest accruing on or after the
 Petition Date on any Claim or Interest. Additionally, and without limiting the foregoing, unless
 otherwise specifically provided for in the Plan or as otherwise required by section 506(b) of the
 Bankruptcy Code, interest shall not accrue or be paid on any Disputed Claim in respect of the
 period from the Effective Date to the date a final distribution is made, when and if such Disputed
 Claim becomes an Allowed Claim.

        7.      Amendments to Claims

                 (a)     On or after the Effective Date, except as otherwise provided in the Plan, a
 Claim may not be filed or amended without the authorization of the Bankruptcy Court or the
 Reorganized Debtors, and, to the extent such authorization is not received, any such new or
 amended Claim filed shall be deemed Disallowed in full and expunged without any further
 notice to or action, order, or approval of the Bankruptcy Court.

                 (b)   Notwithstanding anything to the contrary contained in the Plan, the SEC
 may amend any timely filed claim within 120 days following the Effective Date to the extent
 permitted under applicable law without the need to seek prior authorization of the Bankruptcy
 Court, the Debtors, or the Reorganized Debtors. After such date the provisions of Article 9.7(a)
 of the Plan shall apply to the SEC’s Claims. For the avoidance of doubt, nothing in the
 immediately preceding sentence shall waive, release, modify or abrogate the Debtors’ rights to
 object to the allowance of any Claim filed by the SEC or any amendment of any Claim filed by
 the SEC on any grounds under applicable law.

 J.     Provisions Governing Distributions

        1.      Distributions of GUC/Litigation Trust Interests to Holders of Second Lien
                Claims and General Unsecured Claims

        The provisions of Article X of the Plan shall not apply to distributions from the
 GUC/Litigation Trust to Holders of Second Lien Claims and General Unsecured Claims.
 Distributions from the GUC/Litigation Trust to Holders of such Allowed Claims shall be
 administered in accordance with and subject to, as applicable, the terms of the GUC/Litigation
 Trust Agreement and Article IV and VII of the Plan.


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        2.      Time of Distributions

         Except as otherwise provided for in the Plan or ordered by the Bankruptcy Court,
 distributions under the Plan shall be made on the later of (a) the Distribution Date or (b) on the
 first Periodic Distribution Date that is at least 30 days after a Claim becomes Allowed; provided,
 however, that the Reorganized Debtors may, in their sole discretion, make one-time distributions
 on a date that is not a Periodic Distribution Date.

        3.      Distribution Agent

         The Distribution Agent shall make all distributions required under the Plan except (a) as
 set forth in Article 10.5 of the Plan and (b) with respect to any Holder of a Claim whose Claim is
 governed by an agreement and is administered by a Servicer, which distributions shall be
 deposited with the appropriate Servicer, as applicable, who shall deliver such distributions to the
 Holders of Claims in accordance with the provisions of the Plan and the terms of any governing
 agreement.

        4.      Currency

        Except as otherwise provided in the Plan or Bankruptcy Court order, as of the Effective
 Date, any Claim asserted in currency other than U.S. dollars shall be automatically deemed
 converted to the equivalent U.S. dollar value using the exchange rate as of Effective Date at 4:00
 p.m. prevailing Eastern Time, mid-range spot rate of exchange for the applicable currency as
 published in the next The Wall Street Journal, National Edition following the Effective Date.

        5.      Distributions on Account of Claims Allowed as of the Effective Date

                 (a)     Delivery of Distributions in General. Except as otherwise provided in the
 Plan, a Final Order, or as otherwise agreed to by the relevant parties, the Distribution Agent shall
 make initial distributions under the Plan on account of Allowed Claims on the Initial Distribution
 Date, subject to the Reorganized Debtors’ rights to object to Claims that have not been Allowed;
 provided, however, that (i) Allowed Administrative Claims with respect to liabilities incurred by
 the Debtors in the ordinary course of business during the Chapter 11 Cases or assumed by the
 Debtors prior to the Effective Date shall be paid or performed in the ordinary course of business
 in accordance with the terms and conditions of any controlling agreements, course of dealing,
 course of business, or industry practice, and (ii) Allowed Priority Tax Claims shall be paid in full
 in Cash on the Distribution Date or in installment payments over a period not more than five
 years after the Petition Date pursuant to section 1129(a)(c) of the Bankruptcy Code. To the
 extent any Allowed Priority Tax Claim is not due and owing on the Effective Date, such Claim
 shall be paid in full in Cash in accordance with the terms of any agreement between the Debtors
 and the Holder of such Claim, or as may be due and payable under applicable non-bankruptcy
 law or in the ordinary course of business.

                (b)   Delivery of Distributions to Servicers. In the case of a Holder of Claims
 whose Claims are governed by an agreement and administered by a Servicer, the respective
 Servicer shall be deemed to be the Holder of such Claims for purposes of distributions to be
 made under the Plan; provided, however, that non-Cash consideration shall not be distributed in
 the name of a Servicer. The Distribution Agent shall make all distributions on account of such
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 Claims to the Servicers or as directed by the Servicers, in the Servicers’ sole discretion. The
 Servicers shall hold or direct such distributions for the benefit of Holders of such Allowed
 Claims, as applicable; provided, however, that the Servicer shall retain all rights under its
 respective agreement in connection with delivery of distributions to Claim Holders (including the
 right to deliver distributions subject to any charging lien under such agreement); and provided
 further, however, that the Debtors’ obligations to make distributions in accordance with Article
 X of the Plan shall be deemed satisfied upon delivery of distributions to each Servicer or the
 entity or entities designated by the Servicers. Nothing in the Plan shall be deemed to impair,
 waive, or extinguish any right of any Servicer with respect to its Charging Lien against
 applicable Plan Distributions. For the avoidance of doubt, the Second Lien Senior Notes
 Indenture Trustee shall have no duty to make any distributions that are not DTC eligible.

                  (c)     Fees and Expenses of Servicers. The Reorganized Debtors shall
 reimburse in Cash any Servicer for reasonable and necessary services that the Reorganized
 Debtors expressly request such Servicer to perform (including reasonable attorneys’ fees and
 documented out-of-pocket expenses) in connection with the making of distributions under the
 Plan to Holders of Allowed Claims or the Servicer’s further performance of its duties under the
 Indentures until all such Allowed Claims are paid in full and a Final Decree is entered, without
 the need for the filing of an application with the Bankruptcy Court or approval by the
 Bankruptcy Court. To the extent that there are any disputes that the reviewing parties are unable
 to resolve with the Servicers, the reviewing parties shall report to the Bankruptcy Court as to
 whether there are any unresolved disputes regarding the reasonableness of the Servicers’ (and
 their attorneys’) fees and expenses. Any such unresolved disputes may be submitted to the
 Bankruptcy Court for resolution. For the avoidance of doubt, the disallowance of any disputed
 fees or expenses of any Servicer shall not affect or modify in any way such Servicer’s charging
 lien or other rights to recover such fees and expenses pursuant to its respective agreement.

        6.      Distributions on Account of Claims Allowed After the Effective Date

               (a)     No Distributions Pending Allowance. No payments or distributions shall
 be made with respect to all or any portion of a Disputed Claim unless and until all objections to
 such Disputed Claim have been settled or withdrawn or have been determined by a Final Order
 of the Bankruptcy Court, and the Disputed Claim has become an Allowed Claim. All objections
 to Claims must be filed on or before the Claims Objection Deadline.

                 (b)    Distributions After Allowance. Payments and distributions to each
 respective Holder of a Claim on account of a Disputed Claim, to the extent that it ultimately
 becomes an Allowed Claim, shall be made in accordance with provisions of the Plan that govern
 distributions to such Holder of a Claim. On the first Periodic Distribution Date that is at least 30
 days following the date when a Disputed Claim becomes an Allowed Claim, the Distribution
 Agent shall distribute to the Holder of such Allowed Claim the distribution that such Holder is
 entitled under the Plan as of the Effective Date, without any interest to be paid on account of
 such Claim or Interest unless required under applicable bankruptcy law; provided, however, (i)
 Disputed Claims that are Administrative Claims with respect to liabilities incurred by the
 Debtors in the ordinary course of business during the Chapter 11 Cases or assumed by the
 Debtors on or before the Effective Date that become Allowed after the Effective Date shall be
 paid or performed in the ordinary course of business in accordance with the terms and conditions

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 of any controlling agreements, course of dealing, course of business, or industry practice, and (ii)
 Disputed Claims that are Allowed Priority Tax Claims after the Effective Date shall be paid in
 full in Cash on the Periodic Distribution Date that is at least 30 days after the Disputed Claim
 becomes an Allowed Claim or over a five-year period as provided in section 1129(a)(9)(C) of the
 Bankruptcy Code with annual interest provided by applicable non-bankruptcy law.

                 (c)    Special Rules for Distributions to Holders of Disputed Claims.
 Notwithstanding any provision otherwise in the Plan and except as otherwise agreed by the
 relevant parties no partial payments and no partial distributions shall be made with respect to a
 Disputed Claim until all such disputes in connection with such Disputed Claim have been
 resolved by settlement or Final Order. All distributions made pursuant to the Plan on account of
 a Disputed Claim that is deemed an Allowed Claim by the Bankruptcy Court shall be made
 together with any dividends, payments, or other distributions made on account of, as well as any
 obligations arising from, the distributed property as if such Allowed Claim had been an Allowed
 Claim on the dates distributions were previously made to Holders of Allowed Claims included in
 the applicable Class; provided, however, that no interest shall be paid on account to such
 Allowed Claims unless required under applicable bankruptcy law or the Plan.

        7.      Delivery Of Distributions

                 (a)     Record Date for Distributions. On the Distribution Record Date, the
 claims register shall be closed and the Distribution Agent shall be authorized and entitled to
 recognize only those record Holders listed on the claims register as of the close of business on
 the Distribution Record Date. Notwithstanding the foregoing, if a Claim or Interest is transferred
 less than 20 days before the Distribution Record Date, the Distribution Agent shall make
 distributions to the transferee only to the extent practicable and in any event only if the relevant
 transfer form contains an unconditional and explicit certification and waiver of any objection to
 the transfer by the transferor.

                 (b)      Allowed Claims. Distributions to Holders of Allowed Claims shall be
 made by the Distribution Agent or the appropriate Servicer (i) at the addresses set forth on the
 proofs of claim filed by such Holders of Claims (or at the last known addresses of such Holders
 of Claims if no proof of Claim is filed or if the Debtors have been notified in writing of a change
 of address), (ii) at the addresses set forth in any written notices of address changes delivered to
 the Distribution Agent after the date of any related proof of Claim, (iii) at the addresses reflected
 in the Schedules if no proof of Claim has been filed and the Distribution Agent has not received
 a written notice of a change of address, or (iv) in the case of a Holder of a Claim whose Claim is
 governed by an agreement and administered by a Servicer, at the addresses contained in the
 official records of such Servicer. The Debtors, the Reorganized Debtors, and the Distribution
 Agent, as applicable, shall not incur any liability whatsoever on account of any distributions
 under the Plan.

                (c)    Undeliverable Distributions. If any distribution to a Holder of a Claim is
 returned as undeliverable, no further distributions to such Holder of such Claim shall be made
 unless and until the Distribution Agent or the appropriate Servicer is notified of then-current
 address of such Holder of the Claim, at which time all missed distributions shall be made to such
 Holder of the Claim without interest, dividends, or accruals of any kind on the next Periodic

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 Distribution Date. Amounts in respect of undeliverable distributions shall be returned to the
 Reorganized Debtors until such distributions are claimed.

                 (d)     Reversion. Any distribution under the Plan that is an Unclaimed
 Distribution for a period of six months after such distribution shall be deemed unclaimed
 property under section 347(b) of the Bankruptcy Code and such Unclaimed Distribution shall
 revert to and vest in the Reorganized Debtors free of any restrictions thereon, and to the extent
 such Unclaimed Distribution is New SUNE Common Stock, shall be deemed cancelled. Upon
 vesting, the Claim of any Holder or successor to such Holder with respect to such property shall
 be cancelled, discharged and forever barred, notwithstanding federal or state escheat, abandoned,
 or unclaimed property laws to the contrary. The provisions of the Plan regarding undeliverable
 distributions and Unclaimed Distributions shall apply with equal force to distributions that are
 issued by the Debtors, the Reorganized Debtors, or the Distribution Agent made pursuant to any
 indenture or Certificate (but only with respect to the initial distribution by the Servicer to
 Holders that are entitled to be recognized under the relevant indenture or Certificate and not with
 respect to Entities to whom those recognized Holders distribute), notwithstanding any provision
 in such indenture or Certificate to the contrary and notwithstanding any otherwise applicable
 federal or state escheat, abandoned, or unclaimed property law.

                 (e)     De Minimis Distributions. Notwithstanding any other provision of the
 Plan to the contrary, the Reorganized Debtors, the Distribution Agent, and any Servicer shall not
 be required to make a distribution on account of an Allowed Claim if (i) the aggregate amount of
 all distributions authorized to be made on the Periodic Distribution Date in question is or has a
 value less than $1,000,000; provided that the Reorganized Debtors shall make, or cause to be
 made, a distribution on a Periodic Distribution Date of less than $1,000,000 if the Debtors expect
 that such Periodic Distribution Date shall be the final Periodic Distribution Date; or (ii) the
 amount to be distributed to the specific Holder of the Allowed Claim on the particular Periodic
 Distribution Date does not both (x) constitute a final distribution to such Holder and (y) have a
 value of at least $50.00.

                 (f)     Fractional Distributions. Notwithstanding any other provision of the Plan
 to the contrary, the Reorganized Debtors, the Distribution Agent, and any Servicer shall not be
 required to make partial distributions or distributions of fractional shares of New SUNE
 Common Stock, Continuing TERP Class A Shares, or distributions or payments of fractions of
 dollars. Whenever any payment or distribution of a fractional share of New SUNE Common
 Stock or Continuing TERP Class A Shares under the Plan would otherwise be called for, such
 fraction shall be deemed zero. Whenever any payment of Cash of a fraction of a dollar pursuant
 to the Plan would otherwise be required, the actual payment shall reflect a rounding of such
 fraction to the nearest whole dollar (up or down), with half dollars or less being rounded down.

        8.      Accrual of Dividends and Other Rights

          For purposes of determining the accrual of dividends or other rights after the Effective
 Date, New SUNE Common Stock shall be deemed distributed as of the Effective Date regardless
 of the date on which it is actually issued, dated, authenticated, or distributed; provided, however,
 the Reorganized Debtors shall not pay any such dividends or distribute such other rights, if any,
 until after distributions of New SUNE Common Stock actually take place.

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        9.      Surrender of Securities or Instruments

         As soon as practicable after the Effective Date, each Second Lien Senior Noteholder and
 Convertible Senior Noteholder shall surrender its note(s) to the relevant Indenture Trustee, or in
 the event such note(s) are held in the name of, or by a nominee of, The Depository Trust
 Company, the Reorganized Debtors shall seek the cooperation of The Depository Trust
 Company to provide appropriate instructions to the Indenture Trustees. No distributions under
 the Plan shall be made for or on behalf of such Holder unless and until such note(s) is received
 by the Indenture Trustees or the loss, theft or destruction of such note(s) is established to the
 reasonable satisfaction of the applicable Indenture Trustee, which satisfaction may require such
 Holder to submit (a) a lost instrument affidavit and (b) an indemnity bond holding the Debtors,
 the Reorganized Debtors, and the Indenture Trustees, harmless in respect of such note and
 distributions made thereof. Upon compliance with Article 10.9 of the Plan by a Second Lien
 Senior Noteholder or Convertible Senior Noteholder, such Holder shall, for all purposes under
 the Plan, be deemed to have surrendered such Claim. Any Holder that fails to surrender such
 Second Lien Senior Note or Convertible Senior Note or satisfactorily explain its non-availability
 to the applicable Indenture Trustee within one (1) year of the Effective Date shall be deemed to
 have no further Claim against the Debtors, the Reorganized Debtors (or their property), or the
 Indenture Trustees in respect of such Claim and shall not participate in any distribution under the
 Plan. All property in respect of such forfeited distributions, including interest thereon, shall be
 promptly returned to the Reorganized Debtors by the applicable Indenture Trustee, and any such
 security shall be cancelled. Notwithstanding the foregoing, if the record Holder of a Second
 Lien Senior Noteholder or a Convertible Senior Noteholder is DTC or its nominee or such other
 securities depository or custodian thereof, or if a Second Lien Senior Notes Claim or a
 Convertible Senior Notes Claim is held in book-entry or electronic form pursuant to a global
 security held by DTC or such other securities depository or custodian thereof, then the beneficial
 Holder of such an Allowed Second Lien Senior Notes Claim or Allowed Convertible Senior
 Notes Claim shall be deemed to have surrendered such Holder’s security, note, debenture or
 other evidence of indebtedness upon surrender of such global security by DTC or such other
 securities depository or custodian thereof. Notwithstanding the foregoing, the Holders of the
 2020 Exchangeable Notes shall not be required to surrender such 2020 Exchangeable Notes.

        10.     Compliance Matters

         In connection with the Plan and all instruments issued in connection therewith and
 distributions thereunder, to the extent applicable, the Debtors, Reorganized Debtors, and the
 Distribution Agent shall comply with all tax withholding and reporting requirements imposed on
 them by any Governmental Unit, and all distributions pursuant to the Plan shall be subject to
 such withholding and reporting requirements. Notwithstanding any provision in the Plan to the
 contrary, the Reorganized Debtors and the Distribution Agent shall be authorized to take all
 actions necessary or appropriate to comply with such withholding and reporting requirements,
 including liquidating a portion of the distribution to be made under the Plan to generate sufficient
 funds to pay applicable withholding taxes, withholding distributions pending receipt of
 information necessary to facilitate such distributions, or establishing any other mechanisms they
 believe are reasonable and appropriate. The Reorganized Debtors reserve the right to allocate all
 distributions made under the Plan in compliance with all applicable wage garnishments, alimony,
 child support, and other spousal awards, Liens, and encumbrances.

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        For the avoidance of doubt, the Debtors and Reorganized Debtors shall comply with
 applicable non-bankruptcy law relating to document preservation obligations in connection with
 ongoing litigation.

        11.     Claims Paid or Payable by Third Parties

                 (a)   Claims Paid by Third Parties. The Claims and Solicitation Agent shall
 reduce in full a Claim to the extent that the Holder of such Claim receives payment in full on
 account of such Claim from a party that is not the Debtors or the Reorganized Debtors. To the
 extent a Holder of a Claim receives a distribution on account of such Claim and receives
 payment from a party that is not the Debtors or the Reorganized Debtors on account of such
 Claim, such Holder shall, within two weeks of receipt thereof, repay or return the distribution to
 the Reorganized Debtors, to the extent the Holder’s total recovery on account of such Claim
 from the third party and under the Plan exceeds the amount of such Claim as of the date of any
 such distribution under the Plan.

                 (b)    Claims Payable by Insurers. No distributions under the Plan shall be
 made on account of an Allowed Claim that is payable pursuant to one of the Debtors’ insurance
 policies until the Holder of such Allowed Claim has exhausted all remedies with respect to such
 insurance policy. To the extent that one or more of the Debtors’ insurers agrees to satisfy a
 Claim or otherwise settle an insured Claim, then immediately upon such insurers’ payment, the
 applicable portion of such Claim may be expunged without a Claim objection having to be filed
 and without any further notice to or action, order, or approval of the Bankruptcy Court.

                 (c)    Applicability of Insurance Contracts. Except as otherwise provided in the
 Plan, distributions to Holders of Allowed Claims shall be in accordance with the provisions of
 any applicable Insurance Contracts. Nothing contained in the Plan shall constitute or be deemed
 a waiver of any Cause of Action that the Debtors or any Entity may hold against any other
 Entity, including insurers under any of the Insurance Contracts, nor shall anything contained in
 the Plan constitute or be deemed a waiver by such insurers of any defenses, including coverage
 defenses, held by such insurers.

        12.     Setoffs

          Except as otherwise expressly provided for in the Plan and except with respect to any
 Original DIP Facility Claims, Replacement DIP Facility Claims, Second Lien Claim, Convertible
 Senior Notes Claim, and any distribution on account thereof, the Reorganized Debtors pursuant
 to the Bankruptcy Code (including section 553 of the Bankruptcy Code), applicable non-
 bankruptcy law, or as may be agreed to by the Holder of a Claim, may set off against any
 Allowed Claim and the distributions to be made pursuant to the Plan on account of such Allowed
 Claim (before any distribution is made on account of such Allowed Claim), any Claims, rights,
 and Causes of Action of any nature that the Debtors or the Reorganized Debtors, as applicable,
 may hold against the Holder of such Allowed Claim, to the extent such Claims, rights, or Causes
 of Action against such Holder have not been otherwise compromised or settled on or prior to the
 Effective Date (whether pursuant to the Plan or otherwise); provided, however, that neither the
 failure to effect such a setoff nor the allowance of any Claim pursuant to the Plan shall constitute
 a waiver or release by the Reorganized Debtors of any such Claims, rights, and Causes of Action

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 that the Reorganized Debtors may possess against such Holder. In no event shall any Holder of
 Claims be entitled to set off any Claim against any Claim, right, or Cause of Action of the
 Debtors or the Reorganized Debtors, as applicable, unless such Holder has filed a motion with
 the Bankruptcy Court requesting the authority to perform such setoff on or before the
 Confirmation Date, and notwithstanding any indication in any proof of Claim or otherwise that
 such Holder asserts, has, or intends to preserve any right of setoff pursuant to section 553 or
 otherwise.

        13.     Allocation of Plan Distributions Between Principal and Interest

         To the extent that any Allowed Claim entitled to a distribution under the Plan is
 composed of indebtedness and accrued but unpaid interest thereon, such distribution shall, to the
 extent permitted by applicable law, be allocated for federal income tax purposes to the principal
 amount of the Claim first and then, to the extent the consideration exceeds the principal amount
 of the Claim, to the portion of such Claim representing accrued but unpaid interest.

 K.     Effect of the Plan on Claims and Interests

        1.      Vesting of Assets

         Except as otherwise explicitly provided in the Plan, on the Effective Date, all property
 comprising the Estates (including Causes of Action, but excluding the GUC/Litigation Trust
 Assets and property that has been abandoned pursuant to an order of the Bankruptcy Court) shall
 vest in the Reorganized Debtors which, unless otherwise indicated in the Plan, as Debtors,
 owned such property or interest in property as of the Effective Date, free and clear of all Claims,
 Liens, charges, encumbrances, rights, and Interests. As of and following the Effective Date, the
 Reorganized Debtors may operate its business and use, acquire, and dispose of property (subject
 to applicable law) and settle and compromise Claims, Interests, or Causes of Action without
 supervision of the Bankruptcy Court, free of any restrictions of the Bankruptcy Code or
 Bankruptcy Rules, other than those restrictions expressly imposed by the Plan or the
 Confirmation Order.

        2.      Discharge of the Debtors

        Except as otherwise specifically provided in section 1141(d) of the Bankruptcy Code,
 the Plan, or the Confirmation Order, and effective as of the Confirmation Date: (a) the
 distributions and rights that are provided in the Plan, if any, and the treatment of all
 Claims and Interests shall be in exchange for and in complete satisfaction, discharge, and
 release of all Claims and Causes of Action, whether known or unknown, including any
 interest accrued on such Claims from and after the Petition Date, against, liabilities of,
 Liens on, obligations of, rights against, and Interests in the Debtors or any of its assets or
 properties, regardless of whether any property shall have been distributed or retained
 pursuant to the Plan on account of such Claims, rights, and Interests, including, but not
 limited to, Claims and Interests that arose before the Effective Date and all debts of the
 kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case
 whether or not (i) a proof of claim or interest based upon such Claim, debt, right, or
 Interest is filed or deemed filed under section 501 of the Bankruptcy Code, (ii) a Claim or

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 Interest based upon such Claim, debt, right, or Interest is allowed under section 502 of the
 Bankruptcy Code, or (iii) the Holder of such a Claim, right, or Interest accepted the Plan;
 (b) the Plan shall bind all Holders of Claims and Interests notwithstanding whether any
 such Holders failed to vote to accept or reject the Plan or voted to reject the Plan; (c) all
 Claims and Interests shall be satisfied, discharged, and released in full, and the Debtors’
 liability with respect thereto shall be extinguished completely, including any liability of the
 kind specified under section 502(g) of the Bankruptcy Code; and (d) all Entities shall be
 precluded from asserting against the Debtors, the Estates, the Reorganized Debtors, their
 successors and assigns, and their assets and properties any other Claims or Interests based
 upon any documents, instruments, or any act or omission, transaction, or other activity of
 any kind or nature that occurred prior to the Effective Date. The Confirmation Order
 shall be a judicial determination of the discharge of all Claims against and Interests in the
 Debtors, subject to the occurrence of the Effective Date.

       3.      Discharge of Liabilities Related to General Unsecured Claims and
 Convertible Senior Notes Claims

        The transfer to, vesting in, and assumption by the GUC/Litigation Trust of the
 GUC/Litigation Trust Assets as contemplated by the Plan, among other things, shall
 discharge the Debtors, the Reorganized Debtors, and their representatives for and in
 respect of all General Unsecured Claims and Convertible Senior Notes Claims.

        4.      Compromises and Settlements

         The Plan is intended to incorporate the agreements reached in the GUC/Litigation Trust
 Agreement and the settlement regarding the UCC Challenge Litigation and the BOKF Objection
 set forth in the Committee/BOKF Plan Settlement Term Sheet. In accordance with Article 9.2 of
 the Plan, pursuant to Bankruptcy Rule 9019(a), the Debtors may compromise and settle various
 (a) Claims or Interests and (b) Causes of Action that the Debtors have against other Entities up to
 and including the Effective Date. After the Effective Date, any such right shall pass to the
 Reorganized Debtors and/or the GUC/Litigation Trust, pursuant to the terms of the
 GUC/Litigation Trust Agreement, and as contemplated in Article 11.1 of the Plan, without the
 need for further approval of the Bankruptcy Court. Pursuant to section 363 of the Bankruptcy
 Code and Bankruptcy Rule 9019 and in consideration for the distributions and other benefits
 provided pursuant to the Plan or any distribution to be made on account of an Allowed Claim,
 the provisions of the Plan shall constitute a good faith compromise of all Claims, Interests, and
 controversies relating to the contractual, legal, and subordination rights that a Holder of a Claim
 or Interest may have with respect to any Allowed Claim or Allowed Interest. The entry of the
 Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise or
 settlement of all such Claims, Interests and controversies, as well as a finding by the Bankruptcy
 Court that any such compromise or settlement is in the best interests of the Debtors, its Estate,
 and Holders of Claims and Interests, and is fair, equitable, and reasonable.

        5.      Release by Debtors

        Under the Plan, the Debtors will be releasing certain parties, including current
 Directors and Officers, which is consistent with the terms of the D&O Settlement

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 Agreement, pursuant to which approximately $32 million is expected to be paid to
 SunEdison by D&O Insurance and subsequently transferred to the GUC/Litigation Trust
 for distribution to unsecured creditors in accordance with the terms of the
 Committee/BOKF Plan Settlement. The Debtors are not releasing former Directors and
 Officers under the Plan. As set forth below, the Debtors are not releasing any of the
 Released Parties for claims or liabilities arising out of actions that constitute fraud, willful
 misconduct, or gross negligence.

         Pursuant to section 1123(b) of the Bankruptcy Code, as of the Effective Date, the
 Debtors and their Estates, the Reorganized Debtors, and each of their respective current
 and former Affiliates (with respect to non-Debtors, to the extent permitted by applicable
 law) shall be deemed to have conclusively, absolutely, unconditionally, irrevocably, and
 forever released, waived and discharged the Released Parties from any and all Claims,
 Interests, obligations, rights, suits, damages, Causes of Action, remedies, and liabilities
 whatsoever (including any derivative Claims asserted on behalf of the Debtors), whether
 known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity,
 or otherwise, that such Entity would have been legally entitled to assert (whether
 individually or collectively), based on or in any way relating to, or in any manner arising
 from, in whole or in part, the Debtors, the Debtors’ restructuring, the Chapter 11 Cases,
 the Original DIP Facility, the Replacement DIP Facility, the purchase, sale, or rescission of
 the purchase or sale of any security of the Debtors or the Reorganized Debtors, including
 (without limitation) any tender rights provided under any applicable law, rule, or
 regulation, the subject matter of, or the transactions or events giving rise to, any Claim or
 Interest that is treated in the Plan, the restructuring of Claims and Interests prior to or in
 the Chapter 11 Cases, the negotiation, formulation, or preparation of the Plan, the
 Disclosure Statement, the Plan Supplement, the Rights Offering, the GUC/Litigation Trust
 Agreement, or related agreements, instruments, or other documents, upon any other act or
 omission, transaction, agreement, event, or other occurrence taking place on or before the
 Effective Date of the Plan, other than Claims or liabilities arising out of or relating to any
 act or omission of a Released Party that constitutes fraud, willful misconduct, or gross
 negligence. Notwithstanding anything to the contrary in the foregoing, the release set forth
 above (t) does not release the Debtor Professionals to the extent that potential claims
 against such parties are identified as GUC/Litigation Trust Causes of Action, with the
 identification of such claims to be reasonably agreed to by the Debtors (after consulting
 with the Supporting Second Lien Parties) and the Creditors’ Committee; provided, that
 any disagreement regarding whether a particular claim should be identified as a
 GUC/Litigation Trust Cause of Action shall be decided by the Bankruptcy Court, (u) does
 not release any post-Effective Date obligations of any party under the Plan or any
 document, instrument, or agreement (including those set forth in the Plan Supplement)
 executed to implement the Plan, (v) does not release, waive, address, or otherwise impact
 the (i) releases given as contemplated in the D&O Settlement Agreement or (ii) the various
 matters that are carved-out and preserved in the D&O Settlement Agreement, (w) shall not
 impair any defenses the Debtors may have with regard to any alleged indemnification
 obligation that the Debtors may have to any party, (x) shall not release any claims by any
 non-Debtor Affiliate of the Debtors arising in the ordinary course of business (i.e., ordinary
 course trade claims), (y) shall not release any claims against any non-Debtor Affiliate of the
 Debtors held by the Debtors that is necessary to effectuate the transactions contemplated
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 by the Plan (including, without limitation, any claims to collect proceeds from Earnout
 Assets, Repatriated Cash, Residual Assets, etc.), and (z) is subject to section 1125(e) of the
 Bankruptcy Code to the extent applicable.

        6.     Release by Holders of Claims

         As of the Effective Date, subject to Article 11.8, the Releasing Parties shall be
 deemed to have conclusively, absolutely, unconditionally, irrevocably, and forever released,
 waived and discharged the Debtors, the Reorganized Debtors, their Estates, non-Debtor
 Affiliates, and the Released Parties from any and all Claims, Interests, obligations, rights,
 suits, damages, Causes of Action, remedies, and liabilities whatsoever, including any
 derivative Claims asserted or capable of being asserted on behalf of the Debtors, whether
 known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity,
 or otherwise, that such Entity would have been legally entitled to assert (whether
 individually or collectively), based on or in any way relating to, or in any manner arising
 from, in whole or in part, the Debtors, the Debtors’ restructuring, the Chapter 11 Cases,
 the Original DIP Facility, the Replacement DIP Facility, the purchase, sale, or rescission of
 the purchase or sale of any security of the Debtors or the Reorganized Debtors, including
 (without limitation) any tender rights provided under any applicable law, rule, or
 regulation, the subject matter of, or the transactions or events giving rise to, any Claim or
 Interest that is treated in the Plan, the restructuring of Claims and Interests prior to or in
 the Chapter 11 Cases, the negotiation, formulation, or preparation of the Plan, the
 Disclosure Statement, the Plan Supplement, the Rights Offering, the GUC/Litigation Trust
 Agreement, or related agreements, instruments, or other documents, upon any other act or
 omission, transaction, agreement, event, or other occurrence taking place on or before the
 Effective Date of the Plan, other than Claims or liabilities arising out of or relating to any
 act or omission of a Released Party that constitutes fraud, willful misconduct, or gross
 negligence. Notwithstanding anything to the contrary in the foregoing, the release set forth
 above does not release (i) any post-Effective Date obligations of any party under the Plan
 or any document, instrument, or agreement (including those set forth in the Plan
 Supplement) executed to implement the Plan or (ii) any cause of action held by a
 governmental entity against any non-Debtor existing as of the Effective Date based on
 Sections 1104-1109, 1161-1169, and 1342(d) of the Employee Retirement Income Security
 Act. Notwithstanding the foregoing, nothing in the Plan shall release any claims against
 any non-Debtor Affiliate of the Debtors arising in the ordinary course of business (i.e.,
 ordinary course trade claims).

        The Debtors will request at the Confirmation Hearing that Releasing Parties will
 include, among others, to the fullest extent permitted by law, all Holders of Claims entitled
 to vote for or against the Plan that do not vote to reject the Plan. Under the Plan, Holders
 of Interests in SUNE will be deemed to reject. Accordingly, such Holders of Interests will
 not be entitled to vote on the Plan and will not be “Releasing Parties” as that term is
 defined in the Plan.

        7.     Exculpation and Limitation of Liability



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        To the extent permitted by section 1125(e) of the Bankruptcy Code, and subject to
 Article 11.8 of the Plan, the Exculpated Parties shall neither have, nor incur any liability to
 any Entity for any Exculpated Claim; provided, however, that the foregoing “exculpation”
 shall have no effect on the liability of any Entity that results from any such act or omission
 that is determined in a Final Order to have constituted gross negligence, willful
 misconduct, or intentional fraud to the extent imposed by applicable non-bankruptcy law.

        The Exculpated Parties have, and upon Confirmation shall be deemed to have,
 participated in good faith and in compliance with the applicable provisions of the
 Bankruptcy Code, including with regard to the distributions of the New SUNE Common
 Stock and Continuing TERP Class A Shares, as applicable, pursuant to the Plan and,
 therefore, are not and shall not be liable at any time for the violations of any applicable,
 law, rule, or regulation governing the solicitation of acceptances or rejections of the Plan or
 such distributions made pursuant to the Plan.

         Notwithstanding anything to the contrary contained in the Plan, subject to Article
 11.8 of the Plan, the YieldCos and their respective former and current partners, agents,
 officers, directors, employees, representatives, attorneys and advisors (who served in such
 roles after the Petition Date) shall neither have, nor incur any liability to any Entity for any
 Exculpated Claim; provided, however, that the foregoing exculpation shall have no effect
 on the liability of any Entity that results from any such act or omission that is determined
 in a Final Order to have constituted gross negligence, willful misconduct, or intentional
 fraud to the extent imposed by applicable non-bankruptcy law.

        Nothing in this Article shall limit the liability of any Person or Entity (other than the
 Debtors) for any pre- or postpetition action taken or omitted to be taken by them as a
 fiduciary, co-fiduciary, party in interest or knowing participant in violation of ERISA with
 respect to any ERISA-covered employee benefit plan sponsored by the Debtors.

        8.      Exclusions and Limitations on Exculpation, Indemnification, and Releases

         Notwithstanding anything in the Plan to the contrary, no provision of the Plan or the
 Confirmation Order, including, without limitation, any exculpation, indemnification, or release
 provision, shall modify, release, or otherwise limit the liability of any Entity not specifically
 released or exculpated under the Plan or pursuant to an order of the Bankruptcy Court, including,
 without limitation, any Entity who is a co-obligor or joint tortfeasor of a Released Party or who
 is otherwise liable under theories of vicarious or other derivative liability. In the event that any
 exculpation or release provision in the Plan conflicts with Section 4 of a YieldCo Settlement
 Agreements, Section 4 of such YieldCo Settlement Agreement shall govern with respect to the
 applicable YieldCo.

         Notwithstanding any provision to the contrary, no provision of the Disclosure Statement,
 Plan, or Confirmation Order shall preclude the United States, its agencies, departments or agents
 (collectively, the “United States”) from enforcing its police or regulatory powers.

        Notwithstanding anything contained in the Plan, Disclosure Statement or Confirmation
 Order to the contrary, nothing in the Plan or Confirmation Order shall discharge, release, impair

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 or otherwise preclude: (1) any liability to the United States that is not a “claim” within the
 meaning of section 101(5) of the Bankruptcy Code; (2) any Claim of the United States arising on
 or after the Effective Date; (3) any valid right of setoff or recoupment of the United States
 against any of the Debtors to the extent permitted under applicable law; or (4) any Governmental
 Unit (as defined by section 101(27) of the Bankruptcy Code) from enforcing its police or
 regulatory powers against the Debtors or Reorganized Debtors, including as the owner, lessor,
 lessee or operator of property that such entity owns, operates or leases after the Effective Date.
 Nor shall anything in the Confirmation Order or the Plan enjoin or otherwise bar the United
 States or any Governmental Unit from asserting or enforcing, outside the Bankruptcy Court, any
 matters described in subsection (1) through (4) described in the preceding sentence.

        Nothing in the Confirmation Order or the Plan shall release or exculpate any non-Debtor,
 including any Released Parties, from any liability to the United States, including but not limited
 to any liabilities arising under the Internal Revenue Code, applicable environmental laws, or
 applicable criminal laws, or any legal action or claim brought by the SEC, nor shall anything in
 this Confirmation Order or the Plan enjoin the United States from bringing any claim, suit, action
 or other proceeding against any non-Debtor, including any Released Party for any liability
 whatsoever; provided, however, that the foregoing sentence shall not limit the scope of discharge
 granted to the Debtors under sections 524 and 1141 of the Bankruptcy Code.

          In each case, except as permitted under sections 505, 1129(a)(9)(c), and 1146 of the
 Bankruptcy Code, nothing contained in the Plan or Confirmation Order shall be deemed to
 determine the tax liability of any person or entity, including but not limited to the Debtors and
 the Reorganized Debtors, nor shall the Plan or Confirmation Order be deemed to have
 determined the federal tax treatment of any item, distribution, or entity, including the federal tax
 consequences of the Plan, nor shall anything in the Plan or Confirmation Order be deemed to
 have conferred jurisdiction upon the Bankruptcy Court to make determinations as to federal tax
 liability and federal tax treatment.

        9.      Injunction

        Subject to Article 11.8 of the Plan, the satisfaction, release, and discharge pursuant
 to Article XI of the Plan shall act as an injunction against any Entity commencing or
 continuing any action, employment of process, or act to collect, offset, or recover any
 Claim, Interest, or Cause of Action satisfied, released or to be released, exculpated or to be
 exculpated, including any Exculpated Claim, or discharged under the Plan or pursuant to
 the Confirmation Order to the fullest extent authorized or provided by the Bankruptcy
 Code, including, without limitation, to the extent provided for or authorized by sections 524
 and 1141 thereof.

        10.     Subordination Rights

                (a)    Except as otherwise provided in the Plan, the allowance, classification and
 treatment of all Allowed Claims and the respective distributions and treatments under the Plan
 take into account and conform to the relative priority and rights of the Claims in each Class in
 connection with any contractual (including, without limitation, pursuant to the Replacement
 Intercreditor Annex (as defined in the Replacement DIP Facility Order)), legal and equitable

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 subordination rights relating thereto, whether arising under general principles of equitable
 subordination, section 510(b) of the Bankruptcy Code, or otherwise and all Claims and all rights
 and claims between or among Holders of Claims relating in any manner whatsoever to
 distributions on account of Claims or Interests, based upon any claimed subordination rights,
 whether asserted or unasserted, legal or equitable, shall be deemed satisfied by the distributions
 under the Plan to Holders of Claims having such subordination rights, and such subordination
 rights shall be deemed waived, released, discharged, and terminated as of the Effective Date.
 Except as otherwise specifically provided for in the Plan, distributions to the various Classes of
 Claims under the Plan shall not be subject to levy, garnishment, attachment, or like legal process
 by any Holder of a Claim by reason of any subordination rights or otherwise, so that each Holder
 of a Claim shall have and receive the benefit of the distributions in the manner set forth in the
 Plan.

                 (b)    Except as otherwise provided in the Plan (including Plan Exhibits), the
 Confirmation Order or an order of the Bankruptcy Court, the right of the Debtors or the
 Reorganized Debtors to seek subordination of any Claim or Interest pursuant to section 510 of
 the Bankruptcy Code is fully reserved, and the treatment afforded any Claim or Interest that
 becomes a subordinated Claim or Interest at any time shall be modified to reflect such
 subordination; provided, however, that the Debtors and the Reorganized Debtors shall not seek
 subordination of any Original DIP Facility Claim, Replacement DIP Facility Claim, or Second
 Lien Claim, and such Claims are Allowed in full and not subject to any subordination of any
 kind. Unless the Plan (including Plan Exhibits) or the Confirmation Order otherwise provide, no
 distributions shall be made on account of a Claim subordinated pursuant to Article 11.10(b) of
 the Plan unless ordered by the Bankruptcy Court.

                 (c)    The Plan shall be deemed compliant with all of the provisions of that
 certain Collateral Trust Agreement, dated January 11, 2016, between and among SunEdison,
 Inc., the guarantors and additional pari passu lien representatives from time to time party thereto,
 the Second Lien Administrative Agent, the Second Lien Senior Notes Indenture Trustee, and the
 Second Lien Collateral Trustee. Upon entry of the Confirmation Order, and provided that
 distributions under the Plan are made in accordance with the Plan and the Confirmation Order,
 no party shall have any further rights to enforce the Collateral Trust Agreement or the provisions
 thereof.

        11.     Protection Against Discriminatory Treatment

         Consistent with section 525 of the Bankruptcy Code and paragraph 2 of Article VI of the
 United States Constitution, no Governmental Unit shall discriminate against the Reorganized
 Debtors or deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise, or
 other similar grant to, condition such a grant to, discriminate with respect to such a grant against,
 the Reorganized Debtors, or another entity with whom such the Reorganized Debtors has been
 associated, solely because the Debtors has been a debtor under chapter 11, has been insolvent
 before the commencement of the Chapter 11 Cases (or during the Chapter 11 Cases but before
 the Debtors is granted or denied a discharge), or has not paid a debt that is dischargeable in the
 Chapter 11 Cases.

        12.     Recoupment

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         In no event shall any Holder of Claims or Interests be entitled to recoup any Claim or
 Interest against any Claim, right, or Cause of Action of the Debtors or the Reorganized Debtors,
 as applicable, unless such Holder actually has performed such recoupment and provided notice
 thereof in writing to the Debtors on or before the Effective Date, notwithstanding any indication
 in any proof of Claim or Interest or otherwise that such Holder asserts, has, or intends to preserve
 any right of recoupment.

        13.     Release of Liens

          Except as otherwise provided in the Plan (including with respect to the Reinstated Second
 Lien Claims) or in any contract, instrument, release, or other agreement or document created
 pursuant to the Plan, on the Effective Date, all mortgages, deeds of trust, Liens, pledges, or other
 security interests against any property of the Estates shall be fully released, and discharged, and
 all of the right, title, and interest of any Holder of such mortgages, deeds of trust, Liens, pledges,
 or other security interests shall revert to the Reorganized Debtors and its successors and assigns.

        14.     Reimbursement or Contribution

        If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an entity
 pursuant to section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is
 contingent as of the Effective Date, such Claim shall be forever Disallowed notwithstanding
 section 502(j) of the Bankruptcy Code, unless prior to the Effective Date (1) such Claim has
 been adjudicated as noncontingent or (2) the relevant Holder of a Claim has filed a
 noncontingent proof of Claim on account of such Claim and a Final Order has been entered
 determining such Claim as no longer contingent.

 L.     Conditions Precedent

        1.      Conditions to Confirmation

       The following are conditions precedent to the Confirmation of the Plan, each of which
 may be satisfied or waived in accordance with Article 12.3 of the Plan:

                (a)     the Bankruptcy Court shall have entered the Disclosure Statement Order;

                (b)     in the TERP Share Election Alternative, the Bankruptcy Court shall have
 entered an Order, in form and substance reasonably satisfactory to the Supporting Second Lien
 Parties, approving the Debtors’ entry into the Equity Commitment Agreement;

                (c)     the Confirmation Order shall have been entered; and

               (d)     the YieldCos shall have withdrawn all General Unsecured Claims against
 the Debtors, subject to the right of TERP to assert up to one-half of the actual amount the
 YieldCos ultimately are required to pay (and therefore have the right to assert as a General
 Unsecured Claim) in connection with the Preserved DE Shaw Unsecured Claim (as defined in
 the YieldCo Settlement Motion), capped at one-half of $231 million, plus fees and interest.

        2.      Conditions to the Effective Date of the Plan

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       The following are conditions precedent to the occurrence of the Effective Date, each of
 which may be satisfied or waived in accordance with Article 12.3 of the Plan:

               (a)      the Bankruptcy Court shall have entered the Disclosure Statement Order,
 and such order shall be a Final Order;

                 (b)    the Bankruptcy Court shall have entered the Confirmation Order, and such
 order shall be a Final Order;

                 (c)    all Plan Transaction Documents shall be in form and substance reasonably
 satisfactory to the Supporting Second Lien Parties and the Creditors’ Committee (as applicable);

                (d)     in the TERP Share Election Alternative, the Rights Offering (and the
 Equity Commitment Agreement) shall have been consummated on terms and conditions
 reasonably satisfactory to the Supporting Second Lien Parties;

                 (e)    the Jointly Supported Transactions shall have closed, the terms and
 conditions of which Jointly Supported Transactions (including, without limitation, purchase
 price) shall be reasonably satisfactory to the Supporting Second Lien Parties; provided, that the
 Jointly Supported Transactions embodied by the YieldCo Settlement Agreements, Voting and
 Support Agreements, and Merger Agreements (in the forms required to be supported by the
 Supporting Second Lien Parties) are deemed to be reasonably satisfactory to the Supporting
 Second Lien Parties;

                 (f)     the organizational documents of the Reorganized Debtors as contemplated
 in the Plan shall be in form and substance reasonably satisfactory to the Supporting Second Lien
 Parties, shall have been adopted and (where required by applicable law) filed with the applicable
 authorities of the relevant jurisdictions of organization and shall have become effective in
 accordance with such jurisdiction’s corporation or limited liability company laws;

                 (g)     all authorizations, consents, certifications, approvals, rulings, no action
 letters, opinions or other documents or actions required by any law, regulation or order to be
 received or to occur in order to implement the Plan on the Effective Date shall have been
 obtained or shall have occurred unless (i) the Supporting Second Lien Parties and, to the extent
 the Creditors’ Committee or Holders of General Unsecured Claims are affected, the Creditors’
 Committee, consent to such failure (such consent not to be unreasonably withheld) and (ii) such
 failure will not have a material adverse effect on the Reorganized Debtors;

                 (h)    each of Reorganized SUNE and the GUC/Litigation Trust shall have been
 established in a manner consistent with the Plan and the Committee/BOKF Plan Settlement Term
 Sheet and on terms and conditions reasonably satisfactory to the Supporting Second Lien Parties
 and, with respect to the GUC/Litigation Trust, the Creditors’ Committee;

               (i)    the New Boards and senior management shall have been selected as
 contemplated by the Plan;

                (j)    all other documents and agreements necessary to implement the Plan on
 the Effective Date shall have been executed and delivered and all other actions required to be

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 taken in connection with the Effective Date shall have occurred in form and substance and in a
 manner reasonably satisfactory to the Supporting Second Lien Parties and the Creditors’
 Committee (as applicable);

                 (k)     the amount of the Voluntary Professional Fee Reduction shall be equal to
 at least $5 million; and

                (l)    all statutory fees and obligations then due and payable to the Office of the
 United States Trustee shall have been paid and satisfied in full.

        3.      Waiver of Conditions Precedent

         The conditions set forth in Articles 12.1 and 12.2 of the Plan may be waived, in whole or
 in part, by agreement of (a) the Debtors and (b) the Supporting Second Lien Parties and (c)
 solely to the extent the Creditors’ Committee has a consent right with respect to the conditions
 set forth in Articles 12.2(c) and 12.2(g), the Creditors’ Committee, without any notice to any
 other parties-in-interest or the Bankruptcy Court and without a hearing.

        4.      Notice of Effective Date

         The Debtors shall file with the Bankruptcy Court a notice of the occurrence of the
 Effective Date within a reasonable period of time after the conditions in Article 12.2 of the Plan
 have been satisfied or waived pursuant to Article 12.3 of the Plan.

        5.      Effect of Non-Occurrence of Conditions to Consummation

         If prior to consummation of the Plan, the Confirmation Order is vacated pursuant to a
 Final Order, then except as provided in any order of the Bankruptcy Court vacating the
 Confirmation Order, the Plan will be null and void in all respects, and nothing contained in the
 Plan or Disclosure Statement shall (a) constitute a waiver or release of any Claims, Interests, or
 Causes of Action, (b) prejudice in any manner the rights of the Debtors or any other Entity, or (c)
 constitute an admission, acknowledgment, offer, or undertaking of any sort by the Debtors or any
 other Entity.

 M.     Retention of Jurisdiction

         Pursuant to sections 105(a) and 1142 of the Bankruptcy Code, the Bankruptcy Court shall
 have exclusive jurisdiction of all matters arising out of, and related to, the Chapter 11 Cases and
 the Plan, including jurisdiction to:

                 (a)    resolve any matters related to Executory Contracts and Unexpired Leases,
 including: (i) the assumption, assumption and assignment, or rejection of Executory Contracts or
 Unexpired Leases to which the Debtors are a party or with respect to which the Debtors may be
 liable, and to hear and determine the allowance of Claims resulting therefrom including the
 amount of Cure, if any, required to be paid; (ii) any potential contractual obligation under any
 Executory Contract or Unexpired Lease that is assumed; (iii) the Reorganized Debtors’
 amendment, modification, or supplement after the Effective Date, pursuant to Article VIII of the
 Plan, of the lists of Executory Contracts and Unexpired Leases to be assumed or rejected or

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 otherwise; and (iv) any dispute regarding whether a contract or lease is or was executory or
 expired;

                (b)    adjudicate any and all adversary proceedings, applications, and contested
 matters that may be commenced or maintained pursuant to the Chapter 11 Cases, the Plan, or that
 were the subject of proceedings before the Bankruptcy Court prior to the Effective Date,
 proceedings to adjudicate the allowance of Disputed Claims and Disputed Interests, and all
 controversies and issues arising from or relating to any of the foregoing;

                (c)   adjudicate any and all adversary proceedings and contested matters that
 may be commenced and maintained by the GUC/Litigation Trust or any other matters
 concerning administration of the GUC/Litigation Trust or any actions taken or contemplated to
 be taken by the GUC/Litigation Trust;

                 (d)    ensure that distributions to Holders of Allowed Claims are accomplished
 as provided in the Plan and adjudicate any and all disputes arising from or relating to
 distributions under the Plan;

                 (e)      allow in whole or in part, disallow in whole or in part, determine,
 liquidate, classify, estimate, or establish the priority, secured or unsecured status, or amount of
 any Claim or Interest, including hearing and determining any and all objections to the allowance
 or estimation of Claims or Interests filed, both before and after the Confirmation Date, including
 any objections to the classification of any Claim or Interest, and the resolution of request for
 payment of any Administrative Claim;

                (f)    hear and determine or resolve any and all matters related to Causes of
 Action;

               (g)     enter and implement such orders as may be appropriate if the
 Confirmation Order is for any reason stayed, revoked, modified, and/or vacated;

              (h)     issue and implement orders in aid of execution, implementation, or
 consummation of the Plan;

                 (i)    consider any modifications of the Plan, to cure any defect or omission, or
 to reconcile any inconsistency in any order of the Bankruptcy Court, including, without
 limitation, the Confirmation Order;

               (j)     hear and determine all applications for allowance of compensation and
 reimbursement of Professional Claims under the Plan or under sections 330, 331, 503(b), 1103,
 and 1129(a)(4) of the Bankruptcy Code;

               (k)      determine requests for the payment of Claims entitled to priority under
 section 507(a)(1) of the Bankruptcy Code, including compensation and reimbursement of
 expenses of parties entitled thereto;

               (l)    adjudicate, decide, or resolve any and all matters related to section 1141 of
 the Bankruptcy Code;

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                (m)     hear and determine disputes arising in connection with the interpretation,
 implementation, or enforcement of the Plan or the Confirmation Order, including disputes arising
 under agreements, documents, or instruments executed in connection with the Plan and disputes
 arising in connection with any Entity’s obligations incurred in connection with the Plan;

               (n)    hear and determine all suits or adversary proceedings to recover assets of
 the Debtors and property of their Estates, wherever located;

                 (o)    hear and determine matters concerning state, local, and federal taxes in
 accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including, without
 limitation, with respect to requests under section 505(b) of the Bankruptcy Code with respect to
 Tax Returns filed by, or on behalf of, the GUC/Litigation Trust, or any reserve for or other
 amounts allocable to Disputed Claims, for all taxable periods through the dissolution of the
 GUC/Litigation Trust);

                (p)     resolve any matters relating to the pre- and post-confirmation sales of the
 Debtors’ assets;

                (q)     hear any other matter not inconsistent with the Bankruptcy Code;

                (r)    hear and determine all disputes involving the existence, nature or scope of
 the Debtors’ discharge;

                (s)     enter a Final Decree closing the Chapter 11 Cases;

                (t)     enforce all orders previously entered by the Bankruptcy Court;

               (u)      hear and determine all matters relating to any Bankruptcy Code section
 510(b) Claims;

                (v)    hear and determine all disputes and issues arising from the GUC/Litigation
 Trust, the GUC/Litigation Trust Agreement, the assets and Causes of Action granted and/or
 assigned to the GUC/Litigation Trust, and any other related matters in connection therewith
 (including any items set forth in the Committee/BOKF Plan Settlement Term Sheet);

               (w)    hear and determine all disputes regarding the out-of-pocket costs and
 expenses of the Debtors and Reorganized Debtors in connection with cooperating with the
 GUC/Litigation Trust Trustee with respect to GUC/Litigation Trust Causes of Actions.

         All of the foregoing applies following the Effective Date; provided, that from the
 Confirmation Date through the Effective Date, in addition to the foregoing, the Bankruptcy
 Court shall retain jurisdiction with respect to all other matters of the Plan that were subject to its
 jurisdiction prior to the Confirmation Date; provided, further, that the Bankruptcy Court shall not
 have nor retain exclusive jurisdiction over any post-Effective Date agreement. Nothing
 contained in the Plan shall be construed to increase, decrease or otherwise modify the
 independence, sovereignty or jurisdiction of the Bankruptcy Court.



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 N.     Miscellaneous Provisions

        1.      Binding Effect

        Upon the Effective Date, the Plan shall be binding upon and inure to the benefit of the
 Debtors, the Reorganized Debtors, all current and former Holders of Claims, all current and
 former Holders of Interests, and all other parties-in-interest and their respective heirs, successors,
 and assigns.

        2.      Payment of Statutory Fees

        All fees payable pursuant to section 1930 of title 28 of the United States Code, as of the
 entry of the Confirmation Order as determined by the Bankruptcy Court at the Confirmation
 Hearing, shall be paid on the Effective Date. The Reorganized Debtors shall continue to pay fees
 pursuant to section 1930 of title 28 of the United States Code until the Chapter 11 Cases are
 closed by entry of the Final Decree.

        3.      Payment of Certain Additional Professional Fees

         To the extent not paid prior to the Effective Date, on the Effective Date, subject to the
 Voluntary Professional Fee Reduction, the Reorganized Debtors shall pay all obligations
 required to be paid under paragraph 2(a) of the Original DIP Facility Order or under paragraph
 2(a) of the Replacement DIP Facility Order, in each case, in Cash until such obligations are
 satisfied in full.

        4.      Payment of Fees of Second Lien Senior Notes Indenture Trustee and
                Second Lien Collateral Trustee.

        To the extent not paid prior to the Effective Date, on the Effective Date, subject to the
 Voluntary Professional Fee Reduction, the Reorganized Debtors shall pay in Cash all reasonable
 and documented unpaid fees and expenses of the Second Lien Senior Notes Indenture Trustee
 and the Second Lien Collateral Trustee and its advisors, including counsel, without application to
 or approval of the Bankruptcy Court.

        5.      Modification and Amendments

         The Debtors, with the consent of (x) the Supporting Second Lien Parties and, (y) with
 respect to those portions of the Plan that affect the Creditors’ Committee or any Holder of
 General Unsecured Claims, the Creditors’ Committee (in each case, such consent not to be
 unreasonably withheld or delayed), may alter, amend, or modify the Plan under section 1127(a)
 of the Bankruptcy Code at any time prior to the Confirmation Date. After the Confirmation Date
 and prior to substantial consummation of the Plan as defined in section 1101(2) of the
 Bankruptcy Code, the Debtors may, with the consent of (a) the Supporting Second Lien Parties
 and, (b) with respect to those portions of the Plan that affect the Creditors’ Committee or any
 Holder of General Unsecured Claims, the Creditors’ Committee (in each case, such consent not
 to be unreasonably withheld or delayed), under section 1127(b) of the Bankruptcy Code, institute
 proceedings in the Bankruptcy Court to remedy any defect or omission or reconcile any
 inconsistencies in the Plan, the Disclosure Statement, or the Confirmation Order, and such

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 matters as may be necessary to carry out the purposes and effects of the Plan. For the avoidance
 of doubt, nothing in the Plan is intended to negate or override any consent requirements
 (including any applicable consent thresholds) set forth in the Replacement DIP Credit Agreement
 or the Replacement DIP Facility Order or the Committee/BOKF Plan Settlement Term Sheet.

        6.      Confirmation of the Plan

         The Debtors request Confirmation of the Plan under section 1129(b) of the Bankruptcy
 Code with respect to any Impaired Class that does not accept the Plan pursuant to section 1126
 of the Bankruptcy Code. The Debtors reserve the right to amend the Plan, with the reasonable
 consent of the Supporting Second Lien Parties and, with respect to those portions of the Plan that
 affect the Creditors’ Committee or any Holder of General Unsecured Claims, the Creditors’
 Committee, to any extent, if any, that Confirmation pursuant to section 1129(b) of the
 Bankruptcy Code requires modification.

        7.      Additional Documents

         On or before the Effective Date, the Debtors, with the reasonable consent of the
 Supporting Second Lien Parties and, to the extent affecting the Creditors’ Committee or any
 Holder of General Unsecured Claims, the Creditors’ Committee, may file with the Bankruptcy
 Court such agreements or other documents as may be necessary or appropriate to effectuate and
 further evidence the terms and conditions of the Plan. The Debtors (with the reasonable consent
 of the Supporting Second Lien Parties and, to the extent affecting the Creditors’ Committee or
 any Holders of General Unsecured Claims, the Creditors’ Committee) or the Reorganized
 Debtors, as applicable, and Holders of Claims receiving distributions pursuant to the Plan and all
 other parties in interest shall, from time to time, prepare, execute, and deliver any agreements or
 documents and take any other actions as may be necessary or advisable to effectuate the
 provision and intent of the Plan.

        8.      Dissolution of Creditors’ Committee

        Effective on the Effective Date, the Creditors’ Committee shall dissolve automatically,
 and the members thereof (solely in their capacities as Creditors’ Committee members) shall be
 released, exculpated, and discharged from all their duties relating to the Chapter 11 Cases in
 accordance with Article 11 of the Plan; provided, however, that the Creditors’ Committee shall
 continue to exist and its Professionals shall continue to be retained and entitled to reasonable
 compensation, without further order of the Court, with respect to: (1) the preparation and
 prosecution of any final fee applications of the Creditors’ Committee’s Court approved
 Professionals and (2) all final fee applications filed with the Bankruptcy Court.

        9.      Revocation, Withdrawal, or Non-Consummation

                (a)    Right to Revoke or Withdraw. The Debtors reserve the right (such right,
 following Confirmation, subject to the reasonable consent of the Supporting Second Lien Parties
 and the Creditors’ Committee), to revoke or withdraw the Plan at any time prior to the Effective
 Date and file subsequent chapter 11 plans.



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                 (b)    Effect of Withdrawal, Revocation, or Non-Consummation. If the Debtors
 revoke or withdraw the Plan prior to the Effective Date, or if the Confirmation Date or the
 Effective Date does not occur, then the Plan, the Committee/BOKF Plan Settlement, including
 with regard to the Investigation/Prosecution Cap, the settlement of the BOKF Objection, the
 settlement of the UCC Challenge Litigation, and any settlement or compromise approved as part
 of the Plan (including the fixing or limiting to an amount certain any Claim or Class of Claims or
 the allocation of the distributions to be made under the Plan), the assumption or rejection of
 Executory Contracts or Unexpired Leases effected by the Plan, and any document or agreement
 executed pursuant to the Plan shall be null and void in all respects. In such event, nothing
 contained in the Plan or in the Disclosure Statement, or the Committee/BOKF Plan Settlement,
 and no acts taken in preparation for consummation of the Plan, shall be deemed to constitute a
 waiver or release of any Claims, Interests, or Causes of Action by or against the Debtors or any
 other Entity, to prejudice in any manner the rights and defenses of the Debtors, the Holder of a
 Claim or Interest, or any Entity in any further proceedings involving the Debtors, or to constitute
 an admission, acknowledgement, offer, or undertaking of any sort by the Debtors, the Creditors’
 Committee, BOKF, or any other Entity.

        10.     Notices

                       After the Effective Date, any pleading, notice, or other document required
                       by the Plan to be served on or delivered to the Reorganized Debtors shall
                       be served on:

                       If to the Debtors:

                       c/o SunEdison, Inc.
                       13736 Riverport Dr.
                       Maryland Heights, MO 63043
                       Att’n.: Martin H. Truong (mtruong@sunedison.com)
                       Senior Vice President, General Counsel and Secretary

                       with a copy to:

                       Skadden, Arps, Slate, Meagher & Flom LLP
                       Four Times Square
                       New York, New York 10036
                       Att’n: Jay M. Goffman
                              J. Eric Ivester

                       – and –



                       Skadden, Arps, Slate, Meagher & Flom LLP
                       155 North Wacker Drive, Suite 2700
                       Chicago, Illinois 60606
                       Att’n: James J. Mazza, Jr.
                              Louis S. Chiappetta

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                   – and –

                   Skadden, Arps, Slate, Meagher & Flom LLP
                   One Rodney Square
                   P.O. Box 636
                   Wilmington, Delaware 19899
                   Att’n: Anthony W. Clark

                   If to the Replacement DIP Agent or Original DIP Agent:

                   White & Case LLP
                   1155 Avenue of the Americas
                   New York, New York 10036
                   Att’n: Scott Greissman
                   Elizabeth Feld

                   If to the Tranche B Lenders/Steering Committee:

                   Akin Gump Strauss Hauer & Feld LLP
                   One Bryant Park
                   Bank of America Tower
                   New York, New York 10036
                   Att’n: Arik Preis
                          Yochun Katie Lee

                   If to the Office of the United States Trustee:

                   Office of the United States Trustee for the Southern District of New York
                   U.S. Federal Office Building
                   201 Varick Street, Suite 1006
                   New York, New York 10014
                   Att’n: Paul Schwartzberg

                   If to the Creditors’ Committee:

                   Weil, Gotshal & Manges LLP
                   767 Fifth Avenue
                   New York, New York 10153
                   Att’n: Matt Barr
                          Jill Frizzley

                   – and –

                   Morrison & Foerester LLP
                   250 West 55th Street
                   New York, New York 10019
                   Att’n: Elizabeth Sluder


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        11.     Term of Injunctions or Stays

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or
 stays in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or
 any order of the Bankruptcy Court, and existing on the Confirmation Date (excluding any
 injunctions or stays contained in the Plan or the Confirmation Order) shall remain in full force
 and effect until the Effective Date. All injunctions or stays contained in the Plan or the
 Confirmation Order shall remain in full force and effect in accordance with their terms.

        12.     Governing Law

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
 Code and Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of New
 York shall govern the construction and implementation of the Plan, any agreements, documents,
 and instruments executed in connection with the Plan (except as otherwise set forth in those
 agreements, in which case the governing law of such agreements shall control). Corporate
 governance matters shall be governed by the laws of the state of incorporation of the
 Reorganized Debtors.

        13.     Entire Agreement

        Except as otherwise indicated, the Plan supersedes all previous and contemporaneous
 negotiations, promises, covenants, agreements, understandings, and representations on such
 subjects, all of which have become merged and integrated into the Plan.

        14.     Severability

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy
 Court to be invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter
 and interpret such term or provision to make it valid or enforceable to the maximum extent
 practicable, consistent with the original purpose of the term or provision held to be invalid, void,
 or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
 Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
 provisions of the Plan will remain in full force and effect and will in no way be affected,
 impaired, or invalidated by such holding, alteration, or interpretation. The Confirmation Order
 shall constitute a judicial determination and shall provide that each term and provision of the
 Plan, as it may have been altered or interpreted in accordance with the foregoing, is (a) valid and
 enforceable pursuant to its terms, (b) integral to the Plan and may not be deleted or modified
 without the Debtors’ consent, and (c) nonseverable and mutually dependent.

        15.     No Waiver or Estoppel

         Upon the Effective Date, each Holder of a Claim or Interest shall be deemed to have
 waived any right to assert that its Claim or Interest should be Allowed in a certain amount, in a
 certain priority, be secured, or not be subordinated by virtue of an agreement made with the
 Debtors and/or their counsel, the Creditors’ Committee and/or its counsel, or any other party, if
 such agreement was not disclosed in the Plan, the Disclosure Statement, or papers filed with the
 Bankruptcy Court.

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        16.     Conflicts

         In the event that the provisions of the Disclosure Statement and the provisions of the Plan
 conflict, the terms of the Plan shall govern. In the event that the provisions of the Plan and the
 provisions of the Confirmation Order conflict, the terms of the Confirmation Order shall govern.

 O.     Second Lien Litigation

        Notwithstanding anything to the contrary that may be set forth (or may be construed or
 argued to be set forth) in the Plan, the Disclosure Statement, or the Confirmation Order,
 including, without limitation, in Articles 1, 4.1, 6.12, 10.9, 11.2, 11.4, 11.5, 11.6, and 11.7 of the
 Plan:

                 (a)    The term “Second Lien Litigation” shall mean any and all direct (i.e., not
 derivative) Causes of Action held by the Holders of Second Lien Claims (or Tranche B Roll Up
 Loan Claims, if applicable), or their respective successors or assigns, against any non-debtor,
 third party (including without limitation, any directors and officers of the Debtors and any party
 that is not a “Released Party” under the Plan as set forth in clause (f) below) involved in,
 implicated by, or related to the entry into the documents or transactions giving rise to the Second
 Lien Loans and Second Lien Senior Notes. The Second Lien Litigation is being or, with regard
 to certain potential defendants, will be prosecuted by, Kasowitz Benson Torres LLP (or any
 successor law firm).

               (b)     Subject to clause (d) below, nothing in the Plan, Disclosure Statement or
 Confirmation Order shall prevent the Second Lien Lenders and the Second Lien Noteholders
 from asserting against (or collecting from) third parties in the Second Lien Litigation the full
 amount of any of their Tranche B Roll-Up Claims or Second Lien Claims, to the extent that such
 Claims do not receive a full recovery under the Plan.

                (c)   None of the Second Lien Creditors shall provide a release under the Plan
 or otherwise to any current or potential defendants to the Second Lien Litigation (which
 includes, without limitation, the arrangers, agents, bookrunners, syndication agents, and
 underwriters of the Second Lien Loans and Second Lien Senior Notes, any of the Debtors’
 current and former principals, employees, agents, affiliates, financial advisors, attorneys,
 accountants, investment bankers, consultants, representatives and other professionals) under the
 Plan, the Confirmation Order, or the Disclosure Statement for purposes of the Second Lien
 Litigation.

                (d)    Nothing in the Plan, Disclosure Statement or Confirmation Order shall
 impair any defenses, claims, counterclaims, or rights that any third parties (which, for the
 avoidance of doubt, also includes the Holders of Second Lien Claims or Tranche B Roll-Up
 Loan Claims, if applicable) may have, and such defenses, claims, counterclaims or rights
 (including, without limitation, any rights to seek indemnity, and any rights to seek setoff or
 recoupment, under any contract or agreement, or under applicable law or equity) with respect to
 the Second Lien Litigation (and any defenses thereto) are preserved and not impaired.

                 (e)     For the avoidance of doubt, the exculpatory and limitation of liability
 provisions set forth in Article 11.7 of the Plan shall not apply to the Second Lien Litigation.
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                 (f)    None of the current or potential defendants (which includes, without
 limitation, the arrangers, agents, bookrunners, syndication agents, and underwriters of the
 Second Lien Loans and Second Lien Senior Notes, any of the Debtors’ current and former
 principals, employees, agents, affiliates, financial advisors, attorneys, accountants, investment
 bankers, consultants, representatives and other professionals) to the Second Lien Litigation shall
 be deemed “Released Parties” under Article 11.6 of the Plan or the Disclosure Statement for
 purposes of the Second Lien Litigation. For the avoidance of doubt, (x) nothing in this Article
 XV shall limit, impair, abridge, or otherwise affect Article 11.5 of the Plan (Release by Debtors)
 and (y) the Second Lien Senior Notes Indenture Trustee and the Second Lien Collateral Trustee
 shall not be defendants to the Second Lien Litigation.

                                           ARTICLE VII.

         STATUTORY REQUIREMENTS FOR CONFIRMATION OF THE PLAN

         The following is a brief summary of the Confirmation process. Holders of Claims and
 Interests are encouraged to review the relevant provisions of the Bankruptcy Code and to consult
 with their own advisors.

 A.     The Confirmation Hearing

        Section 1128(a) of the Bankruptcy Code provides that the Bankruptcy Court, after notice,
 may conduct the Confirmation Hearing to consider Confirmation of the Plan. Section 1128(b) of
 the Bankruptcy Code provides that any party in interest may object to Confirmation of the Plan.

 B.     Confirmation Standards

         Among the requirements for the Confirmation of the Plan are that the Plan is accepted by
 all Impaired Classes of Claims and Interests, or if rejected by an Impaired Class, that the Plan
 “does not discriminate unfairly” and is “fair and equitable” as to such Class, is feasible, and is in
 the “best interests” of Holders of Claims and Interests that are Impaired under the Plan. The
 following requirements must be satisfied pursuant to section 1129(a) of the Bankruptcy Code
 before the Bankruptcy Court may confirm a plan of reorganization. The Plan complies with the
 statutory requirements for Confirmation of the Plan, which are listed below.

        1.      The proponents of the Plan have complied with the applicable provisions of the
                Bankruptcy Code.

        2.      The Plan has been proposed in good faith and not by any means forbidden by law.

        3.      Any payment made or to be made by the proponent, by the Debtors, or by a
                person issuing securities or acquiring property under a Plan, for services or for
                costs and expenses in or in connection with the Chapter 11 Cases, in connection
                with the Plan and incident to the Chapter 11 Cases, has been approved by, or is
                subject to the approval of, the Bankruptcy Court as reasonable.

        4.      The proponent of the Plan has disclosed the identity and affiliations of any
                individual proposed to serve, after Confirmation of the Plan, as a director, officer,

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               or voting trustee of the Debtors, an Affiliate of the Debtors participating in a joint
               Plan with the Debtors or a successor to the Debtors under the Plan, and the
               appointment to, or continuance in, such office of such individual is consistent
               with the interests of creditors and Holders of Interests and with public policies.

       5.      The proponent of the Plan has disclosed the identity of any Insider that will be
               employed or retained by the Reorganized Debtors and the nature of any
               compensation for such Insider.

       6.      With respect to each Holder within an Impaired Class of Claims or Interests, each
               such Holder (a) has accepted the Plan, or (b) will receive or retain under the Plan
               on account of such Claim or Interest property of a value, as of the Effective Date
               of the Plan, that is not less than the amount that such Holder would so receive or
               retain if the Debtors were liquidated under chapter 7 of the Bankruptcy Code on
               such date.

       7.      With respect to each Class of Claims or Interests, such Class (a) has accepted the
               Plan, or (b) is Unimpaired under the Plan (subject to the “cram-down” provisions
               discussed below).

       8.      Except to the extent that the Holder of a particular Claim has agreed to a different
               treatment of such Claim, the Plan provides that:

                   with respect to a Claim of a kind specified in sections 507(a)(2) or 507(a)(3)
                    of the Bankruptcy Code, on the Effective Date of the Plan, the Holder of such
                    Claim will receive on account of such Claim Cash equal to the Allowed
                    amount of such Claim;

                   with respect to a Class of Claims of a kind specified in sections 507(a)(1),
                    507(a)(4), 507(a)(5), 507(a)(6), or 507(a)(7) of the Bankruptcy Code, each
                    Holder of a Claim of such Class will receive (i) if such Class has accepted the
                    Plan, deferred Cash payments of a value, as of the Effective Date of the Plan,
                    equal to the Allowed amount of such Claim; or (ii) if such Class has not
                    accepted the Plan, Cash on the Effective Date of the Plan equal to the Allowed
                    amount of such Claim;

                   with respect to a Claim of a kind specified in section 507(a)(8) of the
                    Bankruptcy Code, the Holder of such Claim will receive on account of such
                    claim regular installment payments in Cash, over a period not exceeding five
                    years after the date of the order for relief under sections 301, 302, or 303 of
                    the Bankruptcy Code, of a total value, as of the Effective Date of the Plan,
                    equal to the Allowed amount of such Claim.

       9.      If a Class of Claims is Impaired under the Plan, at least one Class of Claims that is
               Impaired under the Plan has accepted the Plan, determined without including any
               acceptance of the Plan by any Insider.



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          10.      Confirmation of the Plan is not likely to be followed by the liquidation, or the
                   need for further financial reorganization, of the Debtors or any successor to the
                   Debtors under the Plan, unless such liquidation or reorganization is proposed in
                   the Plan.

          11.      All fees payable under 28 U.S.C. § 1930, as determined by the Bankruptcy Court
                   at the hearing on Confirmation of the Plan, have been paid or the Plan provides
                   for the payment of all such fees on the Effective Date of the Plan.

          12.      The Plan provides that following the Effective Date of the Plan, subject to the
                   Reorganized Debtors’ rights, if any, under applicable non-bankruptcy law, unless
                   otherwise ordered by the Bankruptcy Court, the Reorganized Debtors shall
                   continue to pay all retiree benefits, as that term is defined in section 1114 of the
                   Bankruptcy Code, at the level established pursuant to subsection (e)(1)(B) or (g)
                   of section 1114 of the Bankruptcy Code, at any time prior to Confirmation, for the
                   duration of the period the debtor has obligated itself to provide such benefits. 66

 C.       Liquidation Analyses

         As described above, section 1129(a)(7) of the Bankruptcy Code requires that each Holder
 of an Impaired Claim or Interest either (a) accept the Plan or (b) receive or retain under the Plan
 property of a value, as of the Effective Date, that is not less than the value such Holder would
 receive if the Debtors were liquidated under chapter 7 of the Bankruptcy Code.

        Based on the Liquidation Analyses attached hereto as Exhibit C, the Debtors believe that
 the value of any distributions if the Debtors’ Chapter 11 Cases were converted to cases under
 chapter 7 of the Bankruptcy Code would not be greater than the value of distributions under the
 Plan.

         As a result, the Debtors believe Holders of Claims and Interests in all Impaired Classes
 will recover at least as much as a result of Confirmation of the Plan as they would recover
 through a hypothetical chapter 7 liquidation.

 D.       Financial Feasibility

        Section 1129(a)(11) of the Bankruptcy Code requires that a debtor demonstrate that
 confirmation of a plan is not likely to be followed by liquidation or the need for further financial
 reorganization. For purposes of determining whether the Plan meets this requirement, the
 Debtors have analyzed its ability to meet its obligations under the Plan. As part of this analysis,
 the Company has prepared certain Financial Projections for the Debtors and non-Debtor
 subsidiaries on a consolidated basis. These Financial Projections and the assumptions upon
 which they are based, are attached hereto as Exhibit B. Based on these Financial Projections, the
 Debtors believe that they will be able to make all payments required pursuant to the Plan and,

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      The requirements for Confirmation of a plan of reorganization are set forth in section 1129(a) of the Bankruptcy
      Code.



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 therefore, that Confirmation of the Plan is not likely to be followed by liquidation or the need for
 further reorganization.

 E.     Acceptance by Impaired Classes

         The Bankruptcy Code also requires, as a condition to Confirmation, that each Class of
 Claims or Interests that is Impaired but still receives distributions under the Plan vote to accept
 the Plan, unless the Debtors can “cram-down” such Classes, as described below. A Class that is
 Unimpaired is presumed to have accepted the Plan and, therefore, solicitation of acceptances
 with respect to such Class is not required. A Class is Impaired unless the Plan leaves unaltered
 the legal, equitable, and contractual rights to which the Claim or Interest entitles the Holder of
 such Claim or Interest to, or the Debtors cure any default and reinstates the original terms of the
 obligation.

         Pursuant to sections 1126(c) and 1126(d) of the Bankruptcy Code and except as
 otherwise provided in section 1126(e) of the Bankruptcy Code: (a) an Impaired Class of Claims
 has accepted the Plan if the Holders of at least two-thirds in dollar amount and more than half in
 number of the voting Allowed Claims have voted to accept the Plan; and (b) an Impaired Class
 of Interests has accepted the Plan the Holders of at least two-thirds in amount of the Allowed
 interests of such Class actually voting have voted to accept the plan.

 F.     Confirmation Without Acceptance by All Impaired Classes

        Section 1129(b) of the Bankruptcy Code allows the Bankruptcy Court to confirm the
 Plan, even if the Plan has not been accepted by all Impaired Classes, provided that the Plan has
 been accepted by at least one Impaired Class entitled to vote, excluding any Insider Classes.
 Section 1129(b) of the Bankruptcy Code permits the Debtors to confirm the Plan,
 notwithstanding the failure of any Impaired Class to accept the Plan, in a procedure commonly
 known as “cram-down,” so long as the Plan does not “discriminate unfairly” and is “fair and
 equitable” with respect to each impaired Class of Claims or Interests that voted to reject the Plan.

        1.      No Unfair Discrimination

         The test to determine whether the Plan unfairly discriminates applies to Classes of Claims
 or Interests that are of equal priority and are receiving different treatment under the Plan. The
 test does not require that the treatment be the same or equivalent, but that such treatment be
 “fair.”

        The Debtors do not believe the Plan discriminates unfairly against any Impaired Class of
 Claims or Interests. The Debtors believe that the Plan and the treatment of all Classes of Claims
 and Interests under the Plan satisfies the foregoing requirements for nonconsensual
 Confirmation.

        2.      Fair and Equitable Treatment

        The test to determine whether the Plan affords fair and equitable treatment applies to
 Classes of different priority and status (e.g., Secured Claims versus General Unsecured Claims)
 and includes the general requirement that no Class of Claims receive more than 100% of the

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 amount of the Allowed Claims in such Class. As to a dissenting Class, the test sets different
 standards depending on the type of Claims or Interests in such Class. Specifically, in order to
 demonstrate that the Plan is fair and equitable, the Debtors must demonstrate that:

        Each Holder of a Secured Claim either (a) retains its Liens on the property, to the
        extent of the Allowed amount of its Secured Claim and receives deferred Cash
        payments having a value, as of the effective date of the chapter 11 plan, of at least
        the Allowed amount of such Claim, (b) has the right to credit bid the amount of its
        Claim if its property is sold and retains its Liens on the proceeds of the sale (or if
        sold, on the proceeds thereof), or (c) receives the “indubitable equivalent” of its
        Allowed Secured Claim.

        Either (a) each Holder of an impaired Unsecured Claim receives or retains under
        the Plan property of a value equal to the amount of its Allowed Claim or (b) the
        Holders of Claims and Interests that are junior to the Claims of the rejecting
        Classes will not receive any property under the Plan.

        Either (a) each Holder of an Interest will receive or retain under the Plan property
        of a value equal to the greatest of the fixed liquidation preference to which such
        Holder is entitled, the fixed redemption price to which such Holder is entitled, or
        the value of the Interest or (b) the Holder of an Interest that is junior to the
        rejecting Class will not receive or retain any property under the Plan.

        The Debtors believe the Plan satisfies the “fair and equitable” requirement
 notwithstanding that Classes 5A-5E, 6A-6E, 7B-7E and 8A are not receiving a distribution
 because, there is no Class of equal priority to Classes 5A-5E, 6A-6E, 7B-7E and 8A receiving
 more favorable treatment, and there are no Classes junior to Classes 5A-5E, 6A-6E, 7B-7E and
 8A that will receive or retain any property on account of the Claims or Interests in such Class.

                                         ARTICLE VIII.

               PLAN-RELATED RISK FACTORS AND ALTERNATIVES
              TO CONFIRMATION AND CONSUMMATION OF THE PLAN

      PRIOR TO VOTING TO ACCEPT OR REJECT THE PLAN, ALL HOLDERS OF
 CLAIMS THAT ARE ENTITLED TO VOTE ON THE PLAN SHOULD READ AND
 CONSIDER CAREFULLY THE FACTORS SET FORTH IN THIS ARTICLE VIII AS WELL
 AS ALL OTHER INFORMATION SET FORTH OR OTHERWISE REFERENCED IN THIS
 DISCLOSURE STATEMENT.

 A.     General

         The following provides a summary of important considerations and risk factors
 associated with the Plan. However, it is not exhaustive. In considering whether to vote for or
 against the Plan, Holders of Claims and Interests that are Impaired and entitled to vote should
 read and carefully consider the factors set forth below, as well as all other information set forth
 or otherwise referenced or incorporated by reference in this Disclosure Statement.


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 B.      Risks Related to Jointly Supported Transactions and the YieldCo Settlements

         Consummation of the Plan is dependent on consummation of the Jointly Supported
 Transactions and approval of the YieldCo Settlements. The Debtors currently anticipate that the
 YieldCos and Brookfield will consummate the merger transactions as contemplated by the
 Jointly Supported Transaction Agreements in the second half of 2017. However, there are many
 factors outside of the Debtors’ control, including the ability of the YieldCos and/or Brookfield to
 satisfy required conditions, such as obtaining certain regulatory approvals, completion of
 financial statement audits that may be necessary to satisfy certain conditions, and obtaining the
 approval of a majority of YieldCo shareholders other than the Debtors. In the event that various
 closing conditions are not satisfied, Brookfield or the YieldCos may determine to terminate the
 applicable merger agreement. Consequently, the Debtors can provide no assurance that the
 transactions set forth in the Jointly Supported Transaction Agreements will be consummated or if
 they are, that they will consummated in the second half of 2017 or on the terms currently
 contemplated. Undue delay in consummation of the Jointly Supported Transactions could
 adversely affect the Debtors’ ability to consummate the Plan.

        The Voting Support Agreements are subject to Bankruptcy Court approval, and there can
 be no assurance that the Bankruptcy Court will approve the Voting Support Agreements. Failure
 of the Bankruptcy Court to approve the Voting Support Agreements would prevent the Jointly
 Supported Transactions from being consummated.

        The Debtors cannot guarantee how much distributable value will result from the Jointly
 Supported Transactions because the Debtors may receive a portion of their consideration in the
 form of Continuing TERP Class A Shares, the value of which is uncertain due to various factors,
 including TERP’s ability to reestablish compliance with NASDAQ’s listing requirements.

         Moreover, for the avoidance of doubt, as of the date of the Plan, the only Jointly
 Supported Transactions that the Supporting Second Lien Parties support is the Brookfield
 transaction described in the definition of the term “Jointly Supported Transactions” in the Plan
 and, therefore, should, subject to the terms and conditions of the Jointly Supported Transaction
 Agreements with Brookfield, the Debtors and either YieldCo choose a different Jointly
 Supported Transaction, the Supporting Second Lien Parties may not support the Plan, and the
 Rights Offering Backstop Purchasers will not be required to fund the Rights Offering Backstop
 Commitment or perform their obligations under the Rights Offering Commitment Letter.

 C.      Certain Bankruptcy Considerations

         1.     Undue Delay in Confirmation May Significantly Degrade the Debtors’
 Value

         The continuation of the Chapter 11 Cases, particularly if the Plan is not approved or
 confirmed in the time frame currently contemplated, creates a significant risk that the value of
 the Debtors’ enterprises would be substantially eroded to the detriment of all stakeholders. The
 Debtors’ future results are dependent upon the successful confirmation and implementation of a
 plan. Failure to obtain this approval in a timely manner could adversely affect the Debtors’
 ability to maximize value for their estates and all parties in interest. If Confirmation does not

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 occur expeditiously, the Chapter 11 Cases could result in, among other things, increased
 Administrative Claims or Professional Claims, and similar expenses.

        2.      Parties in Interest May Object to Classification of Claims and Interests

         Section 1122 of the Bankruptcy Code provides that a plan of reorganization may place a
 claim or interest in a particular Class only if such claim or interest is substantially similar to the
 other claims or interests in such Class. The Debtors believe that the classification of Claims and
 Interests under the Plan complies with the requirements set forth in the Bankruptcy Code because
 the Debtors created Classes of Claims and Interests, each encompassing Claims or Interests, as
 applicable, that are substantially similar to the other Claims and Interests in each such Class.
 Nevertheless, there can be no assurance that the Bankruptcy Court will reach the same
 conclusion.

        Issues or disputes relating to classification and/or treatment could result in a delay in the
 confirmation and consummation of the Plan and could increase the risk that the Plan will not be
 confirmed or consummated.

        3.      The Debtors or the GUC/Litigation Trust Trustee May Object to Claims
 Before or After the Effective Date

          Prior to the Effective Date and subject to the terms of the Committee/BOKF Plan
 Settlement, the Debtors, and after the Effective Date, the GUC/Litigation Trust Trustee, reserve
 the right to object to the amount or classification of any Claim or Interest except any such Claim
 or Interest that is deemed Allowed under the Plan or except as otherwise provided in the Plan.
 There can be no assurance that the estimated Claim amounts set forth herein are correct. The
 actual Allowed amount of Claims likely will differ in some respect from the estimates. The
 estimated amounts are subject to certain risks, uncertainties, and assumptions. Should one or
 more of these risks or uncertainties materialize, or should underlying assumptions prove
 incorrect, the actual Allowed amount of Claims may vary from those estimated herein.
 Furthermore, the Debtors cannot predict the ultimate amount of all settlement terms for its
 liabilities that will be subject to a plan.

        4.      Risk of Non-Occurrence of the Effective Date

         Although the Debtors believe that the Effective Date may occur within approximately
 two to three months after the Confirmation Date, there can be no assurance as to such timing, or
 as to whether the Effective Date will, in fact, occur.

        5.      Failure to Satisfy Vote Requirements

         If votes are received in number and amount sufficient to enable the Bankruptcy Court to
 confirm the Plan, the Debtors intend to seek, as promptly as practicable thereafter, Confirmation
 of the Plan. In the event that sufficient votes are not received, the Debtors may seek to confirm
 an alternative chapter 11 plan. There can be no assurance that the terms of any such alternative
 chapter 11 plan would be similar or as favorable to the holders of Allowed Claims and Interests
 as those proposed in the Plan.


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        6.      Debtors May Not Be Able to Secure Confirmation of the Plan

         Even if all voting Impaired Classes vote in favor of the Plan, and even if with respect to
 any Impaired Class deemed to have rejected the Plan the requirements for “cramdown”
 (discussed in more detail in Article VII herein) are met, the Bankruptcy Court, which, as a court
 of equity, may exercise substantial discretion, may choose not to confirm the Plan. Section 1129
 of the Bankruptcy Code requires, among other things, a showing that confirmation of the Plan
 will not be followed by liquidation or the need for further financial reorganization of the Debtors,
 and that the value of distributions to dissenting Holders of Claims and Interests will not be less
 than the value such Holders would receive if the Debtors were liquidated under chapter 7 of the
 Bankruptcy Code. Although the Debtors believe that the Plan will meet such tests, there can be
 no assurance that the Bankruptcy Court will reach the same conclusion.

        7.      The Debtors May Be Unable to Obtain Sufficient Liquidity to Confirm the
                Plan and Exit from Chapter 11

         As of the date hereof, the Debtors contemplate that, in the TERP Share Election
 Alternative, the Plan will be funded by, among other things, the proceeds of a Rights Offering.
 Although the Debtors have received commitments from certain Supporting Second Lien Parties
 to fully backstop the Rights Offering to provide the liquidity needed to fund the Plan in the
 TERP Share Election Alternative, it is possible that the Rights Offering may not close. If the
 proceeds of the Rights Offering are not received, the Debtors’ ability to confirm the Plan in the
 TERP Share Election Alternative will be severely compromised, and the Debtors’ ability to
 reorganize at all could be placed in jeopardy.

        8.      The Bankruptcy Rule 9019 Settlements Contained in the Plan May Not Be
                Approved

          The Plan also is a motion to approve the Committee/BOKF Plan Settlement, including
 the settlement of the UCC Challenge Litigation and the BOKF Objection. The Debtors believe
 such settlement is fair and reasonable and meets the lowest point in the range of reasonableness.
 There can be no assurance that the Bankruptcy Court will approve the Committee/BOKF Plan
 Settlement, and the failure to approve such settlement could significantly harm the Debtors’
 ability to consummate the Plan.

 D.     Risk Factors That May Affect Recoveries Under the Plan

        1.      Debtors Cannot Guarantee What Recovery Will Be Available to Holders
                of Allowed Claims in Voting Classes

         No less than three unknown factors make certainty in creditor recoveries impossible: (a)
 how much money or other distributable value will remain after satisfaction of all Allowed
 Claims that are senior to the Allowed Claims in Voting Classes or unclassified Allowed Claims;
 (b) the number or amount of Claims in Voting Classes that will ultimately be Allowed; and (c)
 the number or size of Claims senior to the Claims in the Voting Classes or unclassified Claims
 that will ultimately be Allowed.



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        2.      Actual Amounts of Allowed Claims May Differ from the Estimated
                Claims and Adversely Affect the Percentage Recovery on Certain Claims

        The Claims estimates set forth above are based on various assumptions. The actual
 amounts of certain Claims may differ significantly from those estimates should one or more
 underlying assumptions prove to be incorrect. Such differences may adversely affect the
 percentage recovery to Holders of such Allowed Claims under the Plan.

        3.      Estimated Valuation of the Reorganized Debtors and the New SUNE
                Common Stock and the Estimated Recoveries to Holders of Allowed
                Claims Are Not Intended to Represent the Private Sale Values of the New
                SUNE Common Stock

         The Debtors’ estimated recoveries to Holders of Allowed Claims are not intended to
 represent the private sale values of the New SUNE Common Stock, nor are they intended to
 represent the Debtors’ view of what may happen with regard to the value of the Continuing
 TERP Class A Shares after closing of the Brookfield merger transaction. The estimated
 recoveries are based on numerous assumptions (the realization of many of which is beyond the
 control of the Reorganized Debtors), including, without limitation: (a) the successful
 reorganization of the Debtors; (b) an assumed date for the occurrence of the Effective Date; and
 (c) the assumption that capital and equity markets remain consistent with current conditions.

        4.      The Reorganized Debtors May Be Controlled By a Small Number of
 Holders

         Consummation of the Plan may result in a small number of Holders owning a significant
 percentage of the outstanding shares of New SUNE Common Stock. These Holders may, among
 other things, exercise a controlling influence over the business and affairs of the Reorganized
 Debtors and have the power to elect directors and approve material corporate transactions. The
 Debtors can make no assurances regarding the future actions of the Holders of New SUNE
 Common Stock and the impact such actions may have on the value of the New SUNE Common
 Stock.

       5.      Certain Tax Implications of the Debtors’ Bankruptcy and Reorganization
 May Increase the Tax Liability of the Reorganized Debtors

        Holders of Allowed Claims should carefully review Article IX herein, “Certain Federal
 Income Tax Consequences,” to determine how the tax implications of the Plan and these Chapter
 11 Cases may adversely affect the Reorganized Debtors.

        6.      Impact of Interest Rates

         Changes in interest rates and foreign exchange rates may affect the fair market value of
 the Debtors’ assets. Specifically, decreases in interest rates will positively impact the value of the
 Debtors’ assets and the strengthening of the dollar will negatively impact the value of their net
 foreign assets.

 E.     Business Risks

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        1.       Restrictive Covenants in Replacement DIP Financing Facility Limit
                 Company’s Ability to Operate Businesses; Failure to Comply With
                 Covenants Could Result in Acceleration of Indebtedness

          The Replacement DIP Credit Agreement contain covenants that limit or restrict the
 Company’s ability to finance future operations or capital needs, to respond to changing business
 and economic conditions or to engage in other transactions or business activities that may be
 important to its ability to complete sales of assets, administer Earnout Assets, administer
 Residual Assets, collect Repatriated Cash, or otherwise take actions that are important to
 maximizing the value of the Company. The Replacement DIP Credit Agreement, limits or
 restricts, among other things, the Company’s ability and the ability of its subsidiaries to:

            incur or guarantee additional indebtedness;

            pay dividends or make distributions on the Company’s or its subsidiaries’ capital
             stock or certain other restricted payments or investments;

            purchase or redeem stock or subordinated indebtedness;

            make investments and extend credit;

            engage in transactions with affiliates;

            transfer and sell assets;

            affect a consolidation or merger or sell, transfer, lease or otherwise dispose of all or
             substantially all of the Company’s or its subsidiaries’ assets;

            engage in transactions with affiliates; and

            create liens on the Company’s or its subsidiaries’ assets to secure debt or other
             obligations.

         In addition, the Replacement DIP Credit Agreement requires the Company to repay
 outstanding borrowings with portions of the proceeds the Company receives from certain sales of
 assets, insurance or casualty events and specified future debt offerings. Certain other asset sale
 proceeds designated as Budgeted Asset Sale Proceeds pursuant to the Replacement DIP Credit
 Agreement are required to be deposited in the Replacement DIP Facilities Blocked Account, and
 withdrawals from such account are subject to the satisfaction of certain conditions, including the
 absence of a default and compliance with the Budget. The Company’s ability to comply with
 these provisions may be affected by events beyond its control. Any breach of the covenants in
 the Replacement DIP Credit Agreement could cause a default under the Company’s Replacement
 DIP Credit Agreement and other debt, which would restrict the Company’s ability to access
 funds under the Replacement DIP Facilities Blocked Account pursuant to its Replacement DIP
 Credit Agreement thereby significantly impacting the Company’s liquidity which could have a
 material adverse effect on the Company’s business, financial condition, cash flows or results of
 operations. If there were an event of default under any of the Company’s debt instruments that

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 was not cured or waived, the Holders of the defaulted debt could cause all amounts outstanding
 with respect to the debt instrument to be due and payable immediately. The Company’s assets
 and cash flow may not be sufficient to fully repay borrowings under its outstanding debt
 instruments if accelerated upon an event of default.

         If, as or when required, the Company is unable to repay, refinance or restructure its
 indebtedness under, or amend the covenants contained in the Replacement DIP Credit
 Agreement, the Replacement DIP Lenders could institute foreclosure proceedings against the
 assets securing borrowings under the Replacement DIP Credit Agreement.

        2.     The Debtors May Be Subject To Claims That Will Not Be Discharged in
 the Chapter 11 Cases

         The Bankruptcy Code provides that the confirmation of a plan of reorganization
 discharges a debtor from substantially all debts arising prior to confirmation. With a few
 exceptions primarily relating to claims arising from certain ongoing government investigations,
 all claims that arose prior to the filing of the Chapter 11 Cases (i) will be subject to compromise,
 and/or discharge in the Chapter 11 Cases in any plan of reorganization that may be certified, or
 (ii) will be discharged in accordance with the Bankruptcy Code and the terms of the plan of
 reorganization. However, the aggregate amount of such claims that are not subject to treatment
 under the plan of reorganization or that are not discharged may be material.

        3.     The Debtors or Reorganized Debtors May Be Unable To Complete Sales
 of Residual Assets Or Realize Maximum Value From Such Residual Assets

         The Company’s ability to sell its Residual Assets is subject to many risks, including a
 potentially limited or unstable marketplace, market competition, inability to obtain necessary
 regulatory approvals, strict sales timelines that must be adhered to in order to realize value from
 certain assets, and changes to legal and regulatory rules applicable to assets, among other
 factors. There can be no assurance that the Debtors will be able to overcome these risks, or that
 these risks will not negatively impact the realized value of Residual Assets. Given the risk that
 Residual Assets Proceeds are subject to significant uncertainties and may not be recovered at all,
 creditors should not assume that any or all will be recovered, which may significantly harm
 creditor recoveries.

       4.     Debtors or Reorganized Debtors May Fail to Realize Earnout Proceeds or
 Recover Escrow Amounts

         In connection with the sale of certain projects, relevant sale agreements may provide for
 earnout payments to the Company upon the satisfaction of specified conditions and/or
 milestones. The Company’s ability to satisfy such conditions and/or milestones and receive the
 earnout payments is subject to both general and project-specific risks and uncertainties, many of
 which are beyond the Debtors’ control. In addition, the Debtors may be able to recover escrow
 amounts related to the sale of certain projects to the extent the relevant escrows are not used for
 the purposes for which they were established. There can be no assurance that the Debtors will
 realize earnout proceeds on any project or recover escrow amounts related to any project, and the
 inability to realize any or all of such proceeds could have a material adverse effect on the

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 Debtors’ future business, financial condition, results of operations and cash flows. Given the risk
 that Earnout Proceeds are subject to significant uncertainties and may not be recovered at all,
 creditors should not assume that any or all will be recovered, which may significantly harm
 creditor recoveries.

         5.     Debtors’ or Reorganized Debtors’ Ability to Repatriate Cash and Sustain
 International Operations May Be Hindered

         The Company derives a portion of its revenue and earnings from its international
 operations. Such operations are subject to risks that could materially adversely affect the
 Debtors’ or Reorganized Debtors’ business, financial condition, results of operations and cash
 flow, including uncertain political, legal and economic environments, potential incompatibility
 with foreign partners, foreign currency controls and fluctuations, global energy prices and
 availability, terrorist attacks, the imposition of additional governmental controls and regulations,
 war and civil disturbances and foreign labor uncertainties.

          Because of these risks, the Debtors’ or Reorganized Debtors’ international operations
 may be limited, or disrupted, they may lose contract rights, their foreign taxation may be
 increased or they may be limited in repatriating earnings. In addition to earnings, a portion of
 cash available for repatriation include direct and indirect tax refunds and return of deposits from
 government and regulatory authorities. In certain cases, the Debtors or Reorganized Debtors’
 ability to repatriate cash is subject to the completion and acceptance of statutory accounting, tax
 audits, and other tax authority approvals, which may be impacted if the Debtors’ or Reorganized
 Debtors’ international operations are limited or impaired. In addition, in some cases, applicable
 law and joint venture or other agreements may provide that each joint venture partner is jointly
 and severally liable for all liabilities of the venture. Given the risk that Repatriated Cash is
 subject to significant uncertainties and may not be recovered at all, creditors should not assume
 that any or all will be recovered, which may significantly harm creditor recoveries.

        6.      The Debtors’ employees face uncertainty due to the Chapter 11 Cases

        As a result of the Chapter 11 Cases, the Debtors’ employees are facing uncertainty. A
 material erosion of the Debtors’ workforce, either during the Chapter 11 Cases or following
 emergence, could have a material adverse effect on the Debtors’ or Reorganized Debtors’ ability
 to maximize Earnout Asset Proceeds, Residual Asset Proceeds, proceeds from other
 opportunities, and recovery of Repatriated Cash.

 F.     Risks Associated with Forward Looking Statements

        1.      Financial Information Is Based on the Debtors’ Books and Records and,
                Unless Otherwise Stated, No Audit Was Performed

         The financial information contained in this Disclosure Statement has not been audited. In
 preparing this Disclosure Statement, the Debtors relied on financial data derived from its books
 and records that was available at the time of such preparation. Although the Debtors have used
 their reasonable business judgment to ensure the accuracy of the financial information provided
 in this Disclosure Statement, and while the Debtors believe that such financial information fairly
 reflects, in all material respects, the financial results of the Debtors, the Debtors are unable to
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 warrant or represent that the financial information contained herein and attached hereto is
 without inaccuracies.

        2.      Financial Projections and Other Forward Looking Statements Are Not
                Assured, Are Subject to Inherent Uncertainty Due to Numerous
                Assumptions Upon Which They Are Based and, as a Result, Actual
                Results May Vary

        Except for historical information, this Disclosure Statement may be deemed to contain
 “forward-looking” statements. The Company is including this cautionary statement for the
 express purpose of availing itself of the safe harbor provisions of the Private Securities Litigation
 Reform Act of 1995.

         There are uncertainties associated with any projections and estimates, and they should not
 be considered assurances or guarantees of the amount of funds or amount of Claims in the
 various Classes that might be allowed. The Company cautions each reader of this Disclosure
 Statement to carefully consider those factors set forth above and the acknowledgements
 contained in the “Risk Factors” section of this Disclosure Statement. Such factors have, in some
 instances, affected and in the future could affect the ability of the Company to achieve its
 projected results and may cause actual results to differ materially from those expressed herein.
 The Company undertakes no obligation to update any forward-looking statements in this
 Disclosure Statement.

 G.     Disclosure Statement Disclaimer

        1.      This Disclosure Statement Was Not Approved by the Securities and
                Exchange Commission

        This Disclosure Statement was not filed with the SEC under the Securities Act or
 applicable state securities laws. Neither the SEC nor any state regulatory authority has passed
 upon the accuracy or adequacy of this Disclosure Statement, or the exhibits or the statements
 contained herein, and any representation to the contrary is unlawful.

        2.      Reliance on Exemptions from Registration Under the Securities Act

         This Disclosure Statement has been prepared pursuant to section 1125 of the Bankruptcy
 Code and Rule 3016(b) of the Federal Rules of Bankruptcy Procedure and is not necessarily in
 accordance with federal or state securities laws or other similar laws. The offer of New SUNE
 Common Stock and Continuing TERP Class A Shares to Holders of Second Lien Claims has not
 been registered under the Securities Act or similar state securities or “blue sky” laws. To the
 maximum extent permitted by section 1145 of the Bankruptcy Code, the Securities Act and other
 applicable non-bankruptcy law, the issuance of the New SUNE Common Stock and the
 distribution of Continuing TERP Class A Shares will be exempt from registration under the
 Securities Act by virtue of Section 1145 of the Bankruptcy Code, Sections 4(a)(1) or 4(a)(2) of
 the Securities Act.

        3.      This Disclosure Statement May Contain Forward Looking Statements


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         This Disclosure Statement may contain “forward looking statements” within the meaning
 of the Private Securities Litigation Reform Act of 1995. Such statements consist of any statement
 other than a recitation of historical fact and can be identified by the use of forward looking
 terminology such as “may,” “expect,” “anticipate,” “estimate,” or “continue” or the negative
 thereof or other variations thereon or comparable terminology. The reader is cautioned that all
 forward looking statements are necessarily speculative and there are certain risks and
 uncertainties that could cause actual events or results to differ materially from those referred to
 in such forward looking statements. The Liquidation Analyses, distribution projections, and other
 information contained herein and attached hereto are estimates only, and the timing and amount
 of actual distributions to Holders of Allowed Claims may be affected by many factors that
 cannot be predicted. Therefore, any analyses, estimates, or recovery projections may or may not
 turn out to be accurate.

        4.      No Legal or Tax Advice Is Provided to You by this Disclosure Statement

         This Disclosure Statement is not legal advice to you. The contents of this Disclosure
 Statement should not be construed as legal, business or tax advice. Each Holder of a Claim or an
 Interest should consult his or her own legal counsel and accountant with regard to any legal, tax
 and other matters concerning his or her Claim or Interest. This Disclosure Statement may not be
 relied upon for any purpose other than to determine how to vote on the Plan or object to
 Confirmation of the Plan.

        5.      No Admissions Made

         The information and statements contained in this Disclosure Statement will neither (a)
 constitute an admission of any fact or liability by any Entity (including, without limitation, the
 Debtor) nor (b) be deemed evidence of the tax or other legal effects of the Plan on the Debtor,
 the Reorganized Debtor, Holders of Allowed Claims or Interests, or any other parties in interest.

        6.      Failure to Identify Litigation Claims or Projected Objections

         No reliance should be placed on the fact that a particular litigation Claim or projected
 objection to a particular Claim or Interest is, or is not, identified in this Disclosure Statement.
 The Debtors or the Reorganized Debtors may seek to investigate, file, and prosecute Claims and
 Interests and may object to Claims after the Confirmation or Effective Date of the Plan
 irrespective of whether this Disclosure Statement identifies such Claims or objections to Claims.

        7.      No Waiver of Right to Object or Right to Recover Transfers and Assets

         The vote by a Holder of an Allowed Claim for or against the Plan does not constitute a
 waiver or release of any Claims or rights of the Debtors (or any party in interest, as the case may
 be) to object to that Holder’s Allowed Claim, or recover any preferential, fraudulent or other
 voidable transfer or assets, regardless of whether any Claims or Causes of Action of the Debtors
 or their Estates are specifically or generally identified herein.

        8.     Information Was Provided by the Debtors and Was Relied Upon by the
 Debtors’ Advisors


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        Counsel to and other advisors retained by the Debtors have relied upon information
 provided by the Debtors in connection with the preparation of this Disclosure Statement.
 Although counsel to and other advisors retained by the Debtors have performed certain limited
 due diligence in connection with the preparation of this Disclosure Statement, they have not
 independently verified the information contained herein.

        9.      Potential Exists for Inaccuracies, and the Debtors Have No Duty to Update

         The statements contained in this Disclosure Statement are made by the Debtors as of the
 date hereof, unless otherwise specified herein, and the delivery of this Disclosure Statement after
 that date does not imply that there has not been a change in the information set forth herein since
 that date. While the Debtors have used their reasonable business judgment so that the
 information provided in this Disclosure Statement and in the Plan is as accurate as possible, the
 Debtors nonetheless cannot, and do not, confirm the current accuracy of all statements appearing
 in this Disclosure Statement. Further, although the Debtors may subsequently update the
 information in this Disclosure Statement, the Debtors have no affirmative duty to do so unless
 ordered to do so by the Bankruptcy Court.

        10.     No Representations Outside this Disclosure Statement Are Authorized

         No representations concerning or relating to the Debtors, the Chapter 11 Cases, or the
 Plan are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in
 this Disclosure Statement or other materials included in the Solicitation Package. Any
 representations or inducements made to secure your acceptance or rejection of the Plan that are
 other than as contained in, or included with, this Disclosure Statement should not be relied upon
 by you in arriving at your decision. You should promptly report unauthorized representations or
 inducements to the counsel for the Debtors, the counsel for the Creditors’ Committee and the
 United States Trustee.

 H.     Liquidation Under Chapter 7

          If no plan can be confirmed, the Debtors’ Chapter 11 Cases may be converted to cases
 under chapter 7 of the Bankruptcy Code, pursuant to which a trustee (or trustees) would be
 elected or appointed to liquidate the assets of the Debtors for distribution in accordance with the
 priorities established by the Bankruptcy Code. A discussion of the effects that a chapter 7
 liquidation would have on the recoveries of Holders of Claims and the Debtors’ Liquidation
 Analyses is described herein and attached hereto as Exhibit C.

                                          ARTICLE IX.

                CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES

         A summary description of certain U.S. federal income tax consequences of the Plan is
 provided below. This description is for informational purposes only and, due to a lack of
 definitive judicial or administrative authority or interpretation, substantial uncertainties exist
 with respect to various tax consequences of the Plan as discussed herein. Only U.S. federal
 income tax consequences of the Plan to the Debtors and certain Holders of Claims or Interests
 are described below. No opinion of counsel has been sought or obtained with respect to any tax
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 consequences of the Plan. The discussion below is not binding upon the Internal Revenue
 Service (“IRS”) or any other tax authorities. No representations are being made regarding the
 particular tax consequences of the confirmation or implementation of the Plan as to any Holder
 of a Claim or Interest. No assurance can be given that the IRS would not assert, or that a court
 would not sustain, a different position from any discussed herein.

         The discussion of U.S. federal income tax consequences below is based on the Internal
 Revenue Code of 1986, as amended (the “Tax Code”), Treasury Regulations promulgated
 thereunder, judicial authorities, published positions of the IRS, and other applicable authorities,
 all as in effect on the date hereof and all of which are subject to change or differing
 interpretations (possibly with retroactive effect).

         The following discussion does not address foreign, state or local tax consequences of the
 Plan, nor does it address all aspects of U.S. federal income taxation applicable to special classes
 of taxpayers (e.g., banks and certain other financial institutions, insurance companies, broker-
 dealers, tax-exempt organizations, Holders of Claims or Interests who are, or who hold their
 Claims or Interests through, pass-through entities, persons whose functional currency is not the
 U.S. dollar, dealers in securities or foreign currency, persons holding Claims or Interests that are
 a hedge against, or that are hedged against, currency risk or that are part of a straddle,
 constructive sale or conversion transaction, and persons who acquired their Claims or Interests
 pursuant to the exercise of employee stock options or otherwise as compensation). The
 following discussion assumes that Holders of Claims or Interests hold their Claims or Interests as
 capital assets for U.S. federal income tax purposes. Furthermore, the following discussion does
 not address U.S. federal taxes other than income taxes, nor does it apply to any person that
 acquires any of the exchange consideration in the secondary market.

          For purposes of this discussion, a “U.S. Holder” is a beneficial owner of a Claim or
 Interest that is (1) an individual who is a citizen or resident of the United States, (2) a corporation
 (or other entity treated as a corporation for U.S. federal income tax purposes) created or
 organized under the laws of the United States or any state or political subdivision thereof, (3) an
 estate, the income of which is subject to U.S. federal income taxation regardless of its source, or
 (4) a trust that (i) is subject to the primary supervision of a U.S. court and which has one or more
 U.S. persons who have the authority to control all substantial decisions of the trust, or (ii) has a
 valid election in effect under applicable Treasury Regulations to be treated as a U.S. person. A
 “Non-U.S. Holder” is a beneficial owner of a Claim or Interest that is neither a partnership (or
 other entity treated as a partnership for U.S. federal income tax purposes) nor a U.S. Holder.

        If a partnership (including any entity treated as a partnership for U.S. federal income tax
 purposes) holds Claims or Interests, the U.S. federal income tax consequences to the partners of
 such partnership will depend on the activities of the partnership and the status of the partners. A
 partnership participating in the Plan (and its partners) should consult their tax advisors regarding
 the consequences of participating in the Plan.

 A.     Certain U.S. Federal Income Tax Consequences to the Debtors

        1.      Cancellation of Indebtedness Income


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         Under general U.S. federal income tax principles, the Debtors should realize cancellation
 of indebtedness (“COD”) income to the extent that their obligations to a Holder are discharged
 pursuant to the Plan for an amount less than the adjusted issue price of such Holder’s Claim. For
 this purpose, the amount paid to a Holder in discharge of its Claim should equal the fair market
 value of any consideration given to such Holder in satisfaction of the Claim at the time of the
 exchange.

         Because the Debtors will be debtors in a bankruptcy case at the time they realize COD
 income, the Debtors should not be required to include such COD income in their gross income
 but rather should be required to reduce certain of their tax attributes by the amount of COD
 income so excluded, generally in the following order: (a) net operating losses and net operating
 loss carryforwards (collectively, “NOLs”); (b) general business credit carryforwards; (c)
 minimum tax credit carryforwards; (d) capital loss carryforwards; (e) the tax basis of the debtor’s
 depreciable and nondepreciable assets (but not below the amount of its liabilities immediately
 after the discharge); (f) passive activity loss and credit carryforwards; and (g) foreign tax credit
 carryforwards. A Debtor may elect to alter the preceding order of attribute reduction and,
 instead, first reduce the tax basis of its depreciable assets (and, possibly, the depreciable assets of
 its subsidiaries). The reduction in tax attributes occurs after the tax for the year of the debt
 discharge has been determined (i.e., subject to the discussion below regarding Section 382 of the
 Tax Code, such attributes may be available to offset taxable income, if any, that is generated
 between the date of discharge and the end of the Debtors’ taxable year and/or may be carried
 back to prior years).

        The Debtors expect to realize COD income as a result of the discharge of obligations
 pursuant to the Plan, which, under the attribute reduction rules described above, is generally
 expected to result in a reduction, or possible elimination, of certain of the Debtors’ tax attributes,
 including NOLs.

        2.      Utilization of NOLs

         If a corporation experiences an “ownership change” (within the meaning of Section 382
 of the Tax Code), the corporation’s ability to utilize its NOLs and certain other tax attributes
 allocable to periods before the Effective Date (collectively, “Pre-Change Losses”) to offset
 future taxable income (in any post-Effective Date taxable year and in the portion of the current
 taxable year beginning after the Effective Date) generally will be subject to certain limitations.
 Section 382 of the Tax Code may also limit a corporation’s ability to use certain “net unrealized
 built-in losses” existing on the date of the ownership change but recognized within five years of
 the ownership change to offset future taxable income. In general, the amount of the annual
 limitation to which a corporation that undergoes an ownership change would be subject (the
 “Section 382 Limitation”) is equal to the product of (a) the fair market value of the stock of the
 corporation immediately before the ownership change (with certain adjustments) and (b) the
 “long-term tax-exempt rate” announced by the IRS (for example, 2.09% for ownership changes
 occurring during June 2017).

        An exception to the foregoing annual limitation rules generally applies when
 stockholders and qualified creditors of a debtor corporation in chapter 11 collectively receive, in
 respect of their claims, at least fifty percent (50%) of the vote and value of the stock of the

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 reorganized debtor (or a controlling corporation if also in chapter 11) pursuant to a plan of
 reorganization (the “382(l)(5) Exception”). A “qualified creditor” is any creditor who has held
 the debt of the debtor for at least eighteen months prior to the petition date or who has held
 “ordinary course indebtedness” that has been owned at all times by such creditor. A creditor who
 does not become a direct or indirect five percent shareholder of the reorganized debtor generally
 may be treated by the debtor as having always held any debt owned immediately before the
 ownership change, unless the creditor’s participation in formulating the plan of reorganization
 makes evident to the debtor that the creditor has not owned the debt for the requisite period.
 Since the Prepetition Second Lien Facility and Second Lien Senior Notes were issued
 approximately three months before the petition date, the Reorganized Debtors will be eligible for
 the 382(l)(5) Exception only if the Second Lien Claims are treated as ordinary course
 indebtedness, and other requirements are satisfied. Under the 382(l)(5) Exception, a debtor’s
 ability to utilize its Pre-Change Losses is not limited on an annual basis, but, instead, NOLs will
 be reduced by the amount of any interest deductions claimed during the three taxable years
 preceding the Effective Date of the Plan, and during the part of the taxable year prior to and
 including the Effective Date, in respect of all debt converted into stock in the reorganization. If
 there is a second “ownership change” during the two-year period following the effective date of
 the plan, the second ownership change would not qualify for the 382(l)(5) Exception and the
 Section 382 Limitation with respect to such second ownership change would be zero. The
 Debtors have not yet determined whether to implement post-emergence trading restrictions to
 minimize the likelihood of a subsequent “ownership change.”

         Where the 382(l)(5) Exception is not applicable to a corporation in bankruptcy (either
 because the debtor does not qualify for it or the debtor otherwise elects not to utilize the
 382(l)(5) Exception), a second special rule will generally apply (the “382(l)(6) Exception”).
 Under the 382(l)(6) Exception, the Section 382 Limitation will be calculated by reference to the
 lesser of the value of the debtor corporation’s equity (with certain adjustments) immediately after
 the ownership change or the value of the debtor corporation’s assets (determined without regard
 to liabilities) immediately before the ownership change. For purposes of the calculation of the
 Section 382 Limitation under the 382(l)(6) Exception, if the debtor corporation holds substantial
 nonbusiness assets after the ownership change, the value of any nonbusiness assets of the debtor
 corporation (potentially including stock of subsidiaries in which the debtor corporation owns
 less than 50% by vote or value) might not be allowed to be taken into account. Notwithstanding
 the general rule, if the corporation (or the consolidated group of which it is a member) does not
 continue its historic business or use a significant portion of its historic assets in a new business
 for two years after the ownership change, the Section 382 Limitation resulting from the
 ownership change becomes zero retroactively to the date of the ownership change, thereby
 precluding any utilization of the corporation’s Pre-Change Losses (absent any increases due to
 any recognized built-in gains).

         Whether the Debtors qualify for the 382(l)(5) Exception is highly fact specific and
 significant uncertainties exist as to the facts and law underlying this position. Thus, the Debtors
 are not certain whether they will qualify for the 382(l)(5) Exception or would choose to elect out
 of the 382(l)(5) Exception. If the Debtors do not qualify for the 382(1)(5) Exception or the
 Debtors elect out of the 382(l)(5) Exception, the Debtors’ use of their Pre-Change Losses will be
 subject to the Section 382 Limitation following confirmation of the Plan, calculated under the
 special rule of Section 382(1)(6) of the Tax Code described above.

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        3.      Alternative Minimum Tax

         In general, a federal alternative minimum tax (“AMT”) is imposed on a corporation’s
 alternative minimum taxable income (“AMTI”) each year at a 20% rate to the extent that such
 tax exceeds the corporation’s regular federal income tax for such year. AMTI is generally equal
 to regular taxable income with certain adjustments. For purposes of computing AMTI, certain
 tax deductions and other beneficial allowances are modified or eliminated. In particular, even
 though a corporation may otherwise be able to offset all of its taxable income for regular tax
 purposes by available NOLs, only 90% of a corporation’s AMTI generally may be offset by its
 AMT NOLs.

        An ownership change (within the meaning of Section 382 of the Tax Code) that occurs
 with respect to a corporation having a net unrealized built-in loss in its assets will cause, for
 AMT purposes, the adjusted basis of each asset of the corporation immediately after the
 ownership change to be equal to its proportionate share (determined on the basis of respective
 fair market values) of the fair market value of the assets of the corporation, as determined under
 Section 382(h) of the Tax Code, immediately before the ownership change.

         If the Debtors undergo an “ownership change” (as described above) and have a net
 unrealized built-in loss in their assets, the basis of the Debtors’ assets is expected to be adjusted
 for AMT purposes.

        4.      Transfer of Assets to the GUC/Litigation Trust

         Pursuant to the Plan, the GUC/Litigation Trust will be established for the benefit of
 holders of GUC/Litigation Trust Interests. The GUC/Litigation Trust is intended to be treated as
 a “liquidating trust” within the meaning of Treasury Regulation section 301.7701-4(d) for U.S.
 federal income tax purposes, which is not a separate taxable entity, but rather is treated for U.S.
 federal income tax purposes as a “grantor trust” (i.e., a pass-through entity) with the holders of
 GUC/Litigation Trust Interests as the grantors. See “—B. Certain U.S. Federal Income Tax
 Consequences to U.S. Holders of Claims or Interests—3. Tax Treatment of GUC/Litigation
 Trust and Holders of Beneficial Interests,” below, for a discussion of the U.S. federal income tax
 consequences of the GUC/Litigation Trust to holders of GUC/Litigation Trust Interests.

         Accordingly, pursuant to the Plan, all assets held by the GUC/Litigation Trust on the
 Effective Date will be treated by the Debtors for U.S. federal income tax purposes as having
 been (1) distributed (subject to any obligations relating to such assets) by the Debtors or
 Reorganized Debtors in a taxable transaction to Holders of General Unsecured Claims (other
 than to the extent any assets are allocable to Disputed Claims) and in part to Holders of Allowed
 Second Lien Claims and (2) immediately thereafter contributed by the holders of such Claims
 (thereafter, the GUC/Litigation Trust Beneficiaries) to the GUC/Litigation Trust in exchange for
 GUC/Litigation Trust Interests.

         Subject to contrary definitive guidance from the IRS or a court of competent jurisdiction
 (including the receipt by the GUC/Litigation Trust Trustee of a private letter ruling if the
 GUC/Litigation Trust Trustee so requests, or the receipt of an adverse determination by the IRS
 upon audit if not contested by the GUC/Litigation Trust Trustee), the GUC/Litigation Trust

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 Trustee may elect to treat any assets allocable to, or retained on account of, Disputed Claims
 (hereafter referred as to the “GUC Disputed Claims Reserve”) as a “disputed ownership fund”
 governed by Treasury Regulation section 1.468B-9. A disputed ownership fund is generally
 treated as a separate corporate entity for U.S. federal income tax purposes and amounts earned in
 a disputed ownership fund are generally subject to tax on a current basis as the amounts are
 earned. Accordingly, the transfer of assets to the GUC Disputed Claims Reserve in respect of
 Disputed General Unsecured Claims should also be treated as a taxable distribution of assets by
 the Debtors. To the extent permitted by applicable law, the Plan provides that all parties
 (including the GUC/Litigation Trust Trustee, the Debtors and the GUC/Litigation Trust
 Beneficiaries) must report for U.S. federal, state, and local income tax purposes consistently with
 the GUC/Litigation Trust Trustee’s treatment of such reserve.

 B.     Certain U.S. Federal Income Tax Consequences to U.S. Holders of Claims or Interests

        The tax consequences described below are not exclusive, and some of the conclusions
 expressed are uncertain. U.S. Holders may be treated for U.S. federal income tax purposes in
 some manner other than that set forth herein. Each U.S. Holder should consult its tax advisor
 regarding the tax consequences to it of the transactions contemplated by the Plan.

        1.      U.S. Holders of Classes 1A-1B – Second Lien Claims

                (a)    General

         Pursuant to the Plan, in full and final satisfaction, settlement, release, and discharge of
 and in exchange for each and every Allowed Second Lien Claim (except as otherwise set forth
 herein with respect to the Reinstated Second Lien Claims and the Second Lien Litigation), on the
 Effective Date or as soon as practicable thereafter, each Holder of an Allowed Second Lien
 Claim shall receive its Pro Rata portion of the Second Lien Claim Distribution. In addition to the
 foregoing, in the TERP Share Election Alternative, each Holder of an Allowed Second Lien
 Claim that is an Eligible Holder shall receive its Pro Rata portion of the Rights Offering
 Subscription Rights.

         Subject to the discussion below regarding accrued interest, the Debtors intend to take the
 position that, for U.S. federal income tax purposes, a U.S. Holder of such Allowed Second Lien
 Claim should be treated as exchanging its Allowed Second Lien Claims for any Cash and/or
 other property in a taxable transaction. Under this approach, such U.S. Holder should recognize
 gain or loss equal to the difference between (a) the sum of any Cash and/or the fair market value
 of other property received in exchange for the Allowed Second Lien Claims pursuant to the Plan
 (please see “—3. Tax Treatment of GUC/Litigation Trust and Holders of Beneficial Interests,”
 below, for a discussion relating to the receipt and holding of interests in the GUC/Litigation
 Trust) and (b) the U.S. Holder’s adjusted tax basis of the Allowed Second Lien Claims
 surrendered pursuant to the Plan. Except to the extent described below under “Market Discount,”
 any such gain recognized should be treated as capital gain. The utilization of capital losses is
 subject to certain limitations under the Tax Code.

        As discussed below (see “—3. Tax Treatment of GUC/Litigation Trust and Holders of
 Beneficial Interests,” below), the GUC/Litigation Trust has been structured with the intent to

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 qualify as a “grantor Trust” for U.S. federal income tax purposes. Accordingly, each Holder of
 an Allowed Second Lien Claim receiving a beneficial interest in the GUC/Litigation Trust will
 be treated for U.S. federal income tax purposes as directly receiving, and as a direct owner of, its
 respective share of the GUC/Litigation Trust Assets (consistent with its economic rights in the
 trust). Pursuant to the Plan, the GUC/Litigation Trust Trustee will in good faith value the assets
 transferred to the GUC/Litigation Trust, and all parties to the GUC/Litigation Trust (including
 holders of Claims receiving GUC/Litigation Trust Interests) must consistently use such valuation
 for all U.S. federal income tax purposes.

                (b)     Accrued Interest

         To the extent that any Allowed Second Lien Claim entitled to a distribution under the
 Plan includes accrued but unpaid interest (including original issue discount (“OID”), if any)
 thereon, the Debtors intend to take the position that, for U.S. federal income tax purposes, such
 distribution should be allocated to the principal amount of the Allowed Second Lien Claim first
 with any excess consideration allocated to accrued but unpaid interest. Under this approach, a
 U.S. Holder who had previously included such accrued interest income (including OID, if any)
 generally would recognize a deductible loss to the extent that such accrued interest (including
 OID, if any) was not viewed as received. No assurances can be made that the IRS will respect
 such allocation. To the extent that any consideration received by U.S. Holders of Allowed
 Second Lien Claims is allocated to accrued but unpaid interest (including OID, if any), such
 amount should be excluded from the U.S. Holder’s amount realized for purposes of determining
 capital gain or loss and should instead be taxed as ordinary income to the extent it has not yet
 been included in such U.S. Holder’s gross income. U.S. Holders should consult their tax
 advisors regarding the particular U.S. federal income tax consequences applicable to them under
 the Plan with respect to accrued but unpaid interest.

        Certain legislative history indicates that an allocation of consideration as between
 principal and interest provided in a chapter 11 plan of reorganization is binding for U.S. federal
 income tax purposes, while certain Treasury regulations treat payments as allocated first to any
 accrued but untaxed interest. The IRS could take the position that the consideration received by
 U.S. Holders should be allocated in some way other than as provided in the Plan. U.S. Holders
 should consult their own tax advisors regarding the proper allocation of the consideration
 received by them under the Plan between principal and accrued but untaxed interest.

                (c)     Market Discount

          The market discount provisions of the Tax Code may apply to U.S. Holders of Allowed
 Second Lien Claims who receive a distribution pursuant to the Plan. An Allowed Second Lien
 Claim is a “market discount bond” for a U.S. Holder that acquired such Claim in the secondary
 market (or, in certain circumstances, upon original issuance) if its stated redemption price at
 maturity exceeds the adjusted tax basis of such Claim in the U.S. Holder’s hands immediately
 after its acquisition.

        Under the market discount rules (subject to a de minimis exception), any gain recognized
 by a U.S. Holder of an Allowed Second Lien Claim on the taxable disposition of such Claim
 (determined as described above) that was acquired with market discount should be characterized

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 as ordinary interest income to the extent of the accrued market discount on such Allowed Second
 Lien Claim as of the Effective Date (unless the U.S. Holder elected to include market discount in
 income as it accrued). U.S. Holders of Allowed Second Lien Claims should consult their tax
 advisors as to the tax consequences to them of the market discount rules.

              (d)    Ownership and Disposition of New SUNE Common Stock/Continuing
 TERP Class A Shares

         Any distribution made on New SUNE Common Stock or Continuing TERP Class A
 Shares, will constitute dividends for U.S. federal income tax purposes to the extent of such
 company’s current or accumulated earnings and profits as determined under U.S. federal income
 tax principles. To the extent that a U.S. Holder receives distributions that would otherwise
 constitute dividends for U.S. federal income tax purposes but that exceed such company’s
 current and accumulated earnings and profits, such distributions will be treated first as a non-
 taxable return of capital reducing the U.S. Holder’s basis in its shares of New SUNE Common
 Stock or Continuing TERP Class A Shares, respectively. Any such distribution in excess of the
 U.S. Holder’s basis in its shares of such company (determined on a share-by-share basis)
 generally will be treated as capital gain. Dividends paid to U.S. Holders that are corporations
 generally will be eligible for the dividends-received deduction so long as New SUNE or TERP,
 respectively, has sufficient earnings and profits, subject to certain holding period requirements.

         Subject to the discussion above of market discount rules in “—c. Market Discount,” a
 U.S. Holder generally will recognize capital gain or loss upon the sale, redemption, or other
 taxable disposition of the New SUNE Common Stock or Continuing TERP Class A Shares
 received in an amount equal to the difference between (i) the U.S. Holder’s adjusted tax basis in
 the New SUNE Common Stock or Continuing TERP Class A Shares, respectively, and (ii) the
 sum of the cash plus the fair market value of any property received from such disposition. A
 reduced tax rate on long-term capital gain may apply to non-corporate holders. The deductibility
 of capital losses is subject to certain limitations under the Tax Code.

        2.      U.S. Holders of Classes 4A-4E – Allowed General Unsecured Claims

        Pursuant to the Plan, in full and final satisfaction, settlement, release, and discharge of
 and in exchange for each and every Allowed General Unsecured Claim, each Holder of an
 Allowed General Unsecured Claim will receive its Pro Rata portion of the Class A
 GUC/Litigation Trust Interests, subject to the specifics set forth in the Plan.

          As discussed below (see “—3. Tax Treatment of GUC/Litigation Trust and Holders of
 Beneficial Interests,” below), the GUC/Litigation Trust has been structured with the intent to
 qualify as a “grantor Trust” for U.S. federal income tax purposes. Accordingly, each Holder of
 an Allowed General Unsecured Claim receiving a beneficial interest in the GUC/Litigation Trust
 will be treated for U.S. federal income tax purposes as directly receiving, and as a direct owner
 of, its respective share of the GUC/Litigation Trust Assets (consistent with its economic rights in
 the trust). Pursuant to the Plan, the GUC/Litigation Trust Trustee will in good faith value the
 assets transferred to the GUC/Litigation Trust, and all parties to the GUC/Litigation Trust
 (including holders of Claims receiving GUC/Litigation Trust Interests) must consistently use
 such valuation for all U.S. federal income tax purposes.

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                (a)     Taxable Transaction

         In general, a U.S. Holder of an Allowed General Unsecured Claim will recognize gain or
 loss with respect to its Allowed Claim equal to the difference between (a) the sum of any Cash
 and the fair market value of other property received in exchange for the Allowed General
 Unsecured Claims pursuant to the Plan (other than any consideration attributable to a Claim for
 accrued but unpaid interest) and (b) the U.S. Holder’s adjusted tax basis of the Allowed General
 Unsecured Claims surrendered pursuant to the Plan (other than basis attributable to accrued but
 unpaid interest previously included in the holder’s taxable income). See “—2. Accrued Interest,”
 below, for the treatment of Allowed Claims with respect to accrued but unpaid interest.

         After the Effective Date, a Holder’s share of any collections received on the assets of the
 GUC/Litigation Trust (other than as a result of the subsequent disallowance of Disputed Claims
 or the redistribution among holders of Allowed Claims of undeliverable distributions), should
 not be included, for U.S. federal income tax purposes, in the Holder’s amount realized in respect
 of its Allowed Claim but should be separately treated as amounts realized in respect of such
 Holder’s ownership interest in the underlying assets of the GUC/Litigation Trust. See “—3. Tax
 Treatment of GUC/Litigation Trust and Holders of Beneficial Interests,” below, for a discussion
 relating to the receipt and holding of interests in the GUC/Litigation Trust.

         In the event of a subsequent disallowance of a Disputed General Unsecured Claim, it is
 possible that a Holder of a previously Allowed Claim may be taxed as such Disputed Claims are
 resolved and the holder effectively becomes entitled to an increased share of the assets held in
 the GUC/Litigation Trust. The imputed interest provisions of the Tax Code may apply to treat a
 portion of such increased share or any additional distributions as imputed interest. In addition, it
 is possible that any loss realized by a U.S. Holder in satisfaction of an Allowed Claim may be
 deferred until all Disputed Claims in such Holder’s class are determined and such U.S. Holder’s
 share can no longer increase, and with respect to certain Claims, that a portion of any gain
 realized may be deferred under the “installment method” of reporting. Holders are urged to
 consult their tax advisors regarding the possibility for deferral, and the ability to elect out of the
 installment method of reporting any gain realized in respect of their Claims.

         Where gain or loss is recognized by a Holder in respect of its Allowed General
 Unsecured Claim, the character of such gain or loss as long-term or short-term capital gain or
 loss or as ordinary income or loss will be determined by a number of factors, including, among
 others, the tax status of the Holder, whether the Claim constitutes a capital asset in the hands of
 the Holder and how long it has been held, and whether and to what extent the Holder had
 previously claimed a bad debt deduction in respect of such Claim. The market discount
 provisions of the Tax Code may apply to U.S. Holders of Allowed General Unsecured Claims
 who receive a distribution pursuant to the Plan. An Allowed General Unsecured Claim is a
 “market discount bond” for a U.S. Holder that acquired such Claim in the secondary market (or,
 in certain circumstances, upon original issuance) if its stated redemption price at maturity
 exceeds the adjusted tax basis of such Claim in the U.S. Holder’s hands immediately after its
 acquisition. Under the market discount rules (subject to a de minimis exception), any gain
 recognized by a U.S. Holder of an Allowed General Unsecured Claim on the taxable disposition
 of such Claim that was acquired with market discount should be characterized as ordinary
 interest income to the extent of the accrued market discount on such Allowed General Unsecured

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 Claim as of the Effective Date (unless the U.S. Holder elected to include market discount in
 income as it accrued). A reduced tax rate on long-term capital gain may apply to non-corporate
 Holders. The deductibility of capital losses are subject to certain limitations under the Tax Code.
 U.S. Holders of Allowed General Unsecured Claims should consult their tax advisors as to the
 determination of the character of any gain or loss to them.

         A holder’s aggregate tax basis in its respective share of the GUC/Litigation Trust Assets
 received (other than Cash) in satisfaction of an Allowed General Unsecured Claim will equal the
 amount taken into account in determining the Holder’s amount realized. A holder’s holding
 period in its share of the GUC/Litigation Trust Assets generally will begin the day following the
 Effective Date.

                (b)     Accrued Interest

         To the extent that any Allowed General Unsecured Claim entitled to a distribution under
 the Plan includes accrued but unpaid interest (including OID, if any) thereon, the Debtors intend
 to take the position that, for U.S. federal income tax purposes, such distribution should be
 allocated to the principal amount of the Allowed General Unsecured Claim first with any excess
 consideration allocated to accrued but unpaid interest (see Article 10.13 of the Plan). Under this
 approach, a U.S. Holder who had previously included such accrued interest income (including
 OID, if any) generally would recognize a deductible loss to the extent that such accrued interest
 (including OID, if any) was not viewed as received. No assurances can be made that the IRS will
 respect such allocation. To the extent that any consideration received by U.S. Holders of
 Allowed General Unsecured Claim is allocated to accrued but unpaid interest (including OID, if
 any), such amount should be excluded from the U.S. Holder’s amount realized for purposes of
 determining capital gain or loss and should instead be taxed as ordinary income to the extent it
 has not yet been included in such U.S. Holder’s gross income. U.S. Holders should consult their
 tax advisors regarding the particular U.S. federal income tax consequences applicable to them
 under the Plan with respect to accrued but unpaid interest.

        Certain legislative history indicates that an allocation of consideration as between
 principal and interest provided in a chapter 11 plan of reorganization is binding for U.S. federal
 income tax purposes, while certain Treasury Regulations treat payments as allocated first to any
 accrued but untaxed interest. The IRS could take the position that the consideration received by
 U.S. Holders should be allocated in some way other than as provided in the Plan. U.S. Holders
 should consult their own tax advisors regarding the proper allocation of the consideration
 received by them under the Plan between principal and accrued but untaxed interest.

        3.      Tax Treatment of GUC/Litigation Trust and Holders of Beneficial
                Interests

                (a)     Classification as a Liquidating Trust

         The GUC/Litigation Trust is intended to qualify as a “liquidating trust” for U.S. federal
 income tax purposes (other than in respect of any portion of the GUC/Litigation Trust Assets
 allocable to, or retained on account of, Disputed Claims, as discussed below). In general, a
 liquidating trust is not a separate taxable entity but rather is treated for U.S. federal income tax

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 purposes as a “grantor” trust (i.e., a pass-through entity). The IRS, in Revenue Procedure 94-45,
 1994-2 C.B. 684, set forth the general criteria for obtaining an IRS ruling as to the grantor trust
 status of a liquidating trust under a chapter 11 plan. Any liquidating trust will be structured with
 the intention of complying with such general criteria. Pursuant to the Plan, and in conformity
 with Revenue Procedure 94-45 all parties (including, without limitation, the Debtors, the
 GUC/Litigation Trust Trustee and GUC/Litigation Trust Beneficiaries) will treat the transfer of
 GUC/Litigation Trust Assets to the GUC/Litigation Trust as (1) a transfer of GUC/Litigation
 Trust Assets (subject to any obligations relating to those assets) directly to GUC/Litigation Trust
 Beneficiaries (other than to the extent GUC/Litigation Trust Assets are allocable to Disputed
 Claims), followed by (2) the transfer by such beneficiaries to the GUC/Litigation Trust of
 GUC/Litigation Trust Assets in exchange for GUC/Litigation Trust Interests. Accordingly,
 except in the event of contrary definitive guidance, GUC/Litigation Trust Beneficiaries will be
 treated for U.S. federal income tax purposes as the grantors and owners of their respective share
 of GUC/Litigation Trust Assets (other than such GUC/Litigation Trust Assets as are allocable to,
 or retained on account of, Disputed Claims).

          While the following discussion assumes that the GUC/Litigation Trust would be treated
 as a liquidating trust for U.S. federal income tax purposes, no ruling is currently being requested
 from the IRS concerning the tax status of the liquidating trust as a grantor trust. Accordingly,
 there can be no assurance that the IRS would not take a contrary position to the classification of
 the GUC/Litigation Trust as a grantor trust. If the IRS were to challenge successfully such
 classification, the U.S. federal income tax consequences to the GUC/Litigation Trust and the
 Holders of Claims could vary from those discussed herein.

                (b)     General Tax Reporting by the GUC/Litigation Trust and Beneficiaries

         For all U.S. federal income tax purposes, all parties must treat the GUC/Litigation Trust
 as a grantor trust of which the holders of GUC/Litigation Trust Interests are the owners and
 grantors, and treat the GUC/Litigation Trust Beneficiaries as the direct owners of an undivided
 interest in the GUC/Litigation Trust Assets (other than any assets allocable to, or retained on
 account of, Disputed Claims), consistent with their economic interests therein.              The
 GUC/Litigation Trust Trustee will file tax returns treating the GUC/Litigation Trust as a grantor
 trust pursuant to section 1.671-4(a) of the Treasury Regulations. The GUC/Litigation Trust
 Trustee also will annually send to each holder of a GUC/Litigation Trust Interest a separate
 statement regarding the receipts and expenditures of the GUC/Litigation Trust as relevant for
 U.S. federal income tax purposes.

         Allocations of taxable income of the GUC/Litigation Trust (other than taxable income
 allocable to any assets allocable to, or retained on account of, Disputed Claims, if such income is
 otherwise taxable at the GUC/Litigation Trust) among the GUC/Litigation Trust Beneficiaries
 shall be determined by reference to the manner in which an amount of cash equal to such taxable
 income would be distributed (were such cash permitted to be distributed at such time) if,
 immediately prior to such deemed distribution, the GUC/Litigation Trust had distributed all its
 assets (valued at their tax book value, and other than assets allocable to Disputed Claims) to the
 GUC/Litigation Trust Beneficiaries, adjusted for prior taxable income and loss and taking into
 account all prior and concurrent distributions from the GUC/Litigation Trust. Similarly, taxable
 loss of the GUC/Litigation Trust shall be allocated by reference to the manner in which an

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 economic loss would be borne immediately after a liquidating distribution of the remaining
 GUC/Litigation Trust Assets. The tax book value of the GUC/Litigation Trust Assets for this
 purpose shall equal their fair market value on the date of the transfer of the GUC/Litigation Trust
 Assets to the GUC/Litigation Trust, adjusted in accordance with tax accounting principles
 prescribed by the Tax Code, applicable Treasury Regulations, and other applicable
 administrative and judicial authorities and pronouncements.

         As soon as reasonably practicable after the transfer of the GUC/Litigation Trust Assets to
 the GUC/Litigation Trust, the GUC/Litigation Trust Trustee shall make a good faith valuation of
 the GUC/Litigation Trust Assets. All parties to the GUC/Litigation Trust (including, without
 limitation, the Debtors, Holders of Allowed Claims, and the GUC/Litigation Trust Beneficiaries)
 must consistently use such valuation for all U.S. federal income tax purposes. The valuation will
 be made available, from time to time, as relevant for tax reporting purposes.

         Taxable income or loss allocated to a GUC/Litigation Trust Beneficiary will be treated as
 income or loss with respect to such GUC/Litigation Trust Beneficiary’s undivided interest in the
 GUC/Litigation Trust Assets, and not as income or loss with respect to its prior Allowed Claim.
 The character of any income and the character and ability to use any loss will depend on the
 particular situation of the GUC/Litigation Trust Beneficiary. It is currently unknown whether
 and to what extent the GUC/Litigation Trust Interests will be transferable.

         The U.S. federal income tax obligations of a Holder with respect to its GUC/Litigation
 Trust Interest are not dependent on the GUC/Litigation Trust distributing any cash or other
 proceeds. Thus, a Holder may incur a U.S. federal income tax liability with respect to its
 allocable share of GUC/Litigation Trust income even if the GUC/Litigation Trust does not make
 a concurrent distribution to the Holder. In general, other than in respect of cash retained on
 account of Disputed Claims and distributions resulting from undeliverable distributions (the
 subsequent distribution of which still relates to a Holder’s Allowed Claim), a distribution of cash
 by the GUC/Litigation Trust will not be separately taxable to a GUC/Litigation Trust Beneficiary
 since the beneficiary is already regarded for U.S. federal income tax purposes as owning the
 underlying assets (and was taxed at the time the cash was earned or received by the
 GUC/Litigation Trust). Holders are urged to consult their tax advisors regarding the appropriate
 U.S. federal income tax treatment of any subsequent distributions of cash originally retained by
 the GUC/Litigation Trust on account of Disputed Claims.

        The GUC/Litigation Trust Trustee will comply with all applicable governmental
 withholding requirements (see Article 7.2 of the Plan). Thus, in the case of any GUC/Litigation
 Trust Beneficiaries that are not U.S. persons, the GUC/Litigation Trust Trustee may be required
 to withhold up to 30% of the income or proceeds allocable to such persons, depending on the
 circumstances (including whether the type of income is subject to a lower treaty rate). See “—C.
 Certain U.S. Federal Income Tax Consequences to Non-U.S. Holders of Claims or Interests,”
 below.

             (c)    Tax Treatment of Assets Allocable to Disputed Claims and Distributions
 From the GUC Disputed Claims Reserve



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         Subject to definitive guidance from the IRS or a court of competent jurisdiction to the
 contrary (including the receipt by the GUC/Litigation Trust Trustee of an IRS private letter
 ruling if the GUC/Litigation Trust Trustee so requests one, or the receipt of an adverse
 determination by the IRS upon audit if not contested by the GUC/Litigation Trust Trustee), the
 GUC/Litigation Trust Trustee (A) may elect to treat any GUC/Litigation Trust Assets allocable
 to, or retained on account of, Disputed Claims (i.e., the GUC Disputed Claims Reserve) as a
 “disputed ownership fund” governed by section 1.468B-9 of the Treasury Regulations, and (B)
 to the extent permitted by applicable law, will report consistently for state and local income tax
 purposes. All parties (including, without limitation, the Debtors, the GUC/Litigation Trust
 Trustee and the GUC/Litigation Trust Beneficiaries) will be required to report for tax purposes
 consistently with the foregoing.

          Accordingly, if a “disputed ownership fund” election is made, and likely even if such an
 election is not made, the GUC Disputed Claims Reserve will be a separate taxable entity for U.S.
 federal income tax purposes, and all actual and constructive distributions from such reserve (that
 is, to the extent assets were initially allocable to Disputed Claims, but pursuant to the Plan or
 GUC/Litigation Trust Agreement are no longer retained by the GUC Disputed Claims Reserve)
 will be taxable to the reserve as if sold at fair market value. Any taxes incurred by the
 GUC/Litigation Trust with respect to assets allocable to, or retained on account of, a Disputed
 Claim (including any taxes that would be incurred upon a distribution of such assets as a result of
 the resolution of the Disputed Claim) will be netted against the amounts otherwise distributable
 from the GUC Disputed Claims Reserve in respect of, or as a result of the resolution of, such
 Claim. It is currently anticipated that no assets allocable to, or retained on account of, a Disputed
 Claim will be released from the GUC Disputed Claims Reserve until such time as the cash
 otherwise distributable as a result of the resolution of such Claim is sufficient to pay any taxes
 incurred or that would be incurred upon the distribution.

         Any actual or constructive distributions from the GUC Disputed Claims Reserve to a
 Holder of an Allowed General Unsecured Claim (including in respect of a previously Allowed
 Claim in the event a Disputed Claim is disallowed) generally should treated for U.S. federal
 income tax purposes as if received by such Holder directly from the Debtors on its original
 Claim. Thus, a holder of a previously Allowed Claim must be careful to differentiate between
 the tax treatment of actual or constructive distributions from GUC/Litigation Trust with respect
 to the GUC Disputed Claims Reserve and the tax treatment of distributions out of assets of the
 GUC/Litigation Trust to which the Holder is already considered the direct owner for U.S. federal
 income tax purposes (discussed above).

        4.      U.S. Holders of Class 8A – Interests in SUNE

         Pursuant to the Plan, on the Effective Date, Interests in SUNE will be deemed
 automatically cancelled, released, and extinguished and the obligations of the Debtors and the
 Reorganized Debtors thereunder will be discharged. Accordingly, U.S. Holders of Allowed
 Interests in SUNE should recognize a capital loss for U.S. federal income tax purposes in an
 amount equal to the Holder’s adjusted tax basis of its SUNE common stock. The utilization of
 capital losses is subject to certain limitations under the Tax Code.



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 C.     Certain U.S. Federal Income Tax Consequences to Non-U.S. Holders of Claims or
        Interests

          Each Non-U.S. Holder should consult its tax advisor regarding the U.S. tax consequences
 to it of the transactions contemplated by the Plan

        1.      Ownership and Disposition of New SUNE Common Stock/Continuing
                TERP Class A Shares

         A Non-U.S. Holder generally will not be subject to U.S. federal income tax with respect
 to Cash and/or property received pursuant to the Plan, unless (a) such Holder is engaged in a
 trade or business in the United States to which income, gain or loss from a distribution is
 “effectively connected” for U.S. federal income tax purposes, or (b) if such Holder is an
 individual, such Holder is present in the United States for 183 days or more during the taxable
 year of the distribution, and certain other requirements are met. Non-U.S. Holders that are
 engaged in a trade or business in the United States to which income, gain or loss from a
 distribution is effectively connected will be taxable on a net income basis at the applicable U.S.
 federal income tax rate and Non-U.S. Holders who are individuals present in the United States
 for 183 days or more in the taxable year of the distribution will be taxable on the gain or loss
 from the distribution at the U.S. federal income tax rates applicable to capital gains.

          Any distributions made on New SUNE Common Stock/Continuing TERP Class A Shares
 will constitute dividends for U.S. federal income tax purposes to the extent of New
 SUNE/TERP’s current or accumulated earnings and profits as determined under U.S. federal
 income tax principles. Unless a reduction or exemption applies, dividends paid on New SUNE
 Common Stock/Continuing TERP Class A Shares held by a Non-U.S. Holder that are not
 effectively connected with a Non-U.S. Holder’s conduct of a U.S. trade or business will be
 subject to U.S. federal withholding tax at a rate of 30% (or lower treaty rate or exemption from
 tax, if applicable). A Non-U.S. Holder that is a corporation for U.S. federal income tax purposes
 may also be subject to a branch profits tax with respect to such Non-U.S. Holder’s effectively
 connected earnings and profits that are attributable to the dividends at a rate of 30% (or at a
 reduced rate or exemption from tax under an applicable income tax treaty). A Non-U.S. Holder
 generally will be required to satisfy certain IRS certification requirements in order to claim a
 reduction of or exemption from withholding under a tax treaty by filing IRS Form W-8BEN or
 W-8BEN-E (or a successor form) upon which the Non-U.S. Holder certifies, under penalties of
 perjury, its status as a non-U.S. person and its entitlement to the lower treaty rate or exemption
 from tax with respect to such payments. Dividends paid on New SUNE Common
 Stock/Continuing TERP Class A Shares held by a Non-U.S. Holder that are effectively
 connected with a Non-U.S. Holder’s conduct of a trade or business generally will be subject to
 U.S. federal income tax in the same manner as a U.S. Holder.

        A Non-U.S. Holder generally will not be subject to U.S. federal income or withholding
 tax on gain realized on the sale or other taxable disposition of New SUNE Common
 Stock/Continuing TERP Class A Shares received pursuant to the Plan unless (i) such holder is an
 individual who was present in the United States for 183 days or more during the taxable year,
 and certain other conditions are met, (ii) such gain is effectively connected with such Non-U.S.
 Holder’s conduct of a trade or business within the United States, or (iii) New SUNE or TERP is

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 or has been a USRPHC at any time within the shorter of the five-year period preceding such
 disposition or such holder’s Holding period.

        2.      GUC/Litigation Trust Interests

          As discussed above (see “—B. Certain U.S. Federal Income Tax Consequences to U.S.
 Holders of Claims or Interests—3. Tax Treatment of GUC/Litigation Trust and Holders of
 Beneficial Interests”), the GUC/Litigation Trust has been structured with the intent to qualify as
 a “grantor trust” for U.S. federal income tax purposes. Accordingly, each Holder of an Allowed
 General Unsecured Claim receiving a beneficial interest in the GUC/Litigation Trust will be
 treated for U.S. federal income tax purposes as directly receiving, and as a direct owner of, its
 respective share of the GUC/Litigation Trust Assets (consistent with its economic rights in the
 trust), and will thereafter be taxable accordingly for U.S. federal income tax purposes.

         Thus, a Non-U.S. Holder of a GUC/Litigation Trust Interest may be subject to up to 30%
 withholding on the income or proceeds allocable to such persons, depending on, among other
 things, the particular type of income and whether the type of income is subject to a lower treaty
 rate. A Non-U.S. Holder may also be subject to other adverse tax consequences in connection
 with the implementation of the Plan.

 D.     Backup Withholding

         Under U.S. federal income tax law, interest, dividends and other reportable payments
 may, under certain circumstances, be subject to “backup withholding” at the then applicable
 withholding rate (currently 28%). Backup withholding generally applies if the Holder (i) fails to
 furnish its social security number or other taxpayer identification number (“TIN”), (ii) furnishes
 an incorrect TIN, (iii) fails to properly report interest or dividends, or (iv) under certain
 circumstances, fails to provide a certified statement, signed under penalty of perjury, that the
 TIN provided is its correct number and that it is not subject to backup withholding. Certain
 persons are exempt from backup withholding, including, in certain circumstances, corporations
 and financial institutions. Non-U.S. Holders that receive payments or distributions pursuant to
 the Plan will not be subject to backup withholding, provided that such holders furnish
 certification of their status as Non-U.S. persons (and furnish any other required certifications), or
 are otherwise exempt from backup withholding.

         Backup withholding is not an additional tax but merely an advance payment, which may
 be refunded to the extent it results in an overpayment of tax and the appropriate information is
 timely supplied to the IRS. Holders are urged to consult their tax advisors regarding the Treasury
 Regulations governing backup withholding and whether the transactions contemplated by the
 Plan would be subject to these Treasury Regulations.

 E.     Importance of Obtaining Professional Tax Assistance

      THE FOREGOING DISCUSSION IS INTENDED ONLY AS A SUMMARY OF
 CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN AND
 DOES NOT CONSTITUTE TAX ADVICE. THE TAX CONSEQUENCES ARE IN
 MANY CASES UNCERTAIN AND MAY VARY DEPENDING ON A HOLDER’S
 PARTICULAR CIRCUMSTANCES. ACCORDINGLY, HOLDERS OF CLAIMS OR
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 INTERESTS SHOULD CONSULT THEIR TAX ADVISORS ABOUT THE U.S.
 FEDERAL, STATE, LOCAL, AND FOREIGN INCOME AND OTHER TAX
 CONSEQUENCES OF THE CONSUMMATION OF THE TRANSACTIONS
 CONTEMPLATED BY THE PLAN.

                                           ARTICLE X.

      ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF THE PLAN

         The Debtors believe that the Plan affords Holders of Claims and Interests the potential for
 the greatest realization on the Debtors’ assets and, therefore, is in the best interests of such
 Holders. If the Plan is not confirmed, however, the theoretical alternatives include: (A)
 continuation of the pending Chapter 11 Cases; (B) an alternative plan or plans of reorganization;
 or (C) liquidation of the Debtors under chapter 7 of the Bankruptcy Code.

 A.     Continuation of the Bankruptcy Case

         If the Debtors remain in chapter 11, they could continue to operate their business and
 manage their properties as debtors in possession, but would remain subject to the restrictions
 imposed by the Bankruptcy Code. It is not clear whether the Debtors could survive as a going
 concern in protracted chapter 11 cases. In particular, the Debtors could have difficulty sustaining
 the high costs and the erosion of market confidence which may be caused if the Debtors remain
 chapter 11 debtors in possession and gaining access to sufficient liquidity to allow it to continue
 their operations as a going concern. And as further discussed herein, the Debtors believe that the
 Company has accomplished the goals that chapter 11 has allowed it to achieve, and that the
 Company’s key remaining challenges and objectives do not require that the Company remain in
 chapter 11.

 B.     Alternative Plans of Reorganization

        If the Plan is not confirmed, the Debtors or any other party in interest in the Chapter 11
 Cases (if the Debtors’ exclusive period in which to file a chapter 11 plan has expired) could
 propose a different plan or plans. Such plans might involve either a reorganization and
 continuation of the Debtors’ remaining business, or an orderly liquidation of the Debtors’ assets
 or a combination of both.

 C.     Liquidation Under Chapter 7 of the Bankruptcy Code

         If the Plan or any other chapter 11 plan for the Debtors cannot be confirmed under
 section 1129(a) of the Bankruptcy Code, the Chapter 11 Cases may be converted to cases under
 chapter 7 of the Bankruptcy Code, in which event a trustee (or trustees) would be elected or
 appointed to liquidate any remaining assets of the Debtors for distribution to creditors pursuant
 to chapter 7 of the Bankruptcy Code. A chapter 7 trustee, who would lack the Debtors’
 knowledge of their affairs, would be required to invest substantial time and resources to
 investigate the facts underlying the multitude of Claims filed against the Debtors’ estates. If a
 trustee is (or trustees are) appointed and the remaining assets of the Debtors are liquidated under
 chapter 7 of the Bankruptcy Code, all creditors holding Allowed Administrative Claims,
 Allowed Priority Tax Claims, and Allowed Other Priority Claims may receive distributions of a
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 lesser value on account of their Allowed Claims and likely would have to wait a longer period of
 time to receive such distributions. A liquidation under chapter 7 likely would result in smaller
 distributions made to creditors than that provided for in the Plan because of a number of factors,
 including, but not limited to: (i) additional Administrative Claims generated by conversion to a
 chapter 7 case, (ii) the administrative costs of liquidation, (iii) loss of value from remaining sales
 in the pipeline caused by, among other things, business discontinuity and loss of employee
 knowledge, (iv) associated delays in connection with a chapter 7 liquidation, (v) the low
 likelihood that recoveries on assets (including litigation assets) will be maximized in a chapter 7
 case, and (vi) additional Claims, some of which would be entitled to priority, which would be
 generated during the chapter 7 liquidation process.

         The Liquidation Analyses are premised upon a hypothetical liquidation in chapter 7
 cases. In the Liquidation Analyses, the Debtors have taken into account the nature, status, and
 underlying value of their assets, the ultimate realizable value of their assets, and the extent to
 which such assets are subject to liens and security interests. Based on these analyses, it is likely
 that a chapter 7 liquidation of the Debtors’ assets would produce less value for distribution to
 creditors than that recoverable in each instance under the Plan. In the Debtors’ opinion, the
 recoveries projected to be available in a chapter 7 liquidation are not likely to afford Holders of
 Claims and Interests as great a realization potential as does the Plan.

                                           ARTICLE XI.

                                      RECOMMENDATION

 A.     Hearing on and Objections to Confirmation

        1.      Confirmation Hearing

        The Confirmation Hearing has been scheduled for July 20, 2017 at 10:00 a.m. (Eastern
 Time). Such hearing may be adjourned from time to time by announcing such adjournment in
 open court, all without further notice to parties-in-interest, and the Plan may be modified by the
 Debtors pursuant to section 1127 of the Bankruptcy Code prior to, during, or as a result of the
 Confirmation Hearing, without further notice to parties-in-interest.

        2.      Date Set for Filing Objections to Confirmation of the Plan

         The time by which all objections to confirmation of the Plan must be filed with the
 Bankruptcy Court and received by the parties listed in the Confirmation Hearing Notice has been
 set for July 30, 2017 at 4:00 p.m. (Eastern time). A copy of the Confirmation Hearing Notice is
 enclosed with this Disclosure Statement.

 B.     Recommendation

         The Debtors, the Supporting Second Lien Parties, and the Creditors’ Committee
 recommend the Plan because it provides for greater distributions to the Holders of Claims and
 Interests than would otherwise result in a liquidation under chapter 7 of the Bankruptcy Code. In
 addition, any alternative other than Confirmation could result in extensive delays and increased
 administrative expenses resulting in smaller distributions to the Holders of Claims. Accordingly,

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 the Debtors, the Supporting Second Lien Parties, and the Creditors’ Committee recommend that
 Holders of Claims entitled to vote on the Plan support Confirmation and vote to accept the Plan.

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 Dated: June 12, 2017                             Respectfully submitted,



                                                  SUNEDISON, INC. AND ITS AFFILIATE
                                                  DEBTORS


                                                  By: /s/John S. Dubel
                                                      Name: John S. Dubel
                                                      Title: Chief Executive Officer of
                                                      SunEdison. Inc. and Chief
                                                      Restructuring Officer of all Debtors




                First Amended Disclosure Statement of SunEdison, Inc., et. al.
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                                      EXHIBIT A

                    First Amended Joint Plan of SunEdison, Inc., et al.
               Pursuant to Chapter 11 of the United States Bankruptcy Code
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     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK

                                                           :
 In re:                                                    : Chapter 11
                                                           :
 SUNEDISON, INC., et al.,                                  : Case No. 16-10992 (SMB)
                                                           :
                   Debtors.1                               : Jointly Administered
                                                           :
                                                           :

 FIRST AMENDED JOINT PLAN OF REORGANIZATION OF SUNEDISON, INC. AND
                       ITS DEBTOR AFFILIATES

 SKADDEN, ARPS, SLATE, MEAGHER &
    FLOM LLP
 Jay M. Goffman
 J. Eric Ivester
 Four Times Square
 New York, New York 10036-6522
 Telephone: (212) 735-3000

 James J. Mazza, Jr.
 Louis S. Chiappetta
 1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number
      are as follows: SunEdison, Inc. (5767); SunEdison DG, LLC (N/A); SUNE Wind Holdings, Inc. (2144); SUNE
      Hawaii Solar Holdings, LLC (0994); First Wind Solar Portfolio, LLC (5014); First Wind California Holdings,
      LLC (7697); SunEdison Holdings Corporation (8669); SunEdison Utility Holdings, Inc. (6443); SunEdison
      International, Inc. (4551); SUNE ML 1, LLC (3132); MEMC Pasadena, Inc. (5238); Solaicx (1969); SunEdison
      Contracting, LLC (3819); NVT, LLC (5370); NVT Licenses, LLC (5445); Team-Solar, Inc. (7782); SunEdison
      Canada, LLC (6287); Enflex Corporation (5515); Fotowatio Renewable Ventures, Inc. (1788); Silver Ridge
      Power Holdings, LLC (5886); SunEdison International, LLC (1567); Sun Edison LLC (1450); SunEdison
      Products Singapore Pte. Ltd. (7373); SunEdison Residential Services, LLC (5787); PVT Solar, Inc. (3308);
      SEV Merger Sub Inc. (N/A); Sunflower Renewable Holdings 1, LLC (6273); Blue Sky West Capital, LLC
      (7962); First Wind Oakfield Portfolio, LLC (3711); First Wind Panhandle Holdings III, LLC (4238); DSP
      Renewables, LLC (5513); Hancock Renewables Holdings, LLC (N/A); EverStream HoldCo Fund I, LLC
      (9564); Buckthorn Renewables Holdings, LLC (7616); Greenmountain Wind Holdings, LLC (N/A);
      Rattlesnake Flat Holdings, LLC (N/A); Somerset Wind Holdings, LLC (N/A); SunE Waiawa Holdings, LLC
      (9757); SunE MN Development, LLC (8669); SunE MN Development Holdings, LLC (5388); SunE Minnesota
      Holdings, LLC (8926); TerraForm Private Holdings, LLC (5993); SunEdison Products, LLC (3557); Hudson
      Energy Solar Corporation (1344); SunE REIT-D PR, LLC (2171); First Wind Energy, LLC (5519); First Wind
      Holdings, LLC (4445); Vaughn Wind, LLC (9605); Maine Wind Holdings, LLC (4825); SunEdison
      International Construction, LLC (6257); and EchoFirst Finance Co., LLC (1607). Effective June 13, 2017, the
      address of the Debtors’ corporate headquarters is Two City Place Drive, 2nd floor, St. Louis, MO 63141.
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 155 N. Wacker Dr.
 Chicago, Illinois 60606-1720
 Telephone: (312) 407-0700

 Anthony W. Clark
 One Rodney Square
 P.O. Box 636
 Wilmington, Delaware 19899-0636
 Telephone: (302) 651-3000

 Attorneys for Debtor and Debtor-in-Possession

 Dated:        June 12, 2017
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                                                   EXHIBITS2

 Exhibit 2.1                Administrative Claim Request Form

 Exhibit 6.1                Committee/BOKF Plan Settlement Term Sheet

 Exhibit 6.5                Reinstated Second Lien Claim Modification Terms

 Exhibit 6.12               Certificate of Incorporation and Bylaws

 Exhibit 6.20               Retained Causes of Action

 Exhibit 7.3                GUC/Litigation Trust Causes of Action

 Exhibit 8.1                Assumed Executory Contracts and Unexpired Leases




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     The Exhibits, other than Exhibit 6.1, will be filed with the Plan Supplement.


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                                             INTRODUCTION

                SunEdison, Inc. (“SUNE”) and certain of its affiliates, the debtors and debtors in
 possession (collectively, the “Debtors” and, together with their non-Debtor affiliates,
 “SunEdison” or the “Company”) in the above-captioned cases (the “Chapter 11 Cases”), hereby
 propose this joint plan (this “Plan”) for the resolution of the outstanding Claims and Interests.
 Capitalized terms used herein shall have the meanings ascribed to them in Article I.B of this
 Plan.

                The Plan contemplates a chapter 11 reorganization resulting in two distinct
 corporate structures upon consummation: (1) Reorganized SUNE and its subsidiaries and (2) the
 GUC/Litigation Trust. The Plan incorporates, and is primarily funded by, the Debtors’ sale,
 distribution or transfer of all of their interests in the YieldCos, either pursuant to the Jointly
 Supported Transactions or pursuant to the Plan immediately following the completion of the
 Jointly Supported Transactions. With respect to TERP, pursuant to the TERP Merger
 Agreement and the TERP Settlement Agreement, and in exchange for the Debtors’ Class B
 shares of TERP Inc. common stock and Class B units of TERP LLC, the Debtors will receive
 Class A shares of TERP Inc. common stock, and with respect to each Class A share of TERP
 Inc. common stock held by them (as of immediately prior to the consummation of the merger
 contemplated by the TERP Merger Agreement), either (1) elect to retain one Continuing TERP
 Class A Share (the “TERP Share Election Alternative”) and receive $4.50 in Cash or (2) elect to
 receive $9.52 in Cash and retain zero Continuing TERP Class A Shares, subject to the election
 terms set forth in the TERP Merger Agreement (the “TERP Cash Election Alternative”).3 The
 Debtors will only elect the TERP Cash Election Alternative in the event that (a) they do not
 receive a commitment to fully backstop the Rights Offering, (b) the Rights Offering Backstop
 Commitment is not approved by the Bankruptcy Court, or (c) the Equity Commitment
 Agreement is terminated prior to the date that the Debtors need to make their election.

                Plan distributions will be made from a combination of equity and debt in
 Reorganized SUNE, interests in the GUC/Litigation Trust, Cash on hand, and Cash from
 proceeds received through a combination of the Rights Offering (in the TERP Share Election
 Alternative only) and the Jointly Supported Transactions.

               In addition to the overall plan structure, the Plan also proposes or incorporates
 two settlements:

            First, the Plan is dependent on settlements of Claims and Causes of Action between
             the Debtors and each of the YieldCos. The YieldCo Settlements, negotiations of
             which were first announced in late January 2017, were entered into as of March 6,
             2017 and the YieldCo Settlement Motion was filed with the Bankruptcy Court on
             March 10, 2017. As of the date hereof, the YieldCo Settlement Motion is pending

 3
     The dollar amounts set forth for each of the TERP Share Election Alternative and the TERP Cash Election
     Alternative exclude a special dividend in the amount of $1.94 per TERP Class A to be paid in Cash pursuant to
     the TERP Merger Agreement.



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             before the Bankruptcy Court. As set forth herein, the value of the Debtors’ settled
             Claims and Causes of Action will be distributed to the Debtors’ creditors.

            Second, the Plan includes a settlement (the “Committee/BOKF Plan Settlement”)
             among the Debtors, the Tranche B Roll-Up Lenders/Steering Committee of
             Prepetition Secured Lenders and Noteholders, the Creditors’ Committee, and BOKF,
             N.A. (as Convertible Senior Notes Indenture Trustee). The executed term sheet for
             the Committee/BOKF Plan Settlement is attached hereto as Exhibit 6.1.4 Pursuant to
             the Committee/BOKF Plan Settlement, on the Effective Date, the Debtors will
             transfer to the GUC/Litigation Trust for the benefit of Holders of General Unsecured
             Claims the following assets:

                 o $7.5 million in Cash on account of the initial funding for the GUC/Litigation
                   Trust as contemplated by the Committee DIP Settlement annexed to the
                   Original DIP Facility Order and the Replacement DIP Facility Order (the
                   “GUC/Litigation Trust Initial Funding”);

                 o all proceeds realized from the settlement on account of proceeds allocable
                   from the D&O Insurance to certain estate Causes of Action against the
                   Debtors’ current or former directors or officers, which are expected to be $32
                   million in Cash (the “D&O Insurance Proceeds”);

                 o $18 million in Cash on account of the settlement of certain Avoidance Actions
                   in connection with the YieldCo Settlement Motion (the “YieldCo Avoidance
                   Allocation”);

                 o at least $5 million in Cash on account of Voluntary Professional Fee
                   Reductions (the “Voluntary Professional Fee Reduction Amount”), as well as
                   all additional Voluntary Professional Fee Reductions that exceed the
                   Voluntary Professional Fee Reduction Amount; and

                 o the GUC/Litigation Trust Causes of Action, subject to a sharing mechanism
                   set forth in the Committee/BOKF Plan Settlement Term Sheet.

            Pursuant to the Committee/BOKF Plan Settlement, all pending litigation that has been
             commenced by the Creditors’ Committee or BOKF, N.A. in the Chapter 11 Cases,
             including the UCC Challenge Litigation, the BOKF Objection, and the objections to
             the YieldCo Settlement Motion, will be held in abeyance pending the Bankruptcy
             Court’s approval of the Committee/BOKF Plan Settlement and the Confirmation of
             the Plan. The Plan serves as the Debtors’ motion to approve the Committee/BOKF
             Plan Settlement under Bankruptcy Rule 9019, and Confirmation of the Plan shall be
             deemed approval of such settlement. If the Committee/BOKF Plan Settlement is
             approved, the Plan is Confirmed, and the Plan becomes effective, all pending

 4
     To the extent of any inconsistency between the Plan and the Committee/BOKF Plan Settlement Term Sheet, the
     Committee/BOKF Plan Settlement Term Sheet shall prevail.



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            litigation will be deemed withdrawn with prejudice (and, if necessary, parties will file
            with the Bankruptcy Court any necessary withdrawal notices).

           The Committee/BOKF Plan Settlement also constitutes a complete settlement of any
            and all issues that may be in dispute (either currently or pending or that could be
            commenced in the future) regarding Annex II to the Replacement DIP Facility Order,
            including any right to receive amounts attributable to the Excess Non-Prepetition
            1L/2L Obligor Sale Proceeds.

           The Creditors’ Committee has agreed to support, and BOKF, N.A. has agreed not to
            object to, the Plan and related motions on the foregoing terms, as more fully set forth
            in the Committee/BOKF Plan Settlement Term Sheet.

           Holders of General Unsecured Claims, in their capacity as such, shall not be
            permitted to share or participate in (a) the Continuing TERP Class A Shares, (b) the
            Rights Offering, (c) the New SUNE Common Stock, and (d) the Reinstated Second
            Lien Claims.

                The Debtors are the proponents of this Plan within the meaning of section 1129 of
 the Bankruptcy Code. The Supporting Second Lien Parties, who collectively hold, in the
 aggregate, approximately 80% in amount of the Second Lien Claims, support the Plan on the
 terms set forth in the Equity Commitment Agreement. The Creditors’ Committee also supports,
 and BOKF, N.A. has agreed not to object to, the Plan on the terms set forth in the
 Committee/BOKF Plan Settlement. The distributions to be made to Holders of Claims are set
 forth herein. The Debtors’ non-Debtor subsidiaries are not subject to the Chapter 11 Cases.
 None of the YieldCos (defined below) nor their respective direct and indirect subsidiaries
 are included as “Debtors” in these Chapter 11 Cases.

                Under section 1125(b) of the Bankruptcy Code, a vote to accept or reject this Plan
 cannot be solicited from a Holder of a Claim or Interest until a disclosure statement has been
 approved by the Bankruptcy Court and distributed to Holders of Claims and Interests. The
 Disclosure Statement relating to this Plan was approved by the Bankruptcy Court on June 12,
 2017 and has been made available to all parties whose votes are being solicited. The Disclosure
 Statement contains, among other things, a discussion of the Debtors’ history, business, properties
 and operations, risk factors associated with the business and Plan, a summary and analysis of this
 Plan, a summary and analysis of the settlements contained in the Plan, and certain related
 matters.

           ALL HOLDERS OF CLAIMS WHO ARE ENTITLED TO VOTE ARE
 ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR
 ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THIS PLAN.

               Subject to the restrictions and requirements set forth in section 1127 of the
 Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions on modifications set forth in
 Article XIV of this Plan, the Debtors, with the consent of the Supporting Second Lien Parties
 and, to the extent affecting the Creditors’ Committee or any Holders of General Unsecured
 Claims, the reasonable consent of the Creditors’ Committee, expressly reserve their rights to

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 alter, amend, modify, revoke, or withdraw this Plan, one or more times, prior to this Plan’s
 substantial consummation.

                                            ARTICLE I

                            DEFINITIONS, RULES OF
                   INTERPRETATION, AND COMPUTATION OF TIME

 A.     Scope of Definitions

                 For purposes of this Plan, except as expressly provided otherwise or unless the
 context requires otherwise, all capitalized terms not otherwise defined shall have the meanings
 ascribed to them in Article I.B of this Plan. Any term used in this Plan that is not defined herein,
 but is defined in the Bankruptcy Code or the Bankruptcy Rules, shall have the meaning ascribed
 to that term in the Bankruptcy Code or the Bankruptcy Rules.

 B.     Definitions

              1.1    “2018 Convertible Senior Notes” means the Convertible Senior Notes
 issued by SUNE under the 2018 Convertible Senior Notes Indenture, bearing interest at a rate of
 2.00% per annum and issued in an aggregate principal amount of $600 million.

                1.2    “2018 Convertible Senior Notes Indenture” means that certain
 Indenture, dated as of December 20, 2013, by and between SUNE and the Convertible Senior
 Notes Indenture Trustee (as may be amended or supplemented from time to time) governing the
 2018 Convertible Senior Notes.

              1.3    “2020 Convertible Senior Notes” means the Convertible Senior Notes
 issued by SUNE under the 2020 Convertible Senior Notes Indenture, bearing interest at a rate of
 0.25% per annum and issued in an aggregate principal amount of $600 million.

                1.4    “2020 Convertible Senior Notes Indenture” means that certain
 Indenture, dated as of June 10, 2014, by and between SUNE and the Convertible Senior Notes
 Indenture Trustee (as may be amended or supplemented from time to time) governing the 2020
 Convertible Senior Notes.

                1.5    “2020 Exchangeable Notes” means the notes issued by Seller Note, LLC
 and guaranteed by SUNE under the 2020 Exchangeable Notes Indenture, bearing interest at a
 rate of 3.75% per annum and issued in an aggregate principal amount of $336,470,000.

                1.6    “2020 Exchangeable Notes Indenture” means that certain Indenture,
 dated as of January 29, 2015, by and among Seller Note, LLC, as issuer, SUNE, as guarantor,
 and BOKF, N.A. or its successor or successors (as may be amended or supplemented from time
 to time) governing the 2020 Exchangeable Notes.

              1.7    “2021 Convertible Senior Notes” means the Convertible Senior Notes
 issued by SUNE under the 2021 Convertible Senior Notes Indenture, bearing interest at a rate of
 2.75% per annum and issued in an aggregate principal amount of $600 million.

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                1.8    “2021 Convertible Senior Notes Indenture” means that certain
 Indenture, dated as of December 20, 2013, by and between SUNE and the Convertible Senior
 Notes Indenture Trustee (as may be amended or supplemented from time to time) governing the
 2021 Convertible Senior Notes.

              1.9    “2022 Convertible Senior Notes” means the Convertible Senior Notes
 issued by SUNE under the 2022 Convertible Senior Notes Indenture, bearing interest at a rate of
 2.375% per annum and issued in an aggregate principal amount of $460 million.

                1.10 “2022 Convertible Senior Notes Indenture” means that certain
 Indenture, dated as of January 27, 2015, by and between SUNE and the Convertible Senior Notes
 Indenture Trustee (as may be amended or supplemented from time to time) governing the 2022
 Convertible Senior Notes.

              1.11 “2023 Convertible Senior Notes” means the Convertible Senior Notes
 issued by SUNE under the 2023 Convertible Senior Notes Indenture, bearing interest at a rate of
 2.625% per annum and issued in an aggregate principal amount of $450 million.

                1.12 “2023 Convertible Senior Notes Indenture” means that certain
 Indenture, dated as of May 20, 2015, by and between SUNE and the Convertible Senior Notes
 Indenture Trustee (as may be amended or supplemented from time to time) governing the 2023
 Convertible Senior Notes.

              1.13 “2025 Convertible Senior Notes” means the Convertible Senior Notes
 issued by SUNE under the 2025 Convertible Senior Notes Indenture, bearing interest at a rate of
 3.375% per annum and issued in an aggregate principal amount of $450 million.

                1.14 “2025 Convertible Senior Notes Indenture” means that certain
 Indenture, dated as of May 20, 2015, by and between SUNE and the Convertible Senior Notes
 Indenture Trustee (as may be amended or supplemented from time to time) governing the 2025
 Convertible Senior Notes.

                  1.15 “Accredited Investor” has the meaning set forth in section 230.501(a) of
 title 17 of the Code of Federal Regulations.

                1.16   “ACE Policy” has the meaning ascribed to such term in Article 8.4(c).

               1.17 “Additional Net Avoidance Action Proceeds” means any Net Avoidance
 Actions Proceeds recovered that exceed $63 million in the aggregate.

                1.18 “Administrative Claim” means a Claim for payment of an administrative
 expense of a kind specified in section 503(b) of the Bankruptcy Code and entitled to priority
 pursuant to section 507(a)(2) of the Bankruptcy Code, including, but not limited to, the actual,
 necessary costs and expenses, incurred on or after the Petition Date, of preserving the Estates and
 operating the business of the Debtors, including wages, salaries, or commissions for services
 rendered after the commencement of the Chapter 11 Cases, Section 503(b)(9) Claims,
 Professional Claims, and all fees and charges assessed against the Estates under chapter 123 of
 title 28 of the United States Code, and all Allowed Claims that are entitled to be treated as

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 Administrative Claims pursuant to a Final Order of the Bankruptcy Court (under section
 546(c)(2)(A) of the Bankruptcy Code or otherwise).

                 1.19 “Administrative Claims Bar Date” means the deadline for filing proofs
 of or requests for payment of Administrative Claims, which shall be 30 days after the Effective
 Date, unless otherwise ordered by the Bankruptcy Court, and except with respect to the Original
 DIP Facility Claims, the Replacement DIP Facility Claims, and Professional Claims, which shall
 be subject to the provisions of Articles 2.2 and 2.3 hereof, as applicable.

                1.20   “Affected Professional” has the meaning ascribed to such term in Article
 2.3(d).

                1.21 “Affiliates” has the meaning ascribed to such term by section 101(2) of
 the Bankruptcy Code; provided, however, that, for purposes of this Plan, the term “Affiliates”
 with reference to Affiliates of the Debtors or Reorganized Debtors shall not include any of the
 YieldCos.

                1.22 “Allowed” means, for distribution purposes, a Claim or Interest, or any
 portion thereof, or a particular Class of Claims or Interests (a) that has been allowed by a Final
 Order of the Bankruptcy Court (or such other court as the Reorganized Debtor and the Holder of
 such Claim or Interest agree may adjudicate such Claim or Interest and objections thereto), (b)
 which is not the subject of a proof of Claim timely filed with the Bankruptcy Court and is
 Scheduled as liquidated and noncontingent, other than a Claim that is Scheduled at zero, in an
 unknown amount, or as disputed, but only to the extent such Claim is Scheduled as liquidated
 and noncontingent, (c) for which a proof of Claim in a liquidated amount has been timely filed
 with the Bankruptcy Court pursuant to the Bankruptcy Code, any Final Order of the Bankruptcy
 Court or other applicable bankruptcy law, and as to which (i) no objection to its allowance has
 been filed within the periods of limitation fixed by this Plan, the Bankruptcy Code or by any
 order of the Bankruptcy Court, (ii) any objection to its allowance has been settled or withdrawn,
 or has been denied by a Final Order of the Bankruptcy Court, or, (iii) following the Effective
 Date, with respect to General Unsecured Claims, as otherwise may be determined by the
 GUC/Litigation Trust in accordance with the GUC/Litigation Trust Agreement, or (d) that is
 expressly allowed in a liquidated amount pursuant to this Plan.

              1.23 “Applicable Issuer” has the meaning ascribed to such term in the
 Replacement DIP Facility Order.

                1.24 “Assumption and Rejection Procedures” means the expedited
 procedures for the Debtors to assume or reject Executory Contracts and Unexpired Leases
 pursuant to the Bankruptcy Court’s order dated May 13, 2016 (Docket No. 280).

                 1.25 “Avoidance Actions” means any and all actual or potential claims and
 causes of action to avoid a transfer of property or an obligation incurred by the Debtors and their
 recovery, subordination, or other remedies that may be brought by and on behalf of the Debtors
 and their estates under the Bankruptcy Code or applicable non-bankruptcy law, including actions
 or remedies under section 502, 510, 542, 544, 545, 547 through 553, and 724(a) of the
 Bankruptcy Code.

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               1.26 “Bankruptcy Code” means the Bankruptcy Reform Act of 1978, as
 amended and codified in title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as in effect
 on the date hereof but, with respect to amendments to the Bankruptcy Code subsequent to
 commencement of the Chapter 11 Cases, only to the extent that such amendments were made
 expressly applicable to bankruptcy cases which were filed as of the enactment of such
 amendments.

               1.27 “Bankruptcy Court” means the United States Bankruptcy Court for the
 Southern District of New York or such other court as may have jurisdiction over the Chapter 11
 Cases.

               1.28 “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure
 and the Official Bankruptcy Forms, as amended, the Federal Rules of Civil Procedure, as
 amended, as applicable to the Chapter 11 Cases or proceedings therein, and the Local Rules of
 the Bankruptcy Court, as applicable to the Chapter 11 Cases or proceedings therein, as the case
 may be.

               1.29 “Bar Date” means the deadlines set by the Bankruptcy Court pursuant to
 the Bar Date Orders or other Final Order for filing proofs of claim in the Chapter 11 Cases, as
 the context may require.

              1.30 “Bar Date Orders” means the orders entered by the Bankruptcy Court on
 August 10, 2016 (Docket No. 948), March 22, 2017 (Docket No. 2627), and May 16,
 2017 (Docket No. 3410) and any subsequent order supplementing such orders or relating thereto.

               1.31 “BOKF Objection” means the Objection to Proofs of Claim Nos. 1490
 and 3555 filed by BOKF, N.A., as indenture trustee for certain convertible unsecured notes
 issued by SunEdison, Inc. (Docket No. 1455).

                 1.32 “Brookfield” means Brookfield Asset Management, Inc. or one or more
 of its subsidiaries that are party to the Jointly Supported Transactions.

               1.33 “Business Day” means any day, excluding Saturdays, Sundays, and “legal
 holidays” (as defined in Bankruptcy Rule 9006(a)), on which commercial banks are open for
 business in New York City.

                1.34    “Cash” means legal tender of the United States of America and
 equivalents thereof.

                 1.35 “Causes of Action” means any and all actions, claims, proceedings,
 causes of action, suits, accounts, demands, controversies, agreements, promises, rights to legal
 remedies, rights to equitable remedies, rights to payment and claims, whether known, unknown,
 reduced to judgment, not reduced to judgment, liquidated, unliquidated, fixed, contingent,
 matured, unmatured, disputed, undisputed, secured or unsecured, and whether asserted or
 assertable, in contract or in tort, directly or derivatively, in law, equity or otherwise, including
 actions brought prior to the Petition Date, actions under chapter 5 of the Bankruptcy Code,
 including any Avoidance Action, and actions against any Entity for failure to pay for products or
 services provided or rendered by any Debtor, all claims, suits or proceedings relating to

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 enforcement of the Debtors’ intellectual property rights, including patents, copyrights and
 trademarks, and all claims or causes of action seeking recovery of the Debtors’ or the
 Reorganized Debtors’ accounts receivable or other receivables or rights to payment created or
 arising in the ordinary course of the Debtors’ or the Reorganized Debtors’ businesses, based in
 whole or in part upon any act or omission or other event occurring prior to the Petition Date or
 during the course of the Chapter 11 Cases, including through the Effective Date.

                1.36    “Certificate” means any instrument evidencing a Claim or an Interest.

                1.37 “Chapter 11 Cases” means the voluntary cases commenced by the
 Debtors under chapter 11 of the Bankruptcy Code, which are being jointly administered and are
 currently pending before the Bankruptcy Court under Case No. 16-10992 (SMB).

                 1.38 “Chubb Companies” shall mean ACE American Insurance Company,
 Westchester Fire Insurance Company, Illinois Union Insurance Company, ACE Property and
 Casualty Insurance Company, Indemnity Insurance Company of North America, Westchester
 Surplus Lines Insurance Company, Federal Insurance Company, Executive Risk Specialty
 Insurance Company, Executive Risk Indemnity, Inc., ESIS, Inc. and each of their respective
 affiliates. For the avoidance of doubt, the Chubb Companies are “insurers” as that term is used
 herein.

                1.39 “Chubb Insurance Contracts” means all insurance policies that have
 been issued by any of the Chubb Companies that provide coverage to any of the Debtors (or any
 of their predecessors), and all agreements, documents or instruments relating thereto. For the
 avoidance of doubt, (i) Policy Number DON G23652389009 issued by ACE American Insurance
 Company, which comprises a portion of the D&O Insurance, is one of the Chubb Insurance
 Contracts, and (ii) the Chubb Insurance Contracts are “Insurance Contracts,” as that term is used
 herein.

                 1.40 “Claim” means a claim against the Debtors, whether or not asserted, as
 defined in section 101(5) of the Bankruptcy Code, or an Administrative Claim, as applicable.

                1.41 “Claims and Solicitation Agent” means Prime Clerk LLC, 830 Third
 Avenue, 9th Floor, New York, New York 10022, Attention: SunEdison Case Administration.

                1.42 “Claims Objection Deadline” means, as applicable (except for
 Administrative Claims), (a) the day that is the later of the first Business Day that is at least 180
 days after the Effective Date or (b) such later date as may be established by the Bankruptcy
 Court upon request of the Reorganized Debtors without further notice to parties-in-interest.

                  1.43 “Class” means a category of Holders of Claims or Interests classified
 together pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code, as described in
 Article III of this Plan.

               1.44 “Class A GUC/Litigation Trust Interest” means an interest in the
 GUC/Litigation Trust representing all of the GUC/Litigation Trust Assets, other than forty-eight
 percent (48%) of the Additional Net Avoidance Action Proceeds.


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               1.45 “Class B GUC/Litigation Trust Interest” means an interest in the
 GUC/Litigation Trust representing a right of recovery to forty-eight percent (48%) of the
 Additional Net Avoidance Action Proceeds as further set forth in Article 7.2(b).

                1.46 “Committee DIP Settlement” means the Committee Settlement Annex as
 incorporated as Annex II to the Replacement DIP Facility Order.

               1.47 “Committee/BOKF Plan Settlement” means the settlement among the
 Debtors, the Creditors’ Committee, BOKF, N.A. (as Convertible Senior Notes Indenture
 Trustee), and the Tranche B Roll-Up Lenders/Steering Committee of Prepetition Secured
 Lenders and Noteholders, as set forth in the Committee/BOKF Plan Settlement Term Sheet.

                1.48 “Committee/BOKF Plan Settlement Term Sheet” means the term sheet
 attached hereto as Exhibit 6.1, which sets forth the terms and conditions of the Committee/BOKF
 Plan Settlement.

               1.49 “Confirmation” means the entry, within the meaning of Bankruptcy
 Rules 5003 and 9012, of the Confirmation Order, subject to all conditions specified in Article
 12.1 having been satisfied or waived, in accordance with the terms herein.

               1.50   “Confirmation Date” means the date on which Confirmation occurs.

                1.51 “Confirmation Hearing” means the hearing before the Bankruptcy Court
 held under section 1128 of the Bankruptcy Code to consider confirmation of the Plan and related
 matters as such hearing may be adjourned or continued from time to time.

                1.52 “Confirmation Order” means the order of the Bankruptcy Court
 confirming this Plan under section 1129 of the Bankruptcy Code in form and substance
 reasonably satisfactory to the Supporting Second Lien Parties and the Creditors’ Committee.

                1.53 “Contingency Fee Advisor Retention Notice” has the meaning ascribed
 to such term in Article 7.3.

              1.54 “Continuing TERP Class A Shares” means the Class A shares of TERP
 Inc. common stock to be retained by the Debtors pursuant to the Jointly Supported Transactions.

               1.55   “Convertible Senior Noteholder” means a Holder of Convertible Senior
 Notes.

                1.56 “Convertible Senior Notes” means, collectively, the 2018 Convertible
 Senior Notes, the 2020 Convertible Senior Notes, the 2021 Convertible Senior Notes, the 2022
 Convertible Senior Notes, the 2023 Convertible Senior Notes, the 2025 Convertible Senior
 Notes, and the 2020 Exchangeable Notes.

               1.57 “Convertible Senior Notes Claim” means any and all Claims held by the
 Convertible Senior Noteholders against SUNE arising under or related to the Convertible Senior
 Notes.


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                 1.58 “Convertible Senior Notes Indenture Trustee” means BOKF, N.A. or
 its successor or successors, in its or their capacity as indenture trustee for the Convertible Senior
 Notes pursuant to the Convertible Senior Notes Indentures.

              1.59 “Convertible Senior Notes Indentures” means the 2018 Convertible
 Senior Notes Indenture, the 2020 Convertible Senior Notes Indenture, the 2021 Convertible
 Senior Notes Indenture, the 2022 Convertible Senior Notes Indenture, the 2023 Convertible
 Senior Notes Indenture, the 2025 Convertible Senior Notes Indenture, and the 2020
 Exchangeable Notes Indenture.

               1.60 “Creditor” has the meaning ascribed to such term in section 101(10) of
 the Bankruptcy Code.

                1.61 “Creditors’ Committee” means the official committee of unsecured
 creditors appointed pursuant to section 1102(a) of the Bankruptcy Code in the Chapter 11 Cases
 on April 29, 2016, as may be reconstituted from time to time.

                 1.62 “Cure” means the payment or other honoring of all obligations required to
 be paid or honored in connection with assumption of an Executory Contract or Unexpired Lease
 pursuant to section 365 of the Bankruptcy Code, including (a) the cure of any non-monetary
 defaults to the extent required, if at all, pursuant to section 365 of the Bankruptcy Code, and (b)
 with respect to monetary defaults, the distribution, within a reasonable period of time following
 the Effective Date, of Cash, or such other property as may be agreed upon by the parties or
 ordered by the Bankruptcy Court, with respect to the assumption (or assumption and assignment)
 of an Executory Contract or Unexpired Lease, pursuant to section 365(b) of the Bankruptcy
 Code, in an amount equal to all unpaid monetary obligations or such other amount as may be
 agreed upon by the parties, under such Executory Contract or Unexpired Lease, to the extent
 such obligations are enforceable under the Bankruptcy Code and applicable non-bankruptcy law.

                1.63 “Cure Notice” means the notice of proposed Cure amount provided to
 counterparties to assumed Executory Contracts or Unexpired Leases pursuant to Article 8.5 of
 the Plan.

               1.64 “Cure Objection Deadline” means the deadline for filing objections to a
 Cure Notice or proposed Cure, which shall be on or before fourteen (14) days after the applicable
 counterparty was served with a Cure Notice.

                1.65 “D&O Insurance” means insurance maintained by the Debtors which
 covers, among others, current or former directors and officers of the Debtors or any of them,
 including any runoff policies or tail coverage, including, but not limited to, those insurance
 policies set forth in Exhibit 1 to the Order Granting Debtors’ Motion for Order Pursuant to
 Bankruptcy Code Sections 105 and 362, Bankruptcy Rule 4001, and Local Bankruptcy Rule
 4001-1 Authorizing Modification of the Automatic Stay, to the Extent Applicable, to Allow for
 Reimbursement and/or Payment of Defense Costs Under Directors’ and Officers’ Insurance
 Policies (Docket No. 368).

                 1.66   “D&O Insurance Proceeds” has the meaning ascribed to such term in the
 Introduction.
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                1.67 “D&O Settlement Agreement” means that certain Settlement Agreement
 contemplated to be entered into by and among the Debtors, the Creditors’ Committee, and the
 Individual Defendants (as defined therein). A form of the D&O Settlement Agreement was
 attached to the Debtors’ Motion for Order Pursuant to Bankruptcy Code Sections 105(a) and
 363(b), and Bankruptcy Rules 6004 and 9019, Authorizing and Approving D&O Mediation
 Settlement Agreement and D&O Insurance Cooperation Agreement, filed on June 7, 2017 at
 Docket No. 3296.

                1.68   “Debtor Group” has the meaning ascribed to such term in Article 3.1.

                1.69 “Debtor Professionals” has the meaning ascribed to such term in the
 definition of Released Parties.

                1.70 “Debtor Subsidiaries” means each Debtor that is a direct or indirect
 subsidiary of SUNE.

                1.71 “Debtors” means, collectively, SunEdison, Inc. (5767); SunEdison DG,
 LLC (N/A); SUNE Wind Holdings, Inc. (2144); SUNE Hawaii Solar Holdings, LLC (0994);
 First Wind Solar Portfolio, LLC (5014); First Wind California Holdings, LLC (7697); SunEdison
 Holdings Corporation (8669); SunEdison Utility Holdings, Inc. (6443); SunEdison International,
 Inc. (4551); SUNE ML 1, LLC (3132); MEMC Pasadena, Inc. (5238); Solaicx (1969);
 SunEdison Contracting, LLC (3819); NVT, LLC (5370); NVT Licenses, LLC (5445); Team-
 Solar, Inc. (7782); SunEdison Canada, LLC (6287); Enflex Corporation (5515); Fotowatio
 Renewable Ventures, Inc. (1788); Silver Ridge Power Holdings, LLC (5886); SunEdison
 International, LLC (1567); Sun Edison LLC (1450); SunEdison Products Singapore Pte. Ltd.
 (7373); SunEdison Residential Services, LLC (5787); PVT Solar, Inc. (3308); SEV Merger Sub
 Inc. (N/A); Sunflower Renewable Holdings 1, LLC (6273); Blue Sky West Capital, LLC (7962);
 First Wind Oakfield Portfolio, LLC (3711); First Wind Panhandle Holdings III, LLC (4238);
 DSP Renewables, LLC (5513); Hancock Renewables Holdings, LLC (N/A); EverStream HoldCo
 Fund I, LLC (9564); Buckthorn Renewables Holdings, LLC (7616); Greenmountain Wind
 Holdings, LLC (N/A); Rattlesnake Flat Holdings, LLC (N/A); Somerset Wind Holdings, LLC
 (N/A); SunE Waiawa Holdings, LLC (9757); SunE MN Development, LLC (8669); SunE MN
 Development Holdings, LLC (5388); SunE Minnesota Holdings, LLC (8926); TerraForm Private
 Holdings, LLC (5993); SunEdison Products, LLC (3557); Hudson Energy Solar Corporation
 (1344); SunE REIT-D PR, LLC (2171); First Wind Energy, LLC (5519); First Wind Holdings,
 LLC (4445); Vaughn Wind, LLC (9605); Maine Wind Holdings, LLC (4825); SunEdison
 International Construction, LLC (6257); and EchoFirst Finance Co., LLC (1607).

                1.72 “Disallowed” means (a) a Claim, or any portion thereof, that has been
 disallowed by a Final Order or a settlement, or as provided in this Plan, (b) a Claim or any
 portion thereof that is Scheduled at zero or as contingent, disputed, or unliquidated and as to
 which a proof of claim bar date has been established but no proof of claim has been timely filed
 or deemed timely filed with the Bankruptcy Court pursuant to either the Bankruptcy Code or any
 Final Order of the Bankruptcy Court or otherwise deemed timely filed under applicable law, or
 (c) a Claim or any portion thereof that is not Scheduled and as to which a proof of claim bar date
 has been established but no proof of claim has been timely filed or deemed timely filed with the


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 Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order of the Bankruptcy
 Court or otherwise deemed timely filed under applicable law.

                 1.73 “Disclosure Statement” means the disclosure statement or any
 supplements thereto (including the Plan Supplement and all schedules thereto or referenced
 therein) that relates to this Plan, as such disclosure statement may be amended, modified, or
 supplemented from time to time in accordance with the terms therein, in form and substance
 reasonably satisfactory to the Supporting Second Lien Parties, and the Creditors’ Committee, all
 as approved by an order of the Bankruptcy Court pursuant to sections 1125 and 1127 of the
 Bankruptcy Code and Bankruptcy Rule 3017.

                 1.74 “Disclosure Statement Order” means the order entered by the
 Bankruptcy Court approving the Disclosure Statement, in form and substance reasonably
 satisfactory to the Supporting Second Lien Parties and the Creditors’ Committee, as containing,
 among other things, “adequate information” as required by section 1125 of the Bankruptcy Code
 and solicitation procedures related thereto.

                1.75 “Disputed” means with respect to a Claim, (a) any Claim as to which any
 Debtor or other parties-in-interest in accordance with applicable law have interposed an
 objection or request for estimation in accordance with the Bankruptcy Code and the Bankruptcy
 Rules, or any Claim otherwise disputed by any Debtor, or other parties-in-interest in accordance
 with applicable law, which objection has not been withdrawn or determined by a Final Order, (b)
 any Claim scheduled by the Debtors as contingent, unliquidated, or disputed, (c) any Claim
 which amends a Claim scheduled by the Debtors as contingent, unliquidated, or disputed, or (d)
 any Claim prior to it having become an Allowed Claim.

              1.76 “Distribution Agent” means any Entity selected by the Debtors or the
 Reorganized Debtors, in their sole discretion, to make or facilitate distributions pursuant to this
 Plan.

                 1.77 “Distribution Date” means the date selected by the Reorganized Debtors,
 in their sole discretion, upon which distributions to Holders of Allowed Claims entitled to
 receive distributions under this Plan shall commence.

                1.78 “Distribution Record Date” means the date for determining which
 Holders of Allowed Claims are eligible to receive distributions under the Plan, which shall be (a)
 ten (10) Business Days after entry of the Confirmation Order or (b) such other date as designated
 by an order of the Bankruptcy Court; provided, however, that the Distribution Record Date shall
 not apply to any Claim governed by an Indenture. All distributions under this Plan to Holders of
 Allowed Claims that are governed by an Indenture shall be made in accordance with DTC’s
 procedures (as applicable).

                1.79 “District Court” means the United States District Court for the Southern
 District of New York.

                1.80   “DTC” means the Depository Trust Company, and its successors and
 assigns.


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                 1.81 “Earnout Asset” means any contract, agreement, right or other asset that
 gives rise to the right to receive Cash or non-Cash proceeds, including conditional or contingent
 consideration, in connection with the Debtors’ or Reorganized Debtors’ or their respective
 subsidiaries’ disposition of any asset.

                 1.82 “Earnout Proceeds” means the Cash or non-Cash proceeds received
 directly or indirectly by any Debtor or Reorganized Debtor on account of any Earnout Asset.

                1.83 “Effective Date” means the date on which this Plan shall take effect,
 which date shall be a Business Day on or after the Confirmation Date on which: (a) no stay of
 the Confirmation Order is in effect; and (b) all conditions precedent to the effectiveness of this
 Plan specified in Article 12.2, have been satisfied, or, if capable of being waived in accordance
 with the terms herein, waived, which date shall be specified in a notice filed by the Reorganized
 Debtors with the Bankruptcy Court.

                1.84 “Eligible Holder” means a Holder of an Allowed Second Lien Claim who
 is an Accredited Investor.

                1.85 “Employee Compensation Plans” means, collectively, the KEIP, the
 KERP, the Utility Project Incentive Plan, the RSC Deal Incentive Plan, the C&I Deal Incentive
 Plan, and any other employee compensation plan implemented by the Debtors in the ordinary
 course of business.

              1.86     “Entity” has the meaning ascribed to such term in section 101(15) of the
 Bankruptcy Code.

                 1.87 “EPL Policy” means insurance maintained by the Debtors related to
 certain employment-related claims which covers, among others, current or former directors and
 officers of the Debtors or any of them, including any runoff policies or tail coverage, including,
 but not limited to, Continental Casualty Company’s Employment Practices Liability Solutions
 Insurance Policy Number 596411042.

                 1.88 “Equity Commitment Agreement” means that certain Commitment
 Agreement, by and among SUNE and the backstop purchasers set forth therein, dated as of May
 19, 2017 (as may be amended, supplemented, or modified from time to time), a copy of which is
 attached to the order entered by the Bankruptcy Court on June 6, 2017 at Docket No. 3283.

                1.89 “Equity Security” has the meaning ascribed to such term in section
 101(16) of the Bankruptcy Code.

                1.90   “ERISA” means the Employee Retirement Income Security Act of 1974.

                1.91 “Estates” means the bankruptcy estates of the Debtors created pursuant to
 section 541 of the Bankruptcy Code.

                1.92   “Event” means any event, development, occurrence, circumstance or
 change.


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                1.93 “Excess Non-Prepetition 1L/2L Obligor Sale Proceeds” has the
 meaning set forth in the Replacement DIP Facility Order, the determination of which amount is
 being settled pursuant to the Committee/BOKF Plan Settlement described in Section 6.1 herein.

                1.94 “Exchange Act” means the Securities Exchange Act of 1934, as now in
 effect or hereafter amended, and the rules and regulations of the United States Securities and
 Exchange Commission promulgated thereunder.

              1.95 “Exchangeable Notes Claim” means any and all Claims held by the
 Holders of 2020 Exchangeable Notes against SUNE arising under or related to the 2020
 Exchangeable Notes.

                 1.96 “Exculpated Claim” means any claim (as defined in section 101(5) of the
 Bankruptcy Code ) or Legal Proceeding against any Entity related to any act or omission in
 connection with, relating to, or arising out of the Debtors’ restructuring, the Chapter 11 Cases,
 formulation, preparation, dissemination, negotiation, or filing of the Disclosure Statement, the
 Plan, the Rights Offering, the Jointly Supported Transaction Agreements, the YieldCo
 Avoidance Allocation, the settlement of the Creditors’ Committee’s claims and Causes of Action
 against the Prepetition Secured Parties as proposed by the Debtors in the Plan, the settlement of
 Claims or renegotiation of Executory Contracts or Unexpired Leases, the negotiation of the Plan,
 the Original DIP Credit Agreement, the Replacement DIP Credit Agreement, the GUC/Litigation
 Trust Agreement, the Plan Supplement, or any contract, instrument, release, or other agreement
 or document created or entered into in connection with the Disclosure Statement or Plan, the
 filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of consummation of the
 Plan, the administration, consummation, and implementation of the Plan, including the issuance
 of Plan securities, the distribution of property under the Plan, the Jointly Supported Transactions
 or any other transaction contemplated by the Plan or Disclosure Statement, or in furtherance
 thereof.

                 1.97 “Exculpated Parties” means, collectively, each of the following solely in
 their respective capacities as such: (a) the Debtors, and each of their successors and assigns, (b)
 the Reorganized Debtors, (c) the Rights Offering Backstop Purchasers, (d) the Supporting
 Second Lien Parties, (e) the Original DIP Lenders and all other Original DIP Secured Parties, (f)
 the Original DIP Agents, (g) the Replacement DIP Lenders, (h) the Replacement DIP Agents,
 (i) the Creditors’ Committee and each of its members, solely in their capacity as such, (j) the
 Prepetition First Lien Secured Parties, (k) the Prepetition First Lien Agents, (l) the Indenture
 Trustees, (m) the Second Lien Agents, (n) any underwriters, arrangers, or placement agents in
 respect of the Second Lien Senior Notes, (o) the Second Lien Collateral Trustee, (p) TERP Inc.,
 TERP LLC, and their respective former and current partners, agents, officers, directors,
 employees, representatives, attorneys and advisors (who served in such roles after April 21,
 2016), (q) GLBL Inc., GLBL LLC, and their respective former and current partners, agents,
 officers, directors, employees, representatives, attorneys and advisors (who served in such roles
 after April 21, 2016), (r) the Applicable Issuers, and (s) with respect to each of the foregoing
 parties in clauses (a) through (r), such parties’ subsidiaries, Affiliates, officers, directors,
 principals, members, managers, employees, agents, financial advisors, attorneys, accountants,
 investment bankers, consultants, representatives, and other representatives and professionals (but
 solely in their capacities related to the functions that such primary exculpated party is receiving

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 exculpation for in clauses (a) through (r)); provided, that, solely with respect to the Debtors’
 directors and officers, this clause (s) shall apply only to (i) the Existing Directors (and their
 counsel) and (ii) the Debtors’ officers who continued to serve in such roles as of March, 28, 2017
 (the initial filing of this Plan).

                  1.98 “Executory Contract” means any contract to which any Debtor is a party
 that is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

              1.99 “Exhibit” means an exhibit annexed either to this Plan, contained in the
 Plan Supplement, or annexed as an appendix to the Disclosure Statement.

                1.100 “Existing Directors” means Antonio R. Alvarez, Clayton C. Daley, Jr.,
 Claire Gogel, Emmanuel T. Hernandez, Georganne C. Proctor, James B. Williams and Randy H.
 Zwirn, each in his or her respective capacity as a director of the SUNE prior to the Effective
 Date.

              1.101 “Existing L/Cs” has the meaning ascribed to such term in the
 Replacement DIP Facility Order.

                1.102 “Face Amount” means, (a) when used in reference to a Disputed Claim or
 Disallowed Claim, the full stated liquidated amount claimed by the Holder of a Claim in any
 proof of Claim, or amendment thereof in accordance with applicable law, timely filed with the
 Bankruptcy Court or otherwise deemed timely filed by any Final Order of the Bankruptcy Court
 or other applicable bankruptcy law, or the amount estimated for such Claim in an order of the
 Bankruptcy Court, and (b) when used in reference to an Allowed Claim or Allowed Interest, the
 allowed amount of such Claim or Interest. If none of the foregoing applies, the Face Amount of
 the Claim shall be zero ($0) dollars.

                1.103 “Fee Examiner” has the meaning ascribed to such term in Article 2.3(d).

                1.104 “Final Decree” means the decree contemplated under Bankruptcy Rule
 3022.

                 1.105 “Final Order” means an order or judgment, the operation or effect of
 which has not been reversed, stayed, modified, or amended, is in full force and effect, and as to
 which order or judgment (or any reversal, stay, modification, or amendment thereof) (a) the time
 to appeal, seek certiorari, or request reargument or further review or rehearing has expired and
 no appeal, petition for certiorari, or request for reargument or further review or rehearing has
 been timely filed, or (b) any appeal that has been or may be taken or any petition for certiorari or
 request for reargument or further review or rehearing that has been or may be filed has been
 resolved by the highest court to which the order or judgment was appealed, from which certiorari
 was sought, or to which the request was made, and no further appeal or petition for certiorari or
 request for reargument or further review or rehearing has been or can be taken or granted;
 provided, however, that the possibility that a motion under Rule 60 of the Federal Rules of Civil
 Procedures, or any analogous rule under the Bankruptcy Rules, may be filed relating to such
 order shall not prevent such order from being a Final Order; provided, further, that the Debtors or
 Reorganized Debtors, as applicable, reserve the right to waive any appeal period for an order or
 judgment to become a Final Order.
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                1.106 “General Unsecured Claim” means any Claim that is not an
 Administrative Claim, an Original DIP Facility Claim, Replacement DIP Facility Claim, Priority
 Tax Claim, Second Lien Claim, Other Secured Claim, Other Priority Claim, Intercompany
 Claim, or Other Subordinated Claim. Without limiting the foregoing, General Unsecured Claims
 include all Rejection Damages Claims that are not Allowed Section 503(b)(9) Claims and all
 Exchangeable Notes Claims.

                1.107 “GLBL” means, collectively, GLBL Inc., GLBL LLC, and their direct
 and indirect subsidiaries.

                1.108 “GLBL Inc.” means TerraForm Global, Inc.

                1.109 “GLBL LLC” means TerraForm Global, LLC.

               1.110 “GLBL Merger Agreement” means the Agreement and Plan of Merger,
 dated as of March 6 2017, by and among GLBL Inc. and certain affiliates of Brookfield.

               1.111 “GLBL Settlement Agreement” means the Settlement Agreement, dated
 as of March 6, 2017, by and among SUNE, GLBL Inc., and certain of their respective affiliates.
 A copy of the GLBL Settlement Agreement was filed as an attachment to the YieldCo
 Settlement Motion.

               1.112 “GLBL Voting and Support Agreement” means that certain Voting and
 Support Agreement, dated as of March 6, 2017, by and among SUNE, SunEdison Holdings
 Corporation, GLBL Inc., and certain affiliates of Brookfield. A copy of the GLBL Voting and
 Support Agreement was filed as an attachment to the Voting and Support Motion.

                1.113 “Governmental Unit” has the meaning ascribed to such term in section
 101(27) of the Bankruptcy Code.

                1.114 “GUC Disputed Claims Reserve” means assets of the GUC/Litigation
 Trust allocable to, or retained on account of, Disputed General Unsecured Claims.

                1.115 “GUC/Litigation Trust” means the “SunEdison GUC/Litigation Trust”
 established pursuant to the GUC/Litigation Trust Agreement, the Original DIP Facility Order,
 and the Replacement DIP Facility Order.

                 1.116 “GUC/Litigation Trust Agreement” means the GUC/Litigation Trust
 Agreement, as may be amended, supplemented, restated, or otherwise modified from time to
 time pursuant to the terms thereof, by and between the Debtors and the GUC/Litigation Trust
 Trustee, the then-current form of which shall be included in the Plan Supplement, and which
 shall be consistent with the Committee/BOKF Plan Settlement Term Sheet.

                1.117 “GUC/Litigation Trust Assets” means (i) the GUC/Litigation Trust
 Initial Funding, (ii) the GUC/Litigation Trust Causes of Action that have not already been settled
 as of the Effective Date, (iii) the D&O Insurance Proceeds, (iv) the YieldCo Avoidance
 Allocation, and (v) the Voluntary Professional Fee Reduction Amount. Except as otherwise
 prescribed by this Plan or the GUC/Litigation Trust Agreement, the GUC/Litigation Trust Assets

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 shall be transferred to the GUC/Litigation Trust by the Debtors or by any other Person then in
 possession of GUC/Litigation Trust Assets, as applicable, on the Effective Date.

              1.118 “GUC/Litigation         Trust     Beneficiaries”   means     the   Holders   of
 GUC/Litigation Trust Interests.

                 1.119 “GUC/Litigation Trust Causes of Action” mean all Causes of Action of
 the Debtors’ Estates as of the Effective Date, including all Estate Avoidance Actions (other than
 Avoidance Actions against the Yieldcos and Avoidance Actions against the Prepetition First
 Lien Secured Parties and the Second Lien Creditors), to the extent such Causes of Action are not
 released, or settled with the consent of the Creditors’ Committee, pursuant to Article 11.5 of this
 Plan or released or settled pursuant to an Order of the Bankruptcy Court or the
 Committee/BOKF Plan Settlement Term Sheet.

                1.120 “GUC/Litigation Trust Initial Funding” has the meaning ascribed to
 such term in the Introduction.

                 1.121 “GUC/Litigation Trust Interests” means the Class A GUC/Litigation
 Trust Interests and the Class B GUC/Litigation Trust Interests.

                 1.122 “GUC/Litigation Trust Oversight Board” means the oversight board
 created by the Creditors’ Committee to oversee the GUC/Litigation Trust, the members of which
 shall be set forth in the Plan Supplement. Any compensation to be paid to the members of the
 GUC/Litigation Trust Oversight Board shall be paid, first, from the GUC/Litigation Trust Initial
 Funding and, then, after such funding is exhausted, from other GUC/Litigation Trust Assets.
 The GUC/Litigation Trust Oversight Board will owe fiduciary duties to the GUC/Litigation
 Trust Beneficiaries.

                 1.123 “GUC/Litigation Trust Reports” means semi-annual reports, provided
 by the GUC/Litigation Trust Trustee, containing, among other things, descriptions in reasonable
 detail of all Net Avoidance Actions Proceeds collected during the relevant half-year and all fees
 and expenses expended in connection therewith.

               1.124 “GUC/Litigation Trust Trustee” means the Person selected by the
 Creditors’ Committee or the GUC/Litigation Trust Oversight Board (as applicable) pursuant to
 the GUC/Litigation Trust Agreement to serve as trustee of the GUC/Litigation Trust from time to
 time. Any compensation to be paid to the GUC/Litigation Trust Trustee shall be paid, first, from
 the GUC/Litigation Trust Initial Funding and, then, after such funding is exhausted, from other
 GUC/Litigation Trust Assets. The GUC/Litigation Trust Trustee and the GUC/Litigation Trust
 Oversight Board will owe fiduciary duties to the GUC/Litigation Trust Beneficiaries.

                 1.125 “Holdback Escrow Account” means the interest-bearing escrow account
 into which Cash equal to the Holdback Escrow Amount shall be deposited on the Effective Date
 for the payment of Allowed Professional Claims (as Allowed pursuant to the terms of this Plan)
 to the extent not previously paid or disallowed.

              1.126 “Holdback Escrow Amount” means the sum of (a) the aggregate
 amounts withheld by the Debtors as of the Confirmation Date as a holdback on payment of

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 Professional Claims pursuant to the Professional Fee Order and (b) twenty (20) percent of that
 portion of the unbilled fees of Professionals estimated pursuant to Article 2.3(c) of the Plan
 attributable to fees incurred as of the Confirmation Date, less (c) the Voluntary Professional Fee
 Reduction Amount; provided, however, that if a Professional does not provide an estimate
 pursuant to Article 2.3(c), the Debtors (with the consent of the Supporting Second Lien Parties)
 may estimate the unbilled fees of such Professional incurred as of the Confirmation Date, and the
 sum of provision (a) above and the total amount so estimated shall comprise the Holdback
 Escrow Amount.

                1.127 “Holder” means a holder of a Claim against or Interest in the Debtors.

              1.128 “Impaired” means impaired within the meaning of section 1124 of the
 Bankruptcy Code.

                 1.129 “Indemnitee” means an Existing Director or a Person employed by a
 Debtor or serving as a director or officer of a Debtor immediately prior to the Effective Date and
 who, acting in their respective capacities as such immediately prior to the Effective Date, are
 entitled to assert Indemnification Obligations.

                1.130 “Indemnification Obligations” means obligations of a Debtor, if any, to
 indemnify, reimburse, advance, or contribute to the losses, liabilities, or expenses of an
 Indemnitee pursuant to such Debtor’s certificate of incorporation, bylaws, policy of providing
 employee indemnification, applicable law, or specific agreement in respect of any claims,
 demands, suits, causes of action, or proceedings against an Indemnitee based upon any act or
 omission related to an Indemnitee’s service with, for, or on behalf of the Debtor.

                1.131 “Indenture Trustees” means the Second Lien Senior Notes Indenture
 Trustee and the Convertible Senior Notes Indenture Trustee.

              1.132 “Indentures” means the Convertible Senior Notes Indentures and the
 Second Lien Senior Notes Indenture.

                1.133 “Insurance Contract” has the meaning ascribed to it in Article 8.4 of this
 Plan.

                1.134 “Insured Claims” has the meaning ascribed to it in Article 8.4 of this
 Plan.

                 1.135 “Intercompany Claim” means a Claim or a Cause of Action by SUNE or
 any direct or indirect subsidiary of SUNE against SUNE or any direct or indirect subsidiary of
 SUNE, in each case other than (i) any Claim or Cause of Action by or against any YieldCo, (ii)
 any Claim or Cause of Action by a non-Debtor against another non-Debtor, and (iii) any Claim
 or Cause of Action by a Debtor against a non-Debtor. For the avoidance of doubt, any
 Intercompany Claim of a Debtor or a non-Debtor guarantor of the Original DIP Facility, the
 Replacement DIP Facility, the Second Lien Loans, or the Second Lien Senior Notes constitutes
 collateral for such Original DIP Facility Claims, Replacement DIP Facility Claims or Second
 Lien Claims.


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                 1.136 “Interest” means any Equity Security of a Debtor existing immediately
 prior to the Effective Date.

               1.137 “Investigation/Prosecution Cap” has the meaning ascribed to such term
 in the Committee/BOKF Plan Settlement Term Sheet.

                1.138 “Jointly Supported Transaction Agreements” means any and all
 agreements entered into by and between any of the Debtors, any of the YieldCos, and/or one or
 more purchasers in connection with a Jointly Supported Transaction, including any asset
 purchase agreements, stock purchase agreements, merger agreements, or other agreements
 effectuating and consummating a Jointly Supported Transaction, and any exhibits, attachments,
 annexes, or schedules to any of the foregoing, the form(s) of which shall be included in the Plan
 Supplement. The Jointly Supported Transaction Agreements include the Voting and Support
 Agreements, the YieldCo Settlement Agreements, and the Merger Agreements.

                 1.139 “Jointly Supported Transactions” means one or more transactions, each
 structured as a merger, sale, or other business combination, pursuant to which the Debtors or the
 YieldCos, as applicable, will transfer a material part of the equity or assets of the YieldCos, in
 each case that TERP or GLBL, as applicable, and SunEdison have agreed in writing. The Jointly
 Supported Transactions include the transactions pursuant to which Brookfield is to acquire 51%
 of TERP Inc.’s outstanding stock in a sponsorship merger transaction and 100% of GLBL Inc.’s
 outstanding stock in a whole company cash merger, in each case as more fully described in the
 YieldCo Settlement Motion and the Jointly Supported Transaction Agreements.

               1.140 “KEIP” means the Key Employee Incentive Plan for certain of the
 Debtors’ officers and management adopted by the Debtors and approved by the Bankruptcy
 Court on September 16, 2016 (Docket No. 1205).

                1.141 “KERP” means the Key Employee Retention Plan for certain of the
 Debtors’ officers and management adopted by the Debtors and approved by the Bankruptcy
 Court on July 29, 2016 (Docket No. 871) and on August 3, 2016 (Docket No. 903).

               1.142 “Law” means any law (statutory or common), statute, regulation, rule,
 code or ordinance enacted, adopted, issued, or promulgated by any Governmental Unit.

                1.143 “L/C Borrowing” has the meaning set forth in the Original DIP Credit
 Agreement.

                1.144 “L/C Borrowing Claims” means any and all Claims against the Debtors
 arising under or related to the Original DIP Credit Agreement on account of L/C Borrowings,
 which shall be Allowed as set forth in this Plan.

                1.145 “L/C Cash Collateralization Agreements” has the meaning ascribed to
 such term in the Replacement DIP Facility Order.

                1.146 “Legal Proceeding” means legal, governmental, administrative, judicial,
 or regulatory investigations, audits, actions, suits, claims, arbitrations, demands, demand letters,
 notices of noncompliance or violation, or proceedings.

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              1.147 “Lien” has the meaning ascribed to such term in section 101(37) of the
 Bankruptcy Code.

               1.148 “MDL Litigation” means the centralized and consolidated actions against
 SUNE, the YieldCos, the Debtors’ and the YieldCos’ current and former directors and officers,
 the underwriters of certain securities and debt offerings of the Debtors or the YieldCos, and
 SUNE’s independent auditor pending before the Honorable P. Kevin Castel in the District Court
 (MDL No. 2742).

               1.149 “Mediation” means the private mediation process initiated pursuant to the
 Mediation/Stay Order.

                1.150 “Mediation/Stay Order” means the order (as may be amended, modified,
 or supplemented, from time to time) entered by the District Court on December 19, 2016
 directing the parties in the MDL Litigation and certain other shareholder lawsuits to participate
 in a private mediation and granting a limited stay of all such actions through March 31, 2017.

             1.151 “Merger Agreements” means the GLBL Merger Agreement and TERP
 Merger Agreement.

                1.152 “Net Avoidance Action Proceeds” means proceeds recovered by the
 GUC/Litigation Trust (or for the benefit of unsecured creditors) on account of Avoidance
 Actions, net of fees and expenses expended to prosecute such Avoidance Actions (including fees
 paid on a contingency arrangement, any expenses of prosecuting the GUC/Litigation Trust
 Causes of Action or administering the GUC/Litigation Trust, including, without limitation, the
 costs associated with preparation of the GUC/Litigation Trust Reports, all of which shall be
 deducted prior to any distribution of Net Avoidance Action Proceeds), other than proceeds from
 those Avoidance Actions against the YieldCos that are settled in connection with the YieldCo
 Avoidance Allocation, whether such Net Avoidance Actions Proceeds are recovered pursuant to
 the successful prosecution or settlement of such Avoidance Actions.

                1.153 “New Boards” means the initial boards of directors of the Reorganized
 Debtors, which shall as of the Effective Date consist of members selected by the Supporting
 Second Lien Parties and shall be as set forth in the Plan Supplement or as announced on the
 record during the Confirmation Hearing.

              1.154 “New SUNE Common Stock” means the shares of new common stock of
 Reorganized SUNE.

                1.155 “Non-Eligible Holder” means any Holder of an Allowed Claim that is not
 an Eligible Holder.

                 1.156 “Old SUNE Common Stock” means shares of common stock of SUNE
 that are authorized, issued, and outstanding prior to the Effective Date.

                1.157 “Old SUNE Securities” means, collectively, the Second Lien Senior
 Notes (other than Second Lien Senior Notes that constitute Reinstated Second Lien Claims), the
 Convertible Senior Notes (except for the 2020 Exchangeable Notes), and Old SUNE Common

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 Stock, and all options, warrants, rights and other instruments evidencing an ownership interest in
 SUNE (whether fixed or contingent, matured or unmatured, disputed or undisputed), contractual,
 legal, equitable, or otherwise, to acquire any of the foregoing.

              1.158 “Ordinary Course Professionals Order” means the Bankruptcy Court’s
 Final Order Pursuant to Bankruptcy Code Sections 105(a), 327, 330, and 331 Authorizing
 Debtors to Employ and Pay Professionals Utilized in the Ordinary Course of Business (Docket
 No. 517).

                 1.159 “Original DIP Agent” means Deutsche Bank AG New York Branch, in
 its capacity as administrative agent for the Original DIP Lenders pursuant to the Original DIP
 Credit Agreement (and, together with all other Agents under (and as defined in) the Original DIP
 Credit Agreement, the “Original DIP Agents”).

                1.160 “Original DIP Credit Agreement” means that certain Senior Secured
 Superpriority Debtor-in-Possession Credit Agreement, between SunEdison, Inc., the Original
 DIP Lenders, the Original DIP Agent and the other parties thereto, dated as of April 26, 2016, as
 has been or may be amended, restated, supplemented or otherwise modified from time to time
 (but not including the Replacement DIP Credit Agreement).

                 1.161 “Original DIP Facility” means the debtor-in-possession secured
 financing facility, consisting of a letter of credit facility and a term loan facility, provided to the
 Debtors by the Original DIP Lenders pursuant to the Original DIP Credit Agreement or the other
 DIP Loan Documents (as defined in the Original DIP Facility Order) as authorized by the
 Bankruptcy Court pursuant to the Original DIP Facility Order (but not including the
 Replacement DIP Facility).

                1.162 “Original DIP Facility Claim” means any Claim arising under, derived
 from, based upon, or as a result of the Original DIP Facility, including, without limitation, any
 Claim arising on account of the letter of credit or term loan facilities under the Original DIP
 Credit Agreement. For the avoidance of doubt, Claims arising under the Tranche A Roll-Up
 Loans (as defined in the Original DIP Facility Order) and Tranche B Roll-Up Loans (as defined
 in the Original DIP Facility Order) shall constitute Original DIP Facility Claims, except to the
 extent such Claims constitute Replacement DIP Facility Claims pursuant to the terms of the
 Replacement DIP Facility Order. As of May 2, 2017, the Debtors believe there are no amounts
 outstanding under the Original DIP Facility.

                1.163 “Original DIP Facility Order” means, collectively, (a) the interim order
 that was entered by the Bankruptcy Court on April 26, 2016 (Docket No. 87), (b) the final order
 that was entered by the Bankruptcy Court on June 9, 2016 (Docket No. 523), authorizing and
 approving the Original DIP Facility and the agreements related thereto, in each case as amended
 or modified in accordance with the terms thereof. The term “Original DIP Facility Order”
 includes any and all annexes, exhibits, etc. attached thereto.

                 1.164 “Original DIP Lenders” means the banks and other financial institutions
 or entities from time to time party to the Original DIP Credit Agreement as lenders, including,
 without limitation, the L/C Issuers (as defined in the Original DIP Facility Order).

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               1.165 “Original DIP Secured Parties” has the meaning ascribed to the term
 “Secured Parties” in the Original DIP Credit Agreement.

                1.166 “Original DIP Term Loan Claim” means any Original DIP Facility
 Claim arising on account of the term loans under the Original DIP Credit Agreement.

               1.167 “Other Priority Claim” means any Claim, other than an Administrative
 Claim or Priority Tax Claim, entitled to priority payment as specified in section 507(a) of the
 Bankruptcy Code.

                1.168 “Other Secured Claim” means any Secured Claim other than the
 following: (a) an Original DIP Facility Claim; (b) a Replacement DIP Facility Claim; or (c) a
 Second Lien Claim.

                 1.169 “Other Subordinated Claim” means any Claim against the Debtors that
 is subject to subordination under section 510(b) or (c) of the Bankruptcy Code, whether arising
 from rescission of a purchase or sale of a security of the Debtors or an Affiliate of the Debtors,
 for damages arising from the purchase or sale of such a security, or for reimbursement or
 contribution allowed under section 502 of the Bankruptcy Code on account of such Claim, or
 otherwise, which Claim shall be subordinated to all Claims or Interests that are senior to or equal
 to the Claim or Interest represented by such security, except that if such security is Old SUNE
 Common Stock, such Claim has the same priority as Old SUNE Common Stock.

                 1.170 “Periodic Distribution Date” means, as applicable, (a) the Distribution
 Date, as to the first distribution made by the Distribution Agent, and (b) thereafter, such Business
 Days selected by the Reorganized Debtors in their reasonable discretion, which shall be no less
 frequent than once every three (3) months unless otherwise determined by the New Board.

              1.171 “Person” has the meaning ascribed to such term in section 101(41) of the
 Bankruptcy Code.

                 1.172 “Petition Date” means (i) April 21, 2016 with respect to the following
 Debtors only: SunEdison, Inc. (5767); SunEdison DG, LLC (N/A); SUNE Wind Holdings, Inc.
 (2144); SUNE Hawaii Solar Holdings, LLC (0994); First Wind Solar Portfolio, LLC (5014);
 First Wind California Holdings, LLC (7697); SunEdison Holdings Corporation (8669);
 SunEdison Utility Holdings, Inc. (6443); SunEdison International, Inc. (4551); SUNE ML 1,
 LLC (3132); MEMC Pasadena, Inc. (5238); Solaicx (1969); SunEdison Contracting, LLC
 (3819); NVT, LLC (5370); NVT Licenses, LLC (5445); Team-Solar, Inc. (7782); SunEdison
 Canada, LLC (6287); Enflex Corporation (5515); Fotowatio Renewable Ventures, Inc. (1788);
 Silver Ridge Power Holdings, LLC (5886); SunEdison International, LLC (1567); Sun Edison
 LLC (1450); SunEdison Products Singapore Pte. Ltd. (7373); SunEdison Residential Services,
 LLC (5787); PVT Solar, Inc. (3308); SEV Merger Sub Inc. (N/A), (ii) June 1, 2016 with respect
 to the following Debtors only: Sunflower Renewable Holdings 1, LLC (6273); Blue Sky West
 Capital, LLC (7962); First Wind Oakfield Portfolio, LLC (3711); First Wind Panhandle
 Holdings III, LLC (4238); DSP Renewables, LLC (5513); Hancock Renewables Holdings, LLC
 (N/A), (iii) July 20, 2016 with respect to the following Debtor only: EverStream HoldCo Fund I,
 LLC (9564), (iv) August 9, 2016 with respect to the following Debtors only: Buckthorn

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 Renewables Holdings, LLC (7616); Greenmountain Wind Holdings, LLC (N/A); Rattlesnake
 Flat Holdings, LLC (N/A); Somerset Wind Holdings, LLC (N/A); SunE Waiawa Holdings, LLC
 (9757), (v) August 10, 2016 with respect to the following Debtors only: SunE MN Development,
 LLC (8669); SunE MN Development Holdings, LLC (5388); SunE Minnesota Holdings, LLC
 (8926), (vi) December 16, 2016, with respect to the following Debtor only: TerraForm Private
 Holdings, LLC (5993), and (vii) April 7, 2017 with respect to the following Debtors only:
 SunEdison Products, LLC (3557); Hudson Energy Solar Corporation (1344); SunE REIT-D PR,
 LLC (2171); First Wind Energy, LLC (5519); First Wind Holdings, LLC (4445); Vaughn Wind,
 LLC (9605); Maine Wind Holdings, LLC (4825); SunEdison International Construction, LLC
 (6257); and EchoFirst Finance Co., LLC (1607).

                1.173 “Plan” means this joint plan of reorganization for the resolution of
 outstanding Claims and Interests in the Chapter 11 Cases, as may be modified in accordance with
 the Bankruptcy Code, Bankruptcy Rules, and the terms herein, including the Plan Supplement
 and all Exhibits, supplements, appendices, and schedules, and in each case in form and substance
 reasonably satisfactory to the Supporting Second Lien Parties and the Creditors’ Committee (as
 applicable pursuant to the terms of the Committee/BOKF Plan Settlement Term Sheet).

                1.174 “Plan Supplement” means the supplement or supplements to the Plan
 containing certain Exhibits and documents relevant to the implementation of the Plan, to be filed
 with the Bankruptcy Court in accordance with the terms herein, and in form and substance
 reasonably satisfactory to the Supporting Second Lien Parties and, to the extent the Creditors’
 Committee or Holders of General Unsecured Claims are affected, the Creditors’ Committee.

                1.175 “Plan Supplement Amount” has the meaning set forth in Article 8.3.

                1.176 “Plan Supplement Filing Date” means the date on which the Plan
 Supplement shall be filed with the Bankruptcy Court, which date shall be at least seven days
 prior to the Voting Deadline or such later date as may be approved by the Bankruptcy Court
 without further notice, so long as such date is prior to the Voting Deadline.

                 1.177 “Plan Transaction Documents” means all definitive documents and
 agreements to which the Debtors will be a party as contemplated by the Plan, each of which shall
 be in form and substance reasonably satisfactory to the Supporting Second Lien Parties and, to
 the extent Holders of General Unsecured Claims are affected, the Creditors’ Committee,
 including, without limitation, (a) the Plan and any documentation or agreements related thereto,
 (b) the Confirmation Order and pleadings (but not declarations) in support of entry thereof, (c)
 the solicitation materials in respect of the Plan, the motion to approve the Disclosure Statement,
 and the Disclosure Statement Approval Order, and (d) all documents that will comprise the Plan
 Supplements.

                1.178 “Prepetition Indemnification Obligations” has the meaning set forth in
 Article 8.3.

               1.179 “Prepetition First Lien Administrative Agent” means Wells Fargo
 Bank, National Association, and its predecessors, successors and assigns, solely in its capacity as
 “Administrative Agent” pursuant to the Prepetition First Lien Credit Agreement (and, together

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 with each other Agent under (and as defined in) the Prepetition First Lien Credit Agreement, the
 “Prepetition First Lien Agents”).

                 1.180 “Prepetition First Lien Credit Agreement” means that certain Credit
 Agreement, dated as of February 14, 2014, by and among SUNE, the Prepetition First Lien
 Administrative Agent, and the letter of credit issuers and various lenders party thereto from time
 to time, as it may be amended, supplemented, amended and restated or otherwise modified from
 time to time.

                1.181 “Prepetition First Lien Credit Documents” means the Prepetition First
 Lien Credit Agreement, together with all other “Loan Documents” (as defined in the Prepetition
 Frist Lien Credit Agreement).

              1.182 “Prepetition First Lien Secured Parties” has the meaning set forth in
 the Replacement DIP Credit Agreement.

              1.183 “Prepetition Secured Parties” has the meaning set forth in the
 Replacement DIP Credit Agreement.

                1.184 “Priority Tax Claim” means a Claim of a Governmental Unit entitled to
 priority pursuant to section 507(a)(8) of the Bankruptcy Code.

                1.185 “Pro Rata” means, with respect to Claims, at any time, the proportion that
 the Face Amount of a Claim in a particular Class or Classes bears to the aggregate Face Amount
 of all Claims (including Disputed Claims, but excluding Disallowed Claims) in such Class or
 Classes at issue; provided, however, that for purposes of distributions to Holders of Allowed
 General Unsecured Claims, Pro Rata shall apply on a consolidated basis.

                1.186 “Professional” means any Entity (a) retained in the Chapter 11 Cases by
 separate Final Order pursuant to sections 327, 363, and 1103 of the Bankruptcy Code or
 otherwise; or (b) awarded compensation and reimbursement by the Bankruptcy Court pursuant to
 section 503(b)(4) of the Bankruptcy Code; provided, however, that Professional does not include
 any Entity retained pursuant to the Ordinary Course Professionals Order.

                 1.187 “Professional Claim” means an Administrative Claim of a Professional
 for compensation for services rendered or reimbursement of costs, expenses, or other charges
 and disbursements incurred relating to services rendered or expenses incurred after the Petition
 Date and prior to and including the Confirmation Date; provided, however, that none of the fees
 and expenses incurred by the Professionals of the Creditors’ Committee with regards to actions
 reimbursed by, or paid out of, the GUC/Litigation Trust Initial Funding (including, without
 limitation, any actions regarding the investigation and prosecution of any GUC/Litigation Trust
 Causes of Action) , shall constitute Professional Claims or otherwise be paid in cash pursuant to
 this Plan or otherwise.

              1.188 “Professional Fee Order” means the order entered by the Bankruptcy
 Court on May 12, 2016, authorizing the interim payment of Professional Claims subject to the
 Holdback Escrow Amount (Docket No. 258).


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                 1.189 “Reinstated” or “Reinstatement” means (a) leaving unaltered the legal,
 equitable and contractual rights to which a Claim entitles the Claim Holder so as to leave such
 Claim Unimpaired in accordance with section 1124 of the Bankruptcy Code, or (b)
 notwithstanding any contractual provision or applicable law that entitles the Claim Holder to
 demand or receive accelerated payment of such Claim after the occurrence of a default, (i) curing
 any such default that occurred before or after the Petition Date, other than a default of a kind
 specified in section 365(b)(2) of the Bankruptcy Code; (ii) reinstating the maturity of such Claim
 as such maturity existed before such default; (iii) compensating the Claim Holder for any
 damages incurred as a result of any reasonable reliance by such Claim Holder on such
 contractual provision or such applicable law; and (iv) not otherwise altering the legal, equitable
 or contractual rights to which such Claim entitles the Claim Holder; provided, however, that any
 contractual right that does not pertain to the payment when due of principal and interest on the
 obligation on which such Claim is based, including, but not limited to, financial covenant ratios,
 negative pledge covenants, covenants or restrictions on merger or consolidation, “going dark”
 provisions, and affirmative covenants regarding corporate existence prohibiting certain
 transactions or actions contemplated by this Plan, or conditioning such transactions or actions on
 certain factors, shall not be required to be cured or reinstated in order to accomplish
 Reinstatement.

               1.190 “Reinstated Second Lien Claim Amount” means an amount, as
 reasonably agreed to by the Supporting Second Lien Parties, equal to the approximate value of
 the Earnout Assets, Repatriated Cash, Residual Assets and any other of the Debtors’ assets (other
 than the GUC/Litigation Trust Assets) as of the Effective Date.

                 1.191 “Reinstated Second Lien Claim Modification Terms” means the terms
 upon which the Second Lien Claims that constitute Reinstated Second Lien Claims and the
 Second Lien Documents shall be modified, amended, supplemented or otherwise restated, in
 form and substance reasonably satisfactory to the Supporting Second Lien Parties and, to the
 extent that it serves as indenture trustee or collateral trustee with respect to the Reinstated
 Second Lien Claims, the Second Lien Senior Notes Indenture Trustee or the Second Lien
 Collateral Trustee, respectively. A summary of the Reinstated Second Lien Claim Modification
 Terms, in form and substance reasonably satisfactory to the Supporting Second Lien Parties, will
 be set forth on Exhibit 6.5. Exhibit 6.5 will be filed with the Plan Supplement.

               1.192 “Reinstated Second Lien Claims” means Second Lien Claims in an
 aggregate amount equal to the Reinstated Second Lien Claim Amount which shall be reinstated
 in accordance with this Plan and subject to the Reinstated Second Lien Claim Modification
 Terms.5


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   To the extent that (a) the Debtors elect the TERP Cash Election Alternative and (b) the cash received from the
 Jointly Supported Transactions is insufficient to repay the Tranche B Roll-Up Lenders in full and in Cash, the
 Debtors will issue Reinstated Tranche B Roll-Up Loans in an amount and with terms necessary to render the
 Tranche B Roll-Up Loans Unimpaired, including, without limitation, priority (over the Reinstated Second Lien
 Claims) in lien and claim amount and interest, and with other terms that are identical to the current Tranche B Roll-
 Up Loans.



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                 1.193 “Rejection Damages Claim” means any Claim on account of the
 rejection of an Executory Contract or Unexpired Lease pursuant to section 365 of the Bankruptcy
 Code or the repudiation of such contract.

                 1.194 “Released Parties” means, collectively, in each case, solely in their
 respective capacities as such: (a) the Debtors and all of the Debtors’ and Reorganized Debtors’
 (1) current financial advisors, attorneys, accountants, investment bankers, representatives, and
 other professionals (collectively, the “Debtor Professionals”); (2) current employees, consultants,
 Affiliates, officers and directors, including any such persons or entities retained pursuant to
 section 363 of the Bankruptcy Code; and (3) Existing Directors, (b) the Original DIP Agents, (c)
 the Original DIP Lenders and all other Original DIP Secured Parties, (d) the Replacement DIP
 Agents, (e) the Replacement DIP Lenders, (f) the Supporting Second Lien Parties, (g) all
 Professionals (to the extent not duplicative of the Entities covered by clauses (a) and (m) of this
 definition), (h) the Creditors’ Committee and each of its members, solely in their capacity as
 such, (i) the Indenture Trustees, (j) the Second Lien Collateral Trustee, (k) the Second Lien
 Agents, (l) any underwriters, arrangers, or placement agents in respect of the Second Lien Senior
 Notes, (m) the Prepetition First Lien Secured Parties, (n) the Prepetition First Lien Agents, (o)
 the Applicable Issuers, and (p) with respect to each of the above-named Entities described in
 subsections (b) through (o), such Entity’s current and former affiliates, subsidiaries, advisors,
 principals, partners, managers, members, employees, officers, directors, representatives, financial
 advisors, attorneys, accountants, investment bankers, consultants, agents, and other
 representatives and professionals, in each case to the extent a claim arises from actions taken or
 omissions by any such person in its capacity as a related person of one of the parties listed in
 clauses (b) through (o) and is released as against such party.

                 1.195 “Releasing Parties” means, collectively, in each case, in their respective
 capacities as such, (a) the Original DIP Lenders, (b) the Original DIP Agent, (c) the Replacement
 DIP Lenders, (d) the Replacement DIP Agent, (e) the Holders of Convertible Senior Notes
 Claims who vote to accept the Plan, (f) the Holders of Second Lien Senior Notes Claims who
 vote to accept the Plan, (g) the Holders of Second Lien Loan Claims who vote to accept the Plan,
 (h) the Creditors’ Committee and each of its members, solely in their capacity as such, (i) the
 Indenture Trustees, (j) the Second Lien Administrative Agent, (k) to the fullest extent permitted
 by law, all Holders of Claims entitled to vote for or against the Plan that do not vote to reject the
 Plan, and (l) with respect to each of the foregoing clauses (a) through (k), to the fullest extent
 permitted by law, such Person’s current and former affiliates, subsidiaries, managed accounts or
 funds, officers, directors, partners, principals, employees, agents, financial advisors, attorneys,
 accountants, investment bankers, consultants, representatives, management companies, fund
 advisors and other professionals, and officers, directors, partners, principals, employees and
 agents thereof, in each case in their capacity as such. For the avoidance of doubt, in the event an
 Entity who is a Releasing Party also holds a Claim or Interest in a non-voting Class under the
 Plan, such entity will not be a Releasing Party with respect to its Claim or Interest in such non-
 voting Class.

               1.196 “Reorganized Debtors” means the Debtors or any successor thereto, by
 merger, consolidation, or otherwise, from and after the Effective Date.



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                1.197 “Reorganized SUNE” means SUNE or any successor thereto, by merger,
 consolidation, or otherwise, from and after the Effective Date.

               1.198 “Repatriated Cash” means Cash received, directly or indirectly, by any
 Debtor or Reorganized Debtor from any of the Debtors’ or Reorganized Debtors’ non-U.S.
 subsidiaries.

                 1.199 “Replacement DIP Agent” means Cantor Fitzgerald Securities, in its
 capacity as administrative agent, or any successor agent in such capacity, for the Replacement
 DIP Lenders pursuant to the Replacement DIP Credit Agreement (and, together with all other
 Agents under (and as defined in) the Replacement DIP Credit Agreement, solely in their
 capacities as such, the “Replacement DIP Agents”).

                 1.200 “Replacement DIP Credit Agreement” means that certain Amended and
 Restated Senior Secured Superpriority Debtor-in-Possession Credit Agreement, between
 SunEdison, Inc., the Replacement DIP Lenders, the Replacement DIP Agent, and the other
 parties thereto, dated as of May 2, 2017, as has been or may be amended, restated, supplemented
 or otherwise modified from time to time.

                 1.201 “Replacement DIP Facility” means the debtor-in-possession secured
 financing facility, consisting of (a) a new money term loan facility in an aggregate principal
 amount of no less than $640 million and (b) a roll-up loan facility comprised of the Tranche B
 Roll-Up Loans deemed outstanding under such facility (including, in each case, any unpaid
 interest, fees, costs, and expenses), in each case, provided to the Debtors by the Replacement
 DIP Lenders pursuant to the Replacement DIP Credit Agreement and the Replacement DIP
 Documents (as defined in the Replacement DIP Facility Order), as authorized by the Bankruptcy
 Court pursuant to the Replacement DIP Facility Order.

                 1.202 “Replacement DIP Facility Claim” means any Claim arising under,
 derived from, based upon, or as a result of the Replacement DIP Facility, including, without
 limitation, any Replacement DIP Term Loan Claim or a Tranche B Roll-Up Loan Claim. For the
 avoidance of doubt, Claims arising under the Roll-Up Loans (as defined in the Replacement DIP
 Credit Agreement) shall constitute Replacement DIP Facility Claims.

                1.203 “Replacement DIP Facility Order” means the order that was entered by
 the Bankruptcy Court on May 1, 2017 (Docket No. 2880), authorizing and approving the
 Replacement DIP Facility and the agreements related thereto, as such order may be amended or
 modified in accordance with the terms thereof. The term “Replacement DIP Facility Order”
 includes any and all annexes, exhibits, etc. attached thereto.

                 1.204 “Replacement DIP Lenders” means the banks and other financial
 institutions or entities from time to time party to the Replacement DIP Credit Agreement as
 lenders and the Holders of Replacement DIP Facility Claims, including any Applicable Issuers
 (as defined in the Replacement DIP Facility Order).

               1.205 “Replacement DIP Term Loan Claim” means any Replacement DIP
 Facility Claim arising on account of or with respect to the new money term loans under the
 Replacement DIP Credit Agreement.
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                 1.206 “Residual Assets” means assets of the Reorganized Debtors other than
 Repatriated Cash, Earnout Assets, and/or interests in the YieldCos, including, but not limited to,
 inventory, equipment, contractual rights, intellectual property, real property, fixtures, goods, and
 equity interests in subsidiaries.

               1.207 “Residual Assets Proceeds” means the Cash or non-Cash proceeds
 received by any Debtor or Reorganized Debtor on account of any Residual Asset.

                1.208 “Restructuring Transactions” has the meaning set forth in Article 6.3.

               1.209 “Rights Holders” means Holders of Allowed Second Lien Claims, except
 the Rights Holders shall not include any Non-Eligible Holder.

                1.210 “Rights Offering” means, in the TERP Share Election Alternative, that
 certain rights offering pursuant to which the Rights Holders are entitled to receive Rights
 Offering Subscription Rights.

                 1.211 “Rights Offering Amount” means the amount to be raised pursuant to the
 Rights Offering, as set forth in the Equity Commitment Agreement, as may be modified pursuant
 to the terms therein.

                1.212 “Rights Offering Backstop Commitment” means the commitment
 provided by the Rights Offering Backstop Purchasers pursuant to the Equity Commitment
 Agreement to purchase the number of Rights Offering Common Stock necessary to fund the Plan
 with the Rights Offering Amount.

               1.213 “Rights Offering Backstop Purchasers” means the Entities set forth in
 the Equity Commitment Agreement.

             1.214 “Rights Offering Backstop Standby Fee” means the standby fee to be
 paid to the Rights Offering Backstop Purchasers, pursuant to the Equity Commitment
 Agreement.

                1.215 “Rights Offering Commitment Letter” means that certain Commitment
 Letter, dated as of April 27, 2017, by and among the Debtors and the Rights Offering Backstop
 Purchasers.

                1.216 “Rights Offering Common Stock” means the shares of Continuing TERP
 Class A Shares purchased and distributed pursuant to the Rights Offering upon the exercise of
 the Rights Offering Subscription Rights.

               1.217 “Rights Offering Procedures” means those certain rights offering
 procedures (as may be amended, supplemented, or modified from time to time) with respect to
 the Rights Offering, which shall be in form and substance reasonably satisfactory to the Rights
 Offering Backstop Purchasers, a copy of which procedures is attached to the order entered by the
 Bankruptcy Court on June 6, 2017 at Docket No. 3283.



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               1.218 “Rights Offering Record Date” means the date to be established in the
 Rights Offering Procedures as of which a Holder of Second Lien Claims must be an Eligible
 Holder for purposes of participating in the Rights Offering.

                1.219 “Rights Offering Subscription Rights” means subscription rights to
 acquire 90% of the Continuing TERP Class A Shares and 90% of the New SUNE Common
 Stock to be distributed on the Effective Date pursuant to the Rights Offering (in both cases,
 minus the direct purchase by the Rights Offering Backstop Purchasers, as set forth in the Equity
 Commitment Agreement and approved by the Bankruptcy Court order approving the Equity
 Commitment Agreement) in accordance with the Rights Offering Procedures. Participants in the
 Rights Offering shall receive a portion of the Reinstated Second Lien Claims in the same
 proportion as they will hold New SUNE Common Stock (i.e., if a participant would receive 2%
 of New SUNE Common Stock, such participant would hold 2% of Reinstated Second Lien
 Claims).

                1.220 “Rights Offering Term Sheet” means the term sheet for the Rights
 Offering attached to the Rights Offering Commitment Letter as filed with the Bankruptcy Court
 on April 27, 2017 (Docket No. 2857).

                 1.221 “RSC Deal Incentive Plan” means the RSC Deal Incentive Plan for
 certain of the Debtors’ employees adopted by the Debtors and approved by the Bankruptcy Court
 on September 16, 2016 (Docket No. 1205).

                1.222 “Scheduled” means, with respect to any Claim, the status, priority, and
 amount, if any, of such Claim as set forth in the Schedules.

                1.223 “Schedules” means the schedules of assets and liabilities and the
 statements of financial affairs filed in the Chapter 11 Cases by the Debtors pursuant to section
 521 of the Bankruptcy Code, which incorporate by reference the global notes and statement of
 limitations, methodology, and disclaimer regarding the Debtors’ schedules and statements, as
 such schedules or statements have been or may be further modified, amended, or supplemented
 from time to time in accordance with Bankruptcy Rule 1009 or Final Orders of the Bankruptcy
 Court.

               1.224 “SEC” means the United States Securities and Exchange Commission.

               1.225 “Second Lien Administrative Agent” means Wilmington Savings Fund
 Society, FSB (as successor to Deutsche Bank AG New York Branch), and its predecessors,
 successors and assigns as “Administrative Agent” pursuant to the Second Lien Credit Agreement
 (and, together with each other Agent under (and as defined in) the Second Lien Credit
 Agreement, the “Second Lien Agents”).

               1.226 “Second Lien Claim Distribution” means, (A) in the TERP Share
 Election Alternative, (i) 10% of the New SUNE Common Stock, (ii) 10% of the Continuing
 TERP Class A Shares, (iii) 10% of the Reinstated Second Lien Claim Amount, and (iv) 100% of
 the Class B GUC/Litigation Trust Interests, and (B) in the TERP Cash Election Alternative,



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 (i) 100% of the New SUNE Common Stock, (ii) 100% of the Reinstated Second Lien Claim
 Amount, and (iii) 100% of the Class B GUC/Litigation Trust Interests.6

              1.227 “Second Lien Claims” means the Second Lien Loan Claims and the
 Second Lien Senior Notes Claims.

                1.228 “Second Lien Collateral Trustee” means Wilmington Trust, National
 Association or its successor, in its capacity as collateral trustee pursuant to that certain Collateral
 Trust Agreement, dated as of January 11, 2016, among SUNE, the guarantors named therein, the
 Second Lien Administrative Agent, the Second Lien Senior Notes Indenture Trustee, and
 Wilmington Trust, National Association as collateral trustee (as may be amended or
 supplemented from time to time).

               1.229 “Second Lien Credit Agreement” means that certain Second Lien Credit
 Agreement, dated as of January 11, 2016, by and among SUNE, the Second Lien Administrative
 Agent, and the various lenders party thereto from time to time, as it may be amended,
 supplemented, amended and restated or otherwise modified from time to time.

               1.230 “Second Lien Creditors” means the Second Lien Lenders and Second
 Lien Senior Noteholders.

               1.231 “Second Lien Documents” means the Second Lien Credit Agreement, the
 Second Lien Senior Notes Indenture, and the related loans, notes, guarantees, pledges, security
 agreements, and other agreements and documents given or issued pursuant to or in connection
 with the Second Lien Claims.

                  1.232 “Second Lien Litigation” has the meaning ascribed to such term in
 Article XV.

                  1.233 “Second Lien Lender” means a lender under the Second Lien Credit
 Agreement.

                  1.234 “Second Lien Loans” means the loans under the Second Lien Credit
 Agreement.

               1.235 “Second Lien Loan Claims” means any and all Claims held by the
 Second Lien Lenders against the Debtors arising under or related to the Second Lien Credit
 Agreement, whether such Claims are Secured Claims or unsecured deficiency claims pursuant to
 section 506(a) of the Bankruptcy Code, and which Claims shall be Allowed for all purposes
 under this Plan in the aggregate amount of $515.1 million. For the avoidance of doubt, the
 Second Lien Loan Claim shall not include any Claim on account of the Tranche B Roll-Up
 Loans.


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     The equity percentages set forth for the TERP Share Election Alternative do not reflect dilution attributable to
     the Rights Offering Backstop Standby Fee.



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                   1.236 “Second Lien Senior Noteholder” means a Holder of Second Lien Senior
 Notes.

                 1.237 “Second Lien Senior Notes” means the Guaranteed Convertible Senior
 Secured Notes issued by SUNE under the Second Lien Senior Notes Indenture, bearing interest
 at a rate of 5.00% per annum and issued in an aggregate principal amount of $225 million.

                1.238 “Second Lien Senior Notes Claims” means any and all Claims held by
 the Second Lien Senior Noteholders against the Debtors arising under or related to the Second
 Lien Senior Notes, whether such Claims are Secured Claims or unsecured deficiency claims
 pursuant to section 506(a) of the Bankruptcy Code, and which Claims shall be Allowed for all
 purposes under this Plan in the aggregate amount of $110.1 million. For the avoidance of doubt,
 the Second Lien Senior Notes Claim shall not include any Claim on account of the Tranche B
 Roll-Up Loans.

               1.239 “Second Lien Senior Notes Indenture” means that certain Indenture,
 dated as of January 11, 2016, by and among SUNE, the guarantors named therein, and the
 Second Lien Senior Notes Indenture Trustee (as may be amended or supplemented from time to
 time).

               1.240 “Second Lien Senior Notes Indenture Trustee” means Wilmington
 Trust, National Association or its successor, in its capacity as indenture trustee for the Second
 Lien Senior Notes pursuant to the Second Lien Senior Notes Indenture.

                1.241 “Section 503(b)(9) Claim” means any Claim asserted under section
 503(b)(9) of the Bankruptcy Code equal to the value of any goods received by the Debtors within
 20 days before the Petition Date in which the goods have been sold to the Debtors in the
 Debtors’ ordinary course of business.

                1.242 “Secured Claim” means a Claim (a) secured by a Lien on collateral to the
 extent of the value of such collateral, as determined in accordance with section 506(a) of the
 Bankruptcy Code or (b) subject to a valid right of setoff pursuant to section 553 of the
 Bankruptcy Code.

               1.243 “Securities Act” means the Securities Act of 1933, as now in effect or
 hereafter amended, and the rules and regulations of the United States Securities and Exchange
 Commission promulgated thereunder.

                   1.244 “Security” has the meaning ascribed to such term in section 2(a)(1) of the
 Securities Act.

               1.245 “Servicer” means any indenture trustee, agent, servicer, or other
 authorized representative of Holders of Claims or Interests recognized by the Debtors. The
 Debtors recognize only Wilmington Trust, National Association, in its capacity as the Second
 Lien Senior Notes Indenture Trustee, and BOKF, N.A., in its capacity as Convertible Senior
 Notes Indenture Trustee, as a Servicer.



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               1.246 “SUNE Certificate of Incorporation and Bylaws” means the amended
 and restated certificate of incorporation and bylaws of Reorganized SUNE, the form and
 substance of which shall be included in the Plan Supplement.

              1.247 “SunEdison/YieldCos Settlement Agreement” means that certain
 SunEdison/Yieldcos UCC Settlement Agreement, dated as of March 27, 2017, by and among
 SUNE, TERP, GLBL, and certain of their respective current directors and officers.

               1.248 “Supporting Second Lien Parties” means those Holders of Second Lien
 Claims who are, or who become, party to the Rights Offering Backstop Commitment or the
 Equity Commitment Agreement. Any provision in this Plan that requires the consent of the
 Supporting Second Lien Parties shall require the consent of the Supporting Second Lien Parties
 holding more than one-half of the Second Lien Claims held by all of the Supporting Second Lien
 Parties, who were Supporting Second Lien Parties as of May 26, 2017.

                1.249 “Surety” means any surety bond provider that has issued one or more
 surety bonds to any of the Debtors.

                 1.250 “TERP” means, collectively, TERP Inc., TERP LLC, and their direct and
 indirect subsidiaries.

                 1.251 “TERP Cash Election Alternative” has the meaning ascribed to such
 term in the Introduction.

               1.252 “TERP Inc.” means TerraForm Power, Inc.

               1.253 “TERP LLC” means TerraForm Power LLC.

                 1.254 “TERP Merger Agreement” means the Merger and Sponsorship
 Transaction Agreement, dated as of March 6, 2017, by and among TERP Inc. and certain
 affiliates of Brookfield.

               1.255 “TERP Settlement Agreement” means the Settlement Agreement, dated
 as of March 6, 2017, by and among SUNE, TERP Inc., and certain of their respective affiliates.
 A copy of the TERP Settlement Agreement was filed as an attachment to the YieldCo Settlement
 Motion.

                 1.256 “TERP Share Election Alternative” has the meaning ascribed to such
 term in the Introduction.

               1.257 “TERP Voting and Support Agreement” means that certain Voting and
 Support Agreement, dated as of March 6, 2017, by and among SUNE, SunEdison Holdings
 Corporation, SUNE ML1, LLC, TERP Inc., and certain affiliates of Brookfield. A copy of the
 TERP Voting and Support Agreement was filed as an attachment to the Voting and Support
 Motion.

               1.258 “Tranche A-1 Roll-Up Lender” has the meaning set forth in the Original
 DIP Credit Agreement.

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               1.259 “Tranche A-1 Roll-Up Loan” has the meaning set forth in the Original
 DIP Credit Agreement.

                1.260 “Tranche A-1 Roll-Up Loan Claims” means any and all Claims held by
 the Tranche A-1 Roll-Up Lenders against the Debtors arising under or related to the Original
 DIP Credit Agreement on account of the Tranche A-1 Roll-Up Loans, which shall be Allowed
 for all purposes under this Plan.

               1.261 “Tranche A-2 Roll-Up Lender” has the meaning set forth in the Original
 DIP Credit Agreement.

               1.262 “Tranche A-2 Roll-Up Loan” has the meaning set forth in the Original
 DIP Credit Agreement.

                1.263 “Tranche A-2 Roll-Up Loan Claims” means any and all Claims held by
 the Tranche A-2 Roll-Up Lenders against the Debtors arising under or related to the Original
 DIP Credit Agreement on account of the Tranche A-2 Roll-Up Loans, which shall be Allowed
 for all purposes under this Plan.

              1.264 “Tranche B Roll-Up Lender” has the meaning set forth in the Original
 DIP Credit Agreement or the meaning of the term “Roll-Up Lender” in the Replacement DIP
 Credit Agreement, as applicable.

               1.265 “Tranche B Roll-Up Lenders/Steering Committee of Prepetition
 Second Lien Lenders and Noteholders” has the meaning set forth in the Committee/BOKF
 Plan Settlement.

               1.266 “Tranche B Roll-Up Loan” has the meaning set forth in the Original DIP
 Credit Agreement or the meaning of the term “Roll-Up Loan” in the Replacement DIP Credit
 Agreement, as applicable.

              1.267 “Tranche B Roll-Up Loan Claims” means any and all Claims held by the
 Tranche B Roll-Up Lenders against the Debtors arising under or related to the Original DIP
 Credit Agreement or the Replacement DIP Credit Agreement on account of the Tranche B Roll-
 Up Loans, which shall be Allowed for all purposes under this Plan.

                   1.268 “Transition Services Agreement” has the meaning ascribed to such term
 in Article 7.6.

             1.269 “UCC Challenge Litigation” means Adversary Proceeding No. 16-01228
 commenced by the Creditors’ Committee in connection with the Chapter 11 Cases.

                1.270 “Unclaimed Distribution” means any distribution under the Plan on
 account of an Allowed Claim to a Holder that has not: (a) accepted a particular distribution or, in
 the case of distributions made by check, negotiated such check; (b) given notice to the
 Reorganized Debtors of an intent to accept a particular distribution; (c) responded to the Debtors’
 or Reorganized Debtors’ request for information necessary to facilitate a particular distribution;
 or (d) taken any other action necessary to facilitate such distribution.

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              1.271 “Unexpired Lease” means a lease of nonresidential real property to which
 any Debtor is a party that is subject to assumption or rejection under section 365 of the
 Bankruptcy Code.

                 1.272 “Unimpaired” means, with respect to a Class of Claims, a Class of
 Claims that is not Impaired.

                1.273 “United States” has the meaning ascribed to such term in Article 11.8.

                 1.274 “Utility Project Incentive Plan” means the Utility Project Incentive Plan
 for certain of the Debtors’ employees adopted by the Debtors and approved by the Bankruptcy
 Court on July 29, 2016 (Docket No. 871).

                1.275 “Voluntary Professional Fee Reduction Amount” has the meaning
 ascribed to such term in the Introduction.

               1.276 “Voluntary Professional Fee Reductions” has the meaning ascribed to
 such term in Article 2.3(d).

              1.277 “Voting and Support Agreements” means, together, (1) the TERP
 Voting and Support Agreement and (2) the GLBL Voting and Support Agreement.

              1.278 “Voting and Support Motion” means the motion filed by the Debtors on
 March 14, 2017 seeking this Court’s approval of the Voting and Support Agreements (Docket
 No. 2580).

                1.279 “Voting Deadline” means July 13, 2017 at 4:00 p.m. prevailing Eastern
 time.

                1.280 “YieldCo Avoidance Allocation” has the meaning ascribed to such term
 in the Introduction.

               1.281 “YieldCo Settlement Agreements” means, together, (1) the TERP
 Settlement Agreement and (2) the GLBL Settlement Agreement.

               1.282 “YieldCo Settlement Motion” means the motion filed by the Debtors on
 March 10, 2017 seeking this Court’s approval of the YieldCo Settlement Agreements (Docket
 No. 2570) as supplemented on March 24, 2017 (Docket No. 2641), as modified in accordance
 with the Committee/BOKF Plan Settlement Term Sheet.

                1.283 “YieldCos” means, collectively, GLBL and TERP.

 C.      Rules of Interpretation

                 For purposes of this Plan, unless otherwise provided herein, (a) whenever from
 the context it is appropriate, each term, whether stated in the singular or the plural, shall include
 both the singular and the plural; (b) each pronoun stated in the masculine, feminine, or neuter
 includes the masculine, feminine, and neuter; (c) any reference in the Plan to an existing

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 document or schedule filed or to be filed means such document or schedule, as it may have been
 or may be amended, modified, or supplemented; (d) any reference to an entity as a Holder of a
 Claim or Interest includes that entity’s successors and assigns; (e) all references in this Plan to
 Sections, Articles, and Exhibits are references to Sections, Articles, and Exhibits of or to this
 Plan; (f) the words “herein,” “hereunder,” and “hereto” refer to this Plan in its entirety rather
 than to a particular portion of this Plan; (g) captions and headings to Articles and Sections are
 inserted for convenience of reference only and are not intended to be a part of or to affect the
 interpretation of this Plan; (h) the rules of construction set forth in section 102 of the Bankruptcy
 Code shall apply; (i) to the extent the Disclosure Statement is inconsistent with the terms of this
 Plan, this Plan shall control; (j) to the extent this Plan is inconsistent with the Confirmation
 Order, the Confirmation Order shall control; (k) any immaterial effectuating provision may be
 interpreted by the Reorganized Debtors in a manner that is consistent with the overall purpose
 and intent of the Plan without further Final Order of the Bankruptcy Court; (l) to the extent that
 any right of any Entity (other than the Debtors or Reorganized Debtors) to consent to a matter,
 action or otherwise is unqualified, it shall be implied that such consent right may not be
 unreasonably withheld; and (m) to the extent that this Plan is inconsistent with the
 Committee/BOKF Plan Settlement Term Sheet, the Committee/BOKF Plan Settlement Term
 Sheet shall control.

 D.     Computation Of Time

               In computing any period of time prescribed or allowed by this Plan, unless
 otherwise expressly provided, the provisions of Bankruptcy Rule 9006(a) shall apply.

 E.     References to Monetary Figures

                All references in this Plan to monetary figures shall refer to currency of the
 United States of America, unless otherwise expressly provided.

 F.     Exhibits

                 All Exhibits are incorporated into and are a part of this Plan as if set forth in full
 herein and, to the extent not annexed hereto, such Exhibits shall be filed with the Bankruptcy
 Court on or before the Plan Supplement Filing Date. After the Plan Supplement Filing Date,
 copies of Exhibits may be obtained upon written request to Skadden, Arps, Slate, Meagher &
 Flom LLP, Four Times Square, New York, New York 10036 (Att’n: J. Eric Ivester), or Skadden,
 Arps, Slate, Meagher & Flom LLP, 155 North Wacker Drive, Suite 2700, Chicago, Illinois
 60606 (Att’n: James J. Mazza, Jr. and Louis S. Chiappetta), counsel to the Debtors, or by
 downloading       such     exhibits    from     the   Debtor’s      informational      website      at
 https://cases.primeclerk.com/sunedison/. To the extent any Exhibit is inconsistent with the terms
 of this Plan and unless otherwise provided for in the Confirmation Order, the terms of the
 Exhibit shall control as to the transactions contemplated thereby and the terms of this Plan shall
 control as to any Plan provision that may be required under the Exhibit.




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                                                  ARTICLE II

                   ADMINISTRATIVE EXPENSES AND PRIORITY CLAIMS

                 2.1     Administrative Claims. Except to the extent that the Debtors (or the
 Reorganized Debtors) and a Holder of an Allowed Administrative Claim agree to less favorable
 treatment, a Holder of an Allowed Administrative Claim (other than a Professional Claim, which
 shall be subject to Article 2.3 of the Plan) shall receive, in full satisfaction, settlement, release,
 and discharge of, and in exchange for, such Administrative Claim, Cash equal to the unpaid
 portion of such Allowed Administrative Claim either (a) on the Effective Date, (b) if the
 Allowed Administrative Claim is based on liabilities incurred by the Debtors in the ordinary
 course of their business after the Petition Date, in the ordinary course of business in accordance
 with the terms and conditions of the particular transaction giving rise to such Allowed
 Administrative Claims, without any further action by the Holders of such Allowed
 Administrative Claims, or (c) on such other date as agreed between the Debtors (or the
 Reorganized Debtors) and such Holder of an Allowed Administrative Claim 7; provided,
 however, that other than Holders of (i) Original DIP Facility Claims, (ii) Replacement DIP
 Facility Claims, (iii) Professional Claims, (iv) Administrative Claims Allowed by an order of the
 Bankruptcy Court on or before the Effective Date, or (v) Administrative Claims that are not
 Disputed and arose in the ordinary course of business and was paid or are to be paid in
 accordance with the terms and conditions of the particular transaction giving rise to such
 Administrative Claim, the Holder of any Administrative Claim shall have filed a proof of Claim
 form no later than the Administrative Claims Bar Date and such Claim shall have become an
 Allowed Claim. Except as otherwise provided herein and as set forth in Articles 2.2 or 2.3 of this
 Plan, all requests for payment of an Administrative Claim must be filed, in substantially the form
 of the Administrative Claim Request Form contained in Exhibit 2.1, with the Claims Agent and
 served on counsel for the Debtors or the Reorganized Debtors (and, if filed after the Disclosure
 Statement Order is entered, counsel to the Supporting Second Lien Parties) by no later than the
 Administrative Claims Bar Date. After the Effective Date, the Reorganized Debtors, with the
 consent of the Supporting Second Lien Parties (such consent not to be unreasonably withheld or
 delayed) may settle an Administrative Claim without further Bankruptcy Court approval. In the
 event that the Reorganized Debtors object to an Administrative Claim and there is no settlement,
 the Bankruptcy Court shall determine the Allowed amount of such Administrative Claim. For
 the avoidance of doubt, the fees and expenses incurred by the Creditors’ Committee’s
 Professionals with regard to the investigation or prosecution of the UCC Challenge Litigation
 shall be paid in Cash in the amount set forth in the Committee/BOKF Plan Settlement Term
 Sheet. Subject to the other provisions of the Committee/BOKF Plan Settlement, the Creditors’
 Committee’s Professionals reserve any and all rights to seek allowance and payment of any fees
 and expenses in connection with matters other than (a) fees and expenses subject to the
 Investigation/Prosecution Cap and (b) other than as already paid, fees and expenses related to
 GUC/Litigation Trust Causes of Action.


 7
  Subject to, in the TERP Cash Election Alternative, the issuance, if necessary, of the Reinstated Tranche B Roll-Up
 Loans.



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                2.2     Original and Replacement DIP Facility Claims.

                       (a)      Replacement DIP Term Loan Claims. On the Effective Date,
 the Replacement DIP Term Loan Claims shall be Allowed in full, in the amount of $640 million
 (less any amounts paid prior to the Effective Date) plus all accrued and unpaid postpetition
 interest under the Replacement DIP Credit Agreement (and any unpaid fees, costs, and
 expenses). Except to the extent that a Holder of a Replacement DIP Term Loan Claim agrees to
 less favorable treatment, in full and final satisfaction, settlement, release, and discharge of and in
 exchange for each and every Replacement DIP Term Loan Claim, each Holder of an Allowed
 Replacement DIP Term Loan Claim shall be paid in full in Cash on the Effective Date, with such
 payments to be distributed to the Replacement DIP Agent for the ratable benefit of the Holders
 of Replacement DIP Term Loan Claims.

                       (b)      Original DIP Term Loan Claims. On the Effective Date, the
 Original DIP Term Loan Claims (including any unpaid interest, fees, costs, and expenses) shall
 be Allowed in full to the extent not previously repaid. As of May 2, 2017, the Debtors believe
 that there are no amounts outstanding under the Original DIP Facility with respect to the Original
 DIP Term Loans. In the event amounts are owed and not disputed by any party as of the
 Effective Date, except to the extent that a Holder of an Original DIP Term Loan Claim agrees to
 less favorable treatment, in full and final satisfaction, settlement, release, and discharge of and in
 exchange for each and every Original DIP Term Loan Claim, each Holder of an Allowed
 Original DIP Term Loan Claim shall be paid in full in Cash on the Effective Date, with such
 payments to be distributed to the Original DIP Agent for the ratable benefit of the Holders of
 Original DIP Term Loan Claims.

                          (c)    L/C Borrowing Claims. On the Effective Date, the L/C
 Borrowing Claims (including any unpaid interest, fees, costs, and expenses) shall be Allowed in
 full to the extent not previously repaid. As of May 2, 2017, the Debtors believe that there are no
 amounts outstanding under the Original DIP Facility with respect to the L/C Borrowings. In the
 event amounts are owed and not disputed by any party as of the Effective Date, except to the
 extent that a Holder of an L/C Borrowing Claim agrees to less favorable treatment, in full and
 final satisfaction, settlement, release, and discharge of and in exchange for each and every L/C
 Borrowing Claim, Holders of L/C Borrowing Claims shall be paid in full in Cash on the
 Effective Date, with such payments to be distributed to the Original DIP Agent for the ratable
 benefit of the Holders of L/C Borrowing Claims.

                        (d)     Tranche A-1 Roll-Up Loan Claims. On the Effective Date, the
 Tranche A-1 Roll-Up Loan Claims shall be Allowed in full to the extent not previously repaid.
 As of May 2, 2017, the Debtors believe that there are no amounts outstanding under the Tranche
 A-1 Roll-Up Loans. In the event amounts are owed and not disputed by any party as of the
 Effective Date, except to the extent that a Holder of a Tranche A-1 Roll-Up Loan Claim agrees
 to less favorable treatment, in full and final satisfaction, settlement, release, and discharge of and
 in exchange for each and every Tranche A-1 Roll-Up Loan Claim, Holders of Tranche A-1 Roll-
 Up Loan Claims shall be paid in full in Cash on the Effective Date, with such payments to be
 distributed to the Original DIP Agent for the ratable benefit of the Holders of Tranche A-1 Roll-
 Up Loan Claims.


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                        (e)     Tranche A-2 Roll-Up Loan Claims. On the Effective Date, the
 Tranche A-2 Roll-Up Loan Claims shall be Allowed in full to the extent not previously repaid.
 As of May 2, 2017, the Debtors believe that there are no amounts outstanding under the Tranche
 A-2 Roll-Up Loans. In the event amounts are owed and not disputed by any party as of the
 Effective Date, except to the extent that a Holder of a Tranche A-2 Roll-Up Loan Claim agrees
 to less favorable treatment, in full and final satisfaction, settlement, release, and discharge of and
 in exchange for each and every Tranche A-2 Roll-Up Loan Claim, Holders of Tranche A-2 Roll-
 Up Loan Claims shall be paid in full in Cash on the Effective Date, with such payments to be
 distributed to the Original DIP Agent for the ratable benefit of the Holders of Tranche A-2 Roll-
 Up Loan Claims.

                         (f)    Tranche B Roll-Up Loan Claims. On the Effective Date, the
 Tranche B Roll-Up Loan Claims shall be Allowed in full, in the amount of $317,549,980.22 plus
 accrued postpetition interest in an amount to be determined. Except to the extent that a Holder of
 a Tranche B Roll-Up Loan Claim agrees to less favorable treatment, in full and final satisfaction,
 settlement, release, and discharge of and in exchange for each and every Tranche B Roll-Up
 Loan Claim, Holders of Tranche B Roll-Up Loan Claims shall be paid in full in Cash on the
 Effective Date, with such payments to be distributed to the Replacement DIP Agent for the
 ratable benefit of the Holders of Tranche B Roll-Up Loan Claims. 8

                       (g)     Upon the Effective Date, subject to (a) payment in full and in Cash
 of the Replacement DIP Facility Claims and the Original DIP Facility Claims, and (b) any
 indemnification and reimbursement claims that survive under the terms of the Replacement DIP
 Facility and the Original DIP Facility, all Liens and security interests granted to secure the
 Replacement DIP Facility or the Original DIP Facility shall be deemed discharged, cancelled,
 and released and shall be of no further force and effect. To the extent that the Replacement DIP
 Lenders, the Replacement DIP Agent, the Original DIP Lenders, or the Original DIP Agent have
 filed or recorded publicly any Liens and/or security interests to secure the Debtors’ obligations
 under the Replacement DIP Facility or the Original DIP Facility, the Replacement DIP Lenders,
 the Replacement DIP Agent, the Original DIP Lenders, or the Original DIP Agent, as the case
 may be, shall take any commercially reasonable steps requested by the Debtors that are
 necessary to cancel and/or extinguish such publicly-filed Liens and/or security interests.

                        (h)   On the later of the Effective Date or such other date as permitted
 by the Replacement DIP Facility Order, in the event any Existing L/Cs are outstanding, the
 Debtors shall have caused all such Existing L/Cs to be cancelled without any further liability to
 any Applicable Issuer.



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   To the extent that (a) the Debtors elect the TERP Cash Election Alternative and (b) the cash received from the
 Jointly Supported Transactions is insufficient to repay the Tranche B Roll-Up Lenders in full and in Cash, the
 Debtors will issue Reinstated Tranche B Roll-Up Loans in an amount and with terms necessary to render the
 Tranche B Roll-Up Loans Unimpaired, including, without limitation, priority (over the Reinstated Second Lien
 Claims) in lien and claim amount and interest, and with other terms that are identical to the current Tranche B Roll-
 Up Loans.



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                       (i)     Nothing in this Plan shall impair or otherwise affect the L/C Cash
 Collateralization Agreements, the obligations of the Debtors (and from and after the Effective
 Date, the Reorganized Debtors) thereunder, the rights and remedies of the Applicable Issuers
 thereunder or under the Replacement DIP Facility Order (including, without limitation, under the
 Replacement Intercreditor Annex (as defined in the Replacement DIP Facility Order)) or the
 provisions in the Replacement DIP Facility Order relating to the “Prepetition Control
 Agreements” and the “Prepetition Blocked Accounts” (as each such term is defined in the
 Replacement DIP Facility Order), and the L/C Cash Collateralization Agreements and all such
 applicable provisions of the Replacement DIP Financing Order shall be binding upon the
 Reorganized Debtors and shall remain in full force and effect from and after the Effective Date
 in accordance with their terms.

                2.3    Professional Claims.

                        (a)    Final Fee Applications. All final requests for payment of
 Professional Claims and requests for reimbursement of expenses of members of the Creditors’
 Committee must be filed no later than sixty (60) days after the Effective Date. After notice and a
 hearing in accordance with the procedures established by the Bankruptcy Code, the Bankruptcy
 Rules and prior orders of the Bankruptcy Court, the Allowed amounts of all Professional Claims
 and expenses shall be determined by the Bankruptcy Court. In accordance with the
 Investigation/Prosecution Cap, other than as may have already been paid, and subject to the
 interim fee order entered by the Bankruptcy Court on December 1, 2016 (Docket No. 1711), the
 Original DIP Facility Order, and the Replacement DIP Facility Order, the Professional Claims of
 the Creditors’ Committee’s Professionals with regard to the investigation or prosecution of the
 UCC Challenge Litigation shall be deemed to be satisfied upon receipt of a payment of $2.25
 million in Cash. All Final Fee Applications shall be made in accordance with and subject to, the
 terms of the Committee/BOKF Plan Settlement Term Sheet.

                         (b)     Payment of Interim Amounts. Subject to the Holdback Escrow
 Amount, on the Effective Date, the Debtors or the Reorganized Debtors shall pay all amounts
 owing to Professionals for all outstanding amounts billed relating to prior periods through the
 Effective Date as to which no objection has been filed (and as to which there is no then-existing
 Court-mandated or Court-ordered prohibition on making payment or as to which such payment is
 not prohibited by the terms of the Committee/BOKF Plan Settlement Term Sheet). In order to
 receive payment on the Effective Date for such unbilled fees and expenses incurred through the
 Effective Date that have not yet been billed pursuant to the Professional Fee Order, no later than
 two (2) days prior to the Effective Date, the Professionals (who, in the case of the Creditors’
 Committee, shall only be permitted to take the actions set forth in Article 14.8 after the
 Confirmation Date) shall estimate fees and expenses due for periods that have not been billed as
 of the Effective Date and shall deliver such estimate to counsel for the Debtors and the
 Supporting Second Lien Parties. Within fifteen (15) days after the Effective Date, a Professional
 receiving payment for the estimated period shall submit a detailed invoice covering such period,
 subject to any parties’ right to object as set forth in the Professional Fee Order.

                       (c)    Holdback Escrow Account. On the Effective Date, and subject to
 the Investigation/Prosecution Cap as set forth in Article 6.1 and the Committee/BOKF Plan
 Settlement Term Sheet, the Debtors or the Reorganized Debtors shall fund the Holdback Escrow

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 Account with Cash equal to the aggregate Holdback Escrow Amount for all Professionals. The
 Distribution Agent shall maintain the Holdback Escrow Account in trust for the Professionals
 with respect to whom fees have been held back pursuant to the Professional Fee Order. Such
 funds shall not be considered property of the Debtors, the Reorganized Debtors, or the Estates.
 The remaining amount of Professional Claims owing to the Professionals shall be paid to such
 Professionals by the Distribution Agent from the Holdback Escrow Account when such claims
 are finally Allowed by the Bankruptcy Court. When all Professional Claims have been paid in
 full, amounts remaining in the Holdback Escrow Account, if any, shall be paid to Reorganized
 SUNE to be used by the Reorganized Debtors in accordance with the Plan, or distributed to
 holders of New SUNE Common Stock.

                        (d)     Voluntary Professional Fee Reductions.               Every Entity
 (collectively, the “Affected Professionals”) (a) retained in the Chapter 11 Cases by separate Final
 Order pursuant to sections 327, 363, and 1103 of the Bankruptcy Code or otherwise; (b) awarded
 compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) or
 506(b) of the Bankruptcy Code; or (c) awarded compensation and reimbursement pursuant to the
 Original DIP Facility Order or the Replacement DIP Facility Order, will be asked to voluntarily
 reduce the aggregate amount of its Professional Claims earned during the course of the Chapter
 11 Cases in order to assist in the funding of the Plan and the Committee/BOKF Plan Settlement
 (the “Voluntary Professional Fee Reductions”). It is a condition to the effectiveness of the
 Committee/BOKF Plan Settlement that the Voluntary Professional Fee Reductions equal at least
 $5 million.

         In the event an Affected Professional does not agree to a Voluntary Professional Fee
 Reduction, such Affected Professional’s fees and expenses will be subject to review and
 objection by a fee examiner to be appointed in these cases (the “Fee Examiner”), whose fees and
 expenses will be deducted from the savings realized by the Fee Examiner. For the avoidance of
 doubt, the Fee Examiner may only receive compensation from any savings it realizes, and in no
 event will the Debtors, the Debtors’ estates, the Reorganized Debtors, the Second Lien Lenders
 or Second Lien Senior Noteholders, or any other party incur any fees, costs, or expenses relating
 to the Fee Examiner or its work. If, as a result of the Fee Examiner’s recommendation, any fees
 are disallowed or reduced by the Court, or fee reductions are agreed to by any Affected
 Professional per the Fee Examiner’s recommendation, then such amounts shall be transferred to
 the GUC/Litigation Trust for the Holders of General Unsecured Claims. The Fee Examiner will
 only be permitted to examine the fees of an Affected Professional who does not agree to a
 Voluntary Professional Fee Reduction.

         In the event the fees and expenses of an Affected Professional that has agreed to a
 Voluntary Professional Fee Reduction is subject to objection, any requested amounts that are
 Disallowed shall be deemed credited to the Voluntary Professional Fee Reduction Amount so
 that the Affected Professional will not receive a reduction of the amount payable to it unless the
 Disallowed amount exceeds the Voluntary Professional Fee Reduction agreed to by such
 Affected Professional.

       The Voluntary Professional Fee Reduction Amount shall be funded into the
 GUC/Litigation Trust on the Effective Date (to the extent determined as of the Effective Date).
 The Distribution Agent shall distribute to the GUC/Litigation Trust for the Holders of General

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 Unsecured Claims, the aggregate amount of the Voluntary Professional Fee Reductions. As of
 the date hereof, Affected Professionals have agreed to Voluntary Professional Fee Reductions in
 excess of $5 million.

                       (e)     Post-Confirmation Date Retention. Upon the Confirmation
 Date, any requirement that Professionals comply with sections 327 through 331 of the
 Bankruptcy Code in seeking retention or compensation for services rendered after such date shall
 terminate, and the Reorganized Debtors shall employ and pay Professionals in the ordinary
 course of business (including the reasonable fees and expenses incurred by Professionals in
 preparing, reviewing and prosecuting or addressing any issues with respect to final fee
 applications). The Creditors’ Committee’s Professionals may only be paid for services rendered
 after the Confirmation Date if such services are permitted pursuant to Article 14.8 below.

                2.4     Priority Tax Claims. On the Effective Date, except to the extent that the
 Debtors (or Reorganized Debtors) and a Holder of an Allowed Priority Tax Claim agree to a less
 favorable treatment, each Holder of an Allowed Priority Tax Claim due and payable on or before
 the Effective Date shall receive one of the following treatments on account of such Claim: (a)
 Cash in an amount equal to the amount of such Allowed Priority Tax Claim, (b) Cash in an
 amount agreed to by the Debtors (or the Reorganized Debtors) and such Holder, provided,
 however, that such parties may further agree for the payment of such Allowed Priority Tax
 Claim to occur at a later date, or (c) at the sole option of the Debtors (with the reasonable consent
 of the Supporting Second Lien Parties), Cash in the aggregate amount of such Allowed Priority
 Tax Claim plus, to the extent provided for by section 511 of the Bankruptcy Code, interest at a
 rate determined under applicable non-bankruptcy law, payable in installment payments over a
 period of not more than five (5) years after the Petition Date pursuant to section 1129(a)(9)(C) of
 the Bankruptcy Code. To the extent any Allowed Priority Tax Claim is not due and owing on
 the Effective Date, such Claim shall be paid in full in Cash in accordance with the terms of any
 agreement between the Debtors and the Holder of such Claim, or as may be due and payable
 under applicable non-bankruptcy law or in the ordinary course of business.

                                           ARTICLE III

   CLASSIFICATION, TREATMENT, AND VOTING OF CLAIMS AND INTERESTS

                3.1     Classification of Claims and Interests.

                         (a)     Pursuant to sections 1122 and 1123 of the Bankruptcy Code, set
 forth below is a designation of classes of Claims and Interests. A Claim or Interest is placed in a
 particular Class for the purposes of voting on the Plan and, to the extent applicable, receiving
 distributions pursuant to the Plan only to the extent that such Claim or Interest is an Allowed
 Claim or an Allowed Interest in that Class and such Claim or Interest has not been paid, released,
 or otherwise settled prior to the Effective Date. In accordance with section 1123(a)(1) of the
 Bankruptcy Code, Administrative Claims and Priority Tax Claims of the kinds specified in
 sections 507(a)(1) and 507(a)(8) of the Bankruptcy Code have not been classified and their
 treatment is set forth in Article II above.



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                         (b)     For administrative convenience, the Plan organizes the Debtors
 into groups (each a “Debtor Group”) and assigns a letter to each Debtor Group and a number to
 each Class of Claims or Interests in each Debtor Group. Notwithstanding this organizing
 principle, the Plan is a separate plan of reorganization or liquidation for each Debtor. Claims and
 Interests belonging to a Debtor Group consisting of more than one Debtor shall be deemed to be
 classified in a single Class for all purposes under the Bankruptcy Code, including voting. To the
 extent a Holder has a Claim that may be asserted against more than one Debtor in a Debtor
 Group, the vote of such Holder in connection with such Claims shall be counted as a vote of such
 Claim against each Debtor in such Debtor Group. For consistency, similarly designated Classes
 of Claims and Interests are assigned the same number across each Debtor Group. The Plan
 provides for a single Class of Holders of General Unsecured Claims without regard to Debtor
 entities at which such Holders hold their Claims. For purposes of distributions to Holders of
 General Unsecured Claims, "Pro Rata" shall be determined where (x) the denominator is equal to
 all Allowed General Unsecured Claims against all Debtors and (y) the numerator is equal to the
 amount of a particular Holder’s Allowed General Unsecured Claim. For voting purposes, the
 Debtors shall tabulate ballots for Holders of General Unsecured Claims both on a Debtor-by-
 Debtor basis and on aggregate basis without regard to particular Debtor entities and reserve the
 right to seek Confirmation of the Plan under either tabulation through accepting Classes or
 cramdown. Claims and Interests are classified as follows:

 Letter                 Debtor Group                          #             Designation
          Parent                                              1   Second Lien Claims
   A        SunEdison, Inc.                                   2   Other Secured Claims
          DIP and Second Lien Secured                         3   Other Priority Claims
          Guarantors                                          4   General Unsecured Claims
            Buckthorn Renewables Holdings, LLC
            Everstream HoldCo Fund I, LLC                     5   Intercompany Claims
            Greenmountain Wind Holdings, LLC                  6   Other Subordinated Claims
            Rattlesnake Flat Holdings, LLC
                                                              7   Interests in Debtor Subsidiaries
            Somerset Wind Holdings, LLC
            SunE Minnesota Holdings, LLC                      8   Interests in SUNE
            SunE MN Development, LLC
            SunE MN Development Holdings, LLC
            SunE Waiawa Holdings, LLC
   B        Sunflower Renewables Holdings 1,
            LLC
            Enflex Corporation
            Fotowatio Renewable Ventures, Inc.
            MEMC Pasadena, Inc.
            NVT Licenses, LLC
            NVT, LLC
            Solaicx
            SunE ML 1, LLC
            SunEdison Canada, LLC
            SunEdison Contracting, LLC
            SunEdison DG, LLC

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            SunEdison Holdings Corporation
            SunEdison International, Inc.
            SunEdison International, LLC
            Sun Edison LLC
            SunEdison Utility Holdings, Inc.
            Team-Solar Inc.
            First Wind Holdings, LLC
            First Wind Energy, LLC
            Vaughn Wind, LLC
            Maine Wind Holdings, LLC
            SunEdison Products, LLC
            Hudson Energy Solar Corporation
            SunE REIT-D PR, LLC
            SunEdison International Construction,
            LLC
            EchoFirst Finance Co., LLC
          DIP-only Secured Guarantors
            Blue Sky West Capital, LLC
            DSP Renewables, LLC
            First Wind California Holdings, LLC
            First Wind Oakfield Portfolio, LLC
            First Wind Panhandle Holdings III,
   C        LLC
            First Wind Solar Portfolio, LLC
            Hancock Renewables Holdings, LLC
            PVT Solar, Inc.
            SunE Hawaii Solar Holdings, LLC
            SunE Wind Holdings, Inc.
            SunEdison Residential Services, LLC
          DIP-only Unsecured Guarantor
   D        Silver Ridge Power Holdings, LLC
            TerraForm Private Holdings, LLC
          Not Obligated on DIP or Second Lien
          Claims
   E
            SunEdison Products Singapore Pte. Ltd
            SEV Merger Sub Inc.

 The classification of Claims and Interests (as applicable) under the Plan is as set forth below.

  Class(es)              Claim or Interest                    Status              Voting Rights

   1A – 1B      Second Lien Claims                     Impaired               Entitled to Vote

   2A – 2E      Other Secured Claims                   Unimpaired             Presumed to Accept

   3A – 3E      Other Priority Claims                  Unimpaired             Presumed to Accept


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  Class(es)             Claim or Interest                     Status            Voting Rights

   4A – 4E      General Unsecured Claims                Impaired            Entitled to Vote

   5A – 5E      Intercompany Claims                     Impaired or         Deemed to Reject or
                                                        Unimpaired          Presumed to Accept

   6A – 6E      Other Subordinated Claims               Impaired            Deemed to Reject

   7B – 7E      Interests in Debtor Subsidiaries        Impaired or         Deemed to Reject or
                                                        Unimpaired          Presumed to Accept

      8A        Interests in SUNE                       Impaired            Deemed to Reject

                                           ARTICLE IV

                               PROVISIONS FOR TREATMENT
                                OF CLAIMS AND INTERESTS

                4.1    Second Lien Claims (Classes 1A and 1B)

                       (a)     Classification: Classes 1A and 1B consist of all Allowed Second
 Lien Claims.

                      (b)      Allowance:    The Second Lien Claims shall be Allowed in the
 amount of $625.2 million.

                        (c)    Treatment: Except to the extent that a Holder of an Allowed
 Second Lien Claim agrees to a less favorable treatment, in full and final satisfaction, settlement,
 release, and discharge of and in exchange for each and every Allowed Second Lien Claim
 (except as otherwise set forth herein with respect to the Reinstated Second Lien Claims), on the
 Effective Date or as soon as practicable thereafter, each Holder of an Allowed Second Lien
 Claim shall receive its Pro Rata portion of the Second Lien Claim Distribution.

 In addition to the foregoing, in the TERP Share Election Alternative, each Holder of an Allowed
 Second Lien Claim that is an Eligible Holder shall receive its Pro Rata portion of the Rights
 Offering Subscription Rights.

                      (d)     Voting: Classes 1A and 1B are Impaired and Holders of Allowed
 Second Lien Claims are entitled to vote to accept or reject the Plan.

                4.2    Other Secured Claims (Classes 2A – 2E)

                     (a)    Classification: Classes 2A, 2B, 2C, 2D, and 2E consist of all
 Allowed Other Secured Claims.




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                       (b)    Treatment: Except as otherwise provided in and subject to Article
 10.6 of this Plan, and except to the extent that a Holder of an Allowed Other Secured Claim
 agrees to a less favorable treatment, in full and final satisfaction, settlement, release and
 discharge of and in exchange for each and every Allowed Other Secured Claim, each such
 Holder of an Allowed Other Secured Claim shall, at the option of the Debtors (with the
 reasonable consent of the Supporting Second Lien Parties) or the Reorganized Debtors, as
 applicable:

                              (i)    have its Allowed Other Secured Claim Reinstated and
 rendered Unimpaired, or otherwise have its Claim rendered Unimpaired, in each case in
 accordance with section 1124(2) of the Bankruptcy Code, notwithstanding any contractual
 provision or applicable non-bankruptcy law that entitles the Holder of an Allowed Other Secured
 Claim to demand or receive payment of such Allowed Other Secured Claim prior to the stated
 maturity of such Allowed Other Secured Claim from and after the occurrence of a default;

                               (ii)   be paid in full in Cash in an amount equal to such Allowed
 Other Secured Claim, including postpetition interest, if any, on such Allowed Other Secured
 Claim required to be paid pursuant to section 506 of the Bankruptcy Code as the case may be, on
 the later of (x) the Effective Date and (y) the date such Other Secured Claim becomes an
 Allowed Claim or as soon thereafter as reasonably practicable; or

                             (iii)  receive such other less favorable treatment as to which the
 Debtors (with the reasonable consent of the Supporting Second Lien Parties) or Reorganized
 Debtors and such Holder of such Allowed Other Secured Claim will have agreed upon in
 writing.

 provided, that Other Secured Claims incurred by the Debtors in the ordinary course of business
 may be paid in the ordinary course of business in accordance with such applicable terms and
 conditions relating thereto in the discretion of the Debtors (with the reasonable consent of the
 Supporting Second Lien Parties) or Reorganized Debtors without further notice to or order of the
 Bankruptcy Court. Nothing in this Article 4.2 or elsewhere in this Plan shall preclude the
 Debtors (or the Reorganized Debtors) from challenging the validity of any alleged Lien or any
 asset of the Debtors or the value of the property that secures any alleged Lien allegedly securing
 an Allowed Other Secured Claim.

                      (c)      Voting: Classes 2A, 2B, 2C, 2D, and 2E are Unimpaired, and
 Holders of Allowed Other Secured Claims are conclusively presumed to have accepted the Plan
 pursuant to section 1126(f) of the Bankruptcy Code. Therefore, Holders of Allowed Other
 Secured Claims are not entitled to vote to accept or reject the Plan.

                4.3    Other Priority Claims (Classes 3A – 3E)

                      (a)    Classification: Classes 3A, 3B, 3C, 3D, and 3E consist of all
 Allowed Other Priority Claims.

                       (b)    Treatment: Except as otherwise provided in and subject to Article
 10.6 of this Plan, and except to the extent that a Holder of an Allowed Other Priority Claim
 agrees to a less favorable treatment, in full and final satisfaction, settlement, release, and
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 discharge of and in exchange for each and every Allowed Other Priority Claim, each such Holder
 of an Allowed Other Priority Claim shall be paid in full in Cash on the Effective Date or on such
 other date as agreed between the Debtors (or the Reorganized Debtors) and such Holder of an
 Allowed Other Priority Claim; provided, however, that Other Priority Claims that arise in the
 ordinary course of the Debtors’ business and which are not due and payable on or before the
 Effective Date shall be paid in the ordinary course of business in accordance with the terms
 thereof.

                        (c)     Voting: Classes 3A, 3B, 3C, 3D, and 3E are Unimpaired, and
 Holders of Allowed Other Priority Claims are conclusively presumed to have accepted the Plan
 pursuant to section 1126(f) of the Bankruptcy Code. Therefore, Holders of Allowed Other
 Priority Claims are not entitled to vote to accept or reject the Plan.

                4.4     General Unsecured Claims (Classes 4A – 4E)

                     (a)       Classification: Classes 4A through 4E consist of all Allowed
 General Unsecured Claims.

                       (b)    Allowance: (i) the Convertible Senior Notes Claims with respect
 to the 2018 Convertible Senior Notes shall be Allowed in the amount of $258,543,952.22, (ii) the
 Convertible Senior Notes Claims with respect to the 2020 Convertible Senior Notes shall be
 Allowed in the amount of $488,825,666.67, (iii) the Convertible Senior Notes Claims with
 respect to the 2021 Convertible Senior Notes shall be Allowed in the amount of
 $291,932,604.17, (iv) the Convertible Senior Notes Claims with respect to the 2022 Convertible
 Senior Notes shall be Allowed in the amount of $351,259,610.25, (v) the Convertible Senior
 Notes Claims with respect to the 2023 Convertible Senior Notes shall be Allowed in the amount
 of $281,870,349.58, (vi) the Convertible Senior Notes Claims with respect to the 2025
 Convertible Senior Notes shall be Allowed in the amount of $324,326,640.63, and (vii) the
 Convertible Senior Notes Claims with respect to the 2020 Exchangeable Notes shall be Allowed
 in the amount of $217,159,049.00 unless an objection thereto is filed prior to the Effective Date.

                         (c)   Treatment: Except to the extent that a Holder of an Allowed
 General Unsecured Claim agrees to a less favorable treatment, in full and final satisfaction,
 settlement, release, and discharge of and in exchange for each and every Allowed General
 Unsecured Claim, each Holder of an Allowed General Unsecured Claim shall receive its Pro
 Rata portion of the Class A GUC/Litigation Trust Interests subject to the specifics set forth
 herein. For the avoidance of doubt, Holders of Allowed General Unsecured Claims shall not
 receive any of the Class B GUC/Litigation Trust Interests. For purposes of this Article 4.4, Pro
 Rata shall apply to all Allowed General Unsecured Claims on a consolidated basis.

                     (d)    Voting: Classes 4A, 4B, 4C, 4D, and 4E are Impaired and Holders
 of Allowed General Unsecured Claims are entitled to vote to accept or reject the Plan.

                4.5     Intercompany Claims (Classes 5A – 5E)

                        (a)    Classification:   Classes 5A through 5E consist of all Allowed
 Intercompany Claims.


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                         (b)    Treatment: On the Effective Date, and subject to any repayment
 obligations necessary to satisfy secured Intercompany Claims, all net Allowed Intercompany
 Claims (taking into account any setoffs of Intercompany Claims) held by the Debtors between
 and among any Affiliate of the Debtors shall be either reinstated, cancelled, released, or
 otherwise settled in the Debtors’ discretion with the reasonable consent of the Supporting Second
 Lien Parties. For the avoidance of doubt, all Allowed Intercompany Claims held by any Debtor
 constitutes collateral of the Original DIP Lenders, the Replacement DIP Lenders, Second Lien
 Lenders, and Second Lien Senior Noteholders.

                        (c)     Voting: Classes 5A, 5B, 5C, 5D, and 5E are either:

                               (i)    Impaired, and Holders of Allowed applicable Class 5
 Claims are deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code
 and, therefore, such Holders of Allowed Class 5 Claims are not entitled to vote to accept or reject
 the Plan; or

                             (ii)   Unimpaired, and Holders of Allowed applicable Class 5
 Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
 Bankruptcy Code and, therefore, Holders of Allowed Class 5 Claims are not entitled to vote to
 accept or reject the Plan.

                4.6     Other Subordinated Claims (Classes 6A – 6E)

                      (a)   Classification: Classes 6A through 6E consist of all Allowed
 Bankruptcy Code section 510(b) and (c) Claims.

                        (b)     Treatment: Holders of Allowed Other Subordinated Claims shall
 not receive any distributions on account of such Allowed Other Subordinated Claims.

                         (c)     Voting: Classes 6A, 6B, 6C, 6D, and 6E are Impaired, and Holders
 of Allowed Other Subordinated Claims are deemed to have rejected the Plan pursuant to section
 1126(g) of the Bankruptcy Code. Therefore, Holders of Allowed Other Subordinated Claims are
 not entitled to vote to accept or reject the Plan.

                4.7     Interests in Debtor Subsidiaries (Classes 7B – 7E)

                        (a)     Classification:   Classes 7B through 7E consist of all Allowed
 Interests in Debtor Subsidiaries.

                        (b)     Treatment: On the Effective Date, all Allowed Interests in Debtor
 Subsidiaries shall be either reinstated or cancelled in the Debtors’ discretion with the consent of
 the Supporting Second Lien Parties. To the extent reinstated, Interests in Debtor Subsidiaries are
 Unimpaired solely to preserve the Debtors’ corporate structure and Holders of those Interests
 shall not otherwise receive or retain any property on account of such Interests.

                        (c)     Voting: Classes 7B, 7C, 7D, and 7E are either:



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                               (i)    Impaired, and Holders of Allowed applicable Class 7
 Claims are deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code
 and, therefore, such Holders of Allowed Class 7 Claims are not entitled to vote to accept or reject
 the Plan; or

                             (ii)   Unimpaired, and Holders of Allowed applicable Class 7
 Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
 Bankruptcy Code and, therefore, Holders of Allowed Class 7 Claims are not entitled to vote to
 accept or reject the Plan.

                4.8    Interests in SUNE (Class 8A)

                       (a)     Classification: Class 8A consists of all Interests in SUNE.

                      (b)      Treatment: On the Effective Date, Allowed Class 8A Interests shall
 be deemed automatically cancelled, released, and extinguished without further action by the
 Debtors or the Reorganized Debtors and the obligations of the Debtors and the Reorganized
 Debtors thereunder shall be discharged.

                      (c)    Voting: Class 8A is Impaired, and Holders of Allowed Class 8A
 Interests are deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy
 Code. Therefore, Holders of Allowed Class 8A Interests are not entitled to vote to accept or
 reject the Plan.

                                           ARTICLE V

                                         ACCEPTANCE

                5.1      Classes Entitled to Vote. Classes 1A – 1B and 4A – 4E are entitled to
 vote to accept or reject this Plan. By operation of law, Classes 2A – 2E, 3A – 3E, 5A – 5E, 6A –
 6E, 7B – 7E, and 8A are either deemed to have accepted this Plan or to have rejected this Plan
 and are not entitled to vote.

                5.2     Acceptance by Impaired Classes. An Impaired Class of Claims shall
 have accepted this Plan if, not counting the vote of any Holder designated under section 1126(e)
 of the Bankruptcy Code, (a) the Holders of at least two-thirds in amount of the Allowed Claims
 actually voting in the Class have voted to accept this Plan and (b) the Holders of more than one-
 half in number of the Allowed Claims actually voting in the Class have voted to accept the Plan.

               5.3    Elimination of Classes. To the extent applicable, any Class that does not
 contain any Allowed Claims or any Claims temporarily allowed for voting purposes under
 Bankruptcy Rule 3018, as of the date of commencement of the Confirmation Hearing, shall be
 deemed to have been deleted from this Plan for purposes of (a) voting to accept or reject this
 Plan and (b) determining whether it has accepted or rejected this Plan under section 1129(a)(8)
 of the Bankruptcy Code.




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                 5.4     Deemed Acceptance if No Votes Cast. If no Holders of Claims eligible
 to vote in a particular Class vote to accept or reject the Plan, this Plan shall be deemed accepted
 by the Holders of such Claims in such Class.

                5.5      Cramdown.       To the extent necessary, the Debtors shall request
 confirmation of this Plan, as it may be modified from time to time, under section 1129(b) of the
 Bankruptcy Code. The Debtors, with the consent of the Supporting Second Lien Parties, and, to
 the extent Holders of Allowed General Unsecured Claims are affected, the Creditors’ Committee
 (in each case, such consent not to be unreasonably withheld), reserve the right to modify this
 Plan to the extent, if any, that confirmation pursuant to section 1129(b) of the Bankruptcy Code
 requires modification.

                                           ARTICLE VI

                      MEANS FOR IMPLEMENTATION OF THE PLAN

                6.1    General Settlement of Claims and Interests.

                        (a)    Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy
 Rule 9019, and in consideration for the classification, distributions, releases, and other benefits
 provided under the Plan, on the Effective Date, the provisions of the Plan shall constitute good-
 faith compromise and settlement of all Claims and Interests and controversies relating to the
 contractual, legal, and subordination rights that a Holder of a Claim or Interest may have with
 respect to any Allowed Claim or Interest or any distribution to be made on account of such
 Allowed Claim or Interest.

                        (b)     In consideration for the compromises and settlements contained
 herein, including the distribution of the Class A GUC/Litigation Trust Interests for the benefit of
 Holders of General Unsecured Claims, the transfer of the GUC/Litigation Trust Assets to the
 GUC/Litigation Trust, and the settlement of any and all issues that may be in dispute (either
 currently or pending or that could be commenced in the future) regarding Annex II to the
 Replacement DIP Facility Order, including any right to receive amounts attributable to the
 Excess Non-Prepetition 1L/2L Obligor Sale Proceeds, and in each case as more fully set forth in
 the Disclosure Statement, on the Effective Date all pending litigation commenced by the
 Creditors’ Committee or BOKF, N.A., including the UCC Challenge Litigation, the BOKF
 Objection, and the objections to the YieldCo Settlement Motion, shall be dismissed with
 prejudice in accordance with the Committee/BOKF Plan Settlement Term Sheet.

                         (c)    In further consideration for the settlement of the litigation
 commenced by the Creditors’ Committee and BOKF, N.A., on or after the Effective Date (as
 applicable), the terms of the Committee/BOKF Plan Settlement Term Sheet shall be effectuated
 to the extent that they have not previously occurred.

                     (d)    This Plan shall be deemed a motion to settle all pending litigation
 that has been commenced by the Creditors’ Committee or BOKF, N.A. in the Chapter 11 Cases,
 including the UCC Challenge Litigation, the BOKF Objection, and the objections to the YieldCo


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 Settlement Motion and pursuant to sections 105 and 363 of the Bankruptcy Code and Bankruptcy
 Rule 9019 and Confirmation of the Plan shall be deemed approval of such settlement.

                6.2     [RESERVED]

                6.3     Restructuring Transactions.

                         (a)    On or after the Confirmation Date, the Debtors (with the
 reasonable consent of the Supporting Second Lien Parties and the Creditors’ Committee) shall be
 authorized to enter into such transactions and take such other actions as may be necessary or
 appropriate to effect a corporate restructuring of their businesses, to otherwise simplify the
 overall corporate structure of the Debtors, or to organize certain of the Debtors under the laws of
 jurisdictions other than the laws of which such Debtors currently are organized, which
 restructuring may include one or more mergers, consolidations, dispositions, liquidations, or
 dissolutions as may be determined by the Debtors to be necessary or appropriate to result in
 substantially all of the respective assets, properties, rights, liabilities, duties, and obligations of
 certain of the Debtors vesting in one or more surviving, resulting, or acquiring Entities
 (collectively, the “Restructuring Transactions”). In each case in which the surviving, resulting, or
 acquiring Entity in any such transaction is a successor to a Debtor, such surviving, resulting, or
 acquiring Entity shall perform the obligations of such Debtor pursuant to the Plan to satisfy the
 Allowed Claims against, or Allowed Interests in, such Debtor, except as provided in any
 contract, instrument, or other agreement or document effecting a disposition to such surviving,
 resulting, or acquiring Entity, which may provide that another Debtor shall perform such
 obligations.

                          (b)    In effecting the Restructuring Transactions, the Debtors (with the
 reasonable consent of the Supporting Second Lien Parties and the Creditors’ Committee) shall be
 permitted to (i) execute and deliver appropriate agreements or other documents of merger,
 consolidation, restructuring, disposition, liquidation, or dissolution containing terms that are
 consistent with the terms of the Plan and that satisfy the requirements of applicable state law and
 such other terms to which the applicable entities may agree; (ii) execute and deliver appropriate
 instruments of transfer, assignment, assumption, or delegation of any asset, property, right,
 liability, duty, or obligation on terms consistent with the terms of the Plan and having such other
 terms to which the applicable entities may agree; (iii) file appropriate certificates or articles of
 merger, consolidation, or dissolution pursuant to applicable state law; and (iv) take all other
 actions that the applicable Entities determine to be necessary or appropriate, including making
 filings or recordings that may be required by applicable state law in connection with such
 transactions.

                6.4    Sources of Cash for Plan Distribution. All Cash required for payments
 to be made under the Plan on the Effective Date shall be obtained from Cash on hand, proceeds
 of the Jointly Supported Transactions and, in the TERP Share Election Alternative only,
 proceeds of the Rights Offering.

                      (a)    Rights Offering. In the TERP Share Election Alternative, prior to
 the Effective Date and without the need for any further corporate action and without further
 action by the Holders of Claims or Interests, SUNE shall commence the Rights Offering

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 pursuant to the Rights Offering Procedures. On the Effective Date, if the TERP Share Election
 Alternative shall have occurred, Reorganized SUNE shall distribute the Rights Offering
 Common Stock to the Rights Holders that participate in the Rights Offering as of the Rights
 Offering Record Date pursuant to the Rights Offering Procedures and the Equity Commitment
 Agreement. The Rights Offering shall be fully backstopped by the Rights Offering Backstop
 Purchasers such that the Rights Offering results in the funding of Reorganized SUNE with the
 Rights Offering Amount on the terms and conditions set forth in the Rights Offering Backstop
 Commitment and the Equity Commitment Agreement. In exchange for providing the Rights
 Offering Backstop Commitment for the Rights Offering, on the Effective Date, the Rights
 Offering Backstop Parties will receive payment of the Rights Offering Backstop Standby Fee to
 the extent earned and payable pursuant to the Equity Commitment Agreement and any order of
 the Bankruptcy Court approving such fee. For the avoidance of doubt, the Rights Offering
 Backstop Standby Fee is a necessary expense of the Debtors’ Estates and shall be deemed an
 Allowed Administrative Expense Claim pursuant to the order approving the Debtors’ entry into
 the Rights Offering Commitment Letter and the Equity Commitment Agreement.

                        (b)     Jointly Supported Transactions. The Debtors or Reorganized
 Debtors may enter into, support, or otherwise effectuate one or more Jointly Supported
 Transactions pursuant to which the Debtors or Reorganized Debtors sell or otherwise dispose of
 some or all of their equity interests in the YieldCos to a third party purchaser. The Debtors or
 Reorganized Debtors are authorized to enter into and perform under the Jointly Supported
 Transaction Agreements and such other documents as may be required or appropriate.

                6.5     Reinstated Second Lien Claims. On the Effective Date, the Reinstated
 Second Lien Claims shall be reinstated as modified pursuant to the Reinstated Second Lien
 Claim Modification Terms. The Debtors and Reorganized Debtors are authorized to take all
 actions necessary to amend the Second Lien Documents in accordance with the Reinstated
 Second Lien Claim Modification Terms and such amendments shall be deemed to be effective on
 the Effective Date. All Liens granted in connection with the Second Lien Claims and that exist
 over property of the Debtors (and, to the extent applicable, non-Debtors) immediately prior to the
 Effective Date shall remain in full force and effect following the Effective Date to the extent that
 the Debtors or Reorganized Debtors have not otherwise disposed of such property free and clear
 of such Liens in connection with this Plan, and solely to the extent of the Reinstated Second Lien
 Claims. The Holders of the Reinstated Second Lien Claims, and the amount held by such
 Holders, shall be consistent with the amounts held by such Holders of Reorganized SUNE
 equity.9

              6.6    Conversion and Distribution of Continuing TERP Class A Shares. In
 accordance with the Jointly Supported Transaction Agreements, the Debtors or Reorganized

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   To the extent that (a) the Debtors elect the TERP Cash Election Alternative and (b) the cash received from the
 Jointly Supported Transactions is insufficient to repay the Tranche B Roll-Up Lenders in full and in Cash, the
 Debtors will issue Reinstated Tranche B Roll-Up Loans in an amount and with terms necessary to render the
 Tranche B Roll-Up Loans Unimpaired, including, without limitation, priority (over the Reinstated Second Lien
 Claims) in lien and claim amount and interest, and with other terms that are identical to the current Tranche B Roll-
 Up Loans. The provisions of Section 6.5 shall apply mutatis mutandis to the Reinstated Tranche B Roll-Up Loans.



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 Debtors are authorized to exercise any exchange or conversion rights with respect to their
 interests in the YieldCos, including the exchange or conversion of their Class B shares in TERP
 Inc. and/or Class B Units in TERP LLC into Class A shares in TERP Inc. in respect of which
 they may elect to retain Continuing TERP Class A Shares through the TERP Share Election
 Alternative. The Debtors or Reorganized Debtors are authorized without further corporate or
 other action or approval to distribute the Continuing TERP Class A Shares to Holders of
 Allowed Second Lien Claims in accordance with this Plan, including the Rights Offering, free
 and clear of all Liens.

                 6.7    Administration of Repatriated Cash, Earnout Assets, and Residual
 Assets. Reorganized SUNE shall employ employees and maintain systems and back-office
 capabilities reasonably necessary to administer the Earnout Assets and the Residual Assets and
 to collect the Repatriated Cash, and shall use commercially reasonable efforts to (a) generate
 Earnout Proceeds and Residual Assets Proceeds therefrom and to maximize the recovery of
 Repatriated Cash and (b) to transfer such assets to Reorganized SUNE if not otherwise applied to
 the Reinstated Second Lien Claims.

                 6.8    Certain Transfers Between SUNE and Other Debtors. Following the
 Effective Date, the Reorganized Debtors may transfer in their sole discretion the right to receive
 any Earnout Proceeds, Residual Assets Proceeds, and the Repatriated Cash to Reorganized
 SUNE, free and clear of any Lien, except for the Liens securing the Reinstated Second Lien
 Claims. The Confirmation Order shall authorize the Debtors to effectuate the transfer of the
 right to receive Earnout Proceeds, the Residual Assets Proceeds, and Repatriated Cash in
 accordance with the terms of the Plan as part of the settlements and compromises contained in
 the Plan. All matters and transactions necessary to effectuate the transfer of the right to receive
 Earnout Proceeds, the Residual Assets Proceeds, or the Repatriated Cash, and any partnership,
 membership, or shareholder action required by the applicable Debtors in connection with such
 transfer will be deemed to have occurred and will be in effect, without any requirement of further
 action by those authorized to act on behalf of the applicable Debtors. Upon entry of the
 Confirmation Order, subject to the terms of the Original DIP Facility and the Replacement DIP
 Facility, the appropriate officers or managing members of each Debtor shall be authorized and
 directed to issue, execute, deliver, file, and/or record any contracts, agreements, instruments, or
 other documents contemplated by, or necessary or desirable to effect, the transfer of the right to
 receive the Earnout Proceeds, the Residual Assets Proceeds, and the Repatriated Cash in
 accordance with the terms of the Plan, and take such actions as may be necessary or appropriate
 to effectuate and further evidence the terms and conditions of the transfer of the right to receive
 the Earnout Proceeds, the Residual Assets Proceeds, and the Repatriated Cash, in each case in
 the name of and on behalf of the applicable Debtor. The authorizations contained in this Article
 6.6 apply on a continuing basis to any Earnout Proceeds, Residual Assets Proceeds, or
 Repatriated Cash received by any Debtor (in such case, subject to the terms of the Original DIP
 Facility and the Replacement DIP Facility) or Reorganized Debtor following the entry of the
 Confirmation Order.

                6.9   Authorization and Issuance of New SUNE Common Stock. On the
 Effective Date, Reorganized SUNE shall authorize and issue the New SUNE Common Stock.
 Distribution of New SUNE Common Stock hereunder shall constitute issuance of 100% of such
 New SUNE Common Stock and in each case shall be deemed issued on the Effective Date. The

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 issuance of New SUNE Common Stock by Reorganized SUNE is authorized without the need
 for any further corporate action or without any further action by the Debtors or the Reorganized
 Debtors, as applicable. All of the shares of New SUNE Common Stock issued pursuant to the
 Plan shall be duly authorized, validly issued, fully paid, and non-assessable.

              6.10 GUC/Litigation Trust Initial Funding. On the Effective Date, the
 GUC/Litigation Trust Initial Funding shall be $7.5 million, in accordance with the
 Committee/BOKF Plan Settlement Term Sheet.

                 6.11 Exemptions from Securities Act Registration Requirements. Except as
 otherwise set forth in this Plan and consistent with the Jointly Supported Transaction
 Agreements (if applicable), the offering, issuance, and distribution of any Securities pursuant to
 the Plan and any and all settlement agreements incorporated therein will be exempt from the
 registration requirements of Section 5 of the Securities Act pursuant to section 1145 of the
 Bankruptcy Code, Sections 4(a)(1) and 4(a)(2) of the Securities Act, or any other available
 exemption from registration under the Securities Act, as applicable. Section 4(a)(2) of the
 Securities Act exempts transactions by an issuer not involving a public offering and Section
 4(a)(1) exempts transactions by any person other than an issuer, underwriter, or dealer. In
 addition, under section 1145 of the Bankruptcy Code, if applicable, any Securities (other than the
 Continuing TERP Class A Shares) issued pursuant to the Plan and any and all settlement
 agreements incorporated therein will be freely transferable under the Securities Act by the
 recipients thereof, subject to (1) the provisions of Section 1145(b)(1) of the Bankruptcy Code
 relating to the definition of an underwriter in Section 2(a)(11) of the Securities Act, and
 compliance with any applicable state or foreign securities laws, if any, and the rules and
 regulations of the SEC, if any, applicable at the time of any future transfer of such Securities or
 instruments, (2) the restrictions, if any, on the transferability of such Securities and instruments,
 including restrictions contained in the GUC/Litigation Trust Agreement (if applicable), (3) any
 other applicable regulatory approval, and (4) the restrictions, if any, contained in the SUNE
 Certificate of Incorporation and Bylaws. Except as otherwise set forth in this Plan, in reliance
 upon these exemptions, the offer, issuance, and distribution of Securities will not be registered
 under the Securities Act or any applicable state Blue Sky Laws, and may not be transferred,
 encumbered or otherwise disposed of in the absence of such registration or an exemption
 therefrom under the Securities Act or under such laws and regulations thereunder. Accordingly,
 the Securities may be subject to restrictions on transfer as set forth in the governing documents to
 such Securities.

                 6.12 Cancellation of Old SUNE Securities and Agreements. On the
 Effective Date, except as otherwise specifically provided for herein (including with respect to the
 Reinstated Second Lien Claims), (a) the Old SUNE Securities and any other note, bond,
 indenture, Certificate, or other instrument or document evidencing or creating any indebtedness
 or obligation of or ownership interest in SUNE (including the Indentures) shall be cancelled and
 (b) the obligations of, Claims against, and/or Interests in SUNE under, relating, or pertaining to
 any agreements, indentures, certificates of designation, bylaws, or certificate or articles of
 incorporation or similar documents governing the Old SUNE Securities and any other note,
 bond, indenture, Certificate, or other instrument or document evidencing or creating any
 indebtedness or obligation of SUNE shall be released and discharged and cancelled; provided,
 however, that any agreement (including the Indentures) that governs the rights of a Holder of a

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 Claim that is otherwise released, discharged, and cancelled and that is administered by a Servicer
 shall continue in effect, notwithstanding anything to the contrary contained herein, solely for the
 purposes of (a) enabling Holders of Allowed Claims to receive distributions under the Plan and
 (b) allowing and preserving the rights of any Servicer to (i) make the distributions on account of
 such Claims under this Plan as provided for in Articles 7.10, 7.11, and 10.5(c) of this Plan, (ii)
 maintain and exercise any charging liens against any such distributions for the payment of fees
 and expenses and for indemnification under the applicable Indenture; (iii) appear and be heard in
 the Chapter 11 Cases or in any proceeding in the Bankruptcy Court or in any other court; and (iv)
 enforce any obligation owed to such Servicer under the Plan; provided, further, that any
 indemnification and reimbursement obligations in respect of the Replacement DIP Facilities, the
 Existing DIP Facilities, the Prepetition Second Lien Credit Facility, the Prepetition Second Lien
 Notes, and/or the Prepetition First Lien Credit Facility (in each case as defined in the
 Replacement DIP Order) which are expressly stated to survive any repayment under, or
 termination of, such respective facilities shall survive any cancellation or discharge under this
 Plan in accordance with their respective terms, and any rights that the Agents (in each case as
 defined under the respective Replacement DIP Documents, Existing DIP Documents, the
 Prepetition Second Lien Credit Facility, the Prepetition Second Lien Notes, or the Prepetition
 First Lien Credit Facility (each as defined in the Replacement DIP Order)) may have under the
 agency provisions of such facilities shall survive any such cancellation or discharge.
 Notwithstanding the foregoing, in no event shall the 2020 Exchangeable Notes be cancelled with
 respect to any non-Debtor obligor thereof, nor shall any non-Debtor be released or discharged
 with respect to any obligation under the 2020 Exchangeable Notes or the 2020 Exchangeable
 Notes Indenture by any provision of this Plan.

                 6.13 Issuance and Distribution of New Securities; Execution of Plan
 Documents. Except as otherwise provided in the Plan, on or as soon as reasonably practicable
 after the Effective Date, the Reorganized Debtors shall issue and/or deliver all Securities, notes,
 instruments, Certificates, and other documents required to be issued pursuant to the Plan and
 shall amend the Second Lien Documents to implement the Reinstated Second Lien Claim
 Modification Terms, in form and substance reasonably satisfactory to the Supporting Second
 Lien Parties.

                6.14   Continued Corporate Existence.

                         (a)    Except as otherwise provided in the Plan, the Debtors shall
 continue to exist after the Effective Date as separate entities, the Reorganized Debtors, with all
 the powers of a corporation under applicable law in the jurisdiction in which each respective
 Debtor is incorporated and pursuant to its respective certificate of incorporation and bylaws or
 other organizational documents in effect prior to the Effective Date, except to the extent such
 certificate of incorporation and bylaws or other organization documents are amended and
 restated by this Plan, without prejudice to any right to terminate such existence (whether by
 merger or otherwise) under applicable law after the Effective Date. To the extent such
 documents are amended, such documents are deemed to be amended pursuant to the Plan
 without any further notice to or action, order, or approval of the Bankruptcy Court or any other
 court of competent jurisdiction (other than the requisite filings required under applicable state,
 provincial, or federal law).


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                      (b)     Except as otherwise provided in the Plan, the continued existence,
 operation, and ownership of Affiliates is a material component of the business of the Debtors and
 the Reorganized Debtors, as applicable, and, as set forth in Article 11.1 of this Plan, all of the
 Debtors’ equity interests and other property interests in such Affiliates shall vest in the
 Reorganized Debtors or their successors on the Effective Date.

                6.15 Certificate of Incorporation and Bylaws.                The certificates of
 incorporation and bylaws (or other formation documents relating to limited liability companies,
 limited partnership, or other forms of Entity) of the Debtors shall be amended in a form as may
 be required to be consistent with the provisions of the Plan and the Bankruptcy Code (and which
 shall be in form and substance reasonably satisfactory to the Supporting Second Lien Parties)
 and the form and substance of which shall be included in the Plan Supplement. After the
 Effective Date, the Reorganized Debtors may amend and restate their respective certificates of
 incorporation and bylaws (or other formation documents relating to limited liability companies,
 limited partnership, or other forms of Entity) as permitted by applicable state corporation law
 and their respective charters and bylaws or other organizational documents.

               6.16 Directors and Officers of Reorganized Debtors. Pursuant to section
 1129(a)(5) of the Bankruptcy Code, the identity and affiliations of each proposed member of
 Reorganized Debtors’ initial board of directors and each of the initial officers of the Reorganized
 Debtors (and, to the extent such Person is an insider, the nature of any compensation for such
 Person) shall be disclosed in the Plan Supplement or as announced on the record at the
 Confirmation Hearing. The number of members of the New Boards and the identities thereof,
 and any senior officers of the Reorganized Debtors not presently serving in such capacity, shall
 be determined by the Supporting Second Lien Parties.

                 6.17 Corporate Action. Each of the matters provided for under this Plan
 involving the corporate structure of the Debtors or the Reorganized Debtors or corporate action
 to be taken by or required of the Debtors (with the reasonable consent of the Supporting Second
 Lien Parties) or the Reorganized Debtors shall, as of the Effective Date, be deemed to have
 occurred and be effective as provided herein, and shall be authorized, approved, and to the extent
 taken prior to the Effective Date, ratified in all respects without any requirement of further action
 by stockholders, creditors, or directors of the Debtors or the Reorganized Debtors. Such actions
 may include, (a) the adoption and filing of the SUNE Certificate of Incorporation and Bylaws,
 (b) the appointment of the New Boards, and (c) the issuance and distribution of New SUNE
 Common Stock and (d) the distribution of Continuing TERP Class A Shares.

                 6.18 Effectuating Documents; Further Transactions. On and after the
 Effective Date, the Reorganized Debtors, and the officers thereof and members of the New
 Boards, shall be authorized to and may issue, execute, deliver, file, or record such contracts,
 Securities, instruments, releases, indentures, and other agreements or documents, and take such
 actions as may be necessary or appropriate to effectuate, implement, and further evidence the
 terms and conditions of this Plan, or to otherwise comply with applicable law, in the name of and
 on behalf of the Reorganized Debtors, without the need for any approvals, authorizations, or
 consents except for those expressly required pursuant to the Plan.



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             6.19 Employment, Retirement, Indemnification and Other Agreements
 and Employee Compensation Programs.

                        (a)     Employment Agreements. To the extent that the Debtors intend
 for any employment, retirement, indemnification or other agreement with its respective directors,
 officers, managing members and employees to remain in place after the Effective Date, the
 Debtors, with the reasonable consent of the Supporting Second Lien Parties, will list such
 agreement on the list of “Assumed Executory Contracts and Unexpired Leases” contained in
 Exhibit 8.1 of the Plan, and such agreement will be assumed as of the Effective Date. If the
 Debtors do not list such agreement on the list of “Assumed Executory Contracts and Unexpired
 Leases” contained in Exhibit 8.1, such agreement shall be deemed rejected. The Debtors, with
 the reasonable consent of the Supporting Second Lien Parties, may also enter into new
 employment arrangements and/or change in control agreements with individuals who will serve
 as officers of the Reorganized Debtors after the Effective Date. On the Effective Date or as soon
 as reasonably practicable thereafter, the Reorganized Debtors shall adopt, approve, and authorize
 any new employment arrangements with respect to such officers of the Reorganized Debtors
 without further action, order, or approval of the New Boards.

                         (b)     Other Incentive Plans and Employee Benefits. Unless otherwise
 specified in this Plan, and except in connection and not inconsistent with Article 6.19(a), on and
 after the Effective Date, the Reorganized Debtors shall have the discretion, with the reasonable
 consent of the Supporting Second Lien Parties, to (a) amend, adopt, assume, and/or honor, in the
 ordinary course of business or as otherwise provided herein, any contracts, agreements, policies,
 programs, and plans for, among other things, compensation, pursuant to the terms thereof or
 hereof, including the Employee Compensation Plans, any incentive plan, 401(k) plan, health care
 benefits, disability benefits, deferred compensation benefits, savings, severance benefits,
 retirement benefits, welfare benefits, workers’ compensation benefits, life insurance, and
 accidental death and dismemberment insurance for the directors, officers, and employees of the
 Debtors who served in such capacity from and after the Petition Date, and (b) honor, in the
 ordinary course of business, Claims of employees employed as of the Effective Date for accrued
 vacation time arising prior to the Petition Date.

                 6.20 Preservation Of Causes Of Action. In accordance with section
 1123(b)(3) of the Bankruptcy Code, the Reorganized Debtors shall retain and may (but are not
 required to) enforce all rights to commence and pursue any and all Causes of Action that are not
 (a) released pursuant to Article 11.5 of this Plan or an order of the Bankruptcy Court or
 (b) GUC/Litigation Trust Causes of Action, whether arising before or after the Petition Date,
 including any actions or categories of actions specifically enumerated in Exhibit 6.20, and such
 Causes of Action shall vest in the Reorganized Debtors as of the Effective Date. The
 Reorganized Debtors, in their sole and absolute discretion, shall determine whether to bring,
 settle, release, compromise, or enforce such Causes of Action (or decline to do any of the
 foregoing), and shall not be required to seek further approval of the Bankruptcy Court for such
 action. The Reorganized Debtors or any successors may pursue such litigation claims in
 accordance with the best interests of the Reorganized Debtors or any successor holding such
 rights of action. No Entity may rely on the absence of a specific reference in the Plan, the
 Plan Supplement, or the Disclosure Statement to any Cause of Action against them as any
 indication that the Debtors or the Reorganized Debtors will not pursue any and all

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 available Causes of Action against them. The Debtors and the Reorganized Debtors
 expressly reserve all rights to prosecute any and all Causes of Action against any Entity,
 except as otherwise provided in the Plan. Unless any Causes of Action against an Entity are
 expressly waived, relinquished, exculpated, released, compromised, or settled in the Plan or an
 order of the Bankruptcy Court, the Reorganized Debtors expressly reserve all Causes of Action
 for transfer to the GUC/Litigation Trust and later adjudication.

                 6.21 Reservation of Rights. With respect to Avoidance Actions that are
 transferred to the GUC/Litigation Trust in accordance with Article 7.5 of this Plan, the Debtors,
 the Reorganized Debtors, and the GUC/Litigation Trust as applicable, reserve all rights,
 including the right under section 502(d) of the Bankruptcy Code to use defensively the
 transferred Avoidance Actions as a basis to object to all or any part of a claim against any of the
 Estates asserted by a creditor which remains in possession of, or otherwise obtains the benefit of,
 the avoidable transfer.

                6.22 Exemption from Certain Transfer Taxes and Recording Fees.
 Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant to the
 Plan, or any transaction entered into by the GUC/Litigation Trust, shall not be subject to any
 document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax,
 stamp act, real estate transfer tax, mortgage recording tax, sales tax, use tax, or other similar tax
 or governmental assessment to the fullest extent contemplated by section 1146(a) of the
 Bankruptcy Code, and upon entry of the Confirmation Order, the appropriate state or local
 governmental officials or agents to forgo the collection of any such tax or governmental
 assessment and to accept for filing and recordation any of the foregoing instruments or other
 documents without the payment of any such tax or governmental assessment.

                 6.23 Insured Claims. Notwithstanding anything to the contrary contained
 herein, to the extent the Debtors have insurance with respect to any Allowed General Unsecured
 Claim, the Holder of such Allowed Claim shall (a) be paid any amount from the proceeds of
 insurance to the extent that the Claim is insured, and, (b) solely for the portion of such Claim that
 is not paid by the applicable insurance policy, receive the treatment provided for in this Plan for
 Allowed General Unsecured Claims.

                6.24 Intercompany Account Settlement. The Debtors and the Reorganized
 Debtors, and their respective Affiliates, with the reasonable consent of the Supporting Second
 Lien Parties, will be entitled to transfer funds between and among themselves as they determine
 to be necessary or appropriate to enable the Reorganized Debtors to satisfy their obligations
 under the Plan. For the avoidance of doubt, because Intercompany Claims are the collateral of
 the Original DIP Facility, the Replacement DIP Facility, the Second Lien Loans, and the Second
 Lien Senior Notes, such transfers or settlements shall not affect distributions under the Plan.

                 6.25 Private Company. It is anticipated that the Reorganized Debtors shall be
 private companies as of the Effective Date and shall not register any of their respective equity
 with the SEC or list such equity on an exchange; provided, however, that, to the extent
 applicable, the Reorganized Debtors may (in the discretion of the New Boards) implement
 procedures to facilitate trading of such equity, e.g., providing investors with access (on a secure


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 website) to current information concerning the Reorganized Debtors and their subsidiaries on a
 consolidated basis.

                                          ARTICLE VII

                                  GUC/LITIGATION TRUST

                 7.1     GUC/Litigation Trust Agreement. The GUC/Litigation Trust shall be
 established on the Effective Date and shall be governed and administered in accordance with the
 GUC/Litigation Trust Agreement. The GUC/Litigation Trust Agreement shall be drafted by the
 Creditors’ Committee’s Professionals and shall be in form and substance acceptable to the
 Creditors’ Committee and reasonably acceptable to the Debtors. Any provisions of the
 GUC/Litigation Trust Agreement that affect any rights of any holders of Class B GUC/Litigation
 Trust Interests shall be in form and substance acceptable to the Supporting Second Lien Parties
 (or their advisors). The GUC/Litigation Trust Assets or such portion of the GUC/Litigation
 Trust Assets as determined by the Creditors’ Committee/GUC/Litigation Trust Oversight Board
 shall be used to fund the activities of the GUC/Litigation Trust, including the prosecution of the
 GUC/Litigation Trust Causes of Action. For the avoidance of doubt, the GUC/Litigation Trust
 Initial Funding shall be used to prosecute GUC/Litigation Trust Causes of Action and pay other
 expenses of the GUC/Litigation Trust prior to any excess being distributed to Holders of
 Allowed General Unsecured Claims. The GUC/Litigation Trust Agreement shall provide for (i)
 distributions at least once per year; (ii) an initial distribution within thirty (30) days of the
 Effective Date (including deposits into the GUC Disputed Claims Reserve as provided in (iii)
 hereof) of no less than 50% of all Cash which is transferred to the GUC/Litigation Trust on the
 Effective Date subject to any holdback necessary to fund or maintain the GUC Disputed Claims
 Reserve; and (iii) mechanics for a GUC Disputed Claims Reserve sufficient to ensure that a
 holder of a Disputed General Unsecured Claim which becomes Allowed after the Effective Date
 receives aggregate distributions from the GUC/Litigation Trust equal to what such holder would
 have received had such Claims been Allowed on the Effective Date (net of any taxes imposed
 on, or with respect to, the GUC Disputed Claims Reserve as relates to such Claim, including in
 connection with such distributions). The first $2 million of Cash to be distributed from the
 GUC/Litigation Trust shall be distributed to the Convertible Senior Notes Indenture Trustee as
 partial payment of its fees and expenses incurred in connection with these Chapter 11 Cases.

                7.2    Class A and Class B GUC/Litigation Trust Interests.

                     (a)     Class A GUC/Litigation Trust Interests. Holders of Class A
 GUC/Litigation Trust Interests shall be entitled to share in all of the GUC/Litigation Trust
 Assets.

                      (b)     Class B GUC/Litigation Trust Interests.        Holders of Class B
 GUC/Litigation Trust Interests shall only be entitled to the following:

                                (i)    forty-eight percent (48%) of the Additional Net Avoidance
 Action Proceeds; provided, that, the GUC/Litigation Trust Agreement shall provide that the
 GUC/Litigation Trust Agreement may not be amended to change the distributions set forth in
 this clause (i) without the consent of 75% of the holders (in amount of Class B GUC/Litigation

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 Trust Interests held, not number of holders) of the Class B GUC/Litigation Trust Interests in the
 GUC/Litigation Trust and the requisite consent of the holders of the Class A GUC/Litigation
 Trust Interests in the GUC/Litigation Trust in accordance with the GUC/Litigation Trust
 Agreement;

                               (ii)    delivery of the GUC/Litigation Trust Reports;

                                 (iii)   following the filing of any Contingency Fee Advisor
 Retention Notice, at the request of any of the holders of Class B GUC/Litigation Trust Interests
 (or their advisor at the instruction of a holder) the GUC/Litigation Trust Trustee will provide
 additional information regarding the proposed contingency fee engagement (including the actual
 engagement letter on a confidential basis, if so requested). Holders of Class B GUC/Litigation
 Trust Interests (or their advisors at the instruction of a holder) shall have ten (10) Business Days
 from the date of the filing of the Contingency Fee Advisor Retention Notice to file with the
 Bankruptcy Court a pleading seeking to prohibit such retention on the grounds that such
 retention is not consistent with the purpose of the Committee/BOKF Plan Settlement Term Sheet
 because the engagement does not provide a sufficient incentive for such contingency fee advisor
 to procure Additional Net Avoidance Action Proceeds, and the GUC/Litigation Trust, GUC
 Litigation Trust Trustee, GUC Litigation Trust Oversight Board, or the Committee may oppose
 such pleading (but solely with respect to such issue), and the Bankruptcy Court shall retain
 jurisdiction to settle such dispute;

                               (iv)    enforcement rights with regard to any and all of the above
 rights (and clause (v) below) (as well as the fiduciary duties owed to all holders of
 GUC/Litigation Trust Interests by the GUC/Litigation Trust Trustee and the GUC/Litigation
 Trust Oversight Board as set forth below); and

                            (v)    reasonable consent rights with regard to any modifications,
 amendments, or supplements of the GUC/Litigation Trust Agreement that affect (i) through (iv)
 above.

                        (c)    The GUC/Litigation Trust Trustee shall provide GUC/Litigation
 Trust Reports to all Holders of GUC/Litigation Trust Interests.

                7.3    GUC/Litigation Trust Governance. The GUC/Litigation Trust Trustee,
 who shall administer the GUC/Litigation Trust, shall be selected by the Creditors’ Committee.
 All GUC/Litigation Trust governance issues shall be determined by the Creditors’ Committee
 including the composition of the GUC/Litigation Trust Oversight Board. The GUC/Litigation
 Trust Trustee and the GUC/Litigation Trust Oversight Board shall owe fiduciary duties to all
 holders of GUC/Litigation Trust Interests. The GUC/Litigation Trust Trustee and the
 GUC/Litigation Trust Oversight Board shall have the authority to retain any advisors for the
 purpose of carrying out their respective duties under the GUC/Litigation Trust Agreement. The
 GUC/Litigation Trust Trustee shall file a notice (summarizing the key terms of such retention,
 including the economic terms thereof) regarding the proposed retention of any such advisors on a
 contingency fee basis (other than the GUC/Litigation Trust Trustee) (each such notice, a
 “Contingency Fee Advisor Retention Notice”) on the docket of the Bankruptcy Court.


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                 7.4     Tax Treatment. It is intended that the GUC/Litigation Trust be classified
 for federal income tax purposes as a “liquidating trust” within the meaning of Treasury
 Regulations Section 301.7701-4(d) and as a “grantor trust” within the meaning of Sections 671
 through 679 of the Internal Revenue Code, with no objective to continue or engage in the
 conduct of a trade or business. In furtherance of this objective, the GUC/Litigation Trust Trustee
 shall, in an expeditious but commercially reasonable manner and exercising its reasonable
 business judgment, liquidate and convert to cash the GUC/Litigation Trust Assets (which may
 include the prosecution, compromise and settlement, abandonment or dismissal of any or all
 claims, rights or causes of action) and not unduly prolong the existence of the GUC/Litigation
 Trust. All assets held by the GUC/Litigation Trust on the Effective Date shall be treated for
 federal income tax purposes (i) to have been distributed (subject to any obligations relating to
 such assets) by the Debtors or Reorganized Debtors to the GUC/Litigation Trust Beneficiaries
 (other than the assets allocable to Disputed Claims) in satisfaction of Allowed General
 Unsecured Claims and in partial satisfaction of Allowed Second Lien Claims and (ii)
 immediately thereafter contributed by the holder of such Claims (thereafter, the GUC/Litigation
 Trust Beneficiaries) to the GUC/Litigation Trust in exchange for GUC/Litigation Trust Interests.
 The GUC/Litigation Trust Trustee shall in good faith value all of the GUC/Litigation Trust
 Assets, and shall make all such values available from time to time, to the extent relevant, and
 such values shall be used consistently by all parties to the GUC/Litigation Trust (including,
 without limitation, the Debtors, the Reorganized Debtors, the GUC/Litigation Trust Trustee, and
 GUC/Litigation Trust Beneficiaries) for all federal income tax purposes. The GUC/Litigation
 Trust Beneficiaries shall be treated for federal income tax purposes as the grantors and owners of
 their respective share of the GUC/Litigation Trust Assets (other than such GUC/Litigation Trust
 Assets as are allocable to Disputed Claims). The GUC/Litigation Trustee shall file tax returns
 and other tax filings for the GUC/Litigation Trust treating the GUC/Litigation Trust as a grantor
 trust pursuant to Treasury Regulation section 1.671-4(a).

         Subject to contrary definitive guidance from the Internal Revenue Service or a court of
 competent jurisdiction (including the receipt by the GUC/Litigation Trust Trustee of a private
 letter ruling if the GUC/Litigation Trust Trustee so requests, or the receipt of an adverse
 determination by the Internal Revenue Service upon audit if not contested by the GUC/Litigation
 Trust Trustee), the GUC/Litigation Trust Trustee may (A) timely elect to treat the GUC Disputed
 Claims Reserve as a “disputed ownership fund” governed by Treasury Regulation section
 1.468B-9 and (B) to the extent permitted by applicable law, report consistently with the
 foregoing for state and local income tax purposes. All parties (including the GUC/Litigation
 Trust Trustee, the Debtors and the GUC/Litigation Trust Beneficiaries) shall report for U.S.
 federal, state and local income tax purposes consistently with the foregoing.

         The GUC/Litigation Trust Trustee may withhold and pay to the appropriate taxing
 authority all amounts required to be withheld pursuant to the Internal Revenue Code or any
 provision of any foreign, state or local tax law with respect to any payment or distribution to the
 GUC/Litigation Trust Beneficiaries or any amounts received or earned by the GUC/Litigation
 Trust treated as allocable to the GUC/Litigation Trust Beneficiaries. All such amounts withheld
 and paid to the appropriate taxing authority shall be treated as amounts distributed to such
 GUC/Litigation Trust Beneficiaries for all purposes of the GUC/Litigation Trust Agreement.
 The GUC/Litigation Trust Trustee shall be authorized to collect such tax information from the
 GUC/Litigation Trust Beneficiaries (including, without limitation, social security numbers or

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 other tax identification numbers) as it, in its sole discretion, deems necessary to effectuate the
 Plan, the Confirmation Order and the GUC/Litigation Trust Agreement. In order to receive
 distributions under the Plan, all GUC/Litigation Trust Beneficiaries will need to identify
 themselves to the GUC/Litigation Trust Trustee and provide tax information and the specifics of
 their holdings, to the extent the GUC/Litigation Trust Trustee deems appropriate. This
 identification requirement may, in certain cases, extend to holders who hold their securities in
 street name. The GUC/Litigation Trust Trustee may refuse to make a distribution to any
 GUC/Litigation Trust Beneficiary that fails to furnish such information in a timely fashion, until
 such information is delivered; provided, however, that, upon the delivery of such information by
 a GUC/Litigation Trust Beneficiary, the GUC/Litigation Trust Trustee shall make such
 distribution to which the GUC/Litigation Trust Beneficiary is entitled, without interest; and,
 provided, further, that, if the GUC/Litigation Trust Trustee fails to withhold in respect of
 amounts received or distributable with respect to any such holder and the GUC/Litigation Trust
 Trustee is later held liable for the amount of such withholding, such holder shall reimburse the
 GUC/Litigation Trust Trustee for such liability.

                7.5    GUC/Litigation Trust Assets.

                        (a)    On the Effective Date, or on such other date as is set forth in the
 GUC/Litigation Trust Agreement, pursuant to section 1123(b)(3) of the Bankruptcy Code, the
 GUC/Litigation Trust Assets shall be transferred by the Debtors (and deemed transferred) to the
 GUC/Litigation Trust free and clear of all Claims, Liens, charges, encumbrances, rights, and
 interests, without the need for any Entity to take any further action or obtain any approval and
 the GUC/Litigation Trust shall be authorized as the representative of the Estates to pursue
 GUC/Litigation Trust Causes of Action.

                         (b)     For the avoidance of doubt, Causes of Action transferred, assigned,
 and delivered to the GUC/Litigation Trust shall not include any Causes of Action (i) against the
 YieldCos or otherwise released in the YieldCo Settlement Agreements, (ii) against any or all of
 the Prepetition Secured Parties in their capacities as such, (iii) against any of the DIP Secured
 Parties in their capacities as such (as such terms are defined in the Original DIP Facility Order),
 or (iv) against any of the Replacement DIP Secured Parties in their capacities as such (as such
 terms are defined in the Replacement DIP Facility Order). For the avoidance of doubt, the
 Second Lien Litigation will not be transferred to the GUC/Litigation Trust.

                7.6    GUC/Litigation Trust Causes of Action.

                       (a)    GUC/Litigation Trust Causes of Action shall exclude any action
 released or settled by the Debtors pursuant to this Plan or an order of the Bankruptcy Court;
 provided, that with respect to any settlements or releases proposed by the Debtors after the
 Disclosure Statement Order is entered, such settlements or releases shall require the consent of
 the Creditors’ Committee, which consent shall not be unreasonably withheld.

                        (b)    The GUC/Litigation Trust, with the consent of the Reorganized
 Debtors to the extent such GUC/Litigation Trust Causes of Action interfere with (i) the
 Reorganized Debtors’ collection of Earnout Proceeds, Residual Assets Proceeds, or Repatriated
 Cash or (ii) the continuing operations of TERP, shall determine whether to bring, settle, release,

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 compromise, or enforce such GUC/Litigation Trust Causes of Action (or decline to do any of the
 foregoing), and shall not be required to seek further approval of the Bankruptcy Court for such
 action. The GUC/Litigation Trust or any successors may pursue such litigation claims in
 accordance with the best interests of the GUC/Litigation Trust or any successor holding such
 rights of action. No Entity may rely on the absence of a specific reference in the Plan, the
 Plan Supplement, or the Disclosure Statement to any GUC/Litigation Trust Cause of
 Action against them as any indication that the GUC/Litigation Trust will not pursue any
 and all available GUC/Litigation Trust Causes of Action against them.                       The
 GUC/Litigation Trust expressly reserves all rights to prosecute any and all GUC/Litigation
 Trust Causes of Action against any Entity, except as otherwise provided in the Plan. Unless
 any GUC/Litigation Trust Causes of Action against an Entity are expressly waived, relinquished,
 exculpated, released, compromised, or settled in the Plan or an order of the Bankruptcy Court,
 the GUC/Litigation Trust expressly reserves all GUC/Litigation Trust Causes of Action for later
 adjudication.

                 7.7   Disputed Claims Reserve. From and after the Effective Date, in
 accordance with the GUC/Litigation Trust Agreement, the GUC/Litigation Trust Trustee shall
 hold and maintain the GUC Disputed Claims Reserve for the benefit of the Holders of such
 Disputed General Unsecured Claims, including any amounts that would otherwise have been
 received by each such holder from the GUC/Litigation Trust had such Disputed Claim been an
 Allowed Claim on the Effective Date, determined based on (i) the asserted amount of such
 Disputed Claim, (ii) such other amount as may be agreed upon by the Holder of such Disputed
 Claim and the GUC/Litigation Trust Trustee or (iii) except with respect to any Disputed General
 Unsecured Claims asserted by Vivint Solar, Inc., such other amount as may be deemed
 appropriate by the GUC/Litigation Trust Trustee in accordance with the terms of the
 GUC/Litigation Trust Agreement (in each case, net of any taxes imposed on, or with respect to,
 the GUC Disputed Claims Reserve as relates to such Claim, including in connection with such
 distributions).

                 7.8      Claims Objections and Transition Services. The Debtors or the
 Reorganized Debtors, as the case may be, will cooperate with the Creditors’ Committee and its
 Professionals in relation to the GUC/Litigation Trust’s prosecution of Avoidance Actions and
 Claims objections, on the terms set forth on Annex 1 to the Committee/BOKF Plan Settlement
 Term Sheet. To that end, and consistent with Annex 1 to the Committee/BOKF Plan Settlement
 Term Sheet, on the Effective Date, the GUC/Litigation Trust and Reorganized SUNE will enter
 into an agreement (the “Transition Services Agreement”) pursuant to which Reorganized SUNE
 will provide services, which may include personnel, systems, and access to books and records, to
 the GUC/Litigation Trust in connection with the administration of the GUC/Litigation Trust
 Assets, including claims administration and the prosecution of the GUC/Litigation Trust Causes
 of Action. The Transition Services Agreement shall include customary indemnification and
 limitations of liability to Reorganized SUNE and its representatives that provide services to the
 GUC/Litigation Trust; provided, however, that the indemnification shall exclude any liability of
 the GUC/Litigation Trust for any claims relating to the gross negligence or willful misconduct of
 Reorganized SUNE. A copy of the Transition Services Agreement will be filed with the Plan
 Supplement.



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                 7.9     Indemnification and Exculpation. The GUC/Litigation Trust Trustee or
 the individuals comprising the GUC/Litigation Trust Trustee, as the case may be, and the
 GUC/Litigation Trust Trustee’s agents and professionals, shall not be liable for actions taken or
 omitted in its capacity as, or on behalf of, the GUC/Litigation Trust Trustee, except those acts
 arising out of its or their own willful misconduct or gross negligence, and each shall be entitled
 to indemnification and reimbursement for fees and expenses in defending any and all of its
 actions or inactions in its capacity as, or on behalf of, the GUC/Litigation Trust Trustee, except
 for any actions or inactions involving willful misconduct or gross negligence. Any
 indemnification or reimbursement claim of the GUC/Litigation Trust Trustee (and the other
 parties entitled to indemnification or reimbursement under this subsection) shall be satisfied first
 from the GUC/Litigation Trust Initial Funding and, then, to the extent the GUC/Litigation Trust
 Initial Funding is exhausted, from other GUC/Litigation Trust Assets. The GUC/Litigation Trust
 Trustee shall be entitled to rely, in good faith, on the advice of its retained professionals.

                7.10 Preservation of Privilege and Defenses. No action taken by the Debtors
 or Reorganized Debtors in connection with this Plan, shall be (or be deemed to be) a waiver of
 any privilege or immunity of the Debtors or Reorganized Debtors, as applicable, including any
 attorney-client privilege or work-product privilege attaching to any documents or
 communications (whether written or oral). The Confirmation Order shall provide that
 notwithstanding the Reorganized Debtors’ providing any privileged information (if any) to the
 GUC/Litigation Trust Trustee, the GUC/Litigation Trust, or any party or person associated with
 the GUC/Litigation Trust, such privileged information shall be without waiver in recognition of
 the joint and/or successorship interest in prosecuting any Claim or Cause of Action on behalf of
 the Estates and shall remain privileged. The Confirmation Order shall provide that the
 GUC/Litigation Trust shall have no right to waive the attorney-client privilege, work product or
 other protection of any information received from the Reorganized Debtors. The Debtors (or the
 Reorganized Debtors) retain the right to waive their own privileges. The GUC/Litigation Trust
 shall have no right to any privileged information or analysis of the Debtors or the Reorganized
 Debtors.

                7.11 No Bonding of GUC/Litigation Trust Claims.                 There shall be no
 bonding of the GUC/Litigation Trust Trustee.

                 7.12 Service of the Indenture Trustees. The applicable Indenture Trustees
 and their respective agents, successors and assigns, and the GUC/Litigation Trust Trustee shall
 facilitate the making of the Plan Distributions to the Holders of the Second Lien Senior Notes
 Claims and the Convertible Senior Notes Claims, to the extent applicable, in accordance with the
 Plan. The GUC/Litigation Trust Trustee shall be obligated to calculate the distributions to be
 made on account of Class B GUC/Litigation Trust Interests and the distributions to be made to
 Holders of Allowed Convertible Senior Notes Claims, as applicable, and shall provide such
 distribution calculations and related information to the applicable Indenture Trustees at least five
 (5) business days in advance of the GUC/Litigation Trust Trustee making distributions on
 account of Class B GUC/Litigation Trust Interests or Convertible Senior Notes Claims, as
 applicable. The applicable Indenture Trustees shall only be required to act and make
 distributions in accordance with the Plan, shall not be required to independently verify or review
 the calculations prepared by the GUC/Litigation Trust Trustee with respect to distributions to be
 made on account of Class B GUC/Litigation Trust Interests or made to Holders of Convertible

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 Senior Notes Claims, as applicable, and shall have no liability for actions taken in accordance
 with the Plan or in reliance upon distribution information and distribution calculations provided
 by the GUC/Litigation Trust Trustee, except solely for actions or omissions arising out of such
 Indenture Trustee’s intentional fraud, willful misconduct, gross negligence or criminal conduct.
 Further, the Indenture Trustees shall have no obligation or liability for distributions under the
 Plan to any party who does not (i) hold a Claim against the Debtors as of the Distribution Record
 Date or (ii) otherwise comply with the terms of the Plan, except solely for actions or omissions
 arising out of such Indenture Trustee’s intentional fraud, willful misconduct, gross negligence or
 criminal conduct.

                 7.13 Delivery of Distributions on Account of Second Lien Senior Notes
 Claims and Convertible Senior Notes Claims. Upon the occurrence of the Effective Date, the
 Claims of the Second Lien Senior Notes Indenture Trustee and the Convertible Senior Notes
 Indenture Trustee for the Second Lien Senior Notes Claims and the Convertible Senior Notes
 Claims, as applicable, shall be, for purposes under the Plan, including without limitation, the
 right to receive Plan distributions, substituted for all Claims of individual Holders of Allowed
 Second Lien Senior Notes Claims and Convertible Senior Notes Claims, as applicable; provided,
 however, that non-Cash consideration shall not be distributed in the name of the Second Lien
 Senior Notes Indenture Trustee or the Convertible Senior Notes Indenture Trustee. The Second
 Lien Senior Notes Indenture Trustee and the Convertible Senior Notes Indenture Trustee shall
 hold or direct such distributions for the benefit of the Holders of Allowed Second Lien Senior
 Notes Claims and Convertible Senior Notes Claims, as applicable, in accordance with the Plan
 and the applicable Indenture. As soon as practicable in accordance with the requirements set
 forth in this Article VII, the Second Lien Senior Notes Indenture Trustee and the Convertible
 Senior Notes Indenture Trustee, as applicable, shall arrange to deliver such distributions to or on
 behalf of such Holders, subject to the charging liens of the Second Lien Senior Notes Indenture
 Trustee and the Convertible Senior Notes Indenture Trustee, as applicable. If the Second Lien
 Senior Notes Indenture Trustee or the Convertible Senior Notes Indenture Trustee is unable to
 make, or consents to the GUC/Litigation Trust Trustee making, such distributions, the
 GUC/Litigation Trust Trustee, with the cooperation of the Second Lien Senior Notes Indenture
 Trustee and the Convertible Senior Notes Indenture Trustee, as applicable, shall make such
 distributions to the extent practicable to do so, including by means of book-entry exchange
 through the facilities of DTC in accordance with DTC’s customary practices (provided that until
 such distributions are made, the charging lien of the Second Lien Senior Notes Indenture Trustee
 and the Convertible Senior Notes Indenture Trustee, as applicable, shall attach to the property to
 be distributed in the same manner as if such distributions were made through the Second Lien
 Senior Notes Indenture Trustee or the Convertible Senior Notes Indenture Trustee, as
 applicable). For the avoidance of doubt, the Second Lien Senior Notes Indenture Trustee shall
 have no duty to make any distributions that are not DTC eligible.

                7.14 Tax Determination. The GUC/Litigation Trustee may request an
 expedited determination of Taxes of the GUC/Litigation Trust (including with respect to the
 GUC Disputed Claims Reserve) under section 505(b) of the Bankruptcy Code for all Tax
 Returns filed for, or on behalf of, the GUC/Litigation Trust (or the GUC Disputed Claims
 Reserve) for all taxable periods through the dissolution of the GUC/Litigation Trust.



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                                          ARTICLE VIII

                  UNEXPIRED LEASES AND EXECUTORY CONTRACTS

                8.1     Rejection of Executory Contracts and Unexpired Leases.

                        (a)    Automatic Rejection. Except as otherwise provided herein, each
 Executory Contract and Unexpired Lease shall be deemed automatically rejected pursuant to
 sections 365 and 1123 of the Bankruptcy Code as of the Effective Date, unless any such
 Executory Contract or Unexpired Lease: (a) is listed on the schedule of “Assumed Executory
 Contracts and Unexpired Leases” contained in Exhibit 8.1 of the Plan; (b) has been previously
 assumed by the Debtors by Final Order of the Bankruptcy Court or has been assumed by the
 Debtors by order of the Bankruptcy Court as of the Effective Date, which order becomes a Final
 Order after the Effective Date; (c) is the subject of a motion to assume or reject pending as of the
 Effective Date; (d) is an Executory Contract related to any Intercompany Claim; or (e) is
 otherwise assumed pursuant to the terms herein.

         The Confirmation Order will constitute an order of the Bankruptcy Court approving such
 rejections pursuant to sections 365 and 1123 of the Bankruptcy Code as of the Effective
 Date. Counterparties to Executory Contracts or Unexpired Leases that are deemed rejected as of
 the Effective Date shall have the right to assert any Claim on account of the rejection of such
 Executory Contracts or Unexpired Leases, including under section 502(g) of the Bankruptcy
 Code, subject to compliance with the requirements herein.

                         (b)    Preexisting Obligations to the Debtors Under Executory
 Contracts and Unexpired Leases. To the extent not inconsistent with the YieldCo Settlement
 Agreements, rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or
 otherwise shall not constitute a termination of pre-existing obligations owed to the Debtors under
 such contracts or leases. In particular, notwithstanding any non-bankruptcy law to the contrary
 and to the extent consistent with the YieldCo Settlement Agreements, the Reorganized Debtors
 expressly reserve and do not waive any right to receive, or any continuing obligation of a
 counterparty to provide, warranties or continued maintenance obligations on goods previously
 purchased by the contracting Debtors or the Reorganized Debtors, as applicable, from
 counterparties to rejected or repudiated Executory Contracts.

                         (c)     Claims Procedures Related to Rejection of Executory
 Contracts or Unexpired Leases. Unless otherwise provided by a Bankruptcy Court order, any
 proofs of Claim asserting Claims arising from the rejection of the Executory Contracts and
 Unexpired Leases pursuant to the Plan or otherwise must be filed with the Claims and
 Solicitation Agent no later than 30 days after the later of the Effective Date or the effective date
 of rejection. Any proofs of Claim arising from the rejection of the Executory Contracts or
 Unexpired Leases that are not timely filed shall be disallowed automatically and forever barred,
 estopped, and enjoined from assertion and shall not be enforceable against the Debtors or the
 Reorganized Debtors, without the need for any objection by the Reorganized Debtors or any
 further notice to or action, order, or approval of the Bankruptcy Court, and any Claim arising out
 of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully satisfied,
 released, and discharged, notwithstanding anything in the Schedules or a proof of Claim to the

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 contrary. All Allowed Claims arising from the rejection of the Executory Contracts and
 Unexpired Leases shall be classified as General Unsecured Claims.

                          (d)    Reservation of Rights. Notwithstanding anything to the contrary
 herein, all rights of the Debtors, the Reorganized Debtors, and any counterparty to any Executory
 Contract or Unexpired Lease are reserved in the event that the Debtors (or the Reorganized
 Debtors), with the consent of the Supporting Second Lien Parties, amend their decision with
 respect to the rejection of any Executory Contract or Unexpired Lease.

                8.2    Assumption of Executory Contracts and Unexpired Leases. Upon the
 occurrence of the Effective Date, each Executory Contract or Unexpired Lease (other than
 Executory Contracts or Unexpired Leases that (a) have been previously rejected by the Debtors
 by Final Order of the Bankruptcy Court or have been rejected by the Debtors by order of the
 Bankruptcy Court as of the Effective Date, which order becomes a Final Order after the Effective
 Date or (b) are the subject of a motion to reject pending as of the Effective Date) listed on the
 schedule of “Assumed Executory Contracts and Unexpired Leases” in Exhibit 8.1 of the Plan
 shall be assumed, or assumed and assigned, as applicable, and shall vest in and be fully
 enforceable by the Reorganized Debtors or their assignee in accordance with its terms, except as
 modified by the provisions of this Plan or any order of the Bankruptcy Court authorizing or
 providing for its assumption or applicable federal law. With respect to each such Executory
 Contract and Unexpired Lease, the Debtors, with the reasonable consent of the Supporting
 Second Lien Parties, shall have designated a proposed Cure, and the assumption of such
 Executory Contracts and Unexpired Leases may be conditioned upon the disposition of all issues
 with respect to such Cure. The Confirmation Order shall constitute an order of the Bankruptcy
 Court approving any such assumptions pursuant to sections 365(a) and 1123 of the Bankruptcy
 Code.

                        (a)     Modifications, Amendments, Supplements, Restatements, or
 Other Agreements. Unless otherwise provided in the Plan, each Executory Contract or
 Unexpired Lease that is assumed shall include all modifications, amendments, supplements,
 restatements, or other agreements that in any manner affect such Executory Contract or
 Unexpired Lease, and all rights related thereto, if any, including all easements, licenses, permits,
 rights, privileges, immunities, options, rights of first refusal, and any other interests, unless any
 of the foregoing agreements has been previously rejected or repudiated or is rejected or
 repudiated pursuant hereunder.

        Modifications, amendments, supplements, and restatements to prepetition Executory
 Contracts and Unexpired Leases that have been executed by the Debtors during the Chapter 11
 Cases shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired
 Lease, or the validity, priority, or amount of any Claims that may arise in connection therewith.

                       (b)    Proofs of Claim Based on Executory Contracts or Unexpired
 Leases that Have Been Assumed. Any and all proofs of Claims based upon Executory
 Contracts or Unexpired Leases that have been assumed in the Chapter 11 Cases, including
 hereunder, except proofs of Claims asserting Cure amounts, pursuant to the order approving such
 assumption, including the Confirmation Order, shall be deemed disallowed and expunged from


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 the claims register as of the Effective Date without any further notice to or action, order, or
 approval of the Bankruptcy Court.

                 8.3      Indemnification Obligations. From and after the Effective Date, but
 subject to the rest of this Article 8.3, the Reorganized Debtors will indemnify each Indemnitee to
 the same extent of any Indemnification Obligation in effect immediately prior to the Effective
 Date. The Reorganized Debtors’ Indemnification Obligations shall remain in full force and
 effect, shall not be modified, reduced, discharged under section 1141 of the Bankruptcy Code,
 impaired, or otherwise affected in any way, irrespective of whether indemnification or
 reimbursement is owed in connection with any event occurring before, or after the Petition Date;
 provided, however, that the Reorganized Debtors shall have no Indemnification Obligations to an
 Indemnitee for any losses, liabilities, or expenses arising out of conduct determined by a Final
 Order to have constituted fraud, gross negligence, bad faith, or willful misconduct. Except as
 expressly set forth in the proviso and, notwithstanding anything contained in any Assumed
 Executory Contracts and Unexpired Leases to the contrary, (i) the Reorganized Debtors’ will
 have no indemnification liability under this Article 8.3 arising out of any losses, liabilities, or
 expenses relating to events that occurred prior to the Petition Date giving rise to Indemnification
 Obligations (“Prepetition Indemnification Obligations”), and (ii) any claims against the Debtors
 for any indemnification liability owed to any Indemnitee arising out of any losses, liabilities, or
 expenses relating to events that occurred prior to the Petition Date giving rise to Indemnification
 Obligations shall be treated as General Unsecured Claims; provided, however, that the
 Reorganized Debtors shall pay any Prepetition Indemnification Obligations of the Existing
 Directors at an amount to be set forth in the Plan Supplement (in an amount not less than
 $350,000 nor more than $1.3 million) (the “Plan Supplement Amount”), to be agreed to prior to
 the Effective Date by the Debtors and the Supporting Second Lien Parties acting reasonably and
 in good faith, for all Existing Directors and shall be for fees, costs or expenses (but not
 judgments, losses, liabilities, or settlements payable to third parties) not covered by D&O
 Insurance or the EPL Policy (including, without limitation, because either (x) they are not
 covered by such policies or (y) such policies have been exhausted) for all such Prepetition
 Indemnification Obligations. The manner and terms of the Plan Supplement Amount shall be set
 forth in the Plan Supplement, it being agreed and acknowledged that the Plan Supplement
 Amount shall be payable by the Reorganized Debtors from time to time within five business
 days’ notice provided by counsel to the Existing Directors, except to the extent that the
 Reorganized Debtors after making such payment would not have sufficient liquidity to fund
 ordinary course business operations for at least 90 days thereafter. The treatment of
 Indemnification Obligations in this Article 8.3 shall be in complete satisfaction, discharge, and
 release of any Claim on account of such Indemnification Obligation of the Debtors. In
 accordance with the foregoing, the Debtors and the Reorganized Debtors shall cooperate with
 Indemnitees in relation to Indemnification Obligations, including, but not limited to, responding
 to reasonable requests for information and providing access to attorneys, financial advisors,
 accountants and other professionals with knowledge of matters relevant to any such claim
 covered by an Indemnification Obligation. For the avoidance of doubt, and notwithstanding
 anything to the contrary in this Plan, or any prior order of the Bankruptcy Court regarding the
 retention of such professional, or otherwise, in no event will (a) the Debtors have any obligation
 to indemnify Debtor Professionals or any professional, consultant, representative, counsel or
 other advisor who served for the Debtors in such capacity at any time prior to the Effective Date
 for prepetition conduct (or Causes of Action stemming from prepetition conduct), although any
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 such indemnification obligation may give rise to a General Unsecured Claim, and (b) the
 Reorganized Debtors have any obligation to indemnify Debtor Professionals or any professional,
 consultant, representative, counsel or other advisor who served for the Debtors in such capacity
 at any time prior to the Effective Date for prepetition conduct (or Causes of Action stemming
 from such prepetition conduct).

                8.4     Insurance Policies.

                         (a)      Notwithstanding anything to the contrary in the Disclosure
 Statement, the Disclosure Statement Order, the Plan, the Plan Transaction Documents, the Plan
 Supplement, the Confirmation Order, any prepetition or administrative claim bar date order (or
 notice) or claim objection order, including, without limitation, the Bar Date Orders and the
 Administrative Claims Bar Date, any other document related to any of the foregoing, or any
 other order of the Bankruptcy Court (including, without limitation, any other provision that
 confers jurisdiction or purports to be preemptory or supervening or grants an injunction or
 release, including, but not limited to, the injunctions set forth in Article 11.9 of the Plan): (i) on
 the Effective Date, the Reorganized Debtors shall reject all insurance policies except for the
 D&O Insurance, the EPL Policy, and those specific insurance policies (and all agreements
 related thereto) that are set forth in the Plan Supplement, which shall be assumed in their entirety
 pursuant to sections 105 and 365 of the Bankruptcy Code as such insurance policies and such
 agreements related thereto may be amended or modified (such assumed insurance policies and
 related agreements, collectively, the “Insurance Contracts”); (ii) nothing alters, modifies or
 otherwise amends the terms and conditions of (or the coverage provided by) any of the Insurance
 Contracts (including any and all letters of credit and other collateral and security provided in
 relation thereto) and all debts, obligations, and liabilities of the Debtors (and, after the Effective
 Date, of the Reorganized Debtors) thereunder, whether arising before or after the Effective Date,
 shall survive and shall not be amended, modified, waived, released, discharged or impaired in
 any respect; (iii) nothing shall alter, modify, amend, affect, impair or prejudice the legal,
 equitable or contractual rights, obligations, and defenses of the insurers, the Debtors (or, after the
 Effective Date, the Reorganized Debtors), or any other individual or entity, as applicable, under
 any Insurance Contracts (including, but not limited to, (A) any agreement to arbitrate disputes,
 (B) any provisions regarding the provision, maintenance, use, nature and priority of
 collateral/security, and (C) any provisions regarding the payment of amounts within any
 deductible by the insurers and the obligation of the Debtors (or, after the Effective Date, the
 Reorganized Debtors) to pay or reimburse the applicable insurer therefor and any such rights and
 obligations shall be determined under the Insurance Contracts and applicable non-bankruptcy
 law as if the Chapter 11 Cases had not occurred; (iv) nothing alters or modifies the duty, if any,
 that the insurers and/or third party administrators have to pay claims covered by the Insurance
 Contracts and their right to seek payment or reimbursement from the Debtors (or after the
 Effective Date, the Reorganized Debtors) or draw on any collateral or security therefor in
 accordance with the terms of the Insurance Contracts; and (v) the automatic stay of Bankruptcy
 Code section 362(a) and the injunctions set forth in Article 11.9 of the Plan, if and to the extent
 applicable, shall be deemed lifted without further order of the Bankruptcy Court, solely to
 permit: (A) claimants with valid claims covered by any of the Insurance Contracts, including,
 but not limited to, valid workers’ compensations claims or direct action claims against an insurer
 under applicable non-bankruptcy law (the “Insured Claims”) to proceed with their claims, in
 each case against the applicable insurer, or, to the extent required by applicable law, nominally

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 against any of the Debtors (or after the Effective Date, the Reorganized Debtors); (B) insurers
 and/or third party administrators to administer, handle, defend, settle, and/or pay, in the ordinary
 course of business and subject to the terms of the Insurance Contracts, without further order of
 the Bankruptcy Court, (I) all Insured Claims, and (II) all costs in relation to each of the
 foregoing; (C) insurers to draw against any or all of the collateral or security provided by or on
 behalf of the Debtors (or the Reorganized Debtors, as applicable) at any time and to hold the
 proceeds thereof as security for the obligations of the Debtors (and the Reorganized Debtors, as
 applicable) and/or apply such proceeds to the obligations of the Debtors (and the Reorganized
 Debtors, as applicable) under the applicable Insurance Contracts, in such order as the applicable
 insurer may determine; and (D) the insurers and/or third party administrators to (I) cancel any
 policies under the Insurance Contracts, and (II) take other actions relating thereto, in each case to
 the extent permissible under applicable non-bankruptcy law, each in accordance with the terms
 of the Insurance Contracts. For the avoidance of doubt, the Debtors or Reorganized Debtors, as
 applicable, shall retain the right, if any, to challenge any amounts owed under the Insurance
 Contracts in accordance with their terms; provided, however, that nothing in this Article 8.4(a) or
 any other provision of the Plan shall permit a challenge by the Debtors, Reorganized Debtors, or
 any other Person to rights of TERP, GLBL and their directors and officers to access coverage
 under the Insurance Contracts pursuant to the SunEdison/YieldCos Settlement Agreement unless
 and until such time as the Bankruptcy Court denies a motion to approve such agreement.

                         (b)     The Debtors or the Reorganized Debtors, as the case may be, shall
 maintain D&O Insurance and the EPL Policy providing coverage for those insureds currently
 covered by such policies for the remaining term of such policies and shall maintain runoff
 policies or tail coverage under policies in effect as of the Effective Date for a period of six years
 after the Effective Date, to the fullest extent permitted by such provisions, in each case insuring
 such parties in respect of any claims, demands, suits, Causes of Action, or proceedings against
 such insureds in at least the scope and amount as currently maintained by the Debtors; provided,
 however, that nothing in the Plan or the Confirmation Order alters the terms and conditions of
 the D&O Insurance.

                         (c)     Notwithstanding anything to the contrary contained herein, but
 subject to the terms and conditions of the D&O Insurance, which policies shall be assumed
 pursuant to this Plan, the Existing Directors shall be deemed to be the independent directors of
 the Reorganized Debtors solely with respect to the D&O Insurance, including, but not limited to,
 with respect to the rights referred to in Endorsement 12 of ACE American Insurance Company’s
 ACE Advantage Management Protection Policy Number DON G23652389009 (the “ACE
 Policy”) and any other provision in the D&O Insurance that permits independent directors to
 direct an insurer to delay any payment of Loss (as defined in the ACE Policy) otherwise due and
 owing to or on behalf of the Company (as defined in the ACE Policy); provided, however, that
 with respect to the D&O Insurance, the Existing Directors shall continue to be bound by the
 terms and conditions set forth in the SunEdison/YieldCos Settlement Agreement, unless and
 until such time as the Bankruptcy Court denies a motion to approve such agreement.
 Notwithstanding anything to the contrary herein or contained in any organizational or
 governance document of the Reorganized Debtors, the New Board shall have no rights to
 terminate, reduce or otherwise impair the D&O Insurance or the EPL Policy and any of the rights
 of the Existing Directors thereunder that existed immediately before the Effective Date,
 including, but not limited to, by retracting any notice sent pursuant to Endorsement 12 of the

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 ACE Policy or any similar provision of any other D&O Insurance policy, and any such attempt
 by the New Board to do so shall be deemed void ab initio.

                  8.5    Cure Procedures and Payments Related to Assumption of Executory
 Contracts and Unexpired Leases. With respect to each of the Executory Contracts or
 Unexpired Leases listed on the schedule of “Assumed Executory Contracts and Unexpired
 Leases,” the Debtors, with the reasonable consent of the Supporting Second Lien Parties, shall
 have designated a proposed Cure, and the assumption of such Executory Contract or Unexpired
 Lease shall be conditioned upon the disposition of all issues with respect to Cure. Such Cure
 shall be satisfied by the Debtors or their assignee, if any, by payment of the Cure in Cash within
 30 days following the occurrence of the Effective Date or as soon as reasonably practicable
 thereafter, or on such other terms as may be ordered by the Bankruptcy Court or agreed upon by
 the parties, with the reasonable consent of the Supporting Second Lien Parties, to the applicable
 Executory Contract or Unexpired Lease without any further notice to or action, order, or
 approval of the Bankruptcy Court. Any provisions or terms of the Executory Contracts or
 Unexpired Leases to be assumed pursuant to the Plan that are, or may be, alleged to be in default,
 shall be satisfied solely by Cure, or by an agreed-upon waiver of Cure. The Debtors shall serve a
 counterparty to an Executory Contract or Unexpired Lease to be assumed hereunder with
 evidence of adequate assurance upon such counterparty’s written request to the Debtors’ counsel.

         If there is a dispute regarding such Cure, the ability of the Reorganized Debtors or any
 assignee to provide “adequate assurance of future performance” within the meaning of section
 365 of the Bankruptcy Code, or any other matter pertaining to assumption, then payment of Cure
 shall occur as soon as reasonably practicable after entry of a Final Order resolving such dispute,
 approving such assumption (and, if applicable, assignment), or as may be agreed upon by the
 Debtors, with the reasonable consent of the Supporting Second Lien Parties, or the Reorganized
 Debtors, as applicable, and the counterparty to the Executory Contract or Unexpired Lease. The
 Debtors, with the reasonable consent of the Supporting Second Lien Parties, or the Reorganized
 Debtors, as applicable, reserve the right either to reject or nullify the assumption of any
 Executory Contract or Unexpired Lease after a Final Order determining the Cure or any request
 for adequate assurance of future performance required to assume such Executory Contract or
 Unexpired Lease is made.

         Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
 otherwise shall result in the full release and satisfaction of any Cures, Claims or defaults,
 whether monetary or nonmonetary, including defaults of provisions restricting the change in
 control or ownership interest composition or other bankruptcy-related defaults, arising under any
 assumed Executory Contract or Unexpired Lease at any time prior to the effective date of
 assumption.

                         (a)    Cure Notices. No later than seven (7) days prior to the
 Confirmation Hearing, and pursuant to the Assumption and Rejection Procedures, the Debtors
 shall serve upon counterparties to such Executory Contracts and Unexpired Leases a notice of
 the proposed assumption that will (i) list the applicable Cure, if any, (ii) describe the procedures
 for filing objections to the proposed assumption or assumption and assignment of the applicable
 Executory Contract or Unexpired Lease, (iii) describe the procedures for filing objections to the
 proposed Cure of the applicable Executory Contract or Unexpired Lease, and (iv) explain the

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 process by which related disputes will be resolved by the Bankruptcy Court. If no objection is
 timely received, the non-Debtor party to the Assumed Contract shall be deemed to have
 consented to the assumption of the applicable Executory Contract or Unexpired Lease.

                         (b)     Cure Objections. If a proper and timely objection to the Cure
 Notice or proposed Cure was filed by the Cure Objection Deadline, the Cure shall be equal to
 (i) the amount agreed to between the Debtors (with the reasonable consent of the Supporting
 Second Lien Parties) or Reorganized Debtors and the applicable counterparty, or, (ii) to the
 extent the Debtors or Reorganized Debtors and counterparty do not reach an agreement
 regarding any Cure or any other matter related to assumption, the Bankruptcy Court shall
 determine the Allowed amount of such Cure and any related issues. Objections, if any, to the
 proposed assumption and/or Cure must be in writing, filed with the Bankruptcy Court and served
 so that they are actually received by the Cure Objection Deadline.

                        (c)     Hearing with Respect to Objections. If an objection to the
 proposed assumption and/or to the Cure is timely filed and received in accordance with the
 procedures set forth in Article 8.5(b), and the parties do not reach a consensual resolution of such
 objection, a hearing with respect to such objection shall be held at such time scheduled by the
 Bankruptcy Court or the Debtors or Reorganized Debtors. Objections to the proposed Cure
 Amount or assumption of an Executory Contract or Unexpired Lease will not be treated as
 objections to Confirmation of the Plan.

                          (d)    Reservation of Rights. Notwithstanding anything to the contrary
 herein, prior to the Effective Date, the Debtors, with the reasonable consent of the Supporting
 Second Lien Parties, may amend their decision with respect to the assumption of any Executory
 Contract or Unexpired Lease and provide a new notice amending the information provided in the
 applicable notice, subject to the Assumption and Rejection Procedures, and shall serve such
 notice on the applicable counterparty; provided, that notwithstanding anything to the contrary
 herein, all rights of the Debtors, the Reorganized Debtors, and any counterparty to any Executory
 Contract or Unexpired Lease are reserved with respect to any such amended decision or notice.
 In the case of an Executory Contract or Unexpired Lease designated for assumption that is the
 subject of a Cure Objection which has not been resolved prior to the Effective Date, the Debtors,
 with the reasonable consent of the Supporting Second Lien Parties, may designate such
 Executory Contract or Unexpired Lease for rejection at any time prior to the payment of the
 Cure.

               8.6    Contracts, Intercompany Contracts, and Leases Entered into After
 the Petition Date. Contracts and leases entered into after the Petition Date by the Debtors, and
 any Executory Contracts and Unexpired Leases assumed by the Debtors, may be performed by
 the Reorganized Debtors in the ordinary course of business and in accordance with the terms of
 such Executory Contract or Unexpired Lease.

                 8.7     General Reservation of Rights. Neither the exclusion nor inclusion of
 any contract or lease on Exhibit 8.1 of the Plan, in the Plan Supplement, nor anything contained
 in the Plan, shall constitute an admission by the Debtors that any such contract or lease is in fact
 an Executory Contract or Unexpired Lease or that the Reorganized Debtors, or any of its
 Affiliates, has any liability thereunder. If there is a dispute regarding whether a contract or lease

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 is or was executory or unexpired at the time of assumption, the Debtors (with the reasonable
 consent of the Supporting Second Lien Parties) or the Reorganized Debtors, as applicable, shall
 have 45 days following entry of a Final Order resolving such dispute to alter its treatment of such
 contract or lease.

                8.8     Surety Bonds.

                         (a)    Notwithstanding anything in the Plan Transaction Documents to
 the contrary, nothing in the Plan Transaction Documents shall discharge, release, impair or
 otherwise diminish any Surety’s valid rights to (1) subrogation under the applicable surety bond
 or indenture agreement or under applicable law or (2) setoff or recoupment to the extent
 permitted under applicable law. To the extent that a Surety pays, has paid or otherwise
 discharges a bonded obligation, in part or in full, a Claim against any of the Debtors which also
 relates to the applicable surety bond or indenture agreement, such Claim shall not be reduced by
 any amount paid by such Surety and such Surety’s subrogation rights shall remain. Any party to
 whose rights a Surety may or has become subrogated, shall also retain their set-off and
 recoupment rights to the extent permitted under applicable law and any such party’s Claim shall
 not be reduced by the amount of any corresponding loss of the Surety.

                         (b)    Nothing in the Plan Transaction Documents shall impair a Surety’s
 rights with respect to any and all letters of credit, proceeds drawn or to be drawn from letters of
 credit, other collateral of a Surety as security for bonded obligations under an existing or new
 Surety Bond, or any security or trust interest of any Surety or any party whose rights a Surety
 may become subrogated.

                        (c)    Notwithstanding anything in the Plan Transaction Documents to
 the contrary, including Section 11.14 of the Plan, to the extent the Bankruptcy Court disallows a
 Claim for reimbursement or contribution, all rights of a Surety under section 502(j) of the
 Bankruptcy Code are preserved.

                        (d)      Notwithstanding any provision of the Plan Transaction Documents
 to the contrary, any and all rights delineated for XL contained in that certain Notice of Rejection,
 filed with the Bankruptcy Court on October 21, 2016 (Docket No. 1457), shall not be abrogated
 in any manner by the Plan Transaction Documents.

                                           ARTICLE IX

        PROCEDURES FOR RESOLVING DISPUTED CLAIMS AND INTERESTS

                9.1    Determination Of Claims and Interests. After the Effective Date, the
 Reorganized Debtors shall have and retain any and all rights and defenses the Debtors had with
 respect to any Claim or Interest immediately prior to the Effective Date, including the Causes of
 Action retained pursuant to Article 6.20, except with respect to any Claim or Interest deemed
 Allowed under the Plan or pursuant to an order of the Bankruptcy Court.

         Except as expressly provided in the Plan or in any order entered in the Chapter 11 Cases
 prior to the Effective Date (including the Confirmation Order), no Claim or Interest shall become
 an Allowed Claim or Interest unless and until such Claim or Interest is deemed Allowed or the
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 Bankruptcy Court has entered a Final Order, including the Confirmation Order, in the Chapter 11
 Cases allowing such Claim or Interest. All settled claims approved prior to the Effective Date
 pursuant to a Final Order of the Bankruptcy Court, pursuant to Bankruptcy Rule 9019 or
 otherwise shall be binding on all parties. For the avoidance of doubt, any Claim determined and
 liquidated pursuant to (a) an order of the Bankruptcy Court or (b) applicable non-bankruptcy law
 (which determination has not been stayed, reversed, or amended and as to which determination
 or any revision, modification, or amendment thereof) the time to appeal or seek review or
 rehearing has expired and as to which no appeal or petition for review or rehearing was filed or,
 if filed, remains pending) shall be deemed an Allowed Claim in such liquidated amount and
 satisfied in accordance with this Plan.

         Nothing contained in this Article 9.1 shall constitute or be deemed a waiver of any claim,
 right, or Cause of Action that the Debtors or the Reorganized Debtors may have against any
 Entity in connection with or arising out of any Claim, including, without limitation, any rights
 under section 157(b) of title 28 of the United States Code.

                9.2     Claims Administration Responsibility. Except as otherwise specifically
 provided for in the Plan or the Committee/BOKF Plan Settlement Term Sheet, including with
 respect to the administration of and making distributions with respect to General Unsecured
 Claims in accordance with Article VII, after the Effective Date, the Reorganized Debtors shall
 retain responsibility for (a) administering, disputing, objecting to, compromising, or otherwise
 resolving all Claims against, and Interests in, the Debtors, including, without limitations, (i)
 filing, withdrawing, or litigating to judgment objections to Claims or Interests, (ii) settling or
 compromising any Disputed Claim without any further notice to or action, order, or approval by
 the Bankruptcy Court, and (iii) administering and adjusting the claims register to reflect any such
 settlements or compromises without any further notice to or action, order, or approval by the
 Bankruptcy Court, and (b) making distributions (if any) with respect to all Claims and Interests.

                 9.3    Objections to Claims. Unless otherwise extended by the Bankruptcy
 Court, any objections to Claims (other than Administrative Claims) shall be served and filed on
 or before the Claims Objection Deadline (or such later date as may be established by the
 Bankruptcy Court upon request of the Reorganized Debtors, or the GUC/Litigation Trust
 Trustee, as applicable, without further notice to parties-in-interest). Notwithstanding any
 authority to the contrary, an objection to a Claim shall be deemed properly served on the Holder
 of the Claim if the Debtors or the Reorganized Debtors effect service in any of the following
 manners: (a) in accordance with Federal Rule of Civil Procedure 4, as modified and made
 applicable by Bankruptcy Rule 7004, (b) to the extent counsel for a Holder of a Claim or Interest
 is unknown, by first class mail, postage prepaid, on the signatory on the proof of Claim or other
 representative identified on the proof of Claim or any attachment thereto (or at the last known
 addresses of such Holders of Claims if no proof of Claim is filed or if the Debtors have been
 notified in writing of a change of address), or (c) by first class mail, postage prepaid, on any
 counsel that has appeared on behalf of the Holder of the Claim in the Chapter 11 Cases and has
 not withdrawn such appearance.

                9.4    Disallowance of Claims. Nothing herein shall in any way alter, impair, or
 abridge the legal effect of the Bar Date Order, or the rights of the Debtors, the Reorganized
 Debtors, the Creditors’ Committee before the Effective Date, the GUC/Litigation Trust Trustee

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 after the Effective Date, or other parties-in-interest to object to Claims on the grounds that they
 are time barred or otherwise subject to disallowance or modification.

 All Claims of any Entity from which property is sought by the Debtors under section 542, 543,
 550, or 553 of the Bankruptcy Code or that the Debtors or the Reorganized Debtors allege is a
 transferee of a transfer that is avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549, or
 724(a) of the Bankruptcy Code shall be disallowed if (a) the Entity, on the one hand, and the
 Debtors or the Reorganized Debtors, on the other hand, agree or the Bankruptcy Court has
 determined by Final Order that such Entity or transferee is liable to turn over any property or
 monies under any of the aforementioned sections of the Bankruptcy Code and (b) such Entity or
 transferee has failed to turn over such property by the date set forth in such agreement or Final
 Order.

                 9.5    Estimation of Claims. Before the Effective Date, the Debtors or the
 Reorganized Debtors, as applicable (but solely with the consent of the Supporting Second Lien
 Parties and the Creditor’s Committee, such consent not to be unreasonably withheld), and, after
 the Effective Date, the GUC/Litigation Trust Trustee, may (but is not required to) at any time
 request that the Bankruptcy Court estimate a Disputed Claim pursuant to section 502(c) of the
 Bankruptcy Code for any purpose permitted thereunder, regardless of whether any party
 previously has objected to such Claim or Interest, and the Bankruptcy Court shall retain
 jurisdiction to estimate any Disputed Claim, including during the litigation of any objection to
 any Disputed Claim or during the pendency of any appeal relating to such objection, but without
 prejudice to the Holder of such Claim’s right to (i) object to appropriateness of estimating such
 Claim (or the requested purpose of such estimation) under section 502(c) of the Bankruptcy
 Code or (ii) request that any such estimation should be for the purpose of determining the
 Allowed amount of such Claim. In the event that the Bankruptcy Court has entered a Final
 Order estimating any contingent or unliquidated Claim for the express purpose of determining
 what amount of such Claim shall be allowed for purposes of distributions pursuant to section
 502(c), that estimated amount shall, unless otherwise ordered by the Bankruptcy Court or agreed
 between the relevant parties, constitute a maximum limitation on the Allowed amount of such
 Claim for all purposes under the Plan (including for purposes of distributions), , and the
 Reorganized Debtors (or, in the case of General Unsecured Claims, the GUC/Litigation Trust
 Trustee) may, to the extent applicable, elect to pursue any supplemental proceedings to object to
 any ultimate distribution on such Claim. All of the objection, estimation, settlement, and
 resolution procedures set forth in the Plan are cumulative and not necessarily exclusive of one
 another. Disputed Claims may be estimated and subsequently compromised, settled, withdrawn,
 or resolved by any mechanism approved by the Bankruptcy Court.

                  9.6    No Interest on Disputed Claims. Unless otherwise specifically provided
 for in this Plan or as otherwise required by section 506(b) of the Bankruptcy Code, postpetition
 interest shall not accrue or be paid on Claims or Interests, and no Holder of a Claim or Interest
 shall be entitled to interest accruing on or after the Petition Date on any Claim or Interest.
 Additionally, and without limiting the foregoing, unless otherwise specifically provided for in
 this Plan or as otherwise required by section 506(b) of the Bankruptcy Code, interest shall not
 accrue or be paid on any Disputed Claim in respect of the period from the Effective Date to the
 date a final distribution is made, when and if such Disputed Claim becomes an Allowed Claim.


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                9.7     Amendments to Claims.

                         (a)     On or after the Effective Date, except as otherwise provided
 herein, a Claim may not be filed or amended without the authorization of the Bankruptcy Court
 or the Reorganized Debtors, and, to the extent such authorization is not received, any such new
 or amended Claim filed shall be deemed Disallowed in full and expunged without any further
 notice to or action, order, or approval of the Bankruptcy Court.

                       (b)     Notwithstanding anything to the contrary contained in this Plan,
 the SEC may amend any timely filed claim within 120 days following the Effective Date to the
 extent permitted under applicable law without the need to seek prior authorization of the
 Bankruptcy Court, the Debtors, or the Reorganized Debtors. After such date, the provisions of
 Article 9.7(a) shall apply to the SEC’s Claims. For the avoidance of doubt, nothing in the
 immediately preceding sentence shall waive, release, modify or abrogate the Debtors’ rights to
 object to the allowance of any Claim filed by the SEC or any amendment of any Claim filed by
 the SEC on any grounds under applicable law.

                                             ARTICLE X

                        PROVISIONS GOVERNING DISTRIBUTIONS

                 10.1 Distributions of GUC/Litigation Trust Interests to Holders of Second
 Lien Claims and General Unsecured Claims. The provisions of this Article X shall not apply
 to distributions from the GUC/Litigation Trust to Holders of Second Lien Claims and General
 Unsecured Claims. Distributions from the GUC/Litigation Trust to Holders of such Allowed
 Claims shall be administered in accordance with and subject to, as applicable, the terms of the
 GUC/Litigation Trust Agreement and Article IV and Article VII of this Plan.

                 10.2 Time of Distributions. Except as otherwise provided for herein or
 ordered by the Bankruptcy Court, distributions under this Plan shall be made on the later of
 (a) the Distribution Date or (b) on the first Periodic Distribution Date that is at least 30 days after
 a Claim becomes Allowed; provided, however, that the Reorganized Debtors may, in their sole
 discretion, make one-time distributions on a date that is not a Periodic Distribution Date.

                10.3 Distribution Agent. The Distribution Agent shall make all distributions
 required under this Plan except (a) as set forth in Article 10.5 below and (b) with respect to any
 Holder of a Claim whose Claim is governed by an agreement and is administered by a Servicer,
 which distributions shall be deposited with the appropriate Servicer, as applicable, who shall
 deliver such distributions to the Holders of Claims in accordance with the provisions of this Plan
 and the terms of any governing agreement.

                10.4 Currency. Except as otherwise provided in the Plan or Bankruptcy Court
 order, as of the Effective Date, any Claim asserted in currency other than U.S. dollars shall be
 automatically deemed converted to the equivalent U.S. dollar value using the exchange rate as of
 Effective Date at 4:00 p.m. prevailing Eastern Time, mid-range spot rate of exchange for the
 applicable currency as published in the next The Wall Street Journal, National Edition following
 the Effective Date.

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               10.5    Distributions on Account of Claims Allowed as of the Effective Date.

                         (a)    Delivery of Distributions in General. Except as otherwise
 provided in the Plan, a Final Order, or as otherwise agreed to by the relevant parties, the
 Distribution Agent shall make initial distributions under the Plan on account of Allowed Claims
 on the Initial Distribution Date, subject to the Reorganized Debtors’ rights to object to Claims
 that have not been Allowed; provided, however, that (i) Allowed Administrative Claims with
 respect to liabilities incurred by the Debtors in the ordinary course of business during the
 Chapter 11 Cases or assumed by the Debtors prior to the Effective Date shall be paid or
 performed in the ordinary course of business in accordance with the terms and conditions of any
 controlling agreements, course of dealing, course of business, or industry practice, and (ii)
 Allowed Priority Tax Claims shall be paid in full in Cash on the Distribution Date or in
 installment payments over a period not more than five years after the Petition Date pursuant to
 section 1129(a)(c) of the Bankruptcy Code. To the extent any Allowed Priority Tax Claim is not
 due and owing on the Effective Date, such Claim shall be paid in full in Cash in accordance with
 the terms of any agreement between the Debtors and the Holder of such Claim, or as may be due
 and payable under applicable non-bankruptcy law or in the ordinary course of business.

                         (b)    Delivery of Distributions to Servicers. In the case of a Holder of
 Claims whose Claims are governed by an agreement and administered by a Servicer, the
 respective Servicer shall be deemed to be the Holder of such Claims for purposes of distributions
 to be made hereunder; provided, however, that non-Cash consideration shall not be distributed in
 the name of a Servicer. The Distribution Agent shall make all distributions on account of such
 Claims to the Servicers or as directed by the Servicers, in the Servicers’ sole discretion. The
 Servicers shall hold or direct such distributions for the benefit of Holders of such Allowed
 Claims, as applicable; provided, however, that the Servicer shall retain all rights under its
 respective agreement in connection with delivery of distributions to Claim Holders (including the
 right to deliver distributions subject to any charging lien under such agreement); and provided
 further, however, that the Debtors’ obligations to make distributions in accordance with Article
 X shall be deemed satisfied upon delivery of distributions to each Servicer or the entity or
 entities designated by the Servicers. Nothing in the Plan shall be deemed to impair, waive, or
 extinguish any right of any Servicer with respect to its Charging Lien against applicable Plan
 Distributions. For the avoidance of doubt, the Second Lien Senior Notes Indenture Trustee shall
 have no duty to make any distributions that are not DTC eligible.

                        (c)    Fees and Expenses of Servicers. The Reorganized Debtors shall
 reimburse in Cash any Servicer for reasonable and necessary services that the Reorganized
 Debtors expressly request such Servicer to perform (including reasonable attorneys’ fees and
 documented out-of-pocket expenses) in connection with the making of distributions under this
 Plan to Holders of Allowed Claims or the Servicer’s further performance of its duties under the
 Indentures until all such Allowed Claims are paid in full and a Final Decree is entered, without
 the need for the filing of an application with the Bankruptcy Court or approval by the
 Bankruptcy Court. To the extent that there are any disputes that the reviewing parties are unable
 to resolve with the Servicers, the reviewing parties shall report to the Bankruptcy Court as to
 whether there are any unresolved disputes regarding the reasonableness of the Servicers’ (and
 their attorneys’) fees and expenses. Any such unresolved disputes may be submitted to the
 Bankruptcy Court for resolution. For the avoidance of doubt, the disallowance of any disputed

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 fees or expenses of any Servicer shall not affect or modify in any way such Servicer’s charging
 lien or other rights to recover such fees and expenses pursuant to its respective agreement.

                10.6    Distributions on Account of Claims Allowed After the Effective Date.

                         (a)   No Distributions Pending Allowance.               No payments or
 distributions shall be made with respect to all or any portion of a Disputed Claim unless and until
 all objections to such Disputed Claim have been settled or withdrawn or have been determined
 by a Final Order of the Bankruptcy Court, and the Disputed Claim has become an Allowed
 Claim. All objections to Claims must be filed on or before the Claims Objection Deadline.

                        (b)    Distributions After Allowance. Payments and distributions to
 each respective Holder of a Claim on account of a Disputed Claim, to the extent that it ultimately
 becomes an Allowed Claim, shall be made in accordance with provisions of this Plan that govern
 distributions to such Holder of a Claim. On the first Periodic Distribution Date that is at least 30
 days following the date when a Disputed Claim becomes an Allowed Claim, the Distribution
 Agent shall distribute to the Holder of such Allowed Claim the distribution that such Holder is
 entitled under the Plan as of the Effective Date, without any interest to be paid on account of
 such Claim or Interest unless required under applicable bankruptcy law; provided, however, (i)
 Disputed Claims that are Administrative Claims with respect to liabilities incurred by the
 Debtors in the ordinary course of business during the Chapter 11 Cases or assumed by the
 Debtors on or before the Effective Date that become Allowed after the Effective Date shall be
 paid or performed in the ordinary course of business in accordance with the terms and conditions
 of any controlling agreements, course of dealing, course of business, or industry practice, and (ii)
 Disputed Claims that are Allowed Priority Tax Claims after the Effective Date shall be paid in
 full in Cash on the Periodic Distribution Date that is at least 30 days after the Disputed Claim
 becomes an Allowed Claim or over a five-year period as provided in section 1129(a)(9)(C) of the
 Bankruptcy Code with annual interest provided by applicable non-bankruptcy law.

                        (c)     Special Rules for Distributions to Holders of Disputed Claims.
 Notwithstanding any provision otherwise in the Plan and except as otherwise agreed by the
 relevant parties no partial payments and no partial distributions shall be made with respect to a
 Disputed Claim until all such disputes in connection with such Disputed Claim have been
 resolved by settlement or Final Order. All distributions made pursuant to the Plan on account of
 a Disputed Claim that is deemed an Allowed Claim by the Bankruptcy Court shall be made
 together with any dividends, payments, or other distributions made on account of, as well as any
 obligations arising from, the distributed property as if such Allowed Claim had been an Allowed
 Claim on the dates distributions were previously made to Holders of Allowed Claims included in
 the applicable Class; provided, however, that no interest shall be paid on account to such
 Allowed Claims unless required under applicable bankruptcy law or this Plan.

                10.7    Delivery Of Distributions.

                        (a)     Record Date for Distributions. On the Distribution Record Date,
 the claims register shall be closed and the Distribution Agent shall be authorized and entitled to
 recognize only those record Holders listed on the claims register as of the close of business on
 the Distribution Record Date. Notwithstanding the foregoing, if a Claim or Interest is transferred

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 less than 20 days before the Distribution Record Date, the Distribution Agent shall make
 distributions to the transferee only to the extent practicable and in any event only if the relevant
 transfer form contains an unconditional and explicit certification and waiver of any objection to
 the transfer by the transferor.

                        (b)    Allowed Claims. Distributions to Holders of Allowed Claims
 shall be made by the Distribution Agent or the appropriate Servicer (i) at the addresses set forth
 on the proofs of claim filed by such Holders of Claims (or at the last known addresses of such
 Holders of Claims if no proof of Claim is filed or if the Debtors have been notified in writing of
 a change of address), (ii) at the addresses set forth in any written notices of address changes
 delivered to the Distribution Agent after the date of any related proof of Claim, (iii) at the
 addresses reflected in the Schedules if no proof of Claim has been filed and the Distribution
 Agent has not received a written notice of a change of address, or (iv) in the case of a Holder of a
 Claim whose Claim is governed by an agreement and administered by a Servicer, at the
 addresses contained in the official records of such Servicer. The Debtors, the Reorganized
 Debtors, and the Distribution Agent, as applicable, shall not incur any liability whatsoever on
 account of any distributions under the Plan.

                       (c)     Undeliverable Distributions. If any distribution to a Holder of a
 Claim is returned as undeliverable, no further distributions to such Holder of such Claim shall be
 made unless and until the Distribution Agent or the appropriate Servicer is notified of then-
 current address of such Holder of the Claim, at which time all missed distributions shall be made
 to such Holder of the Claim without interest, dividends, or accruals of any kind on the next
 Periodic Distribution Date. Amounts in respect of undeliverable distributions shall be returned
 to the Reorganized Debtors until such distributions are claimed.

                         (d)    Reversion. Any distribution under the Plan that is an Unclaimed
 Distribution for a period of six months after such distribution shall be deemed unclaimed
 property under section 347(b) of the Bankruptcy Code and such Unclaimed Distribution shall
 revert to and vest in the Reorganized Debtors free of any restrictions thereon, and to the extent
 such Unclaimed Distribution is New SUNE Common Stock, shall be deemed cancelled. Upon
 vesting, the Claim of any Holder or successor to such Holder with respect to such property shall
 be cancelled, discharged and forever barred, notwithstanding federal or state escheat, abandoned,
 or unclaimed property laws to the contrary. The provisions of the Plan regarding undeliverable
 distributions and Unclaimed Distributions shall apply with equal force to distributions that are
 issued by the Debtors, the Reorganized Debtors, or the Distribution Agent made pursuant to any
 indenture or Certificate (but only with respect to the initial distribution by the Servicer to
 Holders that are entitled to be recognized under the relevant indenture or Certificate and not with
 respect to Entities to whom those recognized Holders distribute), notwithstanding any provision
 in such indenture or Certificate to the contrary and notwithstanding any otherwise applicable
 federal or state escheat, abandoned, or unclaimed property law.

                        (e)     De Minimis Distributions. Notwithstanding any other provision
 of the Plan to the contrary, the Reorganized Debtors, the Distribution Agent, and any Servicer
 shall not be required to make a distribution on account of an Allowed Claim if (i) the aggregate
 amount of all distributions authorized to be made on the Periodic Distribution Date in question is
 or has a value less than $1,000,000; provided that the Reorganized Debtors shall make, or cause

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 to be made, a distribution on a Periodic Distribution Date of less than $1,000,000 if the Debtors
 expect that such Periodic Distribution Date shall be the final Periodic Distribution Date; or
 (ii) the amount to be distributed to the specific Holder of the Allowed Claim on the particular
 Periodic Distribution Date does not both (x) constitute a final distribution to such Holder and
 (y) have a value of at least $50.00.

                         (f)    Fractional Distributions. Notwithstanding any other provision of
 the Plan to the contrary, the Reorganized Debtors, the Distribution Agent, and any Servicer shall
 not be required to make partial distributions or distributions of fractional shares of New SUNE
 Common Stock, Continuing TERP Class A Shares, or distributions or payments of fractions of
 dollars. Whenever any payment or distribution of a fractional share of New SUNE Common
 Stock or Continuing TERP Class A Shares under the Plan would otherwise be called for, such
 fraction shall be deemed zero. Whenever any payment of Cash of a fraction of a dollar pursuant
 to the Plan would otherwise be required, the actual payment shall reflect a rounding of such
 fraction to the nearest whole dollar (up or down), with half dollars or less being rounded down.

                 10.8 Accrual of Dividends and Other Rights. For purposes of determining
 the accrual of dividends or other rights after the Effective Date, New SUNE Common Stock shall
 be deemed distributed as of the Effective Date regardless of the date on which it is actually
 issued, dated, authenticated, or distributed; provided, however, the Reorganized Debtors shall not
 pay any such dividends or distribute such other rights, if any, until after distributions of New
 SUNE Common Stock actually take place.

                 10.9 Surrender of Securities or Instruments. As soon as practicable after the
 Effective Date, each Second Lien Senior Noteholder and Convertible Senior Noteholder shall
 surrender its note(s) to the relevant Indenture Trustee, or in the event such note(s) are held in the
 name of, or by a nominee of, The Depository Trust Company, the Reorganized Debtors shall
 seek the cooperation of The Depository Trust Company to provide appropriate instructions to the
 Indenture Trustees. No distributions under the Plan shall be made for or on behalf of such
 Holder unless and until such note(s) is received by the Indenture Trustees or the loss, theft or
 destruction of such note(s) is established to the reasonable satisfaction of the applicable
 Indenture Trustee, which satisfaction may require such Holder to submit (a) a lost instrument
 affidavit and (b) an indemnity bond holding the Debtors, the Reorganized Debtors, and the
 Indenture Trustees, harmless in respect of such note and distributions made thereof. Upon
 compliance with this Article 10.9 by a Second Lien Senior Noteholder or Convertible Senior
 Noteholder, such Holder shall, for all purposes under the Plan, be deemed to have surrendered
 such Claim. Any Holder that fails to surrender such Second Lien Senior Note or Convertible
 Senior Note or satisfactorily explain its non-availability to the applicable Indenture Trustee
 within one (1) year of the Effective Date shall be deemed to have no further Claim against the
 Debtors, the Reorganized Debtors (or their property), or the Indenture Trustees in respect of such
 Claim and shall not participate in any distribution under the Plan. All property in respect of such
 forfeited distributions, including interest thereon, shall be promptly returned to the Reorganized
 Debtors by the applicable Indenture Trustee, and any such security shall be cancelled.
 Notwithstanding the foregoing, if the record Holder of a Second Lien Senior Noteholder or a
 Convertible Senior Noteholder is DTC or its nominee or such other securities depository or
 custodian thereof, or if a Second Lien Senior Notes Claim or a Convertible Senior Notes Claim
 is held in book-entry or electronic form pursuant to a global security held by DTC or such other

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 securities depository or custodian thereof, then the beneficial Holder of such an Allowed Second
 Lien Senior Notes Claim or Allowed Convertible Senior Notes Claim shall be deemed to have
 surrendered such Holder’s security, note, debenture or other evidence of indebtedness upon
 surrender of such global security by DTC or such other securities depository or custodian
 thereof. Notwithstanding the foregoing, the Holders of the 2020 Exchangeable Notes shall not
 be required to surrender such 2020 Exchangeable Notes.

                 10.10 Compliance Matters. In connection with the Plan and all instruments
 issued in connection therewith and distributions thereunder, to the extent applicable, the Debtors,
 Reorganized Debtors and the Distribution Agent shall comply with all tax withholding and
 reporting requirements imposed on them by any Governmental Unit, and all distributions
 pursuant to the Plan shall be subject to such withholding and reporting requirements.
 Notwithstanding any provision in the Plan to the contrary, the Reorganized Debtors and the
 Distribution Agent shall be authorized to take all actions necessary or appropriate to comply with
 such withholding and reporting requirements, including liquidating a portion of the distribution
 to be made under the Plan to generate sufficient funds to pay applicable withholding taxes,
 withholding distributions pending receipt of information necessary to facilitate such
 distributions, or establishing any other mechanisms they believe are reasonable and appropriate.
 The Reorganized Debtors reserve the right to allocate all distributions made under the Plan in
 compliance with all applicable wage garnishments, alimony, child support, and other spousal
 awards, Liens, and encumbrances.

 For the avoidance of doubt, the Debtors and Reorganized Debtors shall comply with applicable
 non-bankruptcy law relating to document preservation obligations in connection with ongoing
 litigation.

                10.11 Claims Paid or Payable by Third Parties.

                        (a)     Claims Paid by Third Parties. The Claims and Solicitation
 Agent shall reduce in full a Claim to the extent that the Holder of such Claim receives payment
 in full on account of such Claim from a party that is not the Debtors or the Reorganized Debtors.
 To the extent a Holder of a Claim receives a distribution on account of such Claim and receives
 payment from a party that is not the Debtors or the Reorganized Debtors on account of such
 Claim, such Holder shall, within two weeks of receipt thereof, repay or return the distribution to
 the Reorganized Debtors, to the extent the Holder’s total recovery on account of such Claim
 from the third party and under the Plan exceeds the amount of such Claim as of the date of any
 such distribution under the Plan.

                       (b)     Claims Payable by Insurers. No distributions under the Plan
 shall be made on account of an Allowed Claim that is payable pursuant to one of the Debtors’
 insurance policies until the Holder of such Allowed Claim has exhausted all remedies with
 respect to such insurance policy. To the extent that one or more of the Debtors’ insurers agrees
 to satisfy a Claim or otherwise settle an insured Claim, then immediately upon such insurers’
 payment, the applicable portion of such Claim may be expunged without a Claim objection
 having to be filed and without any further notice to or action, order, or approval of the
 Bankruptcy Court.


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                        (c)     Applicability of Insurance Contracts. Except as otherwise
 provided in the Plan, distributions to Holders of Allowed Claims shall be in accordance with the
 provisions of any applicable Insurance Contracts. Nothing contained in the Plan shall constitute
 or be deemed a waiver of any Cause of Action that the Debtors or any Entity may hold against
 any other Entity, including insurers under any of the Insurance Contracts, nor shall anything
 contained herein constitute or be deemed a waiver by such insurers of any defenses, including
 coverage defenses, held by such insurers.

                 10.12 Setoffs. Except as otherwise expressly provided for in the Plan and except
 with respect to any Original DIP Facility Claims, Replacement DIP Facility Claims, Second Lien
 Claim, Convertible Senior Notes Claim, and any distribution on account thereof, the
 Reorganized Debtors pursuant to the Bankruptcy Code (including section 553 of the Bankruptcy
 Code), applicable non-bankruptcy law, or as may be agreed to by the Holder of a Claim, may set
 off against any Allowed Claim and the distributions to be made pursuant to the Plan on account
 of such Allowed Claim (before any distribution is made on account of such Allowed Claim), any
 Claims, rights, and Causes of Action of any nature that the Debtors or the Reorganized Debtors,
 as applicable, may hold against the Holder of such Allowed Claim, to the extent such Claims,
 rights, or Causes of Action against such Holder have not been otherwise compromised or settled
 on or prior to the Effective Date (whether pursuant to the Plan or otherwise); provided, however,
 that neither the failure to effect such a setoff nor the allowance of any Claim pursuant to the Plan
 shall constitute a waiver or release by the Reorganized Debtors of any such Claims, rights, and
 Causes of Action that the Reorganized Debtors may possess against such Holder. In no event
 shall any Holder of Claims be entitled to set off any Claim against any Claim, right, or Cause of
 Action of the Debtors or the Reorganized Debtors, as applicable, unless such Holder has filed a
 motion with the Bankruptcy Court requesting the authority to perform such setoff on or before
 the Confirmation Date, and notwithstanding any indication in any proof of Claim or otherwise
 that such Holder asserts, has, or intends to preserve any right of setoff pursuant to section 553 or
 otherwise.

                10.13 Allocation of Plan Distributions Between Principal and Interest. To
 the extent that any Allowed Claim entitled to a distribution under this Plan is composed of
 indebtedness and accrued but unpaid interest thereon, such distribution shall, to the extent
 permitted by applicable law, be allocated for federal income tax purposes to the principal amount
 of the Claim first and then, to the extent the consideration exceeds the principal amount of the
 Claim, to the portion of such Claim representing accrued but unpaid interest.

                                           ARTICLE XI

                  EFFECT OF THE PLAN ON CLAIMS AND INTERESTS

                11.1 Vesting of Assets. Except as otherwise explicitly provided in this Plan,
 on the Effective Date, all property comprising the Estates (including Causes of Action, but
 excluding the GUC/Litigation Trust Assets and property that has been abandoned pursuant to an
 order of the Bankruptcy Court) shall vest in the Reorganized Debtors which, unless otherwise
 indicated in the Plan, as Debtors, owned such property or interest in property as of the Effective
 Date, free and clear of all Claims, Liens, charges, encumbrances, rights, and Interests. As of and
 following the Effective Date, the Reorganized Debtors may operate its business and use, acquire,

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 and dispose of property (subject to applicable law) and settle and compromise Claims, Interests,
 or Causes of Action without supervision of the Bankruptcy Court, free of any restrictions of the
 Bankruptcy Code or Bankruptcy Rules, other than those restrictions expressly imposed by this
 Plan or the Confirmation Order.

                11.2 Discharge of the Debtors. Except as otherwise specifically provided in
 section 1141(d) of the Bankruptcy Code, this Plan or the Confirmation Order, and effective
 as of the Confirmation Date: (a) the distributions and rights that are provided in this Plan,
 if any, and the treatment of all Claims and Interests shall be in exchange for and in
 complete satisfaction, discharge, and release of all Claims and Causes of Action, whether
 known or unknown, including any interest accrued on such Claims from and after the
 Petition Date, against, liabilities of, Liens on, obligations of, rights against, and Interests in
 the Debtors or any of its assets or properties, regardless of whether any property shall have
 been distributed or retained pursuant to this Plan on account of such Claims, rights, and
 Interests, including, but not limited to, Claims and Interests that arose before the Effective
 Date and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the
 Bankruptcy Code, in each case whether or not (i) a proof of claim or interest based upon
 such Claim, debt, right, or Interest is filed or deemed filed under section 501 of the
 Bankruptcy Code, (ii) a Claim or Interest based upon such Claim, debt, right, or Interest is
 allowed under section 502 of the Bankruptcy Code, or (iii) the Holder of such a Claim,
 right, or Interest accepted this Plan; (b) the Plan shall bind all Holders of Claims and
 Interests notwithstanding whether any such Holders failed to vote to accept or reject the
 Plan or voted to reject the Plan; (c) all Claims and Interests shall be satisfied, discharged,
 and released in full, and the Debtors’ liability with respect thereto shall be extinguished
 completely, including any liability of the kind specified under section 502(g) of the
 Bankruptcy Code; and (d) all Entities shall be precluded from asserting against the
 Debtors, the Estates, the Reorganized Debtors, their successors and assigns, and their
 assets and properties any other Claims or Interests based upon any documents,
 instruments, or any act or omission, transaction, or other activity of any kind or nature
 that occurred prior to the Effective Date. The Confirmation Order shall be a judicial
 determination of the discharge of all Claims against and Interests in the Debtors, subject to
 the occurrence of the Effective Date.

                 11.3 Discharge of Liabilities Related to General Unsecured Claims and
 Convertible Senior Notes Claims. The transfer to, vesting in, and assumption by the
 GUC/Litigation Trust of the GUC/Litigation Trust Assets as contemplated by this Plan, among
 other things, shall discharge the Debtors, the Reorganized Debtors, and their representatives for
 and in respect of all General Unsecured Claims and Convertible Senior Notes Claims.

                11.4 Compromises and Settlements. This Plan is intended to incorporate the
 agreements reached in the GUC/Litigation Trust Agreement and the settlement regarding the
 UCC Challenge Litigation and the BOKF Objection as set forth in the Committee/BOKF Plan
 Settlement Term Sheet. In accordance with Article 9.2 of this Plan, pursuant to Bankruptcy Rule
 9019(a), the Debtors may compromise and settle various (a) Claims or Interests and (b) Causes
 of Action that the Debtors have against other Entities up to and including the Effective Date.
 After the Effective Date, any such right shall pass to the Reorganized Debtors and/or the
 GUC/Litigation Trust, pursuant to the terms of the GUC/Litigation Trust Agreement, and as

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 contemplated in Article 11.1 of this Plan, without the need for further approval of the
 Bankruptcy Court. Pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule 9019
 and in consideration for the distributions and other benefits provided pursuant to the Plan or any
 distribution to be made on account of an Allowed Claim, the provisions of the Plan shall
 constitute a good faith compromise of all Claims, Interests, and controversies relating to the
 contractual, legal, and subordination rights that a Holder of a Claim or Interest may have with
 respect to any Allowed Claim or Allowed Interest. The entry of the Confirmation Order shall
 constitute the Bankruptcy Court’s approval of the compromise or settlement of all such Claims,
 Interests and controversies, as well as a finding by the Bankruptcy Court that any such
 compromise or settlement is in the best interests of the Debtors, its Estate, and Holders of Claims
 and Interests, and is fair, equitable, and reasonable.

                 11.5 Release by Debtors. Pursuant to section 1123(b) of the Bankruptcy
 Code, as of the Effective Date, the Debtors and their Estates, the Reorganized Debtors, and
 each of their respective current and former Affiliates (with respect to non-Debtors, to the
 extent permitted by applicable law) shall be deemed to have conclusively, absolutely,
 unconditionally, irrevocably, and forever released, waived and discharged the Released
 Parties from any and all Claims, Interests, obligations, rights, suits, damages, Causes of
 Action, remedies, and liabilities whatsoever (including any derivative Claims asserted on
 behalf of the Debtors), whether known or unknown, foreseen or unforeseen, existing or
 hereinafter arising, in law, equity, or otherwise, that such Entity would have been legally
 entitled to assert (whether individually or collectively), based on or in any way relating to,
 or in any manner arising from, in whole or in part, the Debtors, the Debtors’ restructuring,
 the Chapter 11 Cases, the Original DIP Facility, the Replacement DIP Facility, the
 purchase, sale, or rescission of the purchase or sale of any security of the Debtors or the
 Reorganized Debtors, including (without limitation) any tender rights provided under any
 applicable law, rule, or regulation, the subject matter of, or the transactions or events
 giving rise to, any Claim or Interest that is treated in the Plan, the restructuring of Claims
 and Interests prior to or in the Chapter 11 Cases, the negotiation, formulation, or
 preparation of the Plan, the Disclosure Statement, the Plan Supplement, the Rights
 Offering, the GUC/Litigation Trust Agreement, or related agreements, instruments, or
 other documents, upon any other act or omission, transaction, agreement, event, or other
 occurrence taking place on or before the Effective Date of the Plan, other than Claims or
 liabilities arising out of or relating to any act or omission of a Released Party that
 constitutes fraud, willful misconduct, or gross negligence. Notwithstanding anything to the
 contrary in the foregoing, the release set forth above (t) does not release the Debtor
 Professionals to the extent that claims against such parties are identified as GUC/Litigation
 Trust Causes of Action, with the identification of such claims to be reasonably agreed to by
 the Debtors (after consulting with the Supporting Second Lien Parties) and the Creditors’
 Committee; provided, that any disagreement regarding whether a particular claim should
 be identified as a GUC/Litigation Trust Cause of Action shall be decided by the
 Bankruptcy Court, (u) does not release any post-Effective Date obligations of any party
 under the Plan or any document, instrument, or agreement (including those set forth in the
 Plan Supplement) executed to implement the Plan, (v) does not release, waive, address, or
 otherwise impact the (i) releases given as contemplated in the D&O Settlement Agreement
 or (ii) the various matters that are carved-out and preserved in the D&O Settlement
 Agreement, (w) shall not impair any defenses the Debtors may have with regard to any
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 alleged indemnification obligation that the Debtors may have to any party, (x) shall not
 release any claims by any non-Debtor Affiliate of the Debtors arising in the ordinary course
 of business (i.e., ordinary course trade claims), (y) shall not release any claims against any
 non-Debtor Affiliate of the Debtors held by the Debtors that is necessary to effectuate the
 transactions contemplated by this Plan (including, without limitation, any claims to collect
 proceeds from Earnout Assets, Repatriated Cash, Residual Assets, etc.), and (z) is subject
 to section 1125(e) of the Bankruptcy Code to the extent applicable.

                 11.6 Release by Holders of Claims. As of the Effective Date, subject to
 Article 11.8, the Releasing Parties shall be deemed to have conclusively, absolutely,
 unconditionally, irrevocably, and forever released, waived and discharged the Debtors, the
 Reorganized Debtors, their Estates, non-Debtor Affiliates, and the Released Parties from
 any and all Claims, Interests, obligations, rights, suits, damages, Causes of Action,
 remedies, and liabilities whatsoever, including any derivative Claims asserted or capable of
 being asserted on behalf of the Debtors, whether known or unknown, foreseen or
 unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that such Entity
 would have been legally entitled to assert (whether individually or collectively), based on or
 in any way relating to, or in any manner arising from, in whole or in part, the Debtors, the
 Debtors’ restructuring, the Chapter 11 Cases, the Original DIP Facility, the Replacement
 DIP Facility, the purchase, sale, or rescission of the purchase or sale of any security of the
 Debtors or the Reorganized Debtors, including (without limitation) any tender rights
 provided under any applicable law, rule, or regulation, the subject matter of, or the
 transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
 restructuring of Claims and Interests prior to or in the Chapter 11 Cases, the negotiation,
 formulation, or preparation of the Plan, the Disclosure Statement, the Plan Supplement,
 the Rights Offering, the GUC/Litigation Trust Agreement, or related agreements,
 instruments, or other documents, upon any other act or omission, transaction, agreement,
 event, or other occurrence taking place on or before the Effective Date of the Plan, other
 than Claims or liabilities arising out of or relating to any act or omission of a Released
 Party that constitutes fraud, willful misconduct, or gross negligence. Notwithstanding
 anything to the contrary in the foregoing, the release set forth above does not release (i) any
 post-Effective Date obligations of any party under the Plan or any document, instrument,
 or agreement (including those set forth in the Plan Supplement) executed to implement the
 Plan or (ii) any cause of action held by a governmental entity against any non-Debtor
 existing as of the Effective Date based on Sections 1104-1109, 1161-1169, and 1342(d) of the
 Employee Retirement Income Security Act. Notwithstanding the foregoing, nothing in this
 Plan shall release any claims against any non-Debtor Affiliate of the Debtors arising in the
 ordinary course of business (i.e., ordinary course trade claims).

                11.7 Exculpation and Limitation of Liability. To the extent permitted by
 section 1125(e) of the Bankruptcy Code, and subject to Article 11.8 of this Plan, the
 Exculpated Parties shall neither have, nor incur any liability to any Entity for any
 Exculpated Claim; provided, however, that the foregoing “exculpation” shall have no effect
 on the liability of any Entity that results from any such act or omission that is determined
 in a Final Order to have constituted gross negligence, willful misconduct, or intentional
 fraud to the extent imposed by applicable non-bankruptcy law.


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 The Exculpated Parties have, and upon Confirmation shall be deemed to have, participated
 in good faith and in compliance with the applicable provisions of the Bankruptcy Code,
 including with regard to the distributions of the New SUNE Common Stock and
 Continuing TERP Class A Shares, as applicable, pursuant to the Plan and, therefore, are
 not and shall not be liable at any time for the violations of any applicable, law, rule, or
 regulation governing the solicitation of acceptances or rejections of the Plan or such
 distributions made pursuant to the Plan.

 Notwithstanding anything to the contrary contained herein, subject to Article 11.8 of this
 Plan, the YieldCos and their respective former and current partners, agents, officers,
 directors, employees, representatives, attorneys and advisors (who served in such roles
 after the Petition Date) shall neither have, nor incur any liability to any Entity for any
 Exculpated Claim; provided, however, that the foregoing exculpation shall have no effect
 on the liability of any Entity that results from any such act or omission that is determined
 in a Final Order to have constituted gross negligence, willful misconduct, or intentional
 fraud to the extent imposed by applicable non-bankruptcy law.

 Nothing in this Article shall limit the liability of any Person or Entity (other than the
 Debtors) for any pre- or post-petition action taken or omitted to be taken by them as a
 fiduciary, co-fiduciary, party in interest or knowing participant in violation of ERISA with
 respect to any ERISA-covered employee benefit plan sponsored by the Debtors.

                 11.8 Exclusions and Limitations on Exculpation, Indemnification, and
 Releases. Notwithstanding anything in this Plan to the contrary, no provision of this Plan or the
 Confirmation Order, including, without limitation, any exculpation, indemnification, or release
 provision, shall modify, release, or otherwise limit the liability of any Entity not specifically
 released or exculpated hereunder or pursuant to an order of the Bankruptcy Court, including,
 without limitation, any Entity who is a co-obligor or joint tortfeasor of a Released Party or who
 is otherwise liable under theories of vicarious or other derivative liability. In the event that any
 exculpation or release provision in this Plan conflicts with Section 4 of a YieldCo Settlement
 Agreements, Section 4 of such YieldCo Settlement Agreement shall govern with respect to the
 applicable YieldCo.

 Notwithstanding any provision to the contrary, no provision of the Disclosure Statement, Plan, or
 Confirmation Order shall preclude the United States, its agencies, departments or agents
 (collectively, the “United States”) from enforcing its police or regulatory powers.

 Notwithstanding anything contained in this Plan, Disclosure Statement or Confirmation Order to
 the contrary, nothing in the Plan or Confirmation Order shall discharge, release, impair or
 otherwise preclude: (1) any liability to the United States that is not a “claim” within the meaning
 of section 101(5) of the Bankruptcy Code; (2) any Claim of the United States arising on or after
 the Effective Date; (3) any valid right of setoff or recoupment of the United States against any of
 the Debtors to the extent permitted under applicable law; or (4) any Governmental Unit (as
 defined by section 101(27) of the Bankruptcy Code) from enforcing its police or regulatory
 powers against the Debtors or Reorganized Debtors, including as the owner, lessor, lessee or
 operator of property that such entity owns, operates or leases after the Effective Date. Nor shall
 anything in this Confirmation Order or this Plan enjoin or otherwise bar the United States or any

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 Governmental Unit from asserting or enforcing, outside the Bankruptcy Court, any matters
 described in subsection (1) through (4) described in the preceding sentence.

 Nothing in the Confirmation Order or the Plan shall release or exculpate any non-Debtor,
 including any Released Parties, from any liability to the United States, including but not limited
 to any liabilities arising under the Internal Revenue Code, applicable environmental laws, or
 applicable criminal laws, or any legal action or claim brought by the SEC, nor shall anything in
 this Confirmation Order or the Plan enjoin the United States from bringing any claim, suit, action
 or other proceeding against any non-Debtor, including any Released Party for any liability
 whatsoever; provided, however, that the foregoing sentence shall not limit the scope of discharge
 granted to the Debtors under sections 524 and 1141 of the Bankruptcy Code.

 In each case, except as permitted under sections 505, 1129(a)(9)(c), and 1146 of the Bankruptcy
 Code, nothing contained in the Plan or Confirmation Order shall be deemed to determine the tax
 liability of any person or entity, including but not limited to the Debtors and the Reorganized
 Debtors, nor shall the Plan or Confirmation Order be deemed to have determined the federal tax
 treatment of any item, distribution, or entity, including the federal tax consequences of this Plan,
 nor shall anything in this Plan or Confirmation Order be deemed to have conferred jurisdiction
 upon the Bankruptcy Court to make determinations as to federal tax liability and federal tax
 treatment.

               11.9 Injunction. Subject to Article 11.8 of this Plan, the satisfaction,
 release, and discharge pursuant to this Article XI shall act as an injunction against any
 Entity commencing or continuing any action, employment of process, or act to collect,
 offset, or recover any Claim, Interest, or Cause of Action satisfied, released or to be
 released, exculpated or to be exculpated, including any Exculpated Claim, or discharged
 under this Plan or pursuant to the Confirmation Order to the fullest extent authorized or
 provided by the Bankruptcy Code, including, without limitation, to the extent provided for
 or authorized by sections 524 and 1141 thereof.

                11.10 Subordination Rights.

                         (a)    Except as otherwise provided in the Plan, the allowance,
 classification and treatment of all Allowed Claims and the respective distributions and treatments
 under the Plan take into account and conform to the relative priority and rights of the Claims in
 each Class in connection with any contractual (including, without limitation, pursuant to the
 Replacement Intercreditor Annex (as defined in the Replacement DIP Facility Order)), legal and
 equitable subordination rights relating thereto, whether arising under general principles of
 equitable subordination, section 510(b) of the Bankruptcy Code, or otherwise and all Claims and
 all rights and claims between or among Holders of Claims relating in any manner whatsoever to
 distributions on account of Claims or Interests, based upon any claimed subordination rights,
 whether asserted or unasserted, legal or equitable, shall be deemed satisfied by the distributions
 under the Plan to Holders of Claims having such subordination rights, and such subordination
 rights shall be deemed waived, released, discharged, and terminated as of the Effective Date.
 Except as otherwise specifically provided for in the Plan, distributions to the various Classes of
 Claims hereunder shall not be subject to levy, garnishment, attachment, or like legal process by


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 any Holder of a Claim by reason of any subordination rights or otherwise, so that each Holder of
 a Claim shall have and receive the benefit of the distributions in the manner set forth in the Plan.

                        (b)    Except as otherwise provided in the Plan (including Plan Exhibits),
 the Confirmation Order or an order of the Bankruptcy Court, the right of the Debtors or the
 Reorganized Debtors to seek subordination of any Claim or Interest pursuant to section 510 of
 the Bankruptcy Code is fully reserved, and the treatment afforded any Claim or Interest that
 becomes a subordinated Claim or Interest at any time shall be modified to reflect such
 subordination; provided, however, that the Debtors and the Reorganized Debtors shall not seek
 subordination of any Original DIP Facility Claim, Replacement DIP Facility Claim, or Second
 Lien Claim, and such Claims are Allowed in full and not subject to any subordination of any
 kind. Unless the Plan (including Plan Exhibits) or the Confirmation Order otherwise provide, no
 distributions shall be made on account of a Claim subordinated pursuant to this Article 11.10(b)
 unless ordered by the Bankruptcy Court.

                         (c)    This Plan shall be deemed compliant with all of the provisions of
 that certain Collateral Trust Agreement, dated January 11, 2016, between and among SunEdison,
 Inc., the guarantors and additional pari passu lien representatives from time to time party thereto,
 the Second Lien Administrative Agent, the Second Lien Senior Notes Indenture Trustee, and the
 Second Lien Collateral Trustee. Upon entry of the Confirmation Order, and provided that
 distributions under the Plan are made in accordance with the Plan and the Confirmation Order,
 no party shall have any further rights to enforce the Collateral Trust Agreement or the provisions
 thereof.

                 11.11 Protection Against Discriminatory Treatment. Consistent with section
 525 of the Bankruptcy Code and paragraph 2 of Article VI of the United States Constitution, no
 Governmental Unit shall discriminate against the Reorganized Debtors or deny, revoke, suspend,
 or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition such a
 grant to, discriminate with respect to such a grant against, the Reorganized Debtors, or another
 entity with whom such the Reorganized Debtors has been associated, solely because the Debtors
 has been a debtor under chapter 11, has been insolvent before the commencement of the Chapter
 11 Cases (or during the Chapter 11 Cases but before the Debtors is granted or denied a
 discharge), or has not paid a debt that is dischargeable in the Chapter 11 Cases.

                11.12 Recoupment. In no event shall any Holder of Claims or Interests be
 entitled to recoup any Claim or Interest against any Claim, right, or Cause of Action of the
 Debtors or the Reorganized Debtors, as applicable, unless such Holder actually has performed
 such recoupment and provided notice thereof in writing to the Debtors on or before the Effective
 Date, notwithstanding any indication in any proof of Claim or Interest or otherwise that such
 Holder asserts, has, or intends to preserve any right of recoupment.

                 11.13 Release of Liens. Except as otherwise provided in the Plan (including
 with respect to the Reinstated Second Lien Claims) or in any contract, instrument, release, or
 other agreement or document created pursuant to the Plan, on the Effective Date, all mortgages,
 deeds of trust, Liens, pledges, or other security interests against any property of the Estates shall
 be fully released, and discharged, and all of the right, title, and interest of any Holder of such


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 mortgages, deeds of trust, Liens, pledges, or other security interests shall revert to the
 Reorganized Debtors and its successors and assigns.

                11.14 Reimbursement or Contribution. If the Bankruptcy Court disallows a
 Claim for reimbursement or contribution of an entity pursuant to section 502(e)(1)(B) of the
 Bankruptcy Code, then to the extent that such Claim is contingent as of the Effective Date, such
 Claim shall be forever Disallowed notwithstanding section 502(j) of the Bankruptcy Code,
 unless prior to the Effective Date (1) such Claim has been adjudicated as noncontingent or (2)
 the relevant Holder of a Claim has filed a noncontingent proof of Claim on account of such
 Claim and a Final Order has been entered determining such Claim as no longer contingent.

                                          ARTICLE XII

                                  CONDITIONS PRECEDENT

                 12.1 Conditions to Confirmation. The following are conditions precedent to
 the Confirmation of the Plan, each of which may be satisfied or waived in accordance with
 Article 12.3 of this Plan:

                       (a)     the Bankruptcy Court shall have entered the Disclosure Statement
 Order;

                       (b)    in the TERP Share Election Alternative, the Bankruptcy Court
 shall have entered an Order, in form and substance reasonably satisfactory to the Supporting
 Second Lien Parties, approving the Debtors’ entry into the Equity Commitment Agreement;

                       (c)     the Confirmation Order shall have been entered; and

                        (d)     the YieldCos shall have withdrawn all General Unsecured Claims
 against the Debtors, subject to the right of TERP to assert up to one-half of the actual amount the
 YieldCos ultimately are required to pay (and therefore have the right to assert as a General
 Unsecured Claim) in connection with the Preserved DE Shaw Unsecured Claim (as defined in
 the YieldCo Settlement Motion), capped at one-half of $231 million, plus fees and interest.

                12.2 Conditions to the Effective Date of the Plan. The following are
 conditions precedent to the occurrence of the Effective Date, each of which may be satisfied or
 waived in accordance with Article 12.3 of this Plan:

                       (a)     the Bankruptcy Court shall have entered the Disclosure Statement
 Order, and such order shall be a Final Order;

                        (b)    the Bankruptcy Court shall have entered the Confirmation Order,
 and such order shall be a Final Order;

                       (c)     all Plan Transaction Documents shall be in form and substance
 reasonably satisfactory to the Supporting Second Lien Parties and the Creditors’ Committee (as
 applicable);


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                        (d)     in the TERP Share Election Alternative, the Rights Offering (and
 the Equity Commitment Agreement) shall have been consummated on terms and conditions
 reasonably satisfactory to the Supporting Second Lien Parties;

                        (e)    the Jointly Supported Transactions shall have closed, the terms and
 conditions of which Jointly Supported Transactions (including, without limitation, purchase
 price) shall be reasonably satisfactory to the Supporting Second Lien Parties; provided, that the
 Jointly Supported Transactions embodied by the YieldCo Settlement Agreements, Voting and
 Support Agreements, and Merger Agreements (in the forms required to be supported by the
 Supporting Second Lien Parties) are deemed to be reasonably satisfactory to the Supporting
 Second Lien Parties;

                       (f)     the organizational documents of the Reorganized Debtors as
 contemplated herein shall be in form and substance reasonably satisfactory to the Supporting
 Second Lien Parties, shall have been adopted and (where required by applicable law) filed with
 the applicable authorities of the relevant jurisdictions of organization and shall have become
 effective in accordance with such jurisdiction’s corporation or limited liability company laws;

                         (g)    all authorizations, consents, certifications, approvals, rulings, no
 action letters, opinions or other documents or actions required by any law, regulation or order to
 be received or to occur in order to implement the Plan on the Effective Date shall have been
 obtained or shall have occurred unless (i) the Supporting Second Lien Parties and, to the extent
 the Creditors’ Committee or Holders of General Unsecured Claims are affected, the Creditors’
 Committee, consent to such failure (such consent not to be unreasonably withheld) and (ii) such
 failure will not have a material adverse effect on the Reorganized Debtors;

                       (h)    each of Reorganized SUNE and the GUC/Litigation Trust shall
 have been established in a manner consistent with this Plan and the Committee/BOKF Plan
 Settlement Term Sheet and on terms and conditions reasonably satisfactory to the Supporting
 Second Lien Parties and, with respect to the GUC/Litigation Trust, the Creditors’ Committee;

                       (i)     the New Boards and senior management shall have been selected
 as contemplated by this Plan;

                       (j)    all other documents and agreements necessary to implement the
 Plan on the Effective Date shall have been executed and delivered and all other actions required
 to be taken in connection with the Effective Date shall have occurred in form and substance and
 in a manner reasonably satisfactory to the Supporting Second Lien Parties and the Creditors’
 Committee (as applicable);

                         (k)     the amount of the Voluntary Professional Fee Reduction shall be
 equal to at least $5 million; and

                       (l)     all statutory fees and obligations then due and payable to the
 Office of the United States Trustee shall have been paid and satisfied in full.

               12.3 Waiver of Conditions Precedent. The conditions set forth in Articles
 12.1 and 12.2 may be waived, in whole or in part, by agreement of (a) the Debtors and (b) the

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 Supporting Second Lien Parties and (c) solely to the extent the Creditors’ Committee has a
 consent right with respect to the conditions set forth in Articles 12.2(c) and 12.2(g), the
 Creditors’ Committee, without any notice to any other parties-in-interest or the Bankruptcy
 Court and without a hearing.

                12.4 Notice of Effective Date. The Debtors shall file with the Bankruptcy
 Court a notice of the occurrence of the Effective Date within a reasonable period of time after the
 conditions in Article 12.2 of this Plan have been satisfied or waived pursuant to Article 12.3 of
 this Plan.

                12.5 Effect of Non-Occurrence of Conditions to Consummation. If prior to
 consummation of the Plan, the Confirmation Order is vacated pursuant to a Final Order, then
 except as provided in any order of the Bankruptcy Court vacating the Confirmation Order, the
 Plan will be null and void in all respects, and nothing contained in the Plan or Disclosure
 Statement shall (a) constitute a waiver or release of any Claims, Interests, or Causes of Action,
 (b) prejudice in any manner the rights of the Debtors or any other Entity, or (c) constitute an
 admission, acknowledgment, offer, or undertaking of any sort by the Debtors or any other Entity.

                                          ARTICLE XIII

                               RETENTION OF JURISDICTION

                Pursuant to sections 105(a) and 1142 of the Bankruptcy Code, the Bankruptcy
 Court shall have exclusive jurisdiction of all matters arising out of, and related to, the Chapter 11
 Cases and the Plan, including jurisdiction to:

                       (a)     resolve any matters related to Executory Contracts and Unexpired
 Leases, including: (i) the assumption, assumption and assignment, or rejection of Executory
 Contracts or Unexpired Leases to which the Debtors are a party or with respect to which the
 Debtors may be liable, and to hear and determine the allowance of Claims resulting therefrom
 including the amount of Cure, if any, required to be paid; (ii) any potential contractual obligation
 under any Executory Contract or Unexpired Lease that is assumed; (iii) the Reorganized
 Debtors’ amendment, modification, or supplement after the Effective Date, pursuant to Article
 VIII of the Plan, of the lists of Executory Contracts and Unexpired Leases to be assumed or
 rejected or otherwise; and (iv) any dispute regarding whether a contract or lease is or was
 executory or expired;

                        (b)     adjudicate any and all adversary proceedings, applications, and
 contested matters that may be commenced or maintained pursuant to the Chapter 11 Cases, this
 Plan, or that were the subject of proceedings before the Bankruptcy Court prior to the Effective
 Date, proceedings to adjudicate the allowance of Disputed Claims and Disputed Interests, and all
 controversies and issues arising from or relating to any of the foregoing;

                      (c)     adjudicate any and all adversary proceedings and contested matters
 that may be commenced and maintained by the GUC/Litigation Trust or any other matters
 concerning administration of the GUC/Litigation Trust or any actions taken or contemplated to
 be taken by the GUC/Litigation Trust;

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                        (d)    ensure that distributions to Holders of Allowed Claims are
 accomplished as provided herein and adjudicate any and all disputes arising from or relating to
 distributions under the Plan;

                          (e)    allow in whole or in part, disallow in whole or in part, determine,
 liquidate, classify, estimate, or establish the priority, secured or unsecured status, or amount of
 any Claim or Interest, including hearing and determining any and all objections to the allowance
 or estimation of Claims or Interests filed, both before and after the Confirmation Date, including
 any objections to the classification of any Claim or Interest, and the resolution of request for
 payment of any Administrative Claim;

                       (f)     hear and determine or resolve any and all matters related to Causes
 of Action;

                       (g)    enter and implement such orders as may be appropriate if the
 Confirmation Order is for any reason stayed, revoked, modified, and/or vacated;

                      (h)      issue and implement orders in aid of execution, implementation, or
 consummation of this Plan;

                        (i)    consider any modifications of this Plan, to cure any defect or
 omission, or to reconcile any inconsistency in any order of the Bankruptcy Court, including,
 without limitation, the Confirmation Order;

                       (j)    hear and determine all applications for allowance of compensation
 and reimbursement of Professional Claims under this Plan or under sections 330, 331, 503(b),
 1103, and 1129(a)(4) of the Bankruptcy Code;

                        (k)     determine requests for the payment of Claims entitled to priority
 under section 507(a)(1) of the Bankruptcy Code, including compensation and reimbursement of
 expenses of parties entitled thereto;

                      (l)    adjudicate, decide, or resolve any and all matters related to section
 1141 of the Bankruptcy Code;

                        (m)    hear and determine disputes arising in connection with the
 interpretation, implementation, or enforcement of this Plan or the Confirmation Order, including
 disputes arising under agreements, documents, or instruments executed in connection with this
 Plan and disputes arising in connection with any Entity’s obligations incurred in connection with
 the Plan;

                        (n)    hear and determine all suits or adversary proceedings to recover
 assets of the Debtors and property of their Estates, wherever located;

                       (o)     hear and determine matters concerning state, local, and federal
 taxes in accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including,
 without limitation, with respect to requests under section 505(b) of the Bankruptcy Code with
 respect to Tax Returns filed by, or on behalf of, the GUC/Litigation Trust, or any reserve for or

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 other amounts allocable to Disputed Claims, for all taxable periods through the dissolution of the
 GUC/Litigation Trust);

                           (p)   resolve any matters relating to the pre- and post-confirmation sales
 of the Debtors’ assets;

                           (q)   hear any other matter not inconsistent with the Bankruptcy Code;

                       (r)     hear and determine all disputes involving the existence, nature or
 scope of the Debtors’ discharge;

                           (s)   enter a Final Decree closing the Chapter 11 Cases;

                           (t)   enforce all orders previously entered by the Bankruptcy Court;

                       (u)       hear and determine all matters relating to any Bankruptcy Code
 section 510(b) Claims;

                       (v)     hear and determine all disputes and issues arising from the
 GUC/Litigation Trust, the GUC/Litigation Trust Agreement, the assets and Causes of Action
 granted and/or assigned to the GUC/Litigation Trust, and any other related matters in connection
 therewith (including any items set forth in the Committee/BOKF Plan Settlement Term Sheet);

                      (w)    hear and determine all disputes regarding the out-of-pocket costs
 and expenses of the Debtors and Reorganized Debtors in connection with cooperating with the
 GUC/Litigation Trust Trustee with respect to GUC/Litigation Trust Causes of Actions.

 All of the foregoing applies following the Effective Date; provided, that from the Confirmation
 Date through the Effective Date, in addition to the foregoing, the Bankruptcy Court shall retain
 jurisdiction with respect to all other matters of this Plan that were subject to its jurisdiction prior
 to the Confirmation Date; provided, further, that the Bankruptcy Court shall not have nor retain
 exclusive jurisdiction over any post-Effective Date agreement. Nothing contained herein shall
 be construed to increase, decrease or otherwise modify the independence, sovereignty or
 jurisdiction of the Bankruptcy Court.

                                           ARTICLE XIV

                                 MISCELLANEOUS PROVISIONS

                14.1 Binding Effect. Upon the Effective Date, this Plan shall be binding upon
 and inure to the benefit of the Debtors, the Reorganized Debtors, all current and former Holders
 of Claims, all current and former Holders of Interests, and all other parties-in-interest and their
 respective heirs, successors, and assigns.

                  14.2 Payment of Statutory Fees. All fees payable pursuant to section 1930 of
 title 28 of the United States Code, as of the entry of the Confirmation Order as determined by the
 Bankruptcy Court at the Confirmation Hearing, shall be paid on the Effective Date. The


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 Reorganized Debtors shall continue to pay fees pursuant to section 1930 of title 28 of the United
 States Code until the Chapter 11 Cases are closed by entry of the Final Decree.

                 14.3 Payment of Certain Additional Professional Fees. To the extent not
 paid prior to the Effective Date, on the Effective Date, subject to the Voluntary Professional Fee
 Reduction, the Reorganized Debtors shall pay all obligations required to be paid under paragraph
 2(a) of the Original DIP Facility Order or under paragraph 2(a) of the Replacement DIP Facility
 Order, in each case, in Cash until such obligations are satisfied in full.

                14.4 Payment of Fees of Second Lien Senior Notes Indenture Trustee and
 Second Lien Collateral Trustee. To the extent not paid prior to the Effective Date, on the
 Effective Date, subject to the Voluntary Professional Fee Reduction, the Reorganized Debtors
 shall pay in Cash all reasonable and documented unpaid fees and expenses of the Second Lien
 Senior Notes Indenture Trustee and the Second Lien Collateral Trustee and its advisors,
 including counsel, without application to or approval of the Bankruptcy Court.

                14.5 Modification and Amendments. The Debtors, with the consent of (x)
 the Supporting Second Lien Parties and, (y) with respect to those portions of the Plan that affect
 the Creditors’ Committee or any Holder of General Unsecured Claims, the Creditors’ Committee
 (in each case, such consent not to be unreasonably withheld or delayed), may alter, amend, or
 modify this Plan under section 1127(a) of the Bankruptcy Code at any time prior to the
 Confirmation Date. After the Confirmation Date and prior to substantial consummation of this
 Plan as defined in section 1101(2) of the Bankruptcy Code, the Debtors may, with the consent of
 (a) the Supporting Second Lien Parties and, (b) with respect to those portions of the Plan that
 affect the Creditors’ Committee or any Holder of General Unsecured Claims, the Creditors’
 Committee (in each case, such consent not to be unreasonably withheld or delayed), under
 section 1127(b) of the Bankruptcy Code, institute proceedings in the Bankruptcy Court to
 remedy any defect or omission or reconcile any inconsistencies in this Plan, the Disclosure
 Statement, or the Confirmation Order, and such matters as may be necessary to carry out the
 purposes and effects of this Plan. For the avoidance of doubt, nothing in this Plan is intended to
 negate or override any consent requirements (including any applicable consent thresholds) set
 forth in the Replacement DIP Credit Agreement or the Replacement DIP Facility Order or the
 Committee/BOKF Plan Settlement Term Sheet.

                14.6 Confirmation of the Plan. The Debtors request Confirmation of the Plan
 under section 1129(b) of the Bankruptcy Code with respect to any Impaired Class that does not
 accept the Plan pursuant to section 1126 of the Bankruptcy Code. The Debtors reserve the right
 to amend the Plan, with the reasonable consent of the Supporting Second Lien Parties and, with
 respect to those portions of the Plan that affect the Creditors’ Committee or any Holder of
 General Unsecured Claims, the Creditors’ Committee, to any extent, if any, that Confirmation
 pursuant to section 1129(b) of the Bankruptcy Code requires modification.

                14.7 Additional Documents. On or before the Effective Date, the Debtors,
 with the reasonable consent of the Supporting Second Lien Parties and, to the extent affecting the
 Creditors’ Committee or any Holder of General Unsecured Claims, the Creditors’ Committee,
 may file with the Bankruptcy Court such agreements or other documents as may be necessary or
 appropriate to effectuate and further evidence the terms and conditions of the Plan. The Debtors

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 (with the reasonable consent of the Supporting Second Lien Parties and, to the extent affecting
 the Creditors’ Committee or any Holders of General Unsecured Claims, the Creditors’
 Committee) or the Reorganized Debtors, as applicable, and Holders of Claims receiving
 distributions pursuant to the Plan and all other parties in interest shall, from time to time,
 prepare, execute, and deliver any agreements or documents and take any other actions as may be
 necessary or advisable to effectuate the provision and intent of the Plan.

                  14.8 Dissolution of Creditors’ Committee. Effective on the Effective Date,
 the Creditors’ Committee shall dissolve automatically, and the members thereof (solely in their
 capacities as Creditors’ Committee members) shall be released, exculpated and discharged from
 all their duties relating to the Chapter 11 Cases in accordance with Article 11 hereof; provided,
 however, that the Creditors’ Committee shall continue to exist and its Professionals shall
 continue to be retained and entitled to reasonable compensation, without further order of the
 Court, with respect to: (1) the preparation and prosecution of any final fee applications of the
 Creditors’ Committee’s Court approved Professionals and (2) all final fee applications filed with
 the Bankruptcy Court.

                14.9   Revocation, Withdrawal, or Non-Consummation.

                        (a)     Right to Revoke or Withdraw. The Debtors reserve the right
 (such right, following Confirmation, subject to the reasonable consent of the Supporting Second
 Lien Parties and the Creditors’ Committee) to revoke or withdraw this Plan at any time prior to
 the Effective Date and file subsequent chapter 11 plans.

                        (b)     Effect of Withdrawal, Revocation, or Non-Consummation. If
 the Debtors revoke or withdraw this Plan prior to the Effective Date, or if the Confirmation Date
 or the Effective Date does not occur, then this Plan, the Committee/BOKF Plan Settlement,
 including with regard to the Investigation/Prosecution Cap, the settlement of the BOKF
 Objection, the settlement of the UCC Challenge Litigation, and any settlement or compromise
 approved as part of this Plan (including the fixing or limiting to an amount certain any Claim or
 Class of Claims or the allocation of the distributions to be made hereunder), the assumption or
 rejection of Executory Contracts or Unexpired Leases effected by this Plan, and any document or
 agreement executed pursuant to this Plan shall be null and void in all respects. In such event,
 nothing contained herein or in the Disclosure Statement, or the Committee/BOKF Plan
 Settlement, and no acts taken in preparation for consummation of this Plan, shall be deemed to
 constitute a waiver or release of any Claims, Interests, or Causes of Action by or against the
 Debtors or any other Entity, to prejudice in any manner the rights and defenses of the Debtors,
 the Holder of a Claim or Interest, or any Entity in any further proceedings involving the Debtors,
 or to constitute an admission, acknowledgement, offer, or undertaking of any sort by the Debtors,
 the Creditors’ Committee, BOKF, or any other Entity.

                14.10 Notices. After the Effective Date, any pleading, notice, or other document
 required by the Plan to be served on or delivered to the Reorganized Debtors shall be served on:




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               If to the Debtors:

               c/o SunEdison, Inc.
               13736 Riverport Dr.
               Maryland Heights, MO 63043
               Attn.: Martin H. Truong (mtruong@sunedison.com)
               Senior Vice President, General Counsel and Secretary

               with a copy to:

               Skadden, Arps, Slate, Meagher &
                Flom LLP
               Four Times Square
               New York, New York 10036
               Att’n: Jay M. Goffman
                      J. Eric Ivester

               – and –

               Skadden, Arps, Slate, Meagher &
                 Flom LLP
               155 North Wacker Drive, Suite 2700
               Chicago, Illinois 60606
               Att’n: James J. Mazza, Jr.
                      Louis S. Chiappetta

               – and –

               Skadden, Arps, Slate, Meagher &
                 Flom LLP
               One Rodney Square
               P.O. Box 636
               Wilmington, Delaware 19899
               Att’n: Anthony W. Clark


               If to the Replacement DIP Agent or Original DIP Agent:

               White & Case LLP
               1155 Avenue of the Americas
               New York, New York 10036
               Att’n: Scott Greissman
                      Elizabeth Feld




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                If to the Tranche B Lenders/Steering Committee:

                Akin Gump Strauss Hauer & Feld LLP
                One Bryant Park
                Bank of America Tower
                New York, New York 10036
                Att’n: Arik Preis
                       Yochun Katie Lee

                If to the Office of the United States Trustee:

                Office of the United States Trustee for the Southern District of New York
                U.S. Federal Office Building
                201 Varick Street, Suite 1006
                New York, New York 10014
                Att’n: Paul Schwartzberg

                If to the Creditors’ Committee:
                Weil, Gotshal & Manges LLP
                767 Fifth Avenue
                New York, New York 10153
                Att’n: Matt Barr
                        Jill Frizzley

                – and –

                Morrison & Foerester LLP
                250 West 55th Street
                New York, New York 10019
                Att’n: Elizabeth Sluder


                14.11 Term of Injunctions or Stays. Unless otherwise provided in the Plan or
 in the Confirmation Order, all injunctions or stays in effect in the Chapter 11 Cases pursuant to
 sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and existing
 on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the
 Confirmation Order) shall remain in full force and effect until the Effective Date. All injunctions
 or stays contained in the Plan or the Confirmation Order shall remain in full force and effect in
 accordance with their terms.

                 14.12 Governing Law. Unless a rule of law or procedure is supplied by federal
 law (including the Bankruptcy Code and Bankruptcy Rules) or unless otherwise specifically
 stated, the laws of the State of New York shall govern the construction and implementation of
 this Plan, any agreements, documents, and instruments executed in connection with this Plan
 (except as otherwise set forth in those agreements, in which case the governing law of such
 agreements shall control). Corporate governance matters shall be governed by the laws of the
 state of incorporation of the Reorganized Debtors.

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               14.13 Entire Agreement. Except as otherwise indicated, the Plan supersedes all
 previous and contemporaneous negotiations, promises, covenants, agreements, understandings,
 and representations on such subjects, all of which have become merged and integrated into the
 Plan.

                 14.14 Severability. If, prior to Confirmation, any term or provision of the Plan
 is held by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court shall
 have the power to alter and interpret such term or provision to make it valid or enforceable to the
 maximum extent practicable, consistent with the original purpose of the term or provision held to
 be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered
 or interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of
 the terms and provisions of the Plan will remain in full force and effect and will in no way be
 affected, impaired, or invalidated by such holding, alteration, or interpretation.             The
 Confirmation Order shall constitute a judicial determination and shall provide that each term and
 provision of the Plan, as it may have been altered or interpreted in accordance with the
 foregoing, is (a) valid and enforceable pursuant to its terms, (b) integral to the Plan and may not
 be deleted or modified without the Debtors’ consent, and (c) nonseverable and mutually
 dependent.

                14.15 No Waiver or Estoppel. Upon the Effective Date, each Holder of a
 Claim or Interest shall be deemed to have waived any right to assert that its Claim or Interest
 should be Allowed in a certain amount, in a certain priority, be secured, or not be subordinated
 by virtue of an agreement made with the Debtors and/or their counsel, the Creditors’ Committee
 and/or its counsel, or any other party, if such agreement was not disclosed in this Plan, the
 Disclosure Statement, or papers filed with the Bankruptcy Court.

                14.16 Conflicts. In the event that the provisions of the Disclosure Statement and
 the provisions of the Plan conflict, the terms of this Plan shall govern. In the event that the
 provisions of the Plan and the provisions of the Confirmation Order conflict, the terms of the
 Confirmation Order shall govern.

                                           ARTICLE XV

                                  SECOND LIEN LITIGATION

                Notwithstanding anything to the contrary that may be set forth (or may be
 construed or argued to be set forth) in this Plan, the Disclosure Statement, or the Confirmation
 Order, including, without limitation, in Articles 1, 4.1, 6.12, 10.9, 11.2, 11.4, 11.5, 11.6, and 11.7
 of this Plan:

                         (a)    The term “Second Lien Litigation” shall mean any and all direct
 (i.e., not derivative) Causes of Action held by the Holders of Second Lien Claims (or Tranche B
 Roll Up Loan Claims, if applicable), or their respective successors or assigns, against any non-
 debtor, third party (including without limitation, any directors and officers of the Debtors and
 any party that is not a “Released Party” under the Plan as set forth in clause (f) below) involved
 in, implicated by, or related to the entry into the documents or transactions giving rise to the
 Second Lien Loans and Second Lien Senior Notes. The Second Lien Litigation is being or, with

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 regard to certain potential defendants, will be prosecuted by, Kasowitz Benson Torres LLP (or
 any successor law firm).

                        (b)    Subject to clause (d) below, nothing in the Plan, Disclosure
 Statement or Confirmation Order shall prevent the Second Lien Lenders and the Second Lien
 Noteholders from asserting against (or collecting from) third parties in the Second Lien
 Litigation the full amount of any of their Tranche B Roll-Up Claims or Second Lien Claims, to
 the extent that such Claims do not receive a full recovery under this Plan.

                        (c)    None of the Second Lien Creditors shall provide a release under
 the Plan or otherwise to any current or potential defendants to the Second Lien Litigation (which
 includes, without limitation, the arrangers, agents, bookrunners, syndication agents, and
 underwriters of the Second Lien Loans and Second Lien Senior Notes, any of the Debtors’
 current and former principals, employees, agents, affiliates, financial advisors, attorneys,
 accountants, investment bankers, consultants, representatives and other professionals) under this
 Plan, the Confirmation Order, or the Disclosure Statement for purposes of the Second Lien
 Litigation.

                       (d)     Nothing in the Plan, Disclosure Statement or Confirmation Order
 shall impair any defenses, claims, counterclaims, or rights that any third parties (which, for the
 avoidance of doubt, also includes the Holders of Second Lien Claims or Tranche B Roll-Up
 Loan Claims, if applicable) may have, and such defenses, claims, counterclaims, or rights
 (including, without limitation, any rights to seek indemnity, and any rights to seek setoff or
 recoupment, under any contract or agreement, or under applicable law or equity) with respect to
 the Second Lien Litigation (and any defenses thereto) are preserved and not impaired.

                        (e)     For the avoidance of doubt, the exculpatory and limitation of
 liability provisions set forth in Article 11.7 of this Plan shall not apply to the Second Lien
 Litigation.

                        (f)     None of the current or potential defendants (which includes,
 without limitation, the arrangers, agents, bookrunners, syndication agents, and underwriters of
 the Second Lien Loans and Second Lien Senior Notes, any of the Debtors’ current and former
 principals, employees, agents, affiliates, financial advisors, attorneys, accountants, investment
 bankers, consultants, representatives and other professionals) to the Second Lien Litigation shall
 be deemed “Released Parties” under Article 11.6 of this Plan or the Disclosure Statement for
 purposes of the Second Lien Litigation. For the avoidance of doubt, (x) nothing in this Article
 XV shall limit, impair, abridge, or otherwise affect Article 11.5 of this Plan (Release by Debtors)
 and (y) the Second Lien Senior Notes Indenture Trustee and the Second Lien Collateral Trustee
 shall not be defendants to the Second Lien Litigation.




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 Dated: June 12, 2017

                                                       Respectfully submitted,

                                                       SUNEDISON, INC. AND ITS AFFILIATE
                                                       DEBTORS


                                                       By: /s/ John S. Dubel
                                                       Name: John S. Dubel
                                                       Title: Chief Executive Officer of
                                                       SunEdison, Inc. and Chief Restructuring
                                                       Officer of all Debtors




                 First Amended Joint Plan of Reorganization of SunEdison, Inc., et al.
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                                 Exhibit 6.1
                      UCC/BOKF Plan Settlement Term Sheet
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       TERM SHEET FOR SETTLEMENT AMONG DEBTORS, TRANCHE B
     ROLL UP LENDERS/STEERING COMMITTEE OF PREPETITION SECOND
  LIEN LENDERS AND NOTEHOLDERS (THE “AD HOC GROUP”), THE OFFICIAL
 COMMITTEE OF UNSECURED CREDITORS (THE “COMMITTEE”), AND BANK OF
                       OKLAHOMA, N.A. (“BOKF”)

 THIS TERM SHEET SETS FORTH THE MATERIAL TERMS OF THE SETTLEMENT
 RESULTING FROM MEDIATION IN THE CHAPTER 11 CASES OF SUNEDISON, INC. AND
 CERTAIN OF ITS AFFILIATES AS DEBTORS AND DEBTORS IN POSSESSION AND IS
 SUBJECT IN ALL RESPECTS TO THE NEGOTIATION, EXECUTION, AND DELIVERY OF
 THE CHAPTER 11 PLAN AND RELATED DOCUMENTS CONSISTENT WITH THE TERMS
 HEREOF AND, AS TO THE DEBTORS, APPROVAL OF THE COURT. TO THE MAXIMUM
 EXTENT PERMITTED UNDER APPLICABLE LAW, THIS TERM SHEET IS INTENDED TO
 BE ENTITLED TO THE PROTECTIONS OF RULE 408 OF THE FEDERAL RULES OF
 EVIDENCE AND ANY OTHER APPLICABLE STATUTES OR DOCTRINES PROTECTING
 THE USE OR DISCLOSURE OF CONFIDENTIAL INFORMATION AND INFORMATION
 EXCHANGED IN THE CONTEXT OF SETTLEMENT DISCUSSIONS, INCLUDING
 MEDIATION PRIVILEGE. FURTHER, NOTHING IN THIS TERM SHEET SHALL BE AN
 ADMISSION OF FACT OR LIABILITY BY THE DEBTORS, THE AD HOC GROUP, THE
 COMMITTEE, ANY INDIVIDUAL MEMBER OF THE COMMITTEE, OR BOKF. THIS TERM
 SHEET IS NOT AN OFFER OR A SOLICITATION WITH RESPECT TO ANY SECURITIES.
 ANY SUCH OFFER OR SOLICITATION WILL COMPLY WITH ALL APPLICABLE
 SECURITIES LAWS.



Parties                   Debtors: SunEdison, Inc. (“SUNE”); SunEdison DG, LLC; SUNE Wind
                          Holdings, Inc.; SUNE Hawaii Solar Holdings, LLC; First Wind Solar
                          Portfolio, LLC; First Wind California Holdings, LLC; SunEdison Holdings
                          Corporation; SunEdison Utility Holdings, Inc.; SunEdison International, Inc.;
                          SUNE ML 1, LLC; MEMC Pasadena, Inc.; Solaicx; SunEdison Contracting,
                          LLC; NVT, LLC; NVT Licenses, LLC; Team-Solar, Inc.; SunEdison Canada,
                          LLC (6287); Enflex Corporation; Fotowatio Renewable Ventures, Inc.; Silver
                          Ridge Power Holdings, LLC; SunEdison International, LLC; Sun Edison LLC;
                          SunEdison Products Singapore Pte. Ltd.; SunEdison Residential Services,
                          LLC; PVT Solar, Inc.; SEV Merger Sub Inc.; Sunflower Renewable Holdings
                          1, LLC; Blue Sky West Capital, LLC; First Wind Oakfield Portfolio, LLC;
                          First Wind Panhandle Holdings III, LLC; DSP Renewables, LLC; Hancock
                          Renewables Holdings, LLC; EverStream HoldCo Fund I, LLC; Buckthorn
                          Renewables Holdings, LLC; Greenmountain Wind Holdings, LLC;
                          Rattlesnake Flat Holdings, LLC; Somerset Wind Holdings, LLC; SunE
                          Waiawa Holdings, LLC; SunE MN Development, LLC; SunE MN
                          Development Holdings, LLC; SunE Minnesota Holdings, LLC; TerraForm
                          Private Holdings, LLC; SunEdison Products, LLC; Hudson Energy Solar
                          Corporation; SunE REIT-D PR, LLC; First Wind Energy, LLC; First Wind
                          Holdings, LLC; Vaughn Wind, LLC; Maine Wind Holdings, LLC; SunEdison
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                                       International Construction, LLC; and EchoFirst Finance Co., LLC
                                       (collectively, the “Debtors”)1 as debtors in possession in the cases filed under
                                       chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for
                                       the Southern District of New York (the “Bankruptcy Court”).
                                       Ad Hoc Group: The Tranche B Roll Up Lenders/Steering Committee of
                                       Prepetition Second Lien Lenders and Noteholders (the “Ad Hoc Group”)2.
                                       Committee: The Official Committee of Unsecured Creditors appointed in the
                                       Debtors’ chapter 11 cases (the “Committee”).3
                                       BOKF: Bank of Oklahoma, N.A., in its capacity as indenture trustee for the
                                       Debtors’ Convertible Senior Notes pursuant to the Convertible Senior Notes
                                       Indenture, and not in its capacity as a member of the Committee.
Plan/                                 As soon as reasonably practicable, the Debtors shall file an amended Plan (in
Disclosure Statement                  such form, the “Amended Plan”)4 and amended Disclosure Statement (the
                                      “Amended Disclosure Statement”) (both in form and substance acceptable to
                                      the Ad Hoc Group and the Committee) consistent with the terms of this Term
                                      Sheet and any additional definitive documentation to effectuate the
                                      transactions contemplated by this settlement including, without limitation, the
                                      GUC/Litigation Trust Agreement (the “Definitive Documentation”). In the
                                      event of any inconsistency between the terms of the Amended Plan and/or the
                                      Amended Disclosure Statement and this Term Sheet, the terms of this Term
                                      Sheet shall govern. The Amended Plan shall serve as the Debtors’ motion to
                                      approve the settlement contained in this Term Sheet.
                                      The Amended Plan shall include, among other things, removing unsecured
                                      creditors’ right to share in, participate in or receive (in any form or manner)
                                      (a) the Rights Offering, (b) TERP Stock, (c) Reinstated Second Lien Claims,
                                      and (d) Equity in Reorganized SunEdison.
                                      The Amended Disclosure Statement shall include the Committee’s support for
                                      the Amended Plan, in a form and manner to be agreed by the Committee, the
                                      Debtors, and the Ad Hoc Group.
                                      The Amended Plan shall provide for a single class of general unsecured
                                      creditors.5 The Amended Plan shall provide for distributions from the


 1
  If any entities become Debtors after May 16, 2017, they shall be deemed to be part of this settlement as part of the
 defined term “Debtors”.
 2
  Capitalized terms not defined herein shall have the meaning ascribed to them in the Joint Plan of Reorganization of
 SunEdison, Inc. and Its Debtor Affiliates [D.I. 3218] (the “Plan”).
 3
   For the avoidance of doubt, the terms of this agreement shall apply solely to the Committee in its capacity as such,
 and, with the exception of BOKF’s obligations hereunder, shall not apply to any member of the Committee in its
 individual capacity.
 4
   Those portions of the Amended Plan that affect the Committee or any general unsecured creditors shall not be
 further amended or supplemented without the Committee’s reasonable consent. If the Amended Plan is further
 amended or supplemented with the Committee’s consent, such plan shall also constitute an “Amended Plan” under
 this Term Sheet.
 5
  The deficiency claim held by the Second Lien Lenders and Noteholders shall not be part of the class of general
 unsecured creditors, and holders of such deficiency claims shall not be entitled to receive any interests in the

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                                       GUC/Litigation Trust to general unsecured creditors on a Pro Rata basis
                                       without regard to Debtors. In other words, "Pro Rata" (for these purposes)
                                       shall be determined with the denominator equal to all allowed unsecured
                                       claims against all Debtors (other than the deficiency claim held by the Second
                                       Lien Lenders and Noteholders) and the numerator equal to the amount of a
                                       particular unsecured creditor's claim (other than the deficiency claim held by
                                       the Second Lien Lenders and Noteholders); provided, however, the Debtors
                                       reserve all rights to direct the voting agent under the Amended Plan to process
                                       and tabulate ballots for general unsecured creditors on a Debtor-by-Debtor
                                       (i.e., sub-Class by sub-Class) basis or on an aggregate basis in their discretion,
                                       in consultation with the Ad Hoc Group and the Committee.
General Support Obligations/           Pending litigation (Committee and BOKF): All pending litigation that has been
Pending                                commenced by the Committee or BOKF (i.e., the First and Second Lien
Litigation/ Future                     Litigation Adversary Proceeding, the OID Claim Objection, and the objections
Litigation                             to the YieldCo 9019 Settlement and the Allocation contained therein)6 shall be
                                       held in abeyance, and no further work (i.e., discovery, pleadings, etc.) shall be
                                       done on any such litigation, pending approval of the settlement contained
                                       herein (the “Settlement”) and the Plan. If the Settlement is not approved or the
                                       Amended Plan is not confirmed and the transactions contemplated therein are
                                       not consummated, all parties will revert to the status quo ante (except with
                                       regard to the YieldCo 9019 Settlement solely to the extent as set forth herein).
                                       If the Settlement is approved, the Amended Plan is confirmed, and the
                                       Amended Plan becomes effective, all pending litigation will be deemed
                                       withdrawn with prejudice (and, if necessary, parties will file with the Court any
                                       necessary withdrawal notices).
                                       Future/Threatened Litigation (Committee): The Committee will not take any
                                       actions or file any pleadings inconsistent with this Term Sheet or that would
                                       have the effect of modifying the Settlement, and so long as the Amended Plan
                                       (including any amendments or supplements thereto) and the other Definitive
                                       Documentation reflects the Settlement, the Committee will support the
                                       Amended Disclosure Statement and the Amended Plan7.
                                       Committee Support: With regard to the Committee’s support of the Chapter 11
                                       Cases and the Amended Plan, subject to the Committee’s fiduciary duties8, the

 GUC/Litigation Trust on account of such deficiency claims other than the Class B Interests on the Effective Date of
 the Plan.
 6
  Further explanation regarding the objections of the Committee and BOKF to the Yieldco 9019 Settlement and the
 Allocation contained therein are addressed below under the section entitled “Relation to Pending Motions: Equity
 Commitment Agreement and YieldCo Settlement”.
 7
  For the avoidance of doubt, this Settlement settles any and all issues that may be in dispute (either currently or
 pending or that could be commenced in the future) regarding Annex II of the Replacement DIP Facility Order
 (Docket No. 2880).
 8
   For the avoidance of doubt, if, prior to the Confirmation Date, the Committee, in the good faith exercise of its
 fiduciary duties (as advised by counsel), no longer supports this Settlement or breaches any of its support or other
 obligations contained herein, all other parties may terminate their obligations hereunder. If the Ad Hoc Group or the
 Debtors breach any of their support or obligations contained herein, the Committee may terminate its obligations
 hereunder.


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                                      Committee will (a) support the Debtors in the prosecution of all pending and
                                      future motions filed by the Debtors to implement the Amended Plan and this
                                      Term Sheet and (b) actively support (which may include making filings in
                                      support of the Amended Plan and the Amended Disclosure Statement (and any
                                      item that is included in such Amended Plan or Amended Disclosure Statement,
                                      including the Rights Offering, the Equity Commitment Agreement, and the
                                      Treatment/Allowance of the Roll-Up Loans). Subsequent to the Confirmation
                                      Date, the Debtors shall meet and confer with the Committee with respect to
                                      actions that affect the amount of General Unsecured Claims and/or the assets
                                      that are to be transferred to the GUC/Litigation Trust. Prior to the
                                      Confirmation Date, the Committee reserves the right to object to such actions.
                                      Prior to the Effective Date, the Debtors shall not prosecute any objections to
                                      General Unsecured Claims without the consent of the Committee, which
                                      consent shall not be unreasonably withheld.9 After the Effective Date, the
                                      GUC/Litigation Trust Trustee shall have the sole discretion to object to proofs
                                      of claim and to prosecute claims objections.
                                      BOKF Agreement Not to Object: So long as the Committee supports the
                                      Amended Plan and Amended Disclosure Statement (and any item that is
                                      included in such Amended Plan or Amended Disclosure Statement, including
                                      the Rights Offering, the Equity Commitment Agreement, and the
                                      Treatment/Allowance of the Roll-Up Loans), BOKF will not object to the
                                      Amended Plan or Amended Disclosure Statement (and any item that is
                                      included in such Amended Plan or Amended Disclosure Statement, including
                                      the Rights Offering, the Equity Commitment Agreement, and the
                                      Treatment/Allowance of the Roll-Up Loans).
Relation to Pending Motions:          The hearing with regard to the Debtors’ Motion for Entry of an Order
Equity Commitment                     Authorizing and Approving (I)(A) Entry Into the Backstop Commitment Letter,
Agreement and                         (B) Equity Commitment Agreement, (C) Payment of Fees and Expenses and
YieldCo Settlement                    (II) The Rights Offering Procedures and Related Forms (Dkt. No. 2857] (the
                                      “ECA Motion”) shall occur on May 19, 2017 (as currently scheduled). The
                                      Committee shall support the ECA Motion and BOKF, as part of its agreement
                                      not to object to the Amended Plan, shall not object to the ECA Motion.
                                      The hearing with regard to the Debtors’ Motion to Authorize Debtors' Motion
                                      For Order Pursuant To Bankruptcy Code Sections 105, 362, 363(b), And
                                      365(a), Bankruptcy Rules 6004, 6006, And 9019, And Local Bankruptcy Rule
                                      6006-1 Authorizing And Approving Certain Settlement Agreements Among The
                                      Debtors And The YieldCos [Dkt. No. 2570] (the “YieldCo Settlement
                                      Motion”) shall occur on June 12, 2017 (as currently scheduled) or earlier, to
                                      the extent agreed to by the Court. The YieldCo Settlement Motion shall
                                      include the YieldCo Avoidance Allocation set forth below in the section
                                      entitled “GUC/Litigation Trust Assets”; the Committee shall support the
                                      YieldCo Settlement Motion (and the YieldCo Avoidance Allocation set forth
                                      below) and, as part of its agreement not to object to the Amended Plan, BOKF




 9
  For the avoidance of doubt, the Committee’s consent at all points herein is subject to the Committee’s fiduciary
 duties in these cases.


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                                    shall not oppose the YieldCo Settlement Motion (and the YieldCo Avoidance
                                    Allocation set forth below).10
                                    The orders (to the extent entered by the Bankruptcy Court) approving the ECA
                                    Motion and the Yieldco Settlement Motion shall both include a provision
                                    stating that to the extent the Settlement set forth in this Term Sheet (and/or the
                                    Amended Plan) is not approved (or confirmed), such orders are vacated (but
                                    solely, as it relates to the Yieldco Settlement Motion, with regard to the
                                    Allocation set forth therein) and all parties revert to the status quo ante with
                                    regard to both the ECA Motion and the Yieldco Settlement Motion (but solely,
                                    as it relates to the Yieldco Settlement Motion, with regard to the Allocation set
                                    forth therein).
GUC/Litigation Trust                The GUC/Litigation Trust shall be established on the Effective Date, and the
                                    GUC/Litigation Trust Assets or such portion of the GUC/Litigation Trust
                                    Assets as determined by the Committee/GUC/Litigation Trust Oversight Board
                                    shall be used to fund the activities of the GUC/Litigation Trust, including the
                                    prosecution of the GUC/Litigation Trust Causes of Action. For the avoidance
                                    of doubt, the GUC/Litigation Trust Initial Funding (other than the $2 million
                                    paid to BOKF as set forth herein in the section entitled “Committee
                                    Professional Fees Subject to Investigation / Prosecution Cap / BOKF Fees and
                                    Expenses”) shall be used to prosecute GUC/Litigation Trust Causes of Action
                                    and pay other expenses of the GUC/Litigation Trust; only after such expenses
                                    are paid in full may any excess be distributed to Holders of Class A Interests in
                                    the GUC/Litigation Trust.
                                    A GUC/Litigation Trust Trustee will be selected by the Committee to
                                    administer the GUC/Litigation Trust. All GUC/Litigation Trust governance
                                    issues shall be determined by the Committee including the composition of the
                                    GUC/Litigation Trust Oversight Board, and the GUC/Litigation Trust
                                    Agreement shall be included in the Plan Supplement to be filed in advance of
                                    the Confirmation Hearing.
                                    The GUC/Litigation Trust Trustee and the GUC/Litigation Trust Oversight
                                    Board shall have the authority to retain any advisors for the purpose of
                                    carrying out their respective duties under the GUC/Litigation Trust
                                    Agreement. The GUC/Litigation Trust Trustee shall file a notice
                                    (summarizing the key terms of such retention, including the economic terms
                                    thereof) regarding the proposed retention of any such advisors on a
                                    contingency fee basis (other than the GUC/Litigation Trust Trustee) (each such
                                    notice, a “Contingency Fee Advisor Retention Notice”) on the docket of the
                                    Bankruptcy Court.
                                    Class A Interests in the GUC/Litigation Trust shall be distributed to Holders of
                                    Allowed General Unsecured Claims, on a pro rata basis and Class B Interests
                                    in the GUC/Litigation Trust shall be distributed to Holders of Second Lien
                                    Claims on a pro rata basis, pursuant to the terms of this Settlement.


 10
   All references herein to the Committee’s support of the Yieldco Settlement Motion (and BOKF’s agreement not to
 object to such motion) shall apply, mutatis mutandis, to the Debtors’ Motion for Orders Approving the Debtors’
 Performance Under TERP VSA, the TERP IDR Transfer Agreement, and the GLBL VSA in Connection with the
 Yieldco Merger [Dkt. No. 2580].


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                          Holders of Class B Interests in the GUC/Litigation Trust shall only be entitled
                          to the following:
                             (a) forty-eight percent (48%) of the Additional Net Avoidance Action
                                 Proceeds (as defined below); provided, that, the GUC/Litigation Trust
                                 Agreement shall provide that the GUC/Litigation Trust Agreement
                                 may not be amended to change the distributions set forth in this clause
                                 (a) without the consent of 75% of the Holders (in amount of Class B
                                 Interests held, not number of Holders) of the Class B Interests in the
                                 GUC/Litigation Trust and the requisite consent of the Holders of the
                                 Class A Interests in the GUC/Litigation Trust in accordance with the
                                 GUC/Litigation Trust Agreement;
                             (b) delivery of the GUC Litigation Trust Reports (as defined below);
                             (c) following the filing of any Contingency Fee Advisor Retention Notice,
                                 at the request of any of the holders of Class B Interests (or their
                                 advisor at the instruction of a holder) the GUC/Litigation Trust Trustee
                                 will provide additional information regarding the proposed
                                 contingency fee engagement (including the actual engagement letter
                                 on a confidential basis, if so requested). Holders of Class B Interests
                                 (or their advisors at the instruction of a holder) shall have ten (10)
                                 Business Days from the date of the filing of the Contingency Fee
                                 Advisor Retention Notice to file with the Bankruptcy Court a pleading
                                 seeking to prohibit such retention on the grounds that such retention is
                                 not consistent with the purpose of this Settlement Agreement because
                                 the engagement does not provide a sufficient incentive for such
                                 contingency fee advisor to procure Additional Net Avoidance Action
                                 Proceeds, and the GUC/Litigation Trust, GUC Litigation Trust
                                 Trustee, GUC Litigation Trust Oversight Board, or the Committee may
                                 oppose such pleading (but solely with respect to such issue), and the
                                 Bankruptcy Court shall retain jurisdiction to settle such dispute.
                             (d) enforcement rights with regard to any and all of the above rights (and
                                 clause (e) below) (as well as the fiduciary duties owed to all holders of
                                 GUC/Litigation Trust Interests by the GUC/Litigation Trust Trustee
                                 and the GUC/Litigation Trust Oversight Board as set forth below); and
                             (e) reasonable consent rights with regard to any modifications,
                                 amendments, or supplements of the GUC/Litigation Trust Agreement
                                 that affect (a) through (d) above.
                          The GUC/Litigation Trust Agreement shall be drafted by the Committee’s
                          Professionals and shall be in form and substance acceptable to the Committee
                          and reasonably acceptable to the Debtors. Any provisions of the
                          GUC/Litigation Trust Agreement relating to (a) through (e) above shall be in
                          form and substance reasonably acceptable to the Ad Hoc Group (or its
                          attorneys).
                          The GUC/Litigation Trust Trustee and the GUC/Litigation Trust Oversight
                          Board shall owe fiduciary duties to all holders of Class A and Class B Interests
                          in the GUC/Litigation Trust.
                          The Debtors or the Reorganized Debtors, as the case may be, will cooperate
                          with the Committee and its Professionals in relation to the GUC/Litigation

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                              Trust’s prosecution of Avoidance Actions and claims objections, on the terms
                              set forth on Annex 1 hereto. To that end, and consistent with Annex 1, on the
                              Effective Date, the GUC/Litigation Trust and Reorganized SunEdison will
                              enter into an agreement (the “Transition Services Agreement”) pursuant to
                              which Reorganized SunEdison will provide services, which may include
                              personnel, systems, and access to books and records, to the GUC/Litigation
                              Trust in connection with the administration of the GUC/Litigation Trust
                              Assets, including claims administration and the prosecution of the
                              GUC/Litigation Trust Causes of Action. The Transition Services Agreement
                              shall include customary indemnification and limitations of liability to
                              Reorganized SunEdison and its representatives that provide services to the
                              GUC/Litigation Trust, provided, however, that the indemnification shall
                              exclude any liability of the GUC/Litigation Trust for any claims relating to the
                              gross negligence or willful misconduct of Reorganized SunEdison.
GUC/Litigation Trust Assets   On the date the Amended Plan becomes effective (the “Effective Date”), the
                              Debtors shall transfer to the GUC/Litigation trust (the “GUC/Litigation
                              Trust”) for the benefit the Holders of General Unsecured Claims (except as set
                              forth herein under the heading “Avoidance Action Proceeds”), certain assets
                              free and clear of any liens, claims or interests, including:
                                     $7.5 million in Cash on account of the initial funding for the
                                      GUC/Litigation Trust as contemplated by the Committee Settlement
                                      annexed to the Original DIP Facility Order and the Replacement DIP
                                      Facility Order (the “GUC/Litigation Trust Initial Funding”);
                                     all proceeds realized from the settlement on account of proceeds
                                      allocable from the D&O Insurance to certain estate Causes of Action
                                      against the Debtors’ current or former directors or officers, which are
                                      expected to be $32 million in Cash (the “D&O Insurance Proceeds”);
                                     $18.0 million in Cash on account of the settlement of certain
                                      Avoidance Actions in connection with the YieldCo Settlement Motion
                                      (the “YieldCo Avoidance Allocation”);
                                     At least $5.0 million in Cash on account of Professional Fee
                                      Reductions (as explained below in the section entitled “Voluntary
                                      Professional Fee Reductions”) (the “Voluntary Professional Fee
                                      Reduction Amount”), as well as all additional Voluntary Professional
                                      Fee Reductions that exceed the Voluntary Professional Fee Reduction
                                      Amount; and
                                     all Causes of Action, including all estate Avoidance Actions (other
                                      than Avoidance Actions against the Yieldcos, the Prepetition First Lien
                                      Lenders, and the Second Lien Lenders (solely in their capacity as
                                      lenders) and Noteholders), to the extent such Causes of Action are not
                                      released, or settled with the consent of the Committee, pursuant to
                                      Article 11.5 of the Plan or released or settled pursuant to an order of
                                      the Bankruptcy Court (collectively, the “GUC/Litigation Trust
                                      Causes of Action”, and together with the GUC/Litigation Trust Initial
                                      Funding, the D&O Insurance Proceeds, the YieldCo Avoidance
                                      Allocation, and all Voluntary Professional Fee Reductions, the
                                      “GUC/Litigation Trust Assets”), subject to a sharing mechanism


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                                     with respect to Avoidance Actions set forth in the section below
                                     entitled “Avoidance Actions Proceeds”.
Avoidance Actions Proceeds   With respect to any proceeds recovered by the GUC/Litigation Trust (or for the
                             benefit of unsecured creditors) on account of Avoidance Actions, net of fees
                             and expenses expended to prosecute such Avoidance Actions (including fees
                             paid on a contingency arrangement, any expenses of prosecuting the
                             GUC/Litigation Trust Causes of Action or administering the GUC/Litigation
                             Trust, including, without limitation, the costs associated with preparation of the
                             GUC/Litigation Trust Reports, all of which shall be deducted prior to any
                             distribution of Net Avoidance Action Proceeds), other than proceeds from
                             those Avoidance Actions against the YieldCos that are settled in connection
                             with the YieldCo Avoidance Allocation (the “Net Avoidance Actions
                             Proceeds”), whether such Net Avoidance Actions Proceeds are recovered
                             pursuant to the successful prosecution or settlement of such Avoidance
                             Actions:
                                    (i) The initial $63.0 million of Net Avoidance Action Proceeds
                                     recovered shall be distributed on a consolidated basis to Holders of
                                     Allowed General Unsecured Claims, other than the Holders of Second
                                     Lien Claims, on a pro rata basis; and
                                    (ii) Any Net Avoidance Actions Proceeds recovered that exceed $63.0
                                     million in the aggregate (the “Additional Net Avoidance Action
                                     Proceeds”) shall be distributed (a) fifty-two percent (52%) on a
                                     consolidated basis to Holders of Allowed General Unsecured Claims
                                     other than Second Lien Claims (i.e., to holders of Class A Interests in
                                     the GUC/Litigation Trust), on a pro rata basis and (b) forty-eight
                                     percent (48%) to Holders of Second Lien Claims or their
                                     representatives (i.e., to holders of the Class B Interests in the
                                     GUC/Litigation Trust) on a pro rata basis. Holders of Class B
                                     interests in the GUC/Litigation Trust (i.e., Holders of Second Lien
                                     Loans and Second Lien Senior Notes claims) shall have a “silent”
                                     interest in the GUC/Litigation Trust solely to the extent of the
                                     Additional Net Avoidance Action Proceeds and the other rights set
                                     forth in clauses (b) through (e) of the section above entitled
                                     “GUC/Litigation Trust” (i.e., they shall not, among other things,
                                     appoint the GUC/Litigation Trust Trustee or the GUC/Litigation Trust
                                     Oversight Board).
                             The GUC/Litigation Trust Trustee shall provide semi-annual reports (the
                             “GUC/Litigation Trust Reports”) to all holders of interests in the
                             GUC/Litigation Trust. The GUC/Litigation Trust Reports shall include,
                             among other things, descriptions in reasonable detail of all Net Avoidance
                             Actions Proceeds collected during the relevant quarter and all fees and
                             expenses expended in connection therewith. The Bankruptcy Court shall
                             retain jurisdiction to determine any disputes with respect to the
                             GUC/Litigation Trust (including the Net Avoidance Actions Proceeds),
                             including with respect to the distributions thereof as contemplated by this
                             section.




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Second Lien Claims’ Rights   Other than with respect to distributions on account of their Class B Interests in
Against D&O Insurance        the GUC/Litigation Trust in connection with Net Avoidance Action Proceeds,
Proceeds                     on the Effective Date, the Second Lien Lenders and Noteholders shall be
                             deemed to have waived all rights to any distribution of the GUC/Litigation
                             Trust Assets.
                             For the avoidance of doubt, this waiver shall also extend to any and all rights
                             of the Tranche B Roll-Up Lenders, the Second Lien Lenders or the Second
                             Lien Noteholders against the D&O Insurance Proceeds (as defined in the
                             section entitled “GUC/Litigation Trust Assets”); this waiver does not include
                             any waiver of any rights of the Second Lien Lenders and Noteholders with
                             regard to any director and officer insurance proceeds that Second Lien Lenders
                             and Noteholders may receive on account of their direct claims against the
                             Debtors’ current and former directors and officers, or any waiver of any rights
                             of the Second Lien Lenders and Noteholders with regard to the Second Lien
                             Litigation.
Tranche B Roll Up Lender     Notwithstanding any terms of the Original DIP Facility Order or the
Rights With Regard to        Replacement DIP Facility Order, on the Effective Date, the Tranche B Roll Up
D&O Insurance Proceeds       Lenders shall be deemed to have agreed to release any liens, claims or interests
                             in all assets transferred to the GUC/Litigation Trust in accordance with this
                             settlement, including the D&O Insurance Proceeds, and such assets shall not
                             secure the Tranche B Roll-Up Loans (as defined in the DIP Credit Agreement).
                             The D&O Proceeds shall not constitute adequate protection for the benefit of
                             the Existing DIP Lenders, the Replacement DIP Lenders or the Prepetition
                             Secured Parties.
Voluntary Professional Fee   Every Entity (collectively, the “Affected Professionals”) (a) retained in the
Reductions                   Chapter 11 Cases by separate Final Order pursuant to sections 327, 363, and
                             1103 of the Bankruptcy Code or otherwise; (b) awarded compensation and
                             reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) or
                             506(b) of the Bankruptcy Code; or (c) awarded compensation and
                             reimbursement pursuant to the Original DIP Facility Order or the Replacement
                             DIP Facility Order, will be asked to voluntarily reduce the aggregate amount of
                             its Professional Claims earned during the course of the chapter 11 cases in
                             order to assist in the funding of this settlement (the “Voluntary Professional
                             Fee Reductions”). It is a condition to the effectiveness of this settlement that
                             the Voluntary Professionals Fee Reductions equal at least $5.0 million.
                             The Ad Hoc Group will support the Debtors’ efforts to obtain Voluntary
                             Professional Fee Reductions from the Affected Professionals.
                             Prior to June 6, 2017, the Debtors shall establish a schedule (with the consent
                             of the Committee and the Ad Hoc Group, but which schedule shall be kept
                             confidential among the advisors to the Ad Hoc Group, the advisors to the
                             Committee and the members of the Committee) listing each Affected
                             Professional and the amount of its agreed-to Voluntary Professional Fee
                             Reduction, which shall have been agreed to by such Affected Professional as
                             of such date.
                             In the event an Affected Professional does not agree to a Voluntary
                             Professional Fee Reduction, such Affected Professional’s fees and expenses
                             will be subject to review and objection by a fee examiner to be appointed in

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                                 these cases (the “Fee Examiner”), whose fees and expenses will be deducted
                                 from the savings realized by the Fee Examiner. For the avoidance of doubt,
                                 the Fee Examiner may only receive compensation from any savings it realizes,
                                 and in no event will the Debtors, the Debtors’ estates, the Reorganized
                                 Debtors, the Second Lien Lenders or Second Lien Noteholders, or any other
                                 party incur any fees, costs, or expenses relating to the Fee Examiner or its
                                 work. If, as a result of the Fee Examiner’s recommendation, any fees are
                                 disallowed or reduced by the Court or fee reductions are agreed to by any
                                 Affected Professional per the Fee Examiner’s recommendation, then such
                                 amounts shall be transferred to the GUC/Litigation Trust for the Holders of
                                 General Unsecured Claims. The Fee Examiner will only be permitted to
                                 examine the fees of an Affected Professional who does not agree to a
                                 Voluntary Professional Fee Reduction.
                                 In the event the fees and expenses of an Affected Professional that has agreed
                                 to a Voluntary Professional Fee Reduction is subject to objection, any
                                 requested amounts that are disallowed shall be deemed credited to the
                                 Voluntary Reduction so that the Affected Professional will not receive a
                                 reduction of the amount payable to it unless the disallowed amount exceeds the
                                 Voluntary Professional Fee Reduction agreed to by such Affected Professional.
                                 The Voluntary Professional Fee Reduction Amount shall be funded into the
                                 GUC/Litigation Trust on the Effective Date. The Distribution Agent shall
                                 distribute to the GUC/Litigation Trust for the Holders of General Unsecured
                                 Claims, the aggregate amount of the Voluntary Professional Fee Reductions.
Committee Professional Fees  The Investigation/Prosecution Cap described in the Original DIP Facility Order
Subject to Investigation/    (and the Replacement DIP Facility Order) shall be deemed increased from
                             $175,000
Prosecution Cap / BOKF Fees and        to $2.25 million and the Investigation/Prosecution Cap shall be
                                Expenses
                             revised to expressly provide that such cap shall apply to both the investigation
                             and prosecution of claims against the Prepetition Secured Parties. For the
                             avoidance of doubt, the amount set forth in this paragraph shall be paid by the
                             Debtors’ estates and shall not reduce the amounts to be paid into the
                             GUC/Litigation Trust in accordance with this Term Sheet.
                                 The Committee agrees that the first $2 million of cash to be distributed from
                                 the GUC/Litigation Trust shall be distributed to BOKF as partial payment of
                                 its fees and expenses incurred in connection with these Chapter 11 Cases.
                                 Subject to the other provisions of this Term Sheet, the Committee
                                 Professionals reserve any and all rights to seek allowance and payment of any
                                 fees and expenses in connection with matters other than (a) fees and expenses
                                 subject to the Investigation/Prosecution Cap and (b) other than as already paid,
                                 fees and expenses related to GUC/Litigation Trust Causes of Action.




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Dissolution of Committee      The Amended Plan shall provide that the Committee shall be dissolved on the
                              Effective Date, and the members thereof (solely in their capacities as
                              Committee members) shall be released and discharged from all rights and
                              duties arising from, relating to, the Chapter 11 Cases, as well as exculpated
                              (solely in their capacities as Committee members) from any liability, claims or
                              causes of action in connection with these Chapter 11 Cases; provided,
                              however, that the Committee shall exist and it professionals shall continue to
                              be retained and entitled to reasonable compensation, without further order of
                              the Court, with respect to: (1) the preparation and prosecution of any final fee
                              applications of the Committee’s Court approved professionals and (2) all final
                              fee applications filed with the Bankruptcy Court.
Good Faith Attempts to        All professionals in the chapter 11 cases agree in good faith to minimize work
Reduce Costs                  going forward to reduce costs to estate, to the extent practicable. All parties
                              agree in good faith to work to confirm the Amended Plan (including the
                              Settlement) as soon as reasonably practicable.
Contribution of 2L Roll-Up    Zero (other than (a) the Voluntary Professional Fee Reductions, set forth
Lenders And Contribution of   above, and (b) the agreement regarding D&O Proceeds, as set forth above).
Prepetition 1L Lenders To
the Settlement
Reduction of TERP/GLBL        The YieldCos shall withdraw all general unsecured claims against the Debtors,
Claims                        subject to the right of TERP to assert up to one-half of the actual amount the
                              YieldCos ultimately are required to pay (and therefore have the right to assert
                              as a General Unsecured Claim) in connection with the Preserved DE Shaw
                              Unsecured Claim (as defined in the YieldCo Settlement Motion), capped at
                              one-half of $231 million, plus fees and interest.




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   Agreed and Accepted:


                                       WEIL, GOTSHAL & MANGES LLP


                                       By:

                                              Matthew S. Barr
                                              David J. Lender
                                              Jacqueline Marcus

                                              767 Fifth Avenue
                                              New York, New York 10153
                                              Telephone: (212) 310-8000
                                              Facsimile: (212) 310-8007

                                       Attorneys for Official Committee of Unsecured
                                       Creditors




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                                     Annex 1

                                Cooperation Terms




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 Prior to the Effective Date, the Debtors shall use commercially reasonable efforts to cooperate
 with the Creditors' Committee in connection with due diligence regarding the potential
 prosecution of GUC/Litigation Trust Causes of Action. As used herein, commercially
 reasonable efforts by the Debtors will include efforts by the Debtors and their advisors to: 1)
 continue to analyze potential ordinary course defenses for those vendors receiving payments
 within the 90 day period leading up to the filing date including analyzing historical accounts
 payable trends and payments made to material vendors during the one year period prior to the
 filing date; 2) continue work to identify additional potential avoidance actions; and 3) prepare a
 "datapack" with respect to this data and other data related to preferences that can be transitioned
 to the Committee / Liquidating Trust professionals. The fees and expenses incurred by the
 Committee's professionals from June 1, 2017 through the Plan Effective Date in connection with
 due diligence regarding the potential prosecution of GUC/Litigation Trust Causes of Action shall
 not exceed $350,000.


 Prior to the Effective Date, the Debtors shall use commercially reasonable efforts to prosecute
 customary objections to claims, including, without limitation, objections to late-filed claims,
 duplicative claims, amended or superseded claims or claims filed in the wrong case (the “Claims
 Reconciliation Process”). On the Effective Date, the GUC/Litigation Trust shall assume
 responsibility for the Claims Reconciliation Process, including with respect to the initiation or
 continuance of Claims Objection prosecution. Copies of the Debtors’ books and records that
 relate to claims objections shall be made available to the GUC/Litigation Trust promptly
 following the Effective Date.

 Following the Effective Date, the Reorganized Debtors shall use commercially reasonable efforts
 to cooperate with the GUC/Litigation Trust in connection with due diligence and other
 reasonable assistance regarding the prosecution of Claims Reconciliation Process and the
 GUC/Litigation Trust Causes of Action as may be reasonably requested by the GUC/Litigation
 Trust, including with respect to providing documents, evidence, and information. Following the
 Effective Date, if the actual, reasonable, and documented out-of-pocket costs and expenses of the
 Reorganized Debtors (including fees and expenses of outside third-parties and/or firms; but not
 including charges for salaried employees of the Reorganized Debtors) exceed $250,000 in the
 aggregate (the “Excess Expenses”), the GUC/Litigation Trust shall promptly reimburse the
 Reorganized Debtors for the Excess Expenses. The parties shall agree in writing to the scope of
 work and expected charges regarding requests by the GUC/Litigation Trust that are expected to
 result in the incurrence of out-of-pocket costs prior to the Reorganized Debtors’ performance of
 such tasks or incurrence of such costs and expenses. The GUC Litigation Trust Trustee and/or
 the GUC/Litigation Trust Oversight Board shall raise any disputes relating to a reimbursement
 request within thirty (30) days of receipt thereof, and the Bankruptcy Court shall resolve any
 such disputes that are not resolved among the parties.

 The GUC/Litigation Trust Trustee will seek to preserve and protect all applicable privileges and
 work-product relating to the Claims Reconciliation Process and the GUC/Litigation Trust Causes
 of Action, including but not limited to any attorney-client privilege or work-product privilege
 attaching to any documents or communications (whether written or oral). The GUC/Litigation

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 Trust Trustee's receipt of such information shall not waive any privileges and all such privileges
 are preserved. Material that is not directly related to the Claims Reconciliation Process or the
 GUC/Litigation Trust Causes of Action will be redacted and/or not disclosed to the
 GUC/Litigation Trust.




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                                   EXHIBIT B

                               Financial Projections
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        CONSOLIDATED FINANCIAL PROJECTIONS OF DEBTORS AND NON-DEBTOR
                                SUBSIDIARIES

 As further discussed in Article VII of this Disclosure Statement, the Debtors (together with their non-Debtor affiliates, the
 "Company") believe the Plan meets the feasibility requirement set forth in section 1129(a)(11) of the Bankruptcy Code, as
 Confirmation is not likely to be followed by liquidation or the need for further financial reorganization of the Reorganized
 Debtors. In connection with developing the Plan, and for purposes of determining whether the Plan satisfies feasibility
 standards, the Debtors’ management with the assistance of their advisors, have, through the development of consolidated
 financial projections for the Debtors and non-Debtor subsidiaries for the period covering the fourth quarter of 2017 through
 and including 2020 (such projections, the "Financial Projections" and, such period, the "Projection Period") as attached
 hereto as Exhibit B, analyzed the Reorganized Debtors’ ability to meet their obligations under the Plan and to maintain
 sufficient liquidity and capital resources to conduct their businesses. In general, as illustrated by the Financial Projections,
 the Debtors believe that the Reorganized Debtors will be viable. The Debtors believe that the Reorganized Debtors will
 have sufficient liquidity to fund obligations as they arise, thereby maintaining value. Accordingly, the Debtors believe the
 Plan satisfies the feasibility requirement of section 1129(a)(11) of the Bankruptcy Code. The Debtors prepared the
 Financial Projections in good faith, based upon estimates and assumptions made by the Debtors’ management.

 Scope of Projections

 The Financial Projections assume that the Plan will be consummated in accordance with its terms by the assumed Effective
 Date, September 30, 2017, except to the extent a later date is forecasted as set forth in these Financial Projections. Any
 significant delay in the assumed Effective Date of the Plan may have a significant negative impact on the operations and
 financial performance of the Debtors including, but not limited to, an increased risk in its ability to meet cash receipt
 forecasts and higher reorganization expenses. Additionally, the estimates and assumptions in the Financial Projections,
 while considered reasonable by management, may not be realized, and are inherently subject to uncertainties and
 contingencies. They also are based on factors such as general business, economic, regulatory, market, and financial
 conditions, all of which are difficult to predict and generally beyond the Debtors’ control. Because future events and
 circumstances may well differ from those assumed and unanticipated events or circumstances may occur, the Debtors
 expect that the actual results will be different from those contained in the Financial Projections and such differences may
 be material. No representations can be made as to the accuracy of the Financial Projections or the Reorganized Debtors’
 ability to achieve the projected results. Therefore, the Financial Projections may not be relied upon as a guaranty or other
 assurance of the actual results that will occur. The inclusion of the Financial Projections herein should not be regarded as
 an indication that the Debtors considered or consider the Financial Projections to reliably predict future performance. The
 Financial Projections are subjective in many respects, and thus are susceptible to interpretations and periodic revisions
 based on actual experience and recent developments. The Debtors do not intend to update or otherwise revise the Financial
 Projections to reflect the occurrence of future events, even in the event that assumptions underlying the Financial
 Projections are not borne out. As described in the Disclosure Statement and below, a variety of risk factors could affect the
 Reorganized Debtors’ financial results and must be considered. The Financial Projections should be read in conjunction
 with a review of the risk factors and the assumptions and qualifications set forth herein, including all relevant footnotes.

 The Financial Projections reflect the consolidated cash flow projections of SunEdison, Inc. (the “Cash Flow Projections”).
 The Financial Projections were not prepared with a view toward compliance with the published rules of the Securities and
 Exchange Commission or in Accordance with Generally Accepted Accounting Principles. In addition, the Financial
 Projections do not reflect the application of fresh start accounting. Any formal fresh start reporting adjustments that may
 be required in accordance with Accounting Standards Codification Topic 852 Reorganizations by Entities in
 Reorganization under the Bankruptcy Code will be made after the Debtors emerge from bankruptcy.

 The Financial Projections are “forward-looking statements” within the meaning of the Private Securities Litigation Reform
 Act of 1995. No representations or warranties, express or implied, are made as to the accuracy or reasonableness of any
 assumptions, estimates, projections or other forward-looking statements that have been based on any of the financial
 information, data, results and calculations referred to above. No representations or warranties, express or implied, are
 made as to information of a general economic nature or general industry nature.
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 Factors that could cause actual results to differ materially include, but are not limited to, the following risks:
      Third party risk, including, but not limited to, the risk related to government/regulatory actions that may impact
       the ability to transfer assets, or the value of asset purchase agreements or power purchase agreements;
      Delay of or inability to obtain public utility commission approval, necessary for certain power purchase
       agreements for certain projects;
      Changes to regulations and policies governing the electric utility industry, which may adversely affect the value
       of certain projects
      Reduction or elimination in the availability and / or size of government economic incentives for the solar
       industry;
      Legal, political, operational and other risks that could negatively affect project sales and cash repatriation in
       foreign jurisdictions where the Company maintains operations;
      Material events that impact the ability or willingness of buyers to close certain asset sale transactions or perform
       in accordance with associated purchase and sale agreements or other agreements;
      The development or performance of assets do not meet expected criteria; i.e., projected milestones are not
       achieved as forecasted adversely affecting the Company’s ability to collect on associated milestone payments;
      Inability to maintain or obtain trade terms from vendors and suppliers, which could lead to increased costs or
       increased working capital requirements;
      Credit risk of asset purchasers that negatively impact the financing required by such parties to close on projected
       asset sale transactions;
      Final tax refund calculations or timing of such refunds may vary from estimates contained in the Financial
       Projections;
      Unforeseen procedural issues preventing the Company from repatriating cash from foreign jurisdictions on the
       timeline originally projected;
      Transition Services Agreements between the Company and third parties related to the support for Yieldco entities
       may be modified if operational support levels requested by third parties vary from current assumptions;
      Extensive post-emergence litigation related to prepetition Claims and/or Plan implementation resulting in
       increased professional fees;
      Cost and timing of winding down legal entities differs from current assumptions; and
      The Plan may not be confirmed or may not be confirmed within the timeframe contemplated.


 KEY ASSUMPTIONS TO FINANCIAL PROJECTIONS

 Methodology

 The Reorganized Debtors prepared the Financial Projections of the Reorganized Debtors, including all segments related to
 the operations of the non-Debtor Affiliates. The Financial Projections assume the successful implementation of the Plan for
 the Reorganized Debtors. The Financial Projections reflect numerous assumptions, including various assumptions
 regarding the anticipated future performance of the Reorganized Debtors and their non-Debtor affiliates, industry
 performance, general business and economic conditions, and other matters, many of which are beyond the control of the
 Reorganized Debtors. Therefore, although the Financial Projections are presented with numerical specificity, the actual
 results achieved during the Projection Period will likely vary from the projected results, and such variances may be
 material.




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 The Financial Projections incorporate assumptions related to certain economic and business conditions for the Projection
 Period, including geopolitical and macroeconomic assumptions for jurisdictions in which the Reorganized Debtors and
 non-Debtor Affiliates operate.1

 Reorganized SUNE will emerge as an operating entity that will employ personnel and maintain systems and back-office
 capabilities reasonably necessary to administer and consummate assets held for sale, collect payment reimbursements from
 various entities after the sale, collect other receivables, collect earnouts associated with project milestones, and maximize
 recovery of Repatriated Cash and receivables. The Financial Projections contemplate that upon emergence, the
 Reorganized Debtors and their non-Debtor affiliates will retain the rights to receive earnouts, proceeds from asset sales,
 proceeds from other opportunities, and Repatriated Cash, and that the net proceeds of such assets will ultimately be
 transferred to Reorganized SUNE. The Debtors’ will retain the rights and interest in various assets at emergence. The
 Debtors believe that there is a degree of uncertainty in its ability to achieve the milestones for certain earnouts, collect on
 past due receivables, and monetize other assets. As result, the Debtors have estimated that the net cash flows from the
 assets that will be held by the Reorganized Debtors will approximate $84.2 million. The below schedule is a description of
 the assets that will be held by the Reorganized Debtors at its emergence from chapter 11.

 Assets held by Reorganized Debtors:

 Accounts Receivable - Residential

 Asia – Asset Sales & Earnouts

 International Tax Refunds

 LATAM Asset Sales & Earnouts

 Minority Equity Investments

 North America C&I Earnouts

 North America Utility Earnouts

 Solar Materials Earnouts

 In addition, Reorganized SUNE will maintain the obligations for accrued administrative expenses, general operating
 expenses, and equity financing. Reorganized SUNE is expected to be managed by a chief executive officer, supported by a
 limited staff of full-time employees and professional advisors, and governed by a Board of Directors. Reorganized SUNE
 will also provide the necessary corporate functions to support any ongoing activity of its Affiliates and to wind down
 business units, as necessary. These functions include accounting, tax, legal, and finance functions. The Financial
 Projections reflect the consummated sale of the Solar Materials platform, the Commercial and Industrial platform and
 various portfolios, various North American utility assets, the Latin America platform, the Global Asset Management
 (“GAM”) business unit, and the ongoing wind-down of the remaining business units. In addition, the Financial Projections
 reflect the consummation of (i) the Jointly Supported Transactions resulting in the cash sale of Terraform Global (“GLBL”)
 and the sponsorship of TerraForm Power, Inc. (“TERP”) by Brookfield Asset Management, Inc., as announced on March 7,
 2017 and (ii) the Rights Offering. Reorganized SUNE anticipates having certain transition service agreements with TERP
 and GLBL: (1) pursuant to a letter agreement, SUNE will provide for the orderly transition of employees who provide asset
 management and operating and maintenance services from the Company to TERP as well as the transition of service
 responsibilities performed by such employees; and (2) under a corporate transition services agreement, SUNE will provide
 TERP and GLBL with certain requested corporate and administrative services (as requested by Brookfield) for the


 1 The GUC/Litigation Trust will be established pursuant to the Plan for the benefit of Holders of General Unsecured Claims and seeded with $7.5 million.
   The GUC/Litigation Trust is not reflected in the Financial Projections. However, Reorganized SUNE anticipates having a transition service agreement
   with GUC/Litigation Trust under which Reorganized SUNE will provide ad hoc services as requested, which may include personnel, systems, and
   access to books and records.      The Debtors are in discussions with the Creditors’ Committee regarding how the Reorganized Debtors will be
   reimbursed for costs associated with services that may be required from Reorganized SUNE by the GUC/Litigation Trust in connection with the
   prosecution of Avoidance Actions and claims administration, among other services.




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 transition period provided thereunder, including information technology services, tax transition services, and human
 resources services.

 The Financial Projections assume that the Reorganized Debtors will raise emergence financing via (1) a new money rights
 offering (the “Rights Offering”) and (2) a direct purchase of New SUNE Common Stock and Continuing TERP Class A
 Shares (the “Direct Equity Commitment”) by certain parties that have committed to backstopping the Rights Offering. (the
 “Backstop Purchasers”)

 Proceeds from the Rights Offering and the Direct Equity Commitment, assumed in these Financial Projections to be $285
 million, will be used to (i) repay the outstanding balance of the Replacement DIP Facility, (ii) provide at least $5 million of
 liquidity pre-funding for Reorganized SUNE, (iii) pay administrative claims and (iv) pay certain priority, avoidance and
 allowed secured claims, as described in the Plan and Backstop Motion.

 Financial Projection Assumptions
 1.   Capital Structure
       The Financial Projections assume that (A) the Reorganized Debtors will conduct a new money
        Rights Offering for $213.75 million available to the Rights Holders and (B) the Backstop Purchasers
        will make the Direct Equity Commitment for $71.25 million.
       The Financial Projections contemplate Reinstated Second Lien Claims upon Emergence in an
        amount equal to the approximate value of the Earnout Assets, Repatriated Cash, Residual Assets,
        and any other of the debtors’ assets as of the Effective Date. As set forth in the terms and conditions
        attached as Exhibit 6.5 of the Plan, the Reinstated Second Lien Claims that are outstanding on the
        third anniversary of the Effective Date are mandatorily convertible into a maximum of fifty percent
        (50%) of New SUNE Common Stock (on a fully diluted basis).
 2.   Cash
       Cash reflected in the Cash Flow Projections is defined as unrestricted cash located in the United
        States.
       The initial cash amount of $5 million on the Cash Flow Projections is expected to be sufficient to
        fund general working capital for Reorganized SunEdison, Inc. post-emergence.
       Cash balances in the Financial Projections do not include ring-fenced cash, or other balances
        segregated for project-level purposes that cannot be commingled with funds used for general
        corporate purposes.
 3.   Cash held overseas
       Cash held overseas is the projected amount of cash that will be held in foreign jurisdictions at
        emergence.
       This amount is increased or decreased based on the Reorganized Debtors’ completion of asset sale
        transactions in foreign jurisdictions, ability to repatriate, and use of cash held overseas to pay foreign
        costs. This is reflected in the “Net Change in Foreign Cash” line of the Cash Flow Projections.
 4.   Escrow releases
       Escrow releases are releases of proceeds related to asset sales that are not contingent on performance
        or achievement of a milestone.
       Escrow Releases, in the Cash Flow Projections, are reflected as “asset sales” under “operating cash
        receipts” at the undiscounted expected future value of Net Proceeds.
 5.   Earnouts
       Earnouts are contractual obligations for buyers to provide incremental consideration to the company
        after the original asset sale closing based on the achievement of certain project milestones, such as
        obtaining formal notice to proceed (NTP) or reaching the commercial operations date (COD).



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       On the Cash Flow Projections, these are reflected under “operating cash receipts” at the
        undiscounted expected future value of Net Proceeds.
 6.   Opportunities
       Opportunities consist of cash inflows that are unrelated to prior or future asset sales. These include
        tax refunds and various reimbursements.
       In the Cash Flow Projections, these are reflected under “operating cash receipts” at the undiscounted
        expected future value of Net Proceeds.
 7.   Net change in foreign cash
       Net change in foreign cash is the overall increase or reduction in the cash held in foreign
        jurisdictions. This is portion of proceeds from asset sales, earnouts, or opportunities during a specific
        period that are trapped in foreign jurisdictions, less cash that is recovered or proceeds that are used
        to pay foreign expenses in the same jurisdiction.
       In the Cash Flow Projections, these are reflected under “operating cash receipts” at the undiscounted
        expected future value of Net Proceeds at time of cash inflow and expected recovery timeline.
 8.   Personnel payments
       Personnel payments are the projected payroll and benefits for the operations, legal, controllership,
        FP&A, IT, tax, HR, and administrative personnel that will be required to maintain the day-to-day
        operations for the reorganized company.
       In the Cash Flow Projections, these are reflected under “operating cash disbursements” at the
        undiscounted expected future amount at the time of payment.
 9.   Professional fees
       Professional fees include payments for the chief executive officer, quarterly board fees, legal and
        advisory services, and accounting and tax professionals.
       In the Cash Flow Projections, these are reflected under “operating cash disbursements” at the
        undiscounted expected future amount at the time of payment.
 10. Facilities payments
       Facilities payments are for the remaining temporary office spaces that will be necessary for the
        Reorganized Debtor to conduct its business.
       In the Cash Flow Projections, these are reflected under “operating cash disbursements” at the
        undiscounted expected future amount at the time of payment.
 11. Other payments
       Other payments consist of general non-payroll overhead for the Reorganized Debtor, including
        insurance, severance, purchased services, and other expenses required to support the ongoing
        operations.
      In the Cash Flow Projections, these are reflected under “operating cash disbursements” at the
        undiscounted expected future amount at the time of payment.
 12. Taxes
       The Financial Projections assume that the Reorganized Debtors’ will retain a portion of their
        accumulated net operating losses. Any such losses may be severely limited.          However, the
        Company does not anticipate any material income or gain from the disposition of remaining assets.
       Other taxes, such as payroll, property, transaction/transfer, and certain foreign tax obligations, are
        assumed to be paid in the normal course of operations or as required as part of asset sale
        transactions.




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                                   EXHIBIT C

                               Liquidation Analyses
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                                    EXHIBIT C


                                Liquidation Analysis




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                                           Liquidation Analysis

         A.    Introduction

         This liquidation analysis (the “Liquidation Analysis”) 1 was prepared by
  PricewaterhouseCoopers LLP (“PwC”) 2 with the assistance of the Debtors and their
  professionals, and estimates potential cash distributions to holders of allowed claims and
  interests in a hypothetical chapter 7 liquidation of all of the Debtors’ assets.

         The “best interests” test in section 1129(a)(7) of the Bankruptcy Code requires that the
  Bankruptcy Court find, as a condition to confirmation of the Plan, that each holder of a Claim
  or Interest in each Impaired Class: (i) has accepted the Plan; or (ii) will receive or retain under
  the Plan property of a value, as of the Effective Date, that is not less than the amount that such
  Person would receive if the Debtors were liquidated under chapter 7 of the Bankruptcy Code.
  To make these findings, the Bankruptcy Court must: (1) estimate the cash proceeds that a
  chapter 7 trustee would generate if each Debtors’ Chapter 11 Cases were converted to chapter
  7 cases and the assets of such Debtors’ estates were liquidated as of the Effective Date; (2)
  determine the distribution that each non-accepting holder of a Claim or Interest would receive
  from the net proceeds available for distribution under the priority scheme dictated in chapter 7;
  and (3) compare each holder’s estimated recovery under liquidation to the distribution under
  the Plan (the “Plan Recovery”) that such Holder would receive if the Plan were confirmed and
  consummated.3

          Based on the following hypothetical Liquidation Analysis, the Debtors (also referred to
  herein collectively as the “Company”) submit that because of, among other things, discounts
  to asset values and the incurrence of additional priority claims in chapter 7 if these cases were
  converted, holders of Impaired Claims will receive more value under the proposed Plan than
  in a liquidation scenario. The Plan thus satisfies the best interests test under section 1129(a)(7)
  of the Bankruptcy Code. The Debtors caution that many assumptions used herein are
  conservative and actual recoveries in a chapter 7 liquidation could be substantially less than
  recoveries set forth in this Liquidation Analysis.



  1
      Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the
      Debtors’ disclosure statement, as modified or amended (the “Disclosure Statement”).
  2
      PwC’s Business Recovery Services practice has extensive experience performing liquidation analyses in
      connection with Chapter 11 and Chapter 7 cases.
  3
      Contemporaneously herewith, the Debtors filed their First Amended Joint Plan of Reorganization (as
      amended, the “Plan”), which among other things, reflects the proposed global settlement, the material terms
      of which were announced on the record before the Court on May 16, 2017 (as documented by the final term
      sheet to be agreed to by the parties thereto, the “Global Settlement”), among the Debtors, the Committee,
      the Tranche B Roll Up Lenders/Steering Committee of Prepetition Second Lien Lenders and Noteholders,
      and BOKF N.A (“BOKF”). The Plan Recovery is based on the various agreements contained in the Global
      Settlement.

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         B.        Liquidation Analysis Overview – High Scenario and Low Scenario

          The hypothetical Liquidation Analysis assumes conversion of each of the Debtors’
  Chapter 11 Cases to chapter 7 liquidation cases on July 31, 2017 (the “Conversion Date”) and
  presents a recovery scenario on a debtor-by-debtor basis as set forth on Exhibit 1. On the
  Conversion Date, it is assumed that the Bankruptcy Court would appoint a chapter 7 trustee
  (the “Trustee”) to oversee the liquidation of the bankruptcy estates of the Debtors (the
  “Estates”). 4 The Liquidation Analysis is based on estimates of the Debtors’ assets and
  liabilities derived from the Debtors’ periodic financial reports and budgets, which are
  routinely provided to the Debtors’ constituents. While the Liquidation Analysis assumes a
  July 31, 2017 Conversion Date, estimated recoveries in a hypothetical chapter 7 liquidation
  are estimated as of the Effective Date, as required by the Bankruptcy Code, so that they can
  be compared to the projected recoveries under the Debtors’ proposed plan. 5

         The Liquidation Analysis is comprised of two alternative hypothetical scenarios: (a)
  the High Scenario (Transaction Approach), under which the Trustee pursues the value of the
  transactions between the YieldCos and Brookfield (the “YieldCo/Brookfield Transactions”),
  as well as the Debtors’ related settlements with the YieldCos; and (b) the Low Scenario
  (Litigation Approach), under which the Trustee pursues litigation against the YieldCos in
  lieu of pursuing the YieldCo/Brookfield Transactions and maintaining the YieldCo
  Settlement Agreements. These alternative scenarios demonstrate that projected recoveries
  under the proposed Plan meet or exceed those projected in a hypothetical chapter 7
  liquidation under either scenario.6

         Under both the High and Low Scenario, the Liquidation Analysis assumes that the
  Trustee will have access to approximately $7 million in funds escrowed for the benefit of
  unsecured creditors to administer the chapter 7 estates and to investigate and prosecute
  actions on behalf of the chapter 7 estates. 7 In addition, the Liquidation Analysis assumes that
  4
      Although the Liquidation Analysis assumes the appointment of a single Trustee, there is a possibility that
      more than one chapter 7 trustee is appointed given the various Debtor entities in these cases. Such
      additional trustees would likely increase chapter 7 costs and thus likely result in lower recoveries than those
      contained in this Liquidation Analysis. See, e.g. In re Adelphia Communications Corp., 368 B.R. 140, 254
      (Bankr. S.D.N.Y. 2007) (“If multiple trustees were appointed, for each of the affected Debtor groups, each
      would have to have its own counsel, with the associated costs.”).
  5
      See 11 U.S.C. § 1129(a)(7).
  6
      Holders of Interests will receive no distributions under either the High or Low Scenario.
  7
      Pursuant to Annex II to the original order approving the Debtors’ debtor-in-possession financing facility
      [Docket No. 523] (the “Original DIP Financing Order”) and reaffirmed in the new debtor-in-possession
      financing facility [Docket No. 2880] (the “New DIP Financing Order”), the Trustee would have access to
      approximately $6.7 million of Litigation Trust Funds that the Debtors have placed in escrow. The Trustee
      would also have access to the $250,000 set aside for administration of the chapter 7 estates. New DIP
      Financing Order ¶ 10(i). Under the New DIP Financing Order, General Unsecured Creditors would have
      the right to receive 10 percent of the aggregate net proceeds from any sale(s) of Non-Prepetition 1L/2L
      Obligors’ (as defined in the New DIP Financing Order) assets in excess of $175 million (such 10 percent,
      the “Non-Prepetition 1L/2L Obligor Carve-Out”). For the purposes of this Liquidation Analysis, the
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  the Debtors’ operations would cease immediately on the Conversion Date and that the
  Trustee would only have use of cash collateral in order to monetize residual encumbered
  assets, assuming an agreed to cash collateral budget by the secured lenders. 8 All cash on
  hand, less any agreed carve-out pursuant to a cash collateral budget, would be swept and
  used to pay down a portion of the Debtors’ replacement debtor-in-possession financing
  facility (the “DIP Financing Facility”). In the event that the Trustee does not receive use of
  cash collateral to liquidate remaining encumbered assets, the recoveries as estimated herein
  would be subject to further material discounts.

  High Scenario – Transaction Approach Assumptions

         Under the High Scenario, the Liquidation Analysis assumes that the
  YieldCo/Brookfield Transactions will be consummated by the Trustee 90 days after the
  Conversion Date. Additionally, under the High Scenario, the Debtors assume that the
  YieldCo Settlement Agreements remain intact, including the Debtors’ allocation of proceeds
  from the YieldCo/Brookfield Transactions to any potential avoidance actions that may be
  asserted against the YieldCos. The Global Settlement contemplates that the parties shall
  return to the status quo as existed prior to the settlement if the Global Settlement is not
  ultimately approved. Thus, the Liquidation Analysis contemplates recoveries based on the
  positions formerly asserted by the parties to the Global Settlement. 9 Accordingly, the value
  ascribed to the YieldCo avoidance actions in the High Scenario is net of all incremental costs
  associated with their prosecution and settlement resulting in $16.1 million attributed to
  recoveries on account of such avoidance. 10

           The High Scenario also assumes certain reductions in other asset values based on a
  number of factors, including: the Trustee’s lack of familiarity with the cases and the Debtors’
  assets; lower recoveries on account of third-party avoidance claims (that would be lower due
  to, among other things, a loss on institutional knowledge and lack of funding, which would
  require such avoidance claims to be prosecuted on a contingent fee basis); accrual of
  additional administrative costs and priority claims during the course of the chapter 7 cases;
  unpaid priority claims from the chapter 11 cases; loss of value from remaining sales in the
  pipeline caused by business discontinuity and loss of employee knowledge; and decreased
  ability to close certain pending and pipeline transactions and collection of earn-out

       Debtors assume that there is no recovery on account of the Non-Prepetition 1L/2L Obligor Carve-Out under
       either the High or Low Scenario.
  8
       There is no requirement that the secured lenders must consent to such use of cash collateral.
  9
       While the Liquidation Analysis does not discount the value of the YieldCo/Brookfield Transactions under
       the High Scenario, the Trustee will likely have difficulties in preserving the full amount of consideration to
       be received under the YieldCo/Brookfield Transactions and YieldCo Settlement Agreements given
       termination rights thereunder upon conversion to chapter 7 liquidation. See YieldCo Settlement Agreements,
       Exhibit B, § 8(vii); Exhibit C, § 8(vii), which, if terminated, would prevent consummation of the
       YieldCo/Brookfield Transactions.
  10
       Under the Global Settlement, recoveries for the YieldCo avoidance actions total $18 million.

                                                           4
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  proceeds.11 Moreover, holders of Second Lien Stub Claims (as defined below) will assert
  unsecured deficiency claims against each guarantor of the Second Lien Claims for the full
  balance of the Second Lien Stub Claims. Based on these reductions to value, recoveries
  under the High Scenario are less than recoveries under the Plan.

  Low Scenario – Litigation Approach Assumptions

          The Low Scenario assumes that the pending YieldCo/Brookfield Transactions will be
  terminated upon conversion to a chapter 7 liquidation leaving the Trustee to pursue litigation
  against the YieldCos versus a negotiated transactional solution. Under these circumstances,
  the Debtors believe there would be a severe deterioration in the value of the Estates’ equity
  interests in the YieldCos given the overhang of this litigation and unwillingness of buyers to
  acquire equity in the YieldCos without a global settlement with the YieldCos. 12 Accordingly,
  for the purposes of the Low Scenario, in evaluating its YieldCo equity interests, the Debtors
  have used the June 16, 2016 closing price of the TERP stock ($7.44 per share) and May 11,
  2016 closing price of the GLBL stock ($2.57), each of which represents the low postpetition
  share price for each respective YieldCo stock since the commencement of the Chapter 11
  Cases.13 Given the uncertainty into which the Estates will again plunge, it is reasonable to
  assume a trading price that reflects a similar postpetition uncertainty that the YieldCos faced
  without a defined sponsor immediately following the Petition Date.

          In addition, each YieldCo would be required to pay a break-up fee in connection with
  the termination of its respective Merger Agreement. While the Debtors will not be required
  themselves to pay any break-up fee, the YieldCos’ payment of their respective break-up fees
  would result in a significant reduction in value of the Debtors’ equity interests in the
  YieldCos.14 For purposes of the Low Scenario, the Liquidation Analysis assumes that the

  11
       See, e.g. In re Adelphia Communications Corp., 368 B.R. at 254–255 (considering, inter alia, the
       administrative costs of a chapter 7 trustee, the familiarity of the plan administrator with the debtor’s
       business, assets and/or liabilities in applying the best interest of the creditors test, and the likelihood that an
       independent trustee would adopt the underlying settlement).
  12
       See Declaration of Homer Parkhill in support of the YieldCo Settlement Agreements [Docket No. 2572] (the
       “Parkhill YieldCo Declaration”).
  13
       The market price for the YiedCo shares did not substantially increase postpetition until Brookfield was
       rumored (and eventually announced) its investment in the YieldCos. For example, on June 29, 2016,
       Brookfield filed a B-Form 13-D, revealing a substantial investment in TERP. The price of TERP jumped
       from $8.75 per share (June 28, 2016 closing price) to $10.34 per share (June 29, 2016 closing price).
  14
       If the YieldCo/Brookfield Transactions fail to consummate, a minimum break-up fee of $8 million will be
       due from GLBL and up to $17 million in expense reimbursement will be due from TERP. The amount of
       such break-up fees may increase if certain conditions are met – notably whether TERP or GLBL’s board has
       exercised its right in accordance with its fiduciary duties to change its recommendation to shareholders
       regarding the Proposed Merger, or whether an alternative transaction has been proposed prior to the event
       providing the termination right and a transaction occurs during a 12-month tail period. In such event, the
       break-up fees may reach up to $50 million for TERP and $30 million for GLBL, which equates to
       approximately 2.9% of the TERP equity value and 3.8% of the GLBL equity value.

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  discount to the Estates’ equity interests in the YieldCos to be approximately $342 million
  less than that to be realized from the YieldCo/Brookfield Transactions. 15

         Based on the reduction in value of the estates’ equity interests in the YieldCos, the
  Low Scenario further assumes that the Trustee abandons the estates’ equity interests in the
  YieldCos to the DIP Lenders, who then dispose of these assets at the aforementioned
  discount. As a result, the Tranche B Roll-Up Loan Claims are impaired under the Low
  Scenario and collect from D/O Insurance Proceeds that otherwise would be available to
  general unsecured creditors absent impairment of such Tranche B Roll-Up Loan Claims.16
  Moreover, with the Tranche B Roll-Up Loan Claims impaired, holders of Second Lien Stub
  Claims (as defined below) will assert unsecured deficiency claims against each guarantor of
  the Second Lien Claims for the full balance of the Second Lien Stub Claims. 17

          The Low Scenario also assumes that the Trustee would pursue litigation against the
  YieldCos on account of the avoidance actions, 18 which are then assumed to settle in
  approximately nine months. The Low Scenario assumes that such settlement would result in
  the waiver of all YieldCo general unsecured and administrative claims 19 and the recovery of
  avoidance actions against the YieldCos is $49.1 million.20 These recoveries are based on the
  allocation analysis 21 previously submitted by the Debtors in support of the YieldCo
  15
       Indeed, a chapter 7 conversion may result in even lower value of the Debtors’ equity interests in the
       YieldCos given buyers’ lack of interest in purchasing the Debtors’ YieldCo stock with the overhang of
       estate litigation against the YieldCos that was clearly articulated during the YieldCo joint marketing
       protocol. See Parkhill YieldCo Declaration ¶ 11.
  16
       New DIP Financing Order, Annex II.
  17
       As stated above, the Liquidation Analysis assumes the parties return to their positions as they existed prior
       to the Global Settlement. Based upon those positions, the Second Lien Stub Claims face pending challenges
       seeking, among other things, disallowance of original issue discount (“OID”) and avoidance of liens and
       subsidiary guarantees. Other than disallowance of a portion of OID, the Debtors have attributed a very low
       likelihood of success with respect to this litigation. Accordingly, this Liquidation Analysis assumes that
       approximately $18 million of the Second Lien Stub Claims related to OID would be disallowed under both
       the High and Low Scenario.
  18
       The Liquidation Analysis assumes that the Trustee would not have sufficient funds to pursue full litigation
       of the YieldCo Avoidance Actions and any litigation would need to be pursued on a contingency fee basis,
       which would further erode recoveries. Given that such litigation would be against well-funded defendants,
       it is unclear whether any attorney would accept such an engagement on a contingency fee basis.
  19
       The YieldCos have asserted approximately $3.0 billion of unsecured claims and $90 million of
       administrative claims (as of June 30, 2016). In the Low Scenario, if the YieldCos succeed in allowance of
       such claims, recoveries by holders of General Unsecured Claims will be significantly reduced. As described
       above, as a conservative assumption, the Debtors have excluded any recoveries to the YieldCos on account
       of such claims for purpose of this Liquidation Analysis.
  20
       The Low Scenario’s recovery assumes that there is a significant risk that GLBL would file for chapter 11
       protection to avoid the downside risk on the avoidance actions. If GLBL filed for chapter 11 protection the
       Estates’ ability to receive a recovery on account of their interest in GLBL equity would be impaired.
  21
       See Docket No. 2732.
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  Settlement Agreements, adjusted for administrative expenses and other factors, such as
  litigation expenses. The Debtors used the same gross number analysis that resulted in a net
  recovery of $16.1 million to the Estates on account of the YieldCo avoidance actions in the
  positions asserted prior to the Global Settlement (i.e., the assumptions included in the High
  Scenario). However, in the Low Scenario the estimated value of $49.1 million is a gross
  number and must be further reduced by other chapter 7 administration costs reflected
  elsewhere in the Liquidation Analysis in order to compare it to the recovery in the High
  Scenario.

          Consistent with the High Scenario, the Low Scenario assumes additional discounts in
  non-YieldCo asset sale proceeds and accrual of additional priority claims based on the
  factors noted above. Based on these factors, recoveries are significantly less under the Low
  Scenario than recoveries under the Plan.

  Plan Recoveries are Superior to Both the High Scenario and the Low Scenario

          The Liquidation Analysis was performed on a debtor-by-debtor basis and as set forth
  on Exhibit 1, the Liquidation Analysis shows that each holder of a Claim or Interest in each
  Impaired Class will receive or retain under the Plan property of a value, as of the Effective
  Date, that is not less than the amount that such Person would receive if the Debtors were
  liquidated under chapter 7 of the Bankruptcy Code under either the High or Low Scenario.
  The Exhibit 1 summary shows (i) what each Debtor listed as number 1 through number 10 is
  projected to recover under the Plan and/or either the High or Low Scenario, (ii) each Debtor
  listed as number 11 through number 13 is projected to have no recovery under the Plan
  and/or either the High or Low Scenario because there are no general unsecured claims
  asserted against these entities, and (iii) each Debtor listed as number 14 through number 51 is
  projected to have no recovery under either the High or Low Scenario because such entities
  do not have any unencumbered assets. For illustrative purposes only, below is as an overall
  summary of recoveries under the Plan, the High Scenario, and the Low Scenario.
        Recovery Sum m ary
                                                      POR                   Low                  High
        $ millions                 $ Claim        $         %           $         %           $        %
        DIP Term Loan                 530          530    100.0%         530    100.0%         530   100.0%
        Tranche B Roll Up             335          335    100.0%          85     25.4%         335   100.0%
        2L Stub*                   607 - 625        34      5.4%           4      0.7%          10     1.6%
        Allow ed Secured               3             3    100.0%           3    100.0%           3   100.0%
        Priority Claims                6             6    100.0%           6     92.1%           6    92.7%
        GUCs**                       4,692         131      2.8%          22      0.5%          31     0.7%
        Total Recovery                           1,040                   651                   915
        *2L Stub recoveries in the low scenario are solely on account of associated deficiency claims.
        **Total GUC Pool amounts in this table do not include Intercompany Claims; how ever, the table assumes
        that recoveries on account of Intercompany Claims are paid pari passu w ith General Unsecured Claims
        at each Debtor entity. See Section C.




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  C.       Claims

         The Liquidation Analysis is presented in terms of claims and assets recoveries. A
  summary of the Debtors’ claims and assets is described below. Where differing assumptions
  apply to claims and/or assets in the High or Low Scenario, it is noted; otherwise,
  assumptions in both scenarios are the same.

       1. DIP Carve Out Claims

          The highest priority claims in the Liquidation Analysis are carve out claims (the
  “Carve Out Claims”) under the New DIP Financing Order, which include (i) all Bankruptcy
  Court and U.S. Trustee fees, (ii) a $250,000 cap for the Trustee to administer the chapter 7
  cases, (iii) the Litigation Trust Funds, 22 and (iv) all Professional Fees that have been accrued
  and unpaid prior to the Conversion Date plus $3,000,000 for any fees incurred after the
  Conversion Date. The Liquidation Analysis assumes that these claims remain the same
  under either the High or Low Scenario.

       2. YieldCo Carve-Out Claims

          Pursuant to the New DIP Financing Order, to the extent that YieldCos can satisfy the
  requirements of section 503 of the Bankruptcy Code, up to $20 million of administrative
  claims has been carved out under the New DIP Financing Order (the “YieldCo Carve Out
  Claims”). The YieldCo Carve Out Claims are based on the Debtors’ alleged breach of
  support under the Master Services Agreement, including, but not limited to, logistical and
  employee support as well as support of GAM services. This Liquidation Analysis assumes
  that any YieldCo administrative claims will be waived under the High Scenario as result of
  the YieldCo/Brookfield Transactions being kept intact, and waived under the Low Scenario
  as a result of an ultimate settlement of any litigation between the Trustee and the YieldCos. 23

       3. DIP Financing Facility Claims

          The claims underlying the New Money Loan and Tranche B Roll-Up Loans (the
  “DIP Financing Facility Claims”) total approximately $865 million. The DIP Financing
  Facility Claims are secured by substantially all of the Debtors’ assets (excluding Avoidance
  Actions). Furthermore, the Tranche B Roll-Up Loans have a security interest in the D/O
  Insurance Proceeds and can collect from such proceeds in the event that other assets are not
  sufficient to satisfy the Tranche B Roll-Up Loans, which is the case under the Low Scenario.

  22
       Under the Original DIP Financing Order, $10 million was allocated to the Litigation Trust Funds, which
       would be reduced by funds expended by the Committee investigating or prosecuting estate claims. As of
       March 31, 2017, the Litigation Trust Funds are estimated to be approximately $6.7 million, which could
       further decrease on account of fees incurred, but not yet submitted, by Committee professionals on account
       of investigating or prosecuting estate claims.
  23
       In the event that the YieldCos assert valid and unwaived administrative claims, such claims may have a
       material impact to recoveries under the Liquidation Analysis.

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       4. Secured Claims

           The Debtors’ Secured Claims, which include the non-rolled up portion of the Second
  Lien Claims (“Second Lien Stub Claims”)24 are secured by a second lien on essentially all of
  the Debtors’ assets (excluding Avoidance Actions and D/O Insurance Proceeds), including
  security interests in all Intercompany Claims. 25 In addition, the Liquidation Analysis
  contemplates additional secured claims that have been asserted at certain Debtors on account
  of tax liens and are expected to be allowed.

       5. Other Chapter 11 Priority Claims

          The Debtors’ Other Chapter 11 Priority Claims include tax claims and other claims
  entitled to priority under section 507 of the Bankruptcy Code.

       6. Chapter 7 Administrative Claims and Wind-Down Costs

          Pursuant to section 726 of the Bankruptcy Code, the allowed administrative expenses
  incurred by the Trustee, including expenses associated with selling the Debtors’ assets,
  would be entitled to payment in full prior to any distributions to chapter 11 Administrative
  Claims and Other Priority Claims. The estimates used in the Liquidation Analysis for these
  expenses include estimates for operational expenses and certain legal, accounting and other
  professionals, as well as an assumed 3% fee payable to the Trustee based on the amount of
  distributed assets except for cash. It is assumed that chapter 7 administrative and priority
  claims, including but not limited to professional fees, and chapter 7 trustee fees are entitled
  to payment in full prior to any distribution to holders of junior claims and will be charged on
  a pro rata basis26 to encumbered and unencumbered assets.

       7. Other Chapter 11 Administrative Claims

         The Other Chapter 11 Administrative Claims represent accrued but unpaid
  administrative expenses from the Chapter 11 bankruptcy (other than Chapter 11 Professional
  Fees, which, as described above, are entitled to a higher priority under the “Carve-Out” to the
  New DIP Financing Order) and are primarily comprised of employee and other general

  24
       As noted above, the Liquidation Analysis assumes that approximately $18 million of the Second Lien Stub
       Claims related to OID would be disallowed under both the High and Low Scenario.
  25
       To the extent that the Second Lien Claims cannot be satisfied by the collateral securing such claims, the
       secured lenders holding such claims would be entitled to a general unsecured deficiency claim, which would
       increase under both the High and Low Scenario.
  26
       For example, if the Trustee liquidates an asset whose proceeds would be distributed 70% on behalf of
       secured creditors and 30% on behalf of unsecured creditors, then the fees and expenses incurred by the
       Trustee would be deducted 70% from encumbered assets and 30% from unencumbered assets. Given that
       the High Scenario assumes that the YieldCo transactions close within 90 days of the Conversion Date, only
       those Chapter 7 administrative expenses expected to be incurred in the first 90 days post conversion are
       allocated pro rata to the proceeds from the YieldCo transactions.

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  operating expenses, including any amounts earned and unpaid pursuant to any approved
  employee incentive plans.

       8. General Unsecured Claims

          The General Unsecured Claims pool (the “GUC Pool”) is estimated to total in the
  aggregate $4.7 billion, excluding any deficiency and Intercompany Claims. The Liquidation
  Analysis assumes that recoveries on account of Intercompany Claims are paid pari passu
  with General Unsecured Claims at each Debtor. Under a Plan scenario, the Prepetition
  Second Lien Deficiency Claims are estimated at $506 million and would increase to $603
  million under the High Scenario. Under the Low Scenario, the Debtors estimate the Second
  Lien Deficiency Claims would increase to approximately $607 million, the Tranche B Roll-
  Up Loan Claims would have a deficiency claim of $259 million. In aggregate, general
  unsecured claims would total up to $5.6 billion under the Low Scenario including deficiency
  claims and excluding intercompany claims.

       9. Interests

          As the Bankruptcy Court noted in its decision denying the appointment of an official
  equity committee,27 the Debtors are “hopelessly insolvent.”28 Therefore, Holders of Interests
  are not projected to have any recovery under the Plan or either the High or Low Scenario.

  D.       Debtors’ Assets

         The Liquidation Analysis assumes a liquidation of all of the Debtors’ assets. As
  described in more detail below, the analysis segregates the Debtors’ assets into nine major
  categories: (1) Cash and Cash Equivalents; (2) Intercompany Receivables; (3) Contingent
  Proceeds from Asset Sales; (4) Assets Held for Sale; (5) Investments in Subsidiaries; (6)
  Dividend Receipts; (7) Other Encumbered Assets; (8) Avoidance Actions; and (9) Other
  Unencumbered Assets.

  Encumbered Assets

          Substantially all of the estates’ assets (other than Avoidance Actions and D/O
  Insurance Proceeds to the extent the Tranche B Roll-Up Loan Claims are otherwise fully
  paid) are subject to liens from the DIP Financing Facility and/or the Second Lien Claims and
  are therefore encumbered (the “Encumbered Assets”). In addition, any allowed, secured tax
  claims are projected to be satisfied out of the proceeds from Encumbered Assets at the
  respective Debtor.




  27
       See Docket No. 975.
  28
       See Docket No. 975 at p. 14.

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     1. Cash and Cash Equivalents

          Cash and Cash Equivalents are based on the projected cash balance on the Debtors’
  cash flow projections, adjusted to reflect the impacts of a conversion of these cases to a
  Chapter 7 on the Conversion Date. For the purposes of the Liquidation Analysis, it is
  assumed that excess cash on hand is swept at the Conversion Date, and the DIP balance will
  be proportionately lower, dollar for dollar, such that the available proceeds for secured
  lenders, other than the DIP lenders, remains unchanged. The Liquidation Analysis assumes a
  100% recovery rate for Cash based on the liquidity of such assets and that the Trustee does
  not earn any fees for distribution of cash on hand.

     2. Intercompany Receivables

          Intercompany Receivables includes estimated proceeds from (i) the recovery to
  intercompany balances owed by foreign affiliates on account of existing cash on hand at the
  Effective Date and future proceeds collected from foreign asset sales, earn-outs, etc., and (ii)
  the pro rata recovery to intercompany claims from distributions to general unsecured
  creditors on account of unencumbered assets. Because the DIP Financing Facility Claims
  and Second Lien Claims have a security interest in all Intercompany Receivables, any value
  that would come into the Estates from these receivables would flow to the Holders of DIP
  Financing Facility Claims and Second Lien Claims on account of their liens. The
  Liquidation Analysis assumes a discount in collection from Intercompany Receivables under
  both the High and Low Scenario because of the risk of foreign insolvencies precipitated by a
  chapter 7 conversion and would result in lower recoveries than projected in the proposed
  Plan.

     3. Contingent Proceeds from Asset Sales

          Contingent Proceeds includes domestic earn-outs, escrow balances and other
  completed asset sale proceeds not yet collected based on the amounts reported in the cash
  flow projections, and risk adjusted where necessary based on discussions with management
  to ascertain the estimated collectability of each proceed under a chapter 7 liquidation. The
  Liquidation Analysis includes an asset-by-asset review of such proceeds and places a
  discount where appropriate based on potential challenges to collectability.

     4. Assets Held for Sale

          Assets Held for Sale includes projects, platforms and other domestic assets held for
  sale based on the amounts reported in the cash budget, risk adjusted by asset for timing and
  collectability where necessary, based on discussions with management.

     5. Investments in Subsidiaries

        Investments in Subsidiaries represents the value of SunEdison’s equity interest in the
  YieldCos.   The value estimate is based on the current terms of the pending
  YieldCo/Brookfield Transactions whereby SunEdison will (i) sell a portion of its equity
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  interest in TERP, (ii) retain its remaining equity interest in TERP and (iii) sell its entire
  equity interest in GLBL subject to the terms of the YieldCo Settlement Agreements. Thus,
  the Liquidation Analysis assumes that the value received from the YieldCo/Brookfield
  Transactions is unaffected by the conversion to a chapter 7 in the High Scenario. 29
  Meanwhile, under the Low Scenario, as noted above, the Debtors believe that conversion to a
  chapter 7 liquidation without the YieldCo/Brookfield Transactions having been
  consummated would result in severe degradation of value in the Debtors’ equity interests in
  the YieldCos.

       6. Dividend Receipts

          Dividend receipts represent proceeds whereby, after the satisfaction in full of general
  unsecured claims at a respective Debtor entity, excess unencumbered value remains available
  for distribution to parent entities that hold equity in such subsidiaries. The equity distributions
  represented in the Liquidation Analysis will, directly or indirectly, be distributed to a
  domestic Loan Party(ies) (as defined in the DIP Financing Facility) that is a secured guarantor
  to the DIP Financing Facility. Thus, this Liquidation Analysis assumes that upon distribution
  to a Loan Party, a lien attaches to the proceeds and becomes value available for distribution to
  secured creditors.

       7. Other Encumbered Assets

         Other Encumbered Assets include the $32 million of estimated proceeds to be
  received on account of director and officer liability insurance policies. This $32 million
  would be available to general unsecured creditors under the Plan and the High Scenario,
  although such proceeds are subject to liens of the Tranche B Roll-Up Loans. Because the
  Tranche B Roll-Up Loans would be significantly impaired under the Low Scenario, the
  general unsecured creditors would not have access to such proceeds under the Low Scenario.

  Unencumbered Assets

         Unencumbered Assets are not encumbered by the liens supporting the debt under the
  DIP Financing Facility or the Second Lien Claims.

       8.   Avoidance Actions30

        Avoidance Action proceeds include any proceeds not yet collected based on potential
  Avoidance Actions that the Debtors may bring against third parties, and risk adjusted where

  29
       As described above, although the High Scenario applies no discount to the YieldCo consideration, the
       Trustee will likely have difficulties in preserving the full amount of consideration to be received under the
       YieldCo/Brookfield Transactions.
  30
       Although the Avoidance Actions are unencumbered, to the extent that there are no general unsecured claims
       asserted against an entity entitled to recover on account of Avoidance Actions, any value recovered by such
       entity would be captured on account of Intercompany Claims.

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  necessary based on discussions with management to ascertain the estimated collectability of
  each Avoidance Action under a chapter 7 liquidation. The Debtors believe that the
  conversion of these cases to chapter 7 would materially impact the ability to collect proceeds
  on account of Avoidance Actions, substantially reducing the recoveries for all creditors
  because of a loss of employees, institutional knowledge, and adequate funding. The Debtors
  submit that prosecution of the Avoidance Actions will necessitate the retention of key
  personal in both the High and Low Scenario, which would be exceedingly difficult and
  therefore result in a severe loss in value under either scenario as compared with the Plan.

       9. Other Unencumbered Assets

          Other Unencumbered Assets providing value available for distribution to general
  unsecured creditors under the High Scenario includes: the $16.1 million allocation of YieldCo
  sale proceeds on account of avoidance claims that the Debtors released against the YieldCos
  and Litigation Trust Funds; and the assets available for distribution at SunEdison Products
  Singapore PTE Ltd (“SPS”).31 Under the Low Scenario, the Other Unencumbered Assets
  include: the recovery of avoidance actions against the YieldCos ($49.1 million), the
  Litigation Trust Funds; and the assets available for distribution at SPS.

  E.       Liquidation Costs

         Liquidation Costs primarily consist of: (i) the regularly occurring general and
  administrative costs required to operate the Debtors’ businesses during the liquidation
  process (the “Wind-Down Expenses”); (ii) the costs of any professionals the Trustee
  employs to assist with the liquidation process, including investment bankers, attorneys
  and other advisors (the “Professional Fees”); and (iii) the Trustee’s Fees (collectively, the
  “Liquidation Costs”).

       1. Wind-Down Expenses

          The Wind-Down Expenses represent the anticipated operating costs to be incurred
  by the Trustee necessary to liquidate the Debtors’ remaining assets and are primarily
  comprised of employee-related costs, including a retention bonus, adequate protection
  payments, rent and other overhead expenses. All Wind-Down Expenses are applied to
  both encumbered and unencumbered proceeds on a pro rata basis based upon gross
  proceeds from the liquidation. Employee costs are based on bottoms-up headcount
  forecast assuming 33 employees for the first six months and 18 for the next six months,
  resulting in a monthly run-rate of $0.4 million and $0.2 million for the respective periods.
  The Liquidation Analysis further contemplates a total retention bonus of 100% of an
  31
       Because there are no direct secured claims at SPS, all assets recovered by SPS would be distributed on a pro
       rata basis among the general unsecured creditors of SPS. Intercompany payables at SPS owing to domestic
       DIP and Second Lien Secured Guarantors make up 63% of SPS’s total general unsecured claims pool.
       Because the holders of Second Lien Claims have an unchallenged security interest in the SPS Intercompany
       Payables, the Liquidation Analysis assumes that 63% of any proceeds distributable to the general unsecured
       creditors of SPS will flow to these secured creditors on account of these intercompany payables.

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  employee’s annual compensation in order to incentivize the employee to return. In
  addition, any amounts owing to these 33 employees under chapter 11 approved incentive
  plans are assumed to be paid. These costs are reflected in the Chapter 11 Administrative
  Expenses line item. There is a risk that the Trustee may not be able to retain the
  employees required to assist the Trustee in its efforts to liquidate the Debtors. As a result,
  the Trustee would be required to hire contractors or incur additional professional fees,
  and such costs could be materially greater than the employee costs contained in the
  Liquidation Analysis.

       2. Chapter 7 Trustee Fees

         Compensation for the Trustee would be limited to fee guidelines in section 326(a)
  of the Bankruptcy Code. The Liquidation Analysis assumes that the Trustee would incur
  higher fees in the first three months following the Conversion Date with a graduating
  decrease in fees through months six, nine, and twelve. The Debtors have assumed trustee
  fees of 3% of the gross proceeds from the liquidation (excluding cash). Under the High
  Scenario, the Liquidation Analysis assumes that the Trustee would be entitled to this 3%
  fee with respect to the Estates’ interest in the YieldCos. Whereas under the Low
  Scenario, the Liquidation Analysis assumes the Trustee would not be entitled to a 3% fee
  with respect to the Estates’ interest in the YieldCos because under the Low Scenario, the
  Trustee would have abandoned the assets to the secured creditors.

       3. Liquidation Professional Fees

          The Liquidation Analysis estimates the Trustee’s professional fees (legal and
  financial) during the liquidation process. This estimate is primarily based on PwC’s (a)
  knowledge of the case, (b) prior experiences, particularly the administration of a chapter
  7 liquidation on behalf of a chapter 7 trustee, and (c) consultation with the Debtors and
  its advisors. The Chapter 11 Cases were the largest (based on claims and assets) and
  among the most complex restructurings filed in 2016. The Trustee has the option to
  supplement or replace the existing professionals, which would require that the new team
  of professionals would incur time necessary to understand the complexity and status of
  the Chapter 11 Cases and assist in the liquidation of the Estates’ assets. The Liquidation
  Professional Fees include costs cover legal, financial, tax / accounting, and other general
  advisory services that would be incurred during the liquidation process. This Liquidation
  Analysis assumes that fees would be higher immediately following the Conversion Date,
  resulting in a monthly run-rate of $5.6 million, $3.4 million, $1.8 million, and $1.0
  million for the first, second, third, and fourth quarters during the first twelve months, and
  $2.5 million per year for years two and three of the three year estimated liquidation
  period. These fees are in addition to any commissions payable to the Trustee.

  F.      Disclaimer

         The Liquidation Analysis was prepared for the sole purpose of assisting the Bankruptcy
  Court and holders of Impaired Claims or Interests in making this determination, and should not

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  be used for any other purpose. The determination of the hypothetical proceeds, and costs of the
  liquidation of the Debtors’ assets, is an uncertain process involving the use of estimates and
  assumptions that, although considered reasonable by PwC, are inherently subject to
  significant business and economic uncertainties and contingencies beyond the control of the
  Debtors, their management, and their advisors. Inevitably, some assumptions in the Liquidation
  Analysis would not materialize in an actual chapter 7 liquidation, and unanticipated events
  and circumstances could affect the ultimate results. PwC prepared the Liquidation Analysis
  for the sole purpose of generating a reasonable good-faith estimate of the proceeds that would be
  generated if the Debtors were liquidated in accordance with chapter 7 of the Bankruptcy Code
  after conversion of the chapter 11 case. The Liquidation Analysis is not intended and should
  not be used for any other purpose. The underlying financial information in the Liquidation
  Analysis was not compiled or examined by any independent accountants. No independent
  appraisals were conducted in preparing the Liquidation Analysis.

  ACCORDINGLY, WHILE DEEMED REASONABLE BASED ON THE FACTS
  CURRENTLY AVAILABLE, NEITHER THE DEBTORS NOR THEIR
  PROFESSIONALS MAKE ANY REPRESENTATION OR WARRANTY THAT THE
  ACTUAL RESULTS WOULD OR WOULD NOT APPROXIMATE THE ESTIMATES
  AND ASSUMPTIONS REPRESENTED IN THE LIQUIDATION ANALYSIS. ACTUAL
  RESULTS COULD VARY MATERIALLY.

          In preparing the Liquidation Analysis, PwC estimated Allowed Claims based upon a
  review of Claims listed on the Debtors’ statements of assets and liabilities as well as various
  other financial reports, including but not limited to the Monthly Operating Reports (the
  “Financial Reports”) and Proofs of Claim filed to date. In addition, the Liquidation Analysis
  includes estimates for Claims not currently asserted in the Chapter 11 Case or currently
  contingent, but which could be asserted and Allowed in a chapter 7 liquidation, including
  but not limited to Administrative Claims, claims arising in connection with the rejection of real
  property leases, employee-related obligations, Liquidation Costs (as defined herein), trustee
  fees, tax liabilities and other Allowed Claims. To date, the Bankruptcy Court has not
  estimated or otherwise fixed the total amount of Allowed Claims used for purposes of
  preparing the Liquidation Analysis. For purposes of the Liquidation Analysis, the Debtors’
  estimates of Allowed Claims contained in the Liquidation Analysis reference specific Claims
  estimates, even though the Debtors’ estimates of ranges of projected recoveries under the
  Plan to holders of Allowed Claims and Interests are based on ranges of Allowed Claims and
  Interests. Therefore, PwC’s estimate of Allowed Claims set forth in the Liquidation Analysis
  should not be relied on for any other purpose, including determining the value of any
  distribution to be made on account of Allowed Claims and Interests under the Plan.

  NOTHING CONTAINED IN THE LIQUIDATION ANALYSIS IS INTENDED TO BE OR
  CONSTITUTES A CONCESSION OR ADMISSION OF THE DEBTORS. THE
  ACTUAL AMOUNT OF ALLOWED CLAIMS IN THE CHAPTER 11 CASES
  COULD MATERIALLY DIFFER FROM THE ESTIMATED AMOUNTS SET FORTH IN
  THE LIQUIDATION ANALYSIS.
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          In addition, the following are some, but not all, of the considered factors that could
  negatively impact the recoveries estimated: (a) turnover of key personnel; (b) complications
  with the repatriation of cash held in foreign subsidiaries; (c) disruption to in-process
  transactions; and (d) delays in the liquidation process. These factors may limit the amount of
  the proceeds generated by the liquidation of the Debtors’ assets. For example, it is possible
  that the liquidation would be delayed while the Trustee and his or her professionals become
  knowledgeable about the Chapter 11 Case and the Debtors’ businesses and operations. This
  delay could materially reduce the value, on a “present value” basis, of the liquidation
  proceeds, the effect of which has not been contemplated in this analysis.

          It is assumed that as a result of the conversion of these cases to a chapter 7,
  Company’s foreign debtor and non-debtor affiliates (collectively, the “Foreign Affiliates”)
  may pursue local insolvency proceedings as a means of winding down any remaining
  operations, which may result in increased difficulty repatriating assets and incremental local
  professional fees. Additionally, if commenced, local insolvency proceedings at the
  Company’s Foreign Affiliates would likely result in additional claims against the Debtors.
  Any such potential additional clams have not been contemplated in the Liquidation Analysis.
  As a result, we have factored in a substantial reduction with respect to the recovery of
  foreign assets to account for these risks, in comparison with a chapter 11 recovery.

         The cessation of business in a liquidation is likely to trigger certain claims that
  otherwise would not exist under a Plan absent a liquidation. These types of administrative
  and priority claims have not been accounted for in the Liquidation Analysis. However, it is
  important to note these will need to be paid in full before any balance of liquidation proceeds
  would be available to pay general unsecured creditors.

          Examples of these kinds of Claims include various potential employee claims (for
  such items as severance and potential WARN Act liabilities), tax liabilities, claims related to
  the rejection of unexpired leases and executory contracts, and other potential Allowed
  Claims. These additional claims could be significant; some may be administrative expenses,
  others may be entitled to priority in payment over General Unsecured Claims.




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SunEdison Inc., et al.
Recovery Summary by Debtor

                                                                                                                           Best Interest of Creditors Test:        Pass             Fail

Recovery Summary by Debtor*
                                                                                                             General Unsecured Claims                                  Variance
                                                                                POR                       Low                        High                             % Recovery
$ millions                                                     $ Claim**     % Recovery         $ Rec.          %            $ Rec.                 %              Low          High
 1) SunEdison Inc ***                                              4,108.6      2.8%                  16.5         0.4%                24.6         0.6%            (2.4%)          (2.2%)
 2) SunEdison Products Singapore PTE Ltd                             226.3      2.8%                   5.4         2.4%                 5.8         2.5%            (0.4%)          (0.2%)
 3) NVT LLC                                                           83.6      2.8%                   0.1         0.1%                 0.1         0.1%            (2.6%)          (2.7%)
 4) NVT Licenses, LLC                                                 61.7      2.8%                  0.04         0.1%                 0.1         0.1%            (2.7%)          (2.7%)
 5) SunEdison LLC                                                    198.6      2.8%                  0.04        0.02%                 0.1        0.03%            (2.8%)          (2.8%)
 6) Team Solar Inc                                                    32.2      2.8%                  0.01        0.02%                0.01        0.03%            (2.8%)          (2.8%)
 7) MEMC Pasadena Inc                                                 47.2      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
 8) PVT Solar Inc                                                     11.3      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
 9) Solaicx                                                            4.2      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
10) First Wind Energy, LLC                                            30.0      2.8%                  0.01        0.04%                0.01        0.02%            (2.8%)          (2.8%)
11) Blue Sky West Capital, LLC                                         -          –                    -              –                 -              –                –               –
12) First Wind Oakfield Portfolio, LLC                                 -          –                    -              –                 -              –                –               –
13) First Wind Panhandle Holdings III, LLC                             -          –                    -              –                 -              –                –               –
14) SEV Merger Sub Inc.                                              400.0      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
15) SUNE Wind Holdings, Inc.                                         233.3      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
16) SUNE Hawaii Solar Holdings, LLC                                  231.0      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
17) First Wind Solar Portfolio, LLC                                  231.1      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
18) SunEdison Products LLC                                            70.0      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
19) SE Utility Holdings, Inc.                                         50.9      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
20) SunEdison Holdings Corporation                                    41.0      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
21) Fotowatio Renewable Ventures Inc                                  11.2      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
22) SunEdison Residential Services, LLC                               10.8      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
23) SunEdison International LLC                                        4.9      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
24) EverStream HoldCo Fund I, LLC                                      4.5      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
25) SunEdison DG, LLC                                                  0.8      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
26) SunEdison Canada LLC                                               0.3      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
27) First Wind California Holdings, LLC                                0.2      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
28) Enflex Corporation                                                0.03      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
29) Silver Ridge Power Holdings, LLC                                  0.02      2.8%                   -              –                 -              –            (2.8%)          (2.8%)
30) SunEdison Contracting LLC                                     0.00004       2.8%                   -              –                 -              –            (2.8%)          (2.8%)
31) SunEdison International Inc                                        -          –                    -              –                 -              –                –               –
32) SUNE ML 1, LLC                                                     -          –                    -              –                 -              –                –               –
33) SunE MN Development, LLC                                           -          –                    -              –                 -              –                –               –
34) SUNE Minnesota Holdings LLC                                        -          –                    -              –                 -              –                –               –
35) Sunflower Renewable Holdings 1, LLC                                -          –                    -              –                 -              –                –               –
36) DSP Renewables, LLC                                                -          –                    -              –                 -              –                –               –
37) Hancock Renewables Holdings, LLC                                   -          –                    -              –                 -              –                –               –
38) Greenmountain Wind Holdings, LLC                                   -          –                    -              –                 -              –                –               –
39) Rattlesnake Flat Holdings, LLC                                     -          –                    -              –                 -              –                –               –
40) Somerset Wind Holdings, LLC                                        -          –                    -              –                 -              –                –               –
41) SunE Waiawa Holdings, LLC                                          -          –                    -              –                 -              –                –               –
42) SunE MN Development Holdings, LLC                                  -          –                    -              –                 -              –                –               –
43) Buckthorn Renewables Holdings, LLC                                 -          –                    -              –                 -              –                –               –
44) TerraForm Private Holdings, LLC                                    -          –                    -              –                 -              –                –               –
45) Hudson Energy Solar Corporation                                    -          –                    -              –                 -              –                –               –
46) SunE REIT-D PR, LLC                                                -          –                    -              –                 -              –                –               –
47) SunEdison International Construction LLC                           -          –                    -              –                 -              –                –               –
48) Vaughn Wind, LLC                                                   -          –                    -              –                 -              –                –               –
49) Maine Wind Holdings, LLC                                           -          –                    -              –                 -              –                –               –
50) First Wind Holdings, LLC                                           -          –                    -              –                 -              –                –               –
51) Echofirst Finance Co, LLC                                          -          –                    -              –                 -              –                –               –
Total                                                                                                 22.1
                                                                                                       (22)                            30.5
                                                                                                                                        (31)
Notes:
*Recovery analyses have been included as part of Exhibit 1 for i) Debtors #1 - #10 listed above, which are projected to have recoveries either under the POR and / or liquidation scenario and
ii) Debtors #11 - #13 listed above that have distributable unencumbered value but reflect no recoveries above as there have been no general unsecured claims asserted at these entities.
Debtors #14 - #51 are not expected to have any unencumbered assets under the liquidation scenarios and hence, no recoveries. As a result, we have not included recovery analyses for
these Debtors.
**The estimated general unsecured claims pool by debtor includes multi-debtor claims, which are eliminated in the illustrative aggregate claims pool included in the narrative of Exhibit C.
***For presentation purposes, all encumbered assets have been included within the Debtor SunEdison Inc.'s recovery analysis.
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                                                                                                                                  SunEdison Inc

                                                                                                        Carrying              Low                           High
      ($ in millions)                                                                                    Value       $                 %           $                 %
      Encumbered Assets*
      Cash & Cash Equivalents                                                                                55.9     55.9           100.0%          55.9          100.0%
      Intercompany Receivables                                                                            7,140.2     55.0             0.8%          56.1            0.8%
      Contingent Proceeds from Asset Sales                                                                   42.4     29.6            69.7%          29.6           69.7%
      Assets Held for Sale                                                                                   33.9      6.3            18.5%           6.3           18.5%
      Investments in Subsidiaries                                                                           835.3    493.7            59.1%         835.3          100.0%
      Dividend Receipts                                                                                       n/a      -                 n/a          3.3              n/a
      Other Encumbered Assets                                                                                32.0     32.0           100.0%          32.0          100.0%

      Gross Liquidation Proceeds                                                                          8,139.7    672.5            8.3%         1,018.6         12.5%

      Ch. 7 Liquidation Costs
      Ch. 7 Wind-Down Expenses                                                                                            (6.0)                         (6.1)
      Ch. 7 Trustee Fees                                                                                                  (3.7)                        (27.9)
      Ch. 7 Professional Fees                                                                                            (21.6)                        (26.2)

      Total Liquidation Costs                                                                                            (31.3)                        (60.2)

      Other Costs
      YieldCo Avoidance Actions                                                                                           -                            (16.1)
      GLBL Litigation Exposure                                                                                            -                             (5.6)

      Total Other Costs                                                                                                   -                            (21.7)

      Net Proceeds Available for Distribution                                                                        641.2                          936.7

      Ch. 11 Administrative Claims [Secured Carve Out]                                                       31.2        31.2        100.0%            31.2        100.0%
      Secured Tax Claims                                                                                      3.5         3.5        100.0%             3.5        100.0%

      Net Proceeds Available for Distribution                                                                        606.5                          902.1
                                                                                                         Claim
                                                                                                        Amount                       Estimated Recovery

      Net Proceeds Available for Distribution                                                                        606.5                          902.1

      Secured Claims

      Priority 1 Claims
      DIP Term Loan                                                                                         530.4    530.4           100.0%         530.4          100.0%

      Priority 2 Claims
      Tranche B Roll-Up                                                                                     335.2        76.2         22.7%         335.2          100.0%

      Net Proceeds Available for Distribution                                                                             -                            36.4

      D&O Proceeds in Excess of Roll-Up (Capped @ $32m)                                                                   -                            (32.0)

      Net Proceeds Available for Distribution                                                                             -                              4.4

      Priority 3 Claims
      A1 Tranche 2L Term Loan                                                                               331.2         -            0.0%              2.4         0.7%
      A2 Tranche 2L Term Loan                                                                               169.3         -            0.0%              1.2         0.7%
      A3 Tranche 2L Senior Notes                                                                            107.0         -            0.0%              0.8         0.7%
      Remaining Proceeds Available for Distribution                                                                       -                             -
      Unencumbered Assets
      3rd Party Avoidance Actions                                                                            68.0         5.1          7.5%             5.1          7.5%
      Other Unencumbered Assets                                                                               n/a        36.1            n/a           47.4            n/a

      Proceeds from Unencumbered Assets                                                                      68.0        41.2        60.7%             52.5        77.3%
      Less: Ch. 7 Liquidation Costs                                                                                      (10.5)                        (10.8)
      Remaining Proceeds Available for Distribution                                                                      30.7                          41.7
      Priority Claims
      Ch. 11 Administrative Claims                                                                           5-7           5.5       100.0%              7.0       100.0%
      Ch. 11 Other Priority Claims                                                                            2.6          2.6       100.0%              2.6       100.0%
      Remaining Proceeds Available for Distribution                                                                      22.6                          32.1
      General Unsecured Claims**
GUC   DIP Term Loan Deficiency Claim                                                                           -          -            0.0%             -            0.0%
GUC   Tranche B Roll-Up Deficiency Claim                                                                   259 - 0        1.0          0.4%             -            0.0%
      2nd Lien Stub Deficiency Claim                                                                     607 - 603        2.4          0.4%             3.6          0.6%
GUC   Other Unsecured Funded Debt                                                                          2,213.9        8.9          0.4%            13.2          0.6%
GUC   Other General Unsecured Claims                                                                       1,894.7        7.6          0.4%            11.3          0.6%
GUC   Intercompany Claims                                                                                    656.8        2.6          0.4%             3.9          0.6%
      Proceeds Available for Equity Distribution                                                                          -                             -
      (-) Equity Distribution                                                                                             -                             -
      Remaining Proceeds Available for Distribution                                                                       -                             -

      *For presentation purposes, all encumbered assets have been included within the Debtor
      SunEdison Inc.'s recovery analysis
      **The estimated general unsecured claims pool by debtor includes multi-debtor claims, which are
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                                                                                                                                 SunEdison LLC

                                                                                                        Carrying               Low                         High
      ($ in millions)                                                                                    Value         $              %            $               %
      Encumbered Assets*
      Cash & Cash Equivalents                                                                                 -            -           0.0%            -           0.0%
      Intercompany Receivables                                                                                -            -           0.0%            -           0.0%
      Contingent Proceeds from Asset Sales                                                                    -            -           0.0%            -           0.0%
      Assets Held for Sale                                                                                    -            -           0.0%            -           0.0%
      Investments in Subsidiaries                                                                             -            -           0.0%            -           0.0%
      Dividend Receipts                                                                                       n/a          -             n/a           -             n/a
      Other Encumbered Assets                                                                                 -            -           0.0%            -           0.0%

      Gross Liquidation Proceeds                                                                              -            -         0.0%              -          0.0%

      Ch. 7 Liquidation Costs
      Ch. 7 Wind-Down Expenses                                                                                             -                           -
      Ch. 7 Trustee Fees                                                                                                   -                           -
      Ch. 7 Professional Fees                                                                                              -                           -

      Total Liquidation Costs                                                                                              -                           -

      Other Costs
      YieldCo Avoidance Actions                                                                                            -                           -
      GLBL Litigation Exposure                                                                                             -                           -

      Total Other Costs                                                                                                    -                           -

      Net Proceeds Available for Distribution                                                                              -                           -

      Ch. 11 Administrative Claims [Secured Carve Out]                                                        -            -           0.0%            -           0.0%
      Secured Tax Claims                                                                                      -            -           0.0%            -           0.0%

      Net Proceeds Available for Distribution                                                                              -                           -
                                                                                                         Claim
                                                                                                        Amount                       Estimated Recovery

      Net Proceeds Available for Distribution                                                                              -                           -

      Secured Claims

      Priority 1 Claims
      DIP Term Loan                                                                                         530.4          -           0.0%            -           0.0%

      Priority 2 Claims
      Tranche B Roll-Up                                                                                     335.2          -           0.0%            -           0.0%

      Net Proceeds Available for Distribution                                                                              -                           -

      D&O Proceeds in Excess of Roll-Up (Capped @ $32m)                                                                    -                           -

      Net Proceeds Available for Distribution                                                                              -                           -

      Priority 3 Claims
      A1 Tranche 2L Term Loan                                                                               331.2          -           0.0%            -           0.0%
      A2 Tranche 2L Term Loan                                                                               169.3          -           0.0%            -           0.0%
      A3 Tranche 2L Senior Notes                                                                            107.0          -           0.0%            -           0.0%
      Remaining Proceeds Available for Distribution                                                                        -                           -
      Unencumbered Assets
      3rd Party Avoidance Actions                                                                             5.0          0.4         7.5%            0.4         7.5%
      Other Unencumbered Assets                                                                               n/a          -             n/a           -             n/a

      Proceeds from Unencumbered Assets                                                                          5.0       0.4       7.5%              0.4        7.5%
      Less: Ch. 7 Liquidation Costs                                                                                        (0.1)                       (0.1)
      Remaining Proceeds Available for Distribution                                                                        0.3                         0.3
      Priority Claims
      Ch. 11 Administrative Claims                                                                           0-0           0.1       100.0%            0.0        100.0%
      Ch. 11 Other Priority Claims                                                                            0.0          0.0       100.0%            0.0        100.0%
      Remaining Proceeds Available for Distribution                                                                        0.2                         0.2
      General Unsecured Claims**
GUC   DIP Term Loan Deficiency Claim                                                                           -           -           0.0%            -           0.0%
GUC   Tranche B Roll-Up Deficiency Claim                                                                   259 - 0         0.1         0.0%            -           0.0%
      2nd Lien Stub Deficiency Claim                                                                     607 - 603         0.1         0.0%            0.2         0.0%
GUC   Other Unsecured Funded Debt                                                                              -           -           0.0%            -           0.0%
GUC   Other General Unsecured Claims                                                                        198.6          0.0         0.0%            0.1         0.0%
GUC   Intercompany Claims                                                                                     90.6         0.0         0.0%            0.0         0.0%
      Proceeds Available for Equity Distribution                                                                           -                           -
      (-) Equity Distribution                                                                                              -                           -
      Remaining Proceeds Available for Distribution                                                                        -                           -

      *For presentation purposes, all encumbered assets have been included within the Debtor
      SunEdison Inc.'s recovery analysis
      **The estimated general unsecured claims pool by debtor includes multi-debtor claims, which are
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                                                                                                                                   NVT LLC

                                                                                                        Carrying             Low                          High
      ($ in millions)                                                                                    Value       $               %            $               %
      Encumbered Assets*
      Cash & Cash Equivalents                                                                                 -          -            0.0%            -           0.0%
      Intercompany Receivables                                                                                -          -            0.0%            -           0.0%
      Contingent Proceeds from Asset Sales                                                                    -          -            0.0%            -           0.0%
      Assets Held for Sale                                                                                    -          -            0.0%            -           0.0%
      Investments in Subsidiaries                                                                             -          -            0.0%            -           0.0%
      Dividend Receipts                                                                                       n/a        -              n/a           -             n/a
      Other Encumbered Assets                                                                                 -          -            0.0%            -           0.0%

      Gross Liquidation Proceeds                                                                              -          -          0.0%              -          0.0%

      Ch. 7 Liquidation Costs
      Ch. 7 Wind-Down Expenses                                                                                           -                            -
      Ch. 7 Trustee Fees                                                                                                 -                            -
      Ch. 7 Professional Fees                                                                                            -                            -

      Total Liquidation Costs                                                                                            -                            -

      Other Costs
      YieldCo Avoidance Actions                                                                                          -                            -
      GLBL Litigation Exposure                                                                                           -                            -

      Total Other Costs                                                                                                  -                            -

      Net Proceeds Available for Distribution                                                                            -                            -

      Ch. 11 Administrative Claims [Secured Carve Out]                                                        -          -            0.0%            -           0.0%
      Secured Tax Claims                                                                                      -          -            0.0%            -           0.0%

      Net Proceeds Available for Distribution                                                                            -                            -
                                                                                                         Claim
                                                                                                        Amount                      Estimated Recovery

      Net Proceeds Available for Distribution                                                                            -                            -

      Secured Claims

      Priority 1 Claims
      DIP Term Loan                                                                                         530.4        -            0.0%            -           0.0%

      Priority 2 Claims
      Tranche B Roll-Up                                                                                     335.2        -            0.0%            -           0.0%

      Net Proceeds Available for Distribution                                                                            -                            -

      D&O Proceeds in Excess of Roll-Up (Capped @ $32m)                                                                  -                            -

      Net Proceeds Available for Distribution                                                                            -                            -

      Priority 3 Claims
      A1 Tranche 2L Term Loan                                                                               331.2        -            0.0%            -           0.0%
      A2 Tranche 2L Term Loan                                                                               169.3        -            0.0%            -           0.0%
      A3 Tranche 2L Senior Notes                                                                            107.0        -            0.0%            -           0.0%
      Remaining Proceeds Available for Distribution                                                                      -                            -
      Unencumbered Assets
      3rd Party Avoidance Actions                                                                            52.9        4.0          7.5%            4.0         7.5%
      Other Unencumbered Assets                                                                               n/a        5.4            n/a           2.0           n/a

      Proceeds from Unencumbered Assets                                                                      52.9        9.4        17.7%             5.9        11.2%
      Less: Ch. 7 Liquidation Costs                                                                                      (2.4)                        (1.2)
      Remaining Proceeds Available for Distribution                                                                      7.0                          4.8
      Priority Claims
      Ch. 11 Administrative Claims                                                                           1-1         1.2        100.0%            0.8        100.0%
      Ch. 11 Other Priority Claims                                                                            2.4        2.4        100.0%            2.4        100.0%
      Remaining Proceeds Available for Distribution                                                                      3.3                          1.5
      General Unsecured Claims**
GUC   DIP Term Loan Deficiency Claim                                                                           -         -            0.0%            -           0.0%
GUC   Tranche B Roll-Up Deficiency Claim                                                                   259 - 0       0.4          0.1%            -           0.0%
      2nd Lien Stub Deficiency Claim                                                                     607 - 603       0.9          0.1%            0.5         0.0%
GUC   Other Unsecured Funded Debt                                                                              -         -            0.0%            -           0.0%
GUC   Other General Unsecured Claims                                                                          83.6       0.1          0.1%            0.1         0.1%
GUC   Intercompany Claims                                                                                  1,322.9       1.9          0.1%            1.0         0.1%
      Proceeds Available for Equity Distribution                                                                         -                            -
      (-) Equity Distribution                                                                                            -                            -
      Remaining Proceeds Available for Distribution                                                                      -                            -

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                                                                                                                             NVT Licenses, LLC

                                                                                                        Carrying             Low                         High
      ($ in millions)                                                                                    Value       $              %            $               %
      Encumbered Assets*
      Cash & Cash Equivalents                                                                                 -          -           0.0%            -           0.0%
      Intercompany Receivables                                                                                -          -           0.0%            -           0.0%
      Contingent Proceeds from Asset Sales                                                                    -          -           0.0%            -           0.0%
      Assets Held for Sale                                                                                    -          -           0.0%            -           0.0%
      Investments in Subsidiaries                                                                             -          -           0.0%            -           0.0%
      Dividend Receipts                                                                                       n/a        -             n/a           -             n/a
      Other Encumbered Assets                                                                                 -          -           0.0%            -           0.0%

      Gross Liquidation Proceeds                                                                              -          -         0.0%              -          0.0%

      Ch. 7 Liquidation Costs
      Ch. 7 Wind-Down Expenses                                                                                           -                           -
      Ch. 7 Trustee Fees                                                                                                 -                           -
      Ch. 7 Professional Fees                                                                                            -                           -

      Total Liquidation Costs                                                                                            -                           -

      Other Costs
      YieldCo Avoidance Actions                                                                                          -                           -
      GLBL Litigation Exposure                                                                                           -                           -

      Total Other Costs                                                                                                  -                           -

      Net Proceeds Available for Distribution                                                                            -                           -

      Ch. 11 Administrative Claims [Secured Carve Out]                                                        -          -           0.0%            -           0.0%
      Secured Tax Claims                                                                                      -          -           0.0%            -           0.0%

      Net Proceeds Available for Distribution                                                                            -                           -
                                                                                                         Claim
                                                                                                        Amount                     Estimated Recovery

      Net Proceeds Available for Distribution                                                                            -                           -

      Secured Claims

      Priority 1 Claims
      DIP Term Loan                                                                                         530.4        -           0.0%            -           0.0%

      Priority 2 Claims
      Tranche B Roll-Up                                                                                     335.2        -           0.0%            -           0.0%

      Net Proceeds Available for Distribution                                                                            -                           -

      D&O Proceeds in Excess of Roll-Up (Capped @ $32m)                                                                  -                           -

      Net Proceeds Available for Distribution                                                                            -                           -

      Priority 3 Claims
      A1 Tranche 2L Term Loan                                                                               331.2        -           0.0%            -           0.0%
      A2 Tranche 2L Term Loan                                                                               169.3        -           0.0%            -           0.0%
      A3 Tranche 2L Senior Notes                                                                            107.0        -           0.0%            -           0.0%
      Remaining Proceeds Available for Distribution                                                                      -                           -
      Unencumbered Assets
      3rd Party Avoidance Actions                                                                            17.2        1.3         7.5%            1.3         7.5%
      Other Unencumbered Assets                                                                               n/a        -             n/a           -             n/a

      Proceeds from Unencumbered Assets                                                                      17.2        1.3       7.5%              1.3        7.5%
      Less: Ch. 7 Liquidation Costs                                                                                      (0.3)                       (0.3)
      Remaining Proceeds Available for Distribution                                                                      1.0                         1.0
      Priority Claims
      Ch. 11 Administrative Claims                                                                           0-0         0.2       100.0%            0.2        100.0%
      Ch. 11 Other Priority Claims                                                                            0.0        0.0       100.0%            0.0        100.0%
      Remaining Proceeds Available for Distribution                                                                      0.8                         0.8
      General Unsecured Claims**
GUC   DIP Term Loan Deficiency Claim                                                                           -         -           0.0%            -           0.0%
GUC   Tranche B Roll-Up Deficiency Claim                                                                   259 - 0       0.2         0.1%            -           0.0%
      2nd Lien Stub Deficiency Claim                                                                     607 - 603       0.4         0.1%            0.5         0.0%
GUC   Other Unsecured Funded Debt                                                                              -         -           0.0%            -           0.0%
GUC   Other General Unsecured Claims                                                                          61.7       0.0         0.1%            0.1         0.1%
GUC   Intercompany Claims                                                                                   283.4        0.2         0.1%            0.3         0.1%
      Proceeds Available for Equity Distribution                                                                         -                           -
      (-) Equity Distribution                                                                                            -                           -
      Remaining Proceeds Available for Distribution                                                                      -                           -

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                                                                                                                    SunEdison Products Singapore PTE Ltd

                                                                                                        Carrying                 Low                          High
      ($ in millions)                                                                                    Value          $               %            $                %
      Encumbered Assets*
      Cash & Cash Equivalents                                                                                 -              -           0.0%             -           0.0%
      Intercompany Receivables                                                                                -              -           0.0%             -           0.0%
      Contingent Proceeds from Asset Sales                                                                    -              -           0.0%             -           0.0%
      Assets Held for Sale                                                                                    -              -           0.0%             -           0.0%
      Investments in Subsidiaries                                                                             -              -           0.0%             -           0.0%
      Dividend Receipts                                                                                       n/a            -             n/a            -             n/a
      Other Encumbered Assets                                                                                 -              -           0.0%             -           0.0%

      Gross Liquidation Proceeds                                                                              -              -         0.0%               -          0.0%

      Ch. 7 Liquidation Costs
      Ch. 7 Wind-Down Expenses                                                                                               -                            -
      Ch. 7 Trustee Fees                                                                                                     -                            -
      Ch. 7 Professional Fees                                                                                                -                            -

      Total Liquidation Costs                                                                                                -                            -

      Other Costs
      YieldCo Avoidance Actions                                                                                              -                            -
      GLBL Litigation Exposure                                                                                               -                            -

      Total Other Costs                                                                                                      -                            -

      Net Proceeds Available for Distribution                                                                                -                            -

      Ch. 11 Administrative Claims [Secured Carve Out]                                                        -              -           0.0%             -           0.0%
      Secured Tax Claims                                                                                      -              -           0.0%             -           0.0%

      Net Proceeds Available for Distribution                                                                                -                            -
                                                                                                         Claim
                                                                                                        Amount                         Estimated Recovery

      Net Proceeds Available for Distribution                                                                                -                            -

      Secured Claims

      Priority 1 Claims
      DIP Term Loan                                                                                           -              -           0.0%             -           0.0%

      Priority 2 Claims
      Tranche B Roll-Up                                                                                       -              -           0.0%             -           0.0%

      Net Proceeds Available for Distribution                                                                                -                            -

      D&O Proceeds in Excess of Roll-Up (Capped @ $32m)                                                                      -                            -

      Net Proceeds Available for Distribution                                                                                -                            -

      Priority 3 Claims
      A1 Tranche 2L Term Loan                                                                                 -              -           0.0%             -           0.0%
      A2 Tranche 2L Term Loan                                                                                 -              -           0.0%             -           0.0%
      A3 Tranche 2L Senior Notes                                                                              -              -           0.0%             -           0.0%
      Remaining Proceeds Available for Distribution                                                                          -                            -
      Unencumbered Assets
      3rd Party Avoidance Actions                                                                           164.1           29.1       17.7%             29.1        17.7%
      Other Unencumbered Assets                                                                               n/a            9.4          n/a             9.0           n/a

      Proceeds from Unencumbered Assets                                                                     164.1           38.4       23.4%             38.1        23.2%
      Less: Ch. 7 Liquidation Costs                                                                                         (9.8)                        (8.0)
      Remaining Proceeds Available for Distribution                                                                         28.6                         30.1
      Priority Claims
      Ch. 11 Administrative Claims                                                                           5-5             5.1       100.0%             5.0        100.0%
      Ch. 11 Other Priority Claims                                                                            -              -           0.0%             -            0.0%
      Remaining Proceeds Available for Distribution                                                                         23.5                         25.0
      General Unsecured Claims**
GUC   DIP Term Loan Deficiency Claim                                                                          -              -           0.0%             -           0.0%
GUC   Tranche B Roll-Up Deficiency Claim                                                                      -              -           0.0%             -           0.0%
      2nd Lien Stub Deficiency Claim                                                                          -              -           0.0%             -           0.0%
GUC   Other Unsecured Funded Debt                                                                             -              -           0.0%             -           0.0%
GUC   Other General Unsecured Claims                                                                        226.3            5.4         2.4%             5.8         2.5%
GUC   Intercompany Claims                                                                                   755.4           18.1         2.4%            19.3         2.5%
      Proceeds Available for Equity Distribution                                                                             -                            -
      (-) Equity Distribution                                                                                                -                            -
      Remaining Proceeds Available for Distribution                                                                          -                            -

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                                                                                                                               MEMC Pasadena Inc

                                                                                                        Carrying               Low                         High
      ($ in millions)                                                                                    Value         $              %            $               %
      Encumbered Assets*
      Cash & Cash Equivalents                                                                                 -            -           0.0%            -           0.0%
      Intercompany Receivables                                                                                -            -           0.0%            -           0.0%
      Contingent Proceeds from Asset Sales                                                                    -            -           0.0%            -           0.0%
      Assets Held for Sale                                                                                    -            -           0.0%            -           0.0%
      Investments in Subsidiaries                                                                             -            -           0.0%            -           0.0%
      Dividend Receipts                                                                                       n/a          -             n/a           -             n/a
      Other Encumbered Assets                                                                                 -            -           0.0%            -           0.0%

      Gross Liquidation Proceeds                                                                              -            -         0.0%              -          0.0%

      Ch. 7 Liquidation Costs
      Ch. 7 Wind-Down Expenses                                                                                             -                           -
      Ch. 7 Trustee Fees                                                                                                   -                           -
      Ch. 7 Professional Fees                                                                                              -                           -

      Total Liquidation Costs                                                                                              -                           -

      Other Costs
      YieldCo Avoidance Actions                                                                                            -                           -
      GLBL Litigation Exposure                                                                                             -                           -

      Total Other Costs                                                                                                    -                           -

      Net Proceeds Available for Distribution                                                                              -                           -

      Ch. 11 Administrative Claims [Secured Carve Out]                                                        -            -           0.0%            -           0.0%
      Secured Tax Claims                                                                                      -            -           0.0%            -           0.0%

      Net Proceeds Available for Distribution                                                                              -                           -
                                                                                                         Claim
                                                                                                        Amount                       Estimated Recovery

      Net Proceeds Available for Distribution                                                                              -                           -

      Secured Claims

      Priority 1 Claims
      DIP Term Loan                                                                                         530.4          -           0.0%            -           0.0%

      Priority 2 Claims
      Tranche B Roll-Up                                                                                     335.2          -           0.0%            -           0.0%

      Net Proceeds Available for Distribution                                                                              -                           -

      D&O Proceeds in Excess of Roll-Up (Capped @ $32m)                                                                    -                           -

      Net Proceeds Available for Distribution                                                                              -                           -

      Priority 3 Claims
      A1 Tranche 2L Term Loan                                                                               331.2          -           0.0%            -           0.0%
      A2 Tranche 2L Term Loan                                                                               169.3          -           0.0%            -           0.0%
      A3 Tranche 2L Senior Notes                                                                            107.0          -           0.0%            -           0.0%
      Remaining Proceeds Available for Distribution                                                                        -                           -
      Unencumbered Assets
      3rd Party Avoidance Actions                                                                             4.6          0.3         7.5%            0.3         7.5%
      Other Unencumbered Assets                                                                               n/a          -             n/a           -             n/a

      Proceeds from Unencumbered Assets                                                                          4.6       0.3       7.5%              0.3        7.5%
      Less: Ch. 7 Liquidation Costs                                                                                        (0.1)                       (0.1)
      Remaining Proceeds Available for Distribution                                                                        0.3                         0.3
      Priority Claims
      Ch. 11 Administrative Claims                                                                           0-0           0.0       100.0%            0.0        100.0%
      Ch. 11 Other Priority Claims                                                                            0.5          0.2        40.6%            0.2         43.6%
      Remaining Proceeds Available for Distribution                                                                        -                           -
      General Unsecured Claims**
GUC   DIP Term Loan Deficiency Claim                                                                           -           -           0.0%            -           0.0%
GUC   Tranche B Roll-Up Deficiency Claim                                                                   259 - 0         -           0.0%            -           0.0%
      2nd Lien Stub Deficiency Claim                                                                     607 - 603         -           0.0%            -           0.0%
GUC   Other Unsecured Funded Debt                                                                              -           -           0.0%            -           0.0%
GUC   Other General Unsecured Claims                                                                          47.2         -           0.0%            -           0.0%
GUC   Intercompany Claims                                                                                     58.1         -           0.0%            -           0.0%
      Proceeds Available for Equity Distribution                                                                           -                           -
      (-) Equity Distribution                                                                                              -                           -
      Remaining Proceeds Available for Distribution                                                                        -                           -

      *For presentation purposes, all encumbered assets have been included within the Debtor
      SunEdison Inc.'s recovery analysis
      **The estimated general unsecured claims pool by debtor includes multi-debtor claims, which are
      eliminated in the illustrative aggregate claims pool included in the narrative of Exhibit C.
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                                                                                                                                     Solaicx

                                                                                                        Carrying               Low                         High
      ($ in millions)                                                                                    Value         $               %           $               %
      Encumbered Assets*
      Cash & Cash Equivalents                                                                                  -           -           0.0%            -           0.0%
      Intercompany Receivables                                                                                 -           -           0.0%            -           0.0%
      Contingent Proceeds from Asset Sales                                                                     -           -           0.0%            -           0.0%
      Assets Held for Sale                                                                                     -           -           0.0%            -           0.0%
      Investments in Subsidiaries                                                                              -           -           0.0%            -           0.0%
      Dividend Receipts                                                                                        n/a         -             n/a           -             n/a
      Other Encumbered Assets                                                                                  -           -           0.0%            -           0.0%

      Gross Liquidation Proceeds                                                                               -           -          0.0%             -          0.0%

      Ch. 7 Liquidation Costs
      Ch. 7 Wind-Down Expenses                                                                                             -                           -
      Ch. 7 Trustee Fees                                                                                                   -                           -
      Ch. 7 Professional Fees                                                                                              -                           -

      Total Liquidation Costs                                                                                              -                           -

      Other Costs
      YieldCo Avoidance Actions                                                                                            -                           -
      GLBL Litigation Exposure                                                                                             -                           -

      Total Other Costs                                                                                                    -                           -

      Net Proceeds Available for Distribution                                                                              -                           -

      Ch. 11 Administrative Claims [Secured Carve Out]                                                         -           -           0.0%            -           0.0%
      Secured Tax Claims                                                                                       -           -           0.0%            -           0.0%

      Net Proceeds Available for Distribution                                                                              -                           -
                                                                                                         Claim
                                                                                                        Amount                       Estimated Recovery

      Net Proceeds Available for Distribution                                                                              -                           -

      Secured Claims

      Priority 1 Claims
      DIP Term Loan                                                                                          530.4         -           0.0%            -           0.0%

      Priority 2 Claims
      Tranche B Roll-Up                                                                                      335.2         -           0.0%            -           0.0%

      Net Proceeds Available for Distribution                                                                              -                           -

      D&O Proceeds in Excess of Roll-Up (Capped @ $32m)                                                                    -                           -

      Net Proceeds Available for Distribution                                                                              -                           -

      Priority 3 Claims
      A1 Tranche 2L Term Loan                                                                                331.2         -           0.0%            -           0.0%
      A2 Tranche 2L Term Loan                                                                                169.3         -           0.0%            -           0.0%
      A3 Tranche 2L Senior Notes                                                                             107.0         -           0.0%            -           0.0%
      Remaining Proceeds Available for Distribution                                                                        -                           -
      Unencumbered Assets
      3rd Party Avoidance Actions                                                                              0.7         0.1         7.5%            0.1         7.5%
      Other Unencumbered Assets                                                                                n/a         -             n/a           -             n/a

      Proceeds from Unencumbered Assets                                                                          0.7       0.1        7.5%             0.1        7.5%
      Less: Ch. 7 Liquidation Costs                                                                                        (0.0)                       (0.0)
      Remaining Proceeds Available for Distribution                                                                        0.0                         0.0
      Priority Claims
      Ch. 11 Administrative Claims                                                                            0-0          0.0       100.0%            0.0        100.0%
      Ch. 11 Other Priority Claims                                                                             0.1         0.0        62.5%            0.0         67.2%
      Remaining Proceeds Available for Distribution                                                                        -                           -
      General Unsecured Claims**
GUC   DIP Term Loan Deficiency Claim                                                                           -           -           0.0%            -           0.0%
GUC   Tranche B Roll-Up Deficiency Claim                                                                   259 - 0         -           0.0%            -           0.0%
      2nd Lien Stub Deficiency Claim                                                                     607 - 603         -           0.0%            -           0.0%
GUC   Other Unsecured Funded Debt                                                                              -           -           0.0%            -           0.0%
GUC   Other General Unsecured Claims                                                                            4.2        -           0.0%            -           0.0%
GUC   Intercompany Claims                                                                                   181.9          -           0.0%            -           0.0%
      Proceeds Available for Equity Distribution                                                                           -                           -
      (-) Equity Distribution                                                                                              -                           -
      Remaining Proceeds Available for Distribution                                                                        -                           -

      *For presentation purposes, all encumbered assets have been included within the Debtor
      SunEdison Inc.'s recovery analysis
      **The estimated general unsecured claims pool by debtor includes multi-debtor claims, which are
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                                                                                                                                   Team Solar Inc

                                                                                                        Carrying               Low                           High
      ($ in millions)                                                                                    Value         $                 %           $               %
      Encumbered Assets*
      Cash & Cash Equivalents                                                                                 -            -             0.0%            -           0.0%
      Intercompany Receivables                                                                                -            -             0.0%            -           0.0%
      Contingent Proceeds from Asset Sales                                                                    -            -             0.0%            -           0.0%
      Assets Held for Sale                                                                                    -            -             0.0%            -           0.0%
      Investments in Subsidiaries                                                                             -            -             0.0%            -           0.0%
      Dividend Receipts                                                                                       n/a          -               n/a           -             n/a
      Other Encumbered Assets                                                                                 -            -             0.0%            -           0.0%

      Gross Liquidation Proceeds                                                                              -            -           0.0%              -          0.0%

      Ch. 7 Liquidation Costs
      Ch. 7 Wind-Down Expenses                                                                                             -                             -
      Ch. 7 Trustee Fees                                                                                                   -                             -
      Ch. 7 Professional Fees                                                                                              -                             -

      Total Liquidation Costs                                                                                              -                             -

      Other Costs
      YieldCo Avoidance Actions                                                                                            -                             -
      GLBL Litigation Exposure                                                                                             -                             -

      Total Other Costs                                                                                                    -                             -

      Net Proceeds Available for Distribution                                                                              -                             -

      Ch. 11 Administrative Claims [Secured Carve Out]                                                        -            -             0.0%            -           0.0%
      Secured Tax Claims                                                                                      -            -             0.0%            -           0.0%

      Net Proceeds Available for Distribution                                                                              -                             -
                                                                                                         Claim
                                                                                                        Amount                         Estimated Recovery

      Net Proceeds Available for Distribution                                                                              -                             -

      Secured Claims

      Priority 1 Claims
      DIP Term Loan                                                                                         530.4          -             0.0%            -           0.0%

      Priority 2 Claims
      Tranche B Roll-Up                                                                                     335.2          -             0.0%            -           0.0%

      Net Proceeds Available for Distribution                                                                              -                             -

      D&O Proceeds in Excess of Roll-Up (Capped @ $32m)                                                                    -                             -

      Net Proceeds Available for Distribution                                                                              -                             -

      Priority 3 Claims
      A1 Tranche 2L Term Loan                                                                               331.2          -             0.0%            -           0.0%
      A2 Tranche 2L Term Loan                                                                               169.3          -             0.0%            -           0.0%
      A3 Tranche 2L Senior Notes                                                                            107.0          -             0.0%            -           0.0%
      Remaining Proceeds Available for Distribution                                                                        -                             -
      Unencumbered Assets
      3rd Party Avoidance Actions                                                                             4.4          0.3           7.5%            0.3         7.5%
      Other Unencumbered Assets                                                                               n/a          -               n/a           -             n/a

      Proceeds from Unencumbered Assets                                                                          4.4       0.3         7.5%              0.3        7.5%
      Less: Ch. 7 Liquidation Costs                                                                                        (0.1)                         (0.1)
      Remaining Proceeds Available for Distribution                                                                        0.2                           0.3
      Priority Claims
      Ch. 11 Administrative Claims                                                                           0-0           0.0         100.0%            0.0        100.0%
      Ch. 11 Other Priority Claims                                                                            0.0          0.0         100.0%            0.0        100.0%
      Remaining Proceeds Available for Distribution                                                                        0.2                           0.2
      General Unsecured Claims**
GUC   DIP Term Loan Deficiency Claim                                                                           -           -             0.0%            -           0.0%
GUC   Tranche B Roll-Up Deficiency Claim                                                                   259 - 0         0.1           0.0%            -           0.0%
      2nd Lien Stub Deficiency Claim                                                                     607 - 603         0.1           0.0%            0.2         0.0%
GUC   Other Unsecured Funded Debt                                                                              -           -             0.0%            -           0.0%
GUC   Other General Unsecured Claims                                                                          32.2         0.0           0.0%            0.0         0.0%
GUC   Intercompany Claims                                                                                     34.1         0.0           0.0%            0.0         0.0%
      Proceeds Available for Equity Distribution                                                                           -                             -
      (-) Equity Distribution                                                                                              -                             -
      Remaining Proceeds Available for Distribution                                                                        -                             -

      *For presentation purposes, all encumbered assets have been included within the Debtor
      SunEdison Inc.'s recovery analysis
      **The estimated general unsecured claims pool by debtor includes multi-debtor claims, which are
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                                                                                                                                   PVT Solar Inc

                                                                                                        Carrying               Low                          High
      ($ in millions)                                                                                    Value         $                %           $               %
      Encumbered Assets*
      Cash & Cash Equivalents                                                                                 -            -            0.0%            -           0.0%
      Intercompany Receivables                                                                                -            -            0.0%            -           0.0%
      Contingent Proceeds from Asset Sales                                                                    -            -            0.0%            -           0.0%
      Assets Held for Sale                                                                                    -            -            0.0%            -           0.0%
      Investments in Subsidiaries                                                                             -            -            0.0%            -           0.0%
      Dividend Receipts                                                                                       n/a          -              n/a           -             n/a
      Other Encumbered Assets                                                                                 -            -            0.0%            -           0.0%

      Gross Liquidation Proceeds                                                                              -            -           0.0%             -          0.0%

      Ch. 7 Liquidation Costs
      Ch. 7 Wind-Down Expenses                                                                                             -                            -
      Ch. 7 Trustee Fees                                                                                                   -                            -
      Ch. 7 Professional Fees                                                                                              -                            -

      Total Liquidation Costs                                                                                              -                            -

      Other Costs
      YieldCo Avoidance Actions                                                                                            -                            -
      GLBL Litigation Exposure                                                                                             -                            -

      Total Other Costs                                                                                                    -                            -

      Net Proceeds Available for Distribution                                                                              -                            -

      Ch. 11 Administrative Claims [Secured Carve Out]                                                        -            -            0.0%            -           0.0%
      Secured Tax Claims                                                                                      -            -            0.0%            -           0.0%

      Net Proceeds Available for Distribution                                                                              -                            -
                                                                                                         Claim
                                                                                                        Amount                        Estimated Recovery

      Net Proceeds Available for Distribution                                                                              -                            -

      Secured Claims

      Priority 1 Claims
      DIP Term Loan                                                                                         530.4          -            0.0%            -           0.0%

      Priority 2 Claims
      Tranche B Roll-Up                                                                                     335.2          -            0.0%            -           0.0%

      Net Proceeds Available for Distribution                                                                              -                            -

      D&O Proceeds in Excess of Roll-Up (Capped @ $32m)                                                                    -                            -

      Net Proceeds Available for Distribution                                                                              -                            -

      Priority 3 Claims
      A1 Tranche 2L Term Loan                                                                                 -            -            0.0%            -           0.0%
      A2 Tranche 2L Term Loan                                                                                 -            -            0.0%            -           0.0%
      A3 Tranche 2L Senior Notes                                                                              -            -            0.0%            -           0.0%
      Remaining Proceeds Available for Distribution                                                                        -                            -
      Unencumbered Assets
      3rd Party Avoidance Actions                                                                             5.5          0.4          7.5%            0.4         7.5%
      Other Unencumbered Assets                                                                               n/a          -              n/a           -             n/a

      Proceeds from Unencumbered Assets                                                                          5.5       0.4         7.5%             0.4        7.5%
      Less: Ch. 7 Liquidation Costs                                                                                        (0.1)                        (0.1)
      Remaining Proceeds Available for Distribution                                                                        0.3                          0.3
      Priority Claims
      Ch. 11 Administrative Claims                                                                           0-0           0.1        100.0%            0.1        100.0%
      Ch. 11 Other Priority Claims                                                                            0.4          0.3         63.8%            0.3         68.5%
      Remaining Proceeds Available for Distribution                                                                        -                            -
      General Unsecured Claims**
GUC   DIP Term Loan Deficiency Claim                                                                          -            -            0.0%            -           0.0%
GUC   Tranche B Roll-Up Deficiency Claim                                                                   259 - 0         -            0.0%            -           0.0%
      2nd Lien Stub Deficiency Claim                                                                          -            -            0.0%            -           0.0%
GUC   Other Unsecured Funded Debt                                                                             -            -            0.0%            -           0.0%
GUC   Other General Unsecured Claims                                                                         11.3          -            0.0%            -           0.0%
GUC   Intercompany Claims                                                                                   197.7          -            0.0%            -           0.0%
      Proceeds Available for Equity Distribution                                                                           -                            -
      (-) Equity Distribution                                                                                              -                            -
      Remaining Proceeds Available for Distribution                                                                        -                            -

      *For presentation purposes, all encumbered assets have been included within the Debtor
      SunEdison Inc.'s recovery analysis
      **The estimated general unsecured claims pool by debtor includes multi-debtor claims, which are
      eliminated in the illustrative aggregate claims pool included in the narrative of Exhibit C.
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                                                                                                                     Blue Sky West Capital, LLC

                                                                                                        Carrying             Low                          High
      ($ in millions)                                                                                    Value       $              %             $               %
      Encumbered Assets*
      Cash & Cash Equivalents                                                                                 -          -           0.0%             -           0.0%
      Intercompany Receivables                                                                                -          -           0.0%             -           0.0%
      Contingent Proceeds from Asset Sales                                                                    -          -           0.0%             -           0.0%
      Assets Held for Sale                                                                                    -          -           0.0%             -           0.0%
      Investments in Subsidiaries                                                                             -          -           0.0%             -           0.0%
      Dividend Receipts                                                                                       n/a        -             n/a            -             n/a
      Other Encumbered Assets                                                                                 -          -           0.0%             -           0.0%

      Gross Liquidation Proceeds                                                                              -          -         0.0%               -          0.0%

      Ch. 7 Liquidation Costs
      Ch. 7 Wind-Down Expenses                                                                                           -                            -
      Ch. 7 Trustee Fees                                                                                                 -                            -
      Ch. 7 Professional Fees                                                                                            -                            -

      Total Liquidation Costs                                                                                            -                            -

      Other Costs
      YieldCo Avoidance Actions                                                                                          -                            -
      GLBL Litigation Exposure                                                                                           -                            -

      Total Other Costs                                                                                                  -                            -

      Net Proceeds Available for Distribution                                                                            -                            -

      Ch. 11 Administrative Claims [Secured Carve Out]                                                        -          -           0.0%             -           0.0%
      Secured Tax Claims                                                                                      -          -           0.0%             -           0.0%

      Net Proceeds Available for Distribution                                                                            -                            -
                                                                                                         Claim
                                                                                                        Amount                     Estimated Recovery

      Net Proceeds Available for Distribution                                                                            -                            -

      Secured Claims

      Priority 1 Claims
      DIP Term Loan                                                                                         530.4        -           0.0%             -           0.0%

      Priority 2 Claims
      Tranche B Roll-Up                                                                                     335.2        -           0.0%             -           0.0%

      Net Proceeds Available for Distribution                                                                            -                            -

      D&O Proceeds in Excess of Roll-Up (Capped @ $32m)                                                                  -                            -

      Net Proceeds Available for Distribution                                                                            -                            -

      Priority 3 Claims
      A1 Tranche 2L Term Loan                                                                                 -          -           0.0%             -           0.0%
      A2 Tranche 2L Term Loan                                                                                 -          -           0.0%             -           0.0%
      A3 Tranche 2L Senior Notes                                                                              -          -           0.0%             -           0.0%
      Remaining Proceeds Available for Distribution                                                                      -                            -
      Unencumbered Assets
      3rd Party Avoidance Actions                                                                             -          -           0.0%             -           0.0%
      Other Unencumbered Assets                                                                               n/a        5.1           n/a            2.1           n/a

      Proceeds from Unencumbered Assets                                                                       -          5.1       0.0%               2.1        0.0%
      Less: Ch. 7 Liquidation Costs                                                                                      (1.3)                        (0.4)
      Remaining Proceeds Available for Distribution                                                                      3.8                          1.7
      Priority Claims
      Ch. 11 Administrative Claims                                                                           1-0         0.7       100.0%             0.3        100.0%
      Ch. 11 Other Priority Claims                                                                            -          -           0.0%             -            0.0%
      Remaining Proceeds Available for Distribution                                                                      3.1                          1.4
      General Unsecured Claims**
GUC   DIP Term Loan Deficiency Claim                                                                          -          -           0.0%             -           0.0%
GUC   Tranche B Roll-Up Deficiency Claim                                                                   259 - 0       3.1         1.2%             -           0.0%
      2nd Lien Stub Deficiency Claim                                                                          -          -           0.0%             -           0.0%
GUC   Other Unsecured Funded Debt                                                                             -          -           0.0%             -           0.0%
GUC   Other General Unsecured Claims                                                                          -          -           0.0%             -           0.0%
GUC   Intercompany Claims                                                                                     -          -           0.0%             -           0.0%
      Proceeds Available for Equity Distribution                                                                         -                            1.4
      (-) Equity Distribution                                                                                            -                            (1.4)
      Remaining Proceeds Available for Distribution                                                                      -                            -

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      **The estimated general unsecured claims pool by debtor includes multi-debtor claims, which are
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                                                                                                                     First Wind Oakfield Portfolio, LLC

                                                                                                        Carrying               Low                         High
      ($ in millions)                                                                                    Value         $              %            $               %
      Encumbered Assets*
      Cash & Cash Equivalents                                                                                 -            -           0.0%            -           0.0%
      Intercompany Receivables                                                                                -            -           0.0%            -           0.0%
      Contingent Proceeds from Asset Sales                                                                    -            -           0.0%            -           0.0%
      Assets Held for Sale                                                                                    -            -           0.0%            -           0.0%
      Investments in Subsidiaries                                                                             -            -           0.0%            -           0.0%
      Dividend Receipts                                                                                       n/a          -             n/a           -             n/a
      Other Encumbered Assets                                                                                 -            -           0.0%            -           0.0%

      Gross Liquidation Proceeds                                                                              -            -         0.0%              -          0.0%

      Ch. 7 Liquidation Costs
      Ch. 7 Wind-Down Expenses                                                                                             -                           -
      Ch. 7 Trustee Fees                                                                                                   -                           -
      Ch. 7 Professional Fees                                                                                              -                           -

      Total Liquidation Costs                                                                                              -                           -

      Other Costs
      YieldCo Avoidance Actions                                                                                            -                           -
      GLBL Litigation Exposure                                                                                             -                           -

      Total Other Costs                                                                                                    -                           -

      Net Proceeds Available for Distribution                                                                              -                           -

      Ch. 11 Administrative Claims [Secured Carve Out]                                                        -            -           0.0%            -           0.0%
      Secured Tax Claims                                                                                      -            -           0.0%            -           0.0%

      Net Proceeds Available for Distribution                                                                              -                           -
                                                                                                         Claim
                                                                                                        Amount                       Estimated Recovery

      Net Proceeds Available for Distribution                                                                              -                           -

      Secured Claims

      Priority 1 Claims
      DIP Term Loan                                                                                         530.4          -           0.0%            -           0.0%

      Priority 2 Claims
      Tranche B Roll-Up                                                                                     335.2          -           0.0%            -           0.0%

      Net Proceeds Available for Distribution                                                                              -                           -

      D&O Proceeds in Excess of Roll-Up (Capped @ $32m)                                                                    -                           -

      Net Proceeds Available for Distribution                                                                              -                           -

      Priority 3 Claims
      A1 Tranche 2L Term Loan                                                                                 -            -           0.0%            -           0.0%
      A2 Tranche 2L Term Loan                                                                                 -            -           0.0%            -           0.0%
      A3 Tranche 2L Senior Notes                                                                              -            -           0.0%            -           0.0%
      Remaining Proceeds Available for Distribution                                                                        -                           -
      Unencumbered Assets
      3rd Party Avoidance Actions                                                                             -            -           0.0%            -           0.0%
      Other Unencumbered Assets                                                                               n/a          3.6           n/a           1.5           n/a

      Proceeds from Unencumbered Assets                                                                       -            3.6       0.0%                 1.5     0.0%
      Less: Ch. 7 Liquidation Costs                                                                                        (0.9)                       (0.3)
      Remaining Proceeds Available for Distribution                                                                        2.7                            1.2
      Priority Claims
      Ch. 11 Administrative Claims                                                                           0-0           0.5       100.0%            0.2        100.0%
      Ch. 11 Other Priority Claims                                                                            -            -           0.0%            -            0.0%
      Remaining Proceeds Available for Distribution                                                                        2.2                            1.0
      General Unsecured Claims**
GUC   DIP Term Loan Deficiency Claim                                                                          -            -           0.0%            -           0.0%
GUC   Tranche B Roll-Up Deficiency Claim                                                                   259 - 0         2.2         0.9%            -           0.0%
      2nd Lien Stub Deficiency Claim                                                                          -            -           0.0%            -           0.0%
GUC   Other Unsecured Funded Debt                                                                             -            -           0.0%            -           0.0%
GUC   Other General Unsecured Claims                                                                          -            -           0.0%            -           0.0%
GUC   Intercompany Claims                                                                                     -            -           0.0%            -           0.0%
      Proceeds Available for Equity Distribution                                                                           -                              1.0
      (-) Equity Distribution                                                                                              -                           (1.0)
      Remaining Proceeds Available for Distribution                                                                        -                           -

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      **The estimated general unsecured claims pool by debtor includes multi-debtor claims, which are
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                                                                                                                     First Wind Panhandle Holdings III, LLC

                                                                                                        Carrying                 Low                         High
      ($ in millions)                                                                                    Value           $              %            $               %
      Encumbered Assets*
      Cash & Cash Equivalents                                                                                 -              -           0.0%            -           0.0%
      Intercompany Receivables                                                                                -              -           0.0%            -           0.0%
      Contingent Proceeds from Asset Sales                                                                    -              -           0.0%            -           0.0%
      Assets Held for Sale                                                                                    -              -           0.0%            -           0.0%
      Investments in Subsidiaries                                                                             -              -           0.0%            -           0.0%
      Dividend Receipts                                                                                       n/a            -             n/a           -             n/a
      Other Encumbered Assets                                                                                 -              -           0.0%            -           0.0%

      Gross Liquidation Proceeds                                                                              -              -         0.0%              -          0.0%

      Ch. 7 Liquidation Costs
      Ch. 7 Wind-Down Expenses                                                                                               -                           -
      Ch. 7 Trustee Fees                                                                                                     -                           -
      Ch. 7 Professional Fees                                                                                                -                           -

      Total Liquidation Costs                                                                                                -                           -

      Other Costs
      YieldCo Avoidance Actions                                                                                              -                           -
      GLBL Litigation Exposure                                                                                               -                           -

      Total Other Costs                                                                                                      -                           -

      Net Proceeds Available for Distribution                                                                                -                           -

      Ch. 11 Administrative Claims [Secured Carve Out]                                                        -              -           0.0%            -           0.0%
      Secured Tax Claims                                                                                      -              -           0.0%            -           0.0%

      Net Proceeds Available for Distribution                                                                                -                           -
                                                                                                         Claim
                                                                                                        Amount                         Estimated Recovery

      Net Proceeds Available for Distribution                                                                                -                           -

      Secured Claims

      Priority 1 Claims
      DIP Term Loan                                                                                         530.4            -           0.0%            -           0.0%

      Priority 2 Claims
      Tranche B Roll-Up                                                                                     335.2            -           0.0%            -           0.0%

      Net Proceeds Available for Distribution                                                                                -                           -

      D&O Proceeds in Excess of Roll-Up (Capped @ $32m)                                                                      -                           -

      Net Proceeds Available for Distribution                                                                                -                           -

      Priority 3 Claims
      A1 Tranche 2L Term Loan                                                                                 -              -           0.0%            -           0.0%
      A2 Tranche 2L Term Loan                                                                                 -              -           0.0%            -           0.0%
      A3 Tranche 2L Senior Notes                                                                              -              -           0.0%            -           0.0%
      Remaining Proceeds Available for Distribution                                                                          -                           -
      Unencumbered Assets
      3rd Party Avoidance Actions                                                                             -              -           0.0%            -           0.0%
      Other Unencumbered Assets                                                                               n/a            3.2           n/a           1.3           n/a

      Proceeds from Unencumbered Assets                                                                       -              3.2       0.0%              1.3        0.0%
      Less: Ch. 7 Liquidation Costs                                                                                          (0.8)                       (0.2)
      Remaining Proceeds Available for Distribution                                                                          2.3                         1.1
      Priority Claims
      Ch. 11 Administrative Claims                                                                           0-0             0.4       100.0%            0.2        100.0%
      Ch. 11 Other Priority Claims                                                                            -              -           0.0%            -            0.0%
      Remaining Proceeds Available for Distribution                                                                          1.9                         0.9
      General Unsecured Claims**
GUC   DIP Term Loan Deficiency Claim                                                                          -              -           0.0%            -           0.0%
GUC   Tranche B Roll-Up Deficiency Claim                                                                   259 - 0           1.9         0.7%            -           0.0%
      2nd Lien Stub Deficiency Claim                                                                          -              -           0.0%            -           0.0%
GUC   Other Unsecured Funded Debt                                                                             -              -           0.0%            -           0.0%
GUC   Other General Unsecured Claims                                                                          -              -           0.0%            -           0.0%
GUC   Intercompany Claims                                                                                     -              -           0.0%            -           0.0%
      Proceeds Available for Equity Distribution                                                                             -                           0.9
      (-) Equity Distribution                                                                                                -                           (0.9)
      Remaining Proceeds Available for Distribution                                                                          -                           -

      *For presentation purposes, all encumbered assets have been included within the Debtor
      SunEdison Inc.'s recovery analysis
      **The estimated general unsecured claims pool by debtor includes multi-debtor claims, which are
      eliminated in the illustrative aggregate claims pool included in the narrative of Exhibit C.
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      SunEdison Inc., et al.
      Liquidation Analysis




                                                                                                                         First Wind Energy, LLC

                                                                                                        Carrying             Low                          High
      ($ in millions)                                                                                    Value       $              %             $               %
      Encumbered Assets*
      Cash & Cash Equivalents                                                                                 -          -           0.0%             -           0.0%
      Intercompany Receivables                                                                                -          -           0.0%             -           0.0%
      Contingent Proceeds from Asset Sales                                                                    -          -           0.0%             -           0.0%
      Assets Held for Sale                                                                                    -          -           0.0%             -           0.0%
      Investments in Subsidiaries                                                                             -          -           0.0%             -           0.0%
      Dividend Receipts                                                                                       n/a        -             n/a            -             n/a
      Other Encumbered Assets                                                                                 -          -           0.0%             -           0.0%

      Gross Liquidation Proceeds                                                                              -          -         0.0%               -          0.0%

      Ch. 7 Liquidation Costs
      Ch. 7 Wind-Down Expenses                                                                                           -                            -
      Ch. 7 Trustee Fees                                                                                                 -                            -
      Ch. 7 Professional Fees                                                                                            -                            -

      Total Liquidation Costs                                                                                            -                            -

      Other Costs
      YieldCo Avoidance Actions                                                                                          -                            -
      GLBL Litigation Exposure                                                                                           -                            -

      Total Other Costs                                                                                                  -                            -

      Net Proceeds Available for Distribution                                                                            -                            -

      Ch. 11 Administrative Claims [Secured Carve Out]                                                        -          -           0.0%             -           0.0%
      Secured Tax Claims                                                                                      -          -           0.0%             -           0.0%

      Net Proceeds Available for Distribution                                                                            -                            -
                                                                                                         Claim
                                                                                                        Amount                     Estimated Recovery

      Net Proceeds Available for Distribution                                                                            -                            -

      Secured Claims

      Priority 1 Claims
      DIP Term Loan                                                                                         530.4        -           0.0%             -           0.0%

      Priority 2 Claims
      Tranche B Roll-Up                                                                                     335.2        -           0.0%             -           0.0%

      Net Proceeds Available for Distribution                                                                            -                            -

      D&O Proceeds in Excess of Roll-Up (Capped @ $32m)                                                                  -                            -

      Net Proceeds Available for Distribution                                                                            -                            -

      Priority 3 Claims
      A1 Tranche 2L Term Loan                                                                               331.2        -           0.0%             -           0.0%
      A2 Tranche 2L Term Loan                                                                               169.3        -           0.0%             -           0.0%
      A3 Tranche 2L Senior Notes                                                                            107.0        -           0.0%             -           0.0%
      Remaining Proceeds Available for Distribution                                                                      -                            -
      Unencumbered Assets
      3rd Party Avoidance Actions                                                                             -          -           0.0%             -           0.0%
      Other Unencumbered Assets                                                                               n/a        0.7           n/a            0.3           n/a

      Proceeds from Unencumbered Assets                                                                       -          0.7       0.0%               0.3        0.0%
      Less: Ch. 7 Liquidation Costs                                                                                      (0.2)                        (0.1)
      Remaining Proceeds Available for Distribution                                                                      0.5                          0.2
      Priority Claims
      Ch. 11 Administrative Claims                                                                           0-0         0.1       100.0%             0.0        100.0%
      Ch. 11 Other Priority Claims                                                                            -          -           0.0%             -            0.0%
      Remaining Proceeds Available for Distribution                                                                      0.4                          0.2
      General Unsecured Claims**
GUC   DIP Term Loan Deficiency Claim                                                                           -         -           0.0%             -           0.0%
GUC   Tranche B Roll-Up Deficiency Claim                                                                   259 - 0       0.1         0.0%             -           0.0%
      2nd Lien Stub Deficiency Claim                                                                     607 - 603       0.2         0.0%             0.1         0.0%
GUC   Other Unsecured Funded Debt                                                                              -         -           0.0%             -           0.0%
GUC   Other General Unsecured Claims                                                                          30.0       0.0         0.0%             0.0         0.0%
GUC   Intercompany Claims                                                                                   216.3        0.1         0.0%             0.1         0.0%
      Proceeds Available for Equity Distribution                                                                         -                            -
      (-) Equity Distribution                                                                                            -                            -
      Remaining Proceeds Available for Distribution                                                                      -                            -

      *For presentation purposes, all encumbered assets have been included within the Debtor
      SunEdison Inc.'s recovery analysis
      **The estimated general unsecured claims pool by debtor includes multi-debtor claims, which are
      eliminated in the illustrative aggregate claims pool included in the narrative of Exhibit C.
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                                   EXHIBIT D

                                 Capital Analysis
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SunEdison, Inc. Capital Analysis
(Summary Output, see following pages for additional detail)


 SunEdison, Inc.(1) Jan-2013 through Sep-2015 Capital Activity
 ($ in billions)                                                                                                                                                                         X See following pages for
                                                                                                                                                                                         additional details
 28

                                                                            4.9             24.3           (4.9)
                                                                                                                                                Operating, Investing and Financing
                                 Financing Cash Inflows                      E                               F                                            Cash Outflow
 23                                                                       (page 4)                        (page 4)


                                                             1.0                                                           (5.8)
                                             3.7             D                             18.9                              G
 18                                          C
                              14.2
                              B                                                                                                            (2.6)
 13                                                                                                                                         H
                                                                                                                                                           (4.2)
                                                                                                                                                             I

  8                                                                                                                                                                        (3.1)
                                                                                                                                                                            J
                                                                                                                                                                                           (1.4)
  3                                                                                                                                                                                         K                 2.4

             0.6

             A                                                                                                                                                                                                L
 (3)
        Beginning Debt Financing           Equity           Other         Other        Total Capital   Committed         Debt    Cash Used in   Capital   Cash Paid for Other outflows Ending Cash
       Cash (1/1/13) Proceeds            Financing        Financing     Committed       Arranged       Capital Not    Repayments  Operations Expenditures Acquisitions     (Note 6)     (9/30/15)
        (Note 1)                         Proceeds         Proceeds        Capital                        Utilized                              (Note 4)      (Note 5)                    (Note 7)
                                                                        (Notes 2,3)                     (Note 3)
 Source: SEC filings
 (1) Analysis is presented on a consolidated basis for SunEdison, Inc. including Terraform Power, Inc. (“TERP”), Terraform Global, Inc. (“Global”) and other consolidated subsidiaries. Beginning cash
 balance is for consolidated SunEdison, Inc. and excludes restricted cash and cash committed for construction projects which are not available for general corporate purposes.
 (2) Other committed capital includes gross undrawn / non-cash amounts under credit facilities, LC facilities, warehouse financing arrangements, and other committed financings arranged from Jan-13
 through Sep-15 which were generally subject to restricted use provisions and other limitations and not available for general corporate purposes. Amount includes $650m related to the JPM warehouse
 which was disclosed as of Sep-15, but did not close until Oct-15. See the final page of this exhibit for additional detail.
 (3) Capital commitments were generally either non-cash in nature (i.e. letter of credit facilities) or subject to restricted use provisions and other limitations and not available for general corporate purposes.
 (4) Includes cash used for construction of renewable energy systems.
 (5) Includes the acquisition of ownership interests in First Wind Holdings, LLC, Atlantic Power Transmission, Inc., Silver Ridge Power, LLC, and other project and company acquisitions.
 (6) Includes other financing cash outflows ($.4b) and other investing cash outflows ($.9b) and the cumulative impact of changes in foreign exchange rates and discontinued operations ($.1b).
 (7) Represents consolidated ending cash balance as of September 30, 2015. Included in the $2.4b ending cash balance is $1.7b of total cash on hand held by SunEdison’s consolidated subsidiaries
 TERP and Global. Ending cash excludes restricted cash and cash committed for construction projects which are not available for general corporate purposes.

     Indicates Non-cash
   activity or commitments
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    Capital Analysis Detail

     Cash Flow Summary
                                                                                                                                                                                   Period Ending:
    ($ in m illions)                                 Mar-13    Jun-13    Sep-13     Dec-13     Mar-14      Jun-14    Sep-14    Dec-14    Mar-15     Jun-15     Sep-15    2013      2014      Sep-15     Total

A   Beginning Cash (1/1/13)                                                                                                                                                                               573

    Financing Cash Flow s
                                                                                                                                                                                                                  see next
B   Debt Financing Proceeds                              99       232       296      2,150        462       1,387       719     1,507     2,386      2,877       2,043   2,776      4,075     7,306     14,157
                                                                                                                                                                                                                  page for
    Equity Financing Proceeds - YieldCo                   -         -         -           -         -           -       592       337       391        667         657       -        929     1,715      2,644    details
    Equity Financing Proceeds - Other                     -         -       240           -         -         185         -        16         -          -         626     240        201       626      1,066
C   Total Equity Financing Proceeds                       -         -       240           -         -         185       592       353       391        667       1,283     240      1,130     2,341      3,710

D   Other Financing Proceeds                              0        11        14         14         10          14         9       182          4       665        100       40       215        769      1,024

G   Debt Repaym ents                                    (21)      (55)      (16)     (1,290)      (53)       (312)     (589)     (625)     (724)     (1,153)     (968)   (1,381)   (1,579)    (2,845)   (5,805)

    Operating Activities
H   Cash Used in Operations                            (119)      (86)     (103)      (399)      (215)        (79)     (276)     (200)     (308)      (621)      (207)    (707)      (770)    (1,136)   (2,613)

    Investing Activities
    Capital Expenditures - Other                        (31)      (39)      (32)       (32)       (20)        (75)      (87)      (48)      (62)       (65)       (66)    (133)      (230)      (193)     (556)
    Capital Expenditures - Construction of Systems      (47)      (75)     (139)      (204)      (326)       (325)     (377)     (483)     (344)      (525)      (750)    (465)    (1,511)    (1,619)   (3,595)
I   Total Capital Expenditures                          (78)     (114)     (170)      (236)      (347)       (400)     (463)     (531)     (406)      (590)      (816)    (598)    (1,741)    (1,812)   (4,151)

J   Cash Paid for Acquisitions                            -         -         (7)         -       (14)       (242)     (159)     (304)    (1,530)     (651)      (175)       (7)     (719)    (2,356)   (3,082)

    Other
    Other Outflow s
    Other Investing Outflow s                            (1)      (42)      (72)      (141)        48         (62)       65      (232)      174       (667)        29     (255)      (180)     (464)      (899)
    Other Financing Outflow s                           (27)       (1)      (26)       (26)         -          (3)        -       (35)      (77)       (21)      (185)     (80)       (38)     (283)      (401)
    Other (1)                                             -         -         -          -          -           -         -         -         -          -       (119)       -          -      (119)      (119)
K   Total Other Outflow s                               (29)      (43)      (97)      (167)        48         (65)       65      (267)       97       (688)      (275)    (335)      (218)     (866)    (1,419)

L Ending Cash (9/30/15)                                                                                                                                                                                  2,393




    Note, see page 4 for E and F



    Source: SEC filings
    (1) Includes the cumulative impact of changes in foreign exchange rates and discontinued operations.



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Debt Financing Proceeds Detail

 Debt Financing Proceeds Detail
                                                                                                                                                        Period Ending
($ in m illions)                           Mar-13   Jun-13   Sep-13   Dec-13   Mar-14   Jun-14   Sep-14    Dec-14   Mar-15   Jun-15    Sep-15   2013    2014     Sep-15   Total

Senior Notes
2018 Convertible Senior Notes                   -        -        -      600        -        -        -         -        -        -         -     600       -         -     600
2021 Convertible Senior Notes                   -        -        -      600        -        -        -         -        -        -         -     600       -         -     600
2020 Convertible Senior Notes                   -        -        -        -        -      600        -         -        -        -         -       -     600         -     600
2022 Convertible Senior Notes                   -        -        -        -        -        -        -         -      460        -         -       -       -       460     460
2023 Convertible Senior Notes                   -        -        -        -        -        -        -         -        -      450         -       -       -       450     450
2025 Convertible Senior Notes                   -        -        -        -        -        -        -         -        -      450         -       -       -       450     450
2020 Exchangeable Senior Notes                  -        -        -        -        -        -        -         -      337        -         -       -       -       337     337
TERP 2023 Senior Notes                          -        -        -        -        -        -        -         -      800      150         -       -       -       950     950
TERP 2025 Senior Notes                          -        -        -        -        -        -        -         -        -        -       300       -       -       300     300
Global 2022 Senior Notes                        -        -        -        -        -        -        -         -        -        -       810       -       -       810     810
Loans / Credit Facilities and Warehouses
Margin Loan (Due 2017)                          -        -        -        -        -        -        -         -      410        -         -       -        -      410      410
EM Yieldco Acquisition Facility                 -        -        -        -        -        -        -       150        -        -         -       -      150        -      150
OCBC Credit Facility                            -        -        -        -        -        -        -       119        -        -         -       -      119        -      119
TERP Term Loan                                  -        -        -        -        -        -      300       274        -        -         -       -      574        -      574
2016 2nd Lien Term Loan                         -        -        -        -        -        -        -         -        -        -       169       -        -      169      169
SMP Ltd. Credit Facilities                      -        -        -        -        -        -        -       432        -        -         -       -      432        -      432
First Reserve Warehouse Term Loan               -        -        -        -        -        -        -         -        -      466         -       -        -      466      466
TerraForm Private Term Loan                     -        -        -        -        -        -        -         -        -      280         -       -        -      280      280
System and Capital Lease Proceeds               -        -        -        -      212      478      718         -        -      278         -       -    1,408      278    1,686
Acquisition Facility Term Loan                  -        -        -        -      250      150        -         -        -        -         -       -      400        -      400
SSL Term Loan                                   -        -        -        -        -      210        -         -        -        -         -       -      210        -      210
Global Acquisition Facility                     -        -        -        -        -        -        -         -        -      460         -       -        -      460      460
Subtotal                                        -        -        -    1,200      462    1,438    1,018       975    2,007    2,534     1,279   1,200    3,892    5,820   10,912
Other Debt Financing Proceeds                  99      232      296      950        0      123     (299)      532      380      343       764   1,576     182     1,487    3,245
Total Debt Financing Proceeds                  99      232      296    2,150      462    1,561      719     1,507    2,386    2,877     2,043   2,776    4,075    7,306   14,157   B




Source: SEC filings



                                                                          P. 3 | SunEdison Confidential
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Other Committed Capital Detail

 Other Committed Capital Detail
                                                                                                                                                                              Period Ending
($ in m illions)                                Mar-13    Jun-13    Sep-13     Dec-13    Mar-14     Jun-14    Sep-14     Dec-14    Mar-15     Jun-15     Sep-15    2013       2014     Sep-15   Total

Other Com m itted Capital
LC Credit Facility                                    -         -          -         -         -          -         -        815         -          -          -          -      815        -      815
Project Construction Facilities                       -         -          -         -       150          -       135          -         -          -          -          -      285        -      285
Renew able Energy Letter of Credit Facility           -         -          -         -       265         50         -        225        25        125         60          -      540      210      750
SMP Ltd. Credit Facilities                            -         -          -         -         -          -         -          -         -          -         64          -        -       64       64
TERP Revolver                                         -         -          -         -         -          -       140         75       335        100         75          -      215      510      725
SSL Revolving Facility                                -         -          -         -         -         47         -          -         -          -          -          -       47        -       47
First Reserve Warehouse Revolver                      -         -          -         -         -          -         -          -         -        550          -          -        -      550      550
West Street Infrastructure Partners Warehouse         -         -          -         -         -          -         -          -         -          -      1,000          -        -    1,000    1,000
JPM Warehouse (1)                                     -         -          -         -         -          -         -          -         -          -        650          -        -      650      650
Total Other Com m itted Capital                       -         -          -         -       415         97       275      1,115       360        775      1,849          -    1,902    2,984    4,886   EF




Source: SEC filings
(1) Represents equity commitment of $650m pledged by an affiliate of J.P. Morgan. The commitment did not close until October 26, 2015, but was disclosed in the
September 30, 2015 SunEdison, Inc. quarterly report on Form 10Q so has been included in this analysis as a component of other committed capital.



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